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                                        Nos. 2023-1850, -2038

                           United States Court of Appeals
                                                  for the
                                         Fourth Circuit
                HONEYWELL INTERNATIONAL INC.; HAND HELD PRODUCTS, INC.;
                            METROLOGIC INSTRUMENTS, INC.,
                               Plaintiffs-Appellants/Cross-Appellees,
                                                      v.
                                   OPTO ELECTRONICS CO., LTD.,
                               Defendant-Appellee/Cross-Appellant.
                        On Appeal from the United States District Court
                          for the Western District of North Carolina
                               Case No. 3:21-cv-506-KDB-DCK
                                     JOINT APPENDIX
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                                              April 1, 2024
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         PX-245     Report Draft OP EU 4 April2021.xlsx (Enclosure to         JA6936
                    Audit Letter)
         PX-246     Report Draft OP-1 0220.xlsx (Enclosure to Audit Letter)   JA6969
         PX-247     Report Draft OP US_20210414.xlsx (Enclosure to Audit      JA7068
                    Letter)
         PX-259     E-Mail Chain with R. Goldstein (October 23, 2020)         JA7096
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         DX-098     Sales Spreadsheets Sent by Goldstein to Pleune            JA7121
         DX-111     September 30 – December 16 Email Thread Goldstein         JA7175
                    and Pleune
         DX-769     Honeywell’s ITC Claims Charts                             JA7184




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             c12)   United States Patent                                                    (IO) Patent No.:                    US 9,465,970 B2
                    Wang et al.                                                             (45) Date of Patent:                         *Oct. 11, 2016

             (54)   IMAGE READER COMPRISING CMOS                                      (56)                          References Cited
                    BASED IMAGE SENSOR ARRAY
                                                                                                         U.S. PATENT DOCUMENTS
             (71) Applicant: HAND HELD PRODUCTS, INC.,
                             Skaneateles Falls, NY (US)                                       3,684,868 A            811972 Christie et al.
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                               (US)
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             (73) Assignee: Hand Held Products, Inc., Skaneateles
                            Falls, NY (US)                                            CN                    1504824 A          612004
                                                                                      CN                    1511412 A          712004
             ( *) Notice:   Subject to any disclaimer, the term of this
                            patent is extended or adjusted under 35                                                   (Continued)
                            U.S.C. 154(b) by O days.
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                                1bis patent is subject to a terminal dis-
                                claimer.                                              Chinese Office Action from Chinese Patent Application No.
             (21) Appl. No.: 14/221,903                                               201110220834.X dated Nov. 3, 2014.
                                                                                                                      (Continued)
             (22)   Filed:       Mar. 21, 2014
             (65)                  Prior Publication Data                             Primary Examiner - Kristy A Haupt
                    US 2014/0204257 Al           Jul. 24, 2014                        (7 4) Attorney, Agent, or Firm - Alston & Bird LLP
                             Related U.S. Application Data                            (57)                           ABSTRACT
             (60)   Continuation of application No. 13/052,768, filed on             The invention features an image reader and a corresponding
                    Mar. 21, 2011, now Pat. No. 8,733,660, which is a                method for capturing a sharp distortion free image of a
                    division of application No. 12/534,664, filed on Aug.            target, such as a one or two-dimensional bar code. In one
                    3, 2009, now Pat. No. 7,909,257, which is a division             embodiment, the image reader comprises a two-dimensional
                    ofapplication No. 11/077,975, fik>d on Mar. 11, 2005,            CMOS based image sensor array, a timing module, an
                    now Pat. No. 7,568,628.                                          illumination module, and a control module. The time during
                                                                                     which the target is illuminated is referred to as the illumi-
             (51)   Int. Cl.                                                         nation period. 1be capture of the image by the image sensor
                  G06K 7114               (2006.01)                                  array is driven by the timing module that, in one embodi-
                  G06K 7110               (2006.01)                                  ment, is able to simultaneously expose substantially all of
                  H04N 51374              (2011.01)                                  the pixels in the array. The time during which the pixels are
             (52) U.S. Cl.                                                           collectively activated to photo-convert incident light into
                  CPC ......... G06K 711439 (2013.01); G06K 7110722                  charge defines the exposure period for the sensor array. In
                                     (2013.01); H04N 51374 (2013.01)                 one embodiment, at least a portion of the exposure period
             (58) Field of Classification Search                                     occurs during the illmnination period.
                  CPC . H04N 5/374; G06K 7/1439; G06K 7/10722
                  See application file for complete search history.                                     107 Claims, 30 Drawing Sheets


                                                                           SELECT BETWEEN
                                                                        ROLLING SHUTTER  3102
                                                                      AND GLOBAL SHUTTER
                                                                        OPERATING MODE
                                                                           CONFIGURATIONS
                                                        ROLLING                                     GLOBAL
                                                        SHUTTER                                     SHUTTER




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                                                    TRANSFER IMAGE                          TRANSFER IMAGE
                                                    DATA TO DATAFORM                        DATA TO DATAFORM
                                                    DECODE MODULE                           DECODE MODULE
                                                    ORAUTODISCRIMINATION                    OR AUTODISCRIMINATION
                                                    MODULE                                  MODULE




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                        ILLUMINATION MODULE .......------r-----1 IMAGE COLLECTION MODULE
                                                     112                                          116
                        ,------'-.
                           CONTROL MODULE                                     MEMORY MODULE.
                        ,..........   _____,__120                                                 124
                                 MODULE .,....t----+-------lACTUATION MODULE
                            1/0 _____
                        ,__...._
                                                      128                                         132
                    USER FEEDBACK MODULE - - - - - - - { DISPLAY MODULE
                   ______ 134                     ...__,                                         136
                    USER INTERFACE MODULE                                          RFID MODULE
                                                      140                                          144
                     ,------                   ..........-,
                        SMART CARD MODULE - - - - - MAG. STRIPE MODULE
                                                     150                                       168
                  ....-------....._--,
                   •QATAFORM DECODE MODULE                                      POWER MODULE
                                                     152                                          165
                   AUTODISCRIMINATlON MODULE                                LENS DRIVER MODULE


                                                                FlG.1A



                                                    ILLUMINATION MODULE
                                           LIGHT SOURCE . 160
                                           ILLUMINATION CONTROL MODULE                 164

                                           ILLUMINATION POWER MODULE
                                           INTERFACE MODULE    17.2.

                                                                EIG.5A


                                                                                                         HONEYWELL-00230381

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                                  AUTODISCR!MINATION MODULE
                                                                       150           152
                                  DATAFORM DECODE MODULE
                                                                             1208
                           IMAGE PROCESSING AND ANALYSIS MODULE
                        FEATURE EXTRACTION MODULE

                          BlNARIZER MODULE ./ 1226
                                                                             1212
                                     LINE THINNING MODULE           1228

                          CONVOLUTION MODULE         1230



                                     GENERALIZED CLASSIFIER MODULE           1216

                                          SIGNATURE DATA
                                        PROCESSING MODLILE            1218

                                       OCR DECODING MODULE
                                                                      1222

                                       GRAPHICS ANALYSIS MODULE
                                                                             1224




                                                FIG.18




                                                                                     HONEYWELL-00230382

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                                                      ,r1300

                                        RECORDING ACTUATION EVENT      1302

                                                                                    1304

                  j COLLECTING   IMAGE FROM TARGET IN RESPONSE TO ACTUATION EVENT
                                                                                     .1308
                         TRANSFERRING IMAGE DATA TO DATAFORM DECODE MODULE
                                                                     1.310
                                   SEARCHING IMAGE DATA FOR MARKERS
                                                                             1314
                                 APPLYJNG DATAFORM DECODING ALGORITHM


                                                                               1318
                                   OUTPUTTING DECODED DATAFORM DATA


                  FIG.1C               SIGNALING A SUCCESSFUL READ
                                                                         1322

                                                                               1326
                         TRANSFERRING !MAGE DATA TO IMAGE PROCESSING MODULE
                                                                                    1328
                           PROCESSING THE IMAGE DATA BY BINARIZER MODULE
                                                                                     . 1332
                        PROCESSING THE IMAGE DATA SY THE UNE THINN!NG MODULE


                        PROCESSING THE IMAGE DATA BY THE CONVOLUTION MODULE
                                                                                        1340
                        FEEDING OUTPUTS FROM FEATURE EXTRACTION MODULE INTO
                                  THE GENERALIZED CLASSIFIER MODULE

                                                                             1344
                                   TRANSFERRING IMAGE DATA TO IMAGE




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                                    ROW o
                                        b


                         FIG.2A
                        Prior Art
                                                                4n         TIME




                                                                                        r28
                 ILLUMINATION

                 ROW a RESET    _      __.n.____ _ _ ____,,r,2

               110W a READ-OUT - - - - . i n
                                           . .                               r16
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                 fmW b RESET    __         . . , _ _ J n . __ _ _ _ _......
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               ROW b READ-OUT   -____.n~._____       . _
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                                                     FIG.2B
                                                    Prior Art



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                                                     FIG.3
                                                Prior Art



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                                                                                 PROCESSOR
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                                         ILLUMINATION                             IC CHIP


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                                             FIG.4A
                                                              < nI                     u
                                                                                  MEMORY
                                                                                                    ~584



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                                                                                    PROCESSOR
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                        FIG.48
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                                                                                                                   ~584

                                                                                       MEMORY

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                                SENSOf~ ARRti.Y CONTROL MODULE
                        IOPTICS MODULE ~ 178
                        ISENSOR ARRAY MODULE ~182

                                SENSOR ARRAY CONTROL MODULE            ( 190
                           . GLOBAL ELECTRONIC SHUTTER CONTROL MODULE              -186

                           -I ROW/COLUMN ADDRESS + DECODE MODULE ~/- 194
                            READ OUT MODULE ~ 198
                            ROLLING SHUTTER CONTROL MODULE          202



                                                 FIG.58




                                       FIG.6




                                                                                          HONEYWELL-00230387

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                                      ILLUMINATION CONTROL MODULE 1              INTERFERE MODULE I r 172
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                                                                          168b                                                         ~
                                                                                             CONTROL MODULE                           ~

                    162                              POWER MODULE                                                                      ~
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                                            COLUMN CIRCUITRY                 270
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                                                             FIG.BA
                                                        Prior Art




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                                                  FIG.BB
                                              Prior Art




                                                  FIG~BC
                                             Prior Art




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                                ACTIVATING AN ILLUMINATION SOURCE TO ILLUMINATE                         ~
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                        A TARGET IN RESPONSE TO AN ILLUMINATION CONTROL TIMING PULSE
                                                                           [312                         0
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                                                       !                                                µ.
                                                                                                        ~
                      ACTIVATING THE GLOBAL ELECTRONIC SHUTTER TO SIMULTANEOUSLY EXPOSE
                                                                                                        ~
                     A PLURALITY OF PIXELS IN A PLURALITY OF ROWS IN AN IMAGE SENSOR TO                 ~


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                      PHOTOCONVERT INCIDENT RADIATION INTO ELECTRIC CHARGE IN RESPONSE                  0
                                                                                                        ~

                                    TO AN EXPOSURE CONTROL TIMING PULSE                                 0'I



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                                                                                                        r:r,
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                        PROCESSING THE PHOTOCONVERSION GENERATED ELECTRIC CHARGE TO                     ('D
                                                                                                        =-
         FIG.9          PRODUCE IMAGE DATA, THE PROCESSING OCCURRING !N RESPONSE TO                     a
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                      THE EXPOSURE CONTROL TIMING PULSE AND INCLUDING AT LEAST STORING                  ~

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                        THE GENERATED !MAGE DATA IN A SHIELDED PORTION OF EACH PIXEL
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                 READING OUT AND PROCESSING THE STORED IMAGE DATA VALUES FROM THE PLURALITY
                   OF PIXELS IN RESPONSE TO A PLURALITY OF READ OUT CONTROL TIMING PULSE$
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                                                                                                                   Pg: 32 of 423




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                                  TRANSFER IMAGE DATA TO DATAFORM DECODE                                U1
                                                                                                        ~
                                    MODULE OR AUTOOISCRIMINATION MODULE                                 -..J
                                                                                                        =
                                                                                                        Cd
                                                                                                        N




                                                                                              HONEYWELL-00230391
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                                                                                                       PX-206

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                                                (350
               ILLUMINAT_IO_N_ _ ___.I            354 I
                                                      .... - - - - -

                        _ _ _ _3
                EXPOSU_RE      _6_0~ -    _ 3_64_ _ __
                                      ....-                                          FIG. 10A
                                                   I,.__8
                       - - - - - - - - - - - ' ~I3 6
                 READ OUT                                      ____

                                                  350'
               ILLUMINAT_IO_N_ _ _ _ _n           ...._ _ _ _ __
                                                   7'354'
                EXPOSURE                                                             FIG. 108
                        -----
                 READ OU_T_ _ _ _ _ _ ___,rf:...._3_68
                                                     _'_ _



                                                      350"
                                                  C
               ILLUMINATION
                        -----
                EXPOSURE______              __,           cc:354"
                                                                                     FIG. 10C
                      - _ _ _ _ _ _ _ _!r---.'--368"
                 READOUT                     L


                                                              350"'
               ILLUMINATION
                        -----                            t!
                EXPOSURE___       __,           e:::  354"'
                                                                                     FIG. 10D
                                                                      368"'
                 READ OU""-T_ _ _ _ _ _ ____,~




                                                       350, 350', 350", 350"'
               ILLUMINATION                                                          FIG. 10E




                                                                                              HONEYWELL-00230392

                                                  JA2155
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                                                                                  30bt
                                                                              PD2
                                                                             ~~·
                                                                                     II
                                                                   RSEL2             I
                                                                   ·-----·--+



                                 ~    I-=-           =!=
                             20al
                                        TO COLUMN                 TO COLUMN
                                     READOUT CIRCUITS          READOUT CIRCUITS




                                     RG              n
                                     .m._n

                                     RSEL1

                                     RSEL2
                  FIG.12
                 Prior Art           SS1     n
                                     SR1             n
                                     SS2         n
                                     SR2                   n

                                                                                     HONEYWELL-00230393

                                                 JA2156
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                                                                                                PX-206

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                                                            ,400


                                                 INITIATE
                                                              402
                                                                                 404
                        ILLUMINATE TARGET CONTAINING OBJECT TO BE IMAGED
                                                                    408
                            ENTER ROLLING SHUTTER OPERATIONAL MOOE
                                                             414
                                            VARY FOCUS

                            READ-OUT INDIVIDUAL ROWS OF IMAGE DATA
                                                                                       424
                ANALYZE ROWS OF IMAGE DATA WITH AUTOMATIC FOCUSING ALGORITHM

                           ESTABLISH PROPER FOGUS FOR IMAGED TARGET              428

                                                                      432
                                      ENTER GLOBAL ELECTRONIC
                                     SHUTTER OPERATIONAL MODE

                                                                      432
                                      ENTER GLOBAL ELECTRONIC
                                     SHUTTER OPERATIONAL MODE


                                 COLLECT FULL FRAME OF IMAGE           436
                                  DATA IN GLOBAL ELECTRONIC
                                  SHUTTER OPERATIONAL MODE


                                     TRANSFER IMAGE DATA TO            438
                                  DATAFORM DECODE MODULE OR
                                     AUTODISCR!MINATION MODULE


                                                FIG.13



                                                                                       HONEYWELL-00230394

                                                 JA2157
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                                                                                                    PX-206

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                                                           _,600


                                                I .INITIATE.
                                                       !
                                                             ~/ 602

                         STORING A CALCULATED MINIM!JM INTEGRATION TlME


                                     COLLECTJNG IMAGE DATi\             608


                                        AN EXPOSURE TIME FOR CURRENT _,r6 12
                         I, ESTABUSHING
                                     ENVIRONMENTAL CONDITIONS


                         COMPARING ESTABL!SHED EXPOSURE TIME WITH THE            L.,r 61 6
                              MINIMUM INTEGRATION T!ME THRESHOLD


                          SHIFT TO ROLLING SHUTTER OPERATIONAL MODE IF
                        !NTEGRAW)N TIME IS SHORTER THAN THE CALCUl.ATED           ,_,,r62 0
                                MINIMUM INTEGRATION TIME THRESHOLD
                                                                                       rs 24
                                                                                       ;

                • MI\INTAIN GLOBAL ELECTRONIC SHUTTER OPERATIONAL MOOE IF THE
                • ESTABL!SH(O INTEGRATIOt~ TIME IS GREATER THAN OR EQUAL TO
                •




                •       THE CALCULATED MINIMUM INTEGRATION TIME THRESHOLD

                                                    i
                                    TRANSFER IMAGE DATA TO  I/ 626
                                 DATAFORM DECODE MODULt OR
                                  AUTODISCRIMINATION MODULE




                                            FIG.14




                                                                                           HONEYWELL-00230395

                                                  JA2158
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                                                                                                         PX-206

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                        100b, 100~      .-



                                                                               .3170
                                                       GLOBAL
                                3154                   SHUTTER
                                                       BUTTON
                                3156
                                                       BUTTON
                                3158
                                                       BUTTON
                                3i60-
                                3162
                                                        IMAGE
                                3164                   CAPTURE


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                                                        d 0            216

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                                                 ,                           512
                          FIG.15A            /        0 0
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                                 506                  000 0
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                               212

                                                     1802                                 /100
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                                                     FlG.158
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                 ...___ ,.____ .~-~·- ---                                      FIG.15C
                          i 60



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                                                                                                                                  USCA4 Appeal: 23-1850




                                         DISPLAY          .--,.I MICRO-CONTROLLER 1----1 KEYBOARD                     ~
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                                                •         "'                                                          !""t-
                                                                                                                      =
                                                                                     ,556
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                                       PROCESSOR IC
                                           CHIP
                                                               ~....j1802,11
                                                                      BLUETOOTH ~ 564                                 0
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                                                                                                                                  Doc: 45-5




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         160b....J ~. ILLUMINATION      j CP*I                                                                        N
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                         MODULE                     552                                                               0-,


         l 60b--! ,-·-·                                                   RFIO     578
                          lCO~TROLI
                                                                                                                      'J).

                              164b                                         SMART                                      ('!>
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                                                                            CARD                                      ....,....




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                                                                                                                                  Pg: 38 of 423




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                                                                                                                      t.,1
                                                    FIG.t6                                                            ~
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                                                                                                                      N




                                                                                                            HONEYWELL-00230397
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                               mEE8 mEE8
                               E§ EE8 E§ EE8                           1250



                               Efl EE8 m EE8
                                            FIG. l 7A




                             mEE8 Efl EE8
                             mEE8 Efl EE8                            1250



                   1260       Efl                Efl EE8
                             EEEB EEEB EEEB    Effi
                               ;           m m Effi
                                                                              1251




                                            FtG.178



                                                                                     HONEYWELL-00230398

                                                JA2161
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                        VERTICAL                                 SIGNATURE.
                        HISTOGRAM                                   AREA



                         FIG.18




                         FlG.19A                                 FIG.19B




                        ~
                        FIG.19C                                  FIG.19D



                                                                                  HONEYWELL-00230399

                                              JA2162
                                                                                                                                     PX-206



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                                                                                                                                      •
                                                                                                                                      "'C
                                                                                                                                                USCA4 Appeal: 23-1850




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                                                                                                                                     ati>
                                                                                                                                     =~
                                                                              164
                                                                                           INTERFERE MODULE    172
                                                   JLLUMINATION CONTROL MODULE
                                                                                                                                      0
                                                                                                                                                Doc: 45-5




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                                                                                                                                      ~
                                                                                                                           1.12       ~
                                                                                                                                     ~
                                                                                    168b           CONTROL MODULE                     ~
                                                                  POWER MODULE                                                        0
                     ✓162                                                                                                             ~
                 .._.   160                          165                                                                              0'I


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         174.                                                                                                                         ~




JA2163
                                                                          SENSOR ARRAY                                                0
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         170      -.. t• t,                                                                                                           w
                                                                                                                                                Filed: 04/01/2024




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                 ~4) 162)' 'I j          '"' 212      I    182
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         166 '                                                                                                                        ~
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                          424
                                \                                                 12108
                         CREATE HISTOGRAM
                        PLOTTING LINE PIXEL v2102
                               VALUES

                                    I
                                                                            PIXEL VALUES
                         ASSESS HISTOGRAM          /2104                     FI.G.22A
                        DATA TO DETERMINE
                         IN-FOCUS SETTING
                        OR TO DETERMI.NING
                          WHETHER IMAGE
                    READER IS ACCEPTABLY
                     FOCUSED AT PRESENT                              ~ ~ .._·.
                                                                           _  __
                                                                               ·_'_21-10_.··
                                                                                   _ _ ·••

                          • SETTiNC •
                                                                            PIXEL VALUES
                             FIG.21
                                                                             FIG.228


                                                                                  14108
                       CREATE HISTOGRAM                              ·w
                                           1,r4102                   u
                                                                     z:
                 I PLOTTING WINDOWED FRAME                           Lu
                          PD<EL VALUES                               a
                                                                     ~
                                                                          L__~====------
                                                                            PIXEL VALUES
                     ASSESS HISTOGRAM   4104                                 FIG.30A
                    DATA TO DETERMINE V
                     IN-FOCUS SETTING
                    OR TO DETERMINING
                       WHETHER !MAGE                                 t 5 · ~ {4110
                   READER JS ACCEPTABLY                              ~
                   FOCUSED AT PRESENT
                          SETTING                                    ~~-~
                                                                            PIXEL VALUES
                            FIG.29.                                          FIG.JOB



                                                                                           HONEYWELL-00230401

                                                        JA2164
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                                                                                             PX-206

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                                                    ,r400
                                               INITIATE     402
                                                                    408
                            ENTER ROLLING SHUTTER OPERATIONAL MODE

                                                                  414
                                       SET LENS INTO MOTION

                                                                  420
                                        READ OUT INDIVIDUAL
                                        ROW OF IMAGE DATA

                                                                     424
                                    ANALYZE ROW OF IMAGE DATA




                                                                        NO




                        FIG.23                     YES
                                                                    428b
                                     MOVE LENS TO DETERMINED
                                         IN FOCUS SETTfNG

                                                                     432
                                      ENTER GLOBAL ELECTl~ONIC
                                     SHUTTER OPERATIONAL MODE


                                    COLLECT FULL FRAME OF IMAGE         436
                                     DATA IN GLOBAL ELECTRONIC
                                     SHUTTER OPERATIONAL MODE


                                       TRANSFER IMAGE DATA TO  ·. 438
                                    DATAFORM DECODE MODULE OR
                                     AUTODISCRIMINATION MODULE




                                                                                   HONEYWELL-00230402

                                              JA2165
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                                                            .,r400
                                                                 402
                                                 INITIATE
                                                                       408
                                        ENTER ROLLING SHUTTER
                                          OPERATIONAL MODE

                                                                        414
                                         SET LENS INTO MOTION

                                                                        420
                                          READ OUT INDIVIDUAL
                                          ROW OF IMAGE DATA

                                     ANALYZE ROW OF IMAGE DATA               424




                                                                              NO



                        FIG.24

                                      ENTER GLOBAL ELECTRONIC
                                     SHUTTER OPERATIONAL MODE



                                    COLLECT FULL FRAME Of IMAGE               436
                                     DATA IN GLOBAL ELECTRONIC
                                     SHUTTER OPERATIONAL MODE



                                      TRANSFER IMAGE DATA TO                  438
                                    OATAFORM DECODE MODULE OR
                                     AUTODISGRIMINATION MODULE




                                                                                        HONEYWELL-00230403

                                                 JA2166
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                                                                                                      PX-206

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                                                                         INITIATE

                                /800                                                        814
                                                             SET LENS INTO MOTION
                                        802
                           INITIATE
                                                                                            820
                                                              READ OUT WINDOWED
                   SET LENS INTO MOTION • 814                FRAME OF IMAGE DATA

                                              820
                    READ OUT WINDOWED                      ANALYZE WINDOWED FRAME            824
                   FRAME OF IMAGE DATA                           OF IMAGE DATA


                  ANALYZE WINDOWED FRAME          824
                        OF IMAGE DATA


                           ESTABLISH      828
                        IN-FOCUS LENS
                            SETTING


                    COLLECT FULL FRAME        836
                      OF IMAGE DATA                        MOVE LENS TO DETERMINED
                                                               IN FOCUS SETTING
                                              838
                   TRANSFER IMAGE DATA TO
                DATAFORM DECODE MODULE OR                     COLLECT FULL FRAME         836
                 AUTOOISCRIM!NATION MODULE                      OF lMAGE DATA
                                                                                            838
                          FIG.25                           TRANSFER IMAGE DATA TO
                                                         DATAFORM DECODE MODULE OR
                                                          AUTODISCRIM!NATION MODULE


                                                                    FIG.26




                                                                                             HONEYWELL-00230404

                                                    JA2167
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                                                                                              PX-206

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                                                 /800
                                                        802
                                           INITIATE

                                                               814
                                    SET LENS INTO MOTION

                                                               820
                                         READ OUT
                                       OF IMAGE DATA


                               ANALYZE WINDOWED FRAME              824
                                    OF IMAGE DATA




                                         ·OWED F
                                         GE. DATA 1·
                                         IMAGE REA
                                         RtSENTLY


                                               YES

                                    COLLECT FULL FRAME        836
                                      OF IMAGE DATA ••

                                                              838
                                TRANSFER IMAGE OATA TO
                             DATAFORM DECODE MODULE ·OR
                              AUTODISCRIMlNATlON MODULE



                                          FlG,27



                                                                                     HONEYWELL-00230405

                                              JA2168
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                                                                                  t
                                                                         ·\q: j'              2802a

                                                                                       :.......,,-2802
                         FIG.28A
                                                                                              2802b
                                             ..-t    +,                 .... l+.~ -
                                                     -H+                   +tf+




                                                                                           /182


                                                                                          2804
                        FIG.288




                                                                    , .-2806



                                    2806        ·'"···-·
                                                           ·.·l
                                                                         . : t · --2806
                                                           -~ ·1        •• 1··+

                        FIG.28C
                                    2806 •                                            •··2806
                                                                   \J 2806




                                                                                                           HONEYWELL-00230406

                                                    JA2169
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                                           SELECT BETWEEN
                                           ROLLING SHUTTER         3102
                                         AND GLOBAL SHUTTER
                                           OPERATING MODE
                                           CONFIGURATIONS




                                                                                  3116
                           INITIATE                                    INITIATE


                                        3106                                      3118

                   COLLECT IMAGE DATA                         COLLECT IMAGE DATA
                   UTILIZING ROLLING                          UTILIZING GLOBAL
                   SHUTTER OPERATIONAL                        ELECTRONIC SHUTTER
                   MODE                                       OPERATIONL MODE


                                          3108                                      3120
                   TRANSFER IMAGE                             TRANSFER IMAGE
                   DATA TO DATAFORM                           DATA TO DATAFORM
                   DECODE MODULE                              DECODE MODULE
                   OR AUTODISCRIMINATION                      OR AUTODISCRIMINATION
                   MODULE                                     MODULE




                                                  FIG. 31




                                                                                         HONEYWELL-00230407

                                                   JA2170
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                                                                                              PX-206

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                                                  3202


                                                             3204
                              ENTER ROLLING SHUTTER
                                OPERATIONAL MODE    14------.




                                       COLLECT        3206
                                     IMAGE DATA


                           TRANSFER IMAGE DATA TO                  3208
                           DATAFORM DECODE MODULE
                           ORAUTODISCRIMINATION MODULE



                              ENTER GLOBAL SHUTTER           3210
                                OPERATIONAL MODE

                                                                             3216
                                      COLLECT         3212
                                     IMAGE DATA


                                                                   3214
                           TRANSFER IMAGE DATA TO
                           DATAFORM DECODE MODULE
                           OR AUTODISCRIMINATION MODULE




                                         FIG.32




                                                                                     HONEYWELL-00230408

                                               JA2171
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                                                                                                   PX-206

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                                                                                FIG. 33
                                                                      ,160f
                                                                     60, 160j
                                                                     06




                                          1842




                         FIG. 34




                            1810
                              ~1802                           FIG. 36
                 1806
                               1804

                        FIG. 35



                                                                                          HONEYWELL-00230409

                                                  JA2172
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                                                                                                                            PX-206

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                            AIMING BANK 1           BANK 2                       BANK 3                   BANK 4
                EMBODIMENT LEDS 160A 1608 LEDS 160C, 160E, 160H, 160J, LEDS 160D, 160F, 160G, 1601,   LEDS lB0AS, 160T
                                     '      160L, 160N, 1600, 160Q       160K, 160M, 160P, 160R
                              GREEN EMITTING                                                          WHITE EMITTING
                                                  RED EMITTING (RED)        BLUE EMITTING (BLUE)
                                 (GREEN)                                                                  (WHITE]

                     2            GREEN                  RED                        RED                    RED


                     3             RED                   RED                        RED                    RED


                     4            GREEN                  RED                       GREEN                   BLUE


                     5             BLUE                 WHITE                      WHITE                   RED


                     6            GREEN                 WHITE                       RED                    RED

                     7            WHITE                  RED                        RED                    RED


                     8            GREEN                  RED                        RED                    RED




                                                               FIG. 37




                                                                                                                   HONEYWELL-00230410

                                                                JA2173
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                                                                                                                                                       PX-206

                                                                   US 9,465,970 B2
                                            1                                                                     2
                    IMAGE READER COMPRISING CMOS                                  diagranJmatically represented by the bars 4a ... 4n (gen-
                      BASED IMAGE SENSOR ARRAY                                    erally 4). The horizontal extent 8 of each bar is intended to
                                                                                  correspond to the exposure period for a particular row. The
                        CROSS-REFERENCE TO RELATED                                horizontal displacement of each bar 4 is suggestive of the
                                    APPLICATIONS                                  shifting time period during which each row of pixels is
                                                                                  exposed. As can be seen in FIG. 2A, the exposure period for
                Tiiis application is a continuation of U.S. patent applica-       sequential rows overlap. This is shown in more detail with
             tion Ser. No. 13/052,768, filed Mar. 21, 2011, (now U.S. Pat.        respect to the timing diagrams for a rolling shutter archi-
             No. 8,733,660) entitled "Image Reader Comprising CMOS                tecture shown in FIG. 2B. The second 12 and third 16 lines
             Based Image Sensor Array," which is a divisional of U.S. 10 of the timing diagram represent the reset timing signal and
             patent application Ser. No. 12/534,664, filed Aug. 3, 2009,          the read out timing signal, respectively, for row "a." The
             (now U.S. Pat. No. 7,909,257) entitled "Apparatus Having             fourth 20 and fifth 24 lines represent the reset and the read
             Coordinated Exposure Period and Illumination Period,"                out timing signals, respectively for row "b." As shown in
             which is incorporated by reference herein in its entirety,           both FIGS. 2A and 2B, the exposure for row "b" is initiated
             which is a div;sional of U.S. patent application Ser. No. 15 before the values for row "a" are read out. The exposure
             11/077,975, filed Mar. 11, 2005, (now U.S. Pat. No. 7,568,           periods for adjacent rows of pixels typically overlap sub-
             628) entitled "Apparatus Having Coordinated Exposure                 stantially as several hundred rows of pixels must be exposed
             Period and Illumination Period," which is incorporated               and read during ilie capture of a frame of data. As shown by
             herein by reference in its entirety. Tiiis application is related    fue illumination timing signal on ilie first line 28, ilie rolling
             to U.S. patent application Ser. No. 11/077,976, filed Mar. 11, 20 shutter architecture with its overlapping exposure periods
             2005, (now U.S. Pat. No. 7,611,060) entitled "System and             requires that the illumination source remain on during
             Method to Automatically Focus an Image Reader," which is             substantially all of fue time required to capture a frame of
             incorporated herein by reference in its entirety.                    data so that illumination is provided for all of the rows.
                                                                                     In operation, the rolling shutter architecture suffers from
                             FIELD OF THE INVENTION                            25 at least two disadvantages: image distortion and image blur.
                                                                                  Image distortion is an artifact of the different times at which
                The invention relates to image data collection in general         each row of pixels is exposed. The effect of image distortion
             and particularly to an image data collector witl1 coordinated        is most pronounced when fast moving objects are visually
             illumination and global shutter control.                             recorded. The effect is demonstrated in fue image shown in
                                                                               30 FIG. 3 that shows a representation of an image taken with a
                       BACKGROUND OF THE INVENTION                                rolling shutter of a bus image pixels 50 passing through the
                                                                                  field of view from right to left. As fue top row of bus image
                Many traditional imager readers, such as hand held and            pixels 54 of fue bus was taken earlier than the bottom row
             fixed mounted bar code and machine code readers, employ              of pixels 58, and as the bus was traveling to the left, the
             charge-coupled device (CCDs) based image sensors. A CCD 35 bottom row of bus image pixels 58 is displaced to fue left
             based image sensor contains an array of electrically coupled         relative to the top row of bus image pixels 54.
             light sensitive photodiodes fuat convert incident light energy          Image blur is an artifact of the long exposure periods
             into packets of electric charge. In operation, fue charge            typically required in a rolling shutter architecture in an
             packets are shifted out of fue CCD imager sensor for                 image reader. As indicated above, in a rolling shutter archi-
             subsequent processing.                                            40 tecture the illumination source must remain on during sub-
                Some image readers employ CMOS based image sensors                stantially all of the time required to capture a frame of data.
             as an alternative imaging technology. As wifu CCDs, CMOS             Due to battery and/or illumination source limitations, the
             based image sensors contain arrays of light sensitive pho-           light provided during fue capture of an entire frame of data
             todiodes that convert incident light energy into electric            is usually not adequate for short exposure times. Without a
             charge. Unlike CCDs, however, CMOS based image sensors 45 short exposure time, blur inducing effects become pro-
             allow each pixel in a two-dimensional array to be directly           nounced. Common examples of blur inducing effects
             addressed. One advantage of this is that sub-regions of a full       include the displacement of an image sensor due to, for
             frame of image data can be independently accessed. Another           example, hand shake wifu a hand held image reader.
             advantage of CMOS based image sensors is that in general                What is needed is an image reader that overcomes fue
             they have lower costs per pixel. Tiiis is primarily due to the so drawbacks of current CMOS image readers including image
             fact that CMOS image sensors are made with standard                  distortion and image blur.
             CMOS processes in high volume wafer fabrication facilities
             that produce common integrated circuits such as micropro-                         SUMMARY OF THE INVENTION
             cessors and the like. In addition to lower cost, the common
             fabrication process means that a CMOS pixel array can be 55             In one aspect, the invention features a complementary
             integrated on a single circuit with other standard electronic        metal oxide semiconductor (CMOS) based image reader for
             devices such as clock drivers, digital logic, analog/digital         collecting image data from a target. The CMOS based
             converters and the like. Tiiis in tum has the further advan-         imager reader comprises a CMOS based image sensor array;
             tage of reducing space requirements and lowering power               a timing module in electrical communication with the
             usage.                                                            60 CMOS based image sensor array. The timing module is
                CMOS based image readers have traditionally employed              capable of simultaneously exposing an entire frame of pixels
             rolling shutters to expose pixels in the sensor array. In a          offue CMOS based image sensor array during an exposure
             rolling shutter architecture, rows of pixels are activated and       period. The CMOS based image reader also comprises an
             read out in sequence. The exposure or integration time for a         illumination module capable of illuminating the target dur-
             pixel is the time between a pixel being reset and its value 65 ing an illumination period. The illumination module is in
             being read out. Ibis concept is presented in FIG. 2A. In FIG.        electrical communication with the timing module. The
             2A, fue exposure for each of the rows "a" though "n" is              CMOS based image reader further comprises a control




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             module in electrical communication with the timing module           exposure control timing pulse that is capable of simultane-
             and the illumination module. The control module is capable          ously exposing substantially all of the pixels in the image
             of causing at least a portion of the exposure period to occur       sensor array. The image reader also comprises an illumina-
             during the illumination period. In one embodiment of the            tion module in electrical communication with the integrated
             CMOS based image reader, illuminating the target com-               circuit. The illumination module comprises light sources
             prises overdriving light sources in the illumination module.        that are capable of illuminating the target in response to an
             In another embodiment of the CMOS based image reader,               illumination control timing pulse. At least a portion of the
             the light sources comprise light emitting diodes. In a further      illumination control timing pulse occurs during the exposure
             embodiment of the CMOS based image reader, the exposure             control timing pulse. In one embodiment of the image
             period starts after the start of the illumination period and the 10 reader, the illumination control timing pulse is generated by
             exposure period ends before the end of the illumination             an illumination module. In another embodiment of the
             period. In yet another embodiment of the CMOS based                 image reader, the overlap between the illumination control
             image reader, the illumination period starts after the start of     timing pulse and the exposure control timing pulse is
             the exposure period and the illumination period ends before         coordinated by a control module that is in electrical com-
             the end of the exposure period. In yet an additional embodi- 15 munication with the integrated circuit and the illumination
             ment of the CMOS based image reader, the illumination               module. In a further embodiment of the image reader, the
             period starts before the start of the exposure period and the       control module comprises a microprocessor. In one embodi-
             illumination period ends before the end of the exposure             ment of the inlage reader, illuminating the target comprises
             period. In yet a further embodiment of the CMOS based               overdriving light sources. In another embodiment of the
             image reader, the exposure period has a duration of less than 20 inlage reader, the light sources comprise light emitting
             3.7 milliseconds. In various embodiments of the CMOS                diodes. In a further embodiment of the image reader, the
             based image reader, the target includes a symbology such as         exposure period starts after the start of the illumination
             a one-dimensional bar code such as a Code 39 or a UPC code          period and the exposure period ends before the end of the
             or a two-dimensional bar code such as a PDF417 bar code,            illumination period. In yet another embodiment of the inlage
             an Aztec symbol or Datamatrix symbol.                            25 reader, the illumination period starts after the start of the
                In another aspect the invention features a complementary         exposure period and the illumination period ends before the
             metal oxide semiconductor (CMOS) based image reader for             end of the exposure period. In yet an additional embodiment
             collecting image data from a target. The CMOS based                 of the image reader, the illumination period starts before the
             imager reader comprises an integrated circuit including at          start of the exposure period and the illumination period ends
             least a CMOS based image sensor array and global elec- 30 before the end of the exposure period. 1n yet a further
             tronic shutter control circuitry. The global electronic shutter     embodiment of the image reader, the exposure period has a
             control circuitry is capable of generating an exposure control      duration of less than 3.7 milliseconds. In various embodi-
             timing pulse that is capable of causing the simultaneous            ments of the CMOS based image reader, the target includes
             exposure of substantially all of an entire frame of pixels of       a symbology such as a one-dimensional bar code such as a
             the CMOS based image sensor array. The CMOS based 35 Code 39 or a UPC code or a two-dimensional bar code such
             image reader also comprises light sources in electrical             as a PDF417 bar code, an Aztec symbol or Datamatrix
             communication with the integrated circuit. The light sources        symbol.
             are capable of illuminating the target including the symbol-           In another aspect, the invention features a method for
             ogy in response to an illumination control timing pulse. At         collecting image data from a target. The method comprises
             least a portion of the illumination control timing pulse 40 activating light sources to illuminate the target in response
             occurs during the exposure control timing pulse. In one             to an illumination control timing pulse. The activation of the
             embodiment of the CMOS based image reader, illuminating             light sources occurs for the duration of the illumination
             the target comprises overdriving light sources. In another          control timing pulse. The method also comprises simulta-
             embodiment of the CMOS based image reader, the light                neously activating a plurality of pixels to photoconvert
             sources comprise light emitting diodes. In a further embodi- 45 incident radiation. The activation of the plurality of pixels
             ment of the CMOS based image reader, the exposure period            occurs in response to an exposure control timing pulse. The
             starts after the start of the illumination period and the           method additionally comprises storing image data collected
             exposure period ends before the end of the illumination             by each of the plurality of pixels in a shielded portion of each
             period. In yet another embodiment of the CMOS based                 of the plurality of pixels. The storing of the image data
             image reader, the illumination period starts after the start of so occurs in response to the exposure control timing pulse. The
             the exposure period and the illumination period ends before         method further comprises reading out image data from the
             the end of the exposure period. In yet an additional embodi-        plurality of pixels wherein at least a portion of the exposure
             ment of the CMOS based image reader, the illumination               control timing pulse occurs during the illumination control
             period starts before the start of the exposure period and the       timing pulse. In one embodiment, the method further com-
             illumination period ends before the end of the exposure 55 prises coordinating the overlap between the illumination
             period. In yet a further embodiment of the CMOS based               control timing pulse and the exposure control timing pulse.
             image reader, the exposure period has a duration of less than       The coordination is directed by a control module. In one
             3.7 milliseconds. In various embodiments of the CMOS                such embodiment of the method, the control module com-
             based image reader, the target includes a symbology such as         prises a microprocessor. In another embodiment of the
             a one-dimensional bar code such as a Code 39 or a UPC code 60 method, illuminating the target comprises overdriving light
             or a two-dimensional bar code such as a PDF417 bar code,            sources in an illumination module. In an additional embodi-
             an Aztec symbol or Datamatrix symbol.                               ment of the method, the light sources comprise light emitting
                In a further aspect, the invention features an image reader      diodes. In a further embodiment of the method, the storing
             for collecting image data from a target. The imager reader          of inlage data occurs in response to a stop portion of the
             comprises an integmted circuit including at least an image 65 exposure control timing pulse. In an additional embodiment
             sensor array and exposure timing control circuitry. The             of the method, the exposure period starts after the start of the
             exposure timing control circuitry is capable of generating an       illumination period and the exposure period ends before the




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             end of the illumination period. In yet another embodiment of        In a further aspect, fue invention features a complemen-
             the method, the illumination period starts after the start of    tary metal oxide semiconductor (CMOS) based image reader
             the exposure period and the illumination period ends before      for collecting image data from a target. lbe CMOS based
             the end of the exposure period. In yet an additional embodi-     iniager reader comprising an integrated circuit including at
             ment of the method, the illumination period starts before the    least a CMOS based image sensor array, fue CMOS based
             start of the exposure period and the illumination period ends    image sensor array comprising a first plurality of pixels and
             before the end of the exposure period. In yet a further          a second plumlity of pixels, fue CMOS based image sensor
             embodiment of the method, the exposure period has a              array capable of reading out the first plurality of pixels
             duration of less than 3.7 milliseconds. In various embodi-       independently of reading out fue second plurality, each of
             ments of the CMOS based image reader, the target includes 10 the pixels of the CMOS based image sensor array compris-
             a symbology such as a one-dimensional bar code such as a         ing a photosensitive region and an opaque shielded data
             Code 39 or a UPC code or a two-dimensional bar code such         storage region. The CMOS based image sensor array also
             as a PDF417 bar code, an Aztec symbol or Datamatrix              comprising a global electronic shutter control circuitry, the
             symbol.                                                          global electronic shutter control circuitry configured to
                In another aspect, the invention features a bar code image 1s generate an exposure control timing pulse that is capable of
             reader for collecting and processing bar code data from a bar    causing the simultaneous exposure of substantially all of an
             code symbol. TI1e image reader comprises a two-dimen-            entire frame of pixels of the CMOS based image sensor
             sional array of pixels for receiving light radiation reflected   array. The CMOS based image sensor array further com-
             from the bar code symbol, the two-dimensional array of           prising light sources configured to illuminate the target in
             pixels comprising a first plurality of pixels and a second 20 response to an illumination control timing pulse, fue light
             plurality of pixels, the two-dimensional array capable of        sources in electrical communication with the integrated
             reading out the first plurality of pixels independently of       circuit. In operation of the CMOS based image reader at
             reading out the second plurality, each of the pixels compris-    least a portion of fue illumination control timing pulse
             ing a photosensitive region and an opaque shielded data          overlaps with at least a portion of the exposure control
             storage region. The image reader also comprising an optics 25 timing pulse. In one embodiment offue CMOS based image
             assembly for directing light radiation reflected from the bar    reader, illuminating the target comprises overdriving light
             code symbol onto the two-dimensional array of pixels. The        sources in fue illumination module. In anofuer embodiment
             image reader further comprising a global electronic shutter      of the CMOS based reader fue light sources comprise light
             associated with the two-dimensional array of pixels, the         emitting diodes. In a further embodiment of the CMOS
             global electronic shutter capable of simultaneously exposing 30 based image reader, the exposure control timing pulse has a
             substantially all of the pixels in the two-dimensional array.    shorter duration than the illumination control timing pulse.
             The image reader additionally comprising a processor mod-        In an additional embodiment of fue CMOS based image
             ule, the processor module in electronic communication with       reader, fue illumination control timing pulse has a shorter
             the two-dimensional array of pixels, the processor module        duration tlJan fue exposure control timing pulse. In still
             capable of processing image data from the two-dimensional 35 another embodiment of the CMOS based imager reader, fue
             array of pixels to generate decoded bar code data. In one        illumination control timing pulse starts before the start of the
             embodiment of the bar code image reader, the two-dimen-          exposure control tinring pulse and tile illumination control
             sional image sensor array is a complementary metal oxide         timing pulse ends before the end of the exposure control
             (CMOS) image sensor. In another embodiment of the bar            timing pulse. In still a further embodiment of the CMOS
             code image reader, processing the image data to generate 40 based imager reader, the exposure control timing pulse has
             output data comprises automatically discriminating between       a duration of less tlian 3.7 milliseconds. In still an additional
             a plurality of bar code types.                                   embodiment of tlie CMOS based imager reader, the target
                In another asp1.-'Cl, the invention features a complementary  includes a symbology. In one such embodiment, the sym-
             metal oxide semiconductor (CMOS) based image reader for          bology is a one-dimensional bar code. In anotlier such
             collecting image data from a target. The CMOS based 45 embodiment, tl1e symbology is a two-dimensional bar code.
             iniager reader comprises a CMOS based image sensor array,        In one such embodiment, the two-dimensional bar code is a
             the CMOS based in1age sensor array comprising a first            PDF417 bar code.
             plurality of pixels and a second plurality of pixels, the           In a further aspect, tile invention features a bar code image
             CMOS based image sensor array capable of reading out the         reader for collecting image data from a bar code. The imager
             first plurality of pixels independently of reading out the so reader comprises an integmted circuit including at least a
             second plurality, each of the pixels of the CMOS based           two-dimensional image sensor array, the two-dimensional
             image sensor array comprising a photosensitive region and        image sensor array including a plurality of active pixels,
             an opaque shielded data storage region. The CMOS based           each active pixel including at least a shielded data storage
             image reader also comprising a timing module in electrical       area, fue two-dimensional image sensor array capable of
             communication with the CMOS based image sensor array, 55 employing a transfer function to convert an incident light
             the tinring module configured to simultaneously expose an        intensity into an output voltage, fue transfer function having
             entire frame of pixels of the CMOS based iniage sensor           a first region with a first slope and a second region wifu a
             array during an exposure period. The CMOS based image            second slope, the two-dimensional image sensor array
             sensor array further comprising an illumination module           capable of employing tlie second region of fue transfer
             configured to illuminate the target during an illumination 60 function when fue incident light intensity is above a speci-
             period, the illumination module in electrical communication      fied level and fue two-dimensional image sensor array
             with the timing module. The CMOS based iniage sensor             capable of employing the first region of the transfer function
             array additionally comprising a control module in electrical     when the incident intensity is below a specified level. The
             communication with tlie timing module and the illumination       bar code image reader also comprises an exposure tinring
             module, fue control module configured to cause at least a 65 control circuitry, tlie exposure timing control circuitry con-
             portion of the exposure period to occur during the illumi-       figured to generate an exposure control timing pulse tliat is
             nation period.                                                   capable of simultaneously exposing all or substantially all of




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             the pixels in the image sensor array to photoconvert incident      global electronic shutter control module are integrated on
             radiation. In one embodiment, the exposure control timing          the san1e integrated circuit containing the image sensor
             pulse has a duration ofless than 3.7 milliseconds. In another      array. In a further embodiment of the image reader, the
             embodiment, a dynamic range of the two-dimensional image           rolling shutter control module and the global electronic
             array sensor is greater than 65 decibels.                          shutter control module are combined in a single image array
                In yet another aspect, the invention features a method for      control module. In an additional embodiment of the inlage
             automatically focusing an image reader. The method com-            reader, the rolling shutter control module is capable of
             prises directing with an optical system light energy reflected     causing exposure periods for adjacent rows of pixels to
             from a target onto an image sensor. The method also                overlap.
             comprises exposing sequentially a plurality of rows of pixels 10      In another aspect, the invention features an image reader
             in the image sensor during a frame exposure period, the            for minimizing ambient light image degradation. The image
             frame exposure period being defined as a time duration             reader comprises an integrated circuit including at least an
             extending from the beginning of the exposure of the first of       image sensor array, the image sensor array providing a
             the plurality of rows to the end of the exposure of the last of    signal suitable for light intensity determination. The image
             the plurality of rows. The method further comprising vary- 15 reader also comprises a rolling shutter control module
             ing in incremental steps an optical system from a first setting    configured to sequentially expose a plurality line of pixels in
             where a distinct image of objects located at a first distance      the image sensor array. The image reader further comprises
             from the image reader is formed on the inlage sensor to a          a global electronic shutter control module configured to
             second setting where a distinct image of objects located at a      simultaneously expose the plurality of lines of pixels in the
             second distance from the image reader is formed on the 20 image sensor array, wherein one of the rolling shutter control
             image sensor. The method additionally comprising reading           module and the global electronic shutter control module is
             out a plurality of rows of inlage data from the plurality of       capable of being selected to control the image sensor array
             rows of pixels in the image sensor, wherein the varying in         in response to the signal suitable for light intensity deter-
             incremental steps the optical system occurs during at least a      mination. In one embodiment of the image reader, the signal
             portion of the frame exposure period. In one embodiment, 25 suitable for light intensity determination includes informa-
             the method further comprises analyzing the plurality of rows       tion related to an intensity of a light source of the image
             of image data to determine a proper setting for the optical        reader. In another embodiment of the image reader, the
             system corresponding to a distinct image of the target being       signal suitable for light intensity determination is useful for
             formed on the image sensor. In an additional embodiment,           determining whether a minimum integration time is satis-
             the method also comprises simultaneously exposing the 30 fled. In a further embodiment of the image reader, the signal
             plurality of rows in the image sensor to generate an image         suitable for light intensity determination is useful for deter-
             of the target. In one embodin1ent of the method, the exposure      mining whether the exposure time (also known as the
             period for adjacent lines of pixels in inlage reader overlap.      integration time) for the current environmental condition is
             In another embodiment of the method, the target includes a         less than a calculated minimum integration time. In yet
             symbology. In one such embodiment, the symbology is a 35 another embodiment of the image reader, the rolling shutter
             one-dimensional bar code. In another such embodiment, the          control module and the global electronic shutter control
             symbology is a two-dimensional bar code.                           module are integrated on the same integrated circuit con-
                In another aspect, the invention features an image reader       taining the image sensor array.
             with an automatic focusing capability. The imager reader              In still another aspect, the invention features a method for
             comprising an integrated circuit including at least an image 40 minimizing image data degradation collected by an image
             sensor array. The image reader also comprising an optical          reader. The method comprises determining at least one
             system capable of directing light reflected from a target onto     parameter related to an ambient light intensity and analyzing
             the image sensor array, the optical system having a plurality      the at least one parameter. The method also comprises
             of focus settings, a first focus setting corresponding to          switching control of an image sensor array in the image
             distinct images of objects located at a first distance from the 45 reader from a global electronic shutter control module to a
             iniage reader being formed on the iniage sensor array and a        rolling shutter control module in response to the analysis of
             second focus setting corresponding to distinct images of           the at least one parameter. In one embodiment of the method,
             objects located at a second distance from the image reader         the at least one parameter includes an exposure time for
             being formed on the image sensor array. The image reader           current environmental conditions. In another embodiment of
             further comprising a rolling shutter control module config- 50 the method, the analyzing the at least one parameter includes
             ured to sequentially expose a plurality of rows of pixels in       calculating a ratio of the exposure time for current environ-
             the image sensor array to collect focusing image data. The         mental conditions to a predetermined exposure time. In one
             imager reader additionally comprising an automatic focus-          such embodiment, the predt.-termined exposure time is based
             ing module configured to analyze the focusing image data to        on illumination supplied by light sources of the image
             determine a focus setting for the target corresponding to a 55 reader. In another embodiment of the method, analyzing the
             distinct image of the target being formed on the inlage            at least one parameter includes determining whether a ratio
             sensor, wherein the optical system is capable of being varied      of the ambient light intensity to an intensity of a light source
             in incremental stt.-ps from the first focus setting to the second  of the image reader exceeds a specified threshold.
             focus setting during at least a portion of a time period during       The foregoing and other objects, aspects, features, and
             which the rolling shutter control module is sequentially 60 advantages of the invention will become more apparent from
             exposing the plurality of rows of pixels. In one embodiment,       the following description and from the claims.
             the imager reader further comprises a global electronic
             shutter control module configured to simultaneously expose                BRIEF DESCRIPTION OF THE DRAWINGS
             the plurality of lines of pixels in the image sensor array to
             collect a frame of inlage data once the focus setting for the 65      The objects and features of the invention can be better
             target has been determined. In another embodiment of the           understood with reference to the drawings described below,
             image reader, the rolling shutter control module and the           and the claims. The drawings are not necessarily to scale,




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             emphasis instead generally being placed upon illustrating            FIG. 17A shows one embodiment of a plurality of
             the principles of the invention. In the drawings, like m1mer-     curvelent detector maps which may be utilized with the
             als are used to indicate like parts throughout the various        invention;
             views.                                                               FIG. 17B shows another embodiment of a plurality of
                FIG. lA is a block diagram of one embodiment of an             curvelent detector maps which may be utilized with the
             image reader constructed in accordance with the principles        invention;
             of the invention;                                                    FIG. 18 is a diagrammatic representation of a histograni
                FIG. lB is a schematic block diagram ofan autodiscrimi-        analysis which may be performed in one embodiment of the
                                                                               invention;
             na~~~-m:i~: ;~;!c::y f~; ;~~~~ii;i~!~i~~::n::~he 10                  FIGS. 19A-19D are diagrammatic representations of an
             invention including automatically discriminating between          image data segmentation process according to embodiments
                                                                               of the invention;
             different dataform types;
                                                                                  FIG. 20 is a schematic block diagram of one embodiment
                FIG. 2A illustrates the operation of an image sensor
                                                                               of a lens driver constructed in accordance with the principles
             employing a rolling shutter architecture according to the 15 of the invention;
             prior art;                                                           FIGS. 21, 22A and 2213 are diagrani illustrations of a
                FIG. 2B is a timing diagrani used in the prior art rolling     focus level detection process according to an embodiment of
             shutter architecture presented with respect to FIG. 2A;           the invention;
                FIG. 3 is a representation of an image taken by a prior art       FIGS. 23, 24, 25, 26 and 27 are flow diagrams illustrating
             image sensor;                                                  20 various focusing processes which may be practiced accord-
                FIG. 4A is a block electrical diagram corresponding to a       ing to the invention;
             specific embodiment of the invention;                                FIGS. 28A, 28B and 28C are representations of image
                FIG. 4B is a block electrical diagrani corresponding to        sensor pixel array, wherein shaded regions indicate groups
             another specific embodiment of the invention;                     of positionally contiguous pixels that may be selectively
                FIG. SA is a block diagram of one embodiment of an 25 addressed and read out when the image sensor array is
             illumination module in an image reader constructed in             operated in a windowed frame operating mode;
             accordance with the principles of the invention;                     FIGS. 29, 30A and 30B are diagran1s illustrating a focus
                FIG. SB is a block diagram of one embodiment of an             level detection process which may be utilized in an embodi-

             ~~:;~!~ec:t:     :~!~:;:: :~:           :::~~~~structed in 30
                FIG. 6 is a perspective drawing of one embodiment of a
                                                                               ment of the invention;
                                                                                  FIGS. 31 and 32 are flow diagrams illustrating additional
                                                                               processes   which may be practicL-d in accordance with the
             hand held image reader constructed in accordance with the         invention;
                                                                                  FIG. 33 is an exploded assembly view of an imaging
             principles of the invention;
                                                                               module according to the invention;
                FIG. 7 is a schematic block diagram of one embodiment 35
                                                                                  FIG. 34 is a front view of the imaging module shown in
             of an image reader constructed in accordance with the
                                                                               FIG. 33;
             principles of the invention;                                         FIG. 35 is a side view of an assembled imaging module
                FIG. 8A is a schematic diagrani of a portion of one            as shown in FIG. 33;
             embodin1ent of an image sensor array from the prior art that         FIG. 36 is a view of a substrate bearing a bar code symbol
             can be employed in one embodiment of the image reader of 40 and having projected thereon an illumination pattern and an
             FIG. 7;                                                           aiming pattern and having delineated thereon a full frame
                FIGS. 8B and 8C are cross-sectional details of pixel           field of view of an image reader according to the invention
             architectures from the prior art that can be employed in one      that projects the illumination pattern and the aiming pattern;
             embodiment of the image reader of FIG. 7;                         and
                FIG. 9 is a flow chart illustrating one embodiment of a 45        FIG. 37 is a chart describing various embodiments of the
             process for collecting image data according to the principles     invention having LEDs which emit light in different wave-
             of the invention;                                                 length bands.
                FIGS. l0A, lOB, lOC, and l0D are timing diagrams for
             various embodiments of the process of FIG. 9;                                 DETAILED DESCRIPTION OF THE
                FIG. lOE illustrates an illumination control timing pulse 50                           INVENTION
             including a plurality of individual pulses;
                FIG. 11 is a schematic diagram of a portion of an image           The invention features an image reader and a correspond-
             sensor according to the prior art;                                ing method for capturing a sharp non-distorted image of a
                FIG. 12 is a timing diagram for the prior art image sensor     target. In one embodiment, the image reader comprises a
             of FIG. 11;                                                    55 two-dimensional CMOS based image sensor array, a timing
                FIG. 13 is a flow chart illustrating one embodiment of a       module, an illumination module, and a control module all in
             process for automatic focusing according to the principles of     electrical communication with each other. The illumination
             the invention;                                                    module shines light on the target, such as a symbology such
                FIG. 14 is a flow chart illustrating one embodiment of a       as one or two-dimensional bar code, so that reflected light
             process for changing operational modes according to the 60 that can be collected and processed by the image sensor
             principles of the invention;                                      array. The time during which the target is illuminated is
                FIGS. 15A, 15B, and 15C are various views of one               referred to as the illumination period. The capture of the
             embodiment of portable data terminal image reader con-            image by the image sensor array is driven by the timing
             structed in accordance with the principles of the invention;      module that, in one embodiment, is able to simultaneously
                FIG. 16 is an electrical block diagram of one embodiment 65 expose all or substantially all of the pixels in the array. The
             of the portable data terminal image reader of FIGS. 15A,          simultaneous exposure of the pixels in the sensor array
             1513, and 15C;                                                    enables the image reader to capture a distortion free image.




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             The time during which the pixels are collectively activated        may be in accordance with e.g., process 300, process 400,
             to photo-convert incident light into charge defines the eiq,o-     (this process is used twice, see FIG. 13 and FIGS. 23 and
             sure period for the sensor array. At the end of the exposure       24), process 600 or process 800. After collection, the image
             period, the collected charge is transferred to a shielded          data is transferred (step 1308) to the dataform decode
             storage area until the data is read out. In one embodiment,        module 150. The dataform decode module searches (step
             the exposure period and the illumination period are under          1310) the image data for markers, such as a quiet zone,
             the control of the control module. In one such embodiment,         indicative of the presence of a dataform, such as a one or
             the control module causes at least a portion of the exposure       two-dimensional bar code. If a potential dataform is located,
             period to occur during the illumination period. By                 the dataform decode module 150 applies (step 1314) one or
             adequately shortening either the illumination period or the 10 more dataform decoding algorithms to the ensuing image
             exposure period in an environment of low ambient lighting          data. If the decode attempt is successful, the image reader
             or the exposure period in an environment of high ambient           100 outputs (step 1318) decoded dataform data and signals
             lighting, the image reader of the present invention is able to     (step 1322) a successful read with an alert, such as a beep
             capture an image substantially free of blurring.                   tone.
                Referring to FIG. lA, a block diagram of a general image 15        In one embodiment if the decode attempt is not success-
             reader 100 constructed in accordance with the invention is         ful, the image data is transferred (step 1326) to the image
             shown. The general iniage reader includes one or more of:          processing and analysis module 1208. In another embodi-
             an illumination module 104, an image collection module             ment, the image data is processed in parallel with the attempt
             108, a control module 112, a memory module 116, an I/0             to decode the dataform data. In one such embodiment, the
             module 120, an actuation module 124, a user feedback 20 process that completes first (i.e., dataforrn decode attempt or
             module 128, a display module 132, a user interface module          the image processing) outputs its data (e.g., a decoded bar
             134, a radio frequency identification (RFID) module 136, a         code or a captured signature) and the other parallel process
             smart card module 140, magnetic stripe card module 144, a          is terminated. In a further embodiment, the image data is
             decoder module 150, an autodiscriminating module 152,              processed in response to the decoding of the dataform. In
             and/or one or more power modules 168 and a lens driver 25 one such embodiment, a bar code encodes item information
             module 165. In various embodiments each of the modules is          such as shipping label number and information indicating
             in combination with one or more of the other modules. In           that a signature should be captured.
             one embodiment, the image reader 100 comprises a bar code             Within the image processing and analysis module 1208,
             image reader with a full frame electronic global shutter           the image data is processed by the feature extraction module
             based image sensor that is capable of simultaneously expos- 30 1212. In general, the feature extraction module generates
             ing substantially all of the pixels in the image sensor. In one    numeric outputs that are indicative of the texture of the
             such embodiment, the image sensor is a CMOS based image            image data. As indicated above, the texture of the image data
             sensor. In another such embodiment, the image sensor is a          refers to the characteristics of the type of data contained in
             CCD based image sensor.                                            the image data. Common types of texture include one or
                Dataform decode module 150 (which may be a bar code 35 two-dimensional bar code texture, signature texture, graph-
             symbol dataform decode module) when receiving image                ics texture, typed text texture, hand-written text texture,
             data transferred by control module 112 may search the              drawing or image texture, photograph texture, and the like.
             image data for markers, such as a quiet zone, indicative of        Within any category of textures, sub-categories of texture
             the presence of a dataform, such as a one or two-dimensional       are sometime capable of being identified.
             bar code. If a potential dataform is located, the dataform 40         As part of the processing of the image data by the feature
             decode module 150 applies one or more dataform decoding            extraction module 1212, the image data is processed (step
             algorithms to the image data. If the decode attempt is             1328) by the binarizer module 1226. The binarizer module
             successful, the image reader outputs decoded dataform data         1226 binarizes the grey level image into a binary image
             through 1/0 module 120 and signals a successful read with          according to the local thresholding and target image size
             an alert, such as a beep tone through user interface module 45 normalization. With the image data binarized, the in1age data
             134.                                                               is processed (step 1332) by the line thinning module 1228 to
                Image reader 100 may also include an autodiscriminating         reduce multi-pixel thick line segments into single pixel thick
             module 152. Referring to FIG. lB, autodiscriminating mod-          lines. With binarized line thinned image data, the image data
             ule 152 may incorporate a dataform decode module 150 and           is processed (step 1336) by the convolution module 1230.
             an image processing and analysis module 1208, that are in 50          In general, the convolution module 1230 convolves the
             communication with one another.                                    processed image data with one or more detector maps
                As shown in this embodiment, the image processing and           designed according to the invention to identify various
             analysis module 1208 comprises a feature extraction module         textural features in the image data. In one embodiment, the
             1212, a generalized classifier module 1216, a signature data       convolution module 1230 generates a pair of numbers, the
             processing module 1218, an OCR decode module 1222, and 55 mean and variance (or standard deviation), for each con-
             a graphics analysis module 1224 that are in communication          volved detector map. FIG. 17A shows a set of 12 2x3 binary
             with each other. In addition as shown in FIG. lB, the feature      curvelet detector maps 1250 used to detect curved elements
             extraction module 1212 comprises a binarizer module 1226,          present in image data. As each of the curvelet detector maps
             a line thinning module 1228, and a convolution module 1230         1250 is convolved with the image data, the mean value and
             that are in communication with each other.                      60 the variance generated provide an indication of the presence
                FIG. 1C shows a process 1300 for employing one embodi-          or density of elements in the binarized line thinned image
             ment of the invention utilizing the autodiscrimination mod-        data having similar shapes to the curvelet detector maps
             ule shown in FIG. lB. The process 1300 comprises an image          1250. As each pixel map generates a pair of numbers, the 12
             reader recording an actuation event (step 1302), such as a         curvelet detector maps 1250 generate a total of 24 numbers.
             trigger pull as sensed by actuation module 124, and in 65 According to one embodiment, these 24 numbers are rep-
             response collecting (step 1304) image data from a target           resentative of the curved or signature texture of the pro-
             with the image reader 100. The collecting of image data step       cessed image data.




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                Further processing of the image data includes the outputs         sis. As shown in FIG. 18, a histogram analysis consists of a
             from the feature extraction module 1212 being fed (step              series of one-dimensional slices along horizontal and verti-
             1340) into the generalized classified module 1216. The               cal directions defined relative to the orientation of the
             generalized classifier module 1216 uses the numbers gen-             signature. In one embodiment, the value for each one-
             erated by the feature extraction module as inputs to a neural        dimensional slice corresponds to the number of black (i.e.,
             network, a mean square error classifier or the like. These           zero valued) pixels along that pixel slice. In some embodi-
             tools are used to classify the image data into general               ments if no bar codes have been decoded, then some
             categories. In embodiments employing neural networks,                specified region of the full frame of image data, such as a
             different neural network configurations are contemplated in          central region is captured for signature analysis. Once com-
             accordance with the invention to achieve different opera- 10 pleted, the histogram analysis provides a two-dimensional
             tional optimizations and characteristics. In one embodiment          plot of the density of data element pixels in the image data.
             employing a neural network, the generalized classifier mod-          The boundary of the signature is determined with respect to
             ule 1212 includes a 24+12+6+1=43 nodes Feedforward,                  a minimum density that must he achieved for a certain
             Back Propagation Multilayer neural network. The input                number of sequential slices. In one embodiment, the histo-
             layer has 24 nodes for the 12 pairs of mean and variance 15 gram analysis searches inwardly along both horizontal and
             outputs generated by a convolution module 1230 employing             vertical directions until the pixel density rises above a
             the 12 curvelet detector maps 1250. In the neural network of         predefined cutoff threshold. So that the signature data is not
             this embodiment, there are two hidden layers of 12 nodes             inadvertently cropped, it is common to use low cutoff
             and 6 nodes respectively. There is also one output node to           threshold values.
             report the positive or negative existence of a signature.         20    In one embodiment, once the boundaries of the signature
                In another embodiment employing a neural network, the             have been determined, the signature data processing module
             20 curvelet detector maps 1260 shown in FIG. 17B are used            1218 crops the image data and extracts the signature image
             by the convolution module 1230. As shown, the 20 curvelet            data. In one snch embodiment, the cropping is performed by
             detector maps 1260 include the original 12 curvelet detector         an image modification module that generates modified
             maps 1250 of FIG. 17A. The additional 8 pixel maps 1260 25 image data in which a portion of the image data not
             are used to provide orientation information regarding the            including the signature has been deleted. In other embodi-
             signature. In one embodiment employing the 20 curvelet               ments, various compression techniques are employed to
             detector maps 1260, the generalized classifier module 216 is         reduce the memory requirements for the signature image
             a 40+40+20+9=109 nodes Feedforward, Back Propagation                 data. One such technique includes the encoding of the
             Multiplayer neural network.1ne input layer has 40 nodes for 30 signature image data by run length encoding. According to
             the 20 pairs of mean and variance outputs generated by a             this technique, the length of each run of similar binarized
             convolution module 1230 employing the 20 curvelet detec-             values (i.e., the lengtl1 of each run of 1 or 0) for each scan
             tor maps 1260. In the neural network of this embodiment,             line is recorded as a means of reconstructing a bit map.
             there are two hidden layers of 40 nodes and 20 nodes                 Another encoding technique treats the signature image data
             respectively, one output node to report the positive or 35 as a data structure where the elements of the data structure
             negative existence of a signature, and 8 output nodes to             consist of vectors. According this encoding technique, the
             report the degree of orientation of the signature. The eight         signature is broken down into a collection of vectors. The
             output nodes provide 2"°=256 possible orientation states.            position of each vector in combination with the length and
             'Therefore, the orientation angle is given in degrees between        orientation of each vector is used to reconstruct the original
             0 and 360 in increments of 1.4 degrees.                           40 signature. In one such embodiment, the encoding process
                In some embodiments, the generalized classifier module            generates a new vector whenever the curvature for a con-
             1216 is capable of classifying data into an expanded col-            tinuous pixel run exceeds a specified value. A further com-
             lection of categories. For example in some embodiments, the          pression technique employs B-Spline curve fitting. This
             generalized classifier module 1216 specifies whether the             technique has the capacity to robustly accommodate curva-
             image data contains various data types such as a signature; 45 ture and scaling issues.
             a dataform; handwritten text; typed text; machine readable              In various embodiments, the signature image data or a
             text; OCR data; graphics; pictures; images; forms such as            compressed or encoded version of the signature image data
             shipping manifest, bill of lading, ID cards, and the like;           is stored locally on a dedicated memory device. In one such
             fingerprints, biometrics such as fingerprints, facial images,        embodiment, the local memory device can he a detachable
             retinal scans and the like, and/or other types of identifiers. In so memory device such as a CompactFlash memory card or the
             further additional embodiments, the generalized classifier           like described in more detail below. In another embodiment,
             module 1216 specifies whether the image data includes                the signature image data is stored in a volatile or non-volatile
             various combinations of these data types. In some embodi-            portion of general purpose memory and downloaded at a
             ments, the general classifier module 1216 specifies whether          future time. In a further embodiment, the signature image
             the image data contains a specified type of data or not. In one 55 data can be transmitted via wired or wireless means either at
             such embodiment, the image processing and analysis mod-              the time of capture or at a later point, such as when a data
             ule 1208 is contained within an identification module that           collection session has been completed.
             outputs an affirmative or negative response depending on the            In another embodiment, the signature data processing
             presence or absence of the specified data type, such as a            module 218 does not perform a histogram analysis but
             signature or a biometric, in the image data.                      60 simply stores in memory the entire image or a compressed
                In one embodiment once the presence of a signature has            version once the presence of a signature has been deter-
             been confirmed and its general orientation determined,               mined. In a farther embodiment to save processing time, the
             image data is transferred (step 1344) to the signature data          initial image analysis is performed on a lower resolution
             processing module 1218. In one embodiment, the signature             image. Once the presence of a signature is determined in this
             data processing module 1218 is used to detect the bound- 65 embodiment, a higher resolution image is taken. In one
             aries of the signature in the image data. In one embodiment,         embodiment, a signature extraction histogram analysis is
             the signature boundary is detected using a histogram analy-          performed on this image. Next, the image is stored in




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             memory in either compressed or original format. In some              Additional image processing operations which may be
             embodiments, the image data is combined with other data to        carried out by image reader 100 are described in U.S. patent
             form a record for a particular item such as a package or          application Ser. No. 10/958,779, filed Oct. 5, 2004 entitled,
             shipping envelope. As mentioned above, some of the addi-          "System And Method To Automatically Discriminate
             tional data that can be collected by the image reader 100 and     Between A Signature And A Bar code" and incorporated
             stored with or separate from the signature data includes but      herein by reference in its entirety.
             is not limited to dataform data, handwritten text data, typed        Referring to additional components of image reader 100
             text data, graphics data, image or picture data, and the like.    indicated in FIG. lA and FIG. SA, illumination module 104
                As part of its operations, the image processing and            can include light sources 160, an illumination control mod-
                                                                            10 ule 164, an illumination power module 168a, and an inter-
             analysis module 1208 can be designed to perform special-
                                                                               face module 172. In various embodiments, the light sources
             ized tasks for different data types. For example, if the
                                                                               160 can include white or colored LEDs, such as 660 nm
             generalized classifier module 1216 determines that the
                                                                               illumination LEDs, infrared LED, ultra-violet LED, lasers,
             image data contains typed or machine readable text, the           halogen lights, arc lamps, or incandescent lights, capable of
             image data can be collected, possibly histogram analyzed, 1s producing adequate intensity light given image reader power
             and stored or alternatively the image data can be transferred     constraints and image sensor exposure/sensitivity require-
             to the OCR decocling module 1222. Similarly, if the gener-        ments. In many embodiments, LEDs are chosen for the light
             ali7~d classifier module 1216 determines that the image data      source as their efficient operation enables relatively low
             includes a graphic element, the image data can be transferred     power consumption. The illumination control module 164
             to the graphics analysis module 1224 for processing. In one 20 controls the operation of illumination module 104 and can
             embodiment, the graphics analysis module 1224 is config-          include timing and light source activation and deactivation
             ured to recognize and decode predefined graphics. In one          circuitry. The illumination power module 168a supplies the
             such embodiment, the graphics analysis can include deter-         energy necessary to drive the light sources 160 and can
             mining which, if any, boxes have been selected in the billing     include batteries, capacitors, inductors, transformers, semi-
             and shipping instructions on a shipping label. In a further 25 conductors, integrated circuits and the like. In an alternative
             embodiment, the graphics analysis can include locating and        embodiment, some or all of the elements of the illumination
             decoding the typed or handwritten text contained in the zip       power module 168a are located external to the illumination
             code box on a shipping label. In an alternative embodiment,       module. A.n image reader 100 with a single common power
             the image reader 100 can be configured to automatically           source is one such embodiment. The interface module 172 is
             attempt decode operations in addition to the dataform 30 used for communication with the other modules of the image
             decode, such as OCR decoding or graphics decocling, prior         reader 100 such as those required to synchronize operations.
             to the activation of the feature extraction module 1212.          This can include, for example, the coorclination of the
                In another embodiment, the image processing and analy-         illumination and exposure periods discnssed above.
             sis module 1208 segments the image data into regions and             Referring to the physical fonn views of FIGS. 33-36,
             performs a feature extraction and general classification 35 various components of illumination module 104 and image
             analysis on each region. In one embodiment as shown in            collection module 108 according to one embodiment of the
             FIG. 19A, the standard rectangular image data window is           invention are shown and described. An image reader 100 of
             divided into four equal sized sub-rectangles. In another          the invention, as shown in the embodiment of FIGS. 15A-
             embodiment shown in FIG. 198, the segmentation consists           15C, may include an imaging module such as imaging
             of overlapping regions so that the total area of the segmented 40 module 1802. Imaging module 1802 as shown in FIGS.
             regions is larger than that of the complete field of the image    33-35 incorporates certain features of an IT4000 imaging
             data. In FIG. 88 there are seven shown overlapping regions        module as referenced herein and additional featur1.->s. Imag-
             where each identifying numeral is shown in the center of its      ing module 1802 includes first circuit board 1804 carrying
             region. In a further embodiment shown in FIGS. 19C and            light sources 160a, 160b, while second circuit board 1806
             19D, the segmentation consists of sample regions (shown as 45 carries light sources 160c, 160d, 160e, 16(!{, 160g, 160h,
             cross-hatched) within the complete field of the image data.       160i, 160j, 160k, 1601, 160m, 160n, 1600, 160p, 160q, 160r,
             In another embodiment, the sampled regions can be based on        160s, and 160t (hereinafter 160c througl1160t). First circuit
             a preloaded user template that, for example, identifies           board 1804 also carries image sensor array 182. Imaging
             regions of interest such as a signature region and/or a bar       module 1802 also includes support assembly 1810 including
             code region, in for example, a shipping label.                 50 lens holder 1812, which holds lens barrel 1814 that carries
                In one embodiment, the segmentation process is used to         imaging lens 212. Light sources 160a, 160b are aiming
             identify the location of a signature in image data the might      illumination light sources whereas light sources 160c
             include additional elements such as dataforms including bar       through 160t are illumination light sources. Referring to
             code dataforms, text, graphics, images and the like. In one       FIG. 36, illumination light sources 160c through 160! proj-
             such embodiment the generalized classifier module 1216 55 ect a two-dimensional illumination pattern 1830 over a
             classifies the contents of each region of the segmented image     substrate, s, that carries a decodable indicia such as a bar
             data. The region containing the signature is then extracted by    code symbol 1835 whereas aiming illumination light
             the signature data processing module 1218. In one embodi-         sources 160a, 160b project an aiming pattern 1838. In the
             ment if multiple regions are indicated as containing signa-       embodiments shown and described in connection with
             ture data, the signature data processing module 1218 ana- 60 FIGS. 33-36, light from aiming illumination light sources
             lyzes the arrangement of these regions to identify the region     160a, 160b is shaped by slit apertures 1840 in combination
             most likely to contain the image data. In a further embodi-       with lenses 1842 which image slits 1840 onto substrate, s, to
             ment when multiple regions are indicat1.--d as containing         form aiming pattern 1838 which in the embodiment of FIGS.
             signature data, the image processing and analysis module          33-36 is a line pattern 1838. Illumination pattern 1830
             establishes a feedback loop where additional segmented 65 substantially corresponds to a full frame field of view of
             regions are generated and analyzed until a single segmented       image reader 100 designated by box 1850. Aiming pattern
             region containing signature data is located.                      1838 is in the form of a line that ell.i:ends horizontally across




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             a center of field of view of image reader 100. Illumination          applying timing, read out and reset signals and the like.
             pattern 1830 may be projected when all of illumination light         Referring to further aspects of CMOS image sensor IC chip
             sources 160c through 160t are operated simultaneously.               182a, CMOS image sensor IC chip 182a includes, on the
             Illumination pattern 1830 may also be projected when a               same chip as pixels 250 row circuitry 296, column circuitry
             subset oflight sources 160c through 160t are simultaneously          270, processing and control circuitry 254 including pixel
             energized. Illumination pattern 1830 may also be projected           amplifiers 255, optically shields storage area 258, intercon-
             when only one of light sources 160c through 160t is ener-            nects 262, a gain circuit 1084, an analog-to-digital conver-
             gized such as LED 160s or LED 160t. LEDs 160s and 160t               sion circuit 1086 and line driver circuit 1090, which gener-
             of imaging module 1802 have a wider projection angle than            ates a multi-bit (e.g., 8 bit 10 bit) signal indicative of light
             LEDs 160c through 160t.                                           10 incident on each pixel 250 of array, the output being
                As shown in FIG. SB, the image collection module 108 in           presented on a set of output pins of chip 1082a. Referring to
             one embodiment includes an optics module 178, a sensor               additional on-chip elements of image sensor IC chip 1082a,
             array module 182, and a sensor array control module 186 all          CMOS image sensor IC chip 1082a includes timing/control
             in electrical communication with each other. The optics              circuit 1092 which may include such components as a bias
             module 178 includes an imaging lens or other optical 1s circuit, a clock/timing generation circuit, and an oscillator.
             elements used to direct and focus reflected radiation. In            Timing/control circuit l 092 may form part of sensor array
             some embodiments, the optics module 178 includes associ-             control module 108 as described in connection with FIG.
             ated circuitry and processing capacity that can be used, for         SB.
             example, as part of automatically determining the proper                Referring to further aspects of image reader 100 of FIG.
             focus for an object, being imaged.                                20 4A, image reader 100 includes a main processor IC chip 548,
                The sensor array control module 186 includes a global             memory module 116, illumination module 104, and actua-
             electronic shutter control module 190, a row and column              tion module 124. Main processor IC chip 548 may be a
             address and decode module 194, and a read out module 198,            multifunctional IC chip having an integrated frame grabber
             each of which modules is in electrical communication with            circuit 549 and central processing unit (CPU) 552. Processor
             one or more of the other modules in the sensor array control 25 IC chip 548 with an integrated frame grabber may be an e.g.,
             module 186. In one embodiment, the sensor array module               an XSCALE PXA27X processor IC chip with "Quick Cap-
             182 includes components of an integrated circuit chip 1082           ture Camera Interface" available from INTEL. Image reader
             as shown in FIG. 4A with a two-dimensional CMOS based                100 further includes actuation module 124 which generates
             image sensor arrdy 182. In various embodiments, associated           a trigger signal that initiates a bar code decode process.
             circuitry such as analog-to-digital converters and the like 30 Actuation module 124 may include a manually actuated
             can be discrete from the image sensor array or integrated on         trigger 216. Image reader 100 further includes imaging lens
             the same chip as the image sensor array. In an alternative           212 and memory module 116 including such memory
             embodiment, the sensor array module 182 can include a                devices as a RAM, EPROM, flash memory. Memory module
             CCD sensor array capable of simultaneous exposure and                116 is in communication with processor IC chip 548 via a
             storage of a full frame of image data. As indicated above in 35 system bns 584. Processor IC chip 548 may be programmed
             one embodiment, the global electronic shutter control mod-           or otherwise configured to carry out various functions
             ule 190 is capable of globally and simultaneously exposing           required of modules 104, 108, 112, 120, 124, 128, 132, 134,
             all or substantially all of the pixels in the image sensor array.    136, 140, 144, 150, 152, 168, 165 described with reference
             In one embodiment, the global electronic shutter control             to FIG. 1A. In the embodiment of FIG. 4A, the functions of
             module 190 includes a timing module. The row and column 40 dataform decode module 150 and autodiscrimination mod-
             address and decode module 194 is used to select particular           ule 152 are carried by processor IC chip 548 operating in
             pixels for various operations such as collection activation,         accordance with specific software stored in memory module
             electronic shutter data storage and data read out. The read          116. The combination of processor IC chip 548 and memory
             out module 198 organizes and processes the reading out of            module 116 is, therefore, labeled 150, 152 in the embodi-
             data from the sensor array. In some embodiments, the sensor 45 ment of FIG. 4A.
             array control module 186 further includes a rolling shutter             Referring to FIG. 4B, an embodiment of image reader 100
             control module 202 that is capable of sequentially exposing          is shown which has a CCD image sensor chip 1082, 1082b.
             and reading out the lines of pixels in the image sensor array.       CCD image sensor IC chip 1082b. CCD image sensor IC
                A specific embodiment of image reader 100 is described            chip 1082b includes an area array of pixels 250, a register
             with reference to FIG. 4A. hi the embodiment of FIG. 4A so 1094 and an output amplifier 1096 incorporated onto chip
             and image sensor array 182, 182a having a two-dimensional            1082b. Output register 1094 and associated circuitry sequen-
             array of pixels 250 is incorporated onto CMOS integrated             tially converts the charge associated with each pixel into a
             circuit (IC) chip 1082, 1082a. As is described later with            voltage and sends pixel image signals to a component
             reference to FIG. 8A, image sensor array 182a is a CMOS              external to chip 1082b. When actuated to read out image
             image sensor array adapted to operate in a global shutter 55 data, charges on a first row of pixels 250 are sequentially
             operating mode. Each pixel 250 of CMOS image sensor                  transferred to output register 1094. Output register 1094
             array 182a has an on-chip pixel amplifier 254 (shown in              sequentially feeds charges to amplifier 1096 which converts
             FIG. 8A) and an on-chip optically shielded storage area 286          pixel charges into voltages and supplies signals to image
             (shown in FIG. 8B and FIG. 8C). Image sensor array 182a              processing circuitry 1070. When charges are transferred
             may also have a two-dimensional grid of electrical inter- 60 from a first row of pixels to output register 1094, charges
             connects 262 as shown in FIG. 8A that are in electrical              from a next row move down one row so that when a first row
             communication with pixels 250. Image sensor array 182a               of charges has been converted into voltages, output register
             may also have an on-chip row circuitry 296 and column                1094 receives charges from a second row of pixels. The
             circuitry 270. Row circuitry 296 and the column circuitry            process continues until image data corresponding to pixels
             270 may enable one or more various processing and opera- 65 from all of the rows of image sensor array 182b are read out.
             tional tasks such as addressing pixels, decoding signals,            Image reader 100 further includes image signal processing
             amplification of signals, analog-to-digital signal conversion,       circuit 1070 external to chip 1082b. Image signal processing




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             circuit 1070 includes such elements as a gain circuit 1072 an    amplifier 255 and a shielded storage area 258 (for clarity of
             analog-to-digital converter 1074 and a line driver 1076.         presentation, the reference numerals 252, 254, 255, and 258
             Timing and control circuit 1078 of circuit 1070 may include      are provided only with respect to a single pixel). The
             such elements as a bias generator, an oscillator, a clock and    presence of amplifier 255 means that the CMOS image array
             timing generator. The gain circuit 1072 may also implement       182a is considered an active pixel array; that is, each pixel
             additional functionality such as correlated double sampling      of the CMOS image array 182a is able to amplify the signal
             to reduce to effects of pixel offsets and noise. Additional      generated from the photo-conversion of incident light
             components of image reader 100 are as shown in FIG. 4A.          energy. The charge-to-voltage conversion circuitry allows
             Image signal processing circuit 1070 may be included in an       the CMOS image array 182a to convert the collected charge
             integrated circuit chip (IC chip) external to image sensor IC 10 into an output signal. The shielded storage area 258 stores
             chip 1082b.                                                      collected pixel values until read out so that additional
                In one embodiment, components of image collection             incident radiation impinging on the CMOS image array
             module 108 and illumination module 104 are provided by           182a does not corrupt the value read during the defined
             any one of the IMAGETEAMTM area (2D) imaging engines,            exposure period. In addition to pixel amplifier 255, the
             such as the 4000 OEM 2D Image Engine available from 1s processing and control circuitry 254 for each pixel 250 may
             Hand Held Products, Inc. of 700 Visions Drive, P.O. Box          include, among other elements, a reset and select transistor.
             208, Skaneateles Falls, N.Y., constructed in accordance with        In one embodiment, the dynamic range of the CMOS
             the principles of the invention.                                 based image sensor array 182a is extended by providing
                Referring to FIG. 6, a perspective drawing of a hand held     additional intelligence in the processing and control circuitry
             image reader 100a constructed in accordance with one 20 254. In particular, the processing circuitry is augmented to
             embodiment of the invention is shown. The hand held image        include the capacity to dynamically change the conversion
             reader 100a includes a housing 208, a plurality of light         factor between the incident radiation input intensity and the
             sources 160, a lens 212, a trigger 216, and an interface cable   output voltage. That is, the processing circuitry employs a
             200. In various embodiments, the functionality of the image      transfer curve with multiple slopes. The particular form of
             reader 100a can be provided by any one of the area (2D) 25 the transfer curve with its multiple slopes can take various
             IMAGETEAMTM image readers such as the models 4410,               forms including a series of linear relations joined at knee
             4600, or 4800 available from Hand Held Products, Inc. and        points, a linear section at low intensity connected to a
             constructed in accordance with the invention. All of the         logarithmic transfer curve at higher intensity, or a com-
             modules 104, 108, 112, 116, 120, 124, 128, 132, 134, 136,        pletely continuous curve of arbitrary shape with steeper
             140, 144, 150, 152, 165, and 168 described in connection 30 slopes for low intensity and higher slopes at greater inten-
             with FIG. lA may be incorporated into, and may be sup-           sities.
             ported by hand held housing 208 or alternative housing 506          In the multiple slope embodiment, the dynamic range of
             shown in FIG. 15A such that housing 208 or housing 506           the CMOS based image sensor 182a is significantly
             encapsulate and support the various modules. Likewise, all       extended as each individual pixel is capable of indepen-
             of the components shown in FIGS. 4A and 4B and FIG. 16 35 dently employing a different section of the tr.insfer curve
             may be incorporated into and may be supported by housing         depending on the intensity of radiation incident upon it. In
             208 or housing 506 such that housing 208 or housing 506          operation, regions of the CMOS based image sensor 182a
             encapsulate and support the various components. Lens 212         that are receiving less incident radiation employ a steeper
             may comprise glass and/or polycarbonate. Lens 212 may be         conversion slope corresponding to greater sensitivity and
             a lens singlet or else comprise a plurality of lens compo- 40 regions that are receiving more incident radiation employ a
             nents; that is, lens 212 may be a lens doublet or lens triplet,  shallower conversion slope corresponding to less sensitivity.
             etc.                                                             With a multiple slope transfer function, the CMOS based
                Referring to FIG. 7, a diagrammatic cross sectional view      image sensor 182a can achieve a dynamic range of 65 to 120
             in combination with a schematic block diagram for the            dB. The operation of image sensors with transfer curves with
             image reader 100 is shown. The image reader 100 includes 45 multiple slopes are described in more detail in the technical
             the light sources 160, an illumination control module 164, a     document entitled "Dual Slope Dynamic Range Expansion"
             power module 168b, and an interface module 172 all in            from FillFactory Nev., Schalienhoevedreef 20B, B-2800
             electrical communication with each other. The light sources      Mechelen, Belgium. This document is available from the
             160 direct light energy 162 towards a target 166 including a     Fill Factory (www.fillfactory.com), for example at http://
             symbology 170. Reflected radiation 174 from the target 166 so www.fillfactory.com/htrn/techuology/htm/dual-slope.htm
             is focused by a lens 212 onto an image sensor array 182 in       and is hereby herein incorporated in its entirety. The opera-
             electrical communication with a sensor array control module      tion of image sensors with transfer curves with logarithmic
             186 and the power module 168b. In one embodiment, the            slopes are described in more detail in the technical document
             image sensor array 182 is a CMOS based image sensor              entitled "LinLog Technology" from Photonfocus AG, Bah-
             array. In another embodiment, the image sensor array 182 is 55 nhofplatz 10, CH-8853 Lachen, Switzerland. This document
             a CCD based image sensor array. The sensor array control         is available from the Photonfocus (www.photonfocus.com),
             module 186 is further in electrical communication with a         for example at http://www.photonfocus.com/html/eng/
             memory module 116 and a control module 112 also in               cmos/linlog.php and is hereby herein incorporated in its
             electrical communication with the power module 168b and          entirety.
             the interface module 172. Often an optical window (not 60           Overlaying the pixels 250 in FIG. 8A is a two-dimen-
             shown) is placed on the front of the scanner to reduce the       sional grid of electrical interconnects 262 that are in elec-
             likelihood of damage to the unit.                                trical communication with the pixels 250, the row circuitry
                Referring to FIG. 8A, a diagram of a portion of a CMOS        296 (see also FIG. 4A) and the column circuitry 270. The
             based image sensor array 182a is shown in more detail. The       row circuitry 296 and the column circuitry 270 enable one
             image sensor array 182a includes a two-dimensional array 65 or more processing and operational tasks such as addressing
             of pixels 250. Each pixel includes a photosensitive sensitive    pixels, decoding signals, amplification of signals, analog-
             region 252, processing and control circuitry 254 including       to-digital signal conversion, applying timing, read out and




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             reset signals and the like. With on-chip row circuitry 296 and     tion module 104 and image collection module 108 in accor-
             column circuitry 270, CMOS based image sensor array 182a           dance with process 300. The process 300 includes activating
             may he operated to selectively address and read out data           (step 304) an illumination source to illuminate the target
             from individual pixels in an X-Y coordinate system. CMOS           with illumination light 162. In one embodiment, the activa-
             based image sensor array 182a may also he operated by way          tion of the illumination source occurs in response to an
             of appropriate programming of image reader 100, to selec-          illumination control timing pulse 350. The illumination of
             tively address and read out a portion of the full frame of         the target by the activated illumination source occurs for the
             pixels. For example, in these embodiments the portion of           duration of the illumination control timing pulse 350. In one
             pixels read out can exclude undesired pixels external to a         embodiment, the illumination source is the light source 160
             desired pixel region. The portion of pixels read can also 10 and the illumination control timing pulse 350 is generated by
             represent a sampling of pixels in a region so that individual      the ilhunination control module 164 in the illumination
             pixels, rows of pixels, or columns of pixels in the region of      module 104. The process 300 also includes activating the
             interest are not read out. Further details of image reader 100     global electronic shutter to simultaneously expose (step 312)
             operating in a windowed frame operating mode in which              a plurality of pixels in a plurality of rows in an image sensor
             image reader 100 selectively addresses and reads out image 15 array to photoconvert incident radiation into electric charge.
             data from less than all pixels of image sensor array 182 is        The simultaneous activation of the plurality of pixels occurs
             described in connection with FIGS. 28A, 28B, and 28C. In           in response to an exposure control timing pulse 354. In one
             general, image reader 100 can he programmed or otherwise           embodiment, the simultaneous activation of the plurality of
             configured to selectively address and read out from CMOS           pixels occurs in response to a start portion 360 of the
             based image sensor array 182a image data from a first 20 exposure control timing pulse 354. In a further embodiment,
             plurality of pixels in the array independently of selectively      the exposure control timing pulse 354 is generated by the
             addressing and reading out a second plurality of pixels in the     global electronic shutter control module 190 (FIG. 5B) of
             array.                                                             the sensor array control module 186.
                 In one embodiment, the pixel architecture can he as               In one embodiment for collecting an image of a target that
             described in U.S. Pat. No. 5,986,297 assigned to Eastman 25 minimizes translational image distortion, the target is illu-
             Kodak Company and entitled "Color Active Pixel Sensor              minated by overdriving the illumination sources, such as
             with Electronic Shuttering, Anti-blooming and Low Cross-           LEDs, to generate illumination several times brighter than
             talk." In particular at column 3 lines 35 to 55 and at column      standard operation. Referring to an example of the invention
             5 lines 25 to 55, the patent describes the cross sections of the   wherein image reader 100 includes imaging module 1802 as
             relevant regions of the pixel architectures shown in the 30 shown in FIGS. 33-35, LEDs 160c through 160t (that is,
             patent's FIGS. lA and 2A (herein reproduced as FIGS. 8B            160c, 160d, 160e, 160/, 160g, 160h, 160i, 160j, 160k; 160/,
             and SC). The disclosure states that the pixel in FIG. 8B           160m, 160n, 1600, 160p, 160q, 160r, 160s, and 160t) each
             comprises a photodiode 270 with a vertical overflow drain          may have a standard recommend maximum DC operation
             274, transfer gate 276, floating diffusion 280, reset gate 282,    current draw rating of 40 mA (100% LED current) but may
             reset drain 284, and a light shield 286. Alight shield aperture 35 be overdriven to draw more than e.g., 60 mA. ( 150%
             288, color filter 290, and micro lens 292 are placed over the      current), or 80 mA (2000/o current) throughout the duration
             photodetector such that light is focused through micro lens        of illumination timing pulse 350, or any one of pulses 350',
             292 into light shield aperture 288 after passing through color     350", 350"' described herein. LEDs 160c through 160t,
             filter 290. Therefore, the light entering photodiode 270 has       where LEDs 160c through l60t have a standard recom-
             a wavelength that is within a predetermined bandwidth as 40 mended maximum DC operating current draw rating of 40
             determined by the color filter 290. The patent describes FIG.      mA, may also be overdriven to draw more than e.g., 120 mA
             SC as showing a second pixel architecture that is similar in       (300% current), 160 mA (400% current), 200 mA (500%
             many respects to the embodiment shown in FIG. 8B exct..-pt         current), or 500 mA (1,250% current) throughout the dura-
             that there are two transfer gates 294, 296, and a storage          tion of timing pulse 350 or any one of pulses 350', 350",
             region 298. In both cases the light shield is constructed by 45 350"' described herein. Illumination timing pulse 350,350',
             effectively covering all regions except the photodetectors         350", 350"' are shown as DC drive current pulses. However,
             (photodiode 270 in this case), with an opaque layer or             according to the invention as indicated by FIG. l0E, pulses
             overlapping layers, so that incident light falls only on the       350, 350', 350", 350"' can also be pulse modulated or
             photodiode area. Creation of an aperture in a light shield that    "strobed" pulses such that each pulse 350, 350', 350", 350"'
             limits the creation of photoelectrons to the photodetector so comprise a series of short duration individual pulses for
             region suppresses cross-talk between pixels. In FIG. SC, the       driving LEDs 160. Substituting a pulsed driving signal for a
             floating diffusion is labeled 281, the reset gate is labeled 283,  DC driving signal reduces the duty cycle of LEDs, and thus
             and the reset drain is labeled 285. In some embodiments            the power dissipated in the LEDs. Since in many cases the
             employing the pixel architecture described in U.S. Pat. No.        LED operating life is determined by the maximum junction
             5,986,297, the color filter 290 may he omitted, and in other 55 temperature of the LED die, reduced power dissipation
             embodiments the microlens 292 may be omitted.                      reduces the junction temperature. The net effect is that a
                 A process 300 for collecting image data from a target with     higher peak current can be tolerated while not exceeding the
             the image reader 100 is presented with respect to FIGS. 9,         maximum operating junction temperature limit for the LED
             lOA, lOB, l0C and l0D. In various embodiments the target           die. In general, reducing the duty cycle of LEDs 160
             can contain a symbology such as a one or two-dimensional 60 increases the amount of current that can be safely driven
             bar code. At step 302, actuation module 124 initiates process      through LEDs. The strobing rate of a "strobed" or "pulsed"
             3 00 in response e.g., to trigger 216 being depressed or to a      illumination control pulses as described herein may he, e.g.,
             sensing of a presence of an object in a field of view of image     1,000 Hz to 10,000 Hz. According to this embodiment, the
             reader 100. In one embodiment, control module 112 may              overdriven illumination sources in combination with the
             receive a trigger signal in response to a depressing of trigger 65 electronic global shutter allows for short exposure periods.
             216 or the sensing of an object and responsively present a         That is, the bright ilhunination allows for a short integration
             series of control signals to various modules, e.g., illumina-      time for each pixel and the global electronic shutter allows




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             for all of the pixels in the image sensor to be simultaneously    nation module 104 including the illumination control mod-
             sensitive. With a short exposure period for a brightly illu-      ule 164 by the control module 112 to achieve the overlap in
             minated target, an image reader of the present invention is       the illumination 350 and exposure 354 control timing sig-
             able to collect a sharp non-distorted image even when the         nals.
             target is moving relative to the image reader. In one embodi-        In one embodiment as shown in FIG. l0A, the exposure
             ment, the exposure period is less than 3.7 milliseconds. In       control timing pulse 354 begins after and finishes before the
             one embodiment in which the light sources are overdriven,         illumination control timing pulse 350. The read out control
             light sources with different colors are employed. For             timing pulse 368 begins at the conclusion of the illumination
             example, in one such embodiment the image reader includes         control timing pulse 350. In another embodiment as shown
             white and red LEDs, red and green LEDs, white, red, and 10 in FIG. 10B, the illumination control timing pulse 350'
             green LEDs, or some other combination chosen in response          begins after and finishes before the exposure control timing
             to, for example, the color of the symbols most commonly           pulse 354'. In this embodiment, the read out control timing
             imaged by the image reader. In this embodiment, the dif-          pulse 368' begins at the conclusion of the exposure control
             ferent colored LEDs are each alternatively pulsed at a level      timing pulse 354'. In further embodiments the exposure
             in accordance with the overall power budget. In another such 1s control timing pulse and the illumination control timing
             embodin1ent, both colored LEDs are pulsed each time but           pulse overlap each other while occurring sequentially. In one
             each at a relatively lower power level so that the overall        such embodiment as shown in FIG. l0C, this sequential
             power budget is again maintained. In a further embodiment,        operation can include the illumination control timing pulse
             red, green, and blue LED's can be interleaved to simulate         350" starting, the exposure control timing pulse 354" start-
             white light.                                                   20 ing, the illumination control timing signal pulse 350" end-
                Various embodiments of imaging module 1802 of image            ing, and then the exposure control timing pulse 354" ending.
             reader 100 are described with reference to FIG. 37. LEDs          In this embodiment, the read out control timing pulse 368"
             160 of imaging module 1802 may be divided into banks as           begins at the conclusion of the exposure control timing pulse
             indicated in the chart of FIG. 37. Image reader 100 can be        354". In a further such embodiment as shown in FIG. l0D,
             configured so that LEDs of each bank emits light in a certain 25 the sequential operation can include the exposure control
             emission wavelength band. In embodiment 8 depicted in the         timing pulse 354"' starting, the illumination control timing
             chart of FIG. 37, image reader 100 is configured so that          pulse 350"' starting, the exposure control timing pulse 354"'
             aiming LEDs 160a, 160b emit green light and all illumina-         ending, and then the illumination control timing signal pulse
             tion LEDs 160c through 160t emit red light. Additional            350"' ending. In this embodiment, the read out control
             embodiments are described in the chart of FIG. 37. Image 30 timing pulse 368"' begins at the conclusion of the illumina-
             reader 100 can be configured so that the light sources for the    tion control timing signal pulse 350"". As discussed in
             various banks may be energized simultaneously (e.g., bank         connection with FIG. lOE, each illumination control timing
             1, bank 2, bank 3, bank 4 simultaneously energized) or            pulse 350, 350', 350", 350"' described herein may comprise
             sequentially (e.g., bank 1, then bank 2, then bank 3, then        a plurality of short duration individual pulses.
             bank 4) by the illumination timing control pulse 350, 350', 35       Referring again to imaging module 1802, an image reader
             350", 350"'.                                                      100 having imaging module 1802 may have an operating
                Referring again to FIGS. 9, l0A, 10B, l0C, and l0D the         mode in which aiming LEDs 160a, 160b are controlled to be
             process 300 also includes processing (step 316) the photo-        off or de-energized during exposure control timing pulse
             conversion generated electric charge to produce image data.       354, 354', 354", or 354"' so that light from LEDs 160a, 160b
             As discussed above, the processing can include, for 40 does not influence an image that is collected and transferred
             example, amplifying the data generated from the incident          to decode module 150 or autodiscrimination module 152. In
             radiation. The processing further includes storing the gen-       another embodiment, aiming illumination LEDs 160a, 160b,
             erated image data values in a shielded portion of each of the     in addition to illumination LEDs 160c through 160t, are
             plurality of pixels. The process 300 additionally includes        controlled to be energized during exposure control timing
             reading out and processing (step 320) the stored image data 45 pulse 354, 354', 354", or 354"'. Controlling aiming illumi-
             values from the plurality of pixels. As discussed above, the      nation LEDs 160c through 1601 to be energized during
             processing can include amplifying the data generated from         exposure control timing pulse 354, 354', 354", or 354"'
             the incident radiation and converting the generated data into     increases a signal strength of image data corresponding
             a digital signal. The processing (step 320) can also include      regions of substrate, s, onto which aiming pattern 1838 is
             storing a set of digital signal values corresponding to inci- so projected.
             dent light on the plurality of pixels of image sensor array          With reference to process 300 (FIG. 9), image reader 100
             module 182 as a frame of image data. Image reader 100 at          may be configured so that illumination control pulse 350,
             step 320 may store into memory module 116 a frame of              350', 350", or 350"' at step 304 simultaneously energizes at
             image data including a plurality of N-bit (grey scale) pixel      least one of aiming LED 160a or 160b and at least one of
             values, each pixel value representing light incident at one of 55 illumination LEDs 160c through 160t so as to increase the
             the plurality of pixels. In one embodiment, the reading out       intensity of illumination on substrate, s, and specifically the
             of the plurality of pixels is controlled by a read out timing     regions of substrate, s, onto which illumination pattern 1830
             control pulse 368 generated by the read out module 198 of         and aiming pattern 1838 are simultaneously projected. A
             the sensor array control module 186. In one embodiment, the       decoding process carried out by decode module 150 or
             read out timing control pulse 368 includes a plurality of 60 autodiscrimination module 152 where an image is collected
             pulses transmitted to each of the plurality of pixels. In one     pursuant to an exposure period wherein aiming LEDs 160a,
             embodiment, at least a portion of the illumination control        160b and illumination LEDs 160c through 160t are simul-
             timing pulse 350 occurs during the exposure control timing        taneously energized may include a process wherein image
             pulse 354. In one such embodiment, the operation of the           data corresponding pattern 1838 (that is, image data corre-
             image collection module 104 including the sensor array 65 sponding to pixels of array onto which pattern 1838 is
             control module 186 with the global electronic shutter control     imaged) is selectively subjected to a decoding process such
             module 190 is coordinated with the operation of the illumi-       as a finder pattern locating process, a linear bar code symbol




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             decode attempt or a quiet zone locating process. For             In one embodiment of the KAC-0311 image sensor, inte-
             example, with aiming pattern 1838 horizontally extending         grated timing and programming controls are used to enable
             across a field of view, decode module 150 processing a           progressive scan modes in either video or still image capture
             collected full frame image may selectively analyze image         operation. In a further embodiment of KAC-0311 image
             data corresponding to center rows of image sensor 182 (i.e.,     sensor, a user can program the frame rates while maintaining
             image data corresponding to rows 2802 shown in FIG. 28a)         a constant master clock rate.
             for purposes of locating a finder pattern, decoding a linear        In the KAC-0311 image sensor, the analog video output of
             bar code symbol, or locating a quiet zone where an image is      the pixel array is processed by an on-chip analog signal
             collected pursuant to a frame exposure period wherein at         pipeline. In one embodiment of the KAC-0311 image sen-
             least one aiming LED 160a, 160b and at least one illumi- 10 sor, correlated double sampling is used to eliminate pixel
             nation LED 160c through 1601 are simultaneously ener-            reset temporal and fixed pattern noise. In a further embodi-
             gized. At step 320 of process 300 carried out with illwni-       ment of the KAC-0311 image sensor, a frame rate clamp is
             nation control pulse 350, 350', 350", or 350m simultaneously     used to enable contemporaneous optical black level calibra-
             energizing at least one aiming illumination LED e.g., 160a       tion and offset correction. In yet another embodiment, the
             and at least one illumination LED, e.g., 160t, image reader 15 programmable analog gain of the KAC-0311 image sensor
             J00 may collect either a full frame or a "windowed frame"        includes a global exposure gain to map the signal swing to
             of image data as is described in greater detail in connection    the analog-to-digital converter input range. The program-
             with FIGS. 28A-28C. Image reader 100 may be configured           mable analog gain further includes white balance gain to
             so that where image reader 100 at step 320 collects a            perform color balance in the analog domain. In an additional
             windowed frame of image data and at step 304 simultane- 20 embodiment, the analog signal processing chain of the
             ously illwninates at least one aiming illwnination LED and       KAC-0311 image sensor consists of column op-amp pro-
             at least one illwnination LED, the windowed frame corre-         cessing, column digital offset voltage adjustment, white
             sponds to the siw and shape of illumination pattern 1838.        balancing, programmable gain amplification, global pro-
             For example, where image reader 100 projects horizontal          grammable gain amplification, and global digital offset
             line aiming pattern 1838, the windowed frame of image data 25 voltage adjustment. In one embodiment, the digitally pro-
             readout at step 320 may be a windowed frame of image data        grammable amplifiers are used to provide contemporaneous
             corresponding to rows 2802 shown in FIG. 28A onto which          color gain correction for auto white balance as well as
             pattern 1838 is imaged which is then processed as described      exposure gain adjustment. The offset calibration in various
             herein (e.g., by attempting to decode linear bar code symbol     embodiments is done on a per column basis and globally. In
             by locating a quiet zone or by locating a finder pattern). In 30 addition, the per colwnn offset correction can be applied by
             embodiments of the invention wherein aiming illumination         using stored values in the on-chip registers, and a ten-bit
             LEDs and illumination LEDs are simultaneously driven by          redundant signed digit analog-to-digital converter converts
             illumination control pulse 350, 350', 350", or 350'", the        the analog data to a ten-bit digital word stream. In various
             aiming LEDs 160a, 160b and illumination LEDs 160c                embodiments of the KAC-0311 image sensor, the differen-
             through 160t may be overdriven throughout the duration of 35 tial analog signal processing pipeline is used to improve
             pulse 350, 350', 350", or 350m as has been described herein.     noise immunity, the signal to noise ratio, and the system's
                In one embodiment the CMOS image array 182a can be            dynamic range. In one embodiment, the serial interface of
             implemented with a KAC-0331 640x480 VGA CMOS                     the KAC-0311 is an industry standard two line I2 C compat-
             image sensor available from the Eastman Kodak Company.           ible serial interface. In another embodiment, power for the
             The KAC-0311 is more fully described in a technical 40 KAC-0311 image sensor is provided by a single 3.3V power
             description entitled, "KAC-0311 640x480 VGA CMOS                 supply. In various embodiments, the KAC-0311 image sen-
             IMAGE SENSOR Fully Integrated Timing, Analog Signal              sor has a single master clock and operates at speeds up to 20
             Processing & 10 bit ADC." Revision 1 dated Aug. 5, 2002          MHz.
             and available at http://www.kodak.com/global/plugins/acro-          The operational and physical details of image sensors that
             bat/en/digital/ccd/products/cmos/KAC-0311 LongSpec .pdf, 45 can be used in the present invention and that are assigned to
             hereby incorporated by reference in its entirety. The follow-    Eastman Kodak Company are also described in the U.S. Pat.
             ing is an edited summary of the operation of the KAC-0311        No. 6,714,239 entitled "Active Pixel Sensor with Program-
             taken from the aforementioned "Full Specification." As           mable Color Balance" and U.S. Pat. No. 6,552,323 entitled
             summarized in this technical description, the KAC-0311 is        "Image Sensor with Shared Output Signal Line," each of
             a solid state active CMOS imager that integrates analog so which is hereby herein incorporated by reference in its
             image acquisition, digitization, and digital signal processing   entirety. The following provides a brief summary of material
             on a single chip. The image sensor comprises a VGA format        from U.S. Pat. No. 6,522,323. In particular U.S. Pat. No.
             pixel array with 640x480 active elements. The image size is      6,552,323 discloses an image sensor comprising a plurality
             programmable by a user to define a window of interest. In        of pixels arranged in a plurality of rows and colulllllS. The
             particular, by programming the row and column start and 55 image sensor is further disclosed to include a global elec-
             stop operations, a user can define a window of interest down     tronic shutter. Pixels in the same row of the disclosed image
             to a resolution of lxl pixel. In one embodiment of the           sensor share a pixel output node and an output signal line.
             KAC-0311 image smsor, the window can be used to enable           Further, the disclosure indicates that image signal separation
             a digital zoom operation of a viewport that can be panned.       within a row is achieved by having two separate row select
             In another embodiment of the KAC-0311 image sensor, a 60 signal lines per row, one for every other pixel within a row,
             constant field of view is maintained while subsampling is        and a 1:2 column output signal line de-multiplexing scheme
             used to reduce the resolution the collected image.               for each pair of colwnns. A schematic diagram, here repro-
                The pixels of the KAC-0311 image sensor are ona 7.8 µm        duced as FIG. 11, shows two adjacent pixels 5. Identifiers
             pitch. The pixel architecture is Kodak's pinned photodiode       used in the schematic include the following: reset transistor
             architecture. The KAC-0311 image sensor is available in a 65 with a reset gate (RG), transfer gate (TG), signal transistor
             Monochrome version without microlenses, or with Bayer            (SIG), row select transistor with a row select gate (RSEL),
             (CMY) patterned Color Filter Arrays without microlenses.         photodetector (PD), and floating diflusion (FD). The opera-




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             tion of the global shutter is described at column 3 lines 25-45     depressing of a trigger 216 by an operator or in response to
             of U.S. Pat. No. 6,552,323 with respect to the embodiment           an object being moved into a field of view of image reader
             presented in FIG. 11 and timing diagrams, here reproduced           100. In operation when a new image is collected by the
             as FIG. 12. Tue disclosure indicates that readout commences         image reader 100, fue image reader 100 illuminates (step
             by transfer of the integrated signal charge from the photo-         404) a target containing an object, such as a bar code, and
             detectors 30a, 30b to the floating diffusions 10a, 10b in each      enters (step 408) a rolling shutter operational mode in which
             pixel of the sensor simultaneously. Next, row select 1 (15)         a plurality of rows in the image reader's image sensor are
             is turned on and the signal level of floating diffusion 1 (10a)     sequentially exposed. As part of this operation, a frame
             is sampled and held by the column circuit 20a by pulsing            exposure period can be defined as the time from fue begin-
             SS 1. Row select 1 (15) is then turned off and row select 2 10 ning offue exposure of the first row offue plurality of rows
             (25) is turned on and the signal level of floating diffusion 2      to the end of the exposure of the last row of fue plurality of
             (10b) is sampled and held by the column circuit 20b by              rows. In one embodiment, an imaging lens 212 offue image
             pulsing SS2. Tue floating diffusions 10a, 10b in the row            reader 100 is controlled to be in one of continuous motion
             being read out are then reset by pulsing RG. Next row select        or in stepwise continuous motion (step 414) during at least
             2 (25) is turned off and row select 1 (15) is turned on and the 15 a portion of fue frame exposure period. As shown in the
             reset level of floating diffusion 1 (1 0a) is sampled and held      embodiment of FIG. 20, image reader 100 may have a lens
             by the column circuit 20a by pulsing SRI. Row select 1 (15)         driver module 165 controlled by control module 112 or
             is then turned off and row select 2 (25) turned on and the          anofuer module for moving imaging lens 212 to change a
             reset level of floating diffusion 2 (1 Ob) is sampled and held      focus setting of image reader 100. In one such embodiment,
             by pulsing SR2. The readout of the san1pled and held signals 20 fue optical system has a plurality of discrete settings. For
             of the column circuits 20a, 20b is then done prior to the same      each discrete setting, lens 212 forms a distinct image on fue
             pixel readout scheme commencing in the next row of the              image sensor for objects located at a particular distance from
             image sensor.                                                       fue image reader 100. In one embodiment, one extreme of
                In another embodiment, the CMOS image array 182a can             the optical system's focusing range corresponds to focusing
             be implemented with a KAC-9630 128(H)x98(V) CMOS 25 incident radiation from objects located at infinity. An object
             image sensor. Tue KAC-9630 is more fully described in a             is considered to be at "infinity" if its incident light rays are
             technical specification entitled, "Device Performance Speci-        essentially parallel. In one embodiment, anofuer extreme of
             fication-Kodak KAC-9630 CMOS Image Sensor," Sep-                    fue optical system's focusing range is fue near point of the
             tember 2004, revision 1.1. This document is hereby herdn            optical system. Tue near point of fue optical system is the
             incorporated by reference in its entirety. This document is 30 closest distance an object can be brought wifu respect to fue
             available from Eastman Kodak (www.kodak.com), for                   optical system where the optical system is still able to create
             exan1ple at http://www.kodak.com/global/plugins/acrobat/            a distinct image of the object. In anofuer embodiment, the
             en/digital/ccd/products/cmos/KAC-9630LongSpec.pdf.                  variation of in fue focus offue optical system does not cover
             This technical specification describes the KAC-9630 image           the entire range of the optical system. For example in one
             sensor as a low power CMOS active pixel image sensor 35 such embodiment, a focus setting of image reader 100 is
             capable of capturing monochrome images at 580 frames per            varied between focus settings that are millimeters apart. In
             second. In addition the KAC-9630 image sensor is described          another embodiment, a focus setting of image reader 100 is
             as including an on-chip eight-bit analog-to-digital converter,      varied between focus settings that are centin1eters apart.
             fixed pattern noise elimination circuits and a video gain           Configuring reader 100 to include lens driver module 165
             amplifier. Tue KAC-9630 is further described as having 40 allows a scanner to operate over an extended depth of field.
             integrated progrannnable timing and control circuitry that             With further reference to lens driver module 165, various
             allows for the adjustment of integration time and frame rate.       lens driving technologies and methods can be implemented.
             The read out circuit in the KAC-9630 image sensor is                U.S. Pat. No. 4,350,418, incorporated by reference herein in
             described as capable of supporting a full frame read out on         its entirety, discloses a lens focus adjustment system includ-
             a single eight-bit digital data bus in less than 2 milliseconds. 45 ing a distance adjusting ring, wherein position adjustment of
             As indicated above, fue KAC-9630 image sensor is                    a lens is achieved by rotation of the adjustment ring. U.S.
             described as including an integrated electronic shutter.            Pat. No. 4,793,689, also incorporated herein by reference in
                 In anofuer embodiment, fue CMOS image array 182a can            its entirety, discloses a lens barrel having a hollow rotary
             be implemented wifu a Micron image sensor such as the               ring rotatable about an optical axis fuat is disposed within a
             Wide VGA MT9V022 image sensor from Micron Technol- so hollow of a hollow fixed cylinder wifu a bearing interposed
             ogy, Inc., 8000 Soufu Federal Way, Post Office Box 6, Boise,        there between, a moving cylinder moveable in response to
             Id. 83707-0006. The MT9V022 image sensor is describe in             rotation of fue rotary ring, and a vibration wave motor
             more detail in fue product MT9V099 product flyer available          disposed between the dian1etrical directions of fue fixed
             from Micron Technology (www.micron.com), for example                cylinder and fue rotary ring, U.S. Pat. No, 5,541,777, also
             at      http://download.micron.com/pd£'flyers/mt9v022_(mi- 55 incorporated herein by reference in its entirety, discloses an
             0350)_flyer.pdf. This document is hereby herdn incorpo-             electromagnetic lens driver having a fixed member including
             rated by reference in its entirety.                                 an inside yoke and an outside yoke, an operationally dis-
                In some embodiments, the image reader 100 is capable of          posed magnet, a moveable member for holding a body to be
             operating in eifuer a rolling shutter mode or a global              driven, a coil wound in an axial direction between the
             electronic shutter mode. In one such embodiment, the rolling 60 outside yoke and fue inside yoke and position detector which
             shutter mode is used as part of an automatic focusing               detects the magnetic field of the operationally disposed
             operation and fue global electronic shutter mode is used to         magnet to generate a position indicating signal.
             collect image data once fue proper fm..'l.ls has been deter-           The process 400 also includes reading out (step 420)
             mined. Tue process of determining the proper focus and              image data from fue plurality of exposed rows. This image
             collecting a subsequent image is described by the process 65 data is analyzed (step 424) by an automatic focusing algo-
             400 shown in FIG. 13. Actuation module 124 may generate             rithm, such as the contrast detection method or fue phase
             a trigger signal to initiate process 400 in response to e.g., a     detection method. Using the row focus image information,




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             the image reader 100 establishes (step 428) a proper focus       information was collected. At step 2104, a transfer function
             setting of lens 212 e.g., by determining a proper focus          for determining an in-focus lens setting may utilize row
             setting based on collected data and then moving the lens 212     contrast information as suIIlIIlarized in histogrnm plots, as
             to that setting or by assessing the present row image data to    well as lens position data indicating a position of lens 212
             determine whether at the present focus setting, the image        associated with each set of row data.
             reader is acceptably focused. In various embodiments, the           Referring to further steps of process 400, image reader
             analysis of the image data can be performed by the image         100 at step 414 may control lens 212 to be in either
             collection module 108, the optics module, the control mod-       continuous motion or in stepwise continuous motion. When
             ule 112, or a dedicated auto-focusing module (e.g., an ASIC      controlled to be in continuous motion, lens 212 moves
             or FPGA dedicated for purposes of performing focus cal- 10 continuously throughout a time that sequentive rows of
             culations). With the position of lens 212 properly estab-        pixels of image sensor array module 182 are exposed and
             lished, the image reader 100 enters (step 432) a global          read out. When controlled to be in stepwise continuous
             electronic shutter operational mode. It will be seen that in     motion, lens 212 repeatedly moves and stops throughout the
             certain instances according to process 400, image reader 100     time that rows of pixels of sensor module 182 are exposed
             may cease operntion in a rolling shutter and commence 15 and read out. In one embodiment of an image reader
             operation in a global electronic shutter operational mode        controlling lens 212 to be in stepwise continuous motion,
             prior to reading out image data from each pixel of image         image reader 100 continuously moves lens between two
             sensor army module 182. In the global electronic shutter         extreme points, a first, furtlier field position and second, a
             operational mode, the image reader 100 collects (step 436)       nearer field position. In another embodiment of an image
             a full frnme of image data that is stored in memory module 20 reader 100, controlling lens 212 to be in stepwise continuous
             116 and subsequently transferred to decode module 150 or         motion, image reader 100 continuously moves lens 212
             autodiscriminating module 152 by control module 112.             between two extreme positions and intermittently stops lens
             According to this embodiment in which row image infor-           212 at one or more positions between the extreme positions.
             mation is read out and analyzed during a time that the reader    A lens 212 controlled to be in stepwise continuous motion
             imaging lens 112 is controlled to be in motion, automatically 25 can be considered to have motion periods, i.e., the times
             focusing the image reader to image the target may be             during which the lens moves, and stop periods, i.e., the times
             achieved within one frnme of data. In various embodiments,       during which the lens is tempornrily idle. In one embodi-
             the automatic focusing operations can be handled by a            ment of the invention, the motion of the lens 212 and a
             dedicated automatic focusing module or the focusing mod-         reading out of image data from rows of pixels are coordi-
             ule can he incorporated into other modules such as the image 30 nated. For example, the lens movement and control of image
             collection module 108 and/or the control module 112.             sensor array module 182 can be coordinated such that an
                With further reference to the steps of process 400, the step  exposure period for one or more rows of image sensor array
             424 of analyzing row image data to determine focus char-         module 182 occurs during a stop period of lens 212 so that
             acteristics is further described with reference to the flow      lens 212 is idle during an entire row exposure period.
             diagrnm of FIG. 21, and the histogram plots of FIG. 22a and 35 Further, while processing of image data corresponding to
             FIG. 22b. At step 2102 image reader 100 may construct a          pixels exposed during motion phases oflens 212 is useful in
             histogram plot of pixel values of the present row of image       certain embodiments, image reader 100 can be configured so
             data read out at step 420. FIG. 22A is a histogram plot of       that image data corresponding to pixels exposed during
             pixel values of a row of data corresponding to a bi-tonal        motion periods of lens 212 are discarded, e.g., during row
             image (such as in a bar code symbol on a monochrome 40 analysis step 424.
             substrate) that is acceptably focused. Histogram plot 2108          Specific embodiments of the process 400 generically
             represents a high contrast image and includes numerous           described with refermce to FIG. 13 are described with
             pixel values at the high end of the grey scale, numerous pixel   reference to the flow diagrams of FIGS. 23 and 24. In the
             values at the low end of the grey scale, and few pixel values    embodiment of FIG. 23, image reader 100 at step 424
             at the center grey scale range. FIG. 22B is a histogram plot 45 attempts to determine an in-focus lens setting based on
             of pixel values of a row of data corresponding to a poorly       collected row image data collected to that point. If at step
             focused bi-tonal image. The image data summarized by             428a, image reader 100 determines that enough information
             histogram 2110 is "flatter" lower contrast image data, mean-     has been collected to determine an in-focus position oflens
             ing that it has fewer pixel values at extremes of the grey       212, image reader 100 determines an in-focus setting for
             scale and a larger number of pixel values at a center of the so lens 212 and proceeds to step 428b to move lens 212 to the
             grey scale. Accordingly, it can be seen that a focus level of    determined in-focus position. If sufficient information has
             an image can readily be determined utilizing image contrast      not been collected, image reader 100 returns to step 432 to
             information.                                                     collect additional row information. Image reader 100 may
                At step 2104 image reader 100 assesses the collected          continue to read and process row image data while moving
             histogram data. At step 2104 image reader 100 may either 55 lens 212 at step 428b, e.g., for purposes of confirming that
             determine an appropriate in-focus setting for lens 212 or else   the determined in-focus position is correct. When lens 212
             determine whether the histogrnm data extracted from the          has been moved to tlie determined in-focus position, image
             present row of image data indicates that the image reader is     reader 100 proceeds to step 432 to enter a global electronic
             acceptably focused at the present lens setting or position.      shutter operational mode of operation. At the time that image
             Where image reader 100 at step 2104 determines a proper 60 reader 100 enters the global shutter operating mode (step
             setting for lens 212 based on the collected histogram data,      432) image reader 100 may halt the motion oflens 212. The
             the histogrnm data may be from the present row or based on       image reader then proceeds to step 436 to collect a full frame
             a combination of present row data and preceding row data.        of image data, and then to step 438 to transfer image data to
             In a further aspect, position or setting values oflens 212 are   one of the dataform decode module 150 or autodiscriminat-
             recorded so that the histogram information of each row of 65 ing module 152.
             image data that is read out has associated lens position data       In tlie embodiment of process 400 described witli refer-
             indicating a position oflens 212 at the time at which the row    ence to FIG. 24, image reader 100 establishes an in-focus




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             setting oflens 212 by assessing at step 424 present row data    inlage data may be collected for each variation in the focus
             (the most recent collected row data) to determine whether       setting or position. For example, only the central region, or
             the present row data indicates that image reader 100 is         a central group of scan lines-such as the middle ten scan
             presently in-focus. If image reader 100 at step 428d deter-     lines, of the image sensor is read out and analyzed by the
             mines that image reader 100 is presently not in focus, image    focus determination algorithm. According to this embodi-
             reader 100 returns to step 420 to collect additional row        ment, the limited frame of data provides adequate informa-
             information. If at step 420 image reader 100 determines that    tion for the focus determination algorithm while signifi-
             the reader is presently in an in-focus position, image reader   cantly decreasing the time required to collect the series of
             100 proceeds to step 432 to enter a global electronic shutter   frames required to focus the image reader.
             mode of operation. At the time that image reader 100 enters 10     In alternative embodiments, the specific order of the steps
             the global shutter operating mode, (step 432) image reader      in the process 400 or process 800 can be altered without
             100 may halt the motion oflens 212. The image reader 100        departing from the inventive concepts contained therein. In
             then proceeds to step 436 to collect a full frame of image      various other embodiments, the circuitry implementing the
             data, and then to step 438 to transfer image data to one of the rolling shutter operation and fue circuitry implementing the
             dataform decode module 150 or autodiscriminating module 15 global electronic shutter operation can be implemented on
             152.                                                            the san1e CMOS chip or one or both of the circuitry
                It will be tmderstood with reference to process 400 or       components can be implemented on separate dedicated
             process 800 that image reader 100 in establishing an "in        chips. In an additional embodiment, fue rolling shutter
             focus" position may designate a prospective or present          functionality and the global electronic shutter operation can
             position of lens 212 to be "in focus" on the basis of the 20 be combined in a single module fuat includes hardware,
             prospective or present lens position rendering indicia in       software, and/or firmware.
             better focus that other available lens focus positions. Thus,      In another embodiment of the image reader 100 that
             where a Jens focus position is not highly focused in a general  operates in either a rolling shutter or a global electronic
             sense, reader 100 may, nevertheless, designate the position     shutter mode, fue image reader 100 is able to dynamically
             as being "in focus" if it renders indicia more in focus than 25 shift between fue global electronic shutter operational mode
             other available Jens position. In one specific embodiment,      and the rolling shutter operational mode. In one such
             lens 100 may be "toggled" between a limited number of           embodiment, fue image reader 100 shifts from fue default
             discrete positions (e.g., two positions) when it is controlled  global electronic shutter operational mode to the rolling
             to be in stepwise continuous motion. In such an embodi-         shutter operational mode when the integration time is shorter
             ment, image reader 100 may designate one of the limited 30 than a given threshold. Many commercially available imag-
             number of possible discrete positions to be the "in focus"      ers are implemented with light shields fuat allow some
             positions if the lens position renders indicia more in focus    amount of light leakage into the storage element or with
             than the remaining possible positions. Particularly in the      electronic switches tlmt do not completely isolate the storage
             configuration where lens 212 is "toggled" between a limited     element from the photosensitive element. As a result of this,
             number of discrete positions, the focus determining steps 35 the contents of the storage element can be adversely influ-
             may be omitted and the image data transferred directly to the   enced by the ambient illumination incident upon the imager
             decode module 150 or autodiscrimination module 152.             after fue charge has been transferred to fue storage element.
             Particularly when there are a limited number of alternate       The following provides a numeric example of such opera-
             focus positions, the in-focus position can readily be dis-      tion.
             criminated based on which position the results in a success- 40    In general, fue shutter efficiency of a CMOS image sensor
             ful decode. Discriminating an in-focus position by way of       with global electronic shutter capabilities specifies the extent
             decode attempts may reduce average decode time.                 to which the storage area on the image sensor is able to
                In a variation of the invention, image reader 100 at step    shield stored image data. For example, if a shutter has an
             420 reads out a predetermined number of rows of image data      efficiency of 99 .9%, fuen it takes an integration time (also
             and analyzes the predetermined number of rows at step 424. 45 kno"rn as exposure time) that is 1,000 times longer to
             The predetermined number of rows may be e.g., 2 rows, 3         generate the same amount of charge in the shielded portion
             rows, 10 rows or all of the rows (100+) rows of image sensor    as in the unshielded portion of fue image sensor. Therefore,
             array 182. Image reader 100 at step 424 may select the best     in an image capture cycle, the following equation provides
             focused (e.g., highest contrast) row out of the plurality of    an indication of the light irradiance on the imager from the
             rows and determine that the recorded focus setting associ- so ambient light that can be tolerated during the time period
             ated with the best focused row is the "in-focus" setting of     after the inlage is shifted into fue storage region relative to
             image reader 100. Alternatively, image reader 100 may           the light irradiance on the imager from the object illumi-
             calculate-in-focus setting data utilizing data image collected  nated with the ambient illumination and the light sources
             over several rows. When a focus setting has been deter-         160 during fue time period before fue image is shifted into
             mined, in any one of the above variations, image reader 100 55 the storage region while not exceeding a desired degradation
             may first enter global electronic shutter operational mode at   percentage. The equation can also address the case where the
             step 432, and then move lens 212 into the determined focus      light incident upon the imager is the same during the entire
             position setting or else image reader 100 may alternatively     inlaging cycle. In both instances, one needs to know the
             move lens 212 to the determined lens setting prior to           minimum integration that can be used without the introduc-
             entering the global electronic shutter operational mode at 60 tion of a maximum degradation.
             step 432 or these two operations may occur at the same time.
                In another embodiment of the automatic focusing opera-              (Amb. Irrad)•Jfoune*(100%-% eff)~(Amb. Irrad+
                                                                                        Light Source Irrad)*Texposure*(% deg)
             tion, as described later in connection with FIGS. 25-30B, the
             global electronic shutter operational mode may be used             In many instances the light on the imager is unchanged
             during both the focusing period and the data collection 65 during the exposure period and during the remainder of the
             period. According to process 800 as described herein, during    frame. In this situation the light irradiance on the imager is
             the autofocusing period a limited, "windowed" frame of          constant, and it is possible to solve for the minimum




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             integration time that can be used without the light leakage        ers, GUI 3170 can be created using various open standard
             excessively perturbing the desired image. Solving the equa-        languages (e.g., HTML/JAVA, XML/JAVA). In the embodi-
             tion in this case, allows the calculation of the minimum           ment of FIG. 15A, GUI icon 3152 is a rolling shutter
             integration period for a specific degradation. The following       selection button and GUI icon 3154 is a global electronic
             constant irradiance numeric example is for a shutter effi-         shutter menu option. When icon 3152 is selected, image
             ciency of 99.9%, a frame rate of 20 ms, and a maximum              reader 100 is configured so that when image reader 100
             tolerated degradation of 5%.                                       receives a next trigger signal as described herein to initiate
                                                                                a decode attempt, image reader 100 collects image data
                    20 ms*(100%-99.9%)~(Texposure•5%)
                                                                                utilizing a rolling shutter operating mode without utilizing
             or solving for the minimum exposure time that can be used 10 the global electronic operational mode. When icon 3154 is
             without incurring a degration of more than 5%:                     selected, image reader 100 is configured so that when image
                                                                                reader 100 receives a next trigger signal to initiate a decode
                    Texposure=0.4 ms.
                                                                                attempt, image reader 100 collects image data utilizing the
             Thus if the integration time during image capture is shorter       global electronic shutter operational mode without utilizing
             than 0.4 ms, then the degradation leakage (both optical or 15 the rolling shutter operational mode. GUI 3170 can be
             electrical) will cause an error to be introduced of 5% or          created to permit additional user selectable configuration
             greater.                                                           options. In the embodiment of FIG. 15A, selection of button
                In one embodiment that addresses image degradation              3156 (which may be in text or icon form) configures image
             introduced by excessive ambient light, the image reader 100        reader 100 so that process 300 is executed the next time a
             shifts to rolling shutter operation when the integration time 20 trigger signal is received. Selection of button 3158 config-
             becomes shorter than a level determined with respect to the        ures image reader 100 so that process 400 is executed a next
             frame rate, maximum allowable degradation and shutter              time a trigger signal is received. Selection of button 3160
             efficiency of the image reader. A process 600 for shifting         configures image reader 100 so that process 600 is executed
             operational modes in response to short integration times is        a next time a trigger signal is received. Selection of button
             shown in FIG. 14. Actuation module 124 may generate a 25 3162 configures image reader 100 so that process 800 is
             trigger signal to initiate process 600 in response to e.g., a      executed a next time a trigger signal is received. Selection
             depressing of a trigger 216 by operator or in response to an       of button 3164 configures image reader 100 so that image
             object being provided into a field of view of image reader         reader 100 is in "image capture" mode of operation such that
             100. The process 600 includes storing (step 604) a calculated      a next time a trigger signal is received, image reader collects
             minimum integration time. In one embodiment, this thresh- 30 image data such as a 2D full frame of image data and outputs
             old is determined in accordance with the equations presented       an image (e.g., to display 504 or a spaced apart device)
             above. Some of the inputs to these equations, such as the          without transferring the collected image data to module 150
             shutter efficiency, maximum acceptable image degradation           or module 152. In shipping applications, it may be beneficial
             leakage, and frame rate, can be configured in the image            to capture images in an "image capture" mode correspond-
             reader 100 as part of its initial setup or at a later time. The 35 ing to moving objects (e.g., a moving delivery vehicle, a
             process 600 also includes collecting (step 608) image data.        package on an assembly line). Accordingly, it will be seen
             As part of the collection of image data, an exposure time for      that execution of an image capture mode utilizing a global
             the current environmental conditions is established (step          shutter operational mode of operation yields significant
             612) by the sensor array control module 186. In various            advantages, in that image distortion is reduced using a global
             embodiments, this exposure time is established by the global 40 shutter operational mode. The selection between a rolling
             electronic shutter control module 190, the optics module           shutter configuration and a global electronic shutter con-
             178, or another appropriate module in the image reader 100.        figuration or the configurations associated with buttons
             To determine whether the operational mode of the image             3156, 3158, 3160, 3162, and3164 can also be made with use
             reader 100 should shift from global shutter to rolling shutter,    of commands of a software development kit (SDK). A
             the established exposure time is compared (step 616) with 45 system can be created so that SDK-created commands (e.g.,
             the minimum integration time threshold. If the established         a "ROLLING SI-:IlffTER" and a "GLOBAL SHUTTER"
             integration time is shorter than the calculated minimum            command) causing image reader 100 to be in one of a rolling
             integration time threshold, then the operational mode of the       shutter configuration and a global electronic shutter con-
             image reader 100 is shifted (step 620) from global ek-ctronic      figuration can be selected at a host terminal spaced apart
             shutter to rolling shutter. If the established integration time so from image reader 100 and transmitted to image reader 100
             is greater than or equal to the calculated minimum integra-        to reconfigure reader 100.
             tion time threshold, then the global electronic shutter opera-        Referring to the flow diagram of FIG. 31, an operator
             tional mode (step 628) is maintained.                              selects between a rolling shutter configuration and a global
                Further embodiments of the invention are described with         electronic shutter configuration at step 3102. If an operator
             reference to FIG. 15A, and the flow diagrams of FIGS. 31 55 selects the rolling shutter configuration, image reader 100
             and 32. As shown in FIG. 15A, image reader 100 can be              proceeds to step 3104. At step 3104 image reader 100 is
             configured to have user selectable configuration settings. For     driven from an idle state to an active reading state by the
             example, as shown in FIG. 15A, image reader 100 may                generation of a trigger signal (e.g., by manual actuation of
             present on display 504 a graphical user interface (GUI)            trigger 216 or another method) and then automatically
             menu option display screen 3170 which presents to an 60 executes steps 3106 and 3108. At step 3106 image reader
             operator the user selectable configuration options of a rolling    100 collects image data utilizing a rolling shutter operational
             shutter operational mode and a global shutter operational          mode and at step 3108 the image data collected at step 3106
             mode. GUI display screens may be configured with tool kits         is transferred to dataform decode module 150 or autodis-
             associated with certain available operating systems such as        crimination module 152 to decode or otherwise process the
             WINDOWS CE, which may be installed on image reader 65 image data. If at step 3102 a global electronic shutter mode
             100. When reader 100 is configured to include a browser or         is selected, image reader 100 proceeds to step 3118. At step
             is otherwise configured with suitable parsers and interpret-       3118 image reader 100 is driven from an idle state to an




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             active reading state by the generation of a trigger signal       image reader 100 may control lens 212 to be in one of
             (e.g., by manual actuation of trigger 216 or another method)     continuous motion or stepwise continuous motion.
             and then automatically executes steps 3118 and 3120. At             At step 820 image reader 100 reads out a ''windowed
             step 3118 image reader 100 collects image data utilizing a       frame" of image data from image sensor array module 182.
             global electronic shutter operational mode and at step 3122      CMOS image sensors can be operated in a windowed frame
             the image data collected at step 3118 is transferred to          operating mode. In a windowed frame operating mode,
             dataform decode module 150 or autodiscrimination module          image data corresponding to only a selectively addressed
             152 to decode or otherwise process the image data.               subset of all pixels of an image sensor array is read out.
                Another embodiment of the invention is described with         Examples of image reader 100 operating in windowed frame
             reference to the flow diagram of FIG. 32. In the embodiment 10 operating modes are described with reference to FIGS. 28A,
             described with reference to the flow diagram of FIG. 32,         28B and 28C, wherein image sensor arrays are represented
             image reader 100 is configured to collect image data and         with each square of the grid representing a lOxlO block of
             attempt to decode image data utilizing a rolling shutter         pixels, and wherein shaded regions 2802, 2804, and 2806
             operational mode and a global shutter operational mode. At       represent pixels that are selectively addressed and selec-
             step 3202 a trigger signal is generated as described herein 15 tively subjected to readout. In the embodiment of FIG. 28A,
             (e.g., by manual actuation of trigger 216 or another method)     a windowed frame operating mode is illustrated wherein
             to drive image reader 100 from an idle state to an active        windowed image data is read out of image sensor array 182
             reading state and all of steps 3204, 3206 may be automati-       by selectively addressing and reading out only centerline
             cally executed thereafter. At step 3204 image reader 100         pattern of pixels consisting of a set of rows of pixels at a
             enters a rolling shutter operational mode. At step 3206 image 20 center of image sensor array module 182. Alternatively, in a
             reader 100 collects image data such as a full frame of image     windowed frame operating mode image reader 100 may
             data or a windowed frame of image data utilizing the rolling     selectively address and selectively read out image data from
             shutter operational mode. At step 3208 image reader 100          a single row of pixels of image sensor array module 182.
             transfers the image data collected at step 3206 to dataform      Further, in a windowed frame operating mode, image reader
             decode module 150 and/or autodiscrimination module 152. 25 100 may selectively address, and selectively read out image
             Datafonn decode module 150 or autodiscrimination module          data from rows 2802a and 2802b. In the embodiment of FIG.
             152 may decode or otherwise process the image data col-          28B, a windowed frame operating mode is illustrated
             lected and output a result (e.g., output a decoded bar code      wherein windowed image data is read out of image sensor
             message to display 504 and or a spaced apart device). At step    array module 182 by selectively addressing and reading out
             3118 image reader 100 enters a global electronic shutter 30 only a collection of positionally contiguous pixels (i.e., a
             operational mode. At step 3212 image reader 100 collects         collection of pixels that are adjacent to one another) at a
             image data utilizing the global electronic shutter operational   center of image sensor array module 182. In the embodiment
             mode. TI1e image data collected at step 3212 may be full         of FIG. 28C, a windowed frame operating mode is illus-
             frame or a windowed frame image data. At step 3214 image         trated wherein windowed image data is read out of image
             reader 100 transfers the image data collected at step 3212 to 35 sensor array module 182 by selectively reading out spaced
             dataform decode module 150 or autodiscrimination module          apart clusters of lOxlO blocks of positionally contiguous
             152. Dataform decode module 150 or autodiscrimination            pixels. In all of the windowed frame operating modes
             module 152 may decode or otherwise process the image data        described with reference to FIGS. 28A, 28B and 28C, image
             collected and output a result (e.g., output a decoded bar code   data corresponding to less than half of the pixels of the
             message to display 540 and/or a spaced apart device). As 40 image sensor is selectively addressed and read out. When
             indicated by control loop arrow 3216, image reader 100 may       operating in a windowed frame operating mode image
             automatically repeat Sk'JlS 3204, 3206, 3208, 3210, 3212,        reader 100 may collect image data corresponding to light
             and 3214 until a stop condition is satisfied. A stop condition   incident on pixels in one or more of the patterns illustrated
             may be e.g., the generation of a trigger stop signal (as may     in FIG. 28A, 28B or28C or another pattern. Such collections
             be generated by the release of trigger 216) or the successful 45 of image data may include a collection of gray scale values
             decoding a predetermined number of bar code symbols.             and may be termed windowed frames of image data.
                Another process according to the invention is described          A windowed frame operating mode described herein is
             with reference to the flow diagram of FIG. 25. Process 800       contrasted with an alternative operating mode in which a full
             is similar to process 400 in that it involves the processing of  frame of image data is stored into memory module 116, and
             a limited amount of image data collected during a time that so then a portion of that full frame of image data is designated
             lens 212 is controlled to be in motion. With process 400 and     as a region of interest (i.e., a "sample" region) which is
             with process 800 an in-focus position of lens 212 is quickly     subject to further processing. In a windowed frame operating
             established. Whereas process 400 involves utilization of an      mode a frame of image data may collected in a fraction of
             image sensor array module 182 operated, at different times       the time required to collect a full frame of image data.
             during the course of the process, in a first rolling shutter 55     With further reference to process 800 image reader 100 at
             operational mode and a second, subsequently executed             step 824 analyzes a windowed frame of image data to
             global electronic operational mode, process 800 may be           determine focus characteristics of image reader 100. The
             implemented with use of one of the selectively addressable       step of analyzing windowed frame image data to detennine
             image sensor array modules described herein operated             focus characteristics is further described with reference to
             throughout the process in either one ofa rolling shutter mode 60 the flow diagram of FIG. 29, and the histogram plots of FIG.
             of operation or in a global electronic mode of operation.        30A and FIG. 30B. At step 4102 image reader 100 may
                With further reference to process 800, actuation module       construct a histogram plot of pixel values of the present
             124 at step 802 initiates process 800 by generating a trigger    windowed frame of image data read out at step 820. FIG.
             signal, e.g., in response to a depression of a trigger 216, a    30A is a histogram plot of pixel values of a row of data
             sensing of an object in a field of view of image reader or 65 corresponding to a bi-tonal image (such as in a bar code
             receipt of a command from a spaced apart device. At step         symbol on a monochrome substrate) that is acceptably
             814 image reader 100 sets lens 212 into motion. At step 814      focused. Histogram plot 4108 represents a high contrast




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             image and includes numerous pixel values at the high end of       that image data corresponding to pixels exposed during
             the grey scale, numerous pixel values at the low end of the       motion periods of lens 212 are discarded, e.g., during
             grey scale, and few pixel values at the center grey scale         analysis step 824.
             range. FIG. 30B is a histogram plot of pixel values of a             Specific embodiments of the process 800 generically
             windowed frame of image data corresponding to a poorly            described with reference to FIG. 25 are described with
             focused bi-tonal image. The image data summarized by              reference to the flow diagran1s of FIGS. 26 and 27. In the
             histogram 4110 is "flatter," lower contrast image meaning         embodiment of FIG. 26, image reader 100 at step 824
             that it has fewer pixel values at extremes of the grey scale      attempts to determine an in-focus setting based on collected
             and a larger number of pixel values at a center of the grey       windowed frame image data collected to that point. If at
             scale. Accordingly, it can be seen that a focus level of an 10
                                                                               block 828a image reader 100 determines that enough infor-
             image can readily be determined utilizing image contrast
                                                                               mation has been collected to determine an in-focus position
             information.
                                                                               of image reader 100, image reader 100 proceeds to step 828b
                At step 4104, image reader 100 assesses the collected
             histogram data. At block 4104 image reader 100 may either         to move the lens to the determined in-focus position. If
             determine an appropriate in-focus setting for lens 212 or else 1s sufficient information has not been collected, image reader
             determine whether the histogram data extracted from the           returns to step 820 to collect additional windowed frame
             present row of inlage data indicates that the image reader        information. Image reader 100 may continue to read and
             100 is acceptably focused at the present lens position. Where     process windowed frame image data while moving lens 212
             image reader 100 at step 4104 determines a proper setting         at step 828b, e.g., for purposes of confirming that the
             for lens 212 based on the collected histogram data, the 20 determined in-focus position is correct. When lens 212 has
             histogram data may be from the present windowed frame of          been moved to the determined in-focus position image
             image data or based on a combination of present windowed          reader 100 proceeds to step 836 to collect a full frame of
             frame of image data and preceding data of previously              iniage data (e.g., in accordance with process 300), and then
             collected one or more frames of windowed image data. In a         proceeds to step 838 to transfer the collected image data to
             further aspect, position or setting values of lens 212 are 25 one of dataform decode module 150 or autodiscriminating
             recorded so that the histogram information of each row of         module 152.
             image data that is read out and analyzed has associated lens         In the embodiment of process 800 described with refer-
             position data indicating a position of lens 212 at the time at    ence to FIG. 27, image reader 100 establishes an in-focus
             which the windowed frame of image data information was            setting of lens 212 by assessing at step 824 present win-
             collected. At step 4104 a transfer function for determining an 30 dowed frame image data (the most recent collected win-
             in-focus lens setting may utilize windowed frame contrast         dowed frame data) to determine whether the present win-
             information as summarized in histogram plots, as well as          dowed frame image data indicates that image reader 100 is
             lens position data indicating a position of lens 212 associ-      presently in-focus. If image reader 100 at step 828c deter-
             ated with each collected windowed frame of image data.            mines that inlage reader 100 is presently not in focus, inlage
                Referring to further steps of process 800, image reader 35 reader 100 returns to step 820 to collect additional win-
             100 at step 814 may control lens 212 to be in either              dowed frame information. If at step 828 image reader 100
             continuous motion or in stepwise continuous motion. When          determines that the reader is presently in an in-focus posi-
             controlled to be in continuous motion, lens 212 moves             tion, image reader 100 proceeds to step 836 to collect a full
             continuously throughout a time that pixels corresponding to       frame of image data, (e.g., in accordance with process 300),
             a windowed frame of image data are exposed and read out. 40 and then proceeds to step 838 to transfer the collected image
             When controlled to be in stepwise continuous motion, lens         data to one of dataform decode module 150 or autodiscrimi-
             212 repeatedly moves and stops throughout the time that           nating module 152.
             pixels corresponding to a windowed frame of image data are           In a variation of the invention, image reader 100 at step
             exposed and read out. In one embodiment of an image reader        820 may read out a predetermined number of windowed
             100 controlling lens 212 to be in stepwise continuous 45 frames of image data, and at step 824 may analyze a
             motion, image reader 100 continuously moves lens between          predetermined number of windowed frames of image data.
             two extreme points, a first further-field position and second,    The windowed frames of image data may have the same
             a nearer-field position. In another embodiment of an image        pattern (e.g., always the pattern of FIG. 28A) or may have
             reader 100 controlling lens 212 to be in stepwise continuous      alternating patterns (e.g., first the pattern of FIG. 28A, next
             motion, image reader 100 continuously moves lens 212 so the pattern of FIG. 28B, and next the pattern of FIG. 28C).
             between two extreme positions and intermittently stops lens       In another variation, image reader 100 may transfer each
             212 at one or more positions between the extreme positions.       collected windowed frame of image data, subsequent to
             A lens 212 controlled to be stepwise continuous motion can        collection, to dataform decode module 150 and/or autodis-
             be considered to have motion periods, i.e., the times during      crimination module 152. At step 824, image reader 100
             which the lens moves, and stop periods corresponding the 55 analyzes the predetermined number of frames of image data
             time the lens is temporarily idle. In one embodiment of the       in order to determine an in-focus setting of image reader
             invention, the motion of the lens 212 and a reading out of        100. In determining an in-focus setting, image reader 100
             image data from rows of pixels are coordinated. For               may select the in-focus setting associated with the best
             example, the stepwise movement of lens 212 and control of         focused (highest contrast) windowed frame of image data
             image sensor array module 182 can be coordinated such that 60 out of the plurality of windowed frames of image data or else
             a stop period of a lens in stepwise continuous motion occurs      image reader 100 may calculate a focus setting utilizing
             during an exposure period for exposing pixels corresponding       inlage data from the plurality of windowed frames collected.
             to a windowed frame of image data and motion periods              In any of the variations of process 800, image reader 100
             occur before and after such an exposure period. Further,          may collect a full frame of image data at step 836 after
             while processing of image data corresponding to pixels 65 determining an in-focus setting of image reader 100 before
             exposed during motion periods of lens 212 is useful in            or after moving lens 212 to the determined setting position
             certain embodiments, image reader 100 can be configured so        to establish an in-focus setting.




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                It will be understood with referen1--e to process 400 and    operation. Non-volatile programmable memory may take
             process 800 that image reader 828 in establishing an "in        various forms, erasable programmable ROM (EPROM) and
             focus" position may designate a prospective or present          electrically erasable programmable ROM (EEPROM) being
             position of lens 212 to be "in focus" on the basis of the       typical. In some embodiments, non-volatile memory is used
             prospective or present lens position rendering target indicia   to ensure fuat the data is retained when the image reader 100
             in better focus than other available lens focus positions.      is in its quiescent or power-saving "sleep" state.
             Thus, where a lens focus position is not highly focused in a       The I/O module 120 is used to establish potentially
             general sense reader 100 may, nevertheless, designate the       bi-dire1-iional communications between the image reader
             position as being "in focus" if it renders target indicia more  100 and other electronic devices. Examples of elements fuat
             in focus than other available lens position. In one specific 10 can comprise a portion of the I/O module 120 include a
             embodiment, lens 212 may be "toggled" between a limited         wireless or wired Ethernet interface, a dial-up or cable
             number of discrete positions (e.g., two positions) when it is   modem interface, a USB interface, a PCMCIA interface, a
             controlled to be in stepwise continuous motion. In such an      RS232 interface, an IBM Tailgate Interface RS485 interface,
             embodiment, image reader 100 may designate one of the           a PS/2 keyboard/mouse port, a specialized audio and/or
             limited number of possible discrete positions to be the 1s video interface, a CompactFlash interface, a PC Card Stan-
             "in-focus" position if the lens position renders target indicia dard interface, a Secure Digital standard for memory, a
             more in focus than the remaining possible positions. Par-       Secure Digital Input Output for input/output devices and/or
             ticularly in the configuration where lens 212 is "toggled"      any other standard or proprietary device interface. A Com-
             between a limited number of discrete positions, the focus       pactFlash interface is an interface designed in accordance
             determining steps may be omitted and the image data 20 with the CompactFlash standard as described in tl1e Com-
             transferred directly to the decode module 150 or autodis-       pactFlash Specification version 2.0 maintained at the web-
             crimination module 152. Particularly when there are a           site http://www.compactflash.org. The CompactFlash Speci-
             limited number of alternate focus positions, the in-focus       fication version 2.0 document is herein incorporated by
             position can readily be discriminated based on which posi-      reference in its entirety. A PC Card Standard interface is an
             tion the results in a successful decode. Discriminating an 25 interface designed in accordance wifu the PC Card Standard
             in-focus position by way of decode attempts may reduce          as described by, for example, the PC Card Standard 8.0
             average decode time.                                            Release-April 2001 maintained by the Personal Computer
                It is r1-"Cognized that some available image sensor arrays   Memory Card International Association (PCMCIA) and
             have configurations or operation modes in which a limited       available through the website at http://www.pcmcia.org. The
             number of edge colunms/and or rows are not read out 30 PC Card Standard 8.0 Release-April 2001 Specification
             because of packaging concerns (e.g., edge pixels are covered    version 2.0 document is hereby herein incorporated by
             by packaging material of the chip) or because of a configu-     reference in its entirety.
             ration to a particular aspect ratio. Where image data from an      The actuation module 124 is used to initiate the operation
             image sensor is read out from all offue pixels of the image     of various aspects of the image reader 100 such as data
             sensor or substantially all the pixels excluding a limited 35 collection and processing in accordance wiili process 300,
             number of row and/or column edge pixels, such image data        process 400, process 600 or process 800 as described herein.
             collecting is regarded herein as a collecting of a full frame   All of the steps of process 300, process 400, process 600 and
             of image data.                                                  process 800 1nay be automatically executed in response to an
                Wifu reference to process 400 and process 800, it has been   initiation of the respective process by actuation module 124.
             described fuat lens 212 can be controlled to be in one of 40 Image reader 100 may be configured so fuat the steps of
             continuous motion or stepwise continuous motion. It will be     process 300, process 400, process 600, and process 800
             seen that when lens 212 is controlled to be in continuous       continue automatically when initiated until a stop condition
             motion, a focus setting of image reader 100 is controlled to    is satisfied. A stop condition may be e.g., the generation of
             vary over time. When lens 212 is controlled to be in stepwise   a trigger stop signal (as may be generated by the release of
             continuous motion, a focus setting of lens 212 and, there- 45 trigger 216) or the successful decoding a predetermined
             fore, of image reader 100 is controlled to vary stepwise over   number of bar code symbols. In the hand held image reader
             time. Further, when lens 212 in accordance with process 400     100a discussed above, the actuation module comprises the
             or process 800 is in a motion period while being controlled     trigger 216 which, when depressed, generates a trigger
             to be in stepwise continuous motion, a focus setting of lens    signal received by control module 112 which, in tum, sends
             212 is in a varying state. During a stop period of lens 212 so control signals to appropriate other modules of image reader
             while lens 212 is being controlled to be in stepwise con-       100. In one embodiment of a fixed mounted embodiment of
             tinuous motion, a focus setting of image reader 100 is in a     the image reader 100, the actuation module 124 comprises
             temporarily idle state.                                         an object sensing module that generates a trigger signal to
                Referring again to FIG. lA, the following description        initiate the operation of the image reader 100 when the
             provides additional details on modules in the image reader 55 presence of an object to be imaged is detected. When a
             100 presented above. In various embodiments, the control        trigger signal is generated, image reader 100 is driven from
             module 112 can include a central processing unit including      an idle state to an active reading state. Actuation module 124
             on-chip fast accessible memory, application specific inte-      may also generate a trigger signal in response to receipt of
             grated circuits (ASICs) for performing speciali:1,ed opera-     a command from a local or remote spaced apart device.
             tions, as well as software, firmware and digitally encoded 60      The user feedback module 128 is used to provide sensory
             logic. The memory module 116 can comprise any one or            feedback to an operator. In various embodiments, the feed-
             more of read-only (ROM), random access (RAM) and                back can include an auditory signal such as a beep alert, a
             non-volatile progranimable memory for data storage. The         visual display such as an LED flashing indicator, a mechani-
             ROM-based memory can be used to accommodate security            cal sensation such as vibration in the image reader 100, or
             data and image reader operating system instructions and 65 any other sensory feedback capable of indicating to an
             code for other modules. The RAM-based memory can be             operator the status of operation of the inlage reader 100 such
             used to facilitate temporary data storage during inlage reader  as a successful image capture.




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                The display module 132 is used to provide visual infor-        Panasonic's Integrated Smart Card Reader model number
             mation to an operator such as the operational status of the       ZU-9A36CF4 available from the Matsushita Electrical
             image reader 100 including, for example, a remaining bat-         Industrial Company, Ltd. The ZU-9A36CF4 is described in
             tery and/or memory capacity, a mode of operation, and/or          more detail in the Panasonic Specification number MIS-
             other operational or functional details. In various embodi-       DG60C194 entitled, "Manual Insertion Type Integrated
             ments, the display module 132 can be provided by a LCD            Smart Reader" dated March 2004 (revision 1.00). lbis
             flat panel display with an optional touch-pad screen overlay      document is hereby herein incorporated by reference in its
             for receiving operator tactile input coordinated with the         entirety.
             display.                                                             The decoder module 150 is used to decode target data
                The user interface module 134 is used to provide an 10 such as one and two-dimensional bar codes such as UPC/
             interface mechanism for communication between an opera-           EAN, Code l l, Code 39, Code 128, Codabar, Interleaved 2
             tor and the image reader 100. In various embodiments, the
             user interface module 134 comprises a keypad, function            of 5, MSI, PDF417, MicroPDF417, Code 16K, Code 49,
             specific or programmable buttons, a joystick or toggle            MaxiCode, Aztec, Aztec Mesa, Data Matrix, Qcode, QR
             switch and the like. If the display module 132 includes a 15 Code, UCC Composite, Snowflake, Vericode, Dataglyphs,
             touch-pad screen overlay as mentioned above, the display          RSS, BC 412, Code 93, Codablock, Postnet (US), BP04
             module can incorporate some of the input functionality            State, Canadian 4 State, Japanese Post, KIX (Dutch Post),
             alternatively provided by elements in the user interface          Planet Code, 00~ A, OCR B, and the like. In some
             module 134.                                                       embodiments, the decoder module also includes autodis-
                In some embodiments, the RFID module 136 is an ISO/ 20 crirnination functionality that allows it to automatically
             IEC 14443 compliant RFID interrogator and reader that can         discriminate between a plurality of bar code such as those
             interrogate a RFID contactless device and that can recover        listed above. Certain functionality of the decoder 150, such
             the response that a RFID tag emits. The International             as the measurement of characteristics of decodable indicia,
             Organization for Standardization (ISO) and the International      is described in the related U.S. application Ser. No. 10/982,
             Electrotechnical Commission (IEC) are bodies that define 25 393, filed Nov. 5, 2004, entitled "Device and System for
             the specialized system for worldwide standardization. In          Verifying Quality of Bar Codes." This application is hereby
             other embodiments, the RFID module 136 operates in accor-         herein incorporated by reference in its entirety.
             dance with ISO/IEC 10536 or ISO/IEC 15963. Contactless               Another example of an image reader 100 constructed in
             Card Standards promulgated by ISO/IEC cover a variety of          accordance with the principles of the invention is the por-
             types as embodied in ISO/IEC 10536 (Close coupled cards), 30 table data terminal 100b shown in different perspective
             ISO/IEC 14443 (Proximity cards), and ISO/IEC 15693                drawings in FIGS. 15A, 15B, and lSC. FIG. ISA shows a
             (Vicinity cards). These are intended for operation when very      top perspective, FIG. 15B shows a front perspective view,
             near, nearby and at a longer distance from associated cou-        and FIG. lSC shows a back perspective view. As shown, the
             piing devices, respectively. In some embodiments, the RFID        portable data terminal 100b in one embodiment includes
             module 136 is configured to read tags that comprise infor- 35 interface elements including a display 504, a keyboard 508,
             mation recorded in accordance with the Electronic Product         interface buttons 512 for example for positioning a cursor, a
             Code (EPC), a code format proposed by the Auto-ID Center          trigger 216, and a stylus 520 with a stylus holder 524 (not
             at MIT. In some embodiments, the RFID module 136                  shown). The portable data terrninal l00b further includes a
             operates according to a proprietary protocol. In some             lens 212b and light sources 160b. In additional embodi-
             embodiments, the RFID module 136 communicates at least 40 ments, the portable data terminal can have its functionality
             a portion of the information received from an interrogated        enhanced with tlie addition of multiple detachable computer
             RFID tag to a computer processor that uses tlie information       peripherals. In various embodiments, the computer periph-
             to access or retrieve data stored on a server accessible via the  erals can include one or more of a magnetic stripe reader, a
             Internet. In some embodiments, tlie information is a serial       biometric reader such as a finger print scanner, a printer such
             number of tlie RFID tag or of tlie object associated witli the 45 as a receipt printer, a RFII) tag or RF payment reader, a
             RFlD tag.                                                         smart card reader, and the like. In various embodiments, the
                In some embodiments, tlie smart card module 140 is an          portable data terminal 100b can be a Dolphin 7200, 7300,
             ISO/IEC 7816 compliant smart card reader with electrical          7400, 7900, or 9500 Series Mobile Computer available from
             contact for establishing communication witli a suitably           Hand Held Products, Inc., of 700 Visions Drive, P.O. Box
             designed contact chip based smart card. The smart card so 208, Skaneateles Falls, N.Y. and constructed in accordance
             module 140 is able to read and in some cases write data to        with the invention. Various details of a hand held computer
             attached smart cards.                                             device, in particular the device's housing, are described in
                In some embodiments, the magnetic stripe card module           more detail in the related U.S. application Ser. No. 10/938,
             144 is a magnetic stripe reader capable of reading objects        416, filed Sep. 10, 2004, entitled "Hand Held Computer
             such as cards carrying information encoded in magnetic 55 Device." This application is hereby herein incorporated by
             format on one or more tracks, for example, tlie tracks used       reference in its entirety.
             on credit cards. In oilier embodiments, tlie magnetic stripe         The portable data terminal 100b further includes an
             card module 144 is a magnetic character reading device, for       electro-mechanical interface 532 such as a dial-up or cable
             reading characters printed using magnetic ink, such as is         modem interface, a USB interface, a PCMCIA interface, an
             fonnd on bank checks to indicate an American Bankers 60 Ethernet interface, a RS232 interface, an IBM Tailgate
             Association routing number, an account number, a check            Interface RS485 interface, a CompactFlash interface, a PC
             sequence number, and a draft amonnt. In some embodi-              Card Standard interface, a Secure Digital standard for
             ments, both types of magnetic reading devices are provided.       memory interface, a Secure Digital Input Output for input/
                In some embodiments of the image reader 100, the               output devices interface and/or any other appropriate stan-
             functionality of the RFID module 136, the smart card 65 dard or proprietary device interface. In various embodi-
             module 140, and the magnetic stripe card module 144 are           ments, tlie electro-mechanical interface 532 can be used as
             combined in a single tribrid reader module such as the            part of attaching computer peripherals.




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                An electrical block diagram of one embodiment of the          embodiment, the processor IC chip 548 includes a control
             portable data terminal 100b is shown in FIG. 16. In the          circuit that itself employs the CPU 552 and memory 574.
             embodiment of FIG. 16, an image collection module 108b           Non-volatile areas of the memory 574 can be used, for
             includes an image engine including two-dimensional image         example, to store program operating instructions.
             sensor 536 provided on image sensor chip 546 and associ-            In various embodiments, the processor IC chip 548 may
             ated imaging optics 544. The associated imaging optics 544       include a number ofI/O interfaces (not all shown in FIG. 16)
             includes the lens 212b (not shown). Image sensor chip 546        including several serial interfaces (e.g., general purpose,
             may be provided in an IT4000 or IT4200 image engine of           Ethem1..-t, blue tooth), and parallel interfact.'S (e.g., PCMCIA,
             the type available from Hand Held Products, Inc. of Ska-         Compact Flash).
             neateles Falls, N.Y. constructed in accordance with the 10          In one embodiment, the processor IC chip 548 processes
             invention and may be a suitable commercially available chip      frames of image data to, for example, decode a one or
             such as the Kodak KAC-0311 or the Micron MT9V022                 two-dimensional bar code or a set of OCR characters.
             image sensor array described above. The portable data            Various bar code and/or OCR decoding algorithms are
             terminal 100b also includes an illumination module 104b          commercially available, such as by the incorporation of an
             including the light sources 160b and an illumination control 15 IT4250 image engine with decoder board, available from
             module 164b. These illumination modules are also an inte-        Hand Held Products, Inc. In one embodiment, the decoder
             gral part of the IT4000 and IT4200 image engines refer-          board decodes symbologies such as UPC/EAN, Code 11,
             enced above. The portable data terminal 100b further             Code 39, Code 128, Codabar, Interleaved 2 of 5, MSI,
             includes a processor integrated circuit (IC) chip 548 such as    PDF417, MicroPDF417, Code 16K, Code 49, MaxiCode,
             may be provided by, for example, an INTEL Strong ARM 20 Aztec, Aztec Mesa, Data l'vfatrix, Qcode, QR Code, UCC
             RlSC processor or an INTEL PXA255 Processor. Processor           Composite, Snowflake, Vericode, Dataglyphs, RSS, BC 412,
             IC chip 548 includes a central processing unit (CPU) 552.        Code 93, Codablock, Postnet (US), BPO4 State, Canadian 4
             For capturing images, the processor IC chip 548 sends            State, Japanese Post, KIX (Dutch Post), Planet Code, OCR
             appropriate control and timing signals to image sensor chip      A, OCR B, and the like.
             546, as described above. The processor IC chip 548 further 25       Among other operations, the infrared transceiver 568
             manages the transfer of image data generated by the chip         facilitates infrared copying of data from a portable data
             546 into RAM 576. Processor IC chip 548 may be config-           terminal 100b in a broadcasting mode to a portable data
             ured to partially or entirely carry out the functions of one or  terminal 100b in a receiving mode. Utilization of infrared
             more of the modules, e.g., modules 104,108,112, 116, 120,        transceiver 568 during a data copying session allows data
             124, 128, 132, 134, 136, 140, 144, 150, 152, 165, 168 as 30 broadcast from a single broadcast device to be simultane-
             described in connection with FIG. 1A.                            ously received by several receiving devices without any of
                As indicated above, the portable data terminal 100b may       the receiving devices being physically connected to the
             include a display 504, such as a liquid crystal display, a       broadcasting device.
             keyboard 508, a plurality of communication or radio trans-          In an additional further embodiment, the image reader
             ceivers such as a 802.11 radio communication link 556, a 35 100 can be contained in a transaction terminal such as the
             Global System for Mobile Communications/General Packet           Transaction Terminal Image Kiosk 8870 available from
             Radio Service (GSM/GPRS) radio communication link 560,           Hand Held Products, Inc., of 700 Visions Drive, P.O. Box
             and/or a Bluetooth radio communication link 564. In addi-        208, Skaneateles Falls, N.Y. and constructed in accordance
             tional embodiments, the portable data terminal 100b may          with the invention. In a further embodiment, the image
             also have the capacity to transmit information such as voice 40 reader 100 can be contained in a fixed mount system such as
             or data communications via Code Division Multiple Access         the IMAGETEAM 3800E linear image engine or the IMAG-
             (CDMA), Cellular Digital Packet Data (CDPD), Mobitex             ETEAM 4710 two-dimensional reader available from Hand
             cellular phone and data networks and network components.         Held Products, Inc. of 700 Visions Drive, P.O. Box 208,
             In other embodiments, the portable data terminal 100b can        Skaneateles Falls, N.Y.
             transmit information using a DataTAC™ network or a 45               In various embodiments, the modules discussed above
             wireless dial-up connection.                                     including the illumination module 104, the image collection
                The portable data terminal 100b may further include an        module 108, the control module 112, the memory module
             infrared (IR) communication link 568. The keyboard 508           116, the I/O module 120, the actuation module 124, the user
             may communicate with IC chip 548 via microcontroller chip        feedback module 128, the display module 132, the user
             572. The portable data terminal 110b may farther include so interface module 134, the RFID module 136, the smart card
             RFID circuitry 578 as described above for reading or writing     module 140, the magnetic stripe card module 144, the
             data to a RFID tag or token and smart card circuitry 586         decoder module 150, the illumination control module 164,
             including electrical contacts 590 for establishing electrical    the power module 168, the interface module 172, the optics
             communication with a smart card such as a circuitry enabled      module 178, the sensor array module 182, the sensor array
             credit card. The portable data terminal 100b further includes 55 control module 186, the global electronic shutter control
             a memory 574 including a volatile memory and a non-              module 190, the row and colunm address and decode
             volatile memory. The volatile memory in one embodiment is        module 194, and the read out module 198, the rolling shutter
             provided in part by the RAM 576. The non-volatile memory         control module 202, and the auto-focusing module can he
             may be provided in part by flash ROM 580. Processor IC           implemented in different combinations of software, firm-
             chip 548 is in communication with the RAM 576 and ROM 60 ware, and/or hardware.
             580 via a system bus 584. Processor IC chip 548 and                 Machine readable storage media that can be used in the
             microcontroller chip 572 also include areas of volatile and      invention include electronic, magnetic and/or optical storage
             non-volatile memory. In various embodiments where at least       media, such as magnetic floppy disks and hard disks, a DVD
             some of the modules discussed above, such as the elements        drive, a CD drive that in some embodiments can employ
             in the control module 112, are implemented at least in part 65 DVD disks, any of CD-ROM disks (i.e., read-only optical
             in software, the software components can be stored in the        storage disks), CD-R disks (i.e., write-once, read-many
             non-volatile memories such as the ROM 580. In one                optical storage disks), and CD-RW disks (i.e., rewriteable




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             optical storage disks); and electronic storage media, such as       a plurality of decoding algorithms each configured to decode
             RAM, ROM, EPROM, Compact Flash cards, PCMCIA                        a different one dimensional bar code or a two dimensional
             cards, or alternatively SD or SDIO memory; and the elec-            bar code.
             tronic components (e.g., floppy disk drive, DVD drive,                 3. The apparatus of claim 1, wherein the at least one
             CD/CD-R/CD-RW drive, or Compact Flash/PCMCWSD                       illumination light source is configured to project a two-
             adapter) that accommodate and read from and/or write to the         dimensional observable illumination pattern over the target.
             storage media. As is known to those of skill in the machine-           4. The apparatus of claim 1, wherein the at least one
             readable storage media arts, new media and formats for data         illumination light source is configured to operate at a sub-
             storage are continually being devised, and any convenient,          stantially peak power level during at least a portion of the
             commercially available storage medium and corresponding 10 exposure control timing pulse.
             read/write device that may become available in the future is           5. lbe apparatus of claim 1, wherein the at least one
             likely to be appropriate for use, especially if it provides any     illumination light source is configured to operate at a sub-
             of a greater storage capacity, a higher access speed, a smaller     stantially peak power level during at least a portion of the
             size, and a lower cost per bit of stored information. Well          exposure control timing pulse and is configured to be
             known older machine-readable media are also available for 15 deactivated during another portion of the exposure control
             use under certain conditions, such as punched paper tape or         timing pulse.
             cards, magnetic recording on tape or wire, optical or mag-             6. The apparatus of claim 1, wherein the bar code decod-
             netic reading of printed characters (e.g., OCR and magneti-         ing module further comprises:
             cally encoded symbols) and machine-readable symbols such               a classifier module that is configured to determine
             as one and two-dimensional bar codes.                            20       whether the image data comprises a one dimensional
                Those of ordinary skill will recognize that many functions             bar code or a two dimensional bar code.
             of electrical and electronic apparatus can be implemented in           7. The apparatus of claim 1, wherein the bar code decod-
             hardware (for example, hard-wired logic), in software (for          ing module is further configured to at least decode two or
             example, logic encoded in a program operating on a general          more of a one dimensional universal product code bar code,
             purpose processor), and in firmware (for exaniple, logic 25 a two dimensional PDF417 bar code or a bar code having
             encoded in a non-volatile memory that is invoked for                abutting bar code symbols.
             operation on a processor as required). The present invention           8. The apparatus of claim 1, wherein the at least one
             contemplates the substitution of one implementation of              illumination light source is configured to be substantially
             hardware, frrmware and software for another implementa-             bright and the exposure control timing pulse is configured to
             tion of the equivalent functionality using a different one of 30 be substantially short so as to enable the image data to be
             hardware, firmware and software. To the extent that an              substantially non-distorted.
             implementation can be represented mathematically by a                  9. The apparatus of claim 1, wherein the barcode decoding
             transfer function, that is, a specified response is generated at    module further comprises:
             an output terniinal for a specific excitation applied to an            a read out module configured to read out a set of digital
             input terminal of a "black box" exhibiting the transfer 35                values corresponding to incident light on a plurality of
             function, any implementation of the transfer function,                    pixels of the CMOS image sensor array simultaneously
             including any combination of hardware, firmware and soft-                 exposed to capture the image data, a frame of inlage
             ware implementations of portions or segments of the transfer              data comprises a plurality of pixel values, wherein the
             function, is contemplated herein.                                         read out module is controlled by a read out timing
                While the present invention has been explained with 40                 control pulse.
             reference to the structure disclosed herein, it is not confined        10. The apparatus of claim 1, further comprising:
             to the details set forth and this invention is intended to cover       a lens driver module, wherein the lens sensor driver
             any modifications and changes as may come within the                      module has a plurality of discrete settings, each discrete
             scope and spirit of the following claims.                                 setting being configured to cause the image data to be
                We claim:                                                     45       collected by the CMOS image sensor for objects
                1. An apparan1s comprising:                                            located at a particular distance from the image reader.
                a bar code decoding module that is configured to decode             11. The apparatus of claim 1, further comprising:
                   representations of at least a two dimensional bar code           an auto-focusing module configured to read the image
                   in image data captured by an image reader, the image                data from one or more exposed rows such that the
                   reader further comprising:                                 50       inlage data is analyzed by a focusing algorithm oper-
                   a CMOS image sensor array comprising a plurality of                 able to determine an auto-fm..'l.ls setting, the auto-focus-
                      pixels in a two-dimensional array, wherein the                   ing module configured to move a lens according to the
                      CMOS image sensor array is operable, in a global                 auto-focus setting.
                      shutter mode, and wherein in the global shutter mode          12. The apparatus of claim 1, wherein the apparatus
                      all or substantially all of the pixels in the image 55 comprises one or more of a magnetic stripe reader, a
                      sensor array are exposed in the inlage sensor array in     biometric reader, a printer, a radio-frequency identification
                      response to an exposure control timing pulse so as to      tag reader, a radio-frequency payment reader, or a smart card
                      enable the collection of image data in the form of at      reader.
                      least a two dimensional bar code; and                         13. lbe apparatus of claim 1, wherein the barcode decod-
                   at least one illumination light source configured to 60 ing module is further configured to perform feanrre extrac-
                      illuminate at least a portion of the bar code in           tion such that a quiet zone is identifiable in the image data.
                      response to an illumination control timing pulse,             14. l11e apparatus of claim 1, wherein the barcode decod-
                      wherein the exposure control timing pulse and the          ing is further configured to perform feature extraction such
                      illumination control timing pulse are interdependent.      that a fmder pattern is identifia hie in the inlage data.
                2. The apparatus of claim 1, wherein the bar code decod- 65         15. The apparatus of claim 1, wherein the illumination
             ing module is further configured to select a decoding algo-         control timing pulse occurs in response to the exposure
             rithm for decoding the representation of the bar code from          control timing pulse.




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               16. The apparatus of claim 1, wherein the exposure              bright and the exposure control timing pulse is configured to
             control timing pulse occurs in response to the illumination       be substantially short so as to enable the grey level image
             control timing pulse.                                             data to be substantially non-distorted.
                17. The apparatus of claim 1, wherein a read out control          30. The apparatus of claim 22, wherein the barcode
             timing pulse begins at the conclusion of the illumination         decoding module further comprises:
             control timing pulse.                                                a read out module configured to read out a set of digital
                18. The apparatus of claim 1, wherein a read out control             values corresponding to incident light on a plurality of
             timing pulse begins at the conclusion of the exposure control           pixels of the CMOS image sensor array simultaneously
             timing pulse.                                                           exposed to capture the grey level image data, a frame
                19. The apparatus of claim 1, wherein the at least one 10            of grey level image data comprises a plurality of pixel
             illumination light source is configured to operate at a peak            values, wherein the read out module is controlled by a
             power level during at least a portion of the exposure control           read out timing control pulse.
             timing pulse in accordance with a power budget.                      31. The apparatus of claim 22, further comprising:
                20. The apparatus of claim 1, wherein the CMOS image              a lens driver module, wherein the lens sensor driver
             sensor array comprises at least 640x480 active pixels.         15       module has a plurality of discrete settings, each discrete
                21. The apparatus of claim 1, wherein the CMOS image                 setting being configured to cause the grey level image
             sensor array comprises an infrared filter.                              data to be collected by the CMOS image sensor for
                22. An apparatus comprising:                                         objects located at a particular distance from the image
                a bar code decoding module that is configured to decode              reader.
                   representations of at least a two dimensional bar code 20      32. The apparatus of claim 22, further comprising:
                   in grey level image data captured by an image reader,          an auto-focusing module configured to read the grey level
                   the image reader further comprising:                              image data from one or more exposed rows such that
                   a CMOS image sensor array comprising a plurality of               the grey level image data is analyzed by a focusing
                      pixels in a two-dimensional array, wherein the                 algorithm operable to determine an auto-focus setting,
                      CMOS image sensor array is operable in a global 25             the auto-focusing module configured to move a lens
                      shutter mode, and wherein in the global shutter mode           according to the auto-focus setting.
                      all or substantially all of the pixels in the image         33. The apparatus of claim 22, wherein the apparatus
                      sensor array are exposed in the image sensor array in    comprises one or more of a magnetic stripe reader, a
                      response to an exposure control timing pulse so as to    biometric reader, a printer, a radio-frequency identification
                      enable the collection of image data in the form of at 30 tag reader, a radio-frequency payment reader, or a smart card
                      least the two dimensional bar code; and                  reader.
                   at least one ilhnnination light source configured to           34. The apparatus of claim 22, wherein the barcode
                      illuminate at least a portion of the bar code in         decoding module is further configured to perform feature
                      response to an illumination control timing pulse,        extraction such that a quiet zone is identifiable in the grey
                      wherein the exposure control timing pulse and the 35 level image data.
                      illumination control timing pulse are interdependent.       35. The apparatus of claim 22, wherein the barcode
                23. The apparatus of claim 22, wherein the bar code            decoding is further configured to perform feature extraction
             decoding module is further configured to select a decoding        such that a finder pattern is identifiable in the grey level
             algorithm for decoding the representation of the bar code         image data.
             from a plurality of decoding algorithms each configured to 40        36. The apparatus of claim 22, wherein the illumination
             decode a different one dimensional bar code or a two              control tinling pulse occurs in response to the exposure
             dimensional bar code.                                             control timing pulse.
                24. The apparatus of claim 22, wherein the at least one           37. The apparatus of claim 22, wherein the exposure
             illumination light source is configured to project a two-         control timing pulse occurs in response to the illumination
             dimensional observable illumination pattern over the target. 45 control timing pulse.
                25. The apparatus of claim 22, wherein the at least one           38. The apparatus of claim 22, wherein a read out control
             illumination light source is configured to operate at a sub-      timing pulse begins at the conclusion of the illumination
             stantially peak power level during at least a portion of the      control timing pulse.
             exposure control timing pulse.                                       39. The apparatus of claim 22, wherdn a read out control
                26. The apparatus of claim 22, wherein the at least one 50 timing pulse begins at the conclusion of the exposure control
             illumination light source is configur1.>d to operate at a sub-    timing pulse.
             stantially peak power level during at least a portion of the         40. The apparatus of claim 22, whercin the at least one
             exposure control timing pulse and is configured to be             illumination light source is configured to operate at a peak
             deactivated during another portion of the exposure control        power level during at least a portion of the exposure control
             timing pulse.                                                  55 timing pulse in accordance with a power budget.
                27. The apparatus of claim 22, wherein the bar code               41. The apparatus of claim 22, wherein the CMOS image
             decoding module further comprises:                                sensor array comprises at least 640x480 active pixels.
                a classifier module that is configured to determine               42. The apparatus of claim 22, wherein the CMOS image
                   whether the grey level image data comprises a one           sensor array comprises an infrared filter.
                   dimensional bar code or a two dimensional bar code. 60         43. An apparatus comprising:
                28. The apparatus of claim 22, wherein the bar code               a bar code decoding module that is configured to decode
             decoding module is further configured to at least decode two            representations of at least a two dimensional bar code
             or more of a one dimensional universal product code bar                 in grey level image data captured by an image reader,
             code, a two dimensional PDF417 bar code or a bar code                   the image reader further comprising:
             having abutting bar code symbols.                              65       a CMOS image sensor array comprising a plurality of
                29. The apparatus of claim 22. wherein the at least one                 pixels in a two-dimensional array, wherein the
             illumination light source is configured to be substantially                CMOS image sensor array is configured such that all




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                      or substantially all of the pixels in the image sensor           the auto-focusing module configured to move a lens
                      array are ell.'Posed in the image sensor array during            according to the auto-focus setting.
                      the duration of the exposure control timing pulse so          54. The apparatus of claim 43, wherein the apparatus
                      as to enable the collection of image data in the form      comprises one or more of a magnetic stripe reader, a
                      of at least the two dimensional bar code, wherein the      biometric reader, a printer, a radio-frequency identification
                      exposure control timing pulse has a duration of less       tag reader, a radio-frequency payment reader, or a smart card
                      than 3.7 milliseconds; and                                 reader.
                   at least one illumination light source configured to             55. The apparatus of claim 43, wherein the barcode
                      illuminate at least a portion of the bar code in           decoding module is further configured to perform feature
                      response to an illumination control timing pulse, 10
                                                                                 extraction such that a quiet zone is identifiable in the grey
                      wherein the exposure control timing pulse and the
                                                                                 level image data.
                      illumination control timing pulse are interdependent.
                                                                                    56. The apparatus of claim 43, wherein the barcode
                44. The apparatus of claim 43, wherein the bar code
             decoding module is further configured to select a decoding          decoding is further configured to perform feature extraction
             algorithm for decoding the representation of the bar code 15 such that a finder pattern is identifiable in the grey level
             from a plurality of decoding algorithms each configured to          image data.
             decode a different one dimensional bar code or a two                   57. The apparatus of claim 43, wherein the illumination
             dimensional bar code.                                               control timing pulse occurs in response to the exposure
                45. The apparams of claim 43, wherein the at least one           control timing pulse.
             illumination light source is configured to project a two- 20           58. The apparatus of claim 43, wherein the exposure
             dimensional observable illumination pattern over the target.        control timing pulse occurs in response to the illumination
                46. The apparatus of claim 43, wherein the at least one          control timing pulse.
             illumination light source is configured to operate at a sub-           59. The apparatus of claim 43, wherein a read out control
             stantially peak power level during at least a portion of the        timing pulse begins at the conclusion of the illumination
             exposure control timing pulse.                                   25 control timing pulse.
                47. TI1e apparatus of claim 43, wherein the at least one            60. The apparatus of claim 43, wherein a read out control
             illumination light source is configured to operate at a sub-        timing pulse begins at the conclusion of the exposure control
             stantially peak power level during at least a portion of the        timing pulse.
             exposure control timing pulse and is configured to be                  61. The apparatus of claim 43, wherein the at least one
             deactivated during another portion of the exposure control 30 illumination light source is configured to operate at a peak
             timing pulse.                                                       power level during at least a portion of the exposure control
                48. The apparatus of claim 43, wherein the bar code              timing pulse in accordance with a power budget.
             decoding module further comprises:                                     62. TI1e apparatus of claim 43, wherein the CMOS image
                a classifier module that is configured to determine              sensor array comprises at least 640x480 active pixels.
                   whether the grey level image data comprises a one 35             63. The apparatus of claim 43, wherein the CMOS image
                   dimensional bar code or a two dimensional bar code.           sensor array comprises an infrared filter.
                49. The apparatus of claim 43, wherein the bar code                 64. An apparatus comprising:
             decoding module is further configured to at least decode two           a bar code decoding module that is configured to decode
             or more of a one dimensional universal product code bar                   representations of at least a two dimensional bar code
             code, a two dimensional PDF417 bar code or a bar code 40                  in a grey level image captured by an image reader that
             having abutting bar code symbols.                                         is configured to operate a CMOS image sensor array
                50. The apparatus of claim 43, wherein the at least one                operable in a global shutter mode to capture a substan-
             illumination light source is configured to be substantially               tially distortion free image, the inlage reader further
             bright and the exposure control timing pulse is configured to             comprising:
             be substantially short so as to enable the grey level image 45            the CMOS image sensor array comprising a plurality of
             data to be substantially non-distorted.                                      pixels in a two-dimensional array, wherein the
                51. The apparatus of claim 43, wherein the barcode                        CMOS image sensor array is operable in the global
             decoding module further comprises:                                           shutter mode such that all or substantially all of the
                a read out module configured to read out a set of digital                 pixels in the image sensor array are exposed in the
                   values corresponding to incident light on a plurality of so            image sensor array in response to an exposure con-
                   pixels of the CMOS image sensor array simultaneously                   trol timing pulse so as to enable the collection of
                   exposed to capture the grey level image data, a frame                  image data in the forn1 of at least the two dimen-
                   of grey level image data comprises a plurality of pixel                sional bar code;
                   values, wherein the read out module is controlled by a              at least one illumination light source configured to
                   read out timing control pulse.                             55          illuminate at least a portion of the bar code in
                52. The apparatus of claim 43, further comprising:                        response to an illumination control timing pulse,
                a lens driver module, wherein the lens sensor driver                      wherein the exposure control timing pulse and the
                   module has a plurality of discrete settings, each discrete             illumination control timing pulse are interdependent;
                   setting being configured to cause the grey level image                 and
                   data to be collected by the CMOS image sensor for 60                an autodiscrimination module configured to search the
                   objects located at a particular distance from the image                captured grey level image for one or more markers,
                   reader.                                                                wherein in an instance in which at least one marker
                53. The apparatus of claim 43, further comprising:                        of the one or more markers is detected, the bar code
                an auto-focusing module configured to read the grey level                 decoding module that is configured to decode the
                   image data from one or more exposed rows such that 65                  captured grey level inlage in accordance with a
                   the grey level image data is analyzed by a focusing                    decoding algorithm associated with the at least one
                   algorithm operable to detemune an auto-focus setting,                  marker.




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                65. The apparatus of claim 64, wherein the bar code                 77. The apparatus of claim 64, wherein the barcode
             decoding module is further configured to select a decoding          decoding is further configured to perform feature extraction
             algorithm for decoding the representation of the bar code           such that a finder pattern is identifiable in the grey level
             from a plurality of decoding algorithms each configured to          image data.
             decode a different one dimensional bar code or a two                   78. The apparatus of claim 64, wherein the illumination
             dimensional bar code.                                               control timing pulse occurs in response to the exposure
                66. The apparatus of claim 64, wherein the at least one          control timing pulse.
             illumination light source is configured to project a two-              79. The apparatus of claim 64, wherein the exposure
                                                                                 control timing pulse occurs in response to the illumination
             du:;~~:a!;:::::b~~ i~t:U:!i,o:t::~:\~:e;1~=a~~:: 10 control timing pulse.
                                                                                    80. 'The apparatus of claim 64, wherein a read out control
             illumination light source is configured to operate at a sub-
                                                                                 timing pulse begins at the conclusion of the illumination
             stantially peak power level during at least a portion of the
                                                                                 control timing pulse.
             exposure control timing pulse.                                         81. The apparatus of claim 64, wherein a read out control
                68. The apparatus of claim 64, wherein the at least one 15 timing pulse begins at the conclusion of the exposure control
             illumination light source is configured to operate at a sub-        timing pulse.
             stantially peak power level during at least a portion of the           82. The apparatus of claim 64, wherein the at least one
             exposure control timing pulse and is configured to be               illumination light source is configured to operate at a peak
             deactivated during another portion of the exposure control          power level during at least a portion of the exposure control
             timing pulse.                                                    20 timing pulse in accordance with a power budget.
                69. The apparatus of claim 64, wherein the bar code                 83. The apparatus of claim 64, wherein the CMOS image
             decoding module further comprises:                                  sensor array comprises at least 640x480 active pixels.
                a classifier module that is configured to determine                 84. The apparatus of claim 64, wherein the CMOS image
                   whether the grey level image data comprises a one             sensor array comprises an infrared filter.
                   dimensional bar code or a two dimensional bar code. 25           85. An apparatus comprising:
                70. The apparatus of claim 64, wherein the bar code                 a bar code decoding module that is configured to decode
             decoding module is further configured to at least decode two              representations of at least a two dimensional bar code
             or more of a one dimensional tmiversal product code bar                   in image data captured by an image reader that is
             code, a two dimensional PDF417 bar code or a bar code                     configured to operate in a global shutter mode to
             having abutting bar code symbols.                                30       capture a substantially distortion free image, the image
                71. The apparatus of claim 64, wherein the at least one                reader further comprising:
             illumination light source is configured to be substantially               the CMOS image sensor array comprising a plurality of
             bright and the exposure control timing pulse is configured to                pixels in a two-dimensional array, wherein the
             be substantially short so as to enable the grey level image                  CMOS image sensor array is operable in the global
             data to be substantially non-distorted.                          35          shutter mode such that all or substantially all of the
                72. The apparatus of claim 64, wherein the barcode                        pixels in the image sensor array are exposed in the
             decoding module further comprises:                                           image sensor array in response to an exposure con-
                a read out module configured to read out a set of digital                 trol timing pulse so as to enable the collection of
                   values corresponding to incident light on a plurality of               image data in the form of at least a two dimensional
                   pixels of the CMOS image sensor array simultaneously 40                bar code;
                   exposed to capture the grey level image data, a frame               at least one illumination light source configured to
                   of grey k-vel image data comprises a plurality of pixel                illuminate at least a portion of the bar code in
                   values, wherein the read out module is controlled by a                 response to an illumination control timing pulse,
                   read out timing control pulse.                                         wherein the exposure control timing pulse and the
                73. The apparatus of claim 64, further comprising:            45          illumination control timing pulse are interdependent;
                a lens driver module, wherein the lens sensor driver                   a binarizer module that is configured to binari:z.e the
                   module has a plurality of discrete settings, each discrete             image data to create a binarized image according to
                   setting being configured to cause the grey level image                 at least one of local thresholding or target image size
                   data to be collected by the CMOS image sensor for                      normalization; and
                   objects located at a particular distance from the image so          an autodiscrimination module configured to search the
                   reader.                                                                binarized image for one or more markers, wherein in
                74. The apparatus of claim 64, further comprising:                        an instance in which at least one marker of the one
                an auto-focusing module configured to read the grey level                 or more markers is detected, the bar code decoding
                   image data from one or more exposed rows such that                     module that is configured to decode the binarized
                   the grey level image data is analyzed by a focusing 55                 image in accordance with a decoding algorithm
                   algorithm operable to determine an auto-focus setting,                 associated with the at least one marker.
                   the auto-focusing module configured to move a lens               86. The apparatus of claim 85, wherein the bar code
                   according to the auto-focus setting.                          decoding module is further configured to select a decoding
                75. The apparatus of claim 64, wherein the apparatus             algorithm for decoding the representation of the bar code
             comprises one or more of a magnetic stripe reader. a 60 from a plurality of decoding algorithms each configured to
             biometric reader, a printer, a radio-frequency identification       decode a different one dimensional bar code or a two
             tag reader, a radio-frequency payment reader, or a smart card       dimensional bar code.
             reader.                                                                87. The apparatus of claim 85, wherein the at least one
                76. The apparatus of claim 64, wherein the barcode               illumination light source is configured to project a two-
             decoding module is further configured to perform feature 65 dimensional observable illumination pattern over the target.
             extraction such that a quiet zone is identifiable in the grey          88. The apparatus of claim 85, wherein the at least one
             level image data.                                                   illumination light source is configured to operate at a sub-




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             stantially peak power level during at least a portion of the               ?ble to detennine an auto-focus setting, the auto-focus-
             exposure control timing pulse.                                             mg module configured to move a lens according to the
                89. The apparatus of claim 85, wherein the at least one                 auto-focus setting.
             illumination light source is configured to operate at a sub-            96. The apparatus of claim 85, wherein the apparatus
             stantially peak power level during at least a portion of the         c?mpris_es one or more of a magnetic stripe reader, a
             exposure control timing pulse and is configured to be                b1ometnc reader, a printer, a radio-frequency identification
             deactivated during another portion of the exposure control           tag reader, a radio-frequency payment reader, or a smart card
             timing pulse.                                                        reader.
                90. The apparatus of claim 85, wherein the bar code                  97. The apparatus of claim 85, wherein the barcode
             decoding module further comprises:                               1 o decoding module is forther configured to perform feature

                a classifier module that is configured to determine               extraction such that a quiet zone is identifiable in the image
                   whether the image data comprises a one dimensional             data.
                   bar code or a two dimensional bar code.                           98. The apparatus of claim 85, wherein the barcode
                91. The apparatus of claim 85, wherein the bar code
                                                                                  decoding is further configured to perform feature extraction
             decoding module is further configured to at least decode two 15 such that a finder pattern is identifiable in the image data.
                                                                                     99. The apparatus of claim 85, wherein the illumination
             or more of a one dimensional universal product code bar
             code, a two dimensional PDF417 bar code or a bar code                control timing pulse occurs in response to the exposure
             having abutting bar code symbols.                                    control timing pulse.
                92. The apparatus of claim 85, wherein the at least one              100. l11e apparatus of claim 85, wherein the exposure
             ill~nation light source is configured to be substantially 20         control  tinling pulse occurs in response to the illumination
             bnght and the exposure control timing pulse is configured to         control timing pulse.
             be substantially short so as to enable the image data to be             101. The apparatus of claim 85, wherein a read out control
             substantially non-distorted.                                         timing pulse begins at the conclusion of the illmrunation
                93. The apparatus of claim 85, wherein the barcode                control timing pulse.
                                                                              25     102. The apparatus of claim 85, wherein a read out control
             decoding module further comprises:
                a read out module configured to read out a set of digital         timing pulse begins at the conclusion of the exposure control
                   values corresponding to incident light on a plurality of       timing pulse.
                   pixels of the CMOS image sensor array simultaneously              103. The apparatus of claim 85, wherein the at least one
                   exposed to capture the image data, a frame of image            illmlllllation light source is configured to operate at a peak
                   data comprises a plurality of pixel values, wherein the 30 power level during at least a portion of the exposure control
                   read out module is controlled by a read out timing             timing pulse in accordance with a power budget.
                   control pulse.                                                    104. 'Ibe apparatus of claim 85, wherein the CMOS image
                94. The apparatus of claim 85, further comprising:                sensor array comprises at least 640x480 active pixels.
                a lens driver module, wherein the lens sensor driver                 105. The apparatus of claim 85, wherein the CMOS image
                   module has a plurality of discrete settings, each discrete 35 sensor array comprises an infrared filter.
                   setting being configured to cause the image data to be            106. The apparatus of claim 85, wherein the binarizer
                   collected by the CMOS image sensor for objects                 module is further configured to reduce multi-pixel thick line
                   located at a particular distance from the image reader.        segments in the image data into at least one single pixel thick
                95. The apparatus of claim 85, farther comprising:                line.
                an auto-focusing module configured to read the image 40              107. The apparatus ofclaim 85, wherein the image data is
                   data from one or more exposed rows such that the               grey level image data.
                  image data is analyzed by a fm.,-using algorithm oper-                                *   * * * *




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             c12)   United States Patent                                                        (10) Patent No.:              US 10,140,490 B2
                    Kubo et al.                                                                 (45) Date of Patent:                      Nov. 27, 2018

             (54)   MODULE FOR OPTICAL INFO~l\iATION                                       (56)                    References Cited
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             (71) Applicant: OPTOELECTRONICS CO., LTD.,
                             Warabi-shi, Saitama (JP)                                             4,918,702 A •     4/1990 Kimura ................ G02B 6/4204
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             (72)   Inventors: Wataru Kubo, Warabi (JP); Satoshi                                  5,490,158 A *     2/1996 Mogi ....................... B4IJ 2i471
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                               Komi, Warabi (JP)
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             (73) Assignee: OPTOELl<:CTRONICS CO., LTD.,
                            Warabi-shi (JP)                                                             FOREIGN PATENT DOCUMENTS

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                                 patent is extended or adjusted under 35
                                                                                                                      (Continued)
                                 U.S.C. 154(b) by O days.

             (21) Appl. No.: 15/049,691                                                                       OTHER PUBLICATIONS

             (22)   Filed:       Feb. 22, 2016                                             English Translation of JP20101175IO; retrieved Jan. 23, 2017.*
                                                                                                                      (Continued)
             (65)                  Prior Publication Data
                                                                                           Primary Examiner - Christopher Stanford
                    US 2016/0253536 Al            Sep. 1, 2016
                                                                                           (74) Attorney, Agent, or Firm - Westerman, Hattori,
                             Related U.S. Application Data                                 Daniels & Adrian, LLP
             (60)   Provisional application No. 62/121,312, filed on Feb.
                    26, 2015.                                                              (57)                      ABSTRACT
                                                                                           A collimator lens unit in which an aperture limit stop
             (30)             'Foreign Application Priority Data                           formation member and a collimator lens are integrally
                                                                                           disposed in a cylindrical member is inserted in a lens-barrel
                Oct. 6, 2015      (JP) ................................. 2015-198590
                                                                                           hole of the module casing so as to be reciprocatable in an
             (51)   Int. Cl.                                                               optical axis direction, and a light-emitting unit is fixed in the
                    G06K 7110                (2006.01)                                     lens-barrel hole, with an optical axis of a light source aligned
                    G02B 26110               (2006.01)                                     with an optical axis of the collimator lens. A long hole
                                                                                           through which an adjust pin is penetrated so as to be
                                       (Continued)                                         reciprocatable in the optical axis direction is formed in a
             (52) U.S. Cl.                                                                 peripheral sidewall of the lens-barrel hole, and a fitting
                  CPC ......... G06K 7110831 (2013.01); G02B 71025                         portion in which the adjust pin is fit is formed in an outer
                                      (2013.01); G02B 7/04 (2013.01);                      peripheral surface of the cylindrical member. On an inner
                                   (Continued)                                             peripheral surface of the lens-barrel hole, at a position
             (58) Field of Classification Search                                           opposed to the fitting portion, bearing portions in contact
                  CPC ...... G02B 26/105; G02B 7/023; G02B 7/025;                          with the outer peripheral surface of the cylindrical member
                              G02B 27/30; G02B 27/62; G06K 7/1098;                         are formed.
                                                        G06K 7/10831
                  See application file for complete search history.                                         8 Claims, 6 Drawing Sheets




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                        {Fig   il


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                        {Fig. 2}




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                        {Fig. 3}

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                   {Fig. 4)



                                           16                     14

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                                  41              19   15    '
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                   {Fig. 51


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                                                                 32    33               ----12
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                43.---




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                        (Fig, 6}



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                        {Fig. 7]




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                           {Fig. 8A}




                                                  13b

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                                                                      /


                                                                          -----13a




                                                    7




                           {Fig. 8B}



                                                   13b
                                                       \

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                        {Fig. 9}




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                        {Fig. 10)




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                         {Fig. 11A]

                                      PBIPB ARI




                         {Fig. 118]

                                      PRIOR ARI




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                  MODULE FOR OPTICAL INFORMATION                                  fixed at a position short of the aperture, at a leading end rear
                             READER                                               side portion of the lens-barrel hole, and the light-emitting
                                                                                  unit is pressed into the press-fitting portion from the rear end
                           FIELD OF THE INVENTION                                 portion, whereby they are positioned.

                The invention relates to a module installed in an optical                               CITATION LIST
             information reader for reading optical information of a bar
             code and the like.                                                                          Patent Literature
                      BACKGROUND OF THE INVENTION                            10    {PTL 1} U.S. Pat. No. 7,206,109 B2
                                                                                   {PTL 2} WO 03/019463 Al
                As an optical information reader, bar code readers which           {PTL 3} JP 2003-76942 A
             read optical information of bar codes, two-dimensional
             codes, and the like indicating information such as names and                       SUMMARY OF INVENTION
             prices of products are used widely by the distribution 15
             industry and the retail industry.                                                        Technical Problem
                The bar code readers are roughly classified into hand-held
             ones held by one hand when in use and stationary ones, and            Such a conventional module for an optical information
             the hand-held ones further include a pen type, a touch type,       reader had the following problems.
             and a light beam scauning type (laser type). Among these, an 20       Since the light-emitting unit is pushed into the lens-barrel
             optical information reader being an object of the invention.       hole while being pressed, and for the collimation adjust-
             is an optical information reader such as a hand-held bar code      ment, it is moved in one direction (a direction which is an
             reader of the light beam scanning type.                            optical axis direction and in which it approaches the colli-
                A bar code reader of the light beam scauning type shapes        mator lens), re-adjustment by returning it was not possible.
             light emitted by a light source such as a laser diode (semi- 25 Accordingly, when the light-emitting unit is pushed too
             conductor laser) into a beam, deflects the light beam by a         much, this module becomes a defective product, resulting in
             mirror so that the light beam hits on a bar code, and while        worsened production yields.
             rotating or vibrating (swinging) the mirror, scans the bar            Further, delicate adjustment on a micron level was not
             code so that the light beam moves across the bar code.             possible since the light-emitting unit is press-fit and thus
                Then, the reflected light from the bar code is condensed, 30 frictional resistance is high, and there is a possibility that the
             is received by a light-receiving sensor, and is converted to an    collimator lens and the laser diode are tilted relatively to
             electrical signal. The electrical signal is coded after AID        each other.
             conversion and the resultant is output as bar code read
             information. In the hand-held optical information reader of                           Object of the Invention
             the light beam scauning type, its read engine part is required 35
             to be greatly reduced in size and weight.                             The invention was made in consideration of the above
                Under such circumstances, there has come into use a             technical background, and has an object to make it possible
             module for an optical information reader in which the              to, in a module for an optical information reader, easily and
             aforesaid light source, a collimator lens for shaping the light    delicately make collinlation adjustment and focus adjust-
             emitted by the light source into a beam, a vibration mirror 40 ment in both directions of back and forth directions along an
             and it's driver, a collector mirror or a condenser lens, a         optical axis while preventing a collimator lens and a laser
             light-receiving sensor, a processing circuit for a detection       diode from being tilted relatively to each other, thereby
             signal of the light-receiving sensor, and so on are assembled      greatly reducing the occurrence of defective products to
             in a common easing to be modularized, as described in, for         enhance production yields.
             example, PLT 1, 2, 3, and so on.                                45
                 In such a module for an optical information reader, a                               Solution to Problem
             light-emitting unit whose light source is, for example, a laser
             diode, the collimator lens for turning the light emitted by the       A module for an optical information reader according to
             light source into a parallel luminous flux, and a member           the invention is a module for an optical information reader
             having an aperture through which the parallel luminous flux 50 in which a light-emitting unit having a light source such as
             exits as a thin beam need to be fixedly positioned in a lens       a laser diode, a collinlator lens, a vibration mirror for
             barrel, with their optical axes aligned. Further, in order for     scanning, a collector mirror or a condenser lens, and a
             the collimator lens to surely generate the light beam which        light-receiving sensor are disposed in a module casing to be
             is to be converged in the parallel light flux or at a finite       modularized, and it is structured as follows in order to
             distance, it is necessary to accurately adjust the distance 55 achieve the aforesaid object.
             between the light-emitting unit and the collimator lens               A collimator lens unit in which an aperture limit stop
             (collimation adjustment or focus adjustment) so that a focal       formation member and the collimator lens are integrally
             point of the collimator lens and a light-emitting point of the     disposed in a cylindrical member is inserted in a lens-barrel
             light-emitting unit have a predetermined positional relation.      hole of the module casing so as to be reciprocatable in an
                Therefore, in a light beam generating part in the module 60 optical axis direction within a predetermined range, and the
             for the optical information reader disclosed in the aforesaid      light-emitting unit is fixed to the module easing in the
             PLT 1, 2, 3, in part of the module casing, a lens-barrel hole      lens-barrel hole, with an optical axis of the light source
             is provided, at whose leading end portion the aperture being       aligned with an optical axis of the collimator lens.
             an aperture limit stop for letting the light beam exit there-         Further, a long hole through which an adjust pin is
             through is formed and whose rear end portion is opened to 65 penetrated so as to be reciprocatable in the optical axis
             be formed as a press-fitting portion where to press-fit the        direction within a predetermined range is formed in a
             light-emitting unit. Then, the collimator lens is bonded and       peripheral sidewall of the lens-barrel hole of the module




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             casing, and a fitting portion in which a tip portion of the           If the open-hole from which the adhesive can be filled is
             adjust pin penetrating through the long hole is fit is formed      formed near the bearing portions, it is possible to fill the
             in an outer peripheral surface of the cylindrical member.          adhesive from the opening to fixedly bond the cylindrical
                 Furthermore, on an inner peripheral surface of the lens-       member or the cylindrical part to the module casing after the
             barrel hole of the module casing, at or near a position            collimation adjustment while pressing the cylindrical mem-
             opposed to the fitting portion, bearing portions in contact        ber or the cylindrical part against the bearing portions by the
             with the outer peripheral surface of the cylindrical member        adjust pin, and thus adjustment deviation and optical axis
                                                                                deviation of the collimator lens are not liable to occur.
             are formed at positions symmetrical with respect to the
                                                                                   Forming the module casing of the resin having the heat
             position in terms of an inner circumferential direction of the
             lens-barrel hole.                                               10 dissipation property and the shielding property makes it
                                                                                possible to reduce weight as well as to reduce cost far more
                 Preferably, the bearing portions form a V-shaped slope by      than forming it of metal. In addition, the heat dissipation
             two flat surfaces which, in a circumferential direction, are in    property and the shielding property to a degree not practi-
             point contact with the outer peripheral surface of the cylin-      cally problematic can also he obtained. Using the black resin
             drical member, and in an axial direction, are in line contact      such as the reinforced resin in which carbon is dispersed
             with the outer peripheral surface.                              15 makes it possible to prevent the reflection of the light. If the
                 Preferably, an open-hole through which an adhesive for         shielding effect is not sufficient, by affixing the metallic foil
             fixing the cylindrical member is tillable is formed in a           on a necessary portion of the outer wall surface of the
             middle region, of the V-shaped slope, which is not in contact      module casing, it is possible to enhance the shieldiug effect.
             with the outer peripheral surface of the cylindrical member.
                 Ihe collimator lens unit may be structured such that the 20               BRIEF DESCRIPTION OF DRAWINGS
             collimator lens and the aperture limit stop formation mem-
             ber are fixed to the cylindrical member.                              FIG. 1 is a front view of one embodiment of a module for
                 The collimator lens unit may be structured such that the       an optical information reader accordiug to the invention.
             aperture limit stop formation member and the cylindrical              FIG. 2 is a right side view of the module for the optical
             member are integrally disposed on the collimator lens itself. 25 information reader according to the same.
                 1he collimator lens unit may be structured such that the          FIG. 3 is a perspective view of the module for the optical
             collimator lens and the cylindrical member are integrally          information reader according to the same seen from
             formed of the same material or different kinds of materials,       obliquely above.
             and to the resultant formed body, the aperture limit stop             FIG. 4 is a perspective view of the module for the optical
             formation member is fixed.                                      30 information reader accordiug to the same seen from the
                 The module casing may be formed of resin. Desirably, the       same direction as that in FIG. 3, with a circuit hoard
             resin is reinforced resin in which carbon is dispersed.            removed.
                 Desirably, a metallic foil is affixed on an outer wall            FIG. 5 is an enlarged sectional view taken along V-V line
             surface of the module casing made of the resin, at least near      in FIG. 1.
             a portion where the light-receiving sensor is housed.           35    FIG. 6 is an enlarged partial sectional view illustrating a
                                                                                light beam generating part in FIG. 5 together with an adjust
                            Advantageous Effects of Invention                   pin.
                                                                                   FIG. 7 is a partial sectional view taken along VII-VII line
                 In the module for the optical information reader according     in FIG. 6.
             to the invention, the module casing is fixed to a jig, the tip 40     FIG. 8A is a sectional view schematically illustrating a
             portion of the adjust pin is passed through the long hole of       cross section similar to that in FIG. 7 to explain character-
             the module casing to be inserted into the lens-barrel hole and     istics of collimation adjustment according to an embodiment
             is fit in the fitting portion of the cylindrical member or the     of the invention.
             cylindrical part of the collimator lens unit, and when the            FIG. 8B is a sectional view illustrating the same in a state
             adjust pin is moved in the optical axis direction of the 45 after an adhesive for fixing a collimator lens unit to a module
             collimator lens by a linear movement mechanism of the jig,         casing is cured.
             it is possible to move the collimator lens integrally with the        FIG. 9 is a sectional view taken along IX-IX line in FIG.
             cylindrical member or the cylindrical part to easily make          3.
             collimation adjustment.                                               FIG. 10 is a perspective view illustrating an embodiment
                 Further, the adjustment can he made while the collimator 50 in which a metallic foil is affixed on an outer wall surface of
             lens is moved in the both directions of the optical axis           the module casing to enhance a shieldiug effect, with the
             direction, that is, directions in which it approaches and          circuit board removed.
             separates from the light source, and therefore, if it is moved        FIG. llA is a sectional view illustrating a bonding
             too much in one of the directions, the re-adjustment is            example being a reference example for comparison with the
             possible by returning it. This can greatly reduce the occur- 55 embodiment of the invention, which corresponds to FIG. 8A
             rence of defective products to enhance production yields.          before the adhesive is cured.
             Setting a movement pitch of the adjust pin fine can facilitate,       FIG. 11B is a sectional view illustrating the same, which
             even delicate and highly accurate adjustment.                      corresponds to FIG. 8B after the adhesive is cured.
                 Since it is possible for the adjust pin to move the cylin-
             drical member or the cylindrical part of the collimator lens 60                     DETAILED DESCRIPTION
             unit while pressing it against the bearing portions on the
             opposite side, the adjustment can he made without any                 Hereinafter, modes for carrying out the invention will he
             deviation of the optical axis. Further, by reducing a contact      described based on the drawings.
             area between the outer peripheral surface of the cylindrical          First, the entire structure of one embodiment of a module
             member or the cylindrical part and the hearing portions, it is 65 for an optical information reader according to the invention
             possible to move the cylindrical member or the cylindrical         will be specifically described with reference to FIG. 1 to
             part smoothly with a relatively small force.                       FIG. 5.




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                FIG. 1 is a front view of the module for the optical             In the collimator lens unit 30, a collimator lens 31 and an
             information reader and FIG. 2 is a right side view thereof       aperture litnit stop formation member 32 in which an
             FIG. 3 is a perspective view of the module for the optical       aperture 32a being an aperture limit stop is formed are
             information reader seen from obliquely above, and FIG. 4 is      integrally fixed in a cylindrical member 33 being a collima-
             a perspective view of the same seen from the same direction,     tor lens barrel. The aperture limit stop formation member 32
             with a circuit board removed. FIG. 5 is an enlarged sectional    is fixed to a front end portion of the cylindrical member 33
             view taken along V-V line in FIG. 1.                             by an adhesive or the like, presses the collimator lens 31
                This module 1 for the optical information reader is a read    against an inner periphery stepped portion of the cylindrical
             engine installed in an optical information reader such as a 10 member 33 to fix it, and has the aperture 32a disposed just
                                                                              in front of the collimator lens 31.
             bar code reader, and as illustrated in these drawings, it is
                                                                                 This collimator lens unit 30 is inserted in the lens-barrel
             composed of a module casing 10; a light-emitting unit 20, a
                                                                              hole 13a of the light beam generating part housing part 13
             collimator lens unit 30, a vibration mirror driver 40, a
                                                                              of the module casing 10 so as to be reciprocatable in an
             collector mirror 50 having a concave surface shape, and a        optical axis direction within a predetermined range. The
             light-receiving sensor 60 which are assembled in the module 15 aperture limit stop formation member 32 and the cylindrical
             casing 1 0; a circuit board 70 attached to an upper surface of   member 33 can be formed of the same material as or has
             the module casing 10; and so on.                                 performance equivalent to that of the module casing 10
                The module casing 10 has, for example, a size of 14 mm        (polycarbonate containing 20% glass, aluminUlll, or the
             depth (D) 28 mm width (W), and 7.5 mm height (H) as its          like). The light-emitting unit 20 is fixed to the module casing
             whole outer shape, but this is not restrictive. Since such a 20 10 in the lens-barrel hole 13a so as to partly enter the inside
             module casing is required to have a heat dissipation property    of the cylindrical member 33, with an optical axis of the light
             and a shielding property, it has been conventionally formed      source being aligned with an optical axis of the collimator
             by a die casting manufacturing method by using metal such        lens 31. Details of the collimator lens unit 30 and collima-
             as, for example, zinc called ZDC2 or a magnesium alloy           tion adjustment will be described later.
             called AZ91D. The module casing of the module for the 25            As illustrated in FIG. 4 and FIG. 5, the vibration mirror
             optical information reader according to the invention may        driver 40 is composed of: a vibration tnirror 41 for light
             similarly be formed of metal by the die casting manufac-         beam scanning made of metal, resin, or glass; a vibration
             turing method.                                                   mirror holding member 42 fixed to a front surface portion of
                However, the module casing 10 in this embodiment is           the vibration mirror 41 and made of resin; a movable magnet
             formed of resin higher in heat dissipation property (thermal 30 (permanent magnet) 43 fixed to a rear surface side of the
             conductivity) and shielding property (electric conductivity)     vibration mirror holding member 42; the support shaft 44 in
             than ordinary resin, for example, formed of black reinforced     a pin shape supporting the vibration mirror holding member
             resin in which carbon is dispersed. As a specific example of     42 so as to allow its rotation; and a coil unit 45 disposed to
             the resin material, TCF1140 manufactured by Mitsubishi           face and to be apart from and in parallel to the movable
             Engineering-Plastics Corporation is preferably used. Form- 35 magnet 43. In the coil unit 45, a yoke 47 penetrates through
             ing the module casing 10 of such resin can achieve a cost        a coil 46 in a direction perpendicular to a winding direction
             reduction and a great weight reduction, and to obtain a heat     of the coil 46.
             dissipation property and a shielding property high enough           These are attached to the vibration mirror driver attach-
             for practical application.                                       ment part 16 of the module casing 10. 1ben, by an action of
                Further, this module casing 10 has a bottom surface 40 the movable magnet 43 and the coil unit 45, the vibration
             portion 11, a sidewall portion 12 surrounding its periphery,     mirror holding member 42 and the vibration mirror 41 fixed
             a light beam generating part housing part 13, a LSI housing      thereto are vibrated (swung) in a seesaw manner as indicated
             recessed part 14, a collector mirror attachment part 15, a       by the arrows A, Bin FIG. 5.
             vibration mirror driver attachment part 16, a light-receiving       A collector mirror 50 having a concave surface shape is
             unit attachment part 17, a circuit board holding part 18, and 45 fixed in a tilting manner to the collector mirror attachment
             so on.                                                           part 15 of the module casing 10 so as to face the vibration
                On the bottom surface portion 11 of the vibration mirror      mirror 41 and the light-receiving sensor 60. The collector
             driver attachment part 16, a boss lla (refer to FIG. 9) is       mirror 50 has a reflective film 52 formed on a concave
             formed, and a lower end portion of a support shaft 44 of a       curved surface of a curved substrate 51 made of resin, and
             vibration mirror 41 is fit therein to be supported. A front 50 has a rectangular or circular through hole 53 formed at its
             face, of the sidewall portion 12, corresponding to the vibra-    center portion to allow the light beam to pass therethrough.
             tion mirror driver attachment part 16 is opened to form an          The light-receiving sensor 60 has a light-receiving ele-
             opening 19 for letting a light beam exit and incident.           ment 61 such as a photodiode (PD), and is integrated with
                As illustrated in FIG. 5, the light-emitting unit 20 and the  the circuit board 70 with its two tertninals connected to the
             collimator lens unit 30 which form a light beam generating 55 circuit board 70 illustrated in FIG. 3. Accordingly, when the
             part are disposed in a lens-barrel hole 13a which is formed      circuit board 70 is mounted on the circuit board holding part
             in the light beam generating part housing part 13 of the         18 of the module casing 10, the light-receiving sensor 60 is
             module casing 10 and which has a cylindrical inner periph-       inserted to the light-receiving sensor attachment part 17 to
             eral surface.                                                    be disposed at a predetermined position.
                The light-emitting unit 20 has a laser diode 21 as a light 60    On the circuit board 70, a not-illustrated necessary wiring
             source, and is inserted to be fixed in the lens-barrel hole 13a  pattern is formed and various kinds of chip-shaped elec-
             from an opening of the sidewall portion 12 of the module         tronic components are attached, and on its rear surface side,
             casing 10 on the right side in FIG. 5. As illustrated in FIG.    a LSI (large-scale integratt.-d circuit) playing a centr.il role in
             2 and so on, three terminals 22 of the laser diode 21 project    signal processing and control is mounted.
             to extend upward from a rear end surface of the light- 65           Then, this circuit board 70 is fixedly attached to the upper
             emitting unit 20 and are connected to terminals of the board     surface of the module casing 10 with a plurality of screws
             70 side.                                                         74, and serves also as an upper cover of this module 1 for




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             the optical information reader. At this time, the LSI mounted       istics of the collimation adjustment according to the embodi-
             on the rear surface is housed in the LSI housing recessed part      ment of the invention, and FIG. 8B is a sectional view
             14 (FIG. 4) of the module casing 10. The LSI is prevented           illustrating a state after the adhesive for fixing this collima-
             from being influenced by electromagnetic wave noise gen-            tor lens unit 30 to the module casing is cured. In these
             erated by other electronic devices, cellular phones, and so on      drawings, the hatching of the collimator lens unit 30 is
             since four surfaces of its outer periphery are surrounded by        omitted.
             the resin with a high shielding property of the module casing           As previously described, the collimator lens unit 30 has
             10.                                                                 the collimator lens 31 and the aperture limit stop formation
                Functions of the module 1 for the optical information            member 32 integrally fixed in the cylindrical member 33,
             reader thus structured will be described by mainly using 10
                                                                                 and is inserted in the lens-barrel hole 13a of the light beam
             FIG. 5.
                                                                                 generating part housing part 13 of the module casing 10 so
                A laser ray is generated as a result of the light emission of
                                                                                 as to be reciprocatable in the direction along the optical axis
             the laser diode 21 being the light source in the light-emitting
             unit 22, this is turned into a luminous flux which is parallel      X within the predetermined range. Thus, an outside diameter
             or is converged at a desired distance by the collimator lens 15 of the cylindrical member 33 is slightly smaller than an
             31, and the luminous flux is passed through the aperture 32a        inside diameter of the lens-barrel hole 13a and there exists
             to be radiated as a laser beam Ll indicated by the solid line.      a small gap between the both.
                This laser beam L1 passes through the through hole 53 of             In a peripheral sidewall of the lens-barrel hole 13a in the
             the collector mirror 50 to reach the vibration mirror 41, is        light beam generating part housing part 113 of the module
             reflected in a predetermined angular range whose center is 20 casing 10, a long hole 131) through which the adjust pin 5
             90°, due to the vibration of the vibration mirror 41, and exits     penetrates so as to be reciprocatable in the optical axis
             from the opening 19 to the outside. This laser beam irradi-         direction (C and D directions indicated by the arrows in FIG.
             ates a not-illustrated bar code symbol.                             6) within a predetermined range is formed. Further, in an
                The bar code symbol has a plurality of black and white           outer periphery of the cylindrical member 33 of the colli-
             vertical stripes each having a predetermined width stipulated 25 mator lens unit 30, a fitting portion 33a in which a tip portion
             by the standard as is well known. They are called black bars        of the adjust pin 5 penetrating through the long hole 13b is
             and spaces. Light with different reflectance is reflected           fit is formed. 'Ibe fitting portion 33a is a recessed portion in
             depending on a lateral width of each of the black bars and          this embodiment, but if a recessed portion is formed in a tip
             the spaces.                                                         surface of the adjust pin 5, the fitting portion of the outer
                Rays L2 (indicated by the broken-line arrows in FIG. 5) 30 periphery of the cylindrical member 33 can be a projecting
             reflected from the bar code symbol pass through the opening
                                                                                 portion.
             19 again and enter the vibration mirror 41 to be reflected.
                                                                                     On an inner peripheral surface of the lens-barrel hole 13a
             Their reflected lights are collected by the collector mirror 50.
                                                                                 of the module casing 10, at or near a position opposed to the
             At this time, since the vibration mirror 41 vibrates due to a
             magnetic force generated between the coil unit 45 and the 35 fitting portion 33a, bearing portions 13c in contact with the
             movable magnet 43, it is possible for the lights in a wide          outer peripheral surface of the cylindrical member 33 are
             range reflected from the bar code symbol to enter and to be         disposed at positions symmetrical with respect to this posi-
             sent to the collector mirror 50. Then, the lights collected by      tion in terms of a circumferential direction of the lens-barrel
             the collector mirror 50 are all received by the light-emitting      hole 13a.
             element 61 of the light-receiving sensor 60.                     40     In this embodiment, as illustrated in FIG. 7, the pair of
                The light-receiving sensor 60 outputs an electrical signal       bearing portions 13c form a V-shaped slope which is thick
             according to the intensity of the light received by the             so as to make an inside diameter of the inner peripheral
             light-receiving element 61 and sends the electrical signal to       surface of the lens-barrel hole 13a smaller than that at the
             the circuit board 70. In the circuit board 70, the electrical       other portion of the inner peripheral surface. Accordingly,
             signal is AID converted and thereafter the digital signal is 45 when the collimator lens unit 30 is pressed in the arrow F
             processed, whereby data read from the bar code symbol is            direction in FIG. 7 by the adjust pin 5, the bearing portions
             obtained.                                                           13c come into point contact with the outer peripheral surface
                By assembling this module 1 for the optical infonnation          of the cylindrical member 33 at P points illustrated in FIG.
             reader in a not-illustr'dted case together with a power supply      8A in the circumferential direction and into line contact
             part and so on, it is possible to easily complete a compact 50 therewith in an axial direction. In this state, the optical axis
             optical information reader such as a hand-held bar code             X of the collimator lens and a light emission center of the
             reader.                                                             light-emitting lllit 20 coincide with each other, and the
                Next, a characterizing structure in the light beam gener-        collimator lens is easily movable along the optical axis X as
             ating part of this module 1 for the optical information reader,     it is.
             a method of the collimation adjustment (also called focus 55            These bearing portions 13c are not limited to the V-shaped
             adjustment), and a fixing method of the collimator lens unit        slope, but the bearing portion may be a slightly inwardly
             30 and the module casing 10 after this adjustment will be           projecting curved surface formed at part of the inner periph-
             described based on FIG. 6, FIG. 7, FIG. 8A, and FIG. 8B.            eral surface of the lens-barrel hole 13a, or a curved-surface
                FIG. 6 is an enlarged partial sectional view illustrating the    projection provided along the axial direction on the inner
             light beam generating part in FIG. 5 together with the adjust 60 peripheral surface.
             pin, and FIG. 7 is a partial sectional view taken along                 Further, in the bearing portions 13c or in the vicinity
             VII-VII line in FIG. 6. In these drawings, the light-emitting       thereof, in tins embodiment, in a middle region, of the
             unit 20 is entirely cross-hatched in the same manner, and the       V-shaped slope being the pair of bearing portions 13c, which
             collimator lens unit 30 is also entirely hatched in the same        is not in contact with the outer peripheral surface of the
             manner.                                                          65 cylindrical member 33, an open-hole 13d through which an
                FIG. 8A is a sectional view schematically illustrating a         adhesive for fixing the cylindrical member 33 is finable is
             cross section similar to that in FIG. 7 to explain character-       formed.




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                The collimation adjustment (focus adjustment) in the light      and the adhesive 7 is filled and cured in a gap (cleamnce)
             beam generating part of the module 1 for the optical infor-        between the inner peripheral surface and the outer peripheral
             mation reader thus structured is performed as follows.             surface of the collimator lens unit 30.
                The module 1 for the optical information reader whose              In this case, as illustrated in FIG. UB, the collimator lens
             assembly is finished is fixed to a not-illustrated jig. Then, as   unit 30 is likely to be bonded and fixed to the lens-barrel hole
             illustrated in FIG. 6, the tip portion of the adjust pin 5         10a of the module casing 10' in a state where the axis of the
             disposed on the jig is inserted to the long hole 13b formed        collimator lens unit 30, that is, the optical axis of the built-in
             in the light beam generating part housing part 13 of the           collimator lens is deviated from or tilted relatively to a
             module casing 10, and further is fit in the fitting portion 33a    central axis of the lens-barrel hole 10a.
             formed in the outer periphery of the cylindrical member 33 10         This is because, due to the adhesive 7 filled in the
             of the collimator lens unit 30. By the adjust pin 5 being          clearance between the outer peripheml surface of the colli-
             pressed in the arrow F direction illustrated in FIG. 7, the        mator lens unit 30 and the inner peripheral surface of the
             cylindrical member 33 of the collimator lens unit 30 is            lens-barrel hole 10a, the collimator lens unit 30 is in a
             pressed in the same direction, and its outer peripheml             floating state in the lens-barrel hole 10a, and when the
             surface is brought into point contact with the pair of bearing 15 adhesive 7 is cured, contraction stresses are generatt.'<i as
             portions 13c formed on the inner peripheral surface of the         illustrated by many arrows in FIG. llA, and due to uneven-
             lens-barrel hole 13a, at the P points illustrated in FIG. SA.      ness or the like of an application amount of the adhesive, its
                When the adjust pin 5 is moved in this state in the arrow       strength differs depending on each circumferential-direction
             C direction or D direction illustrated M FIG. 6 by a linear        position.
             feeding mechanism of the jig, the collimator lens unit 30 20          Incidentally, in this embodiment, the collimator lens 31
             moves in accordance therewith along the optical axis X of          and the aperture limit stop formation member 32 are inte-
             the collimator lens 31, so that its distance from the light-       grally fixed to the cylindrical member 33 to form the
             emitting unit 20 fixed in the lens-barrel hole 13a of the          collimator lens unit 30, but instead, an aperture limit stop
             module casing 10 changes.                                          formation part and a cylindrical part may be integrally
                Consequently, the laser light emitted from the laser diode 25 provided on the collimator lens itself to form the collimator
             21 being the light source of the light-emitting unit 20 is         lens unit. Further, the collimator lens and the cylindrical part
             turned into an accurate parallel luminous flux by the colli-       may be integmlly formed of the same material or different
             mator lens 31 of the collimator lens unit 30, which makes it       kinds of materials, and the aperture limit stop formation part
             possible to perform the collimation adjustment or the focus        may be integmlly fixed to the resultant to form the collimator
             adjustment so that the light exits as a prescribed laser beam 30 lens unit.
             through the aperture 32a.                                             Incidentally, in the module 1 for the optical information
                This adjustment can be performed by moving the colli-           reader of this embodiment, since the module casing 10 is
             mator lens unit 30 in both a direction in which it separates       formed of resin, the support shaft 44 of the vibration mirror
             from the light-emitting unit 20 and a direction in which it        41 is liable to lack support strength if being supported in a
             approaches the light-emitting unit 20, and therefore in a case 35 cantilever manner. Here, a structure for enhancing the sup-
             where the adjustment is made excessively in one of the             port strength will be described based on FIG. 3 and FIG. 9.
             directions, it is possible to return it for re-adjustment, so that FIG. 9 is a sectional view taken along IX-IX line in FIG. 3,
             a defective product due to the poor collimation adjustment         and the vibration mirror driver 40 is entirely hatched in the
             scarcely occurs. The adjust pin 5 can be moved by a linear         same manner.
             motor mechanism, a fine-pitch ball screw mechanism, or the 40         As illustrated in FIG. 9, on the bottom surface portion 11
             like, and delicate adjustment can be easily made.                  of the module casing 10 (including the vibration mirror
                After the collimation adjustment is thus finished, as           driver attachment part 16), the boss lla is formed and a
             illustrated in FIG. SA, while the collimator lens unit 30 is       lower end portion of the support shaft 44 of the vibration
             pressed in the arrow F direction by the adjust pin 5 to be         mirror 41 is fit therein to be supported. An upper end portion
             pressed against the pair of bearing portions 13c, the adhesive 45 of this support shaft 44 loosely penetrates through a through
             7 is filled in the open-hole 13d formed in the middle portion      hole 70a formed in the circuit board 70 to protrude upward,
             of the pair of bearing portions 13c in the module casing 10        and a holder disk 48 having a center hole is fit therearound
             and is cured.                                                      as illustrated in FIG. 3 and FIG. 9 and this holder disk 48 is
                If, for example, an ultraviolet curing adhesive is used as      bonded or soldered to the upper surface of the circuit board
             this adhesive 7, it can be cured in a short time by being 50 70 to be fixed.
             irradiated with ultraviolet light after being filled.                 With this structure, the support shaft 44 of the vibration
                Owing to the curing of the adhesive 7, the collimator lens      mirror 41 is supported at two points by the bottom surface
             1mit 30 is bonded and fixed to the module casing 10 while          portion 11 of the module casing 10 and the circuit board 70,
             being kept at such a predetermined position that part of its       which eliminates a risk of its tilting. Further, even when the
             outer peripheral surface abuts on the pair of bearing portions 55 support shaft 44 receives an external force such as a drop
             13c, and even if the pressing of the collimator lens unit 30       impact, a load for the bottom surface portion 11 of the
             is released as illustrated in FIG. 8B by pulling out the adjust    module casing 10 to support the support shaft 44 is reduced.
             pin 5, the optical axis of the collimator lens 31 does not            Instead of the holder disk 48 having the center hole, a
             deviate or tilt.                                                   holder member in a hat shape having a recessed portion
                Thereafter, when the adhesive is injected also from the 60 where to fit the upper end portion of the support shaft 44 and
             long hole 13b for adjust pin insertion and is cured, it is         a flange portion may be used.
             possible to more surely fix the collimator lens unit 30 to the        Next, FIG. 10 is a perspective view illustmting an
             module casing 10.                                                  embodiment in which a metallic foil is affixed on an outer
                On the other hand, in a reference example, as illustrated       wall surface of the module casing 10 to enhance a shielding
             in FIG. llA, it is assumed that an inner peripheml surface of 65 effect, with the circuit board 70 removed.
             a lens-barrel hole 10a of a module easing 10' is formed as a          In this embodiment using the photodiode (PD) as the
             round cylindrical surface without having bearing portions,         light-receiving sensor 60, in order to more ensure a noise




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             countermeasure, a metallic foil 9 is affixed on the outer wall        wherein, on an inner peripheral surface of the lens-barrel
             surface, of the above-mentioned resin module casing 10, at               hole of the module casing, at a position diametrically
             least near a portion housing the light-receiving sensor 60               opposite from the long hole and the fitting portion, a
             having the built-in photodiode as illustrated in FIG. 10, to             pair of bearing portions which, in a circumferential
             thereby enhance the shielding effect.                                    direction, are in point contact with the outer peripheral
                Optical information read by the optical information reader            snrface of the cylindrical member, and in an axial
             including the module for the optical information reader                  direction, are in line contact with the outer peripheral
             according to the invention is not limited to bar codes but               surface are formed at positions symmetrical with
             may be various kinds of two-dimensional codes such as                    respect to the position in terms of an inner circumfer-
             PDF 417, a QR code, and Aztec Code.                            10
                                                                                      ential direction of the lens-barrel hole,
                Hitherto. the embodiments of the invention have been
                                                                                   wherein an open-hole through which an adhesive for
             described, but the invention is not limited to these, and it
                                                                                      fixing the cylindrical member is fillable is formed in a
             goes without saying that, in carrying out the invention,
             addition and changes can be appropriately made to their                  middle region of the pair of bearing portions, and
             structures, part of the structures may be omitted, or shapes 15       wherein the bearing portions form a V-shaped slope by
             and materials may be changed.                                            two flat surfaces which, in a circumferential direction,
                The structures of the above-described embodiments and                 are in point contact with the outer peripheral snrface of
             modification examples can of course be carried out by being              the cylindrical member, and in an axial direction, are in
             arbitrarily combined as long as they are not mutually incon-             line contact with the outer peripheral surlace.
             sistent.                                                       20     2. The module for the optical information reader accord-
                                                                                ing to claim 1, wherein an open-hole through which an
                            INDUSTRIAL APPLICABILITY                            adhesive for fixing the cylindrical member is fillable is
                                                                                formed in a middle region, of the V-shaped slope, which is
                The module for the optical information reader according         not in contact with the outer peripheral snrface of the
             to the invention is applicable to various kinds of optical 25 cylindrical member.
             information readers such as a bar code reader.                        3. The module for the optical information reader accord-
                What is claimed is:                                             ing to claim 1, wherein the collimator lens unit is structured
                1. A module for an optical information reader in which a        such that the collimator lens and the aperture limit stop
             light-emitting unit having a light source, a collimator lens, a    formation member are fixed to the cylindrical member.
             vibration mirror for scanning, a collector mirror or a con- 30
                                                                                   4. The module for the optical information reader accord-
             denser lens, and a light-receiving sensor are disposed in a
             module casing to be modularized,                                   ing to claim 1, wherein the collimator lens unit is structured
                wherein a collimator lens unit, in which an aperture limit      such that the aperture limit stop formation member and the
                   stop formation member and the collimator lens are            cylindrical member are integrally disposed on the collimator
                   integrally disposed in a cylindrical member, is inserted 35 lens itself.
                   in a lens-barrel hole of the module casing so as to be          5. The module for the optical information reader accord-
                   reciprocatable in an optical axis direction within a         ing to claim 1, wherein the collimator lens unit is structured
                   predetermined range, and the light-emitting unit is          such that the collimator lens and the cylindrical member are
                   fixed to the module casing in the lens-barrel hole, with     integrally formed of the same material or different kinds of
                   an optical axis of the light source aligned with an 40 materials, and to the resultant formed body, the aperture
                   optical axis of the collimator lens, and wherein the         limit stop formation member is fixed.
                   aperture limit stop formation member radiates an out-           6. The module for the optical information reader accord-
                   put laser beam,                                              ing to claim 1, wherein the module casing is formed of resin.
                wherein a long hole through which an adjust pin is                 7. The module for the optical information reader accord-
                   penetrated so as to be reciprocatable in the optical axis 45 ing to claim 6, wherein the resin is reinforced resin in which
                   direction within a predetermined range is formed in a        carbon is dispersed.
                   peripheral sidewall of the lens-barrel hole of the mod-         8. The module for the optical information reader accord-
                   ule casing, and a fitting portion in which a tip portion     ing to claim 6, wherein a metallic foil is affixed on an outer
                   of the adjust pin penetrating through the long hole is fit   wall snrface of the module casing made of the resin, at least
                   is formed in an outer peripheral surface of the cylin-       near a portion where the light-receiving sensor is housed.
                  drical member,                                                                       *   *   * *    *




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               c12)   United States Patent                                                 (10) Patent No.:                       US 7,159,783 B2
                      Walczyk et al.                                                       (45) Date of Patent:                                 Jan.9,2007


               (54)    CUSTOMIZABLE OPTICAL READER                                     (51)      Int. CI.
                                                                                                 G06K 7110               (2006.01)
               (75)    Inventors: Joseph Walczyk, Syracuse, NY (US);                   (52)      U.S. CI. ............ 235/472.01; 235/454; 235/462.15;
                                  Dieter Fauth, Schorndorf (DE); David                                                          235/462.45; 235/472.01
                                  Holzhauer, Camillus, NY (US); Robert                 (58)      Field of Classification Search ........... 235/472.01,
                                  M. Hussey, Camillus, NY (US); Barry                                                        235/462.45, 462.15, 472.02
                                  Keys, Batavia, NY (US); Joseph                                 See application file for complete search history.
                                  Livingston, Camillus, NY (US);
                                  Michael D. Robinson, Weedsport, NY                   (56)                       References Cited
                                  (US)
                                                                                                           lJ .S. PATENT DOCUMENTS
               (73)   Assignee: Hand Held Products, Inc., Skaneateles                        5,965,863 A • 10/1999 Parker et al. .......... 235/462.25
                                Falls, NY (US)                                               6,899,273 Bl• 5/2005 Hussey et al. ......... 235/462.48
                                                                                         2004/0256464 Al• 1212004 Longacre et al. ...... 235/462.45
               ( * ) Notice:        Subject to any disclaimer, the term of this
                                    patent is extended or adjusted under 35            * cited by examiner
                                    U.S.C. 154(b) by O days.                           Primary Examiner-Seung Ho Lee
                                                                                       (74) Attorney. Agent, or Firm-Wall Marjama & Bilinski
               (21)   Appl. No.: 11/203,667                                            LLP
               (22)    Filed:       Aug. 12, 2005                                      (57)                          ABSTRACT
               (65)                   Prior Publication Data                           An optical reader, which is operable in a "host commands"
                      US 2005/0284943 Al            Dec. 29, 2005                      mode and a "host routines" mode. In the "host commands"
                                                                                       mode, the reader receives and executes a script routine
                                Related U.S. Application Data                          module from a host. In the "host routines" mode, the reader
                                                                                       receives a script routine Module identifier from the host, and
               (63)    Continuation of application No. 10/402,885, filed on            the reader, in turn, executes a selected one of a plurality of
                       Mar. 28, 2003, now Pat. No. 6,959,865.                          reader-stored script routine modules based on the identifier.
               (60)    Provisional application No. 60/368,375, filed on Mar.
                       28, 2002.                                                                           20 Claims, 11 Drawing Sheets




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                                                     131     131    131
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                                                /1806                                                 DATA
                                                                                                      BASE
                                                         3004

                                                                18                           1842
                                                                                      AUTHENT.
                                                                                       MODULE




                                                 NETWORK
                                                   1810

                                                                                    ,,aoo
                                                                           13d
                                                                            204
                                                                             /1802



                                                                                     '-3002


                   1    lJd
                                          13
                                    t~3d\ ~ d \ ~ 3 d\
                                              13k    13k
                                                                                         FIG.1a
                               3k        131<                   13t
                  13            lJt      ,l3t       ~3t     . ~...          ~
                                                     (                           '-10,10-n
                                                       10,10-2
                              110, 10-0         10, 10-1              10, 10-3




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                               FIG.1 b
                                                                      FIG.1c




                                                                         13t,13t-2/10
                                                                          13d
                                                                             13t, 13t-1




                              FIG.1 d            11




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                          FIG.1f




                        FIG.1 h
                                                                       50



                                                                            FIG.1 i



                                              CED                                       11




                                                      FIG.1j




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                                                                                                           IMAGE SENSOR CHIP                a
                          -  I/0 ...........116                FRAME          /159                                                          n>
                                                                            ~                                                               f"'t,.
                IDISPLAYb DISPLAY MULTIFUNCTIONAL GRABBER                                                 CONTROL                           =
                                                                                               135-
                13dj  106                   PROCESSOR                -149, 144
                                              IC  CHIP                                         136-i-.
                                                                                                                                                                     Doc: 45-5




                             USS                                    [@                                     A/D
                     101J                                                                                                                   ~
                             UART                140,148/                 '--1s2                                                             ?
                     10a../                                                                     137-i,.
                             UART                                                                  -                                        :;:;
                     109J                           115--.....  r2c                                         CLK                             I-,,>
                            PCMCIA                                                                                                          c:,
                                                                           \..151                                                           0
                     111J                                                                                                                   --..:i
                                                                                                                     ~134 '\......-32
                       112------ COMPACT                                                   ,o_.-C
                        ~                                                                                  ILLUMINATION BLOCK
                                   FLASH                                                                                                    r,:,_
                                                     140,141                                                                                ~
                                                                                                                                            =-




JA2219
                                  PCMCIA                                                                      ILLUMINATION                  a
                            1131.
                                                  e       114-..    PWM
                                                                                     JUL
                                                                                                                  LEDs                      ,la,.
                                                                                                                                            Q
                                                                                                                                                                     Filed: 04/01/2024




                                                                                         \..153i                                            ...,....,....
                                    MULTIMEDIA                      1/0                            -              18""\   --c, 6
                                                                            _1530.f 13t\
                                                          11        1/0                                             AIMING
                      FLASH                      1111          s{                                                    LEDs
                     MEMORY                        I EIM I          1/0                  TRIGGER   I
                       I                                                   It
                                                                                IRF/IF                                                      d
                              144                                   /150                 170                                                00
                                                     f1                                                                                     ...~
                                                                                                                                                                     Pg: 97 of 423




         I                                                                                                                                  ....
         0                                                                                                                                  Ul
         z                                                                                                                                  \C>
                                                                    140, 142, 144                            140,143,144                    ~
         ~                                          FIG.2a                                                                                  ~
         m
         r
         i;--                                                                                                                               ~
         0
         ~
         co
         I\)
         t,)
         t,)
         u,
                                                                                                                                                            PX-212
                                                                                                                                      ~
                                                                                                                                      .00
                                                                                                                                                               USCA4 Appeal: 23-1850




                KEYBOARD      13k                    180                                                                              ~

                                      ~116                     FRAME                                                           /101   a
                                                                                                                                      n>
                                    DISPLAY I MULTIFUNCTIONAL GRABBER            159                                                  f"'t,.

                                                PROCESSOR                                              136
                                                                                                                                      =
                13d                                                                           A/D          155
                                      USB   I     IC CHIP
                                                                                                                                                               Doc: 45-5




                                                                  RAM
                                     UART                                                                                             ~
                                                                                  152           I                        183          ?
                                     UART                                                            156                              :;:;
                                                           115   12c                                                                  I-,,>
                                    PCMCIA                                                                                            c:,
                                                                                                                                      0
                                                                                                                                      --..:i
                                                                                          ICLKl
                                    COMPACT
                                                ~                                         ~4
                                      FLASH                                     151                                                   r,:,_

                                     PCMCIA     ~1                                                                                    ~
                                                                                                                                      =-




JA2220
                                                                                         ~                                            a
                                                           114   PWM      170                                                         UI
                                                                                                                                      Q
                                                                           .--1          ~7                              160
                                                                                                                                                               Filed: 04/01/2024




                                MULTIMEDIA
                                                                                                                                      ...,....,....
                                                                 I/0           RF/IF                        153
                                                                                        179
                                                                 I/0
                      FLASH
                      MEMORY                                     I/0           TRIGGER
                                                                                               13t
                        120,144                                  [150                                                                 d
                                                   .!,J,                                                                              00
                                                                                                                                      ...~
                                                                                                                                                               Pg: 98 of 423




         I                                                                                                                            ....
         0                                                                                                                            Ul
         z                                                                                                                            \C>
                                                                 140,142,144                               140,143,144
         ~                                        EIG.2b                                                                              ~
                                                                                                                                      ~
         m
         r
         i;--                                                                                                                         ~
         0
         ~
         co
         I\)
         t,)
         t,)
         a,
                                                                                                                                                      PX-212
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                                                                                                                    PX-212


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                               /144
                          ----------4004
                                                u-4006
                   4010            INTERPRETER  f
                          1-----K-ER_N_E_L- - - 4ooa




                                                          /144




                                                                          /144
                                                                                                      4004
                                                                                                  I
                                                                        INTERPRETER
                                                                                             ,/
                                                                                                      y-4006
                                                          ,,.              KERNEL             .,. i-4008
                                                4010



                                                                          POINTERS                    y4030
                                                                                             '\
                                                                                              \_ 4032
                                                   4050
                                                          --    !SCRIPT ROUTINE MODULE 0                4040
                                       FIG.3b
                                                           -
                                                   4052         !"SCRIPT ROUTINE MODULE 1               4042
                                                   4054
                                                                !SCRIPT ROUTINE MODULE 2                4044
                                                   4056 -                       •••
                                                                 SCRIPT ROUTINE MODULE N ~4046
                                                 4016
                                                          -           SCRATCH MEMORY
                                                                                                      ~401B




                                                                                                        HONEYWELL-00192337

                                                   JA2221
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                                                                                                                 PX-212


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                                                       REMOTE
                                                      NETWORK            1830

                                                        SERVER          1832
                                                                                      /5500




                                                                                @11802
                              G)
                           SEND REQ.       CV                                  SEND SCRIPT
                          FOR SCRIPT      SEND
                                                                  @              ROUTINE
                            ROUTINE      SCRIPT                     SEND REQ. IDENTIFIER
                            MODULE      ROUTINE                    FOR SCRIPT      0110
                                        MODULE      -------          ROUTINE
                                                               SOOO IDENTIFIER            'l6oao



                                                                                      140

                                                                           READER 3 140



                        10, 10-0       10, 10-1               10,10-2           10,10-3            10, 10-N



                                                              FIG.4a




                                                                                                     HONEYWELL-00192338

                                                     JA2222
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                                                                                                    PX-212


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                                                     REMOTE      1830
                                                    NETWORK
                                                    SERVER      1832
                                                                              /5500

                                                                -204




                                                                                        5000




                                                                                  0

                        READER 0    READER 1        READER 2       READER 3       O READER N
                        GROUP 2     GROUP 1         GROUP 1        GROUP 2            GROUP 1

                          10,10-0       10, 10-1      10,10-2           10,10-3        10, 10-N


                                                     FIG.4b




                                                                                       HONEYWELL-00192339

                                                    JA2223
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                                                                               /    13d, 10
                                                            ,1910
                                                        /

                                 I COMMANDS~ 1902




                    FIG.Sa
                                 8               1904
                                                    ~1906




                                                                               I


                             II START II "APPLICATION          PROGRAM DATA~!      ~J~


                                                                                j213d,200
                                                            ,2910
                                                        I




                                 I COMMANDS~ 2902
                                                             c::s2906

                    FIG.Sb
                                 82904




                             ~ START ~"APPLICATION                           I DATE
                                                               PROGRAM DATA~i TIME




                                                                                     HONEYWELL-00192340

                                                 JA2224
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                                                                                                                     PX-212


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                                                                                            /144
                                                                                                    '
                                          PROGRAM
                    7010 ""'\. .....             {
                                                     WAIT FOR SCRIPT INSTRUCTIONS                        >4010
                                                 !
                                                 END
                                                                                                    -'
                                          HOST ROUTINE DISPLAYERRORMESSAGE




                                 ---
                                                 !

                                              8040


                                                 !
                                                     l ERASE DISPLAY ()
                                                       DISPLAY GRAPHIC (ICON FAILURE)
                                                       MOVE CURSOR TO (46, 16)
                                                       DISPLAY TEXT ("COMMUNICATION
                                                       FAILED")
                                                                                                         >4040




                                                 END
                                                                                                    ◄


                                          HOST ROUTINE INVENTORY
                                                 {
                                                     lABEL 1:      .ERASE DISPLAY
                                                     MOVE CURSOR TO 46, 16
                                                     DISPLAY TEXT "SCAN LOCATION BAR
                                                     CODE"
                                H
                                              8042   INPUTSTRING (SOURCE=ALL)                            >4042
                                                     IF DECODE MESSAGE DOES NOT
                                                     MATCH GOTO LABEL 1
                                                     DISPLAY TEXT "DECODED MESSAGE"
                                                     SEND DECODED MESSAGE TO HOST
                                                 !
                                                 END
                                                                                                   I ◄



                                          HOST ROUTINE SHIPPING
                                                 !
                                                     ERASE DISPLAY
                                                     MOVE CURSOR TO 0, 16
                                ,....         8044   DISPLAY TEXT "KEY IN SHIPMENT                       4044
                                                     NUMBER"
                                                     INPUTSTRING (SOURCE=KEYPAD)
                                                     SEND KEY INPUT DATA TO HOST
                    FIG.6                        !
                                        ...      END




                                                                                                         HONEYWELL-00192341

                                                               JA2225
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                                                                                   j213d,200




                              ,.
                           LABEL 1:      ERASE DISPLAY
                           MOVE CURSOR TO 46, 16
                    8042~~ DISPLAY TEXT "SCAN LOCATION BAR CODE"
                           INPUTSTRING (SOURCE=ALL)
                           IF DECODE MESSAGE DOES NOT MATCH GOTO LABEL 1
                           DISPLAY TEXT DECODED MESSAGE"
                                             II


                           SEND DECODED MESSAGE TO HOST




                             ~ START ~   I RUN ~                      I SAVE .f)1· l! DATE
                                                                                      TIME
                                                   LgQQ2                        Lgoo4

                                                   FIG.7




                                                                                        HONEYWELL-00192342

                                                  JA2226
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                                                                                                                                                   PX-212


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                       CUSTOMIZABLE OPTICAL READER                                cations. Manufacturers of optical readers have been tested in
                                                                                  satisfying all of their customer demand~ for readers, which
                         CROSS-REFERENCE TO RELATED                               can satisfy a greater variety of optical reader applications.
                                 APPLICATION                                      Accordingly, there is a need for an optical reader which can
                                                                                  readily be custom programmed to operate in a manner
                  This application is a continuation of U.S. application Ser.     consistent with a user's particular application.
               No. 10/402,885, filed Mar. 28, 2003 now U.S. Pat. No.
               6,959,856, entitled "Customizable Optical Reader'' which                      SUMMARY OF THE INVENTION
               claims lhe priority of provisional U.S. Application No.
               60/368,375, filed Mar. 28, 2002, entitled, "Customizable 10          According to its major aspects and broadly stated in the
               Optical Reader Having Multiple User Selectable Instruction        invention is a customizable optical reader, which may be
               Execution Protocols." Priority to both of the above appli-        progrnmmed in a variety of ways.
               cations is claimed and both of the above applications are            In one aspect, the invention includes an optical reader
               herein incorporated by reference in their entirety.               including script interpreter enabling the reader to execute
                                                                              15 complex and varied connnands and strings of conmmnds
                               FIELD OF THE INVENTION                            (which may be referred to as "script routine modules")
                                                                                 during execution of a main progrnm.
                  This invention relates generally to optical readers and           In another aspect, the invention includes an optical reader,
               specifically to system and methods for reprogramming opti-        which is opernble in a "host connnands" mode and a "host
               cal readers.                                                   20 routines" mode. In the "host commands" mode, the reader
                                                                                 receives and executes a script routine module from a host. In
                         BACKGROUND OF THE INVENTION                             the "host routines" mode the reader receives a script routine
                                                                                 module identifier from lhe host, and the reader, in tum,
                  Optical readers tend to fall into one of three categories:     executes a selected one of a plurality of reader-stored script
               wand readers, laser scan engine optical readers and image 25 routine modules based on the identifier.
               sensor based optical readers.                                        These and other details, advantages and benefits of the
                  Wand readers generally comprise a single light source and      present invention will become apparent from the detailed
               single photodetector housed in a pen shaped housing. A user       description of the preferred embodiment and the associated
               drags the wand reader across a decodable symbol (e.g., a bar      drawings.
               code) and a signal is generated representative of the bar 30
               space pattern of the bar code.                                           BRIEF DESCRIPTION OF THE DRAWING
                  Laser scan engine based optical readers comprise a laser
               diode assembly generating a laser light beam, a moving               For a further understanding of these and objects of the
               mirror for sweeping the laser light beam across a decodable       invention, reference will be made to the following detailed
               symbol and a signal is generated corresponding to the 35 description of the invention which is to be read in connection
               decodable symbol.                                                 with the accompanying drawing, wherein:
                  Image sensor based optical readers comprise multi ele-            FIG. la is a schematic/physical view of an optical reader
               ment image sensors such as CID, CMOS, or CCD image                network;
               sensors and an imaging optic for focusing an image onto the          FIGS. lb-lj are prospective views of various readers
               image sensor. In operation of an image sensor based optical 40 according to the invention;
               reader, an image of a decodable symbol is focused on an              FIGS. 2a-2b are electrical block diagrnms of readers
               image sensor and a signal is generated corresponding to the       according to the invention;
               signal. Image sensor elements may be arrayed in a line or in         FI GS. 3a-3b are memory maps illustrating an implemen-
               a rectangular matrix or area. Area image sensors capture a        tation of the invention;
               digital picture and use software algorithms to find and 4 5          FIG. 4a is a schematic/flow diagram illustrating an imple-
               decode one or more symbols.                                       mentation of the invention;
                  Users of laser scanner engine based optical readers have          FIG. 4b is a schematic/flow diagram illustrating another
               been switching in increasing numbers to inmge sensor based        implementation of the invention;
               optical readers. Image sensor based optical readers are more         FIGS. Sa and Sb illustrate user interfaces which may be
               durable and offer additional features relative to laser scan 50 utilized in an implementation of the invention;
               engine ba~ed bar code readers. Features and functions which          FIG. 6 is a memory map illustrating further aspects of the
               have been incorporated into image sensor based optical            invention;
               readers involve image processing.                                    FIG. 7 is an exemplary user interface illustrating further
                  An inmge sensor based optical reader having image              aspects of the invention.
               processing functionality is described in U.S. Pat. No. 6,298, 55
               176, issued Oct. 2, 2001, entitled "Symbol-Controlled                        DETAILED DESCRIPTION OF THE
               Image Data Reading System," assigned to the assignee of                                    INVENTION
               the present invention and incorporated by reference. In the
               patent, an optical reader is described which reads an inmge          An optical reader nL-twork 1800 is shown in physical
               data reading instruction symbol and which outputs inmge 60 form/schematic view of FIG. la. Network 1802 at multiple
               data which may include signature data in manner that              reader work location 3002 may be a local area network
               depends on the information encoded in the inmge reading           (LAN) including a plurality of optical readers 10-0, 10-1,
               instruction symbol.                                               10-2, 10-3, 10-N. Each of the readers 10-0, 10-1, 10-2, 10-3,
                  The added functionality possible with optical readers,         10-N is in radio connnunication with base 202 of host 200,
               coupled with reduced costs, have made optical readers 65 which, along with host computer 204 make up host 200.
               attractive to an ever-widening market of users who seek to        Host 200, in tum, is in communication with network 1810.
               employ optical readers in an ever-growing variety of appli-       Network 180 may be part of the Internet. However, network




                                                                                                                             HONEYWELL-00192343

                                                                      JA2227
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                                             3                                                                 4
               1810 may also be a private network. Through network 1810          program reprogramming would result in extremely long
               host 200 is in commmtlcation with customer service center         delays and would perhaps not be worth the effort if a special
               network 1830 whlch is typically maintained by the supplier        progrnnuning function were needed only for a short durntion
               and/or manufacturer of readers 10. Customer service net-          of time, or for one isolated particular application.
               work 1830 may include (e.g., network interface device 1844,          Housings 11 for optical readers in whlch the invention can
               a server 1832, several personal computers of whlch com-           be employed are shown in FIGS. lb--lj. In FIG. lb, a gun
               puter 1834 is representative, a database 1836 and an authen-      style optical reader is shown as described in copending
               tication module 1842) which allows only registered users to       application Ser. No. 10/339,275, filed Jan. 9, 2003, entitled
               access the contents of database 1836. Resident on server          "Housing For Optical Reader," incorporated by reference.
               1832 of customer service network 1830 is an internet 10 An imaging module (not shown) is incorporated in the
               website allowing users of reader 10 to access information         reader housing 11. In FIG. le, a gun style reader 10 is shown
               about reader 10 including reader loadable programs and/or         having an integrated keyboard 13kand display 13d. In FIGS.
               program instructions which may be loadable on to readers          ld--le, a portable da1a terminal (PDT) style reader is shown
               10. Network 1830 may be a local area network (LAN) but            having a keyboard 13k and a display 13d. In FIG. lg, an
               often is provided by a wide-area network (WAN) having 15 embodiment is shown wherein display 13d includes an
               components spread out over various locations.                     associated touch screen overlay and whlch further includes
                  Also in communication with network 1810 (and with              a stylus 18 for entering signature information. In FIG. lg, a
               customer service network 1830 through network 1810) are           cellular phone reader 10 is shown which has a display 13d
               readers at work locations other than work location 1804. At       and keyboard 13k and which incorporates an imaging mod-
               location 1806, a single reader 10 having a network interface 20 ule SO as is described in U.S. patent application Ser. No.
               incorporated therein is in communication with network             10/092,789, filed Mar. 7, 2002, entitled, "Optical Reader
               1810. At location 3004, a network 1806 is provided includ-        Imaging Module," incorporated by reference. In the embodi-
               ing a single reader 10 in communication with a host 400 in        ment of FIG. lh, a reader comprises a portable data assis1ant
               communication with network 1810. Each communication               (PDA). In the embodiment of FIG. le, reader 10 includes
               link of network 1800 may be wired or in the alternative, 25 housing 11 configured to be worn on a user's finger. In FIG.
               wireless.                                                         lj, reader 10 is in the form factor of a transaction terminal,
                  From time to time it is useful to reprogram readers 10-0,      and includes a card reader 1400, as is more fully described
               10-1 10-2, 10-3, 10-N. For example, if a manufacturer/            in U.S. patent application Ser. No. 10/339,444, filed Jan. 9,
               supplier develops a new software function which may be            2003, entitled "Transaction Terminal Comprising Imaging
               executed by readers 10-0, 10-1, 10-2, 10-3, 10-N, it would JO Module." Nmnerous other form factors are possible. For
               be beneficial to load that software into readers 10-0, 10-1,      example, in the previously incorporated U.S. patent appli-
               10-2, 10-3, 10-N. At location 3002, an application for            cation Ser. No. 10/092,789, filed Mar. 7, 2002, entitled,
               readers 10-0, 10-1, 10-2, 10-3, 10-N may change. Readers
                                                                                 "Optical Reader Imaging Module," incorpornted by refer-
               10-0, 10-1, 10-2, 10-3, 10-N may be required to operate to        ence, a pen style optical reader is shown. In U.S. patent
               satisfy required functions of a first application and then, a 35 application Ser. No. 09/432,282, filed on Nov. 2, 1999,
               second application. Readers 10-0, 10-1, 10-2, 10-3, 10-N or       entitled, "Indicia Sensor System For Optical Reader," incor-
               a subset of readers 10-0, 10-1, 10-2, 10-2, 10-3, 10-N may        porated by reference, a reader is shown which rests on a
               be required to satisfy required functions of e.g., a generic      "scan stand."
               (i.e., any customer) inventory application, a generic shlpping
               application, a generic receiving application, a generic point 40     For a better Ullderstanding of the invention, exemplary
               of sale application, a customer-specific shipping application,    electrical hardware features of optical readers 10 are
               a customer-specific receiving application or a customer-          described with reference to FIGS. 2a and 2b.
               specific point of sale application. For example, a customer          In FIG. 2a, a block diagram of an optical reader electrical
               may use readers 10-0, 10-1, 10-2, 10-3, 10-N 364 days a           circuit is shown having a multi-functional processor IC chip
               year in a point of sale operation, and one day a year in an 45 180 including an integrated frame grabber block 148. Elec-
               inventory application.                                            trical circuit 100 shown in FIG. 2a can be utilized for control
                  An individual reader (e.g., reader 10-0) operates at its       of a single 2D imaging module optical reader as is shown for
               fastest speed if it does not have to communicate with any         example in U.S. Ser. No. 09/954,081 filed Sep. 17, 2001,
               other device such as host 200 during execution of a main          entitled "Optical Reader Having Image Parsing Mode,"
               operating program resident thereon. Thus, a reader (e.g., 50 whlch is hereby incorporated herein by reference in its
               reader 10-0) would operate at its fastest possible speed if an    entirety.
               operating program, such as a compiled program with no                In the specific embodiment of FIG. 2a, electrical circuit
               script interpreter, were loaded thereon having all the pro-       100 includes a control circuit 140 comprising CPU 141,
               gram routines that were necessary for the operation of the        system RAM 142 and system ROM 143 and frame grabber
               reader in a particular application. However, the installation 55 block 148. Electrical circuit 100 further includes an image
               of a new operating program is often a painstaking, time-          sensor 32 typically provided by a photosensitive army and
               consuming process. The individual reader 10 has to be             an illumination block 160 having illmnination LEDs 16 and
               linked to a host 200, and an entire operating program has to      aintlng LEDs 18 as shown in the physical form view of
               be downloaded into reader 10, a process that can take at least    FIGS. 3a-3c. Image sensor 32 of FIG. 2a is shown as being
               several seconds, and up to sever.ii minutes, and is subject to 60 provided by a 2D photo diode army. If a ID image sensor
               failure. The reprogramming of each or sever.ii readers can be     replaces image sensor 32, then aintlng LEDs 18 and illumi-
               a logistical challenge given that readers are typically dis-      nation LEDs 16 may be constimted by one set of LEDs. In
               tributed at various locations throughout a work location,         the embodiment shown, image sensor 32 incorpornted in an
               especially considering that a work location in accordance         image sensor IC chip 182 which typically further includes an
               with the invention can comprise a wide geographic area 65 image sensor electrical circuit block 134. Image sensor
               (e.g., an entire continent or coUlltry). If the number of         electrical block 134 includes control circuit 135 for control-
               readers, N, is large, it can be seen that full-operating          ling image sensor 32, an AID conversion circuit 136, for




                                                                                                                            HONEYWELL-00192344

                                                                      JA2228
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               converting analog signals received from image sensor 32             Frame grabber block 148 of IC chip 180 replaces the
               into digital form and integrated clock 137 sometimes             function of a frame grabbing field programmable gate array
               referred to as an oscillator.                                    (FPGA) as discussed in commonly assigned U.S. patent
                   In the embodiment shown in FIG. 2a, CPU 141 and frame        application Ser. No. 09/954,081, filed Sep. 17, 2001,
               grabber block 148 are incorporated in a multi-functional IC      entitled, "Imaging Device Having Indicia-Controlled Image
               chip 180, which in addition to including CPU 141 includes        Parsing Mode," and U.S. patent application Ser. No. 09/904,
               numerous other integrated hardware components. Namely,           697, filed Jul. 13, 2001, entitled "An Optical Reader Having
               multi-functional IC chip 180 may include a display control       a Color lmager," both of which are hereby incorporated
               block 106, several general purpose I/O ports 116, several        herein by reforence in their entirety. More particularly, frame
               interface blocks such as a USB circuit block 107 and a 10 grabber block 148 is specifically adapted collection of
               UART block 108 for facilitating RS 232 communications, a         hardware elements programmed to carry out, at video rates
               UART block 109 for facilitating infrared communications          or higher, the process of receiving digitized image data from
               (including communication according to standards promul-          image sensor chip 182 and writing digitized image data to
               gated by the INFRARED DATA ASSOCIATION®                          system RAM 142 which in the embodiment shown is
               (IrDA®), a trade association for defining infrared stan- 15 provided on a discreet IC chip. Frame grabber block 148
               <lards), and a pulse width modulation (PWM) output block         includes hardware elements preconfigured to facilitate
               110. Multi-functional processor IC chip 180 can also have        image frame capture. Frame grabber block 148 can be
               other interfaces such as a PCMCIA interface 111, a compact       programmed by a user to capture images according to a
               flash interface 112, and a multimedia interface 113. Electri-    user's system design requirements. Programming options
               cal circuit 100 could also include an RF interface 170 in 20 for programming frame grabber block 148 include options
               communication with 1/0 interface 116 providing communi-          enabling block 148 to be customized to facilitate frame
               cation with an external device such as host 200. If reader 5     capture that varies in accordance with image sensor char-
               includes a display 13d, display 13d may be in communica-         acteristics such as image sensor resolution, clockout rating,
               tion with chip 180 via display interface 106. Trigger 13t and    and fabrication technology (e.g., CCD, CMOS, CID),
               keypad 13k may be in communication wilh chip 180 via 25 dimension (lD or 2D), tonality (from 1 to N-bits), color
               general purpose 1/0 interface 116. Physical form views of        (monochrome or color), biometric features, such as finger-
               readers having displays and keyboards are shown, for             prints, retinal patterns, facial features, and one-and two-
               example, in U.S. application Ser. No. 10/137,484, filed May      dimensional patterns that can provide information, such as
               2, 2002, entitled "Optical Reader Comprising Keyboard,"          chromatography patterns and electrophoretic patterns of
               which is hereby incorporated herein by reference in its JO mixtures of substances, including substances such as bio-
               entirety. Multi-functional processor IC chip 180 may be one      logical samples comprising DNA. A decoder board that
               of an available type of multifunctional IC processor chips       automatically adapts itself to satisfy the image capture
               which are presently available such as a Dragonball MXl IC        requirements of a presently attached image sensor is
               processor chip or a Dragonball MXL IC processor chip             described in U.S. patent application Ser. No. 10/339,439,
               available from Motorola, a DSC IC chip of the type avail- 35 filed Jan. 9, 2003, entitled, "Decoder Board For An Optical
               able from Texas Instruments, an O-Map IC chip of the type        Reader Utilizing A Plurality Of Imaging Formats," incor-
               available from Texas Instruments, or a multifunctional IC        porated by reference. Aspects of the operation of circuit 100
               processor chip of a variety known as Clarity SOCs (e.g.,         when circnit 100 captures image data into RAM 140 are now
               system on a chip) available from Sound Vision, Inc.              described. Circuit 100 can perform a cycle of receiving a
                   In one embodiment, multi-functional processor IC chip 40 frame of image data, performing internal programming
               180 comprises components that provide at least the func-         functions, and decoding the frame of image data in a time
               tions provided by a CPU 140, system RAM 142 and system           period of less than or equal to a second. In a more preferred
               ROM 143. In some embodiments, it is advantageous that            embodiment, the circuit 100 perfonns the cycle in a time
               microprocessor-based decoder module 180 comprises an             period of less than or equal to ½o of a second. It is expected
               integrated circuit device having integrated therein a micro- 45 that in a still more preferred embodiment, the time period
               processor, an analog-to-digital converter, a digital-to-analog   can be less than or equal to 1/210 of a second. When trigger
               converter, a direct memory access (DMA) channel, a bi-           13t is pulled, CPU 141, under the operation of a program
               directional communication line for communication with a          stored in system ROM 143, writes an image capture enable
               sensor such as either or both of line 151 and 152, and a         signal to image sensor chip 182 via communication line 151.
               channel for data receipt from a sensor, such as data line 159 50 Line 151, like the remainder of communication lines
               that brings data to frame grabber 148. The microprocessor-       described herein represents one or more physical commu-
               based IC chip 180 can comprise semiconductor materials,          nication lines. In the embodiment shown, wherein image
               optical materials, and photonic bandgap materials. In some       sensor chip 182 is of a type available from IC Media Corp.,
               embodiments, it is advantageous that the multi-functional        I2 C interface 115 of chip 180 is utilized to facilitate com-
               processor IC Chip 180 further comprise 1/0 116 suitable to 55 munication with chip 182 (if another image sensor chip is
               accept user input (for example, from a keyboard 13k),            selected another type of interface e.g. interface 116 may be
               interface capability for "flash" memory devices such as          utilized). Other types of signals may be sent over line 151
               "Multimedia" (MMC), "Smart Media," "Compact Flash,"              during the course of image capture. Line 151 may carry, for
               and "Memory Stick." Other features that may be used to           example, timing initialization, gain setting and exposure
               advantage include pulse width modulators (PWMs), serial 60 setting signals.
               communication channels (e.g., UARTs, SPis, and USBs),               When control block 135 of image sensor chip 182
               display drivers and controllers such as for an LCD, wireless     receives an image capture enable instruction, control block
               communication capability such as Bluetooth and 802.1 l(a),       135 sends various signals to frame grabber block 148. Image
               (b ), and (g)-compatible transmitter/receivers, sequence con-    sensor control block 135 typically sends various types of
               trol modules such as timer banks, sensor controllers, audio 65 synchronization signals to frame grabber block 148 during
               generators, audio coder/decoders ("codecs"), speech synthe-      the course of capturing :frames of image data. In particular,
               sizers, and speech recognition hardware and/or software.         control block 135 may send to frame grabber block 148




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               "start of frame signals" which inform frame grabber block            corresponding to that row. Thus, illumination LEDs 16
               148 that chip 182 is ready to transmit a new frame of image          would be turned on and off several times during the exposure
               data, "data valid window" signals which indicate periods in          period for exposing a row of pixels to light. Further, the
               which a row of image data is valid, and "data acquisition            number of pulses output by PWM output 114 during the time
               clock" signals as established by clock 137 controlling the           that a single row of pixels are exposed should not vary
               timing of image data capture operations. In lhe embodiment           substantially from row to row. The pixel clock signal
               described, line 152 represents three physical communication          received at frame grabber block 148 of IC chip 180 can be
               lines, each carrying one of the above types of signals. In an        utilized to generate the PWM output. It can be seen, there-
               alternative embodiment, vertical and horizontal synchroni-           fore, that multifunctional IC chip 180 including frame
               zation signals are processed by frame grabber 148 to inter- 10 grabber block 148 and PWM output 114 greatly simplifies
               nally generate a data valid window signal. Frame grabber             the task of developing PWM signals for use in controlling
               block 148 appropriately responds to the respective synchro-          illumination LEDs 16 of module 10.
               nization signals, by establishing buffer memory locations               In another embodiment, PWM output 114 and illumina-
               within integrated RAM 149 of block 148 for temporary                 tion block 160 are configured so that PWM output 114
               storage of the image data received from image sensor chip 15 controls the intensity of illumination, not the on time/off
               182 over data line 159. At any time during the capture of a          time of illumination. Illumination LED block 160 in such au
               frame of image data into system RAM 142, buffer RAM 149              embodiment can include a power supply circuit which is
               of frame grabber block 148 may store a partial (e.g., about          interfaced to PWM output 114 such that the PWM signal
               0.1 to 0.8) or a full line of image data.                            output at PWM output 114 varies lhe voltage or current
                  Referring to further aspects of electrical circuit 100, 20 supplied to LEDs 16.
               circuit 100 includes a system bus 150. Bus 150 may be in                In a further aspect of electrical circuit 100, aiming LEDs
               communication with CPU 141 via a memory interface such               18 of circuit 100 can be controlled by a signal transmitted by
               as EIM interface 117 of IC chip 180. System RAM 142 and              a general purpose 1/0 port 116 of IC chip 180 over com-
               system ROM 143 are also connected to bus 150 and in                  munication line 153a. Multifunctional processor IC chip 180
               communication with CPU 141 via bus 150. In the embodi- 25 can be programmed so that au aiming LED control signal is
               ment shown, RAM 142 and ROM 143 are provided by                      caused to change to an "ON" state when frame grabber block
               discreet IC chips. System RAM 142 and system ROM 143                 148 completes the process of capturing a complete frame of
               could also be incorporated into processor chip 180.                  image data. Frame grabber block 148 may be configured to
                  In addition to having system RAM 142, sometimes                   generate au "end of acquisition" or "end of frame" signal
               referred to as "working" RAM, electrical circuit 100 may JO when frame grabber block 148 completes the process of
               include one or more long-term storage devices. Electrical            capturing a complete frame of image data into RAM 142.
               circuit 100 can include for example an "flash" memory                When CPU 141 receives an "end of acquisition" signal, CPU
               device 120. Several standardized formats are available for           141 controls 1/0 port 116 to change the state of au LED
               such flash memory devices including: "Multimedia"                    control signal. Control circuit 140 may also change the state
               (MMC), "Smart Media," "Compact Flash," and "Memory 35 of an LED control signal when generating a start of frame
               Stick." Flash memory devices are conveniently available in           signal. Control circuit 140 may execute a delay prior to
               card structures which can be interfaced to CPU 141 via an            changing the state of au LED signal. Control circuit 140 is
               appropriate "slot" electromechanical interface in communi-           progr=ed so that an LED control signal remains in au
               cation with IC chip 180. Flash memory devices are particu-           "ON" state known to be sufficiently short duration so as not
               larly useful when reader 5 must archive numerous frdllles of 40 to cause actuation of au aiming LED 18 during a succeeding
               image data. Electrical circuit 100 can also include other            frame exposure period. Confignred in the manner described,
               types of long term storage such as a hard drive which may            aiming LEDs 18 are selectively pulsed on for a short
               be interfaced to bus 150 or to an appropriate 1/0 interface of       duration during intem1ediate successive frame exposure
               processor IC chip 180.                                               periods, e.g. frame exposure periods.
                  In a further aspect of electrical circuit 100, control circuit 45    Referring now to FIG. 2b, electrical circuit 101 is
               140 is configured to control the tuming off and turning on of        described. Electrical circuit 101 controls operation of a
               LEDs 16, 18 of illumination block 160. Control circuit 140           single imaging module optical reader comprising a low cost
               preferably controls illumination block 160 in a manner that          ID CCD image sensor 32 incorporated on IC chip 183.
               is coordinated with the capturing of the frames of image             Image sensor 32 of FIG. 2b may be provided for example by
               data. Illumination LEDs 16 are typically on during at least 50 a Toshiba Model TCD 1304 AP linear image sensor. Further
               a portion of frame capture periods. Configuring circuit 140          aspects of an exemplary ID imaging module are described,
               so that LEDs 16, 18 have off periods significantly reduces           for example, in application Ser. No. 09/658,811, filed Sep.
               the power consumption of circuit 100.                                11, 2000, entitled "Optical Assembly for Barcode Scanner,"
                  In a further aspect of the electrical circuit 100, electrical     which is hereby incorporated herein by reference in its
               circuit 100 can be configured so that PWM output interface 55 entirety.
               114 ofIC chip 180 controls illumination LEDs of an imaging              Referring to aspects of electrical circuit 101 in detail,
               module such as illumination LEDs 16 of module 10-1 or                electrical circuit 101 includes a control circuit 140 which,
               aiming/illumination LEDs 18 of module 10-2.                          like control circuit 140 of circuit 100 is partially incorpo-
                  In one embodiment, illumination block 160 is in commu-            rated in a multifunctional processor IC chip 180 including
               nication with PWM output interface 114 and configured in 60 CPU 141 and a frame grabber block 148. Control circuit 140
               such manner that LEDs 16 are turned on at a leading edge             of circuit 101 further includes system RAM 142 system
               of PWM pulses output at P\VM interface 114, and are turned           ROM 143 and supplementary central processor unit (CPU)
               off at falling edges of PWM pulses output at PWM interface           147, integrated on processor IC chip 179. System RAM 142
               114. PWM interface 114 should be configured so that several          and system RAM 143 are in communication with EIM
               pulses are generated and sent over communication line 153i 65 interface 117 of IC chip 180 via bus 150.
               during the time that a single row of pixels of image data are           Processor IC chip 179 provides control and timing opera-
               exposed to light prior to clocking out of pixel values               tions similar to that provided by electrical block 134 of




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               image sensor chip 182 described in FIG. 1a. Processor IC          script/interpreter programming architecture, as is explained
               chip 179, in general, sends synchronization signals and           with reference to the memory map diagram of FIG. 3a, an
               wgital clocking signals to IC chip 180, and sends wgital          interpreter 4004 is resident in address locations 4006 of
               clocking signals to AID conversion circuit 136 and image          memory 144 as part of a main operating program or "ker-
               sensor 32. Processor IC chip 179 of circuit 101 may be a          nel". As will be explained in more detail herein, reader 10
               relatively low power processor IC chip such as an 8-bit           may be programmed to wait for a script instruction or script
               Cypress Programmable System-on-Chip™ (PSOC™)                      routine module to be received from host 200. When the
               CY8C26Z33-24PZI Microcontroller processor IC chip                 script instruction routine module is received from host 200,
               available from Cypress Microsystems of Bothell, Wash.             interpreter 4004 interprets the module and control circuit
               Aspects of the operation ofIC chip 179 in during the course 10
                                                                                 140 executes the module. Control circuit 140 executes
               of capturing slice image data will now be described in detail.
                                                                                 instruction of the script routine module without compiling
               When trigger 13t is pulled, CPU 141 transmits enable image
                                                                                 the instruction of the script routine module together with the
               capture instructions over communication line 151. However,
               a user defined script instruction or module (a set of script      remaining instn1ctions that make up of kernel 4008. During
               instructions) when executed by reader 10, may override such 15 execution of the instructions that make up a script execution
               a normal functioning of trigger 13t as a capture enable           section, control circuit 144 executes a script routine module,
               actuation. In response to receipt of an image capture enable      a set of instructions that are not part of kernel 4008, which
               instructions received from chip 180, processor IC chip 179        are interpreted by interpreter 4004, and which do not have
               performs a variety of operations. Processor IC chip 179 may       to be compiled together with the remaining instructions that
               send synchronization signals, such as "start of scan," "data 20 make up kernel 4008 prior to execution. Typically memory
               valid window," and "data acquisition clock'' signals to frame     144 further includes a scratch memory 4016 taking up
               grabber block 148 via communication line 152. Processor IC        address locations 4018. Scratch memory 4016 can serve a
               chip 179 may also send timing signals and digital clocking        variety of useful purposes. For example, as a storage area for
               signals (e.g. master clock, integration clear gate, and shift     script routine modules received by reader 10 to be inter-
               gate pulse) to image sensor 32. Processor IC chip 179 25 preted by interpreter 4004.
               typically also transmits a master clock signal to AID con-           The establishing of a script/interpreter progranuning
               version circuit 13 6. Referring to further aspects of IC chip
                                                                                 architecture greatly enhances the versatility of optical reader
               180 of circuit 101, CPU 141 of chip 180, may also send e.g.
                                                                                 10. Because control circuit 140 can execute script instruc-
               gain setting, exposure setting, and timing initialization sig-
                                                                                 tions, the functionality of reader 10 can be altered greatly
               nals via line 151 to IC chip 179. Communication between IC JO
               chip 180 and IC chip 179 may be made via an SPI interface         without requiring that an entire new operating program be
               or I/0 interface 116 of chip 180 and chip 179.                    downloaded into reader 10. The functionality of reader 10
                  As will be explained with reference to circuit 104, shown      can be changed simply by making available to reader 10 a
               in FIG. 2e, processor IC chip 179 may be replaced by a            script routine module 5000 (FIG. 4) executable by control
               programmable logic circuit, e.g. a PLD, CPLD, or an FPGA. 35 circuit 140 during execution kernel 4008. The script routine
               IC chip 179 could also be replaced by an ASIC. Electrical         module executed by reader 10 may be changed depending
               circuit 101 of FIG. 2b, includes what may be termed a             on the present application requirements of reader 10. By
               "wgital wgitizer" in that analog voltage levels transmitted       allowing a customer to author and execute custom script
               by CCD image sensor 32 on line 155 are converted into gray        instructions, the software architecture of FIGS. 3a and 3b
               scale pixel values by AID converter 136 and transmitted via 40 frees the manufacturer/supplier who maintains network
               line 159 to frame grabber block 148. Circuit 101 could also       1802, from having to rewrite the code operating on reader 10
               include an analog digitizer which processes an analog signal      each time a customer's application changes.
               generated by image sensor 32 to generate a two-state output          Referring to a further aspect of the invention, control
               signal that changes state in accordance with light-to-dark        circuit 140 is operable in a ''host commands" mode and
               and dark-to-light transitions of the image sensor analog 45 "host routines" mode. In the ''host command mode", control
               output signal.                                                    circuit 140 executes a script routine module received from
                  Processor IC chip 179 also controls LED bank 160. LED          host 200 when executing the instructions of kernel 4008. In
               bank 160 of a ID image sensor reader typically includes a         the "host routines" mode, control circuit 140 executes a
               single bank of LEDs, which simultaneously illuminates a           script routine module resident in reader memory 144 when
               target area and provides an aiming pattern facilitating align- 50 executing the instructions of kernel 4008. The reader is also
               ing of the reader with a target indicia.                          operable in a "scanner resident" mode, which may also be
                  Reader memory 144 of circuit 100 and of circuit 101 in         termed a "reader resident" mode. In a scanner resident
               the specific embodiments of FIGS. 2a and 2b includes              mode, control circuit 140 executes a main operating pro-
               system RAM 144, program ROM 143, on-board RAM 149,                gram which has been compiled and loaded onto reader 10.
               and flash memory 120.                                          55 When executing a main operating program in a scanner
                  In embodiments described, reader 10 includes an imaging        resident mode, control circuit 140 does not receive any script
               assembly including an image sensor having a plurality of          instmction, script routine module, or script routine module
               photosensors and an aiming/illumination system having             identifier when executing instruction of the main operating
               LEDs 16, 18. In the alternative, an imaging assembly of           program or kernel. The software architecture of the operat-
               reader 10 could be wand style (e.g., including a single 60 ing program of a reader 10 in the scanner resident mode may
               photodetector and light source assembly which is manually         be of the script/interpreter type as described or else may be
               moved across a target) or laser scan image engine based           of another type (e.g., a fully compiled program without
               (e.g., including (a) a laser diode assembly generating a laser    interpreter).
               beam which is automatically swept across a target, and (b)           Steps executed by a reader operating in the respective
               a single photodetector). Referring now to particular aspects 65 "host commands" mode and in the "host routines" mode are
               of the invention, a reader, according to the invention,           described in greater detail with reference to the flow/block
               includes a script/interpreter progranuning architecture. In a     diagram 5500 of FIG. 4. Reader 10-1 of diagram 5500 is




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               depicted as operating in a ''host commands" mode whlle              configured such that actuation of a user interface, (e.g., one
               reader 10 of diagram 5500 is depicted as operating in a "host       of icon, e.g., icon 2902) results in each of the several readers
               routines" mode.                                                     10-0, 10-1, 10-2, 10-3, 10-N being programmed in accor-
                  At step 1 in a "host commands" mode, control circuit 140         dance with the same operating mode. Thus, actuation of
               sends a request to host 200 requesting that host 200 send to        "host commands" mode icon 240 results in each of readers
               reader 10-1 a script routine module 5000. Host 200, in turn,        10-0, 10-1, 10-2, 10-3, 10-N being programmed to operate
               at step 2, compiles a script routine module comprising a            on a host commands mode. Likewise, actuation of "host
               plurality of script instructions, and sends the script routine      routines" icon 2904 result in each of readers 10-0, 10-1,
               module 5000 to reader 10-1. Interpreter 4004 ofreader 10-1          10-2, 10-3, 10-N being reprogrammed in a "host routines"
               then interprets the script routine module and control circuit 10 mode. Another type of user interface can be used. For
               140 executes the script routine module 5000. Alternatively,         example, network 1802 can be configured so that actuation
               control circuit 140 in a "host command" mode may be                 of an appropriate keyboard 13k or 213k selects a mode of
               programmed to wait for a script routine module to be                operation. Host 200 can also be programmed so that an
               received from host 200, rather than request that a host 200         actuation of a user initiated command or commands, results
               send a script routine module, as indicated by step (1 ). In 15 in readers of a particular "application group" which may be
               other words, step (1) can be deleted.                               a subset of the N readers in a network, being programmed
                  At step A in the "host routines" mode, control circuit 140       in the same way. Application groups are described in U.S.
               of reader 10-3 sends a request to host 200 requesting that          Pat. No. 6,161,760, filed Sep. 14, 1998, entitled "Multiple
               host 200 send reader 10 a script routine module identifier          Application Multiterminal Data Collection Network". For
               6000. Host 200, in turn, at step B, sends reader 10 an 20 example, host 200 may be utilized to program Application
               identifier 6000 identifying whlch of a plurality of script          Group 1 to operate in a ''host command" mode and Appli-
               routine modules resident in memory 144 should execute.              cation Group 2 to operate in a "host routines" mode. If
               Reader 10-3, in turn, executes a script routine module              readers 10-1, 10-2, and 10-N have been programmed to be
               corresponding to identifier 6000 sent by host 200. The word         part of Application Group 1, and readers 10-0, 10-3 have
               length of the identifier sent by host 200 in the "host routines" 25 been programmed to be part of Application Group 2, net-
               mode need only be a fraction (e.g., ½oth) of the word length        wmk 1802 will take on characteristics as illustrated with
               of the script routine module sent by host 200 in the "host          reference to FIG. 4b, wherein host 200 sends readers of
               commands mode." Accordingly, it is seen that selection of           Group 1 (readers 10-1, 10-2, 10-N) script routine modules
               the ''host routines" mode reduces possible data collisions          5000 (sets of script instructions) for execution by control
               and speeds up operation of the reader 10-3 and/or network. 30
                                                                                   circuit 140 of the reader, and wherein host 200 sends readers
               Control circuit 140 in the "host routines" mode may be              of Group 2 (readers 10-0, 10-3) identifiers 6000 for identi-
               programmed to wait for script routine module identifier to be       fying at least one of a reader-resident script routine module
               received from host 200.                                             is to be executed.
                  A memory map of a reader operating according to a "host
               routines" mode in one embodiment is shown in FIG. 3b. At         35    The benefits of the respective "host commands" and "host
               address locations 4010 memory 144 includes kernel 4008              routines" modes of operation of reader 10 will be appreci-
               having an interpreter 4004. At memory address locations             ated as will the benefits of having both of the modes
               4030, memory 144 includes pointers 4032, and at memory              available together.
               locations 4040, 4042, 4044, 4046 memory 144 includes a                 The "host commands" mode is most useful where host
               plurality of discrete script routine modules 4050, 4052, 40 control over operation of several readers 10 is at a premium.
               4054, 4046 each selectable by establishing of an appropriate        Suppose a specific script routine module 5000 must be
               program pointer. In the embodiment described with refer-            executed by readers 10-0, 10-1, 10-2, 10-3, 10-N for only
               ence to FIG. 3b, control circuit 140, while operating in the        one hour of operation. The script routine module 5000 could
               "host routines" mode, establishes a pointer to install an           be developed using computer 1834 at customer service
               appropriate one of script routine modules 4050, 4052, 4054, 45 network 1830 and made available at website of server 1832.
               4056 so that the selected script routine module 4050 corre-         A customer could then download the script routine module
               sponds with the identifier received from host 200. Prior to         5000 to host 200 via network 1810 or direct link 1811 (FIG.
               their loading in reader memory 144, modules 4050, 4052,             4) and contemporaneously, each of several readers 10-0,
               4054, 4056 may be authored by a user host computer 204.             10-1, 10-2, 10-3, 10-N presently in communication with
               Host computer 204 may have programmed thereon a pro- 50 host could be programmed to operate in a "host commands"
               gram builder toolkit for use in building modules 4050, 4052,        mode by actuation of icon 2902 or another suitable program
               4054, 4056.                                                         method. Each ofreaders 10-0, 10-1, 10-2, 10-3, 10-N, when
                  The modes of operation of reader 10 are selected by a user       executing the instruction of kernel 4008, will execute the
               via a user interface 1910. The user interface can comprise          script routine module created at customer service network
               displayed icons displayed on reader display 13d of reader 10 55 1830. "The ''host commands" mode (a) provides for complete
               as depicted in FIG. Sa. Icons 1902, 1904 can be displayed           control by host 200 of reader operation and (b) eliminates
               as part of graphlcal user interface 1901 in which a pointer         the need to send compiled progr-dlll codes to each of several
               device (e.g., trackball, mouse) is used to move an arrow            readers, (e.g., readers 10-0, 10-1, 10-2, 10-3, 10-N). To
               1906 over a desired icon, and the actuated to effect selection      change the operation of each of several readers 10-0, 10-1,
               of the mode corresponding to the icon. In a lrighly useful 60 10-2, 10-3, 10-N, all that is needed is a change in a script
               embodiment of the invention, the user interface utilized to         routine module that is resident in host 200 and available for
               select between the "host command mode" and the "host                sending to each of several readers.
               routines" mode is a user interface incorporated on host 200.           The "host routines" mode is most useful where speed is at
               Host 200 can include a user interface such as a graphical           a premium, and yet host control over operation of several
               user interface 2910 as is indicated by FIG. Sb. Further, host 65 readers 10-0, 10-1, 10-2, 10-3, 10-N is desired. When
               200 can be in communication with a plurality of readers             several readers operate in a "host routines" mode, host 200
               (e.g., readers 10-0, 10-1, 10-2, 10-3, 10-N) and can be             maintains control over the operation of several readers, but




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               only selects from preset script routine modules resident in        pseudocode 7042. Still further, address locations 4044 may
               the several readers (e.g., readers 10-0, 10-1, 10-2, 10-3,         contain a script routine module for conducting a shipping
               10-N).                                                             application as is indicated by pseudocode 7044.
                  In a useful embodiment of the "host routines" mode,                In "host commands" mode, control circuit 140 of one or
               control circuit 140 can be configured to execute a string of       several like programmed readers interprets and executes a
               script routine modules in succession. More specifically,           string of script instructions, (i.e., script routine modules
               memory 140 can include a plurality of script routine mod-          5000 received from host 200). For example, control circuit
               ules, 4050, 4052, 4054, 4056, and can be configured to             140 of one or several like programmed readers, when
               execute two or more of the modules in succession in any            operating in a "host commands" mode, may execute a string
               selected order to define a function different than the function 10 of instructions such as instructions corresponding to
               that is defined by control circuit 140 executing a single one      pseudocode 8040 or pseudocode 8042, or an entirely dif-
               of the modules. Accordingly, if a specific function was            ferent script routine module customer authored by a user
               requiredofreaders 10-0, 10-1, 10-2, 10-3, 10-N for only one        utilizing host 200 or reader 10. It is understood that when
               hour of operation, personnel utilizing computer 1834 (such         instructions corresponding to pseudocode 8040, pseudocode
               as engineers employed by the manufacturer of reader 10) at         8042, and pseudocode 8044 are executed by control circuit
               customer service center network 1830 could identify a string 15 140, various built in firmware functions of control circuit
               of subroutine modules within readers 10-0, 10-1, 10-2, 10-3,       140 are executed.
               10-N which, when executed together in succession, satisfied           In addition to or as part of the GUI driver menu selector
               the required function. For example, modules 4050, 4052,            interface described relative to FIGS. Sa and Sb, reader 10
               4056 executed in the order of (1) 4050; (2) 4056; (3) 4050,        may be driven into "host routines" mode by the sending of
               could define a new function. From the string of script routine 20 a specialized script instruction from host 200 to reader 10.
               modules, a corresponding string of identifiers could be            Specifically, identifier 5000 may comprise a script instruc-
               created and transmitted from computer 1834 to host 200 via         tion including pointer information, which is interpreted and
               network 1810. A user of host 200 could reprogram all of            executed by control circuit 140 to select and execute a
               readers 10-0, 10-1, 10-2, 10-3, 10-N in communication              selected one of the script routine modules, which has been
               thereto in accordance with a "host routines" mode operation 25 loaded into the memory locations 4040, 4042, 4044. An
               simply by actuation of routines icon 2904 as depicted in           identifier 5000, for example, may comprise the compiled
               FIG. Sb. Operating in accordance with the host routines            data corresponding to the pseudocode script instruction
               mode, all of readers 10-0, 10-1, 10-2, 10-3, 10-N would            EXECUTE (INVENTORY). On receipt of the identifier,
               execute a string of script routine modules identified at           reader 10 executes the corresponding script routine module,
               customer service network 1830 as being capable of perform- 30 which in the example of FIG. 6, corresponds to pseudocode
               ing the required custom-made function.                             7042.
                  The availability of both of the "host commands" mode               Referring to the user interface of FIG. 7, a user may build
               and the "host routines" modes allows readers 10-0, 10-1,           a script routine module utilizing an appropriate toolkit and
               10-2, 10-3, 10-N to be customized to the end that the needs        GUI interface loaded onto host 200. When a user has
               of a customer can be satisfied. If a customer demands high         authored a program in a user understandable language as in
               accuracy, a highly specialized operating routine, and a host 35 the pseudocode 8042 of FIG. 7, the user may select various
               control of operation of one or more reader, the "host              control buttons. For example, actuation of RUN button 9002
               commands" mode can be selected. If a customer demands              may result in the authored program being compiled and
               high-speed operation in a custom developed application, the        formatted for sending to reader 10 or several readers 10 for
               "host routines" mode can be selected. If one of the modes of       interpretation and execution by reader 10 or several readers
               operation fails to satisfy the needs of a customer, the other 40 10. Actuation of SAVE button 9004 may result in the
               mode of operation can be tried. For example, if during the         authored program represented by pseudocode 9002 being
               course of operation in the "host routines" mode it is found        compiled, formatted and loaded into a designated script
               that one or more of readers 10-0, 10-1, 10-2, 10-3, 10-N           routine module memory location ofa reader 10 or readers 10
               configured to operate in the mode had not previously been          (e.g., location 4042) so that the program is executed by
               updated to include thereon all of the script routine modules 45 reader 10 when reader 10 operates in a "host routines" mode
               4050, 4052, 4054, 4056 specified by the script routine             as described herein.
               module identifier 6000 or identifier string sent by host 200          While the present invention has been particularly shown
               to reader 10, or if a required reader function cannot be           and described with reference to the preferred mode as
               satisfied by selection of one or more script routine modules       illustrated in the drawing, it will be understood by one
               resident on a reader, a user may select the "host commands" 50 skilled in the art that various changes in detail may be
               mode ofoperation so that all of the readers 10-0, 10-1, 10-2,      effected therein without departing from the spirit and scope
               10-3, 10-N satisfy the required function.                          of the invention as defined by the claims.
                  An example of the invention is described with reference            We claim:
               to the correspondence memory map of FIG. 6 in which                   1. A method to create a custom function in an optical
               various sections of pseudocode corresponding to an exem-           reader comprising the steps of:
               plary kernel and exemplary script routine modules are 55              providing a hand held optical reader having a host rou-
               shown in association with the memory map originally                      tines mode and a plurality of script routine modules;
               described relative to FIG. 3b.                                        providing a host computer to communicate with the
                  In the example of FIG. 6, a kernel utilizing address                  optical reader;
               locations 4010 may simply wait for script instructions or a           providing a computer to order script routine modules into
               script routine module (a series of script instructions) as is 60         lists that can be executed in succession by the optical
               indicated by one-line pseudocode program 7010.                           reader;
                  Referring to further aspects of the memory map of FIG.             identifying a string of the script routine modules using the
               6, address locations 4040 may contain a script routine                   computer such that when said string of script routine
               module for displaying a particular error message on display              modules are executed together in succession said string
               13d as is indicated by pseudocode 7040. Further address 65               of script routine modules define a function;
               locations 4042 may contain a script routine module for                generating a string of identifiers representing the string of
               conducting an inventory application as is indicated by                   script routine modules on the computer;




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                  transmitting the string of identifiers from the computer to        transmitting the one or more script routine modules from
                     the host computer;                                                 the host computer to one or more optical readers set to
                  transmitting the string of identifiers from the host com-             the host command mode such that the script routine
                     puter to one or more optical readers set to the host               modules are executed together in succession by the
                     routines mode; and                                                 optical reader as a custom function; and
                  executing the custom function on at least one of the               executing the custom function on at least one of the
                     optical readers as the execution order of a selected list          optical readers.
                     of script routine modules.                                      10. The method of claim 9, to create a custom function
                  2. The method of claim 1, to create a custom function           wherein the step of providing a hand held optical reader
               wherein the step of identifying a string of the script routine 10 comprises providing a hand held optical reader having a host
               modules comprises identifying a string of the script routine       command mode and a control circuit.
               modules using the computer such that when the script                  11. Tbe method of claim 10, to create a custom function
               routine modules are executed together in succession said           further comprising the step of sending a request to the host
               string of script routine modules define a function to display      computer to send a script routine module to the reader before
               a particular error message on an optical reader display.        15 the step of transmitting the one or more script routine
                  3. The method of claim 1, to create a custom function           modules.
               wherein the step of identifying a string of the script routine        12. The method of claim 9, to create a custom function
               modules comprises identifying a string of the script routine       wherein the step of providing a hand held optical reader
               modules using the computer such that when the script               comprises providing a hand held optical reader having a host
               routine modules are executed together in succession said 20 command mode, a control circuit, and an interpreter.
               string of script routine modules define a function to conduct         13. The method of claim 12, to create a custom function
               an inventory application.                                          wherein the step of executing the custom function comprises
                                                                                  executing the custom function on at least one of the optical
                  4. The method of claim 1, to create a custom function
               wherein the step of identifying a string of the script routine     readers by interpreting the one or more script routine mod-
               modules comprises identifying a string of the script routine 2s ules in the optical reader using the interpreter, and executing
               modules using the computer such that when the script               the interpreted script routine modules with the control circuit
               routine modules are executed together in succession said           to perform the custom function.
               string of script routine modules define a function to conduct         14. The method of claim 13, to create a custom function
               a shipping application.                                            wherein the step of executing the custom function comprises
                                                                                  executing the custom function on at least one of the optical
                  5. The method of claim 1, to create a custom function 30
                                                                                  readers by interpreting the one or more script routine mod-
               wherein the step of transmitting the string of identifiers from
                                                                                  ules in the optical reader using the interpreter, and executing
               the host computer to one or more optical readers comprises
                                                                                  the interpreted script routine modules with the control circuit
               transmitting the string of identifiers from the host computer      by further executing one or more firmware fimctions built
               to one or more optical readers set to the host routines mode
                                                                                  into optical reader to perform the custom function.
               wherein the script routine modules identified by the string of 35
                                                                                     15. The method of claim 9, to create a custom function
               identifiers are resident in the one or more optical readers.
                                                                                  wherein the step of identifying the one or more script routine
                  6. The method of claim 1, to create a custom function           modules comprises identifying the one or more script rou-
               wherein the step of executing the custom function comprises        tine modules to be transmitted to the optical reader in the
                                                O      1                          host command mode following an unsuccessful attempt to
               ;;:~~~;/~~ec~:!:tf:cir~: : : : ::~~: ~is~~r°;::! 40 create the custom function using a host routines mode
               routine modules wherein a control circuit within the optical       wherein one or more of the needed script routine modules is
               reader executes the script routine modules resident in a           not resident in the optical reader.
               memory in the optical reader.                                         16. The method of claim 15, to create a custom function
                  7. The method of claim 6, to create a custom fimction 45 wherein the step of identifying the one or more script routine
               wherein the step of executing the custom function comprises        modules comprises identifying the one or more script rou-
               executing the custom function on at least one of the optical       tine modules to be transmitted to the optical reader in the
               readers as the execution order of a selected list of script        host command mode following an unsuccessful attempt to
               routine modules wherein a control circuit within the optical       create the custom function using a host routines mode
               reader executes script routine modules resident in a memory 50 wherein one or more of the needed script routine modules is
               in the optical reader and the control circuit selects each         not resident in the optical reader, and after the needed script
               successive script routine modules by use of a program              routine modules are loaded into the reader in the host
               pointer.                                                           command mode and after the reader is returned to the host
                  8. The method of claim 1, to create a custom function           routines mode, a pointer is established to associate each of
               further comprising the step of sending a request to the host 55 the selected script routine modules with an identifier.
               computer requesting the script identifiers before the step of         17. The method of claim 9, to create a custom function
               transmitting the string of identifiers from the host computer.     wherein the step of identifying the one or more script routine
                  9. A method to create a custom function in an optical           modules comprises identifying the one or more script rou-
               reader comprising the steps of:                                    tine modules to be transmitted to the optical reader to display
                  providing a hand held optical reader having a host com- 60 a particular error message on an optical reader display.
                     mandmode;                                                       18. The method of claim 9, to create a custom function
                  providing a host computer to communicate with the               wherein the step of identifying the one or more script routine
                     optical reader and to send one or more script routine        modules comprises identifying the one or more script rou-
                     modules to the optical reader set to the host command        tine modules to be transmitted to define a function to
                     mode;                                                     65 conduct an inventory application.
                  identifying one or more script routine modules to be               19. The method of claim 9, to create a custom function
                     transmitted to the optical reader;                           wherein the step of identifying the one or more script routine




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               modules comprises identifying the one or more script rou-        a script interpreter program including a plurality of said
               tine modules to be transmitted to the optical reader to define      instructions configured for execution by said processor,
               a function to conduct a shipping application.                       said script interpreter program is configured to interpret
                  20. A hand held optical reader including:                        and execute commands communicated to said memory
                  a control circuit configured to control an image sensor and      from another computer after execution of said main
                     including a memory, a processor and firmware and              operating program; and where said commands direct
                     where said processor is configured to execute instruc-        the execution of firmware functions stored within said
                     tions stored within said memory and said firmware;            firmware.
                  a main operating program including a plurality of said
                     instructions configured for execution by said processor;                       *   *   *    *   *




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             c12)   United States Patent                                                       (IO) Patent No.:                     US 8,752,766 B2
                    Xian et al.                                                                (45) Date of Patent:                      Jun.17,2014

             (54)   INDICIA READING SYSTEM EMPLOYING                                      (56)                       References Cited
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                                                                                                             U.S. PA:fENT DOCUMENTS
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             (72)   Inventors: Tao Xian, Bordentown, NJ (US);                                   5,168,148 A          1211992    Giebel
                               Gennady Germaine, Cherry Hill, NJ                                5,288,983 A           2/1994    Nakazawa
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             ( *)   Notice:      Subject to any disclaimer, the term of this                2012/0153022 Al•          6/2012    Havens et al. .. .............. 235/440
                                 patent is extended or adjusted under 35                  * cited by examiner
                                 U.S.C. 154(b) by Odays.
                                                                                          Primary Examiner - Edwyn Labaze
             (21)   Appl. No.: 13/888,884                                                 (74) Attorney, Agent, or Firm --Additon,                          Higgins,
                                                                                          Pendleton & Ashe, P.A.
             (22)   Filed:       May7,2013                                                (57)                    ABSTRACT
                                                                                          A laser scanning code symbol reading system includes an
             (65)                    Prior Publication Data                               analog scan data signal processorforproducing digitized data
                    US 2013/0292474Al              Nov. 7, 2013                           signals, wherein during each laser beam scanning cycle, a
                                                                                          light collection and photo-detection module generates an ana-
                                                                                          log scan data signal corresponding to a laser scanned code
                              Related U.S. Application Data                               symbol, an analog scan data signal processor/digitizer pro-
                                                                                          cesses the analog scan data signal to generate digital data
             (60)   Provisional application No. 61/632,423, filed on May                  signals corresponding thereto, and a synchronized digital
                    7, 2012.                                                              gain control module automatically processes the digitized
                                                                                          data signals in response to start of scan (SOS) signals gener-
             (51)   Int.Cl.                                                               ated by a SOS detector. The synchronized digital gain control
                    G06K7/10                      (2006.01)                               module generates digital control data which is transmitted to
             (52)   U.S. Cl.                                                              the analog scan data signal processorforuseincontrollingthe
                    USPC ...................................... 235/462.26; 235/375       gain of at least one signal processing stage in the light col-
             (58)   Field of Classification Search                                        lection and photo-detection module and/or analog scan data
                    USPC ............. 235/462.26, 462.45, 472.45, 472.01,                signal processor, during the corresponding laser beam scan-
                                                                    235/375, 462.25       ning cycle.
                    See application file for complete search history.                                       20 Claims, 18 Drawing Sheets




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                                        FIG.1




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                                                 FIG. 2




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                             First lllustrative_Embodiment of Synchronized Digital s;aaln Control (SOGC) Process
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                                                                                                               Microprocessor                        a.""""
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         FIG,3D                                                               I                                          00.
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                                        Start




                                                                   No


                                           Yes



                           Scan object using Laser Sauret~              B



                                                                               A    } Steps 01'
                                                                                         Ffg,4B
                                          ------------iB

                        Run decode algorithm on signal output      -D


                                                                                     F

                                                                 Yes        Transmit symbol
                                                             ...;:;:;-~llli'I character data to
                                                                                host system
                                           No




                 No


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                                                                        Send Failure
                                                                    lo decode notification



                                                 FIG.4A




                                                                                                          HONEYWELL-00228971

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                                                          C1      Photo-detection
                                                                        Stage



                                                          C2       Amplification
                                                                     Stage



                                                          C3     AID Conversion
                                                                     Stage

                         i,e,-------------------;f(t)                               C4

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                                             I       -·------              _ _ _ _ _,s


                        C7              C6                                 G(s,t)

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                                                   Signc:tl
                    Signal           Windov,•          Gain Change
                  Generation    Generation .IU7JL_ .__   AG(s,t)
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                                                                    ___,

                                                                         C5


                                                   FIG. 4B




                                                                                            HONEYWELL-00228972

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                                                       FIG. 4C




                                                                                                     HONEYWELL-00228973

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                  Frequency
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                        bin      bin       bin         bin     ••••   >   •••   ~   0    '   ,, '
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                         O        i         2           3                                            m-1                    m    Strength


                                                                                FIG. SA




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                                                                                                                                          specified bin,
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                        bin      bin      bin         bin                                            bin               bin       Current
                         0        1                                                                  m-1                m        Signal
                                                                                                                                  Level
                                                                                                                                  S(p)


                                                                            FIG. 58




                                                                                                                                                         HONEYWELL-0022897 4

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         AA- ❖   detection   ~ Arnp\i!ication -                 Stage with       ..... Conversion             ~         DecodrJ
                                                                                                      f'(t)                                             N
                  Stage            Stage                       Amplification             Stage                         Processing ......               0
                                                                                                                                                       ,...
                                                                                                  I                                      ~
                                                                                                                         Module                        ,I;-.
                                                                     4-
                                                                                                                          (1' 08, ).
                                                                                                                                   ~   ...             [J)_

                                                                                                                                                       et,
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                                                                                                                                                       et,
                                                                                                       f(l}                                            ""'"




JA2245
                                                                                                              -~        SDGC                           0
                                                                                                                                                       '°
                                                                                                                        Module     ~--
                                                                                                                                                       -.
                                                                                                                                                       ,...
                                                                                                                         (109)                         00
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                                                                                 Discrete Gain                     !
                                                                                    Change

                                                                                                                   I SOS/EOS I
                                                                                                                        Detector
                                                                                                                         (127)                         e
                                                                                                                                                       rJ).
                                                                                                                                                       00
                                                                                                                                                       :..-.
                                                                                                                                                        Ul
                                                                                                                                                                  Pg: 123 of 423




                                                                   FIG.6A                                                                              N
                                                                                                                                                       '~
                                                                                                                                                       0',
                                                                                                                                                       0',
                                                                                                                                                       t,j
                                                                                                                                                       N




                                                                                                                                             HONEYWELL-00228975
                                                                                                                         PX-214




                                                                                                                          ~
                                                                                                                          r,i
                                                                                                                          •
                                        Specular-Reflection                           No Change in Gain Setting            l"d
                                                                                                                           ~
                                                                                                                                     USCA4 Appeal: 23-1850




                          f{l)         ✓ Signal Introduced
                                                                                                                           fr>
                                                                                                                           """'"
                                                                                                                           a.
         FIG. 6B
                                                                                                                          ~
                                                                                                                                     Doc: 45-5




                                                                                                            t             ?
                                                                                                                           """
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                                                                                                                           0
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                                                                                                                           """
                   Time Gate                                  r
                     Signal                              .....j   !+-AT = [t 1, t2l
                     (SOS)
                                                                                                                          00
                                                                                                                           ~
                                                                                                                           =-
         FIG. 6C                                                                                                          a




JA2246
                                                                                                                          0"""
                                                                                                           t              0
                                                                                                                          ....
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                                                                                                                          00
                                                                                                                           """

                                 JI'
                      Digital
                      Gain
                      G(s,t)                                                                                              c:j
                                                                                                                          00.
         F!G.60                                                                                                           QC
                                                              J                                                           -:..:a
                                                              I                                                           VI
                                                                                                                                     Pg: 124 of 423




                                                                                                                           N
                                                                                                           t              -:..:a
                                          Line N-1                            UneN          Une N+1                        0',
                                                                                                                          0',

                                                                                                                           ~




                                                                                                                HONEYWELL-00228976
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                                                                                                                     PX-214

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                                        Start




                                                                  No


                                           Yes



                           Scan object using Laser Source              B



                                                                              A       }       Steps of
                                                                                              fig. 7B
                                          -----------1                         B

                        Run decode algorithm on signal output          D


                                                                                          F

                                                                Yes        Transmit symbol
                                                            ..::::::>---llll>l character data to
                                                                              host system
                                           No




                  No


                                                                                  H

                                                                       Serid Faifure
                                                                   to decode notification



                                                 FIG, 7A




                                                                                                           HONEYWELL-00228977

                                                      JA2247
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                                                                                                    PX-214

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                                                      C1      Photo-detection
                                                                  Stage



                                                     C2A       Amplification
                                                                 Stage


                                                     C2B      Differentiation
                                                                   Stage



                                                      C3      ND Conversion
                                                                 Stage


                         14----------------if(t)                                C4

                                                ,-------                ___ L,
                                                    ,......._ _........,_ ___, I       Gain
                                                 !                                   Change
                                                                         I
                                               I C4A  Histogram Analysis I           .D.G(s,t)
                                     Discrete  I
                                       Gain    I                         I
                                                     ----.----1
                                    Generation~
                                                                         I
                                     Process   1     ----------1
                                     (Fig, 7C) I       Gain Generation   I
                                                 C48
                                               I             G(s,t}      I
                                                 I                      I
                                                           ----.------- I
                                                 I
                        C7            C6                               G(s,t)

                                               Gate
                    SOS/EOS          Time      Signal       Synchronized
                     Signal       Window                    Gain Change
                   Generation    Generation .JlJ7J"1_ ...._  __.......__
                                                              AG{s,t)    __.

                                                                      C5

                                               FIG. 7B




                                                                                           HONEYWELL-00228978

                                               JA2248
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                                                                                                                                       PX-214

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                                                                                                             C4 A

                 r---- -- --·-·--·-- ....-,                                         ~
                                                                                        f(t)- - - - - - _   J   ----1
                 1                                                                                                       I
                 I
                 I t € [toJ1J                       Sefect the region to be analyzed                            _.c4A•1 :
                 I                                                                                                        I
                 f                                                                                                       I
                 f                                                                                                     I
                 l                                                                                                     I
                 I                                                Generate Histogram                            -C4A-2 I
                 I                                                                                                       I
                 I                                                                                                       I
                 I                                                                                                       I
                 I              ~-                                                                                       I
                 I                                                                                                      I
                 I                                  Calculate Cumulative Histogram                              _.C4A-3 I
                 I                                                                                                      I
                                                                                                                        I
                 I
                 !. _ _ _ _     ____ ...-~ _____ --·------·--
                                                    .,,   ....                                                  _____ ,!




                                                                                    _________L               C4 B

                                 ---------,,                                                                    ----,I
                 f                                                                                                       I
                                                    car cu late Sp corresponding to P                                  I
                 I                   (e.g. 60%, 85%) of the whole Cumulative                                    -C4B~1 I
                 i
                                                Histogram intensity                                                      I
                 I
                 I                                                                                                       I
                 I                                                                                                       I
                 !                                                                                                       I
                 I                                                       Calculate Gain
                                                                                                                -c4a~2 :
                 I                                                        G(s,t) = S1/Sp
                 !                                                                                                       I
                 !____ _
                                -    _ , •.,_,.,,    - --· - -·- -·------:---
                                                    ..           .. ........
                                                                                                                         I

                                                                                    G(s,t)
                                                                                   1f


                                                                               FIG, 7C




                                                                                                                              HONEYWELL-00228979

                                                                                  JA2249
                                                                                                                                                         PX-214



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                           Thirc~ i\lustrgtive Embodiment of S~nchroniz~ct Qigital Gain Qontrol {SQGQ) Pro$;e§s                                           ~

                                                                                                                                                          a
                                                                                                                             Microprocessor
                               106                                  107                                                           (µP)
                     106A             10613                  107A             107C            1078                                 I
                                                                                                \                                                         ~
                                                                                                                                                                     Doc: 45-5




                       \         \      \                      J      \         1                                                                         ?
                        \                \                     I                                l                                                         ....
                                            ·-                                                                                                            ;-I
                     Photo-        Pre-                 Differentiation                        AID         f(t)                                           N
                                                                                                                         ~
                                                                          ..,, Filtering ..,, Conversion                 ~
                                                                                                                               Decode                     0
         /J..h- ♦   detection ~ Ampllfication    -   --♦ Stage with                                                                                       ....
                                                                                Stage                      f'(t)              Processing                  ,i:..
                     Stage        Stage                  Amplification                        Stage                                        ..... f-+
                                                                                 H                                             Modu!e
                                                                                                                                 (108)
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JA2250
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                                                                                                             f'(t)
                                                                                                                         ♦      SDGC                      0
                                                                                                                                                          ...,
                                                                                                                     -                                    ....
                                                                                                                                Module     :.ire--        00
                                                                                                                                                                     Filed: 04/01/2024




                                                                                                                                 (109)
                                                                                          Discrete Gain
                                                                                              Change

                                                                                                                               SOS/EOS
                                                                                                                                Detector                  d
                                                                                                                                           -              00
                                                                                                                                 (127)                     QC
                                                                                                                                                          :..-.
                                                                                                                                                           th
                                                                                                                                                           N
                                                                                                                                                                     Pg: 128 of 423




                                                                    FIG. BA.                                                                              :..-.
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                                                                                                                                                HONEYWELL-00228980
                                                                                                                                                                           PX-214




                                                                                                                                                                            ~
                                                                                                                                                                            r,i
                                                                                                                                                                            •
                                                                                                                                                                             l"d
                                           Specu!ar-Ref!ection                                                                        No Change in Gain Setting              ~
                                                                                                                                                                                       USCA4 Appeal: 23-1850




                          f(t)           ✓- Signal introduced                                                                                                                fr>
                                                                                                                                                                             """'"
                                                                                                                                                                             a.
         FIG,88
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                   Tim~Gate          I                                          ~ t4f-j,T=[t1,t2J
                     ~Ml
                     (SOS)
                                                                                     n                                            n   L__ _ _ _ _ _ ::_                     00
                                                                                             L__ _ _ _ _ _ _ _:                                                              ~
                                                                                                                                                                             =-
         FIG.BC                      ~!- - - - - - - !
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                                                                                                                                                                            00
                                                                                                                                                                             """
                                 ;
                      Digital
                       Gain                                                                                                       I
                      G(s,t)

         FIG, 8D                                                                                                                                                            c:j
                                                                                                                                  !                                         00.
                                                                                                                                  !                                         QC
                                                                                                                                                           t                -:..:a
                                            Line N-1                                                            UneN                        UneN+1                          VI
                                                                                                                                                                                       Pg: 129 of 423




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                                                                                                                  PX-214

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                                        Start




                                                                  No


                                           Yes


                           Scan object using Laser Source              B




                        Run decode algorithm on signal output          D


                                                                                      F

                                                                Yes         Transmit symbol
                                                            ::::;:::,---1M character data to t---1lli!l'--i
                                                                              host system
                                           No




                   No


                                                                                 H

                                                                           Send Failure
                                                                   to decode notification



                                                  FIG.9A




                                                                                                         HONEYWELL-00228982

                                                    JA2252
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                                                                                                           PX-214

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                                                        C1      Photo--detection
                                                                    Stage


                                                       C2A       Amplification
                                                                   Stage


                                                       C2B       Differentiation
                                                                      Stage


                                                       C2C      Filtering Stage


                                                                AID Conversion
                                                                     Stage


                         J4o---------------1f(t}                                   C4

                                                   1-------               ___ L,
                                                                                              Gain
                                                   1         .....---.......--....... I Change
                                                                                        I
                                                 I C4A Histogram Analysis I                 1::1.G(s,t)
                                      rnscrete   !
                                        Gain     !                           I
                                                       ....__ _.....-_ ____. I
                                     Generation ~
                                                                             I
                                       Process   1     ---------1
                                      (Fig. 9C}  1
                                                            Gain Generation  I
                                                 I C4B
                                                 !               G(s,t)      I
                                                 I     ...._________. II
                                                   I
                        C7               C6                              G(s,t)

                                                  Gate
                  SOS/EOS             Time       Signal       Synchronized
                    Signal           Window                   Gain Change
                  Generation        Generation .J7.SU7... .__  ______ C5
                                                                AG(s,t)



                                                 FIG.98




                                                                                                  HONEYWELL-00228983

                                                 JA2253
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                                                                                                                PX-214

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                   I                                                                                  l
                   I                 .-------                  -'---------~                          I
                   !                                                                                 I
                                                       Generate Histogram                      C4A-2 I
                   I                                                                                 I
                   I                 '-------...-------J                                             I
                   I                                                                                  I
                   f                 ..------'"'",!"~_ _ _ _ ______,                                  I
                   I                                                                                  I
                   I                           Caicu!ate Cumulative Histograrn            . - C4A-3 I

                   lI   --------~------'                                                              !
                    L------------ ------- -----                                                    ._J

                                                                                        C4B

                   r--          -------                  ---~-------- { ____ ,
                   I                 ,........----------j'______________________~                     !
                   !                          Calculate Sp corresponding t o : J - !       :
                                         (e.g. 60%, 85%) of the whole Cumulative     C4B-1 !
                                                    Histogram intensity                    l
                                     '--------~,----------- ------ -                                  l
                                                                                                      I
                                          -----------~alc~;~te Gain                                   I
                                     [                                                         C4B-2 I
                                                         G(s.t) = St/Sp                               i
                                          ----------      ----------,------------ '                   !
                                                                                                      l

                                                                G(s,t}




                                                           FIG. 9C




                                                                                                      HONEYWELL-00228984

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                                                                                                                                                        PX-214

                                                                    US 8,752,766 B2
                                            1                                                                      2
                  INDICIA READING SYSTEM EMPLOYING                                    When performing middle and long range laser scanning,
                         DIGI'L\L GAL.I'll CONTROL                                 variable gains along the signal processing chain are desired to
                                                                                   improve signal quality. Such multi-stage gain control is
                          CROSS-REFERENCE TO PRIORITY                              extremely important when a barcode target is located in the
                                     APPLICATION                                   far field, which could be at least 30 feet away from the laser
                                                                                   scanner.
                The present application claims the benefit of U.S. Patent             During laser scanning bar code symbols, it is preferred that
             Application No. 61/632,423 for a Laser Scanning Code Sym-             the gain is maintained substantially constant during each scan
             bol Reading System Employing Synchronized Digital Gain                line sweep so that signal linearity is maintained, which is
             Control (SDGC), filed May 7, 2012, which is hereby incor- 10 important for the barcode decoding. However, the AGC cir-
             porated by reference in its entirety.                                 cuitry must have a fast response time once the object scanning
                                                                                   distance, and/or other parameters, are changed. Thus, auto-
                           BACKGROUND OF DISCLOSURE                                matic gain control (AGC) suffers from a dilemma: how to
                                                                                   maintain fast response time without sacrificing signal linear-
                1. Field of Disclosure                                          15 ity during each scanning cycle.
                The present disclosure relates generally to improvements              Conventional analog AGC circuits have to change the gain
             in reading code symbols on objects located anywhere over a            continuously which limits the response time for automatic
             large scalllling range (e.g. 3 inches to over 30 feet from            gain control. Moreover, the requirement of linearity during
             scanning window), and more particularly, to an improved               scan line generation further limits the usage of conventional
             method of and apparatus for processing analog scan data 20 AGC techniques in many applications. Also, it is known that
             signals received during the laser scanning of objects located         digital AGC circuits can respond quickly between gain
             over large scanning distanct-'S.                                      changes which gain adjustment significantly faster than ana-
                2. Brief Description of the State of Knowledge in the Art          log-based AOC circuits.
                It is well known to scan bar code symbols on objects for              However, despite the many improvements inAGC methods
             purposes of automatically identifying the objects in diverse 25 in laser scanning bar code symbol readers over the years,
             fields of use. Currently, several basic optical methods have          there is still a great need in the art for improved laser scanning
             been developed over the past three or more decades.                   bar code symbol reading system which exhibits fast response
                According to one method, bar code symbols are read by              time and signal linearity, while avoiding the shortcomings
             scanning a laser beam across the bar code symbol, and col-            and drawbacks of prior art systems and methodologies.
             lecting and processing light from tlie return laser beam to 30
             extract information modulated onto the scanned beam by the                               OBJECTS AND SUMMARY
             light reflective characteristics of the bar code structure.
                According to a second method, bar code symbols are read               Accordingly, a primary object of the present disclosure is
             by capturing and buffering a digital image of a bar code              to provide improved laser scanning bar code symbol reading
             symbol, and processing the digital image to recognize the bar 35 system for use in diverse envirolllllents, which is free of the
             code structure.                                                       shortcomings and drawbacks of prior art systems and meth-
                When using either method described above, the further that         odologies.
             the object bearing the bar code symbol resides from a laser              Another object is to provide a laser scanning bar code
             scallller, the weaker the return laser light signal will be at the    symbol reading system, wherein a synchronized digital gain
             time of signal detection at the photo-detector. Likewise, the 40 control (SDGC) module is provided for controlling the gain
             further that the object bearing the bar code symbol resides           of analog signal processing circuitry in a new way which
             from a digital imager, the weaker digital image intensity will        improves response time without sacrificing signal linearity
             be at tlie time of image detection. For laser scallllers having a     characteristics of tlie system.
             substantially large scanning, or working range, in particular,           Another object is to provide a laser scanning bar code
             this potentially dramatic variation in signal intensity strength 45 symbol reading system, wherein the synchronized digital
             at the photo-detector places great demands on the electronic          gain control (SDGC) module is synchronized using the start
             signal processing circuitry, and its ability to deliver sufficient    of scan (SOS) signals generated each time the laser scanning
             signal-to-noise-ratio (SNR) performance over broad dynamic            assembly undergoes a complete scanning cycle, and discrete
             ranges of input signal operation.                                     gain changt-'S are genemted and provided to the gain stage
                Consequently, great efforts have been made over the past 50 only at a certain windows along the time domain.
             few decades to provide laser scanning type bar code scanners,            Another object is to provide a laser scanning bar code
             in particular, with automatic gain control (AGC) capabilities         symbol reading system, wherein the synchronized digital
             that aim to control the gain of tlie various analog scan data         gain control (SDGC) module can be used to implement gain
             signal processing stages, regardless of the input laser return        adjustments at one or more points along the analog scan data
             signal strength. The following U.S. Patents describe prior art 55 signal path such as, but not limited to, preamplifier stages,
             efforts to date to provide automatic gain control (AGC) capa-         derivative stages, and filtering stages.
             bilities in laser scanning bar code symbol readers: U.S. Pat.            Another object is to provide a laser scanning code symbol
             Nos. 7,822,349; 7,172,125; 6,827,272; 6,073,848; 5,914,478;           reading system within an analog scan data signal processor,
             5,701;003; 5,612,259; 5,288,983; 5,168,148; 5,148,008;                wherein a synchronized digital gain control module automati-
             4,843,222; and 4,792,666, incorporated herein by reference 60 cally controls the gain of at least one signal processing stage
             as set forth herein.                                                  within the analog scan data signal processor, during each laser
                In general, a feedback control is implemented in the analog        beam scanning cycle, in time synchronous manner using (i)
             domain, and the gain of an amplified stage is adjusted accord-        start of scan (SOS) signals generated by a SOS detector and
             ing to a controller. The controller could be, but is not limited      (ii) digitized data signals generated by the analog scan data
             to, proportional control, PID control or fuzzy logic control, 65 signal processor.
             etc. Also, the amplifier refers to, but is not limited to pream-         Another object is to provide a laser scanning code symbol
             plifier or gain stages along the signal path.                         reading system having an analog scan data signal processor




                                                                                                                                       HONEYWELL-00228985

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                                                                   US 8,752,766 B2
                                            3                                                                   4
             for producing digitized data signals, wherein during each             digital gain control (SDGC) subsystem and process of the
             laser beam scanning cycle, a synchronized digital gain con-           present disclosure, including (i) a light collection and photo-
             trol module processes the digitized data signals in response to       detector module with a photo-detection stage and a digitally-
             start of scan (SOS) signals and generates digital control data        controlled pre-amplification stage with amplification con-
             that is transmitted to the analog scan data signal processor for      trolled by its gain setting, and (ii) an analog scan data
             controlling the gain of a signal processing stage therein dur-        processing/digitizer module having an AID signal conversion
             ing a corresponding laser beam scalllling cycle.                      stage;
                Another object is to provide a method of controlling the              FIGS. 3B through 3D, when taken together, illustrate how
             gain of a signal processing stage within the analog scan data         the SDGC module controls the gain of a signal amplification
             signal processor of a laser scanning code symbol reading 10 stage processing a raw analog scan data signal, over three
             system employing a laser scanning module, a start of scan             consecutive time windows (i.e. laser beam scanning cycles);
             (SOS) detector, and a synchroniwd digital gain control mod-
                                                                                      FIG. 4A is a flow chart describing the primary steps carried
             ule.
                                                                                   out in the laser scanning bar code symbol reading system of
                Another object is to provide a method of controlling the
             gain of a signal processing stage within a laser scanning code 15 FIG. 3A, wherein upon detecting a trigger event in the system,
             symbol reading system, wherein a synchronized digital gain            the bar code symbol is automatically laser scanned, and scan
             control module uses SOS signals to determine when to                  data is captured and processed to automatically control the
             sample and process digitized data signals, and generate digi-         gain of the first amplifier stage in a synchronized manner, and
             tal control data for use by at least one signal processing stage      any bar code symbol represented by collected digitized scan
             to control the gain of thereof during a corresponding laser 20 data is decoded (i.e. read) during the laser beam scalllling
             beam scanning cycle.                                                  cycle;
                Another object is to provide a method of controlling the              FIG. 4B is a flow chart describing the steps carried out
             gain of a signal processing stage within a laser scanning code        during the synchronized digital gain control (SDGC) process
             symbol reading system, wherein digital gain control data is           of FIG. 3, where the analog scan data signal (i.e. analog
             automatically produced during each laser beam scalllling 25 barcode pattern signal) is processed, during a synchronized
             cycle, by a process comprising: (i) calculating a histogram           time window (i.e. between generation of the SOS and EOS
             from the digitized data signal sampled over a time interval           signals during each scanning cycle);
             determined using start of scan (SOS) signals; (ii) calculating           FIG. 4C is a flow chart describing a preferred method of
             a cumulative histogram from the calculated histogran1; (iii)          processing the digitized scan data signal within the decode
             calculating the discrete gain value for the current laser beam 30 processor of FIG. 3, involving histogram analysis and gain
             scalllling cycle, using the cumulative histogram; and (iv) cal-       calculation;
             culating a discrete gain change value from the discrete gain             FIG. SA is a schematic representation of a cumulative
             value, and using the discrete gain change value, as well as           histogram of sampled signal strength values within the digital
             digital control data, to control the gain of the at least one         scan data signal;
             signal processing stage.                                           35    FIG. SB is a schematic representation generated from a
                Another object is to provide such a method of controlling          corresponding cumulative histogram, plotting frequency ver-
             the gain of a signal processing stage within a laser scanning         sus current signal level within the digital scan data signal;
             code symbol reading system, wherein the digital data signal              FIG. 6A is a schematic block diagram describing the major
             can be either a digital representation of (i) the raw analog scan     system components of the laser scanning bar code symbol
             data signal intensity, or (ii) first derivative of the analog scan 40 reading system illustrated in FIG. 1, showing the primary
             data signal, produced by the photo-collection and photo-              stages of a second illustrative embodiment of the synchro-
             detection module of the system during laser scanning opera-           nized digital gain control (SDGC) subsystem and process of
             tions.                                                                the present disclosure, including (i) a light collection and
                These and other objects will become apparent hereinafter           photo-detection module having a photo-detection stage and a
             and in the Claims appended hereto.                                 45 pre-amplification stage, and (ii) an analog scan data process-
                                                                                   ing/digitizer module having a differentiation stage with digi-
                     BRIEF DESCRIPTION OF THE DRAWINGS                             tally-controlled pre-amplification controlled by its gain set-
                                                                                   ting, and an AID signal conversion stage;
                In order to more fully understand the Objects, the follow-            FIGS. 6B through 6D, when taken together, illustrate how
             ing Detailed Description of 1he Illustrative Embodiments 50 1he SDGC module controls the gain of a derivative processing
             should be read in conjum..iion with the accompanying Draw-            stage with amplification, processing ( the first or second)
             ings, wherein:                                                        derivative of the analog scan data signal, over three consecu-
                FIG. 1 is a perspective view of an illustrative embodiment         tive time windows (i.e. laser beam scanning cycles);
             ofa hand-supportable laser scanning bar code symbol reading              FIG. 7A is a flow chart describing the primary steps carried
             system of the present disclosure, having the capacity to read 55 out in the laser scanning bar code symbol reading system of
             bar code symbols over a large working range where the inten-          FIG. 6, wherein upon detecting a trigger event in the system,
             sity of return laser signals will vary drastically due to dis-        the bar code symbol is automatically laser scanned, scan data
             tance-related attenuation factors;                                    captured and processed to automatically control the gain of
                FIG. 2 is a schematic block diagram of the system shown in         the first amplifier stage in a synchronized manner, and any bar
             FIG. 1, describing the major system components of the laser 60 code symbol represented by collected digitized scan data
             scanning bar code symbol reading system illustrated in FIG.           decoded (i.e. read) during a given scanning cycle;
             1, including the synchronired digital gain control (SDGC)                FIG. 7B is a flow chart describing the steps carried out
             module of the present disclosure;                                     during the synchronized digital gain control (SDGC) process
                FIG. 3A is a schematic block diagram describing the major          illustrated in FIG. 6, where the analog scan data signal (i.e.
             system components of the laser scanning bar code symbol 65 analog barcode pattern signal) is processed, during a synchro-
             reading system illustrated in FIG. l, showing the primary             nized time window defined by the generation of start of scan
             stages of a first illustrative embodiment of the synchronized         (SOS) signals during each laser beam scanning cycle;




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                FIG. 7C is a flow chart describing a preferred method of         150; wherein the laser scanning module 105 also includes a
             processing the digitized scan data signal within the pro-           laser drive circuit 151 for receiving control signals from sys-
             grammed decode processor shown in FIG. 6, involving his-            tem controller 150, and in response thereto, generating and
             togram analysis and gain calculation;                               delivering laser (diode) drive current signal to the laser source
                FIG. SA is a schematic block diagram describing the major        112 to produce a laser scanning beam during the method of
             system components of the laser scanning bar code symbol             bar code symbol reading described in FIG. 4; a start of scan/
             reading system illustrated in FIG. 1, showing the primary           end of scan (SOS/EOS) detector 127 for generating SOS
             stages ofa third illustrative embodiment of the synchronized        timing signals indicating the start of each laser beam sweep
             digital gain control (SDGC) subsystem and process of the            (i.e. scanning cycle), and EOS timing signals indicating the
             present disclosure, including (i) a light collection and photo- 10 end of each laser beam sweep, and sending these SOS/EOS
             detection module having a photo-detection stage and a pre-          timing signals to the system controller 150, as well as decode
             amplification stage, and (ii) an analog scan data processing/       processor 108 and SDGC module 109; a set of scan line data
             digitizer module having a differentiation stage, a filtering        line buffers 160 for buffering each complete line of scan data
             stage with digitally-controlled amplification controlled by its     collected during a complete sweep of the laser scanning beam
             gain setting, and an AID signal conversion stage;                15 across the laser scanning field during each scanning cycle (i.e.
                FIGS. SB through SD, when taken together, illustrate how         one buffer for each scanning directions); a photo (i.e. light)
             the SDGC module controls the gain of a signal filtering stage       collection and photo-detection module 106, including (i)
             with amplification, processing a filtered (first or second)         light collection optics for collecting light reflected/scattered
             derivative of the analog scan data signal, over three consecu-      from a scanned object in the scanning field, and (ii) a photo-
             tive time windows (i.e. laser beam scanning cycles);             20 detector for detecting the intensity of collected light and
                FIG. 9A is a flow chart describing the primary steps carried     generating an analog scan data signal corresponding to said
             out in the laser scanning bar code symbol reading system of         detected light intensity during scanning operations; an analog
             FIG. 8, wherein upon detecting a trigger event in the system,       scan data signal processor/digitizer 107 for processing the
             the bar code symbol is automatically laser scann1.->d, scan data    analog scan data signals and converting the processed analog
             captured and processed to automatically control the gain of 25 scan data signals into digital scan data signals, which are then
             the first amplifier stage in a synchronized manner, and any bar     converted into digital words representative of the relative
             code symbol represented by collected digitized scan data            width of the bars and spaces in the scanned code symbol
             decoded (i.e. read) during a given scanning cycle;                  structure; a scan data signal intensity detection module 143,
                FIG. 9B is a flow chart describing the steps carried out         preferably implemented within scan data processor/digitizer
             during the synchronized digital gain control (SDGC) process 30 107, for continuously (i) processing the return analog (or
             illustrated in FIG. 8, where the analog scan data signal (i.e.      digital) scan data signals, (ii) detecting and analyzing the
             analog barcode pattern signal) is processed, during a synchro-      intensity (i.e. magnitude) of the laser return signal, (iii) deter-
             nized time window defined by the generation of start of scan        mining (e.g. estimating) the range or distance of the scanned
             (SOS) signals during each scanning cycle; and                       object, relative to the scanning window, and then (iv) trans-
                FIG. 9C is a flow chart describing a preferred method of 35 mitting the range indication (i.e. estimation) signal (e.g. in the
             processing the digitized scan data signal within the pro-           form of a digital data value) to the de<,'Ode processor 108 so
             grammed decode processor of FIG. 8, involving histogram             that it can program or set an appropriate laser beam sweep
             analysis and gain calculation.                                      angle a(t), as required in any given application; progran1med
                                                                                 decode processor 108 for decode processing digitized data
                          DETAILED DESCRIPTION OF THE                         40 signals, and generating symbol character data representative
                          ILLUSTRATNE EMBODIMENTS                                of each bar code symbol scanned by the laser scaiming beam;
                                                                                 a synchronized digital gain control (SDGC) module 109,
                Referring to the figures in the accompanying Drawings, the       interfaced with the analog scaII data processor/digitizer
             illustrative embodiments of the dual laser-scanning bar code        (ASIC chip) 107 and light collection and photo-detection
             symbol reading system and will be described in great detail, 45 module 106, for controlling the gain of at least one stage
             wherein like elements will be indicated using like reference        within the analog scan data signal processor/digitizer 107
             numerals                                                            and/or the light collection and photo-detection module 106,
             Overview of the Laser Scanning Bar Code Symbol Reading              on a real-time, scanning-cycle basis; 311 input/output (I/O)
             System Employing Synchronized Digital Gain Control                  communication interface module 109 for interfacing with a
                Referring now to FIGS. 1 through 2, the hand-supportable 50 host communication system and transmitting symbol charac-
             laser scanning bar code symbol reading system 1 will be             ter data thereto via wired or wireless communication links
             described in detail.                                                that are supported by the symbol reader and host system; and
                As shown in FIGS. 1 and 2, the hand-supportable laser            a system controller 150 for generating the necessary control
             scanning bar code symbol reading system 100 is shown com-           data signals for controlling operations within the hand-sup-
             prising the following components: a hand-supportable hous- 55 portable laser scanning bar code symbol reading system.
             ing 102 having a head portion and a handle portion supporting          As shown in FIG. 2, the laser scanning module 105 com-
             the head portion; a light transmission window 103 integrated        prises a number of subcomponents, namely: laser scanning
             with the head portion of the housing 102; a 2-position manu-        assembly 110 with an electromagnetic coil 128 and rotatable
             ally-actuated trigger switch 104 integrated with the handle         scanning element 134 supporting a polygon mirror 134A, or
             portion of the housing 102, for sending trigger signals to 60 an oscillating (or flipper) type laser scanning mechanism 134
             controller 150 and activating the laser pointing/aiming sub-        supporting a pl= mirror element 134A; a coil drive circuit
             system 219 and the laser scanning module 105; a laser scan-         111 for generating an electrical drive signal to drive the elec-
             ning module 105, for repeatedly scanning, across the laser          tromagndic coil 128 in the laser scanning assembly 110; and
             scanning field, a visible laser beam generated by a laser           a laser beam source 112 for producing a visible laser beam
             source 112 (e.g. VLD or IR LD) having optics to produce a 65 113A; and a beam deflecting mirror 114 for deflecting the
             laser scanning beam focused in the laser scanning field, in         laser beam 113A as incident beam 113B towards the mirror
             response to a control signal generated by a system controller       component ofthe laser scanning assembly 110, which sweeps




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             the deflected laser beam 113C across the laser scanning field      operations. The analog scan data signal processor/digitizer
             and a bar code symbol 16 that might be simultaneously              module 107 processes the analog scan data signals, and the
             present therein during system operation.                           A/D conversion stage 107B converts the processed analog
                As shown in FIG. 2, the laser scanning module 105 is            scan data signals into digitized data signals including the
             typically mounted on an optical bench, printed circuit (PC)        digital raw intensity data signal f(t) corresponding to the
             board or other surface where the laser scanning assembly is        intensity of raw (i.e. unfiltered) analog scan data signal, and
             also, and includes a coil support portion 110 for supporting       also the digital first derivative data signal f'(t) during process-
             the electromagnetic coil 128 (in the vicinity of the permanent     ing at a differentiation stage (not shown) within processor/
             magnet 135) and which is driven by a drive circuit 111 so that     digitizer module 107. While both the digital raw intensity data
             it generates magnetic forces on opposite poles of the perma- 10 signal f(t) and the digital first derivative data signal f'(t) are
             nent magnet 135, during scanning assembly operation.               typically transmitted to the programmed decode processor
             Specification of the First Illustrative Embodiment of the Syn-     108 for use during decode processing, only the digital raw
             chronized Digital Gain Control (SDGC) Process of the               intensity data signal f(t) is transmitted to the SDGC module
             Present Disclosure                                                 109 for processing in this illustrative embodiment. However,
                FIG. 3A describes a first illustrative embodiment of a syn- 15 in other illustrative embodiments, both the digital raw inten-
             chronized digital gain control (SDGC) subsystem and pro-           sity data signal f(t) and the digital first derivative data signal
             cess supported in the laser scanning bar code symbol reading       f'(t) can be transmitted to the SDGC module 109 for use in
             system of FIG. 1. As shown, the decode processor 108 and           generating gain control data signals.
             SDGC module 109 are realized by a programmed micropro-                 The SOS/EOS detector 127 generates a SOS signal upon
             cessor and associated memory architecture, and both mod- 20 detecting the start of the first and each subsequent laser beam
             ules receive SOS and EOS timing signals from the SOS/EOS           scanning cycle, and these SOS signals are transmitted to the
             detector 127 which can be realized using Hall-effect sensor        SDGC module 109 and the programmed decode processor
             and one or more permanent magnets embedded in the scanner          108. The SDGC module 109 uses the SOS signal from detec-
             rotor, or other techniques well known in the art.                  tor 127 and raw digital intensity data signal f(t) from the scan
                As shown in FIG. 3A, the photo-collection and photo- 25 data signal processor/digitizer module 107 to generate digital
             detection module 106 includes at least a photo-detection           control data signals for transmission to the digitally-con-
             stage 106A and a digitally-controlled pre-amplification stage      trolled analog signal amplification stage 106B within the light
             106B. The digitally-controlled pre-amplification stage 106B        collection and photo-detection module 106, to control the
             receives a discrete gain change signal (i.e. digital control       gain thereof; during a corresponding scanning cycle, in accor-
             data) AG(S, t) from the microprocessor-implemented SDGC 30 dance with the principles of the present disclosure, to be
             module 109. The rate at which the module 106 receives dis-         described in greater detail herein. This process is repeated
             crete gain control updates depends on the frequency of the         each cycle to control the gain of the an1plification stage in
             laser scanning mechanism (e.g. flipper mechanism, rotating         module 6. Also, the programmed decode processor 108
             polygon, etc), which is effectively measured by start of scan      decode processes digitized data signals, and generates sym-
             (SOS) signals generated by the SOS/EOS detector 12. As 35 bol character data representative of each bar code symbol
             shown in the first illustrative embodiment of FIG. 3B, the         scanned by the laser scanning beam. Symbol character data
             SDGC module 109 updates the gain ofthe amplification stage         corresponding to the bar codes read by the decoder 108 is 1hen
             106B of light collection and photo-detection module 106            transmitted to the host system via the I/0 communication
             once every laser beam scanning cycle, using the synchronized       interface 140 which may support either a wired and/or wire-
             digital gain control (SDGC) process depicted in FIGS. 4B and 40 less communication link, well known in the art. During laser
             4C. Notably, the SDGC process is called during the main            scaiming operations, the system controller 150 automatically
             control process shown in FIG. 4A, carried out in the laser         generates the necessary control signals for controlling opera-
             scanning bar code symbol reading system 1 shown in FIG. I,         tions within the hand-supportable laser scanning bar code
             to be described herein below.                                      symbol reading system.
                In response to a triggering event (i.e. manually pulling 45         Referring to FIG. 4A, a method will now be described for
             trigger 104 to its first position), the system controller 150      reading bar code symbols using the laser scanning bar code
             enables subsystem 219 to generate and project a cone-like          reader 100, described above, wherein the gain of the analog
             visible aiming beam 221 within the laser scanning field 115 of     scan data signal processing stage in module 106, is automati-
             the system. After the aiming beam 221 is aligned with the bar      cally controlled in a synchronized manner, as the analog scan
             code symbol to be scanned, the user pulls the trigger switch 50 data signal is collected and processed, and digitized data
             104 to its second position. In response, the system controller     signals are generated and processed by the SDGC module
             150 enables the laser scanning module 105 to generate and          109 during each laser beam scanning cycle.
             project a laser scanning beam through the light transmission           As indicated in FIG. 4A, the process orchestrated by sys-
             window 103, and across the laser scanning field external to        tem controller 150 begins at the START Block. TI1en at Block
             the hand-supportable housing, for scanning an object in the 55 A, the system controller 150 determines if a trigger event has
             scanning field. The laser scanning beam is generated by laser      occurred (i.e. whether or not trigger 104 has been manually
             beam source 112 in response to control signals generated by        depressed by the operator upon seeing an object in the laser
             the system controller 150. The scanning element (i.e. mecha-       scanning field and pointing the head portion of the housing
             nism) 134 begins to repeateclly scan the selected laser beam       towards the object). When the trigger event is detected at
             across a code symbol residing on an object in the laser scan- 60 Block A, the system controller 150 enables, at Block B, the
             ning field 115. Then, the light collection optics 106 collects     laser scanning module 105 (including the laser VLD 112,
             light reflected/scattered from scanned code symbols on the         scanning mechanism and associated electronics and photo-
             object in the scanning field, and the photo-detector (in the       electronics) to scan the object with a laser scanning beam
             photo-detection stage 106A) automatically detects the inten-       generated by the VLD 112, and collect at1d buffer a pair of
             sity of collected light (i.e. photonic energy) and generates an 65 lines of scan data in buffers 160, representative of collected
             analog scan data signal (i.e. bar code pattern signal) corre-      scan data from the laser scanned object during both laser
             sponding to the light intensity detected during scanning           scanning directions.




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                As shown in FIG. 4A, at Block C, the SDGC process of the           high value) so that the signal has constant gain during each
             present disclosure is carried out in an automatic manner,             scanning cycle (i.e. laser beam sweep).
             during each laser scanning cycle, to control the gain of the              In FIG. 4C, the digital gain calculation/estimation process
             amplification stage of the light collection and detection mod-        of the preferred embodiment is described in greater detail. As
             ule 106, at the beginning of each laser scanning cycle, and this 5 shown, this process comprises the following steps: at Block
             value is stored and used only for this laser scanning cycle, and      C4A-1, selecting a time region overwhich the sampled digital
             will be updated during the beginning of the next scanning             raw intensity data signal f(t) is to be analyzed (e.g. from t 1 to
             cycle, as described in detail below with reference to FIGS. 4A        1;,); at Block C4A-2, generate a histogr-dlll based on the region
             through 513.                                                          of the sampled digital raw scan data intensity signal f(t)
                As indicated at Block Din FIG. 4A, the decode processor 10 selected in Block C4A-1; at Block C4A-3, calculating a
             108 runs a decode algorithm on the captured lines of scan data        cumulative histogram based on the histogram generated in
             buffered in the scan line data buffer 160. If at Block E, a bar       Block C4A-2; at Block C4B-1, calculating the current signal
             code symbol is decoded, then at Block F, the produced sym-            level S(p) corresponding to the frequency of the signal level,
             bol character data is transmitted to the host system, and the         p, observed over the selected time region (e.g. 60% or 85% of
             system controller returns to Block A.                              15 the whole intensity value); and at Block C4B-2, calculating
                If, however, at Block E in FIG. 4A a bar code symbol is not        the discrete gain value G(s,t), for the current scanning cycle,
             decoded, then the system controller 150 determines at Block           using the following formula: G(s,t) S/SP where S, is the
                                                                                                                           00



             G whether or not the maximum scan attempt threshold has               target signal level, and SP is the current signal level corre-
             been reached, and if not, then the system controller 150              sponding to P (e.g. 60% or 85%) of the whole cumulative
             returns to Block B, and resumes the flow as indicated. How- 20 histogram. This process will be described in greater technical
             ever, if at Block G, the system controller 150 determines that        detail below with reference to FIGS. SA and 58.
             the maximum scan attempt threshold has been accomplished,                 As indicated at Block C4A-1 in FIG. 4C, a given digital raw
             then the system controller 150 proceeds to Block Hand sends           intensity data signal f(t) is sampled over a selected time
             a Failure to Decode notification to the operator, and returns to      region, extending from a start point a time tl, to an end point
             BlockA, as shown.                                                  25 at time 12. The sampled digital raw intensity data signal f(t) is
             Specification of Synchronized Digital Gain Control Process            buffered within the SDGC module for subsequent processing.
             of the First Illustrative Embodiment                                  The system can be configured so that the selected time region
                FIG. 4B describes the steps carried out during the synchro-        occurs over a certain area/region of the scan line (e.g. the left
             nized digital gain control (SDGC) process of FIG. 3, which is         side of the scan line, the right side of the scan line, or in the
             automatically and transparently called at Block C in the sys- 30 center region of the scan line).
             tern control process described in FIG. 4A, at the beginning of            As indicated at Block C4A-2 in FIG. 4C, a histogram is
             each scanning cycle.                                                  calculated for the sampling scanning cycle, by classifying
                As indicated at Block Cl in FIG. 48, the first step of the         each sample point in the sampled digital raw intensity data
             SDGC process begins at photo-detection stage (i.e. photo-             signal f(t), into one or M possible bins (i.e. storage locations),
             detector) where collected return laser light is detected by the 35 where each bin represents a particular signal level or range of
             photo-detector and a corresponding analog scan data signal or         signal level of the digital raw intensity data signal f(t ), as
             analog barcode pattern signal is generated.                           illustrated in FIG. SA. For the time interval [tl, t2], the fre-
                As indicated at Block C2 in FIG. 48, the amplification             quency of the signal level associated with each bin is calcu-
             stage amplifies the analog scan data signal, by the gain value        lated to provide the histogram shown in FIG. SA. Notably,
             determined by the SDGC module 109 during each scanning 40 this histogram analysis removes the effects of strong return
             cycle.                                                                laser signals having great differences in signal intensity, pro-
                As indicated at Block C3 in FIG. 48, the AID conversion            duced when laser scanning targets with surface areas (i) hav-
             stage 1078 converts the amplified analog scan data signal,            ing specular-type reflection characteristics, and/or (ii) located
             including ilie first derivative signal, into corresponding digital    at different distances from the laser scanner, etc.
             scan data signals, including the digital raw intensity data 45            As indicated at Block C4A-3 in FIG. 4C, a cumulative
             signal f(t) and the digital first derivative data signal f(f),        histogram is calculated using the corresponding histogram by
             providing indications of the strength or magnitude in signal          counting the cumulative number of observed signal levels
             level transitions and other signal characteristics that might be      (i.e. observations on f(t)) in all of the bins up to the specified
             useful during decode processing, as well as during the syn-           bin, as illustrated in FIG. 58.
             chronized digital gain control process.                            50     As indicated at Block C48-1 in FIG. 4C, the current signal
                As indicated a Block C4 in FIG. 48, a discrete gain calcu-         level SP (or S(p )) corresponding to a percentage p (e.g. 60% or
             lation/estimation process is carried out at the beginning (i.e.       85%) of the whole cumulative histogram, observed over the
             start) of each scanning cycle (i.e. in response to detection of       selected time region, is calculated, as illustrated in FIG. 58.
             the SOS signal) using a two-step method, namely: performing               Then, as indicated at Block C4B-2 in FIG. 4C, a discrete
             a histogram analysis on the time-sampled digital intensity 55 gain value G(s,t) is calculated for the current scanning cycle,
             data signal f( t) indicated at Block C4A; and generating a            using the following formula: G(s,t)=S/SP where S, is the
             discrete gain value G(s,t) for the amplification stage of the         target signal level, and SP is the current signal level corre-
             photo-collection and detet.1ion module 6, as indicated at             sponding to a percentage P (e.g. 600/o or 85%) of the whole
             Block C48. In general, the discrete gain signal G(s, t) is a          cumulative histogram.
             function of the signal strength (e.g. intensity or amplitude), 60         In general, the target signal level S, is the signal level at
             and timing window, t. The signal strength could be, but is not        which system performance is optimized, and is set prior to
             limited to, the first derivative signal, raw digital scan data        system operation. Typically, this value is determined from
             signal, etc. The timing window I is generated by the SOS/BOS          experimentation, and while it will be dependent upon the
             detector which can be implemented in different ways depend-           stage at which SDGC is applied, this target value should
             ing on the type of laser scanning system used. This ensures 65 remain constant during a long period of operation of the
             that gain change occurs only during the synchronized time             system. Such experimentation will typically take place during
             window (i.e. when the gate timing signal does to a logical            system design, but may be carried out during a diagnostic




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             procedure during which S, is determined experimentally, and         pro1--essor and associated memory architecture, and both
             then programmed into the SDGC module prior to system                modules receive SOS and BOS timing signals from the SOS/
             operation. Notably, the units of measure ofS, will depend on        BOS detector 127 which can be realized using Hall-effect
             the signal processing stage where SDGC is applied. However,         sensor and one or more permanent magnets embedded in the
             regardless of whether SGDC is applied to the preamplifier 5 scanner rotor, or other techniques well known in the art.
             stage in the photo-collection and detection module, or deriva-          As shown in FIG. 6A, the photo-collection and photo-
             tive or other amplification stages in the analog signal process-    detection module 106 includes at least a photo-detection
             ing/digitizing module, the S, value typically will be chosen as     stage 106A and an amplification stage 106B. Also, the analog
             a percentage of the maximum possible signal swing that such         scan data signal processor/digitizer 107 includes a differen-
             signal amplification/gain circuitry can operate, without going 10 tiation stage 107A with digitally-controlled pre-amplification
             into a state of saturation or otheiwise generating undesired        determined by its gain setting, and an A/D conversion stage
             non-linear signal distortion due to excessive swings in volt-       107B for AID signalconversion.As shown, the differentiation
             ages that maintain the operation of the amplification circuitry.    stage 107A periodically receives a discrete gain change signal
                As indicah..>d in the SDGC process of FIG. 4B, the discrete      (i.e. digital control data) !iG(S, t) from the microprocessor-
             gain value G(s, t) calculated in Block C4 is provided to Block 1s implemented SDGC module 109. The rate at which the mod-
             CS, where a synchronized gain change value !iG(s, t) is com-        nle 107 receives discrete gain control updates !iG(S, t)
             puted, for the current time window (i.e. laser beam scanning        depends on the frequency of the laser scanning mechanism
             cycle), determined by time window block C6, driven by SOS/          (e.g. flipper mechanism, rotating polygon, etc). The SDGC
             BOS signal generation block C7, as described above. The             module 109 updates the gain of the differentiation stage once
             synchronized discrete gain change value !iG(s,t) (i.e. a digital 20 every laser beam scanning cycle, using the synchronized digi-
             numerical value) is then transmitted to the digitally-con-          tal gain control (SDGC) process of FIGS. 7B and 7C, which
             trolled analog amplification stage at Block C2, to instantly        is called during the main control process shown in FIG. 7A,
             change the gain of this stage to a new gain value determined        carried out in the laser scanning bar code symbol reading
             by the synchronized discrete gain change value !iG(s,t). Thus,      system 1 shown in FIG. 1, to be described herein below.
             by selecting the target signal level S, at an optimum value of 25       In response to a triggering event (i.e. manually pulling
             system operation, the SDGC module automatically computes            trigger 104 to its first position), the system controller 150
             and applies the synchronized discrete gain change value             enables subsystem 219 to generate and project a cone-like
             !iG(s, t), during each scanning cycle (i.e. time window) so         visible aiming beam 221 within the laser scanning field 115 of
             that the output signal k'Vel from the digitally-controlled ana-     the system. After the aiming beam 221 is aligned with the bar
             log amplification stage closely approaches the target signal 30 code symbol to be scanned, the user pulls the trigger switch
             level S, and system performance is optimized.                       104 to its second position. In response, tl1e system controller
                Having described the operation of the SDGC process dur-          150 enables the laser scanning module 105 to generate and
             ing each scanning cycle, it now will be helpful to refer to         project a laser scanning beam through the light transmission
             FIGS. 3B through 3D and describe how an analog scan data            window 103, and across the laser scanning field external to
             signal is processed by a stage of signal processing circuitry 35 the hand-supportable housing, for scanning an object in the
             having its gain controlled by the SDGC module 109 over              scanning field. The laser scanning beam is generated by laser
             three consecutive time windows (i.e. scanning cycles).              beam source 112 in response to control signals generated by
                As shown in FIGS. 3B, 3C and 3D, during the first (initial)      the system controller 150. The scanning element (i.e. mecha-
             scanning cycle, scan line N-1 is generated and associated           nism) 134 begins to repeatedly scan the selected laser beam
             scan data collected. As shown, the SOS signal is logically low, 40 across a code symbol residing on an object in the laser scan-
             the gain is maintained at a first constant level, and the scan      ning field 115. Then, the light collection optics 106 collects
             data signal f(t) (or f'(t)) is amplified by the first gain fovel.   light reflected/scattered from scanned code symbols on the
                During the second scanning cycle, scan line N is generated       object in the scanning field, and the photo-detector (106)
             and associated scan data collected. As shown, the SOS signal        automatically detects the intensity of collected light (i.e. pho-
             transitions from a logically low to logically high value (indi- 45 tonic energy) and generates an analog scan data signal (i.e.
             eating a new scanning cycle), the gain is increased at a second     bar code pattern signal) corresponding to the light intensity
             constant level, and the scan data signal f(t) (or f'(t)) is ampli-  detected during scanning operations. The differentiation
             fied by the second gain level.                                      stage 107A and filtering stage 107C process the analog scan
                Then, during the third scanning cycle, scan line N+ 1 is         data signals, and the AID conversion module 107B converts
             generated and associated scan data collected. As shown, the 50 fue processed analog scan data signals into digitized data
             SOS signal transitions from a logically low to logically high       signals, including digital raw intensity signal f(t) and fue first
             value (indicating a new scanning cycle), the gain is main-          digital derivative data signal f'(t). While both the digital raw
             tained constant at the second gain level, and the scan data         intensity signal f(t) and the derivative first derivative signal
             signal f(t) (or f'(t)) is amplified by the same second gain level.  f'(t) are typically transmitted to the progrannned decode pro-
                Thereafter, the SDGC process repeats itself automatically, 55 cessor 108 for use during decode processing, only the digital
             each and every scanning cycle, in a manner transparent to the       first derivative data signal f(t) is transmitted to the SDGC
             system user, to maintain the intensity of processed analog          module 109 in this illustrative embodiment. In other illustra-
             scan data signals relatively constant before conversion into        tive embodiments, whereas, both the digital raw intensity
             corresponding digital data signals.                                 signal f(t) and the digital first derivative data signal f(t) can be
             Specification of the Second Illustrative Embodiment of the 60 transmitted to the SDGC module 109 for use in generating
             Synchronized Digital Gain Control (SDGC) Process of the             gain control data signals.
             Present Disclosure                                                      The SOS/BOS detector 127 generates a SOS signal upon
                FIG. 6A describes a second illustrative embodiment of a          detecting the start of the first and each subsequent laser beam
             synchronized digital gain control (SDGC) subsystem and              scanning cycle, and these SOS signals are transmitted to the
             process supported in the laser scanning bar code symbol 65 SDGC module 109 and the programmed decode processor
             reading system ofFIG.1. As shown, the decode processor 108          108. The SDGC module 109 uses the SOS signal from detec-
             and SDGC module 109 are realized by a programmed micro-             tor 127 and the digital derivative data signal f(t) from pro-




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             cessor/digitizer 107 to generate digital control data signals for   then the system controller 150 proceeds to Block Hand sends
             transmission to the digitally-controlled analog signal differ-      a Failure to Decode notification to the operator, and returns to
             entiation stage 107A within the analog scan data signal pro-        Block A, as shown.
             cessor/digitizer 107, to control the gain thereof, during a         Specification of Synchronized Digital Gain Control Process
             corresponding scanning cycle, in accordance with the prin-        5 Carried Out In the Second Illustrative Embodiment
             ciples of the present disclosure, to be described in greater           FIG. 7B describes the steps carried out during the S)'nchro-
             detail herein. This process is repeated each cycle to control       nized digital gain control (SDGC) process of FIG. 3, which is
             the gain of the digitally-controlled differentiation stage 107A     automatically and transparently called at Block C in the sys-

             ~s:~:!:::i:;a!:~~~~~!!~~:gr=::i~~~~::~~
             cessor 108 decode processes digitized data signals, and gen-
                                                                                 tem control process described in FIG. 7A, at the beghming of
                                                                              10 each scanning cycle.
                                                                                    As indicated at Block Cl in FIG. 7B, the first step of the
             erates symbol character data representative of e<ach bar code       SDGC process begins at photo-detection stage (i.e. photo-
             symbol scanned by the laser scanning beam. Symbol charac-           detector) where collected return laser light is detected by the
             ter data corresponding to the bar codes read by the decoder 15 photo-detector and a corresponding analog scan data signal or
             108 is then transmitted to the host system via the 1/0 com-         analog barcode pattern signal is generated.
             munication interface 140 which may support either a wired              As indicated at Block C2 in FIG. 7B, the amplification
             and/or wireless communication link, well known in the art.          stage amplifies the analog scan data signal, by the gain value
             During laser scanning operations, the system controller 150         determined by the SDGC module 109 during each scanning
             automatically generates the necessary control signals for con- 20 cycle.
             trolling operations within the hand-supportable laser scan-            As indicated at Block C3 in FIG. 7B, the AID conversion
             ning bar code symbol reading system.                                stage 107B converts the amplified analog scan data signal,
                Referring to FIG. 7A, a method will now be described for         including the first derivative signal, into corresponding digital
             reading bar code symbols using the laser scanning bar code          scan data signals, including the digital raw intensity data
             reader 100, wherein the gain of the differentiation stage in the 25 signal f(t), and the digital first derivative data signal f'(t)
             analog scan data signal processor/digitizer 107, is automati-       providing indications of the strength or magnitude in signal
             cally controlled in a synchronized manner, as the analog scan       level transitions and other signal characteristics that might be
             data signal is collected and processed, and digitized scan data     usefol during decode processing, as well as during the syn-
             is generated and processed by the SDGC module 109 during            chronized digital gain control process.
             each laser beam scanning cycle.                                  30    As indicated a Block C4 in FIG. 7B, a discrete gain calcu-
                As indicated in FIG. 7A, the process orchestrated by sys-
                                                                                 lation/estimation process is carried out at the beginning (i.e.
             tem controller 150 begins at the START Block. 1ben at Block
                                                                                 start) of each scanning cycle (i.e. in response to detection of
             A, the system controller 150 determines if a trigger event has
             occurred (i.e. whether or not trigger 104 has been manually         the SOS signal) using a two-step method, namely: performing
             depressed by the operator upon seeing an object in the laser 35 a histogram analysis on the time-sampled digital first deriva-
             scanning field and pointing the head portion of the housing         tive data signal f'(t) indicated at Block C4A; and generating a
             towards the object). When the trigger event is detected at          discrete gain value G(s,t) forthe differentiation stage 107 Aof
             Block A, the system controller 150 enables, at Block B, the         the processor/digitizer module 107, as indicated at Block
             laser scanning module 105 (including the laser VLI) 112,            C4B. In general, the discrete gain signal G(s, t) is a function
             scanning mechanism and associated electronics and photo- 40 of the signal strength (e.g. intensity or amplitude), and timing
             electronics) to scan the object with a laser scanning beam          window, t. The signal strength could be provided by the
             generated by the VLD 112, and collect and bufler a pair of          digital first derivative signal f'(t) as in FIG. 6A, the digital raw
             lines of scan data in buffers 160, representative of collected      intensity data signal f(t) as in FIG. 3A, or a combination
             scan data from the laser scanned object during both laser           thereof in an alternative embodiment. The timing window tis
             scanning directions.                                             45 generated by the SOS/EOS detector which can be imple-
                As shown in FIG. 7A, at Block C, the SDGC process of the         mented in different ways depending on the type of laser
             present disclosure is carried out in an automatic manner,           scanning system used. This ensures that gain change occurs
             during each laser scanning cycle, to control the gain of the        only during the synchronized time window (i.e. when the gate
             signal differentiation stage 107A of the analog scan data           timing signal does to a logical high value) so that the signal
             signal processor/digitizer module 107, at the beginning of 50 has constant gain during each scanning cycle (i.e. laser beam
             each laser scanning cycle, and this value is stored and used        sweep).
             only for this laser scanning cycle, and will be updated during         In FIG. 7C, the digital gain calculation/estimation process
             the beginning of the next scanning cycle, as will be described      of the preferred embodiment is described in greater detail, as
             in detail below with reference to FIGS. 7A.                         comprising the following steps: at Block C4A-1, selecting a
                As indicated at Block Din FIG. 4A, the decode processor 55 time region over which the sampled digital first derivative
             108 runs a decode algorithm on the captured lines of scan data      data signal f'(t) is to be analyzed (e.g. from t1 to tO); at Block
             buffered in the scan line data bufler 160. If at Block E, a bar     C4A-2, generate a histogram based on the region of the
             code symbol is decoded, then at Block F, the produced sym-          sampled digital first derivative data signal f'(t) selected in
             bol character data is transmitted to the host system, and the       Block C4A-1; at Block C4A-3, calculating a cumulative his-
             system controller returns to Block A.                            60 togram based on the histogram generated in Block C4A-2; at
                If, however, at Block E in FIG. 7A a bar code symbol is not      Block C4B-1, calculating the current signal level S(p) as p
             decoded, then the system controller 150 determines at Block         (e.g. 60% or 85%) of the whole cumulative histogram inten-
             G whether or not the maximum scan attempt threshold has             sity value; and at Block C4B-2, calculating the discrete gain
             been reached, and if not, then the system controller 150            value G(s,t), for the current scanning cycle, using the follow-
             returns to Block B, and resumes the flow as indicated. How- 65 ing formula: G(s,t)=S/SP where S, is the target signal level,
             ever, if at Block G, the system controller 150 determines that      and SP is the current signal level corresponding top (e.g. 60%
             the maximum scan attempt threshold has been accomplished,           or 85%) of the whole cumulative histogram intensity. This




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             process has been described in great technical detail above         the system. After the aiming beam 221 is aligned with the bar
             with reference to FIGS. SA and SB, and will not be repeated        code symbol to be scanned, the user pulls the trigger switch
             to avoid redundancy.                                               104 to its second position. In response, tlie system controller
                As indicated in the SDGC process of FIG. 7B, the discrete       150 enables the laser scanning module 105 to generate and
             gain value G(s, t) calculated in Block C4 is provided to Block     project a laser scanning beam through the light transmission
             CS, where a synchronized gain change value AG(s, t) is com-        window 103, and across the laser scanning field external to
             puted, for the current time window (i.e. laser beam scanning       the hand-supportable housing, for scanning an object in the
             cycle), determined by time window block C6, driven by SOS/         scanning field. The laser scanning beam is generated by laser
             BOS signal generation block C7, as described above. The
             synchronized discrete gain change value AG(s,t) (i.e. a digital 10
             numerical value) is then transmitted to the digitally-con-
                                                                                 :::::::o~~o~;~f~.~:~:a:! ~l~i:!::i~:.r::~h~
                                                                                nism) 134 begins to repeatedly scan the selected laser beam
             trolled analog amplification stage at Block C2, to instantly
                                                                                across a code symbol residing on an object in the laser scan-
             change the gain of this stage to a new gain value determined
             by the synchronized discrete gain change value AG( s,t). Thus,     ning field 115. Then, the light collection optics 106 collects
             by selecting the target signal level S, at an optimum value of 15 light reflected/scattered from scanned code symbols on tlie
             system operation, the SDGC module automatically computes           object in the scanning field, and tlie photo-detector in tlie
             and applies the synchronized discrete gain change value            photo-detection stage 106A automatically detects the inten-
             AG(s, t), during each scanning cycle (i.e. time window) so         sity of collected light (i.e. photonic energy) and pre-amplifi-
             that the output signal level from the digitally-controlled ana-    cation stage 1068 generates an analog scan data signal (i.e.
             log amplification stage closely approaches the target signal 20 bar code pattern signal) corresponding to the light intensity
             level S, and system performance is optimized.                      detected during scanning operations. The differentiation
                The SDGC process describes above operates in a manner           stage 107A and filtering stage 107C process the analog scan
             similar to that described in connection with the first illustra-   data signals, and the AID conversion module 107B converts
             tive embodiment, and illustrated in FIGS. 3B through 3D.           the processed analog scan data signals into digitized data
                This SDGC process repeats itself automatically, each and 25 signals, including the digital raw intensity data signal f(t) and
             every scanning cycle, in a manner transparent to the system        the digital first derivative data signal f(t). While both tlie
             user, to maintain the intensity of processed analog scan data      digital raw intensity data signal f(t) and the first derivative
             signals relatively constant before conversion into correspond-     data signals f(t) are transmitted to the progrannned decode
             ing digital data signals.                                          processor 108 for use in decode processing, only the digital
             Specification of the Third Illustrative Embodiment of the 30 first derivative data signal f(t) is transmitted to the SDGC
             Synchronized Digital Gain Control (SDGC) Process of the            module 109 for processing. In other alternative embodiments,
             Present Disclosure                                                 however, both the digital raw intensity signal f(t) and tlie first
                FIG. SA describes a third illustrative embodiment of a          derivative data signal f(t) can be transmitted to tlie SDGC
             synchronized digital gain control (SDGC) subsystem and             module 109 for use in generating gain control data signals.
             process supported in the laser scanning bar code symbol 35            The SOS/BOS detector 127 generates a SOS signal upon
             reading system of FIG. 1. As shown, the programmed decode          detecting the start of the first and each subsequent laser beam
             processor module 108 and SDGC module 109 are realized by           scanning cycle, and these SOS signals are transmitted to the
             a programmed 1nicroprocessor and associated memory archi-          SDGC module 109 and the programmed decode processor
             tecture, and both modules receive SOS and BOS timing sig-          108. The SDGC module 109 uses the SOS signal from detec-
             nals from the SOS/BOS detector 127 which can be realized 40 tor 127 and digital data signal from processor/digitizer 107 to
             using Hall-effect sensor and one or more permanent magnets         generate digital control data signals for transmission to tlie
             embedded in the scanner rotor, or other techniques well            digitally-controlled analog signal filtering stage within the
             known in the art.                                                  analog scan data signal processor/digitizer 107, to control the
                As shown in FIG. SA, the photo-collection and photo-            gain tliereof; during a corresponding scanning cycle, in accor-
             detection module 106 includes at least a photo-detection 45 dance with the principles of the present disclosure, to be
             stage 106Aandanamplification stage 106B.Also, the analog           described in greater detail herein. This process is repeated
             scan data signal processor/digitizer 107 includes a differen-      each cycle to control tl1e gain of the filtering stage in proces-
             tiation stage 107A, a filtering stage 107C with digitally-con-     sor/digitizer 107. Also, tlie programmed decode processor
             trolled pre-amplification characterized by its gain setting, and   108 decode processes digitized data signals, and generates
             anA/D signal conversion stage 107B. As shown, the filtering 50 symbol character data representative of each bar code symbol
             stage 107C periodically receives a discrete gain change signal     scanned by tlie laser scanning beam. Symbol character data
             (i.e. digital control data) AG(S, t) from the microprocessor-      corresponding to tlie bar codes read by the decoder 108 is tllen
             implemented SDGC module 109. The rate at which the mod-            transmitted to tile host system via the l/0 communication
             ule 107 receives discrete gain control AG(S, t) updates            interface 140 which may support either a wired and/or wire-
             depends on the frequency of the laser scanning mechanism 55 less communication link, well known in tlie art. During laser
             (e.g. flipper mechanism, rotating polygon, etc). The SDGC          scanning operations, the system controller 150 automatically
             module 109 updates the gain of the differentiation stage once      generates the necessary control signals for controlling opera-
             every laser beam scanning cycle, using the synchronized digi-      tions wifuin tlie hand-supportable laser scanning bar code
             tal gain control (SDGC) process of FIGS. 98 and 9C. The            symbol reading system.
             SDGC process is called during the main control process 60             Referring to FIG. 9A, a method will now be described for
             shown in FIG. 9A, which is carried out in the laser scanning       reading bar code symbols using tile laser scanning bar code
             bar code symbol reading system 1 shown in FIG. 1, to be            reader 100, wherein the gain of an analog signal filtering in
             described herein below.                                            the analog scan data signal processor/digitizer 107, is auto-
                In response to a triggering event (i.e. manually pulling        matically controlled in a synchronized manner, as the analog
             trigger 104 to its first position), the system controller 150 65 scan data signal is collected and processed, and digitized scan
             enables subsystem 219 to generate and project a cone-like          data is generated and processed by the SDGC module 109
             visible aiming beam 221 within the laser scanning field 115 of     during each laser beam scanning cycle.




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                As indicated in FIG. 9A, the process orchestrated by sys-        start) of each scanning cycle (i.e. in response to detection of
             tem controller 150 begins at the START Block. Then at Block         the SOS signal) using a two-step method, namely: performing
             A, the system controller 150 determines if a trigger event has      a histogram analysis on the time-sampled digital first deriva-
             occurred (i.e. whether or not trigger 104 has been manually         tive data signal f(t) indicated at Block C4A; and generating a
             depressed by the operator upon seeing an object in the laser 5 discrete gain value G(s,t) for the amplification stage of the
             scanning field and pointing the head portion of the housing         photo-collection and detection module 6, as indicated at
             towards the object). When the trigger event is detected at          Block C4B. In general, the discrete gain signal G(s, t) is a
             Block A, the system controller 150 enables, at Block B, the         function of the signal strength (e.g. intensity or amplitude),
             laser scanning module 105 (including the laser VLI) 112,
                                                                                 and timing window, [tl, 12]. The signal strength could be
             scanning mechanism and associated electronics and photo- 10
                                                                                 provided by the digital first derivative signal f(t) as in FIGS.
             electronics) to scan the object with a laser scanning beani
                                                                                 SA (and FIG. 6A), the digital raw intensity data signal f{t) as
             generated by the VLD 112, and collect and buffer a pair of
                                                                                 in FIG. 3A, ora combination thereofin an alternative embodi-
             lines of scan data in buffers 160, representative of collected
             scan data from the laser scanned object during both laser           ment. The timing window t is generated by the SOS/BOS
             scanning directions.                                             15 detector which can be implemented in different ways depend-
                As shown in FIG. 9A, at Block C, the SDGC process of the         ing on the type of laser scanning system used. The timing
             present disclosure is carried out in an automatic manner,           window [tl, t2] is generated by the SOS/EOS detector which
             during each laser scanning cycle, to control the gain of the        can be implemented in different ways depending on the type
             amplification stage of the light collection and detection mod-      of laser scanning system used. This ensures that gain change
             ule 106, at the beginning ofeach laser scanning cycle, and this 20 occurs only during the synchronized time window (i.e. when
             value is stored and used only for this laser scanning cycle, and    the gate timing signal does to a logical high value) so that the
             will be updated during the beginning of the next scanning           signal has constant gain during each scanning cycle (i.e. laser
             cycle, as will be described in detail below with reference to       beam sweep).
             FIGS. 9A.                                                              In FIG. 9C, the digital gain calculation/estimation process
                As indicated at Block Din FIG. 9A, the decode processor 25 of the preferred embodiment is described in greater detail, as
             108 runs a decode algorithm on the captured lines of scan data      comprising the following steps: at Block C4A-1, selecting a
             buffered in the scan line data buffer 160. If at Block E, a bar     time region over which the sampled digital first derivative
             code symbol is decoded, then at Block F, the produced sym-          data signal f(t) is to be analyzed (e.g. from tl to t0); at Block
             bol character data is transmitted to the host system, and the       C4A-2, generate a histogram based on the region of the
             system controller returns to Block A.                            30 sampled digital scan data signal selected in Block C4A-1; at
                If, however, at Block E in FIG. 9A a bar code symbol is not
                                                                                 Block C4A-3, calculating a cumulative histogram based on
             decoded, then the system controller 150 determines at Block
                                                                                 the histogram generated in Block C4A-2; at Block C4B-1,
             G whether or not the maximum scan attempt threshold has
                                                                                 calculating the current signal level S(p) corresponding to the
             been reached, and if not, then the system controller 150
             returns to Block B, and resumes the flow as indicated. How- 35 frequency of the signal level, p, observed over the selected
             ever, if at Block G, the system controller 150 determines that      time region (e.g. 60% or 85%) of the whole cumulative his-
             the maximum scan attempt threshold has been accomplished,           togram intensity value; and at Block C4B-2, calculating the
             then the system controller 150 proceeds to Block Hand sends         discrete gain value G(s,t), for the current scanning cycle,
             a Failure to Decode notification to the operator, and returns to    using the following formula: G(s,t)=S/SP where S, is the
             Block A, as shown.                                               40 target signal level, and SP is the current signal level corre-
             Specification of Synchronized Digital Gain Control Process          sponding top (e.g. 60% or 85%) of the whole cumulative
             of the Third Illustrative Embodiment                                histogram intensity. This process has been described in great
                FIG. 9B describes the steps carried out during the synchro-      technical detail above with reference to FIGS. SA and SB, and
             nized digital gain control (SDGC) process of FIG. 8, which is       will not be repeated to avoid redundancy.
             automatically and transparently called at Block C in tl1e sys- 45      As indicated in the SDGC process of FIG. 9B, the discrete
             tern control process described in FIG. 9A, at the beginning of      gain value G(s, t) calculated in Block C4 is provided to Block
             each scanning cycle.                                                CS, where a synchronized gain change value dG(s, t) is com-
                As indicated at Block Cl in FIG. 9B, the first step of the       puted, for the current time window (i.e. laser beam scanning
             SDGC process begins at photo-det<.,>ction stage (i.e. photo-        cycle), determined by time window block C6, driven by SOS/
             detector) where collected return laser light is detected by the 50 EOS signal generation block C7, as described above. The
             photo-detector and a corresponding analog scan data signal or       synchronized discrete gain change value dG(s,t) (i.e. a digital
             analog barcode pattern signal is generated.                         numerical value) is then transmitted to the digitally-con-
                As indicated at Block C2 in FIG. 9B, the amplification           trolled analog amplification stage at Block C2, to instantly
             stage amplifies the analog scan data signal, by the gain value      change the gain of this stage to a new gain value determined
             determined by the SDGC module 109 during each scanning 55 by the synchronized discrete gain change value dG( s, t). Thus,
             cycle.                                                              by selecting the target signal level S, at an optimum value of
                As indicated at Block C3 in FIG. 9B, the AID conversion          system operation, the SDGC module automatically computes
             stage converts the amplified analog scan data signal into a         and applies the synchronized discrete gain change value
             digital scan data signal, and then into time-sampled digital        dG(s, t), during each scanning cycle (i.e. time window) so
             first derivative data signal f(t) (i.e. comprising digital words 60 that the output signal level from the digitally-controlled ana-
             or values) representative or indicative of the strength or mag-     log amplification stage closely approaches the target signal
             nitude in signal level transitions (e.g. first derivative mea-      level S, and system performance is optimized.
             sures), and other signal charac.,1eristics that might be useful        The SDGC process describes above operates in a manner
             during decode processing, as well as the synchronized digital       similar to that described in connection with the first illustra-
             gain control process.                                            65 tive embodiment, and illustmted in FIGS. 3B through 3D.
                As indicated a Block C4 in FIG. 9B, a discrete gain calcu-          This SDGC process repeats itself automatically, each and
             lation/estimation process is carried out at the beginning (i.e.     every scanning cycle, in a manner transparent to the system




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             user, to maintain the intensity of processed analog scan data              erating a start of scan (SOS) signal in response to the
             signals relatively constant before conversion into correspond-             detection of the start of each scanning cycle;
             ing digital data signals.                                               a photo-detector for detecting the intensity of light
             Some Modifications Which Readily Come To Mind                              reflected from the laser scanning field and generating a
                While synchronized digital gain control (SDGC) module                   first signal corresponding to the detected light intensity;
             of the present disclosure has been shown implemented inside             a signal processor having an amplification stage for ampli-
             the progrannned decode processor, it is understood that this               fying the first signal followed by a processing stage for
             module could be implemented in oilier locations, wherever                  processing 1he first signal and converting the processed
             digital signal processing is supported.                                    first signal into a second signal;
                As disclosed, the digitized data processed by the SDGC 10            a gain control module for, during each scanning cycle,
             module can be digital raw intensity data and/or digital first              controlling fue gain of the processing stage within the
             derivative data. However, it may also be digital absolute value            signal processor using fue SOS signal generated by the
             first derivative data, any other combination of 1he three dif-             scan line detector and fue second signal generated by the
             ferent types of digital data.                                              signal processor; and
                Also, it is understood that histogram generated by the 15            a decode processor for processing fue second signal and
             SDGC module can be analyzed on a whole scan line data or a                 generating data representative ofindicia in the scanning
             specific region thereof, and the histogram can be formed with              field;
             sub-sampling or without sub-sampling.                                   wherein, in response to the SOS signal during each scan-
                While the illustrative embodiments disclose the use of a 1D             ning cycle, fue gain control module processes fue second
             laser scanning module to detect scan bar code symbols on 20                signal, calculates a histogram from the second signal,
             objects, it is understood that a 2D or raster-type laser scanning          calculates a cumulative histogram from the calculated
             module can be used as well, to scan 1D bar code symbols, 2D                histogram, calculates a discrete gain for fue scanning
             stacked linear bar code symbols, and 2D matrix code sym-                   cycle from the cumulative histogram, calculates a dis-
             bols, and generate scan data signals for decoding processing.              crete gain change from the discrete gain, and transmits
                While various optical code symbol reading systems have 25               fue discrete gain change as tlie digital control signal for
             been illustrated, it is understood that these laser scanning               the scanning cycle to the signal processor.
             systems can be packaged in modular compact housings and                 2. The indicia reading system of claim 1, wherein:
             mounted in fixed application environments, such as on                   in response to tlie SOS signal during each scanning cycle,
             counter-top surfaces, on wall surfaces, and on transportable               1he gain control module processes the second signal,
             machines such as forklifts, where there is a need to scan code 30          generates a digital control signal, and transmits the digi-
             symbols on objects (e.g. boxes) that might be located any-                 tal control signal to the signal processor; and
             where within a large scanning range (e.g. up to 20+ feet away           the signal processor's processing stage uses the digital
             from the scanning system). In such fixed mounted applica-                  control signal to control the gain of the first signal during
             tions, the trigger signal can be generated by manual switches              each scanning cycle.
             located at a remote location (e.g. within the forklift cab near 35      3. The indicia reading system of claim 1, comprising at
             the driver) or anywhere not located on the housing of the            least one light collection optic element for collecting light
             system, as well as by automatically by IR or LED-based               reflected from the laser scanning field.
             object detection subsystems, or manually-actuated trigger               4. The indicia reading system of claim 1, wherein tlie
             switches, well known in the art.                                     histogram is calculated using sub-sampling.
                Also, the illustrative embodiments have been described in 40         5. The indicia reading system of claim 1, wherein the laser
             connection with various types of code symbol reading appli-          scanning module comprises a rotating polygon or an oscillat-
             cations involving 1-Dand2-Dbarcodestructures (e.g.1D bar             ing mechanism for scanning the laser beam across the laser
             code symbols, 2D stacked linear bar code symbols, and 2D             scanning field.
             matrix code symbols). However, the methods and apparatus                6. An indicia reading system, comprising:
             can be used to read (i.e. recognize) any machine-readable 45            a laser scanning module for scanning a laser beam across a
             indicia, dataform, or graphically-encoded form of intelli-                 laser scanning field in a scanning cycle;
             gence, including, but not limited to bar code symbol stmc-              a scan line detector for detecting a start of each scanning
             tures, alphanumeric character recognition strings, handwrit-               cycle performed by the laser scanning module and gen-
             ing, and diverse dataforms currently known in the art or to be             erating a start of scan (SOS) signal in response to the
             developed in the future. Hereinafter, the term "code symbol" 50            detection of fue start of each scanning cycle;
             shall be deemed to include all such information carrying                a photo-detector for detecting the intensity of light
             structures and other forms of graphically-encoded intelli-                 reflected from the laser scanning field and generating a
             gence.                                                                     first signal corresponding to the detected light intensity;
                It is understood that the digital-imaging based bar code             a signal processor having a processing stage for amplifying
             symbol reading system of the illustrative embodiments may 55               the first signal, processing the first signal, and converting
             be modified in a variety of ways which will become readily                 1he processed first signal into a second signal;
             apparent to those skilled in the art of having the benefit of 1he       a gain control module for, during each scanning cycle,
             novel teachings disclosed herein. All such modifications and               controlling the gain of the processing stage within the
             variations of the illustrative embodiments thereof shall be                signal processor using the SOS signal generated by the
             deemed to be within the scope of the Claims appendedhereto. 60             scan line detector and the second signal generated by the
                                                                                        signal processor; and
                The invention claimed is:                                            a decode processor for processing the second signal and
                1. An indicia reading system, comprising:                               generating data representative of indicia in the scanning
                a laser scanning module for scanning a laser beam across a              field;
                   laser scanning field in a scanning cycle;                   65    wherein, in response to the SOS signal during each scan-
                a scan line detector for detecting a start of each scanning             ning cycle, the gain control module processes the second
                   cycle perfom1ed by the laser scanning module and gen-                signal, calculates a histogram from the second signal,




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                                                                    US 8,752,766 B2
                                           21                                                                      22
                   calculates a cumulative histogram from the calculated             the signal processor's processing stage uses the digital
                   histogram, calculates a discrete gain for the scanning               control signal to control the gain of the first signal during
                   cycle from the cumulative histogram, calculates a dis-               each scamiing cycle.
                   crete gain change from the discrete gain, and transmits           13. The indicia reading system of claim 11, wherein the
                   the discrete gain change as the digital control signal for     histogram is calculated using sub-sampling.
                   the scanning cycle to the signal processor.                       14. The indicia reading system of clain111, wherein the
                7. The indicia reading system of claim 6, wherein the gain        laser scanning module comprises a rotating polygon or an
             control module comprises a programmed microprocessor.                oscillating mechanism for scanning the laser beam across the
                8. The indicia reading system of claim 6, comprising a            laser scanning field.
             hand-supportable housing or a fixed-mounted housing.              10
                                                                                     15. The indicia reading system of claim 11, wherein the
                9. The indicia reading system of claim 6, wherein the
                                                                                  laser scanning module comprises:
             second signal generated by the signal processor comprises the
                                                                                     a laser source;
             first signal's raw intensity data, first derivative data, and the
             absolute value of the first derivative data.                            a laser drive module for driving the laser source;
                10. The indicia reading system ofclaim 6 wherein the scan 15         a laser scanning mechanism for scamiing the laser beam
             line detector detects an end of each scannini cycle performed              across the laser scamiing field.
             by the laser scanning module and generates an end of scan               16.  The indicia reading system of claim 11 wherein the
                                                                                  gain control module comprises a progranimed ~icroproces-
             signal in response to the detection of the end of each scanning
             cycle.                                                               sor.
                11. An indicia reading system, comprising:                     20
                                                                                     17. The indicia reading system of claim 11, comprising a
                a laser scamiing module for scanning a laser beam across a        hand-supportable housing or a fixed-mounted housing.
                   laser scanning field in a scamiing cycle;                         18. The indicia reading system of claim 11, wherein the
                a scan line detector for detecting a start of each scanning       second signal generated by the signal processor comprises the
                   cycl_e performed by the laser scanning module and gen-         first signal's raw intensity data, first derivative data. and the
                   eratmg a start of scan (SOS) signal in response to the 25 absolute value of the first derivative data.                   •
                   detection of the start of each scamtlng cycle;                    19. The indicia reading system of claim 11, wherein the
                a photo-detector for detecting the intensity of light             scan line detector detects an end of each scanning cycle
                   reflected from the laser scamiing field and generating a       performed by the laser scamiing module and generates an end
                   ~rst signal corresponding to the detected light intensity;     of scan signal in response to the detection of the end of each
                a signal processor having a processing stage for processing 30 scanning cycle.
                   the first signal and converting the processed first signal        20. An indicia reading system, comprising:
                   into a second signal;                                             a laser scanning module for scanning a laser beam across a
                a gain control module for, during each scanning cycle,                  laser scanning field in a scamiing cycle;
                   controlling the gain of the processing stage within the           a scan line detector for detecting a start of each scanning
                   signal processor using the SOS signal generated by the 35            cycl_e performed by the laser scanning module and gen-
                   scan line detector and the second signal generated by the            eratmg     a start of scan (SOS) signal in response to the
                   signal processor; and                                                detection of the start of each scanning cycle;
                a decode processor for processing the second signal and              a photo-detector for detecting the intensity of light
                   generating data representative of indicia in the scanning            refl1.-'Cted from the laser scanning field and generating a
                   field;                                                      40
                                                                                        ~t signal corresponding to the detected light intensity;
                wherein, in response to the SOS signal during each scan-             a signal processor having a processing stage for processing
                   ning cycle, the gain control module processes the second             ~e first signal and converting the processed first signal
                   signal, calculates a histogram from the second signal,               mto a second signal comprising the first signal's raw
                   calculates a cumulative histogram from the calculated                intensity data, first derivative data, and the absolute
                   histogram, calculates a discrete gain for the scanning 45            value of the first derivative data;
                   cycle from the cumulative histogram, calculates a dis-            a gain control module for, during each scanning cycle,
                   crete gain change from the discrete gain, and transmits              controlling the gain of the processing stage within the
                   the discrete gain change as the digital control signal for           signal processor using the SOS signal generated by the
                   the scanning cycle to the signal processor.                          scan line detector and the second signal generated by the
                12. The indicia reading system of claim 11, wherein:           50
                                                                                        signal processor; and
                in respo~e to the SOS signal during each scamiing cycle,             a decode processor for processing the second signal and
                   the gam control module processes the second signal,                  generating data representative of indicia in the scanning
                   generates a digital control signal, and transmits the digi-          field.
                  tal control signal to the signal processor; and                                          *   *   *    *   *




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             c12)   United States Patent                                                      (IO) Patent No.:                      US 9,230,140 Bl
                    Ackley                                                                    (45) Date of Patent:                              Jan.5,2016

             (54)   SYSTEM AND METHOD FOR DETECTING                                        (56)                     References Cited
                    BARCODE PRINTING ERRORS
                                                                                                             U.S. PA:fENT DOCUMENTS
             (71)   Applicant: Hand Held Products, Inc., Fort Mill,
                                                                                                6,513,715 B2 * 2/2003 Heske, III ................ 235/462.25
                               SC (US)                                                          6,907,132 Bl• 6/2005 Salomon ....................... 382/101
                                                                                            2002/0060707 Al• 5/2002 Yu et al ........................... 347/19
             (72)   Inventor:     H. Sprague Ackley, Seattle, WA (US)                       2007/0115507 Al• 5/2007 Vladislav et al ............. 358/3.13
                                                                                            2010/0277534 Al• 11/2010 Carlson et al ................... 347/14
             (73)   Assignee: Hand Held Products, Inc., Fort Mill,                          2013/0241987 Al• 9/2013 Hatanaka ........................ 347/14
                              SC (US)
                                                                                           • cited by examiner
             ( *)   Notice:      Subject to any disclaimer, the term of this
                                                                                           Primary Examiner -- Christle I Marshall
                                 patent is extended or adjusted under 35
                                 U.S.C. 154(b) by 0 days.                                  (7 4) Attorney, Agent, or Firm -- Additon, Higgins &
                                                                                           Pendleton, P.A.
             (21)   Appl. No.: 14/596,757
                                                                                           (57)                        ABSTRACT
             (22)   Filed:        Jan.14,2015                                              Barcode verifiers automate the verification process by cap-
                                                                                           turing an image of the printed barcode and analyzing the
                              Related U.S. Application Data
                                                                                           image according to an industry specification. Industry speci-
             (60)   Provisional application No. 62/098,174, filed on Dec.                  fications (e.g., ISO/IEC 15416, 15415) identify common
                    30, 2014.                                                              printing errors and prescribe test methods for detecting and
                                                                                           quantifying these errors. Typically, these tests sample a bar-
             (51)   Int. Cl.                                                               code along one or more scan lines. Print errors that are parallel
                    G06K9/00                        (2006.01)                              to these scan lines may be missed by the test. The present
                    G06K5/02                        (2006.01)                              invention embraces a system and method to detect unprinted
             (52)   U.S. CI.                                                               lines in barcodes resulting from a printer malfunction and
                    CPC ........................................ G06K 5/02 (2013.01)       produce a printer malfunction report with information regard-
             (58)   Field of Classification Search                                         ing the quantity, position, and magnitude ofthese print errors.
                    USPC ................................ 235/375, 462.01; 347/19
                    See application file for complete search history.                                       20 Claims, 5 Drawing Sheets



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                      START                                                                                   ~

         30                                                                                                   a
                 CAPTURE IMAGE OF
                     BARCODE

         31
              LOCATE BARCODE WITHIN                                                                           ;..,i
                                                                                                              II=
                                                                                                                         Doc: 45-5




                      IMAGE
                                                                                                              :=
         32                                                                                                   Y'
              CREATE BOX TO SURROUND                                                                          N
                      BARCODE                                                                                 =
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                                                                          34
         33
                                         CONNECT UNPRINTED GAPS                                               r:,;i_
                                             TO FORM LINES
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                                                                  y   COUNT NUMBER OF LINES    36
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                                                                       FORMED AND MEASURE
                                                                      THICKNESS OF EACH LINE

                                                                                               37
                                                                        GENERATE PRINTER
                                                        N              MALFUNCTION REPORT
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                                                  END                                                         -c
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                                                FIG. 4
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                  SYSTEM AND METHOD FOR DETECTING                                  a barcode symbol is located in the stored image and an
                      BARCODE PRINTING ERRORS                                      unprinted line (or lines) in the barcode symbol is identified.
                                                                                   Using the unprinted line (or lines), a printer malfunction is
                          CROSS-REFERENCE TO RELATED                               determined, and finally, the processor executes the step of
                                       APPLICATION                                 creating the printer malfunction report.
                                                                                      In an exemplary embodiment of the barcode verifier, the
                The present application claims the benefit of U.S. Patent          step oflocating a barcode symbol in the stored image includes
             Application No. 62/098,174 for a System and Method for                creating a box surrounding the barcode symbol in the stored
             Detecting Barcode Printing Errors filed Dec. 30, 2014. The            image. The box includes a top edge and a bottom edge. For
             foregoing patent application is hereby incorporated by refer- 10 one-dimensional (lD) barcode symbologies, the top and bot-
             ence in its entirety.                                                 tom edges are lines formed from points located at the ends of
                                                                                   the bars. These lines are typically perpendicular to the bars.
                               FIELD OF THE INVENTION                              For two-dimensional (2D) symbologies, the top and bottom
                                                                                   lines are found in a similar fashion but use modules in the
                The present invention relates to barcode verifiers and more 15 barcode symbol rather than points at the ends of bars. In some
             specifically to a system and method for optically detecting a         symbologies, lines are included as part ofthe symbol (e.g., the
             barcode printing error and generating a printer malfunction           bottom edge of a data matrix) and may be used to help located
             report.                                                               the barcode symbol. Optionally a left and right edge of the
                                                                                   barcode symbol may be found and included as part of the box.
                                      BACKGROUND                                20    In another exemplary embodiment of the barcode verifier,
                                                                                   a box surrounding the barcode symbol in the stored image is
                When printing barcodes, it is important to insure that each        created. The box includes a top edge, a bottom edge, a left
             barcode can be read (i.e., scanned) by various barcode scan-          edge, and a right edge. 1be step of identifying an unprinted
             ners in a wide range of scanning environments. As a result,           line in the barcode symbol includes (i) detecting gaps in the
             industry standards for barcodes have been created to help 25 barcode symbol, (ii) connecting the detected gaps to form a
             insure that different scanners operating in different environ-        line, and (iii) identifying a line as an unprinted line if the line
             ments can read the same barcode.                                      is aligned within a reasonable percentage (e.g., 5 percent) of
                Barcode verifiers capture an image of a barcode and ana-           the top or bottom edge of the box.
             lyze the barcode symbol according to test methods prescribed             In another exemplary embodiment of the barcode verifier,
             by the industry standards. The barcode verifiers can report the 30 a box surrounding the barcode symbol in the stored image is
             results of these tests and can alert an operator of problems.         created, gaps in the barcode symbol are detected, and the step
                The tests often prescribe sampling a barcode symbol at             of determining a printer malfunction includes calculating the
             various locations in order to estimate a quality for the entire       thickness of the gaps relative to the length of an edge of the
             barcode symbol. For example a linear barcode, which has               box or relative to the smallest gap.
             dark, variable-width barcode bars aligned in parallel and 35             In another exemplary embodiment of the barcode verifier,
             spaced by light, variable-width barcode spaces, may be                a box surrounding the barcode symbol in the stored image is
             sampled along parallel lines transverse to the barcode bar/           created, an unprinted line (or lines) is identified, and the step
             spaces (i.e., along scan lines). Sampling the barcode in this         of determining a printer malfunction includes locating the
             way may cause the barcode verifier to miss certain printing           position of each unprinted line relative to the top or bottom
             errors that appear parallel to the scan lines. Printing errors of 40 edge of the box.
             this sort may be common to many barcode printers.                        In another exemplary embodiment of the barcode verifier,
                Barcode printers typically use print heads to print a bar-         the step of determining a printer malfunction using the
             code. The print heads in ink jet printers, dot matrix printers,       unprinted line (or lines) includes counting the number of
             and thermal printers have a linear array of print elements (i.e.,     unprinted lines.
             dots) to facilitate printing. Printed barcodes are printed dot- 45       In another exemplary embodiment of the barcode verifier,
             by-dot as paper is fed through the printer. When one print            the barcode verifier includes a graphical user interface for
             element becomes inoperative (e.g., clogged, stuck, burned-            displaying information to a user. The graphical user interface
             out, etc.) an unprinted line (i.e., gap) may appear in the printed    is communicatively coupled to the processor and configured
             barcode symbol. Since these unprinted lines are formed par-           by the processor to display the printer malfunction report.
             allel to the test sampling lines (i.e., along the scan line direc- so    In another exemplary embodiment of the barcode verifier,
             tion), they may go unnoticed.                                         the printer malfunction report is stored to the memory.
                Therefore, a need exists for barcode verifier that can detect         In another exemplary embodiment of the barcode verifier,
             an unprinted line (or lines) ina barcode symbol along the scan        the printer malfunction report includes (i) a printer malfunc-
             line direction and generate a printer malfunction report.             tion alert, (ii) an unprinted-line quantity, (iii) the thickness of
                                                                                55 each unprinted line, and (iv) the location of each unprinted
                                         SUMMARY                                   line.
                                                                                      In another aspect, the present invention embraces a method
                Accordingly, in one aspect, the present invention embraces         for generating a printer malfunction report from a barcode
             a barcode verifier. The barcode verifier includes an imaging          image. 1be method includes the step of using an optical
             module for capturing images of a field of view. The barcode 60 device to capture an image of a barcode, having a plurality of
             verifier also includes a memory that is communicatively               barcode bars. Next, the method includes the steps oflocating
             coupled to the imaging module. The memory stores images               the barcode within the image and creating a box to surround
             and a barcode quality verification program. A processor is            the located barcode. The box created has (i) a top 1.-'C!ge that is
             communicatively coupled to the memory and configured by               perpendicular to the barcode bars and aligned with the top of
             the barcode quality verification program to create a printer 65 the barcode bars, and (ii) a bottom edge that is perpendicular
             malfunction report by executing a series of ordered steps. The        to the barcode bars and aligned with the bottom ofthe barcode
             first step is retrieving a stored image from the memory. Next,        bars. After the box is created, the method includes the step of




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             detecting unprinted gaps, indicative of a printer malfunction,       seventh step is creating a printer malfunction r1.,-port. The
             along each barcode bar. If possible, the edges ofthe unprinted       printer malfunction report includes the printer malfunction
             gaps are connected to form lines that are substantially parallel     and the printer identity.
             to the top or bottom edge of the box. Each line is formed with          The foregoing illustrative summary, as well as other exem-
             a thickness to fill the corresponding gaps. Next, the method         plary objectives and/or advantages of the invention, and the
             includes the steps of counting the nun1ber of lines formed,          manner in which the same are accomplished, are further
             measuring the thickness of each line, and locating each line         explained within the following detailed description and its
             with respect to a box edge. If at least one line is formed, then     accompanying drawings.

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             thickness of each line, and the location of each line with
                                                                              10        BRIEF DESCRIPTION OF THE DRAWINGS

                                                                                    FIG. la graphically depicts an exemplary barcode symbol
             respt,>ct to a box edge.
                                                                                 and exemplary scan lines.
                In an exemplary embodiment of the method, a line is con-
                                                                                    FIG. lb graphically depicts exemplary scan lines and an
             sidered substantially parallel to the top or bottom edge of the 15 exemplary barcode symbol having unprinted gaps in the bar-
             box when the angle between the line and either the top or the       code bars due to a printer malfunction.
             bottom edge of the box is less than five degrees.                      FIG. 2 schematically depicts a block diagram ofa barcode
                In another exemplary embodiment of the method, the               verifier according to an embodiment of the present invention.
             thickness of each line is measured in printer dot size.                FIG. 3 graphically depicts an exemplary barcode symbol
                In another exemplary embodiment of the method, the 20 having unprinted gaps as well as the box and lines used in the
             printer malfunction report includes a calculation of the num-       creation of printer malfunction report.
             ber of adjacent print head elements that are malfunctioning            FIG. 4 schematically depicts a flowchart of an exemplary
             based on the thickness of each line.                                method for determining a printer malfunction from a barcode
                In another exemplary embodiment of the method, the               image.
             printer malfunction report includes guidance for repairing the 25      FIG. 5. graphically depicts an exemplary label with a user-
             malfunction.                                                        data barcode symbol and a printer-ID barcode symbol.
                In another exemplary embodiment of the method, the
             printer malfunction report includes print quality measure-                             DETAILED DESCRIPTION
             ments of the barcode related to industry standards.
                In another exemplary embodin1ent of the method, the opti- 30        The present invention embraces a barcode verifier for
             cal device is a barcode verifier.                                   detecting print errors in a printed barcode. Barcodes are opti-
                In another exemplary embodiment of the method, the bar-          cal machine-readable representations of data. They may use
             code verifier comprises a graphical user interface for display-     one or two-dimensional patterns and may be black-and-white
             ing the printer malfunction report to a user.                       or color. One exemplary barcode, shown in FIG. 1, is a linear
                In another exemplary embodiment of the m1.,'lhod, the 35 barcode 1 that includes dark barcode bars and light barcode
             printer malfunction comprises an inoperative heating element        spaces. The barcode bars and barcode spaces may be different
             in a print head for a thermal printer.                              widths to form various patterns. The barcode bars are elon-
                In another exemplary embodiment of the method, the               gated and are scanned along a scan line perpendicular to the
             printer malfunction comprises an inoperative jet in a print         elongated direction.
             head for an inkjet printer.                                      40    Scanning printed barcodes requires good print quality. To
                In another exemplary embodiment of the method, the               insure that a printed barcode will be properly scanned, this
             printer malfunction comprises an inoperative pin in a print         print quality must be evaluated. Industry standards such as
             head for a dot matrix printer.                                      ISO/IEC 15416 and ISO/IEC 15415 serve as guidelines for
                In another exemplary embodiment of the method, the box           evaluating barcode quality. In these standards, various tests
             created includes (i) a left edge that is parallel to the barcode 45 are described and grading criteria for the test results are
             bars and aligned with the outer edge of the first barcode bar;      established. A printed barcode may be tested to insure that it
             and (ii) a right edge that is parallel to the barcode bars and      meets a minimum grade to insure that scan errors are mini-
             aligned with the outer edge of the last barcode bar.                mized. This evaluation process may be automated with bar-
                In another aspect, the present invention embraces a barcode      code verifiers.
             scanner for decoding barcodes and verifying barcodes. The 50           Barcode verifiers are optical devices that capture and ana-
             barcode scanner includes an imaging module for capturing            lyze images ofbarcodes. The analysis of an image typically
             images of a label. The label includes a user-data barcode           requires the location and segmentation of a barcode symbol
             symbol encoded with user data and a printer-ID barcode              within the image. The barcode symbol is tested according to
             symbol encoded with a printer identity. The barcode scanner         an array of tests specified by a selected standard. Often,
             also includes a memory that is communicatively coupled to 55 additional non-graded parameters are also evaluated by the
             the imaging module. The memory stores the image and a               verifiers (e.g., ink spread) to facilitate additional process con-
             barcode quality verification program. A processor is commu-         trol. By monitoring the reports from the barcode verifiers,
             nicatively coupled to the memory and configured by the bar-         printing errors may be found and remedied with little loss and
             code quality verification program to create a printer malfimc-      before delivering barcodes that are difficult or impossible to
             tion report by executing a series of ordered steps. The first 60 scan.
             step is retrieving the image from the memory. The second step          Automated testing of barcodes may not be perfect. Most
             is locating the user-data barcode symbol in the retrieved           quality control tests utilize samples to manage complexity
             image. The third step is identifying unprinted dots in the          while still providing a good estimate of the tested item's
             user-data barcode symbol. The fourth step is determining a          quality. In this way, barcode verifiers may sample a barcode
             printer malfunction using the unprinted dots. The fifth step is 65 by scanning the barcode symbol at various locations. FIG. la
             locating the printer-ID barcode symbol in the image. The            shows an exemplary barcode 1. A verifier may capture an
             sixth step is decoding the printer-ID barcode symbol, and the       image of a barcode 1 and analyze its quality along a sampling




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             of scan lines 2. These scan lines may provide a good estimate          informing a user that a printer is close to failure before the
             of the print quality but may miss imperfections, especially            printer produces unreadable barcodes.
             when the imperfections are parallel to the scan lines 2.                  The printer malfunction report described could take many
                FIG. lb graphically depicts an exemplary barcode symbol             forms. The report might be ordered data stored in memory and
             with print errors 3. The unprinted gaps along each barcode bar         accessed by reporting software. For example, a printer mal-
             may be due to a printer malfunction. These gaps combine to             function report may enhance/support other barcode verifier
             form unprinted lines 4,5 that run parallel to the scan lines 2.        tests/evaluations (e.g., ISO/IEC 15416 and/or 15415 tests).
             Here, the scan lines 2 in FIG. lb do not encounter the                 'The printer malfunction report may also be part of a quality
             unprinted lines 4,5. A verifier testing this bare ode 3 with these
             scan lines 2 would not detect these printing errors.                10 control process and provide alerts to an operator when a print
                                                                                    head exhibited certain behavior(e.g., the number of unprinted
                Ibe printing defects described so far are common to bar-
                                                                                    lines exceeded a threshold). The printer malfunction report
             code printers. Barcodes printers may be Ink jet printers, dot
                                                                                    may be used by an operator to troubleshoot or diagnose a
             matrix printers, or thermal printers. Each of these printers
             uses a print head. The print head has a linear array of print          printer issue.
             elements to form a printed mark (i.e., dot). The print elements 15        The printer malfunction rt.1)0rt may be displayed by a
             print a barcode dot-by-dot as paper is fed through the printer         graphical user interface (e.g. integrated with a barcode veri-
             and past the print head (which may also move during the                fier) to display results to a h = operator. The displayed
             printing process). When one print element in the print head            results could comprise data from many barcode tests. The
             becomes inoperative (e.g., clogged, smck, burned-out, etc.)            displayed results could allow an operator to monitor print
             an unprinted gap may appear in each barcode bar. Due to the 20 head deterioration and replace the print head before any
             nature ofthe printing process, the gaps appear in each barcode         unreadable barcode symbols were printed.
             bar at the same height. As a result, these gaps appear as an              FIG. 2 schematically depicts a block diagram of a barcode
             unprinted line in the barcode symbol running perpendicular             verifier according to an embodiment of the present invention.
             to the barcode bar (i.e., parallel to a scan line). In some cases,     The barcode verifier 10 captures an optical image ofa barcode
             multiple unprinted lines may occur due to multiple inopera- 25 1 within a field of view 7. The barcode is printed on a target
             tive print head elements. These unprinted lines appear parallel        item 6 (e.g., label, packaging, etc.). The barcode may be
             to one another and are typically the same thickness (i.e., one         one-dimensional (e.g., linear barcode) or two-dimensional
             dot), how1.-ver sometimes, the gaps may be larger, fonning             (e.g., Data Matrix, PDF417,Aztec Code, QR Code, etc.). The
             thick lines. Thick lines are formed when adjacent print head           barcode verifier captures an image of the barcode using an
             elements are inoperative. In FIG. lb the thick unprinted line 5 30 image sensor 11. The image sensor 11 uses an imaging lens
             results from adjacent inoperative print head elements. By              (or lenses) to form a real image of the field of view 7 on an
             measuring line thickness and correlating this measurement to
                                                                                    array of photo sensors (e.g., CCD, CMOS sensor, etc.). Elec-
             print head element size, the number of inoperative print head
                                                                                    tronic signals from the photo sensors are used to create black-
             elements may be computed.
                The present invention addresses the need for a system and 35 and-white or color images. The images are stored on a
             method to detect the unprinted lines caused by a print head            memory 15 (e.g., read-only memory (ROM), flash memory, a
             element malfunction. Such a system/method can generate a               hard-drive, etc.) and may be recalled by a processor 12 for
             printer malfunction report to quantify these print errors. A           barcode verification.
             printer malfunction report may include information regarding              The processor 12 is configured by a barcode quality veri-
             the number of unprinted lines, the location of the unprinted 40 fication program stored in memory 15 to analyze the barcode
             lines, and the thickness of each unprinted line. This informa-         and create a printer malfunction report. The processor 12 is
             tion may be used to understand and remedy the print head               configured by the program to execute the steps of (i) retriev-
             malfllllction causing the unprinted lines.                             ing a stored image from the memory, (ii) locating a barcode
                Existing barcode verifiers may assign a lower grade to              symbol in the stored image, (iii) identifying an unprinted line
             barcodes with unprinted lines but this assignment is often 45 or lines in the barcode symbol, (iv) determining a printer
             random. In some cases, the verifier may detect the unprinted           malfunction using the unprinted line or lines, and (v) creating
             lines, while in other cases the verifier may not detect the            a printer malfunction report.
             unprinted lines. This variability leads to grading inconsisten-           In the step of locating a barcode symbol in the stored
             cies, and grading may not be repeatable. What is more, these           image, a box is created to surround the barcode symbol. FIG.
             barcode verifiers may detect the unprinted lines, but they 50 3 graphically depicts an exemplary barcode symbol 3 as well
             cannot identify the printer malfunction or provide other infor-        as the box 18. The program's step of identifying an unprinted
             mation to help remedy it.                                              line in the barcode symbol configures theprocessorto execute
                'The present invention embraces an optical device that can          the steps of analyzing the image to (i) detect gaps in the
             report (i) the presence of an unprinted line, (ii) the cause of the    barcode symbol 4,5 (i.e., gaps in each barcode bar), (ii) con-
             unprinted line (i.e., printer malfunction), and (iii) explain the 55 nect the detected gaps to form unprinted lines 19,20, and (iii)
             malfunction (e.g., number of inoperative print head ele-               identifying a line as an unprinted line if the line is aligned
             ments). The optical device may be a barcode verifier or a              within 5% of the top or bottom edge of the box. A line is
             barcode scanner configured to perform barcode verification.            aligned (i.e. parallel) within 5% of the top or bottom edge of
                Typical barcode scanners attempt to read barcode symbol             the box if the angle formed between these line 19,20 and the
             data only (i.e., no verification). While hand-held scanners 60 top/bottom of the box 18 is less than five degrees (i.e., 5% of
             (e.g. 2D imagers) cannot perform full verification without             90 degrees is roughly 5 degrees)
             some type of mounting and or lighting procedure, they can                 Once the box and the lines are created, the processor 12
             perform the analysis embraced by the present invention. A              may analyze the lines to create metrics reported in a printer
             barcode scanner enabled with a barcode quality verification            malfunction report. One such metric is the number of lines.
             program can read a barcode symbol, evaluate missing lines, 65 For the example shown in FIG. 3 there are four lines.
             and create a maintenance report (i.e., printer malfunction                Another metric is line thickness. Line thickness may be
             report). Consequently, a barcode scanner can trigger an alert          expressed relative to a box dimension (e.g., percentage) or




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             may be converted to a printer dot size. For the example shown         the printer. Further error/printer data may be collected over
             in FIG. 3, there are three thin lines 19 (e.g., one dot) and on       time. Statistics may be applied to the collected data to aid in
             thick line 20.                                                        understanding the errors associated with a printer (or print-
                Another metric computed may be line position. 1bick lines          ers). This statistical information could be particularly helpful
             may be processed to compute the number of adjacent print 5 in, for example, creating repair and/or maintenance schedules
             head elements that are malfunctioning. The position may be            for printers.
             expressed relative to coordinate system created by the box               An exemplary label 8 is shown in FIG. 5. The label includes
             (e.g., height from the bottom). Again, this may also be con-          two symbols. The first symbol is linear barcode 3 represent-
             verter to printer dot size to correlate these numbers to the          ing the user data (i.e., user-data barcode symbol). This first
             printer's print head.                                              10 symbol is the symbol scanned by an application to perform a
                1be printer malfunction report may be stored in the                ftmction (e.g., luggage identification). The second symbol on
             memory 15 and communicated to a user via an input/output              the label 8 is a printer identification barcode symbol (i.e.,
             (I/O) module 13. The 1/0 module 13 may be integrated with             printer-ID barcode symbol) 9. The printer-ID barcode symbol
             the barcode verifier or a separate device that is communica-          9 is encoded with the identity of the printer that printed the
             tively coupled to the barcode verifier. In either case, the I/O 1s label (i.e., the printer identity).
             module 13 may include a graphical user interface and may                 The printer-ID barcode symbol 9 in FIG. 5 is a data matrix
             display visual and/or auditory infonnation and receive infor-         symbol encoded with a printer identity (e.g., "PRINTER
             mation from a user (e.g., typed, touched, spoken, etc.).              24"). Ibe printer-ID barcode symbol 9 is used to identify the
                In some embodiments, the barcode verifier 10 may com-              printer that created the label 8 to facilitate maintenance and/or
             municatively connected using a communication module 16 to 20 repair functions. While printer errors may also affect the
             a computer or a network via a wired or wireless data link. In         printer-ID barcode symbol 9, the present invention may
             a wireless configuration, the communication module may                report errors for these symbols as well as the user-data bar-
             communicate with a host device over the network via a vari-           code symbol 3.
             ety of communication protocols (e.g., WI-FI®, BLUE-                      To supplement fue present disclosure, this application
             TOOTH®), CDMA, 'IDMA, or GSM).                                     25 incorporates entirely by reference the following commonly
                111e subsystems in the barcode verifier 10 are electrically        assigned patents, patent application publications, and patent
             connected via a couplers (e.g., wires, traces, etc.) to form an       applications:
             interconnection subsystem 14. The interconnection system              U.S. Pat. No. 6,832,725; U.S. Pat. No. 7,128,266;
             14 may include power buses or lines, data buses, instruction          U.S. Pat. No. 7,159,783; U.S. Pat. No. 7,413,127;
             buses, address buses, etc., which allow operation of the mod- 30 U.S. Pat. No. 7,726,575; U.S. Pat. No. 8,294,969;
             ules/subsystems and the interaction there between.                    U.S. Pat. No. 8,317,105; U.S. Pat. No. 8,322,622;
                FIG. 4 schematically depicts a flowchart of an exemplary           U.S. Pat. No. 8,366,005; U.S. Pat. No. 8,371,507;
             method for detennining a printer malftmction from a barcode           U.S. Pat. No. 8,376,233; U.S. Pat. No. 8,381,979;
             image. The method begins by capturing an image of a barcode           U.S. Pat. No. 8,390,909; U.S. Pat. No. 8,408,464;
             30 (e.g., linear barcode) using an optical device (e.g., barcode 35 U.S. Pat. No. 8,408,468; U.S. Pat. No. 8,408,469;
             verifier). Next, the barcode is located within the image of the       U.S. Pat. No. 8,424,768; U.S. Pat. No. 8,448,863;
             barcode 31 and a box is created 32 to surround the spatial            U.S. Pat. No. 8,457,013; U.S. Pat. No. 8,459,557;
             extent of the located barcode within the image. The barcode           U.S. Pat. No. 8,469,272; U.S. Pat. No. 8,474,712;
             bars are then analyzed (e.g., edge detection) to find any             U.S. Pat. No. 8,479,992; U.S. Pat. No. 8,490,877;
             unprinted gaps indicative of a printer malftmction. If no gaps 40 U.S. Pat. No. 8,517,271; U.S. Pat. No. 8,523,076;
             are found then no printer malfunction is found and the process        U.S. Pat. No. 8,528,818; U.S. Pat. No. 8,544,737;
             ends. If, however, gaps in the barcode bars are found 33, then        U.S. Pat. No. 8,548,242; U.S. Pat. No. 8,548,420;
             the gaps are connected form lines within the box 34. Each line        U.S. Pat. No. 8,550,335; U.S. Pat. No. 8,550,354;
             is created to fill the gaps so that the line thickness represents     U.S. Pat. No. 8,550,357; U.S. Pat. No. 8,556,174;
             the gap size in the barcode bars. The lines formed are checked 45 U.S. Pat. No. 8,556,176; U.S. Pat. No. 8,556,177;
             to insure that they are parallel to the box edge 35 (e.g., angle      U.S. Pat. No. 8,559,767; U.S. Pat. No. 8,599,957;
             between lines and box top is less than five degrees). If the          U.S. Pat. No. 8,561,895; U.S. Pat. No. 8,561,903;
             lines are not parallel then some other defect has caused the          U.S. Pat. No. 8,561,905; U.S. Pat. No. 8,565,107;
             print error. If the lines are parallel 35 then the numberoflines      U.S. Pat. No. 8,571,307; U.S. Pat. No. 8,579,200;
             are counted and the thickness of each line is measured 36. 50 U.S. Pat. No. 8,583,924; U.S. Pat. No. 8,584,945;
             Finally, a printer malfunction report including the number of         U.S. Pat. No. 8,587,595; U.S. Pat. No. 8,587,697;
             lines formed, the thickness of each line, and the location of         U.S. Pat. No. 8,588,869; U.S. Pat. No. 8,590,789;
             each line with respect to a box edge is generated 37.                 U.S. Pat. No. 8,596,539; U.S. Pat. No. 8,596,542;
                In some embodiments, information regarding the printer             U.S. Pat. No. 8,596,543; U.S. Pat. No. 8,599,271;
             that created a barcode symbol (i.e., the printer ID) may be 55 U.S. Pat. No. 8,599,957; U.S. Pat. No. 8,600,158;
             encoded within a ID or 2D barcode symbol printed on the               U.S. Pat. No. 8,600,167; U.S. Pat. No. 8,602,309;
             same label as the barcode symbol containing user data. Here,          U.S. Pat. No. 8,608,053; U.S. Pat. No. 8,608,071;
             the term label may represents any substrate carrying a symbol         U.S. Pat. No. 8,611,309; U.S. Pat. No. 8,615,487;
             created by a printer. For example, a label may include a              U.S. Pat. No. 8,616,454; U.S. Pat. No. 8,621,123;
             paper/plastic substrate onto which a barcode is printed. Alter- 60 U.S. Pat. No. 8,622,303; U.S. Pat. No. 8,628,013;
             natively, a label may include some faceplate material                 U.S. Pat. No. 8,628,015; U.S. Pat. No. 8,628,016;
             engraved with a barcode. Further, a label may be thought of as        U.S. Pat. No. 8,629,926; U.S. Pat. No. 8,630,491;
             a barcode marked directly onto the surface of an item.                U.S. Pat. No. 8,635,309; U.S. Pat. No. 8,636,200;
                When a barcode scanner (or barcode verifier) detects               U.S. Pat. No. 8,636,212; U.S. Pat. No. 8,636,215;
             unprinted dots (or lines) on a label, the printer ID symbol on 65 U.S. Pat. No. 8,636,224; U.S. Pat. No. 8,638,806;
             the label may be decoded to identify the printer that created         U.S. Pat. No. 8,640,958; U.S. Pat. No. 8,640,960;
             the printing error. This identification may facilitate service for    U.S. Pat. No. 8,643,717; U.S. Pat. No. 8,646,692;




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             U.S. Pat. No. 8,646,694; U.S. Pat. No. 8,657,200;            U.S. Patent Application Publication No. 2013/0342717;
             U.S. Pat. No. 8,659,397; U.S. Pat. No. 8,668,149;            U.S. Patent Application Publication No. 2014/0001267;
             U.S. Pat. No. 8,678,285; U.S. Pat. No. 8,678,286;            U.S. Patent Application Publication No. 2014/0002828;
             U.S. Pat. No. 8,682,077; U.S. Pat. No. 8,687,282;            U.S. Patent Application Publication No. 2014/0008430;
             U.S. Pat. No. 8,692,927; U.S. Pat. No. 8,695,880;          5 U.S. Patent Application Publication No. 2014/0008439;
             U.S. Pat. No. 8,698,949; U.S. Pat. No. 8,717,494;            U.S. Patent Application Publication No. 2014/0025584;
             U.S. Pat. No. 8,717,494; U.S. Pat. No. 8,720,783;            U.S. Patent Application Publication No. 2014/0027518;
             U.S. Pat. No. 8,723,804; U.S. Pat. No. 8,723,904;            U.S. Patent Application Publication No. 2014/0034734;
             U.S. Pat. No. 8,727,223; U.S. Pat. No. D702,237;             U.S. Patent Application Publication No. 2014/0036848;
             U.S. Pat. No. 8,740,082; U.S. Pat. No. 8,740,085;         10 U.S. Patent Application Publication No. 2014/0039693;
             U.S. Pat. No. 8,746,563; U.S. Pat. No. 8,750,445;            U.S. Patent Application Publication No. 2014/0042814;
             U.S. Pat. No. 8,752,766; U.S. Pat. No. 8,756,059;            U.S. Patent Application Publication No. 2014/0049120;
             U.S. Pat. No. 8,757,495; U.S. Pat. No. 8,760,563;            U.S. Patent Application Publication No. 2014/0049635;
             U.S. Pat. No. 8,763,909; U.S. Pat. No. 8,777,108;            U.S. Patent Application Publication No. 2014/0061305;
             U.S. Pat. No. 8,777,109; U.S. Pat. No. 8,779,898;         15 U.S. Patent Application Publication No. 2014/0061306;
             U.S. Pat. No. 8,781,520; U.S. Pat. No. 8,783,573;            U.S. Patent Application Publication No. 2014/0063289;
             U.S. Pat. No. 8,789,757; U.S. Pat. No. 8,789,758;            U.S. Patent Application Publication No. 2014/0066136;
             U.S. Pat. No. 8,789,759; U.S. Pat. No. 8,794,520;            U.S. Patent Application Publication No. 2014/0067692;
             U.S. Pat. No. 8,794,522; U.S. Pat. No. 8,794,526;            U.S. Patent Application Publication No. 2014/0070005;
             U.S. Pat. No. 8,798,367; U.S. Pat. No. 8,807,431;         20 U.S. Patent Application Publication No. 2014/0071840;
             U.S. Pat. No. 8,807,432; U.S. Pat. No. 8,820,630;            U.S. Patent Application Publication No. 2014/0074746;
             International Publication No. 2013/163789;                   U.S. Patent Application Publication No. 2014/0075846;
             International Publication No. 2013/173985;                   U.S. Patent Application Publication No. 2014/0076974;
             International Publication No. 2014/019130;                   U.S. Patent Application Publication No. 2014/0078341;
             International Publication No. 2014/110495;                25 U.S. Patent Application Publication No. 2014/0078342;
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             U.S. Patent Application Publication No. 2009/0134221;        U.S. Patent Application Publication No. 2014/0084068;
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             U.S. Patent Application Publication No. 2010/0177076;        U.S. Patent Application Publication No. 2014/0098792;
             U.S. Patent Application Publication No. 2010/0177707;     30 U.S. Patent Application Publication No. 2014/0100774;
             U.S. Patent Application Publication No. 2010/0177749;        U.S. Patent Application Publication No. 2014/0100813;
             U.S. Patent Application Publication No. 2011/0202554;        U.S. Patent Application Publication No. 2014/0103115;
             U.S. Patent Application Publication No. 2012/0111946;        U.S. Patent Application Publication No. 2014/0104413;
             U.S. Patent Application Publication No. 2012/0138685;        U.S. Patent Application Publication No. 2014/0104414;
             U.S. Patent Application Publication No. 2012/0168511;     35 U.S. Patent Application Publication No. 2014/0104416;
             U.S. Patent Application Publication No. 2012/0168512;        U.S. Patent Application Publication No. 2014/0104451;
             U.S. Patent Application Publication No. 2012/0193423;        U.S. Patent Application Publication No. 2014/0106594;
             U.S. Patent Application Publication No. 2012/0203647;        U.S. Patent Application Publication No. 2014/0106725;
             U.S. PatentApplication Publication No. 2012/0223141;         U.S. Patent Application Publication No. 2014/010801 0;
             U.S. Patent Application Publication No. 2012/0228382;     40 U.S. Patent Application Publication No. 2014/0108402;
             U.S. Patent Application Publication No. 2012/0248188;        U.S. Patent Application Publication No. 2014/0108682;
             U.S. Patent Application Publication No. 2013/0043312;        U.S. Patent Application Publication No. 2014/0110485;
             U.S. Patent Application Publication No. 2013/0056285;        U.S. Patent Application Publication No. 2014/0114530;
             U.S. Patent Application Publication No. 2013/0070322;        U.S. Patent Application Publication No. 2014/0124577;
             U.S. Patent Application Publication No. 2013/0075168;     45 U.S. Patent Application Publication No. 2014/0124579;
             U.S. Patent Application Publication No. 2013/0082104;        U.S. Patent Application Publication No. 2014/0125842;
             U.S. Patent Application Publication No. 2013/0175341;        U.S. Patent Application Publication No. 2014/0125853;
             U.S. Patent Application Publication No. 2013/0175343;        U.S. Patent Application Publication No. 2014/0125999;
             U.S. Patent Application Publication No. 2013/0200158;        U.S. Patent Application Publication No. 2014/0129378;
             U.S. Patent Application Publication No. 2013/0256418;     50 U.S. Patent Application Publication No. 2014/0131438;
             U.S. Patent Application Publication No. 2013/0257744;        U.S. Patent Application Publication No. 2014/0131441;
             U.S. Patent Application Publication No. 2013/0257759;        U.S. Patent Application Publication No. 2014/0131443;
             U.S. PatentApplication Publication No. 2013/0270346;         U.S. Patent Application Publication No. 2014/0131444;
             U.S. Patent Application Publication No. 2013/0278425;        U.S. Patent Application Publication No. 2014/0131445;
             U.S. Patent Application Publication No. 2013/0287258;     55 U.S. Patent Application Publication No. 2014/0131448;
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             U.S. Patent Application Publication No. 2013/0292477;        U.S. Patent Application Publication No. 2014/0136208;
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             U.S. Patent Application Publication No. 2014/0168787;                bol Reading System Having Adjustable Object Detection,
             U.S. Patent Application Publication No. 2014/0175165;                filed Jul. 25, 2013 (Jiang);
             U.S. Patent Application Publication No. 2014/0175169;              U.S. patent application Ser. No. 13/961,408 fora Method for
             U.S. Patent Application Publication No. 2014/0175172;                Manufacturing Laser Scanners, filedAug. 7,2013 (Saber et
             U.S. PatentApplication Publication No. 2014/0175174;                 al.);
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             U.S. Patent Application Publication No. 2014/0191913;                Operating a Laser Scanner, filed Sep. 5, 2013 (Feng et al.);
             U.S. Patent Application Publication No. 2014/0197238;              U.S. patent application Ser. No. 14/019,616 for a Device
             U.S. Patent Application Publication No. 2014/0197239;           10   Having Light Source to Reduce Surface Pathogens, filed
             U.S. Patent Application Publication No. 2014/0197304;                Sep. 6, 2013 (Todeschini);
             U.S. Patent Application Publication No. 2014/0203087;              U.S. patent application Ser. No. 14/023,762 for a Handbeld
             U.S. Patent Application Publication No. 2014/0204268;                Indicia Reader Having Locking Endcap, filed Sep. 11,
             U.S. Patent Application Publication No. 2014/0214631;           15   2013 (Gannon);
             U.S. Patent Application Publication No. 2014/0217166;              U.S. patent application Ser. No. 14/035,474 for Augmented-
             U.S. Patent Application Publication No. 2014/0217180;                Reality Signature Capture, filed Sep. 24, 2013 (Todes-
             U.S. patent application Ser. No. 13/367,978 for a Laser Scan-        chini);
               ning Module Employing an Elastomeric U-Hinge Based               U.S. patent application Ser. No. 29/468,118 for an Electronic
               Laser Scanning Assembly, filed Feb. 7, 2012 (Feng et al.); 20      Device Case, filed Sep. 26, 2013 (Oberpriller et al.);
             U.S. patent application Ser. No. 29/436,337 for an Electronic      U.S. patent application Ser. No. 14/055,234 for Dimension-
               Device, filed Nov. 5, 2012 (Fitch et al.);                         ing System, filed Oct. 16, 2013 (Fletcher);
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               Redirection Adapter, filed Feb. 20, 2013 (Anderson);               Reader, filed Oct. 14, 2013 (Huck);
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               Method for Capturing and Preserving Vehicle Event Data,            tern and Method for Reading Indicia, filed Oct. 29, 2013
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             U.S. patent application Ser. No. 13/902, 11 ofora System and       U.S. patent application Ser. No. 14/074,746 for Self-Check-
               Method for Display oflnformation Using a Vehicle-Mount             out Shopping System, filed Nov. 8, 2013 (Hejl et al.);
               Computer, filed May 24, 2013 (Hollifield);                    30 U.S. patent application Ser. No. 14/074,787 for Method and
             U.S. patent application Ser. No. l3/ 902 ,144, for a System and      System for Configuring Mobile Devices via NFC Technol-
               Method for Display oflnfom1ation Using a Vehicle-Mount             ogy, filed Nov. 8, 2013 (Smith et al.);
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               Computer, filed May 24 , 2013 (Chaniberlin);                       Range Indicators for Bar Code Validation, filed Nov. 22,
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               Symbol Reading Device, filed May 24, 2013 (Smith et al.);          System for Communicating Infomiation in an Digital Sig-
             U.S. patent application Ser. No. 13/912,262 for a Method of          nal, filed Dec. 2, 2013 (Peake et al.);
               Error Correction for3D Imaging Device, filed.Tun. 7, 2013        U.S. patent application Ser. No. 14/101,965 for High
               (Jovanovski et al.);                                          40   Dynamic-Range Indicia Reading System, filed Dec. 10,
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               Method for Reading Code Symbols at Long Range Using              U.S. patent application Ser. No. 14/150,393 for Indicia-
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               Method for Reading Code Symbols Using a Variable Field           U.S. patent application Ser. No. 14/165,980 for System and
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               26, 2013 (Todeschini);                                             ing Terminal Including Optical Filter filed Jan. 28, 2014
             U.S. patent application Ser. No. 13/930,913 for a Mobile             (Lu et al.);
               Device Having an Improved User Interface for Reading             U.S. patent application Ser. No. 14/200,405 for Indicia
               Code Symbols, filed Jun. 28, 2013 (Gelay et al.);                  Reader for Size-Linlited Applications filed Mar. 7, 2014
             U.S. patent application Ser. No. 29/459,620 for an Electronic 55     (Feng et al.);
               Device Enclosure, filed Jul. 2, 2013 (London et al.);            U.S. patent application Ser. No. 14/231,898 for Hand-
             U.S. patent application Ser. No. 29/459,681 for an Electronic        Mounted Indicia-Reading Device with Finger Motion
               Device Enclosure, filed Jul. 2, 2013 (Chaney et al.);              Triggering filed Apr. 1, 2014 (Van Hom et al.);
             U.S. patent application Ser. No. 13/933,415 for an Electronic      U.S. patent application Ser. No. 14/250,923 for Reading
               Device Case, filed Jul. 2, 2013 (London et al.);              60   Apparatus Having Partial Frame Operating Mode filed
             U.S. patent application Ser. No.29/459,785 fora Scanner and          Apr. 11, 2014, (Deng et al.);
               Charging Base, filed Jul. 3, 2013 (Fitch et al.);                U.S. patent application Ser. No. 14/257,174 for Imaging Ter-
             U.S. patent application Ser. No. 29/459,823 for a Scanner,           minal Having Data Compression filed Apr. 21, 2014, (Bar-
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             U.S. patent application Ser. No. 13/947,296 for a System and 65 U.S. patent application Ser. No. 14/257,364 for Docking Sys-
               Method for Selectively Reading Code Symbols, filed Jul.            tern and Method Using Near Field Communication filed
               22, 2013 (Rueblinger et al.);                                      Apr. 21, 2014 (Showering);




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               Lens System for Indicia Readers filed Apr. 29, 2014 (Ack-         BASED SCAN-TASK ENABLED SYSTEM AND
               ley et al.);                                                      METHOD OF AND APPARATUS FOR DEVELOPING
             U.S. patent application Ser. No. 14/274,858 for Mobile              AND DEPLOYING THE SAME ON A CLIENT-
               Priuter with Optional Battery Accessory filed May 12, 5           SERVER NETWORK filed Jul. 2, 2014 (Chen et al.);
               2014 (Marty et al.);                                           U.S. patent application Ser. No. 14/370,267 for INDUS-
             U.S. patent application Ser. No.14/277,337 for MULTIPUR-            TRIAL DESIGN FOR CONSUMER DEVICE BASED
               POSE OPTICAL READER, filed May 14 , 20l 4 (Jo-                    SCANNING AND MOBILITY, filed Jul. 2, 2014 (Ma et
               vanovski et al.);
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               HAVING ILLUMINArION AND FOCUS CONTROL
               filed May 21, 2014 (Liu et al.);                                  ENCODED INFOIUvIATION READING TERMINAL
             U.S. patent application Ser. No. 14/300,276 for METHOD              INCLUDING HTTP SERVER, filed 08-04-2014 (Lu);
               AND SYSTEM FOR CONSIDERING INFORMATION                         U.S. patent application Ser. No. 14/379,057 for METHOD
               ABOUT AN EXPECTED RESPONSE WHEN PER- 15                           OF USING CAMERA SENSOR INTERFACE TO
               FORMING SPEECH RECOGNITION, filed Jun. 1O, 2014                   TRANSFER MULTIPLE CHANNELS OF SCAN DATA
               (Braho et al.);                                                   USING AN IMAGE FORMAT filed Aug. 15, 2014 (Wang
             U.S. patent application Ser. No. 14/305,153 for INDICIA             et al.);
               READING SYSTEM EMPLOYING DIGITAL GAIN                          U.S. patent application Ser. No. 14/452,697 for INTERAC-
               CONTROL filed Jun. 16, 2014 (Xian et al.);                  20    TIVE INDICIA READER, filed Aug. 6, 2014 (Todes-
             U.S. patent application Ser. No. 14/310,226 for AUTOFO-             chini);
               CUSING OPTICAL IMAGING DEVICE filed Jun. 20,                   U.S. patent application Ser. No. 14/453,019 for DIMEN-
               2014 (Koziol eta!.);                                              SIONING SYSTEM WITH GUIDED ALIGNMENT,
             U.S. patent application Ser. No. 14/327,722 for CUSTOMER            filed Aug. 6, 2014 (Li et al.);
               FACING IMAGING SYSTEMS AND METHODS FOR 25 U.S.patentapplicationSer.No.14/460,387forAPPARATUS
               OBTAINING IMAGES filed Jul. 10, 2014 (Oberpriller et              FOR DISPLAYING BAR CODES FROM LIGHT EMI1~
               al,);                                                             TING DISPLAY SURFACES filed Aug. 15, 2014 (Van
             U.S. patent application Ser. No. 14/327,827 for a MOBILE-           Hom et al.);
               PHONE ADAPTER FOR ELECTRONIC TRANSAC-                          U.S. patent application Ser. No. 14/460,829 for ENCODED
               TIONS, filed Jul. 10, 2014 (Hejl);                          30    INFORMATION READING TERMINAL WITH WIRE-
             U.S. patent application Ser. No. 14/329,303 for CELL                LESS PATH SELECTION CAPABILITY, filed Aug. 15,
               PHONE READING MODE USING IMAGE TIMER filed                        2014 (Wang et al.);
               Jul. 11, 2014 (Coyle);                                         U.S. patent application Ser. No. 14/462,801 for MOBILE
             U.S. patent application Ser. No. 14/333,588 for SYMBOL              COMPUTING DEVICE WITH DAIA COGNITION
               READING SYSTEM WITH INTEGRATED SCALE 35                           SOFTWARE, filed on Aug. 19, 2014 (Todeschini et al.);
               BASE filed Jul. 17, 2014 (Barten);                             U.S. patent application Ser. No. 14/446,387 for INDICIA
             U.S. patent application Ser. No. 14/334,934 for a SYSTEM            READING TERMINAL PROCESSING PLURALITY
               AND METHOD FOR INDICIA VERIFICATION, filed                        OF FRAMES OF IMAGE DATA RESPONSIVELY TO
               Jul. 18, 2014 (Hajl);                                             TRIGGER SIGNAL ACTIVATION filed Jul. 30, 2014
             U.S. patent application Ser. No. 14/336,188 for METHOD 40           (Wang et al.);
               OF AND SYSTEM FOR DETECTING OBJECT                             U.S. patent application Ser. No. 14/446,391 for MULTI-
               WEIGHING INTERFERENCES, Filed Jul. 21, 2014                       FUNCTION POINT OF SALE APPARATUS WITH
               (Amundsen et al.);                                                OPTICAL SIGNATURE CAPTURE filed Jul. 30, 2014
             U.S. patent application Ser. No. 14/339,708 for LASER               (Good et al.);
               SCANNING CODE SYMBOL READING SYSTEM, 45 U.S. patent application Ser. No. 29/486,759 for an Imaging
               filed Jul. 24, 2014 (Xian et al.);                                Terminal, filed Apr. 2, 2014 (Oberpriller et al.);
             U.S. patent application Ser. No. 14/340,627 for anAXIALLY        U.S. patent application Ser. No. 29/492,903 for an INDICIA
               REINFORCED FLEXIBLE SCAN ELEMENT, filed Jul.                      SCANNER, filed Jun. 4, 2014 (Zhou et al.); and
               25, 2014 (Rueblinger et al.);                                  U.S. patent application Ser. No. 29/494,725 for an
             U.S.patentapplicationSer.No.14/340,716foranOPTICAL so               IN-COUNTER BAR.CODE SCANNER filed Jun. 24
               !MAGER AND METHOD FOR CORRELATING A                               2014 (Oberpriller et al.).                   •             '
               MEDICATION PACKAGE WITH A PArIENT, filed Jul.                     In the specification and/or figures, typical embodiments of
               25, 2014 (Ellis);                                              the invention have been disclosed. The present invention is
             U.S. patent application Ser. No. 14/342,544 for Imaging          not limited to such exemplary embodiments. The use of the
               Based Barcode Scanner Engine with Multiple Elements 55 term "and/or" includes any and all combinations of one or
               Supported on a Common Printed Circuit Board filed Mar.         more of the associated listed items. The figures are schematic
               4, 2014 (Liu et al.);                                          representations and so are not necessarily drawn to scale.
             U.S. patent application Ser. No. 14/345,735 for Optical Indi-    Unless otherwise noted, specific terms have been used in a
               cia Reading Terminal with Combined Illumination filed          generic and descriptive sense and not for purposes oflimita-
               Mar. 19, 2014 (Ouyang);                                     60 tion.
             U.S. patent application Ser. No. 14/336,188 for METHOD
               OF AND SYSTEM FOR DETECTING OBJECT                                The invention claimed is:
               WEIGHING INTERFERENCES, Filed Jul. 21, 2014                       1. A barcode verifier, comprising:
               (Amundsen et al.);                                                an imaging module for capturing images of a field of view;
             U.S. patent application Ser. No. 14/355,613 for Optical lndi- 65    a memory communicatively coupled to the imaging mod-
               cia Reading Terminal with Color Image Sensor filed May               ule and configured to store images and a barcode quality
               1, 2014 (Lu et al.);                                                 verification program; and




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                a processor communicatively coupled to the memory con-                  measuring the thickness of each line;
                    figured by the barcode quality verification program to              locating each line with respect to a box edge; and
                    execute the ordered steps of:                                       if at least one line is formed, then generating a printer
                    (i) _retrieving a stored image from the memory, (ii) locat-            malfunction report comprising the number of lines
                        mg a barcode symbol in the stored image, (iii) iden-               formed, the thickness of each line, and the location of
                       tifying an unprinted line or lines in the barcode sym-              each line with respect to a box edge.
                       bol, (iv) determining a printer malfunction using the            10. The method according to claim 9, wherein a line is
                       unprinted line or lim..'S, and (v) creating a printer mal-    substantially parallel to the top or bottom edge of the box
                        function report.                                             when the angle between the line and either the top or bottom
                2. The barcode verifier according to claim 1, wherein the 10
                                                                                     edge of the box is less than five degrees.
             step of locating a barcode symbol in the stored image com-
                                                                                        11. The method according to claim 9, wherein the thickness
             prises creating a box surrounding the barcode symbol in the
                                                                                     of each line is measured in printer dot size.
             stored image, wherein the box comprises a top edge, a bottom
             edge, a left edge, and a right edge, each edge corresponding to            12. '!he method according to claim 9, wherein the printer
             a respective barcode symbol edge.                                    15 malfunction report comprises a calculation of the number of
                3. The barcode verifier according to claim 2, wherein the            adjacent print-head elements that are malfunctioning based
             step o~ identifying an unprinted line in the barcode symbol             on the thickness of each line.
             compnses:                                                                  13. The method according to claim 9, wherein the printer
                (i) detecting gaps in the barcode symbol, (ii) connecting the        malfunction report comprises guidance for repairing the mal-
                    detected gaps to form a line, and (iii) identifying a line as 20 function.
                    an unprinted line if the line is aligned within 5% of the           14. lhe method according to claim 9, wherein the optical
                   top or bottom edge.                                               device   is a barcode verifier.
                4. The barcode verifier according to claim 3, wherein the               15. The method according to claim 14, wherein the barcode
             step of detennining a printer malfunction using the unprinted           verifier comprises a graphical user interface for displaying the
             line or lines, comprises calculating a thickness of the gaps 25 printer malfunction report to a user.
             relative to a length of an edge of the box.                                16. The method according to claim 9, wherein the printer
                5. The barcode verifier according to claim 2, wherein the            malfunction comprises an inoperative heating element in a
             step of determining a printer malfunction using the unprinted           print head for a thermal printer.
             line or lines, comprises locating the position of each                     17. The method according to claim 9, wherein the printer
             unprinted line relative to the top or bottom edge of the box. 30 malfunction comprises an inoperative jet in a print head for an
                6. The barcode verifier according to claim 1, wherein the            inkjet printer.
             step of determining a printer malfunction using the unprinted              18. The method according to claim 9, wherein the printer
             line or lines, comprises counting the number of unprinted               malfunction comprises an inoperative pin in a print head for a
             lines.                                                                  dot matrix printer.
                7. The barcode verifier according to claim 1, comprising a 35           19. The method according to claim 9, wherein the box
             graphical user interface for displaying information to a user           created    to surround the located barcode comprises (i) a left
             the graphical user interface communicatively coupled to th;             edge parallel to the barcode bars and aligned with the outer
             processor and configured by the processor to display the                edge ofthe first barcode bar and (ii) a right edge parallel to the
             printer malfunction report.                                             barcode bars and aligned with the outer edge of the last
                8. The barcode verifier according to claim 1, wherein the 40 barcode bar.
             printer malfunction report comprises:                                      20. A barcode scanner for decoding barcodes and verifying
                (i) a printer malfunction alert, (ii) an unprinted-line quan-        barcodes, the barcode scanner comprising:
                   tity, (iii) a thickness of each unprinted line, and (iv) a           an imaging module for capturing an image of a label, the
                    location of each unprinted line.                                       label comprising a user-data barcode symbol encoded
                9. A method for generating a printer malfunction report 45
                                                                                           with user data and a printer-ID barcode symbol encoded
             from a barcode image, the method comprising:                                  with a printer identity;
                capturing an image of a barcode using an optical device, the            a memory communicatively coupled to the imaging mod-
                   barcode comprising a plurality of barcode bars;                         ule and configured to store the image and a barcode
                locating the barcode within the image of the barcode·                      quality verification program; and
                creating a box to surround the located barcode, where~ the so           a processor communicatively coupled to the memory and
                   box comprises:                                                          configured by the barcode quality verification program
                    (i) a top edge perpendicular to the barcode bars and                   to execute the ordered steps of:
                        aligned with the top of the barcode bars and (ii) a                (i) retrieving the image from the memory, (ii) locating
                        bottom edge perpendicular to the barcode bars and                      ~~ u_ser-~~ barcod": symbol in the retrieved image,
                        aligned with the bottom of the barcode bars·              55           (111) 1dent1fying unpnnted dots in the user-data bar-
                detecting unprinted gaps along each barcode bar,' the gaps                     code symbol, (iv) detennining a printer malfunction
                    indicative of a printer malfunction;                                       using the unprinted dots, (v) locating the printer-ID
                if possible, connecting the unprinted gaps to form lines that                  barcode symbol in the image, (vi) decoding the
                    are substantially parallel to the top or bottom edge of the                printer-ID barcode symbol, and (vii) creating a printer
                   box, each line having a thickness to fill the correspond- 60                malfunction report comprising the printer malfunc-
                    ing unprinted gaps;                                                        tion and the printer identity.
               counting the number of lines formed;                                                         *   *    *   *   *




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             c12) United States Patent                                                  (IO) Patent No.:                  US 10,846,498 B2
                    Ackley                                                              (45) Date of Patent:                         *Nov. 24, 2020

             (54)   ENHANCED MATRIX SYMBOL ERROR                                   (56)                       References Cited
                    CORRECTION METHOD
                                                                                                      U.S. PATENT DOCUMENTS
             (71) Applicant: Hand Held Products, Inc., Fort Mill,
                                                                                          5,553,084 A          911996 Ackley et al.
                             SC (US)                                                      6,330,972 Bl        1212001 Wiklof et al.
             (72)   Inventor:    H. Sprague Ackley, Seattle, WA (US)                                              (Continued)

             (73)   Assignee: HAND HELD PRODUCTS, INC.,                                           FOREIGN P.<\TENT DOCUMENTS
                              Fort Mill, SC (US)                                   WO               2013163789 Al          11/2013
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             ( •)   Notice:      Subject to any disclaimer, the term of this                                      (Continued)
                                 patent is extended or adjusted under 35
                                 U.S.C. 154(b) by 3 days.
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                                claimer.                                           Hahn, H.J., et al., "Implementation of Algorithm to Decode Two-
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             (21) Appl. No.: 16/268,721                                            Signal Processing, 2002, Conference Location: Beijing, China, Date
                                                                                   of Conference: Aug. 26-30, 2002, pp. 1791-1794. (Year: 2002).•
             (22)   Filed:       :Feb. 6, 2019                                                                    (Continued)

             (65)                  Prior Publication Data                          Primary Examiner - Kyle Vallecillo
                                                                                   (7 4) Attorney, Agent, or Firm - Alston & Bird LLP
                    US 2019/0180068 Al           Jun. 13, 2019
                                                                                   (57)                     ABSTRACT
                             Related U.S. Application Data                         Systems and methods illustrated herein disclose error cor-
                                                                                   rection of a two-dimensional (2D) symbol. The systems and
             (63)   Continuation of application No. 15/006,561, filed on           methods include reading, by a hardware processor, a plu-
                    Jan. 26, 2016, now Pat. No. 10,235,547.                        rality of codewords in the 2D symbol. Further, the systems
                                                                                   and methods include identifying, by the hardware processor
             (51)   Int. CI.
                                                                                   of, an optically ambiguous codeword of the plurality of
                    G06K 7114                  (2006.01)
                                                                                   codewords in the 2D symbol. The optically ambiguous
                    G06F 11110                 (2006.01)
                                                                                   codeword corresponds to a codeword with a minimum
             (52)   U.S. CI.                                                       interior contrast level below a predefined minimum interior
                    CPC ............ G06K 711473 (2013.01); G06F 11110             contrast level. Further, the systems and methods include
                                   (2013.01); G06K 7114 (2013.01); G06K            correcting, by the hardware processor, errors in the optically
                                                           711417 (2013.01)
                                                                                   ambiguous codeword based on, a location of the optically
             (58)   Field of Classification Search                                 ambiguous codeword and an erroneous decoded value asso-
                    CPC ............... G06K 7/1473; G06K 7/1417; G06K             ciated with the optically ambiguous codeword.
                                                 19/06037; G06K 19/06046;
                                         (Continued)                                                  19 Claims, 8 Drawing Sheets




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                     CPC ....... G06K 19/06075; G06K 19/06056; G06K             8,636,200 B2   li2014    Kearney
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                                     7/10722; G06K 7/1434; G06K 7/14;           8,636,215 B2   li2014    Ding et al.
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                                              FIG.1




                                                                                 HONEYWELL-00248615

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                                306.S
                       102.1




                                (
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                                     308.3



               308.1




                                                                                           FIG.3
                                                                         \-308.2



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                102.Dl




                  102.02
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                308.F                                                    ■




                                                                              FIG.4

                                                                                   HONEYWELL-00248618

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                                                             500

                  505
                                 FOR ASYMBO~ IDENTIFY THE LOCATION OF THE SYMBOL AND SIZE.

                 510
                                                              t
                                                 DRAW MATRIX SAMPLE POINTS.

                  515 7_                                      +
                                            DETERMINE AN OPTICAL CLARITY LEVEL FOR
                                                EACH CODEWORD IN THE SYMBOL

                  520 ......
                                                              t
                                           RANK THE CODEWORDS FOR OPTICAL CLARITY.
                                                              ¼
                  525 (_
                                      IDENTIFY THE CODEWORDS WITH THE LOWEST OPTICAL
                                       CLARITY, UP TO THE NUMBER OF ERROR-CORRECTION
                                          (EC) CODEWORDS TO BE USED AS ERASURES.

                 530 (__
                                                              t
                                 FOR THE CODEWORDS IDENTIFIED IN STEP 525, MARK THESE WORST
                                      CODEWORD VALUES AS ERASURES IN THE EC EQUATIONS.

                  535 7_                                      •
                                       PERFORM ERROR CORRECTION CALCULATIONS AS PER
                                        STANDARD CALCULATIONS, BUT NOW WITH SOME
                                             CODEWORDS MARKED AS ERASURES.

                  540 (_
                                                              t
                                     SEND THE RESULTING DATA FOR CORREITTD CODEWORD
                                           VALUES TO THE APPROPRIATE APPLICATION


                                                           FIG.5




                                                                                               HONEYWELL-00248619

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                                                       600

                                          DETERMINE ALOCAL BLACK/WHITE
                                           CONTRAST THRESHOLD {BWCT).


                                                        '
                                   FOR ACODEWORD, DETERMINE ACONTRAST LEVEL
                                 (GRAYSCALE LEVEL} OF EVERY CELL IN THE CODEWORD.           SEI.ID ANOTHER
                                                                                           CODEWORD, UNTIL
                                                        +                                   All CODEWORDS
                             STORE THE CELL CONTRAST VALUE CLOSEST TO THE BLACK/WHITE HAVE BEEN PROCESSED.
                             THRESHOLD FOR BAR AND SPACE CELLS IN ACODEWORD ARRAY
                                                (RBmax AND RSmin).


                                                        '
                                  DETERMINE THE GAP BETWEEN RSmin AND THE LOCAL
                                    BLACK/WHITE CONTRAST THRESHOLD FOR EVERY
                                       CODEWORD. (ESgap =RSmin - locolBWCT}

                                                        •
                                 DETERMINETHE GAP BETWEEN RBmox AND THE LOCAL
                                   BLACK/WHITE CONTRAST THRESHOLD FOR EACH
                                     CODEWORD. (EBgop =locolBWCT - RBmox)
              515
                                                        1
                             IDENTIFY THE LARGEST SPACE CELL VALUE IN THE ENTIRE ARRAY
                                   (THAT IS THE LARGEST VALUE FOR RSmin) (RSmm).
                                                         t
                              DIVIDE All SPACE GAP VALUE ENTRIES (Etfi} BY THE LARGEST
                             SPACE CELL VALUE RSmm IN THE ARRAY, GNRATING AN Srap%
                                  VALUE FOR EACH CODEWORD. {Sgop% = ESgap/RSmm


                                                        '
                              IDENTIFY THE LARGEST BAR CELL VALUE IN THE ENTIRE ARRAY
                                  (THAT IS THE LARGEST VALUE FOR RBmox) (RBmm}.


                                                        '
                              DIVIDE ALL BAR GAP VALUE ENTRIES (EBI~·) BY THE LARGEST
                              BAR CELL VALUE RBmm IN THE ARRAY, G .ERATING ABgap%
                                 VALUE FOR EACH CODEWORD. (Bgop% = EBgop/RBmm)



              520 {
                                                        •
                      6507,_ RANK THE CODEWORDS FOR POOREST OPTICAL CLARITY, BASED
                             ON THOSE CODEWORDS WITH THE LOWEST Bgop% AND/OR THE
                                            LOWEST Sgop% VALUES.                             FIG.6


                                                                                                     HONEYWELL-00248620

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               10oz.                                                  702                      702
                                                                ,--·-··•A·•·•··-..
                         cw        RSmin   RBmox        ESooo      Suon%             E8aoo    Baao% RANK
                              1    DO      58           58         85                10       47
                              2    BB      47           43         63                2E       74
                              3    BB      40           43         63                35       85
                           4       AF      47           3A          54               2E       74
                            5      AO      3F           28          40               36       87
                            6      PF      47           6A          99               2E       74
                            7      DO      40           58          85               35       85
                           8       08      3F           63          93               36       87
                            9      OF      3F           6A          99               36       87
                          10       AB      3F           33          48               36       87
                        11!        7F      3F           OA          09               36       87      4
                        12!        88      3F           13          18               36       87      7
                          13       AF      40           3A          54               35       85
                          14       co      3F           48          70               36       87
                          15       BF      3F           4A          69               36       87
                          16       OF      3F           6A          99               36       87
                          17       co      3F           48          70               36       87
                        18!        77      38           02          02               30       98      2
                        19!        77      3F           02          02               36       87      1
                        20!        9F      40           2A          39               35       85      12
                              21   07      3F           62          92               36       81
                              22   EO      67           68          100              OE       23      9
                              23   (8      40           53          78               35       85
                        24!        80      3F           OB          10               36       87      6
                        25!        88      3F           13          18               36       87      8
                        26!        90      38           1B          25               30       98      11
                        27!        A7      3F           32          47               36       81      XXX
                            28     OF      40           6A          99               35       85
                            29     OF      40           6A          99               35       85
                           30      DO      3F           58          85               36       87
                            31     CF      38           5A          84               30       98
                            32     BF      40           4A          69               35       85
                           33      AF      38           3A          54               30       98
                            34     7F      3F           OA          09               36       87      5
                        35!        78      3F           03          03               36       87      3
                        36!        BF      3F           1A          24               36       87      10
                            37     CF      3F           SA          84               36       87
                           38      07      37           62          92               3E       100
                           39      00      38           58          85               30       98
                           40      (8      3F           53          78               36       87            FIG.l

                                                                                                              HONEYWELL-00248621

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                  805




                         ACTUAL CODEWORDS IN ERROR AS INTERPRETED BY ASCANNER IN THE FIELD.




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                 815
                                                                                              FIG.8
                            SAME SYMBO~ CODEWORDS-IN-ERROR AS ANALYZED BY ALGORITHM.



                                                                                                HONEYWELL-00248622

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                                           1                                                                  2
                   ENHA,_~CED MATRIX SYMBOL ERROR                             overall symbol. The interpretation of a symbol in a given
                         CORRECTION METHOD                                    context (for example, for a given manufacturer and/or a
                                                                              given product) therefore depends on the codewords within
                        CROSS-REFERENCE TO RELATED                            the symbol; and in particular, the interpretation depends on
                                    APPLICATION                               both: (i) the contents of each codeword (that is, the pattern
                                                                              of cells in each codeword), and (ii) the placement or position
                The present application claims the benefit of U.S. patent     of each codeword in the symbol.
             application Ser. No. 15/006,561 for Enhanced Matrix Sym-            Typically, for sequential alphanumeric data (for example,
             bol Error Correction Method filed Jan. 26, 2016 (and pub-        a product identification nmnber or a street address), each
             lished Jul. 27, 2017 as U.S. Patent Application Publication 10 sequential data character is assigned to the symbols of a
             No. 2017/0213064). Each of the foregoing patent applica-         codeword in a standardized order. For example, the order
             tion and patent publication is hereby incorporated by refer-     may be left-to-right along the rows of the symbol, or
             ence in its entirety.                                            according to a standardized diagonal pattern of placement.
                                                                              Because the codewords have specific, standards-specified
                             FIELD OF THE INVENTION                        15 placements within a symbol-and because no information
                                                                              about the placement is contained in the symbol character-
                The present invention relates to a method and apparatus       the symbols may also be referred to as "matrix symbols" or
             for decoding machine-readable symbols, and more particu-         "matrix symbology barcodes."
             larly, to a method and apparatus for decoding symbols               Bar code readers are employed to read the matrix symbols
             requiring error correction.                                   20 using a variety of optical scanning electronics and methods.
                                                                              Ideally, the machine-readable symbols which are scanned by
                                   BACKGROUND                                 a bar code reader are in perfect condition, with all of the cells
                                                                              of consistent, uniform size; each cell being fully filled with
                Machine-readable symbols provide a means for encoding         either total black or total white; and the contrast between
             information in a compact printed form (or embossed form) 25 black and white cells being 100%.
             which can be scanned and then interpreted by an optical-            In real, practical application the machine-readable sym-
             based symbol detector. Such machine readable symbols are         bols which are scanned by a bar code reader may be
             often attached to (or impressed upon) product packaging,         imperfect. They may be smudged by external substances
             food products, general consumer items, machine parts,            (grease, dirt, or other chemicals in the environment); or the
             equipment, and other manufactured items for purposes of 30 surface on which the symbols were printed may be stretched,
             machine-based identification and tracking.                       compressed, or tom; or the printing process itself may be
                One exemplary type of machine-readable symbol is a bar        flawed (for example, due to low ink levels in a printer,
             code that employs a series of bars and white spaces verti-       clogged printheads, etc.). The defects in actual symbols may
             cally oriented along a single row. Groups of bars and spaces     introduce errors in the machine reading process.
             correspond to a codeword. The codeword is associated with 35        To address these practical problems, error correction
             an alpha-numeric symbol, one or more numeric digits, or          techniques are often used to increase reliability: even if one
             other symbol functionality.                                      or more cells are damaged so as to make a codeword
                To facilitate encoding of greater amounts of information      unreadable, the unreadable codeword can be recovered
             into a single machine-readable symbol, two-dimensional bar       through the error-correction process, and the overall mes-
             codes have been devised. These are also commonly referred 40 sage of the symbol can still be read.
             to as stacked, matrix and/or area bar codes. Examples of            For example, machine-readable symbols based on the
             such two-dimensional symbologies include Data Matrix,            Data Matrix ECC 200 standard employ Reed-Solomon
             Code One, PDF-417, MaxiCode, QR Code, andAztec Code.             codes for error and erasure recovery. ECC 200 allows the
             2D matrix symbologies employ arrangements of regular             routine reconstruction of the entire encoded data string when
             polygon-shaped cells (also called elements or modules) 45 the symbol has sustained 25% damage (assuming the matrix
             where the center to center distance of adjacent elements is      can still be accurately located).
             uniform. Typically, the polygon-shaped cells are squares.           Under this standard, approximately half the codewords in
             The specific arrangement of the cells in 2D matrix symbolo-      a symbol are used directly for the data to be represented, and
             gies represents data characters and/or symbology functions.      approximately half the codewords are used for error correc-
                As an example of a 2D matrix symbol technology, a Data so tion. The error-correction (EC) symbols are calculated using
             Matrix code is a two-dimensional matrix barcode consisting       a mathematical tool known as the Reed-Solomon algorithm.
             of high-contrast "cells" (typically black and white cells) or    The codewords for the symbol are the input to the Reed-
             modules arranged in either a square or rectangular pattern.      Solomon algorithm, and the error-correction (EC) symbols
             The information to be encoded can be text or numeric data,       are the output of the Reed-Solomon algorithm. The complete
             or control symbols. The usual data size ranges from a few 55 machine-readable symbol includes both the data codewords
             bytes up to 1556 bytes. Specific, designated, standardized       and the EC codewords.
             groups of cells-typically eight cells-are each referred to          For a given symbol format (such as Data Matrix, PDF-
             as a "symbol character." The symbol characters have values       417, QR-Code, Aztec Code, and others), and fora given size
             which are referred to as "codewords." With a black cell          of the symbol matrix, there are a fixed, designated numbers
             interpreted as a O (zero) and a white cell interpreted as a 1 60 of EC codewords. To recover any one, particular damaged
             (one), an eight-cell codeword can code for numbers 0             (unreadable) codeword, two things must be recovered: (i)
             through 255; in tum, these numeric values can be associated      the location of the damaged data codeword within the
             with alphanumeric symbols through standard codes such as         symbol, and (ii) the contents (the bit pattern) of the damaged
             ASCII, EBCDIC, or variations thereon, or other function-         data codeword. In tum, to recover both the location and the
             ality.                                                        65 bit pattern for a single codeword requires two of the avail-
                The codewords-that is, the designated groups of cells in      able EC symbols. It follows that if a machine-readable
             a symbol-have specific, standardized positions within the        symbol has two damaged codewords, four EC codewords




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             are required to recover the full symbol. Generally, if a            FIG. 3 illustrates several exemplary machine-readable 2D
             symbol has "N'' damaged codewords, then 2*N EC code-             symbols.
             words are required to recover the full symbol.                      FIG. 4 provides two views of an exemplary 2D symbol
                The number of EC codewords in a symbol is limited. This       which is damaged.
             places a limit on the number of damaged, unreadable data            FIG. 5 is a flow-chart of an exemplary method for
             codewords which can be recovered. Generally, with error          optically enhanced Reed-Solomon error-correction for a 2D
             correction techniques, and using present methods, the num-       symbol.
             ber of damaged data codewords which can be recovered is             FIG. 6 is a flow-chart of an exemplary method for contrast
             half the total number of EC codewords. For example, in a         analysis for a 2D symbol as part of enhanced Reed-Solomon
             Data Matrix symbol with 16x16 cells, the total number of 10 error correction.
             EC codewords is 12. This means that at most 6 damaged data          FIG. 7 presents an exemplary array of codeword contrast
             codewords can be recovered. If more than 6 of the data           values used for enhanced error correction by applying
             codewords are damaged, the complete symbol may be                contrast analysis to a flawed codeword.
             unreadable.                                                         FIG. 8 illustrates an exemplary case-study of enhanced
                However, if the location of the data codeword in error is 15 error correction by applying contrast analysis to a flawed
             already known, then only one EC codeword is needed to            codeword.
             correct the error. This technique is called "erasure decod-
             ing". Unfortunately, in Matrix Code symbols generally, the                         DETA.ILED DESCRIPTION
             location of the errors is not known.
                Therefore, there exists a need for a system and method for 20    In the following description, certain specific details are set
             recovering more damaged data codewords in a symbol than          forth in order to provide a thorough understanding of various
             may be recovered based on only the error-correcting sym-         embodiments. However, one skilled in the art will under-
             bols by themselves. More particularly, what is needed is a       stand that the invention may be practiced without these
             system and method for determining the location of a dam-         details. In other instances, well-known structures associated
             aged or erroneous data codeword, independent of the infor- 25 with imagers, scanners, and/or other devices operable to
             mation stored in the EC codewords.                               read machine-readable symbols have not been shown or
                                                                              described in detail to avoid unnecessarily obscuring descrip-
                                      SUMMARY                                 tions of the embodiments.
                                                                                 Unless the context requires otherwise, throughout the
                Accordingly, in one aspect, the present invention solves 30 specification and claims which follow, the word "comprise"
             the problem of not being able to use erasure decoding with       and variations thereof, such as, "comprises" and "compris-
             matrix symbologies by evaluating the gray-level informa-         ing" are to be construed in an open sense, that is as
             tion available in the scanner and keeping track of those         "including, but not limited to."
             codewords with the least contrast difference. The decoder           Reference throughout this specification to "one embodi-
             then utilizes erasure decoding on these least-contrast code- 35 ment" or "an embodiment" means that a particular feature,
             words. Since the location of the erroneous data codewords        structure or characteristic described in connection with the
             has been estimated via the contrast detection, only one EC       embodiment is included in at least one embodiment. Thus,
             codeword is required to recover the data in the damaged          the appearances of the phrases "in one embodiment" or "in
             codeword. (And so, only one EC codeword is required to           an embodiment" in various places throughout this specifi-
             fully recover the damaged data codeword, both its location 40 cation are not necessarily all referring to the same embodi-
             and data.)                                                       ment. Furthermore, the particular features, structures, or
                Because only one EC codeword is required instead of two,      characteristics may be combined in any suitable manner in
             more EC codewords remain unused and available for decod-         one or more embodiments.
             ing other possible errors. This increases the total number of       The headings provided herein are for convenience only
             data codewords that can be corrected. This is particularly 45 and do not interpret the scope or meaning of the claimed
             useful in applications where symbols get dirty (e.g. auto-       invention.
             motive assembly), damaged (e.g. supply chain), have specu-          Symbol Reader
             lar components (e.g. direct part marking (DPM)) and need to         The present system and method embrace devices designed
             be scanned over a greater range (e.g. all applications).         to read machine-readable symbols.
                The algorithm of the present invention has the effect of so      In an exemplary embodiment, such a device may be a
             nearly doubling the number of codewords that can be              hand-held scanner. FIG. 1 is a perspective view of an
             corrected in matrix symbology decodes, thereby greatly           exemplary hand-held symbol reader l 00 acquiring data from
             improving the performance over what is currently available.      a machine-readable symbol 102.
                lbe foregoing illustrative summary, as well as other             The machine-readable symbol 102 is affixed to a package
             exemplary objectives and/or advantages of the invention, 55 104 or the like such that the user points the hand-held
             and the manner in which the same are accomplished, are           symbol reader 100 towards the machine-readable symbol
             further explained within the following detailed description      102. The symbol reader 100 may be a line scanner operable
             and its accompanying drawings.                                   to emit and swe1.,-p a narrow beam of electromagnetic energy
                                                                              across a field-of-view 106 over two-dimensional (2D)
                    BRIEF DESCRIPTION OF THE DRAWINGS                      60 machine-readable symbol 102. In other embodiments, an
                                                                              aperture means, mirror, lens or the like is adjusted to sweep
                FIG. 1 is a perspective view of an exemplary hand-held        across a symbol line to receive returning electromagnetic
             symbol reader acquiring data from a machine-readable sym-        energy from a relatively small portion (e.g., cell) of the
             bol.                                                             machine-readable symbol, which is detected by an optical
                FIG. 2 is an internal block diagram of an exemplary 65 detector system.
             symbol reader for acquiring data from a machine-readable            In yet other embodiments, a 2D array symbol reader
             symbol                                                           acquires a captured image of the machine-readable symbol




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             (and a suitable region of quiet area around the machine-            access memory (RAM) 245 and an erasable read only
             readable symbol). For the present system and method, which          memory (EROM) 246. Processor 242 and ASIC 244 are also
             relies upon a contrast analysis of the cells within the symbol      both connected to a common bus 248 through which pro-
             102, the acquisition of a captured image of the symbol may          gram data and working data, including address data, may be
             be a preferred method of operation for the symbol reader            received and transmitted in either direction to any circuitry
             100. Suitable image processing hardware 235 and software            that is also connected thereto. Processor 242 and ASIC 244
             running on processors 242, 244 are used to deconstruct the          may differ from one another, however, in how they are made
             capture image to determine the data bits represented by the         and how they are used.
             cells, and to perform the contrast analysis of the present             In one embodiment, processor 242 may be a general
             system and method (see FIG. 2 below).                            10 purpose, off-the-shelf VLSI integrated circuit microproces-
                Ihe machine-readable symbol reader 100 is illustrated as         sor which has overall control of the circuitry of FIG. 2, but
             having a housing 108, a display 110, a keypad 112, and an           which devotes most of its time to decoding image data stored
             actuator device 114. Actuator device 114 may be a trigger,          in RAM 245 in accordance with program data stored in
             button, or other suitable actuator operable by the user to          EROM 246. Processor 244, on the other hand, may be a
             initiate the symbol reading process.                             15 special purpose VLSI integrated circuit, such as a progr-dlll-
                Ihe machine-readable symbol J02 shown in the figure is           mable logic or gate array, which is programmed to devote its
             intended to be generic and, thus, is illustrative of the various    time to functions other than decoding image data, and
             types and formats of machine-readable symbols. For                  thereby relieve processor 242 from the burden of performing
             example, some machine-readable symbols may consist of a             these functions.
             single row of codewords (e.g., barcode). Other types of 20             In an alternative embodiment, special purpose processor
             machine-readable symbols (e.g., matrix or area code) may            244 may be eliminated entirely if general purpose processor
             be configured in other shapes, such as circles, hexagons,           242 is fast enough and powerful enough to perform all of the
             rectangles, squares and the like. It is intended that many          functions contemplated by the present system and method.
             various types and formats of machine-readable symbologies           It will, therefore, be understood that neither the number of
             be included within the scope of the present system and 25 processors used, nor the division of labor there between, is
             method.                                                             of any fundamental significance for purposes of the present
                Symbol Reader Internal Block Diagram                             system and method.
                An internal block diagram of an exemplary symbol reader             In an embodiment, exemplary symbol reader 100 includes
             100 of a type which may implement the present system and            a signal processor 235 and an analog-to-digital (AID) chip
             method is shown in FIG. 2.                                       30 236. These chips together take the raw data from iniage
                In one embodiment of the present system and method, the          sensor 232 and convert the data to digital format, which in
             symbol reader 100 may be an optical reader. Optical reader          an exemplary embodiment may be a gray-level digital
             100 may include an illumination assembly 220 for illumi-            format, for further processing by programmable controller
             nating a target object T, such as a ID or 2D bar code symbol        240.
             102, and an imaging assembly 230 for receiving an image of 35          In an embodiment, the system and method of the present
             object T and generating an electrical output signal indicative      invention employs algorithms stored in EROM 246 which
             of the data which is optically encoded therein. Illumination        enable the programmable controller 240 to analyze the
             assembly 220 may, for example, include an illumination              image data from signal processor 235 and AID 236. In an
             source assembly 222, such as one or more LEDs, together             embodiment, and as described further below, this image
             with an illllillinating optics assembly 224, such as one or 40 analysis may include analyzing gray-level information (con-
             more reflectors, for directing light from light source 222 in       trast levels) in the image data. In an embodiment, and in part
             the direction of target object T. Illumination assembly 220         based on the contrast level analysis, programmable control-
             may be eliminated if ambient light levels are certain to be         ler 240 may then implement an improved system and
             high enough to allow high quality images of object T to be          method of error correction for matrix symbols by relying on
             taken.                                                           45 optical contrast-level analysis, as also described further
                In an embodiment, imaging assembly 230 may include an            below.
             image sensor 232, such as a 2D CCD or CMOS solid state                 Exemplary symbol reader 100 may also include input/
             image sensor, together with an imaging optics assembly 234          output (I/0) circuitry 237, for example to support the use of
             for receiving and focusing an image of object Tonto image           the keyboard 112 and trigger 114. Symbol reader 100 may
             sensor 32. The array-based imaging assembly shown in FIG. so also include output/display circuitry 238 to support display
             2 may be replaced by a laser scanning bast.-d iniaging              110.
             assembly comprising a laser source, a scanning mechanism,              Exemplary Symbols
             emit and receive optics, a photodetector and accompanying              FIG. 3 illustrates several exemplary machine-readable 2D
             signal processing circuitry. The field of view of the imaging       symbols 102 labeled 102.1 and 102.2.
             assembly 230 will depend on the application. In general, the 55        Symbol 102.1 is an exemplary machine-readable symbol
             field of view should be large enough so that the iniaging           encoded according to the Data Matrix barcode (ECC 200)
             assembly can capture a bit map representation of a scene            standard. The symbol 102.1, which is a 24x24 array, has two
             including an image data reading region at close reading             solid black borders 302 forming an "L-shape" which are the
             range.                                                              finder pattern, enabling the symbol reader to determine the
                In an embodiment of the present system and method, 60 location and orientation of the 2D symbol. The symbol also
             exemplary symbol reader 100 of FIG. 2 also includes                 has two opposing borders of alternating dark and light cells
             programmable controller 240 which may comprise an inte-             which form a "timing pattern" 304 which help the symbol
             grated circuit microprocessor 242 and an application specific       reader identify the size (the number of rows and columns) of
             integrated circuit (ASIC) 244. Processor 242 and ASIC 244           the symbol.
             are both progrannnable control devices which are able to 65            Interior to the finder pattern 302 and timing pattern 304
             receive, output and process data in accordance with a stored        are rows and columns of interior cells 306 which encode
             program stored in either or both of a read/write random             information. As may be evident from the figure, an ideal




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             machine-readable symbol has a very high contrast level             vertical scuff mark 402 which is approximately down the
             between the first color dark cells and the second color light      middle of the symbol 102.Dl. The scuffing is sufficiently
             cells, in many cases achieved by employing clearly printed,        dark tliat, when read with a standard symbol reader 100, the
             unobscured cells which are either all black or all white.          reader 100 mistakes many individual cells 306 for black
                Symbol 102.2 is an exemplary 16x16 machine-readable 5 when (as printed, and without damage or scuffing) they are
             symbol encoded according to the Data Matrix barcode (ECC           white cells. This in turns causes codeword errors. '.Ibis
             200) standard. In symbol 102.2, and for purposes of illus-         symbol 102.Dl will not read with current scanners.
             tration only, the interior black data cells are omitted, and          The actual value of the codewords in symbol 102.Dl is
             boundaries between the interior cells 306 are suggested by         listed here (codewords before the colon are data codewords,
             shaded, dotted lines which are not normally present in actual 10 those after the colon are error-correction codewords):
             printed data matrix symbols.                                          237 151230204 27 207 144165 112 27 13 43 222 60 125
                Also, not normally present in actual printed symbols, but       34137186 71163 223 254:96 917131209 21131100111
             included here for purposes of illustration, are solid borders      146 225 95 109 112 182 218 118 203
             which indicate the boundaries of the codewords 308 formed             The values for the codewords determined by a symbol
             by the interior cells 306. In an embodiment, each codeword 15 reader 100 are shown here, with the incorrect codewords
             308 is composed of eight cells representing a single byte of       underlined:
             data. It will be seen that there are several types of code-           237 151230204 27 207 144 165 112 27 173 fil 222 60
             words, including data codewords 308.1 which encode the             125 34 137 l2.l 127 235 223 254:96 25 l 75 l2.l 208 21 131
             actualdatatoberepresentedbythesymbol;error-correcting              100 111146 225 95 111116 182 218 118 203
             (EC) codewords 308.2 which are generated from the data 20             As is apparent in the image of symbol 102.Dl, throughout
             codewords according to the Reed-Solomon algorithm; and             the smudged region 402 the contrast between many indi-
             padding codewords 308.3.                                           vidual cells is small, and is close to the threshold level
                'lbe figure also identifies one exemplary bar (black) cell      between black and white. Compare for example a cluster of
             306.B and one exemplary space (white) cell 306.S.                  low contrast cells 404 within the smudged region 402 with
                '.lbe illustration here of machine-readable symbols based 25 a non-damaged, machine-readable high contrast region 406.
             on the Data Matrix barcode standard, as well as the size,             In the second view, the damaged symbol 102.D2 is
             shape, and data contents illustrated, are exemplary only and       illustrated as it was interpreted by an actual scanner 100 in
             should not be construed as limiting. The present system and        the field. As shown by the codewords with shaded cells 306
             method are applicable to a wide variety of 2D matrix               in the illustration, there were eleven codewords 308 which
             barcodes according to a variety of known standards, as well 30 provided flawed readings from the scanner 100, and may be
             as being applicable to other 2D machine-readable symbols           described as flawed codewords 308.F.
             which may be envisioned in the future.                                Erasure vs. Error:
                Symbol Errors                                                      By way of terminology, it is noted here that if the position
                As discussed above, the data content of symbols 102 is          of an erroneous codeword is known, but the data is not
             stored or presented in the form of cells 306 of contrasting 35 known (or is ambiguous), the codeword is referred to as an
             colors within codewords 308. In an embodiment of the               "erasure." If the data of an erroneous codeword is unknown
             present system and method, the light cells (typically white)       and the position of the codeword is also unknown, the
             represent ones (1 's) and the dark cells (typically black)         codeword is referred to as an "error."
             represent zeros (O's). In an alternative embodiment, a light          Reed-Solomon Error Correction
             cell represents zero (0) and the dark cells represent (1 ). In 40     In an embodiment, the present system and method
             alternative embodiments, other colors or levels of shading         includes application of error-correcting codes and analyses,
             may be employed. As a general matter, however, for the             augmented with optical analysis of a machine-readable
             coding to be effective the symbol reader 100 must be readily       symbol 102, to detect and correct errors in the machine-
             able to distinguish the dark cells from the light cells. Also,     readable symbol 102. Various mathematical methods of
             the data is stored not only in terms of the cells 306 per se, 45 error correction are well-known in the art, and a detailed
             but also in terms of the positions of the cells 306 within the     description is beyond the scope of this document. However,
             codewords 308, and the positions of each codeword 308              review of a few basic elements of an exemplary error-
             within the symbol 102.                                             correction method may aid in the understanding of the
                If a symbol 102 is damaged, there may be insufficient           present system and method.
             contrast between light cells and dark cells for the symbol so         All standardized 2D matrix symbologies utilize the Reed-
             reader 100 to reliable distinguish the cells. Similarly, dam-      Solomon methodology. In Reed-Solomon codes, a set of
             age to the symbol may render it difficult for the symbol           data elements, such as bytes of data, may be redundantly
             reader to identify tlie location or boundaries of cells 306 and    encoded in a second set of error-correcting elements (also
             codewords 308. In other cases, damage to cells 306 can             typically in byte form), which for present purposes can be
             cause a change from black to white or vice-versa. '.Ibis in 55 referred to as EC codewords 308.2. The error-correcting
             turn calls upon the error-correction methods, such as Reed-        codewords are transmitted or presented along with the
             Solomon, already discussed above. The present system and           principle data elements, enabling reconstruction of damaged
             method are intended to augment Reed-Solomon and similar            data elements.
             error-correction methods with information based on contrast           Methods of constructing the Reed-Solomon EC code-
             analysis.                                                       60 words (based on a given, particular data set) are outside the
                FIG. 4 provides two views 102.Dl, 102.D2 of an exem-            scope of this document. It suffices for present purposes to
             plary symbol which is damaged, so that the original high-          understand that Reed-Solomon-derived EC codewords
             contrast has been lost while the symbol 102 is in use in the       308.2 can be calculated, and the resulting EC codewords are
             field.                                                             included as part of 2D matrix symbols, as already described
                In the first view, the damaged symbol 102.Dl shown in 65 above.
             the figure was photographed in a real-world automotive                There are a variety of methods of decoding a message
             manufacturing plant. It is apparent that there is a dark           with Reed-Solomon error correction. In one exemplary




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             method, the values of the data codewords 308.1 ofa symbol                 Persons skilled in the art will recognize that the non-zero
             102 are viewed as the coefficients of a polynomial s(x) that           error positions ik calculated via the alternative methods
             is subject to certain constraints (not discussed here):                (discussed further below) can be input directly into stage
                                                                                    (II), thereby enabling the calculations of the correct data
                                                                                    values in stage (II).
                                                   n-1                                 Importantly, in the mathematics of standard Reed-Solo-
                                          S(x)= Ic;.i                               mon error correction, errors (both location and data
                                                    i=O
                                                                                    unkuown) requires the use of two error correcting code
                                                                                    words to repair a damaged codeword. If, on the other hand,
                It will be noted that not only the values of the data 10 knowledge of the location of the error exists, then the error
             codewords 308.1 matter, but also their order. The ordinal              is considered an erasure, and only one error correction
             placement of the codewords (1 st, 2nd, 3n1, etc.) in the               codeword is required to repair the erased codeword.
             polynomial maps to the physical ordering of the data code-                Stated another way: Normally, error-correction in 2D
             words 308.1 in the machine-readable symbol 102.                        matrix symbologies is used to correct codewords which are
                If the machine-readable symbol 102 is damaged or cor- 1s errors, meaning that both the location and contents of the
             rupted, this may result in data codewords 308.1 which are              codeword are unknown. "The goal of the present system and
             incorrect. The erroneous data can be understood as a                   method is to independently flag errors so that they are
             received polynomial r(x):                                              instead treated as erasures, for which the location is known,
                                                                                    thereby requiring only one EC codeword for correction.
                                                                                 20    Optical Clarity and Optical Ambiguity, Decoding Disad-
                                        r(x) =s(x) + e(x)                           vantage, and Reed-Solomon Error Correction
                                                                                       As discussed above, Reed-Solomon error correction
                                                  n-1
                                                                                    requires the use of two EC codewords 308.2 to correctly
                                          e(x)= Ie;l
                                                   i=O
                                                                                    recover both the location and the data contents of a single
                                                                                 25 data codeword 308.1 which is flawed. However, the present
                                                                                    system and method aims to enable the identification (at least
                where e, is the coefficient for the i th power ofx. Coefficient     provisionally) of the locations of the flawed or damaged
             e1 will be zero if there is no error at that power of x (and so        codewords 308.F---and to make such identification indepen-
             no error for the corresponding ith data codeword 308.1 in the          dently of the EC codewords 308.2 in the symbol 102. Such
             symbol 102); while the coefficient e, will be nonzero if there 30 alternative means of locating the data codewords 308.1
             is an error. If there are v errors at distinct powers ik ofx, then:    which are flawed supplements the data in the EC codewords
                                                                                    308.2; as a result, only a single EC codeword 308.2 is
                                                                                    required to identify the data in a data codeword 308.1
                                              N
                                                                                    Flawed codewords 308.F may also be referred to as code-
                                          I
                                      e(x) =
                                             k-=1
                                                  (e_i, )(xAi,)
                                                                                 35 words which have a "decoding disadvantage."
                                                                                       To identify the locations of the codewords with a decod-
                                                                                    ing disadvantage, independent of the error-correcting infor-
                The goal of the decoder is to find the number of errors (v ),       mation within the symbol 102 itself, the present system and
             the positions of the errors (ik), and the error values at those        method identifies those codewords 308 in the symbol 102
             positions (e_ik). From those, e(x) can be calculated, and then 40 which have a low level of optical clarity, or equivalently, a
             e(x) can be subtracted from the received r(x) to get the               high level of optical ambiguity. By "optical clarity" is meant
             original message s(x).                                                 any codeword 308 which, as presented to the reader 100, is
                1here are various algorithms which can be employed, as              sufficiently clear and distinct (e.g., has high optical contrast)
             part of the Reed-Solomon scheme, to identify the error                 to be read very reliably by the symbol reader's optical
             positions (i,1) and the error values at those positions (e_iJ, 45 system 230, 235. If a codeword 308 is not optically clear-
             based solely on the received data codewords 308.1 and the              for example, due to poor printing, smudging or marking in
             received EC codewords 308.2. The processes involved,                   the field, ripping or tearing, or other causes-then the
             however, are generally a two-stage processes, where:                   codeword is deemed optically ambiguous; there is a signifi-
                Stage (I) Error Locations: The first calculation stage              cant probability that the data for an optically ambiguous
             entails identifying the location of the errors. This entails first so codeword, as determined by a reader 100, will not match the
             calculating an error-locator polynomial A, and based on A,             intended data of the same codeword.
             calculating the non-zero error positions ik. This stage also              FIG. 5 presents a flow-chart of an exemplary method 500
             determines the number of errors (v). This first stage calcu-           for optically enhanced Reed-Solomon error-correction for a
             lation inevitably requires the use of some of the EC code-             symbol 102. The steps of exemplary method 500 are gen-
             words 308.2 in the symbol 102.                                      55 erally performed via the processor(s) 240, memory 245, and
                Stage (II) Corrected Values:                                        other components of the symbol reader 100.
                Employing the location errors ik as calculated in stage (i),           In step 505, the symbol reader 100 identifies the location
             the second calculation stage identifies the correct values             of the symbol 102 and the appropriate parameters such as the
             (e_ik) associated with each error location.                            size. For example, for a DataMatrix symbol, the reader 100
                It will be seen then that in the prior art, correcting errors 60 finds the "L-shape" 302 and finds the clock track 304 to
             is a two-stage process, where identifying error locations              identify the number of rows and columns in the symbol. The
             generally precedes, and is an input to, identifying the                L-shape 302 and clock track 304 help the reader 100
             corrected data at each location. It is a goal of the present           determine the symbol's tilt and orientation, and provide
             system and method to either reduce or possibly eliminate the           reference points from which to decode the matrix of data
             calculations of stage (I), by using analyses apart from 65 cells.
             Reed-Solomon error correction to determine identify or                    In step 510, the symbol reader 100 creates a matrix or
             mark the erroneous data codewords 308.1.                               array of sample points (pixels), indicating the reflectances




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             (bright or dark) of points within the symbol 102. These            algorithm," or simply "contrast analysis algorithm" (CAA)
             sample points are used to determine reflectance of cells 306       for short. The contrast analysis algorithm of the present
             within the symbol. A single cell 306 may have multiple             system and method detem1ines the actual gray level of each
             sample points measured, and together these may be used (for        cell 306 in the symbol 102. The CAA also identifies the
             example, averaged) to determine the reflectance of each cell 5 black/white contrast threshold for the symbol 102. The
             306.                                                               black/white contrast threshold is the brightness level above
                As discussed above, the symbol 102 is composed of               which a cell 306 is considered to be white, and below which
             codewords 308 with standardized positions, that is, which          a cell is considered to be black. The algorithm then deter-
             are made up of standardized clusters of cells 306 with             mines the difference between the contrast level of each cell
             designated positions within the symbol matrix 102.              10 306 and the black/white threshold. If the differential is
                In step 515, the method 500 determines a level of optical       comparatively low for one or more cells 306 in a particular
             clarity for each codeword 308. A high level of optical clarity,    codeword 308, the codeword 306 may have a decoding
             which is desirable, means the codeword's cells are distinc-        disadvantage.
             tive and that the data value of the codeword can be read with         More generally, the CAA may identify a light/dark thresh-
             a high probability of accuracy.                                 15 old level, which is a brightness level above which a cell 306
                A low level of optical clarity-or equivalently, a high          is considered to be of a first, lighter color (for example,
             level of optical ambiguity-may result from physical dam-           white); and below which a cell is considered to be of a
             age to a symbol, or from dirt or grease marking the symbol,        second, darker color (for example, black).
             or other causes as discussed above. Low optical clarity, or           A scanner 100 will conventionally store, in memory 245,
             high optical ambiguity, means that fue codeword's cells are 20 fue "color" of each cell 306, for example, a red-green-blue
             not distinctive and fue codeword has a decoding disadvan-          (RGB) value or a hue-saturation-brightness (HSB) value.
             tage. The low level of optical clarity therefore means that fue    The present system and mefuod will also store, in the
             data value of the codeword can be ascertained only wifu a          memory (245) of fue scanner 100, an actual, measured
             suboptimal degree of reliability.                                  gray-scale level for each cell 306.
                Optical clarity/ambiguity may be determined in a variety 25        FIG. 6 presents a flow-chart of an exemplary method 600
             of ways. In one embodiment of the present system and               for contrast analysis according to the present system and
             mefuod, discussed in detail below, the optical clarity/ambi-       mefuod. Steps 605 furough 645 of exemplary mefuod 600
             guity is determined based on an analysis of the contrast level     collectively may be considered to be one exemplary embodi-
             between cells 306 within each codeword 308. Codewords              ments of step 515 of method 500, already discussed above.
             306 which exhibit the lowest internal contrast levels may be 30 (Step 515 determines an optical clarity for each codeword
             marked as optically ambiguous.                                     308 in the symbol 102.) Step 650 of exemplary method 600
                In an alternative embodiment, optical clarity/ambiguity         may be considered to be one exemplary embodiment of step
             may be determined based on analysis of the degree to which         520 of metl10d 500, fuat is, ranking the codewords for optical
             a codeword 308 is in-focus or not in-focus. In an alternative      clarity.
             embodiment, optical clarity/ambiguity may be determined 35            Where exemplary method 500 was directed to generally
             based on analysis of the defmition or lack of definition of        determining and ranking codewords 308 by optical clarity,
             lines separating the dark cells 306 from light cells 306.          fue exemplary method 600 particularly employs an exem-
                In an alternative embodiment, optical clarity/ambiguity         plary approach to contrast analysis in order to determine and
             may be determined based on a degree to which the horizon-          rank optical clarity. The steps of exemplary method 600 are
             tal and vertical lines of the codewords 308 are parallel to, or 40 generally perfom1ed via fue processor(s) 240, memory 245,
             are not parallel to, the border-L shape. Other methods of          and other components of the symbol reader 100.
             assessing optical clarity of a codeword 308 may be envi-              In step 605, the symbol reader 100 determines a local
             sioned as well, and fall within fue scope and spirit of fue        black/white contrast fureshold (BWCT). The black/white
             present system and method.                                         contrast threshold (BWCT), as described above, is a reflec-
                In step 520, exemplary method 500 ranks the codewords 45 tance level above which a cell 306 is considered white, and
             308 according to optical clarity, for example from highest to      below which a cell 306 is considered black. This is typically
             lowest in optical clarity. In step 525, method 500 identifies      determined by (i) identifying fue reflectance of all fue cells
             the lowest ranked codewords (those which are most opti-            306 in the symbol; (ii) identifying the highest reflectance
             cally ambiguous), up to the number of codewords 308 to be          value and the lowest reflectance value; and (iii) identifying
             used as erasures.                                               so a middle-value, such as fue mean or fue median, and using
                In steps 530 and 535, the lowest-ranked codewords 308           the middle-value as the BWCT. The present system and
             identified in step 525----that is, the codewords with the          method refine this by employing a local BWCT for each cell
             highest optical ambiguity-are marked as erasures in the            306. In an exemplary embodiment, a local BWCT for a
             error-correction equations, and the Reed-Solomon error-            given cell 306 may be determined by considering only those
             correction equations are then executed. Steps 530 and 535 55 other cells local to the given cell 306, and then identifying
             thereby reduce or eliminate fue calculations discussed above       fue mean or median reflectance among those cells. In an
             for a phase (I) of the Reed-Solomon error correction process,      embodiment, the number oflocal cells used to determine the
             and fuereby also reduce or eliminate the use of EC code-           local BWCT may be twenty (20). In an alternative embodi-
             words 308.2 to identify the locations of flawed codewords          ment fue number of local cells used to determine the BWCT
             308.F.                                                          60 for a given cell may be higher or lower than twenty (20).
                Gray-Scale Contrast Analysis Algorithm                             In step 610, the method 600 selects a particular codeword
                In one embodiment, the present system and method                308, (as specified in the appropriate standards for fue size
             identifies codewords 308 with high optical ambiguity (low          and shape of the symbol 102), and identifies the contrast
             optical clarity) via contrast analysis of the codewords within     level (the grayscale level) of each cell in fue codeword.
             the symbol 102.                                                 65    In step 615, the method 600 determines, for the particular
                The present system and method employ a "matrix-cell             codeword at hand, a bar cell (306.B) witli a contrast value
             contrast analysis algorithm," "gray-scale contrast analysis        closest to the BWCT; and a space cell (306.S) with a contrast




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             value closest to the BWCT; and then stores these two cell            RSmin is the smallest (darkest) space cell reflectance for
             contrast values in a codeword contrast values array in                  each codeword 308;
             memory (see FIG. 7 below for an example). The contrast               RBmax is the largest (lightest) bar cell reflectance for
             values may be labeled as RSmin for the space cell (306.S)               each codeword 308;
             closest to the BWCT, and RBmax for the bar cell (306.B) 5            ESgap is the erasure space gap calculated as RSmin minus
             closest to the BWCT. An equivalent phrasing: RSmin is the               the threshold (75hex in this case);
             smallest space cell reflectance (darkest), and RBmax is the          EBgap is the threshold minus RBmax for the bar cells;
             largest bar cell reflectance (lightest).                             Sgap % and Bgap % are the relative closeness of the
                Steps 610 and 615 are repeated for all codewords 308 in              deviant cell to the black/white threshold in percent, also
             the symbol 102. This results in a listing of RSmin and 10               referred to as the minimum interior contrast levels 702;
                                                                                     and
             RBmax for each codeword 308 in the symbol.                           Rank is a listing of the worst 12 codewords (those with the
                In step 620, the method 600 determines the erasure gap               smallest gap percentage) in the symbol 102.
             for spaces between RSmin and the local black/white contrast          FIG. 8 illustrates an exemplary case-analysis demonstrat-
             threshold for each codeword. (ESgap=RSmin-localBWCT)              ing how poor cell contrast can identify a majority of flawed
                In step 625, the method 600 determines the erasure gap 15 codewords 308.F. The daniaged symbols shown in the figure
             for bars between RBmax and the local black/white contrast         are the same as the damaged symbol pictured and illustrated
             threshold for each codeword. (EBgap=localBWCT-RB-                 in FIG. 4, above. In FIG. 8, numbered codeword locations
             max)                                                              805 are identified (by a standardized number scheme) for
                In step 630, the method 600 identifies the largest space       those codewords which are flowed or damaged.
             cell value in the entire array, that is the largest value for 20     102.D2, reproduced here from FIG. 4 for convenience, is
             RSmin. This value, which may be labeled as RSmm, is used          the damaged symbol as it was interpreted by an actual
             for normalization in the following step.                          scanner 100 in the field.
                In step 635, the method 600 divides all space gap value           Symbol 102.D3 is the same symbol as it was interpreted
             entries (ESgap) by the largest space cell ("white cell") value    according the exemplary contrast analysis algorithms dis-
             in the array, RSmm, generating an Sgap % value for each 25 cussed above in conjunction with FIG. 5 and FIG. 6.
             codeword. (Sgap %=ESgap/RSmm)                                        As can be seen in FIG. 8, there are two codewords 815
                In step 640, the method 600 identifies the largest bar cell    which were assessed as being in error by the present system
             ("black cell") value in the entire array, that is the largest     and method, but which were actually read correctly by the
             value for RBmin. This value, which may be labeled as              scanner 100. Of the latter codewords, one was in the
             RBmm, is used for normalization in the following step.         30 daniaged region 402 (codeword 27) and another was a
                In step 645, the method 600 divides all bar gap value          codeword where there is a scratch through the dark cell,
             entries (EBgap) by the largest bar cell value in the array,       making it lighter (codeword 22).
             RBmm, generating a Bgap % value for each codeword.                   As can also be seen from FIG. 8, there is one codeword
             (Bgap %=EBgap/RBmm)                                               810 which was actually read in error by the scanner 100, but
                Sgap % and Bgap %, then, are the percentage relative 35 was not flagged by the gray-scale contrast analysis algorithm
             closeness of the deviant cell to the black/white contrast         of the present system and method.
             threshold. These percentage values, Sgap % and Bgap %,               All the remaining, identified codewords 308 (a total of
             may also be referred to as the minimum interior contrast          ten) which were flagged as being in error based on contrast
             levels 702 for each cell 306. 'Ihe minimum interior contrast      analysis are codewords which were, in fact, read in error by
             levels 702 are a measure of the optical clarity of the 40 the scanner 100.
             codewords 308 in the symbol 102. Specifically: Those                 The codeword that the analysis missed (codeword 27) is
             codewords 308 with the lowest values for Sgap % and/or the        easily decoded using the 6 error correction codewords still
             lowest values for Bgap % have the highest optical ambiguity       remaining. This is an example of a symbol that was far from
             (and therefore the least or worst optical clarity).               being decodable using standard decoding methods, yet using
                As noted above, the preceding steps 605 through 645 of 45 a gray-scale contrast analysis algorithm, the symbol can
             method 600 may collectively be considered to be one               sustain this and slightly more daniage and still be decodable.
             exemplary embodiment of step 515 of method 500, already
             discussed above, that is, determining an optical clarity for                       FURTHER APPLICATIONS
             each codeword 308 in the symbol 102.
                In step 650, and based on the Sgap % and Bgap % values so         The example shown (in FIGS. 4 and 8) clearly benefits
             determined in steps 635 and 645, the method 600 ranks the         from the gray-scale contrast analysis decoding since the
             lowest gap percent values up to the number of error correc-       damage to the symbol 102.Dl/102.D2 is contrast based.
             tion codewords to be used as erasures. Step 650 of exem-          However, the present system and method will also work with
             plary method 600 may be considered to be one exemplary            other types of damage such as matrix distortion, uniform
             embodiment of step 520 of method 500, that is, ranking the 55 dark or light damage and for DPM cell variation. When these
             codewords for optical clarity/ambiguity.                          types of distortion are present, there will be many sample
                These lowest ranked, least clear codewords are the code-       points that rest on cell boundaries which will be recorded as
             words with the lowest optical clarity (or highest ambiguity),     reduced contrast values. As long as the matrix distortion
             which are then used as erasures in the Reed-Solomon               (such as wrinkling) is localized or the dark/light damage is
             equations (step 530 of method 500).                            60 less than approxiniately one-third of the symbol, the present
                Sample Applications                                            system and method will substantially improve decoding
                FIG. 7 presents an exemplary codeword contrast values          rates on all types of problem symbols 102.D.
             array 700 of the kind which may be constructed according
             to exemplary method 600, above. The array contains actual                                   SUMMARY
             codeword measurements for the symbol image 102.Dl/ 65
             102.D2 of FIG. 4, above. In array 700, CW is the codeword            Improved matrix symbology decode performance is pos-
             number; and, as per discussion above:                             sible when there is some knowledge of potentially damaged




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             codewords 308. One means of achieving improved decode         8,789,757; 8,789,758;
             performance is by measuring the gray-level contrast varia-    8,789,759; 8,794,520;
             tion of eveiy codeword, and marking those with contrast       8,794,522; 8,794,525;
             values that are closest to the black/white threshold as       8,794,526; 8,798,367;
             erasures. Using gray-level information and using erasure 5 8,807,431; 8,807,432;
             correction in matrix symbologies will allow successfol        8,820,630; 8,822,848;
             decoding far into a damage region where current product       8,824,692; 8,824,696;
             decoding fails.                                               8,842,849; 8,844,822;
                To supplement the present disclosure, this application     8,844,823; 8,849,019;
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             8,376,233; 8,381,979;                                         8,910,870; 8,910,875;
             8,390,909; 8,408,464;                                         8,914,290; 8,914,788;
             8,408,468; 8,408,469;                                         8,915,439; 8,915,444;
             8,424,768; 8,448,863;                                      20 8,916,789; 8,918,250;
             8,457,013; 8,459,557;                                         8,918,564; 8,925,818;
             8,469,272; 8,474,712;                                         8,939,374; 8,942,480;
             8,479,992; 8,490,877;                                         8,944,313; 8,944,327;
             8,517,271; 8,523,076;                                         8,944,332; 8,950,678;
             8,528,818; 8,544,737;                                      25 8,967,468; 8,971,346;
             8,548,242; 8,548,420;                                         8,976,030; 8,976,368;
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             8,550,357; 8,556,174;                                         8,978,984; 8,985,456;
             8,556,176; 8,556,177;                                         8,985,457; 8,985,459;
             8,559,767; 8,599,957;                                      30 8,985,461; 8,988,578;
             8,561,895; 8,561,903;                                         8,988,590; 8,991,704;
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             8,571,307; 8,579,200;                                         9,002,641; 9,007,368;
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             8,587,595; 8,587,697;                                      35 9,016,576; 9,022,288;
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             8,599,957; 8,600,158;                                         9,038,915; 9,047,098;
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             8,608,053; 8,608,071;                                         9,047,525; 9,047,531;
             8,611,309; 8,615,487;                                         9,053,055; 9,053,378;
             8,616,454; 8,621,123;                                         9,053,380; 9,058,526;
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             8,628,015; 8,628,016;                                      45 9,064,168; 9,064,254;
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             U.S. Patent Application Publication No. 2014/0131443;      U.S. Patent Application Publication No. 2015/0039309;




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             U.S. Patent Application Publication No. 2015/0039878;             U.S. patent application Ser. No. 14/257,364 for Docking
             U.S. Patent Application Publication No. 2015/0040378;               System and Method Using Near Field Communication
             U.S. Patent Application Publication No. 2015/0048168;               filed Apr. 21, 2014 (Showering);
             U.S. Patent Application Publication No. 2015/0049347;             U.S. patent application Ser. No. 14/264,173 for Autofocus
             U.S. Patent Application Publication No. 2015/0051992;               Lens System for Indicia Readers filed Apr. 29, 2014
             U.S. Patent Application Publication No. 2015/0053766;               (Ackley et al.);
             U.S. Patent Application Publication No. 2015/0053768;             U.S. patent application Ser. No. 14/277,337 for MULTI-
             U.S. Patent Application Publication No. 2015/0053769;               PURPOSE OPTICAL READER, filed May 14, 2014
             U.S. Patent Application Publication No. 2015/0060544;               (Jovanovski et al.);
             U.S. Patent Application Publication No. 2015/0062366;          10 U.S. patent application Ser. No. 14/283,282 for TERMINAL
             U.S. Patent Application Publication No. 2015/0063215;               HAVING ILLUMINATION AND FOCUS CONTROL
             U.S. Patent Application Publication No. 2015/0063676;               filed May 21, 2014 (Liu et al.);
             U.S. Patent Application Publication No. 2015/0069130;             U.S. patent application Ser. No. 14/327,827 for a MOBILE-
             U.S. Patent Application Publication No. 2015/0071819;          15
                                                                                 PHONE ADAPTER FOR ELECTRONIC TRANSAC-
             U.S. Patent Application Publication No. 2015/0083800;               TIONS, filed Jul. 10, 2014 (Hajl);
             U.S. Patent Application Publication No. 2015/0086114;             U.S. patent application Ser. No. 14/334,934 for a SYSTEM
             U.S. Patent Application Publication No. 2015/0088522;               AND METHOD FOR INDICIA VERIFICATION, filed
             U.S. Patent Application Publication No. 2015/0096872;               Jul. 18, 2014 (Hejl);
             U.S. Patent Application Publication No. 2015/0099557;          20 U.S. patent application Ser. No. 14/339,708 for L.\SER
             U.S. Patent Application Publication No. 2015/0100196;               SCANNING CODE SYMBOL READING SYSTEM,
             U.S. Patent Application Publication No. 2015/0102109;               filed Jul. 24, 2014 (Xian et al.);
             U.S. Patent Application Publication No. 2015/0115035;             U.S. patent application Ser. No. 14/340,627 for an AXI-
             U.S. Patent Application Publication No. 2015/0127791;               ALLY REINFORCED FLEXIBLE SCAN ELEMENT,
             U.S. Patent Application Publication No. 2015/0128116;          25   filed Jul. 25, 2014 (Rueblinger et al.);
             U.S. Patent Application Publication No. 2015/0129659;             U.S. patent application Ser. No. 14/446,391 for MULTI-
             U.S. Patent Application Publication No. 2015/0133047;               FUNCTION POINT OF SALE APPARATIJS WITH
             U.S. Patent Application Publication No. 2015/0134470;               OPTICAL SIGNATURE CAPTURE filed Jul. 30, 2014
             U.S. Patent Application Publication No. 2015/0136851;               (Good et al.);
                                                                            30 U.S. patent application Ser. No. 14/452,697 for INTERAC-
             U.S. Patent Application Publication No. 2015/0136854;
                                                                                 TIVE INDICIA READER, filed Aug. 6, 2014 (Todes-
             U.S. Patent Application Publication No. 2015/0142492;
                                                                                 chini);
             U.S. Patent Application Publication No. 2015/0144692;
                                                                               U.S. patent application Ser. No. 14/453,019 for DIMEN-
             U.S. Patent Application Publication No. 2015/0144698;
                                                                                 SIONING SYSTEM WITH GUIDED ALIGNMENT,
             U.S. Patent Application Publication No. 2015/0144701;          35   filed Aug. 6, 2014 (Li et al.);
             U.S. Patent Application Publication No. 2015/0149946;             U.S. patent application Ser. No. 14/462,801 for MOBILE
             U.S. Patent Application Publication No. 2015/0161429;               COMPUTING DEVICE WITH DATA COGNITION
             U.S. Patent Application Publication No. 2015/0169925;               SOFTWARE, filed on Aug. 19, 2014 (Todeschini et al.);
             U.S. Patent Application Publication No. 2015/0169929;             U.S. patent application Ser. No. 14/483,056 for VARIABLE
             U.S. Patent Application Publication No. 2015/0178523;          40   DEPTH OF FIELD BARCODE SCANNER filed Sep. 10,
             U.S. Patent Application Publication No. 2015/0178534;               2014 (McCloskey et al.);
             U.S. Patent Application Publication No. 2015/0178535;             U.S. patent application Ser. No. 14/513,808 for IDENTIFY-
             U.S. Patent Application Publication No. 2015/0178536;               ING INVENTORY ITEMS IN A STORAGE FACILITY
             U.S. Patent Application Publication No. 2015/0178537;               filed Oct. 14, 2014 (Singe! et al.);
             U.S. Patent Application Publication No. 2015/0181093;          45 U.S. patent application Ser. No. 14/519,195 for HAND-
             U.S. Patent Application Publication No. 2015/0181109;               HELD DIMENSIONING SYSTEM WITH FEEDBACK
             U.S. patent application Ser. No. 13/367,978 for a Laser             filed Oct. 21, 2014 (Laffargue et al.);
               Scanning Module Employing an Elastomeric U-Hinge                U.S. patent application Ser. No. 14/519,179 for DIMEN-
               Based Laser Scanning Assembly, filed Feb. 7, 2012 (Feng           SIONING SYSTEM WITH MULTIPATH INTERFER-
               et al.);                                                     50   ENCE MITIGATION filed Oct. 21, 2014 (Thuries et al.);
             U.S. patent application Ser. No. 29/458,405 for an Elec-          U.S. patent application Ser. No. 14/519,211 for SYSTEM
               tronic Device, filed Jun. 19, 2013 (Fitch et al.);                AND METHOD FOR DIMENSIONING filed Oct. 21,
             U.S. patent application Ser. No. 29/459,620 for an Elec-            2014 (Ackley et al.);
               tronic Device Enclosure, filed Jul. 2, 2013 (London et al.);    U.S. patent application Ser. No. 14/519,233 for HAND-
             U.S. patent application Ser. No. 29/468,118 for an Electronic 55    HELD DIMENSIONER WITH DATA-QUALITY INDI-
               Device Case, filed Sep. 26, 2013 (Oberpriller et al.);            CATION filed Oct. 21, 2014 (Laffargue et al.);
             U.S. patent application Ser. No. 14/150,393 for Indicia-          U.S. patent application Ser. No. 14/519,249 for HAND-
               reader Having Unitary Construction Scanner, filed Jan. 8,         HELD DIMENSIONING SYSTEM WITH MEASURE-
               2014 (Colavito et al.);                                           MENT-CONFORMANCE FEEDBACK filed Oct. 21,
             U.S. patent application Ser. No. 14/200,405 for Indicia 60          2014 (Ackley et al.);
               Reader for Size-Limited Applications filed Mar. 7, 2014         U.S. patent application Ser. No. 14/527,191 for METHOD
               (Feng et al.);                                                    AND SYSTEM FOR RECOGNIZING SPEECH USING
             U.S. patent application Ser. No. 14/231,898 for Hand-               WILDCARDS IN AN EXPECTED RESPONSE filed
               Mounted Indicia-Reading Device with Finger Motion                 Oct. 29, 2014 (Braho et al.);
               Triggering filed Apr. 1, 2014 (Van Hom et al.);              65 U.S. patent application Ser. No. 14/529,563 for ADAPT-
             U.S. patent application Ser. No. 29/486,759 for an Imaging          ABLE INTERFACE FOR A MOBILE COMPUTING
               Terminal, filed Apr. 2, 2014 (Oberpriller et al.);                DEVICE filed Oct. 31, 2014 (Schoon et al.);




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             U.S. patent application Ser. No. 14/529,857 for BARCODE     U.S. patent application Ser. No. 14/660,970 for DECOD-
               READER WITH SECURITY FEATIJRES filed Oct. 31,               ABLE INDICIA READING TERMINAL WITH COM-
               2014 (Todeschini et al.);                                   BINED ILLUMINATION filed Mar. 18, 2015 (Kearney et
             U.S. patent application Ser. No. 14/398,542 for PORTABLE      al.);
               ELECTRONIC DEVICES HAVING A SEPARATE 5 U.S. patent application Ser. No. 14/661,013 for REPRO-
               LOCATION TRIGGER UNIT FOR USE IN CONTROL-                   GRAMMING SYSTEM AND METHOD FOR
               LING AN APPLICATION UNIT filed Nov. 3, 2014 (Bian           DEVICES INCLUDING PROGRAMMING SYMBOL
               et al.);                                                    filed Mar. 18, 2015 (Soule et al.);
             U.S. patent application Ser. No. 14/531,154 for DIRECT-     U.S. patent application Ser. No. 14/662,922 for MULTI-
               ING AN INSPECTOR THROUGH AN INSPECTION 10                   FUNCTION POINT OF SALE SYSTEM filed Mar. 19,
               filed Nov. 3, 2014 (Miller et al.);                         2015 (Van Hom et al.);
             U.S. patent application Ser. No. 14/533,319 for BARCODE     U.S. patent application Ser. No. 14/663,638 for VEHICLE
               SCANNING SYSTEM USING WEARABLE DEVICE                       MOUNT COMPUTER WITH CONFIGURABLE IGNI-
               WITH EMBEDDED CAMERA filed Nov. 5, 2014 (Tode-              TION SWITCH BEHAVIOR filed Mar. 20, 2015 (Davis
               schini);                                               15   et al.);
             U.S. patent application Ser. No. 14/535,764 for CONCAT-     U.S. patent application Ser. No. 14/664,063 for METHOD
               ENATED EXPECTED RESPONSES FOR SPEECH                        AND APPLICATION FOR SCANNING A BAR.CODE
               RECOGNITION filed Nov. 7, 2014 (Bral10 et al.);             WITH A SMART DEVICE WHILE CONTINUOUSLY
             U.S. patent application Ser. No. 14/568,305 for AUTO-         RUNNING AND DISPLAYING AN APPLICATION ON
               CONTRAST v1EWFINDER FOR AN INDICIA 20                       THE SMART DEVICE DISPLAY filed Mar. 20, 2015
               READER filed Dec. 12, 2014 (Todeschini);                    (Todeschini);
             U.S. patent application Ser. No. 14/573,022 for DYNAMIC     U.S. patent application Ser. No. 14/669,280 for TRANS-
               DIAGNOSTIC INDICATOR GENERATION filed Dec.                  FORMING COMPONENTS OF A WEB PAGE TO
               17, 2014 (Goldsmith);                                       VOICE PROMPTS filed Mar. 26, 2015 (Funyak et al.);
             U.S. patent application Ser. No. 14/578,627 for SAFETY 25 U.S. patent application Ser. No. 14/674,329 for AIMER
               SYSTEMANDMETHODfiledDec.22,2014(Ackleyet                    FOR BARCODE SCANNING filed Mar. 31, 2015
               al.);                                                       (Bidwell);
             U.S. patent application Ser. No. 14/580,262 for MEDIA       U.S. patent application Ser. No. 14/676,109 for INDICIA
               GATE FOR THERMAL TRANSFER PRINTERS filed                    READER filed Apr. 1, 2015 (Huck);
               Dec. 23, 2014 (Bowles);                                30 U.S. patent application Ser. No. 14/676,327 for DEVICE
             U.S. patent application Ser. No. 14/590,024 for SHELVING      MANAGEMENT PROXY FOR SECURE DEVICES
               AND PACKAGE LOCATING SYSTEMS FOR DELN-                      filed Apr. 1, 2015 (Yeakley et al.);
               ERY VEHICLES filed Jan. 6, 2015 (Payne);                  U.S. patent application Ser. No. 14/676,898 for NAVIGA-
             U.S. patent application Ser. No. 14/596,757 for SYSTEM        TION SYSTEM CONFIGURED TO INTEGRATE
               AND METHOD FOR DETECTING BARCODE PRINT- 35                  MOTION SENSING DEVICE INPUTS filed Apr. 2,
               ING ERRORS filed Jan. 14, 2015 (Ackley);                    2015 (Showering);
             U.S. patent application Ser. No. 14/416,147 for OPTICAL     U.S. patent application Ser. No. 14/679,275 for DIMEN-
               READING APPARATIJS HAVING VARIABLE SET-                     SIONING SYSTEM CALIBRATION SYSTEMS AND
               TINGS filed Jan. 21, 2015 (Chen et al.);                    METHODS filed Apr. 6, 2015 (Laffargue et al.);
             U.S. patent application Ser. No. 14/614,706 for DEVICE 40 U.S. patent application Ser. No. 29/523,098 for HANDLE
               FOR SUPPORTING AN ELECTRONIC TOOL ON A                      FOR A TABLET COMPUTER filed Apr. 7, 2015
               USER'S HAND filed Feb. 5, 2015 (Oberpriller et al.);        (Bidwell et al.);
             U.S. patent application Ser. No. 14/614,796 for CARGO       U.S. patent application Ser. No. 14/682,615 for SYSTEM
               APPORTIONMENT TECHNIQUES filed Feb. 5, 2015                 AND METHOD FOR POWER MANAGEMENT OF
               (Morton et al.);                  •                    45   MOBILE DEVICES filed Apr. 9, 2015 (Murawski et al.);
             U.S. patent application Ser. No. 29/516,892 for TABLE       U.S. patent application Ser. No. 14/686,822 for MULTIPLE
               COMPUTER filed Feb. 6, 2015 (Bidwell et al.);               PLATFORM SUPPORT SYSTEM AND METHOD filed
             U.S. patent application Ser. No. 14/619,093 for METHODS       Apr. 15, 2015 (Qu et al.);
               FOR TRAINING A SPEECH RECOGNITION SYSTEM                  U.S. patent application Ser. No. 14/687,289 for SYSTEM
               filed Feb. 11, 2015 (Pecorari);                        so   FOR COMMUNICATION VV\ A PERIPHERAL HUB
             U.S. patent application Ser. No. 14/628,708 for DEVICE,       filed Apr. 15, 2015 (Kohtz et al.);
               SYSTEM, AND METHOD FOR DETERMINING THE                    U.S. patent application Ser. No. 29/524,186 for SCANNER
               STATUS OF CHECKOUT LANES filed Feb. 23, 2015                filed Apr. 17, 2015 (Zhou et al.);
               (Todeschini);                                             U.S. patent application Ser. No. 14/695,364 for MEDICA-
             U.S. patent application Ser. No.14/630,841 for TERMINAL 55    TION MANAGEMENT SYSTEM filed Apr. 24, 2015
               INCLUDING IMAGING ASSEMBLY filed Feb. 25,                   (Sewell et al.);
               2015 (Gomez et al.);                                      U.S. patent application Ser. No. 14/695,923 for SECURE
             U.S. patent application Ser. No. 14/635,346 for SYSTEM        UNATTENDED NETWORK AUTHENTICATION filed
               AND METHOD FOR RELIABLE STORE-AND-FOR-                      Apr. 24, 2015 (Kubler et al.);
               WARD DAIAHANDLING BY ENCODED INFORMA- 60 U.S. patent application Ser. No. 29/525,068 for TABLET
               TION READING TERMINALS filed Mar. 2, 2015                   COMPUTER WITH REMOVABLE SCANNING
               (Sevier);                                                   DEVICE filed Apr. 27, 2015 (Schulte et al.);
             U.S. patent application Ser. No. 29/519,017 for SCANNER     U.S. patent application Ser. No. 14/699,436 for SYMBOL
               filed Mar. 2, 2015 (Zhou et al.);                           READING SYSTEM HAVING PREDICTIVE DIAG-
             U.S. patent application Ser. No. 14/405,278 for DESIGN 65     NOSTICS filed Apr. 29, 2015 (Nahill et al.);
               PATTERN FOR SECURE STORE filed Mar. 9, 2015               U.S. patent application Ser. No. 14/702,110 for SYSTEM
               (Zhu et al.);                                               AND METHOD FOR REGULATING BARCODE




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               DATA INJECTION INTO A RUNNING APPLICATION                    CROSS-REFERENCE TO RELATED APPLICATIONS
               ON A SMART DEVICE filed May 1, 2015 (Todeschini et           filed Jun. 2, 2015 (Caballero);
               al.);                                                     U.S. patent application Ser. No. 14/732,870 for DATA
             U.S. patent application Ser. No. 14/702,979 for TRACKlNG       COLLECTION MODULE AND SYSTEM filed Jun. 8,
               BATTERY CONDITIONS filed May 4, 2015 (Young et 5             2015 (Powilleit);
               al.);                                                     U.S. patent application Ser. No. 29/529,441 for INDICIA
             U.S. patent application Ser. No. 14/704,050 for INTERME-       READING DEVICE filed Jun. 8, 2015 (Zhou et al.);
               DIATE LINEAR POSITIONING filed May 5, 2015                U.S. patent application Ser. No. 14/735,717 for INDICIA-
               (Charpentier et al.);                                        READING SYSTEMS l-L-\v1NG AN INTI;RFACE
                                                                      10    WITH A USER'S NERVOUS SYSTEM filed Jun. 10,
             U.S. patent application Ser. No. 14/705,012 for HANDS-
                                                                            2015 (Todeschini);
               FREE HUMAN M-\CHINE INTERFACE RESPON-
                                                                         U.S. patent application Ser. No. 14/738,038 for METHOD
               SIVE TO A DRIVER OF A VEHICLE filed May 6, 2015
                                                                            OF AND SYSTEM FOR DETECTING OBJECT
               (Fitch et al.);                                              WEIGHING INTERFERENCES filed Jun. 12, 2015
             U.S. patent application Ser. No. 14/705,407 for METHOD 15      (Amundsen et al.);
               AND SYSTEM TO PROTECT SOFTWARE-BASED                      U.S. patent application Ser. No. 14/740,320 for TACTILE
               NETWORK-CONNECTED                  DEVICES        FROM       SWITCH FOR A MOBILE ELECTRONIC DEVICE
               ADVANCED PERSISTENT THREAT filed May 6, 2015                 filed Jun. 16, 2015 (Bandringa);
               (Hussey et al.);                                          U.S. patent application Ser. No. 14/740,373 for CALIBRAT-
             U.S. patent application Ser. No. 14/707,037 for SYSTEM 20      ING A VOLUME DIMENSIONER filed Jun. 16, 2015
               AND METHOD FOR DISPLAY OF INFORMATION                        (Ackley et al.);
               USING A VEHICLE-MOUNT COMPUTER filed May 8,               U.S. patent application Ser. No. 14/742,818 for INDICIA
               2015 (Chamberlin);                                           READING SYSTEM EMPLOYING DIGITAL GAIN
             U.S. patent application Ser. No. 14/707,123 for APPLICA-       CONTROL filed Jun. 18, 2015 (Xian et al.);
               TION INDEPENDENT DEX/UCS INTERFACE filed 25 U.S. patent application Ser. No. 14/743,257 for WIRELESS
               May 8, 2015 (Pape);                                          MESH POINT PORTABLE DATA TERMINAL filed Jun.
             U.S. patent application Ser. No. 14/707,492 for METHOD         18, 2015 (Wang et al.);
               AND APPARATUS FOR READING OPTICAL INDI-                   U.S. patent application Ser. No. 29/530,600 for CYCLONE
               CIA USING A PLURALITY OF DATA SOURCES filed                  filed Jun. 18, 2015 (Vargo et al);
               May 8, 2015 (Smith et al.);                            30 U.S. patent application Ser. No. 14/744,633 for IMAGING
             U.S. patent application Ser. No. 14/710,666 for PRE-PAID       APPARATUS COMPRISING IMAGE SENSOR
               USAGE SYSTEM FOR ENCODED INFORMATION                         ARRAY HAVING SHARED GLOBAL SHUTTER CIR-
               READING TERMINALS filed May 13, 2015 (Smith);                CUITRY filed Jun. 19, 2015 (Wang);
             U.S. patent application Ser. No. 29/526,918 for CHARG-      U.S. patent application Ser. No. 14/744,836 for CLOUD-
               ING BASE filed May 14, 2015 (Fitch et al.);            35    BASED SYSTEM FOR READING OF DECODABLE
             U.S. patent application Ser. No. 14/715,672 for AUGU-          INDICIA filed Jun. 19, 2015 (Todeschini et al.);
               MENTED REALITY ENABLED HAZARD DISPLAY                     U.S. patent application Ser. No. 14/745,006 for SELEC-
               filed May 19, 2015 (Venkatesha et al.);                      TIVE OlrIPUT OF DECODED MESSAGE DATA filed
             U.S. patent application Ser. No. 14/715,916 for EVALUAT-       Jun. 19, 2015 (fodeschini et al.);
               ING IMAGE VALUES filed May 19, 2015 (Ackley);          40 U.S. patent application Ser. No. 14/747,197 for OPTICAL
             U.S. patent application Ser. No. 14/722,608 for INTERAC-       PATTERN PROJECTOR filed Jun. 23, 2015 (Thuries et
               TIVE USER INTERFACE FOR CAPTURING A DOCU-                    al.);
               MENT IN AN IMAGE SIGNAL filed May 27, 2015                U.S. patent application Ser. No. 14/747,490 for DUAL-
               (Showering et al.);                                          PROJECTOR THREE-DIMENSIONAL SCANNER
             U.S. patent application Ser. No. 29/528,165 for IN-COUN- 45    filed Jun. 23, 2015 (Jovanovski et al.); and
               TER BARCODE SCANNER filed May 27, 2015 (Ober-             U.S. patent application Ser. No. 14/748,446 for CORDLESS
               priller et al.);                                             INDICIA READER WITH A MULTIFUNCTION COIL
             U.S. patent application Ser. No. 14/724,134 for ELEC-          FOR WIRELESS CHARGING AND EAS DEACTNA-
               TRONIC DEVICE WITH WIRELESS PATH SELEC-                      TION, filed Jun. 24, 2015 (Xie et al.).
               TION CAPABILITY filed May 28, 2015 (Wang et al.); so         In the specification and/or figures, typical embodiments of
             U.S. patent application Ser. No. 14/724,849 for METHOD      the invention have been disclosed. The present invention is
               OF PROGRAMMING THE DEFAULT CABLE INTER-                   not limited to such exemplary embodiments. The use of the
               FACE SOFTWARE IN AN INDICIA READING                       term "and/or'' includes any and all combinations of one or
               DEVICE filed May 29, 2015 (Barten);                       more of the associated listed items. The figures are sche-
             U.S. patent application Ser. No. 14/724,908 for IMAGING 55 matic representations and so are not necessarily drawn to
               APPARATUS HAVING IMAGING ASSEMBLY filed                   scale. Unless otherwise noted, specific terms have been used
               May 29, 2015 (Barber et al.);                             in a generic and descriptive sense and not for purposes of
             U.S. patent application Ser. No. 14/725,352 for APPARA-     limitation.
               TUS AND METHODS FOR MONITORING ONE OR                        The foregoing detailed description has set forth various
               MORE PORTABLE DATA TERMINALS (Caballero et 60 embodiments of the devices and/or processes via the use of
               al.);                                                     block diagrams, flow charts, schematics, exemplary data
             U.S. patent application Ser. No. 29/528,590 for ELEC-       structures, and examples. Insofar as such block diagrams,
               TRONIC DEVICE filed May 29, 2015 (Fitch et al.);          flow charts, schematics, exemplary data stru1.,iures, and
             U.S. patent application Ser. No. 29/528,890 for MOBILE      examples contain one or more functions and/or operations,
               COMPUTER HOUSING filed Jun. 2, 2015 (Fitch et al.); 65 it will be understood by those skilled in the art that each
             U.S. patent application Ser. No. 14/728,397 for DEVICE      function and/or operation within such block diagrams, flow-
               MANAGEMENT USING VIRTUAL INTERFACES                       charts, schematics, exemplary data structures, or examples




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             can be implemented, individually and/or collectively, by a              3. The method of claim 2 further comprising:
             wide range of hardware, software, firmware, or virtually any            identifying, by the hardware processor, a cell in the
             combination thereof.                                                       optically ambiguous codeword that has a contrast level
                In one embodiment, the present subject matter may be                    closest to the dark/light threshold level.
             implemented via Application Specific Integrated Circuits                4. The method of claim 3 further comprising:
                                                                                     determining, by the hardware processor, the minimum
             (ASICs). However, those skilled in the art will recognize
                                                                                        interior contrast level based on the contrast level asso-
             that the embodiments disclosed herein, in whole or in part,                ciated with the identified cell.
             can be equivalently implemented in standard integrated                  5. The method of claim 1, wherein the optically ambigu-
             circuits, as one or more computer programs running on one 10 ous codeword comprises a plurality of cells.
             or more computers (e.g., as one or more programs running                6. The method of claim 5 further comprising performing
             on one or more computer systems), as one or more programs            a contrast analysis on the 2D symbol, wherein the perform-
             running on one or more controllers (e.g., microcontrollers)          ing the contrast analysis further comprises:
             as one or more programs running on one or more processors               determining, by the hardware processor, a reflectance of
             (e.g., microprocessors), as firmware, or as virtually any 15               first color cells of the plurality of cells in each code-
                                                                                        word of the plurality of codewords; and
             combination thereof, and that designing the circuitry and/or
                                                                                     determining, by the hardware processor, reflectance of
             writing the code for the software and or firmware would be                 second color cells of the plurality of cells in each
             well within the skill of one of ordinary skill in the art in light         codeword of the plurality of codewords.
             of this disclosure.                                                     7. The method of claim 6, further comprising determining
                In addition, those skilled in the art will appreciate that the 20 the optically ambiguous codeword as optically ambiguous
             control mechanisms taught herein are capable of being                when a level of contrast between the first color cells and the
             distributed as a program product in a variety of tangible            second color cells is insufficient for an unambiguous decod-
             forms, and tlrat an illustrative embodiment applies equally          ing of the codeword.
             regardless of the particular type of tangible instruction               8. An electronic device for performing error correction of
             bearing media used to actually carry out the distribution. 25 a two-dimensional (2D) symbol, the electronic device com-
             Examples of tangible instruction bearing media include, but          prising:
             are not limited to, the following: recordable type media such           an optical scanner configured to optically read, by an
             as floppy disks, hard disk drives, CD ROMs, digital tape,                  optical scanner of a symbol reader, a plurality of
             flash drives, and computer memory.                                         codewords in the 2D symbol;
                The various embodiments described above can be com- 30               a memory device configured to store an error correction
             bined to provide further embodiments. These and other                      equation;
                                                                                     a hardware processor configured to:
             changes can be nrade to the present systems and methods in
                                                                                     determine a location of a codeword of the plurality of
             light of fue above-detailed description. In general, in the
                                                                                        codewords in the 2D symbol which is optically
             following claims, the terms used should not be construed to 35             ambiguous, wherein determining the location com-
             limit the invention to the specific embodiments disclosed in               prises:
             the specification and the claims, but should be construed to               performing a contrast analysis on the 2D symbol,
             include all machine-readable symbol scanning and process-                     wherein perfom1ing of the contrast analysis com-
             ing systems and methods that read in accordance with the                      prises:
             claims. Accordingly, the invention is not limited by the 40                   identifying a respective minimum interior contrast
             disclosure, but instead its scope is to be determined entirely                   level for each codeword in the symbol;
             by the following claims.                                                      flagging, as optically ambiguous, the codeword with
                                                                                              minimum interior contrast level that satisfies a
                What is claimed is:                                                           minimum interior contrast level criterion; and
                1. A method of error correction of a two-dimensional (2D) 45         execute the error correction equation based on the loca-
             symbol, the method comprising:                                             tion of the optically ambiguous codeword in the 2D
                reading, by a hardware processor, a plurality of code-                  symbol to correct an error in the plurality of codewords.
                   words in the 2D symbol;                                           9. The electronic device of claim 8, wherein each code-
                identifying, by the hardware processor, an optically              word of the plurality of codewords comprises a plurality of
                   ambiguous codeword of the plurality of codewords in so cells, wherein the hardware processor is configured to per-
                   the 2D symbol, wherein the optically ambiguous code-           form the contrast analysis further by:
                   word corresponds to a codeword with minimum inte-                 determining reflectance of first color cells of the plurality
                   rior contrast level below a predefined minimum interior              of cells in each codeword of the plurality of codewords;
                   contrast level;                                                      and
                flagging, by the hardware processor, a specified number of 55        determining reflectance of second color cells of the plu-
                   codewords, as optically ambiguous, from the plurality                rality of cells in each codeword of the plurality of
                   of codewords based on the minimum interior contrast                  codewords.
                   level associated witli the plurality of codewords; and            10. The electronic device of claim 9, wherein the hard-
                correcting, by the hardware processor, errors in the speci-       ware processor is configured to determine the location for
                   fied number of optically ambiguous codewords based 60 the codeword by:
                   on, a location of the optically ambiguous codewords               determining, for each codeword in the plurality of code-
                   and an erroneous decoded value associated with the                   words, that a level of contrast between the first color
                   optically ambiguous codewords.                                       cells and fue second color cells is insufficient for an
                2. The method of claim 1, wherein a dark/light threshold                unambiguous decoding of the respective codeword.
             level of the optically ambiguous codeword corresponds to a 65           11. The electronic device of claim 9, wherein the hard-
             contrast value that is utilized to determine a color of a cell       ware processor is configured to perform the contrast analysis
             in the optically ambiguous codeword.                                 by:




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                determining a respective dark/light threshold level for        of codewords comprises a plurality of cells, wherein the
                  each codeword of the plurality of codewords, wherein         performing the contrast analysis further comprises:
                  the dark/light threshold level is indicative of a reflec-       determining reflectance of first color cells of the plurality
                  tance above which a cell in a codeword is determined               of cells in each codeword of the plurality of codewords;
                  to be a first color, and below which a cell is determined          and
                  to be a second color;                                           determining reflectance of second color cells of the plu-
                determining a level of difference between the reflectance            rality of cells in each codeword of the plurality of
                  of each cell of each codeword and the respective                   codewords.
                  dark/light threshold level associated with each code-
                  word of the plurality of codewords; and
                determining the minimum interior contrast level for each
                                                                            10 m;d~~    1!;  cl:=~~~e~h:::b~;e~:n7t~: 1~at:::rafo;
                                                                                                                                  0

                                                                               the codeword which is optically ambiguous comprises:
                  codeword by determining whether a codeword of the
                                                                                  determining, for each codeword in the plurality of code-
                  plurality of codewords includes a cell with a lowest
                  level of difference between the reflectance of the cell            words, that a level of contrast between the first color
                  and the respective dark/light threshold level.            15
                                                                                     cells and the second color cells is insufficient for an
                12. The electronic device of claim 11, further comprising            unambiguous decoding of the respective codeword.
             ranking each codeword of the 2D symbol based on the                  17. The computer readable, non-transitory storage
             minimum interior contrast level.                                  medium of claim 15, wherein performing the contrast analy-
                13. The electronic device of claim 12, wherein a specified     sis further comprises:
             number of codewords are flagged as optically ambiguous. 20           determining a respective dark/light threshold level for
                14. A computer readable, non-transitory storage medium               each codeword of the plurality of codewords, wherein
             storing instructions that, when executed by a hardware                  the dark/light threshold level is indicative of a reflec-
             processor of a symbol reader, causes the hardware processor             tance above which a cell in a codeword is determined
             to execute a method of error correction for a two-dimen-                to be a first color, and below which a cell is determined
             sional (2D) symbol, the method comprises:                      25       to be a second color;
                optically reading, by an optical scanner of a symbol              determining a level of difference between the reflectance
                  reader, a plurality of codewords in the 2D symbol;                 of each cell of each codeword and the respective
                determining, via a hardware processor of the symbol                  dark/light threshold level associated with each code-
                  reader, a location of a codeword which is optically                word of the plurality of codewords; and
                  ambiguous, the determining comprising:                    30
                                                                                  determining the minimum interior contrast level for each
                performing a contrast analysis on the 2D symbol com-
                                                                                     codeword by determining whether a codeword of the
                  prising:
                                                                                     plurality of codewords includes a cell with a lowest
                  identifying a respective minimum interior contrast
                                                                                     level of difference between the reflectance of the cell
                     level for each codeword in the symbol; and
                  flagging, as optically ambiguous, the codeword that has 35         and the respective dark/light threshold level.
                     a minimum interior contrast level below a minimum            18. The computer readable, non-transitory storage
                     interior contrast level threshold; and                    medium of claim 17, further comprising ranking each code-
                executing, via the hardware processor, an error correction     word of the 2D symbol based on the minimum interior
                  equation based on the location of the one or more            contrast level.
                  optically ambiguous codewords in the 2D symbol to 40            19. The computer readable, non-transitory storage
                  correct errors in the read plurality of codewords.           medium of claim 14, wherein a specified number of code-
                15. The computer readable, non-transitory storage              words are flagged as optically ambiguous.
             medium of claim 14, wherein each codeword of the plurality                                *   *   * *    *




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             c12)   United States Patent                                                 (IO) Patent No.:               US 10,235,547 B2
                    Ackley                                                               (45) Date of Patent:                       Mar. 19, 2019

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                             SC (US)                                                              FOREIGN PATENT DOCUMENTS

             (72)    Inventor:     H. Sprague Ackley, Seattle, WA (US)               WO             2013163789 Al        11/2013
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             (73) Assignee: HAND HELD PRODUCTS, INC.,                                                            (Continued)
                            Fort Mill, SC (US)
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             ( *)    Notice:       Subject to any disclaimer, the term of this
                                   patent is extended or adjusted under 35           U.S. Appl. No. 14/715,916 for Evaluating Image Values filed May
                                   U.S.C. 154(b) by O days.                          19, 2015 (Ackley); 60 pages.
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             (21)    Appl. No.: 15/006,561
                                                                                     Primary Examiner - Kyle Vallecillo
             (22)    Filed:        Jan. 26, 2016
                                                                                     (74) Attorney, Agent, or Firm -Additon, Higgins &
             (65)                    Prior Publication Data                          Pendleton, P.A.
                     US 2017/0213064 Al            Jul. 27, 2017                     (57)                       ABSTRACT
             (51)    Int. CI.                                                        A system and method for error correction for machine-
                     G06K 7114                 (2006.01)                             readable symbols having data codewords, and having error
                     G06F 11110                (2006.01)                             correction (EC) codewords derived from the data codewords
             (52)    U.S. CI.                                                        and redundantly indicating the location and data contents of
                     CPC ............ G06K 711473 (2013.01); G06F 11110              the data codewords. The symbols use Reed-Solomon (RS)
                                    (2013.01); G06K 7114 (2013.01); G06K             error correction to retrieve damaged codewords. RS error
                                                          711417 (2013.01)           correction normally requires two EC codewords to identify
             (58)    Field of Classification Search                                  both the location and data contents of a data codeword. The
                     CPC ............... G06K 7/1473; G06K 7/1417; G06K              present system and method performs optical contrast analy-
                                           19/06037; G06K 19/06046; G06K             sis on the codewords, identifying those codewords with the
                                           19/06075; G06K 19/06056; G06K             lowest contrast levels (that is, the least difference between
                                         7/10722; G06K 7/1434; G06F 11/10            the reflectance of the black or white cells and the black/white
                     See application file for complete search history.               threshold). Codewords with the lowest contrast levels are
                                                                                     flagged as optically ambiguous, thereby marking, in the EC
             (56)                    References Cited                                equations, the locations of the codewords most like to be in
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                                                                                     retrieve the data for a flagged data codeword.
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                                            FIG.1




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                 102                    ! IMAGING                                       IMAGE           j   SIGNAL
                                        ! OPTICS .-------1 SENSOR !                                          PROC.
                                        .                                                 '                                                                            ~
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                                   306.S
                         102.l




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                         102.2          308.3




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                                                                                        FIG.3




                                                                                             HONEYWELL-00240651

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                  308.F




                                                                          FIG.4



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                                                         500

                 505 7.      FOR ASYMBOL, IDENTIFY THE LOCATION OF THE SYMBOL AND SIZE.
                                                          ♦
                 510 (
                                             DRAW MATRIX SAMPLE POINTS.

                 515
                       L                                  •
                                        DETERMINE AN OPTICAL CLARITY LEVEL FOR
                                            EACH CODEWORD IN THE SYMBOL

                 520                                      •
                                       RANK THE CODEWORDS FOR OPTICAL CLARITY.

                 525 ?_
                                                          t
                                  IDENTIFY THE CODEWORDS WITH THE LOWEST OPTICAL
                                   CLARnY, UP TO THE NUMBER OF ERROR-CORRECTION
                                      (EC) CODEWORDS TO BE USED AS ERASURES.

                 530 (_                                   •
                             FOR THE CODEWORDS IDENTIFIED IN STEP 525, MARK THESE WORST
                                  CODEWORD VALUES AS ERASURES IN THE EC EQUATIONS.

                 535 (_                                   •
                                   PERFORM ERROR CORRECTION CALCULATIONS AS PER
                                    STANDARD CALCULATIONS1 .BUT NOW WITH SOME
                                         CODEWORDS MARKED AS ERASURES.
                                                          ♦
                 540 (_          SEND THE RESULTING DATA FOR CORRECTED CODEWORD
                                      VALUES TO THE APPROPRIATE APPLICATION


                                                       FIG.5




                                                                                           HONEYWELL-00240653

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                                                              600

                        605                     DETERMINE ALOCAL Bl.ACK/WHITE
                                                 CONTRAST THRESHOLD !BWCT).

                        610 (_                                 +
                                          FOR ACODEWORD, DETERMINE ACONTRAST LEVEL
                                        (GRAYSCALE LEVEL} Of EVERY CELL IN THE CODEWORD.    SElECT ANOTHER
                                                                                           CODEWORD, UNTIL
                        615 (. STORE THE CELL CONTRAST VALUE+CLOSEST TO THE Bl.ACK/WHITE HAVEALLBEEN
                                                                                                 CODEWORDS
                                                                                                     PROCESSED.
                                     THRESHOLD FOR BAR AND SPACE ems IN ACODEWORD ARRAY
                                                      (RBmax AND RSmin}.

                                                               +
                        620              DETERMINE THE GAP BflWEEN RSmin AND THE LOCAL
                              7...
                                           Bl.ACK/WHITE CONTRAST THRESHOLD FOR EVERY
                                               CODEWORD. (ESgap =RSmin - localBWCT}
                                                               t
                        625             DETERMINE THE GAP BEfWEEN RBmax AND THE LOCAL
                              7...        Bl.ACK/WHITE CONTRAST THRESHOLD FOR EACH
                                             CODEWORD. (EBgap = localBWCT- RBmox}
                515
                                                               l
                        630 ?_ IDENTIFY THE LARGEST SPACE CELL VALUE IN THE ENTIRE ARRAY
                                     (THAT IS THE LARGEST VALUE FOR RSmin) (RSmm}.
                                                               t
                        635 7_ DIVIDE All SPACE GAP VALUE ENTRIES (~o~} BY THE LARGEST
                               SPACE CELL VALUE RSmm IN THE ARRAY, GN RATING AN Sgap%
                                   VALUE FOR EACH CODEWORD. (Sgop% = ESgop/RSmm)


                                                               •
                        640 7_ IDENTIFY THE LARGEST BAR CELL VALUE IN THE ENTIRE ARRAY
                                   {THAT IS THE LARGEST VALUE FOR RBmox} {RBmm).

                                                         +
                        645 (_ DIVlDE All BAR GAP VALUE ENTRIES (EBim) BY THE LARGEST
                               BAR CELL VALUE RBmm IN THE ARRAY, G ERATlNG ABgap%
                                  VALUE FOR EACH CODBVORD. (Bgap% = EBgap/RBmm}

                                                               +
                              7... RANK THE CODBVORDS FOR POOREST OPTICAL CLARITY, BASED
                                   ON THOSE CODEWORDS WITH THE LOWEST Bgap% AND/OR THE
                                                  LOWEST Sgop% VALUES.                           FIG.6



                                                                                                          HONEYWELL-00240654

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                                                             ,,---,,._,           ~
                         (W        RSmin    R8max    ESami     Sa110%     EBaao   8(!(1D%    RANK
                              1    00       58       SB        85         1D      41
                              2    BB       47       43        63         2E      74
                              3    88       40       43        63         35      85
                              4    AF       47       3A        54         2E      74
                              5    AO       3F       28        40         36      87
                              6    DF       47       6A        99         2E      74
                              1    DO       40       58        85         35      85
                            8      DB       3F       63        93         36      87
                            9      OF       3F       6A        99         36      87
                         10        A8       3f       33        48         36      87
                        1ll        7f       3F       OA        09         36      87         4
                        12!        88       3F       13        18         36      87         7
                          13       AF       40       3A        54         35      85
                          14       co       3F       48        70         36      87
                          15       Bf       3f       4A        69         36      87
                          16       OF       3F       6A        99         36      87
                          17       (0       3f       48        70         36      87
                        18!        77       38       02        02         3D      98         2
                        19!        77       3f       02        02         36      87         l
                        20!        9f       40       2A        39         35      85         12
                              21   D7       3f       62        92         36      87
                              22   EO       67       68        100        OE      23         9
                              23   (8       40       53        78         35      85
                        24!        80       3F       OB        10         36      87         6
                        25!        88       3f       13        18         36      87         8
                        26!        90       38       1B        25         3D      98         11
                        27!        Al       3F       32        47         36      87         XXX
                              28 OF         40       6A        99         35      85
                              29   l}f      40       6A        99         35      85
                              30   DO       3F       SB        85         36      87
                              31   CF       38       5A        84         3D      98
                              32 Bf         40       4A        69         35      85
                              33 AF         38       3A        54         3D      98
                              34 7f         3F       OA        09         36      87         5
                        35!        78       3F       03        03         36      87         3
                        36!        Bf       3F       1A        24         36      87         10
                              37 (f         3F       5A        84         36      87
                              38 07         37       62        92         3E      100
                              39 00         38       58        85         30      98
                              40 (8         3F       53        78         36      87                FIG.7



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                    805




                           ACTUAL CODEWORDS IN ERROR AS INTERPRETED BY ASCANNER IN THE FIELD.

                  102.03




                  810
                                                                                         ■




                  815
                                                                                                FIG.8
                              SAME SYMBOL, CODEWORDS-IN-ERROR AS ANALYZED BY ALGORITHM.




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                   ENHA,_~CED MATRIX SYMBOL ERROR                              may be left-to-right along the rows of the symbol, or
                         CORRECTION METHOD                                     according to a standardized diagonal pattern of placement.
                                                                               Because the codewords have specific, standards-specified
                             FIELD OF THE INVENTION                            placements within a symbol-and because no information
                                                                               about the placement is contained in the symbol character--
                Ihe present invention relates to a method and apparatus        the symbols may also be referred to as "matrix symbols" or
             for decoding machine-readable symbols, and more particu-          "matrix symbology barcodes."
             larly, to a method and apparatus for decoding symbols                Bar code readers are employed to read the matrix symbols
             requiring error correction.                                       using a variety of optical scanning electronics and methods.
                                                                            10 Ideally, the machine-readable symbols which are scanned by
                                   BACKGROUND                                  a bar code reader are in perfect condition, with all of the cells
                                                                               of consistent, uniform size; each cell being fully filled with
                Machine-readable symbols provide a means for encoding          either total black or total white; and the contrast between
             infomiation in a compact printed form (or embossed form)          black and white cells being 1000/o.
             which can be scanned and then interpreted by an optical- 15          In real, practical application the machine-readable sym-
             based symbol detector. Such machine readable symbols are          bols which are scanned by a bar code reader may be
             often attached to (or impressed upon) product packaging,          imperfect. They may be smudged by external substances
             food products, general consumer items, machine parts,             (grease, dirt, or other chemicals in the environment); or the
             equipment, and other manufactured items for purposes of           surface on which the symbols were printed may be stretched,
             machine-based identification and tracking.                     20 compressed, or tom; or the printing process itself may be
                One exemplary type of machine-readable symbol is a bar         flawed (for example, due to low ink levels in a printer,
             code that employs a series of bars and white spaces verti-        clogged printheads, etc.). The defects in actual symbols may
             cally oriented along a single row. Groups of bars and spaces      introduce errors in the machine reading process.
             correspond to a codeword. The codeword is associated with            To address these practical problems, error correction
             an alpha-numeric symbol, one or more numeric digits, or 25 techniques are often used to increase reliability: even if one
             other symbol functionality.                                       or more cells are damaged so as to make a codeword
                To facilitate encoding of greater amounts of information       unreadable, the unreadable codeword can be recovered
             into a single machine-readable symbol, two-dimensional bar        through the error-correction process, and the overall mes-
             codes have been devised. These are also commonly referred         sage of the symbol can still be read.
             to as stacked, matrix and/or area bar codes. Examples of 30          For example, machine-readable symbols based on the
             such two-dimensional symbologies include Data Matrix,             Data Matrix ECC 200 standard employ Reed-Solomon
             Code One, PDF-417, MaxiCode, QR Code, andAztec Code.              codes for error and erasure recovery. ECC 200 allows the
             2D matrix symbologies employ arrangements of regular              routine reconstruction of the entire encoded data string when
             polygon-shaped cells (also called elements or modules)            the symbol has sustained 25% damage (assuming the matrix
             where the center to center distance of adjacent elements is 35 can still be accurately located).
             uniform. Typically, the polygon-shaped cells are squares.            Under this standard, approximately half the codewords in
             The specific arrangement of the cells in 2D matrix symbolo-       a symbol are used directly for the data to be n,11resented, and
             gies represents data characters and/or symbology functions.       approximately half the codewords are used for error correc-
                As an example of a 2D matrix symbol technology, a Data         tion. The error-correction (EC) symbols are calculated using
             Matrix code is a two-dimensional matrix barcode consisting 40 a mathematical tool know as the Reed-Solomon algorithm.
             of high-contrast "cells" (typically black and white cells) or     The codewords for the symbol are the input to tlie Reed-
             modules arranged in either a square or rectangular pattern.       Solomon algorithm, and tlie error-correction (EC) symbols
             The infomiation to be encoded can be text or numeric data,        are the output of the Reed-Solomon algorithm. The complete
             or control symbols. The usual data size ranges from a few         machine-readable symbol includes botli tlie data codewords
             bytes up to 1556 bytes. Specific, designated, standardized 45 and the EC codewords.
             groups of cells-typically eight cells--are each referred to          For a given symbol format (such as Data Matrix, PDF-
             as a "symbol character." The symbol characters have values        417, QR-Code,Aztec Code, and otliers), and fora given size
             which are referred to as "codewords." Witli a black cell          of the symbol matrix, there are a fixed, designated numbers
             interpreted as a O (zero) and a white cell interpreted as a 1     of EC codewords. To rL'Cover any one, particular damaged
             (one), an eight-cell codeword can code for numbers O so (unreadable) codeword, two things must be recovered: (i)
             through 255; in turn, tliese numeric values can be associated     the location of the damaged data codeword within tlie
             with alphanumeric symbols through standard codes such as          symbol, and (ii) the contents (tl1e bit pattern) of the damaged
             ASCII, EBCDIC, or variations thereon, or other function-          data codeword. In tum, to recover both the location and the
             ality.                                                            bit pattern for a single codeword requires two of the avail-
                The codewords--that is, the designated groups of cells in 55 able EC symbols. It follows that if a machine-readable
             a symbol-have specific, standardized positions within the         symbol has two damaged codewords, four EC codewords
             overall symbol. The interpretation of a symbol in a given         are required to recover the full symbol. Generally, if a
             context (for example, for a given manufacturer and/or a           symbol has "N" damaged codewords, then 2*N EC code-
             given product) therefore depends on tlie codewords within         words are required to recover the full symbol.
             the symbol; and in particular, the interpretation depends on 60      The number of EC codewords in a symbol is limited. Ibis
             both: (i) the contents of each codeword (that is, the pattern     places a limit on the number of damaged, unreadable data
             of cells in each codeword), and (ii) the placement or position    codewords which can be recovered. Generally with error
             of each codeword in the symbol.                                   correction techniques, and using present methods, the num-
                Typically, for sequential alphanumeric data (for example,      her of damaged data codewords which can be recovered is
             a product identification number or a street address), each 65 half the total number of EC codewords. For example, in a
             sequential data character is assigned to the symbols of a         Data Matrix symbol with 16x16 cells, the total number of
             codeword in a standardized order. For example, the order          EC codewords is 12. This means that at most 6 damaged data




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             codewords can be recovered. If more than 6 of the data              FIG. 7 presents an exemplary array of codeword contrast
             codewords are damaged, the complete symbol may be                values used for enhanced error correction by applying
             unreadable.                                                      contrast analysis to a flawed codeword.
                However, if the location of the data codeword in error is        FIG. 8 illustrates an exemplary case-study of enhanced
             already known, then only one EC codeword is needed to            error correction by applying contrast analysis to a flawed
             correct the error. Ibis technique is called "erasure decod-      codeword.
             ing". Unforttmately, in Matrix Code symbols generally, the
             location of the errors is not known.                                              DETAILED DESCRIPTION
                Therefore, there exists a need for a system and method for 10
                                                                                 In the following description, certain specific details are set
             recovering more damaged data codewords in a symbol than
                                                                              forth in order to provide a thorough understanding of various
             may be recovered based on only the error-correcting sym-
                                                                              embodiments. However, one skilled in the art will under-
             bols by themselves. More particularly, what is needed is a
                                                                              stand that the invention may be practiced without these
             system and method for determining the location of a dam-         details. In other instances, well-known structures associated
             aged or erroneous data codeword, independent of the infor- 15 with imagers, scanners, and/or other devices operable to
             mation stored in the EC codewords.                               read machine-readable symbols have not been shown or
                                                                              described in detail to avoid unnecessarily obscuring descrip-
                                      SUMMARY                                 tions of the embodiments.
                                                                                 Unless the context requires otherwise, throughout the
                Accordingly, in one aspect, the present invention solves 20 specification and claims which follow, tl1e word "comprise"
             the problem of not being able to use erasure decoding with       and variations thereof, such as, "comprises" and "compris-
             matrix symbologies by evaluating the gray-level informa-         ing" are to be construed in an open sense, that is as
             tion available in the scanner and keeping track of those         "including, but not limited to."
             codewords with the least contrast difference. The decoder           Reference throughout this specification to "one embodi-
             then utilizes erasure decoding on these least-contrast code- 25 ment" or "an embodiment" means that a particular feature,
             words. Since the location of the erroneous data codewords        structure or characteristic described in connection with the
             has been estimated via the contrast detection, only one EC       embodiment is included in at least one embodiment. Thus,
             codeword is required to recover the data in the damaged          the appearances of the phrases "in one embodiment" or "in
             codeword. (And so, only one EC codeword is required to           an embodiment" in various places throughout this specifi-
             fully recover the damaged data codeword, both its location 30 cation are not necessarily all referring to the same embodi-
             and data.)                                                       ment. Furthermore, the particular features, structures, or
                Because only one EC codeword is required instead of two,      characteristics may be combined in any suitable manner in
             more EC codewords remain unused and available for decod-         one or more embodiments.
             ing other possible errors. Ibis increases the total number of       The headings provided herein are for convenience only
             data codewords that can be corrected. This is particularly 35 and do not interpret the scope or meaning of the claimed
             useful in applications where symbols get dirty (e.g. auto-       invention.
             motive assembly), damaged (e.g. supply chain), have specu-          Symbol Reader
             lar components (e.g. direct part marking (DPM)) and need to         The present system and method embraces devices
             be scanned over a greater range (e.g. all applications).         designed to read machine-readable symbols.
                The algorithm of the present invention has the effect of 40      In an exemplary embodiment, such a device may be a
             nearly doubling the number of codewords that can be              hand-held scanner. FIG. 1 is a perspective view of an
             corrected in matrix symbology decodes, thereby greatly           exemplary hand-held symbol reader 100 acquiring data from
             improving the performance over what is currently available.      a machine-readable symbol 102.
                The foregoing illustrative summary, as well as other             The machine-readable symbol 102 is affixed to a package
             exemplary objectives and/or advantages of the invention, 45 104 or the like such that the user points the hand-held
             and the manner in which the same are accomplished, are           symbol reader 100 towards the machine-readable symbol
             further explained within the following detailed description      102. The symbol reader 100 may be a line scanner operable
             and its accompanying drawings.                                   to emit and sweep a narrow beam of electromagnetic energy
                                                                              across a field-of-view 106 over two-dimensional (2D)
                    BRIEF DESCRIPTION OF THE DRAWINGS                      so machine-readable symbol 102. In other embodiments, an
                                                                              aperture means, mirror, lens or the like is adjusted to sweep
                FIG. 1 is a perspective view of an exemplary hand-held        across a symbol line to receive returning electromagnetic
             symbol reader acquiring data from a machine-readable sym-        energy from a relatively small portion (e.g., cell) of the
             bol.                                                             machine-readable symbol, which is detected by an optical
                FIG. 2 is an internal block diagram of an exemplary 55 detector system.
             symbol reader for acquiring data from a machine-readable            In yet other embodiments, a 2D array symbol reader
             symbol                                                           acquires a captured inlage of the machine-readable symbol
                FIG. 3 illustrates several exemplary machine-readable 2D      (and a suitable region of quiet area around the machine-
             symbols.                                                         readable symbol). For the present system and method, which
                FIG. 4 provides two views of an exemplary 2D symbol 60 relies upon a contrast analysis of the cells within the symbol
             which is damaged.                                                102, the acquisition of a captured inlage of the symbol may
                FIG. 5 is a flow-chart of an exemplary method for             be a preferred method of operation for the symbol reader
             optically enhanced Reed-Solomon error-correction for a 2D        100. Suitable image processing hardware 235 and software
             symbol.                                                          running on processors 242, 244 are used to deconstruct the
                FIG. 6 is a flow-chart of an exemplary method for contrast 65 capture image to detemline the data bits represented by the
             analysis for a 2D symbol as part of enhanced Reed-Solomon        cells, and to perform the contrast analysis of the present
             error correction.                                                system and method (see FIG. 2 below).




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                The machine-readable symbol reader 100 is illustrated as         sor which has overall control of the circuitry of FIG. 2, but
             having a housing 108, a display 110, a keypad 112, and an           which devotes most of its time to decoding image data stored
             actuator device 114. Actuator device 114 may be a trigger,          in RAM 245 in accordance with program data stored in
             button, or other suitable actuator operable by the user to          EROM 246. Processor 244, on the other hand, may be a
             initiate the symbol reading process.                                special purpose VLSI integrated circuit, such as a program-
                The machine-readable symbol 102 shown in the figure is           mable logic or gate array, which is programmed to devote its
             intended to be generic and, thus, is illustrative of the various    time to functions other than decoding image data, and
             types and formats of machine-readable symbols. For                  thereby relieve processor 242 from the burden of performing
             example, some machine-readable symbols may consist of a             these functions.
             single row of codewords (e.g., barcode). Other types of 10
                                                                                    In an alternative embodinlent, special purpose processor
             machine-readable symbols (e.g., matrix or area code) may
                                                                                 244 may be elinlinated entirely if general purpose processor
             be configured in other shapes, such as circles, hexagons,
                                                                                 242 is fast enough and powerful enough to perform all of the
             rectangles, squares and the like. It is intended that many
             various types and formats of machine-readable symbologies           fimctions contemplated by the present system and method.
             be included within the scope of the present system and 15 It will, therefore, be understood that neither the number of
             method.                                                             processors used, nor the division of labor there between, is
                Symbol Reader Internal Block Diagram                             of any fundamental significance for purposes of the present
                An internal block diagram of an exemplary symbol reader          system and method.
             100 of a type which may implement the present system and               In an embodiment, exemplary symbol reader 100 includes
             method is shown in FIG. 2.                                       20 a signal processor 235 and an analog-to-digital (AID) chip
                In one embodiment of the present system and method, the          236. These chips together take the raw data from image
             symbol reader 100 may be an optical reader. Optical reader          sensor 232 and convert the data to digital format, which in
             100 may include an illumination assembly 220 for illumi-            an exemplary embodiment may be a gray-level digital
             nating a target object T, such as a ID or 2D bar code symbol        format, for further processing by programmable controller
             102, and an imaging assembly 230 for receiving an image of 25 240.
             object T and generating an electrical output signal indicative         In an embodiment, the system and method of the present
             of the data which is optically encoded therein. Illumination        invention employs algorithms stored in EROM 246 which
             assembly 220 may, for example, include an illumination              enable the programmable controller 240 to analyze the
             source assembly 222, such as one or more LEDs, together             image data from signal processor 235 and AID 236. In an
             with an illuminating optics assembly 224, such as one or 30 embodiment, and as described further below, this image
             more reflectors, for directing light from light source 222 in       analysis may include analyzing gray-level information (con-
             the direction of target object T. Illumination assembly 220
                                                                                 trast levels) in the image data. In an embodiment, and in part
             may be eliminated if ambient light levels are certain to be
                                                                                 based on the contrast level analysis, programmable control-
             high enough to allow high quality images of object T to be
             taken.                                                           35 !er 240 may then implement an improved system and
                In an embodiment, imaging assembly 230 may include an            method of error correction for matrix symbols by relying on
             inlage sensor 232, such as a 2D CCD or CMOS solid state             optical contrast-level analysis, as also described further
             image sensor, together with an imaging optics assembly 234          below.
             for receiving and focusing an image of object T onto image             Exemplary symbol reader 100 may also include input/
             sensor 32. The array-based imaging assembly shown in FIG. 40 output (I/0) circuitry 237, for example to support the use of
             2 may be replaced by a laser scanning based imaging                 the keyboard 112 and trigger 114. Symbol reader 100 may
             assembly comprising a laser source, a scanning mechanism,           also include output/display circuitry 238 to support display
             emit and receive optics, a photodetector and accompanying           110.
             signal processing circuitry. The field of view of the imaging          Exemplary Symbols
             assembly 230 will depend on the application. In general, the 45        FIG. 3 illustrates several exemplary machine-readable 2D
             field of view should be large enough so that the inlaging           symbols 102 labeled 102.1 and 102.2.
             assembly can capture a bit map representation of a scene               Symbol 102.1 is an exemplary machine-readable symbol
             including an image data reading region at close reading             encoded according to the Data Matrix barcode (ECC 200)
             range.                                                              standard. The symbol 102.1, which is a 24x24 array, has two
                In an embodiment of the present system and method, so solid black borders 302 forming an "L-shape" which are the
             exemplary symbol reader 100 of FIG. 2 also includes                 finder pattern, enabling the symbol reader to determine the
             programmable controller 240 which may comprise an inte-             location and orientation of the 2D symbol. The symbol also
             grated circuit microprocessor 242 and an application specific       has two opposing borders of alternating dark and ligl1t cells
             integrated circuit (ASIC) 244. Processor 242 and ASIC 244           which form a "timing pattern" 304 which help the symbol
             are both progr=able control devices which are able to 55 reader identify the size (the number of rows and columns) of
             receive, output and process data in accordance with a stored        the symbol.
             program stored in either or both of a read/write random                Interior to the finder pattern 302 and timing pattern 304
             access memory (RAM) 245 and an erasable read only                   are rows and columns of interior cells 306 which encode
             memory (EROM) 246. Processor 242 and ASIC 244 are also              information. As may be evident from the figure, an ideal
             both connected to a common bus 248 through which pro- 60 machine-readable symbol has a very high contrast level
             gram data and working data, including address data, may be          between the first color dark cells and the second color light
             received and transmitted in either direction to any circuitry       cells, in many cases achieved by employing clearly printed,
             that is also connected thereto. Processor 242 and ASIC 244          unobscured cells which are either all black or all white.
             may differ from one another, however, in how they are made             Symbol 102.2 is an exemplary 16x16 machine-readable
             and how they are used.                                           65 symbol encoded according to the Data Matrix barcode (ECC
                In one embodiment, processor 242 may be a general                200) standard. In symbol 102.2, and for purposes of illus-
             purpose, off-the-shelf VLSI integrated circuit microproces-         tration only, the interior black data cells are omitted, and




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             boundaries between the interior cells 306 are suggested by           The actual value of the codewords in symbol 102.Dl is
             shaded, dotted lines which are not normally present in actual     listed here (codewords before the colon are data codewords,
             printed data matrix symbols.                                      those after the colon are error-correction codewords):
                Also not normally present in actual printed symbols, but          237 151230204 27 207144165 112 27 13 43 222 60 125
             included here for purposes of illustration, are solid borders 5 3413718671163223254:9691713120921131100111
                                                                               146 225 95 109 112 182 218 118 203
             which indicate the boundaries of the codewords 308 formed
                                                                                  The values for the codewords determined by a symbol
             by the interior cells 306. In an embodiment, each codeword        reader 100 are shown here, with the incorrect codewords
             308 is composed of eight cells representing a single byte of      underlined:
             data. It will be seen that there are several types of code-          237 151230204 27 207 144 165 112 27 173 111 222 60
             words, including data codewords 308.1 which encode the JO 125 34 137 191 127 235 223 254:96 25 175 191 208 21 131
             actual data to be represented by the symbol; error-correcting     100 111 146 22s"957Ti 116 182 21sfi8203 -
             (EC) codewords 308.2 which are generated from the data               As is apparent in the image of symbol 102.D1, throughout
             codewords according to the Reed-Solomon algorithm; and            the smudged region 402 the contrast between many indi-
             padding codewords 308.3.                                          vidual cells is small, and is close to the threshold level
                                                                            15 between black and white. Compare for example a cluster of
                The figure also identifies one exemplary bar (black) cell
                                                                               low contrast cells 404 within the smudged region 402 with
             306.B and one exemplary space (white) cell 306.S.                 a non-damaged, machine-readable high contrast region 406.
                The illustration here of machine-readable symbols based           In the second view, the damaged symbol 102.D2 is
             on the Data Matrix barcode standard, as well as the size,         illustrated as it was interpreted by an actual scauner 100 in
             shape, and data contents illustrated, are exemplary only and 20 the field. As shown by the codewords with shaded cells 306
             should not be construed as limiting. The present system and       in the illustration, there were eleven codewords 308 which
             method is applicable to a wide variety of 2D matrix barcodes      provided flawed readings from the scanner 100, and may be
             according to a variety of known standards, as well as being       described as flawed codewords 308.F.
             applicable to other 2D machine-readable symbols which                Erasure Vs. Error:
             may be envisioned in the future.                               25    By way of terminology, it is noted here that if the position
                Symbol Errors                                                  of an erroneous codeword is known, but the data is not
                                                                               known (or is ambiguous), the codeword is referred to as an
                As discussed above, the data content of symbols 102 is         "erasure." If the data of an erroneous codeword is unknown
             stored or presented in the form of cells 306 of contrasting       and the position of the codeword is also unknown, the
             colors within codewords 308. In an embodiment of the              codeword is referred to as an "error."
             present system and method, the light cells (typically white) 30      Reed-Solomon Error Correction
             represent ones (1 's) and the dark cells (typically black)           In an embodiment, the present system and method
             represent zeros (O's). In an alternative embodiment, a light      includes application of error-correcting codes and analyses,
             cell represents zero (0) and the dark cells represent (1). In     augmented with optical analysis of a machine-readable
             alternative embodiments, other colors or levels of shading 35 symbol 102, to detect and correct errors in the machine-
             may be employed. As a general matter, however, for the            readable symbol 102. Various mathematical methods of
                                                                               error correction are well-known in the art, and a detailed
             coding to be effective the symbol reader 100 must be readily
                                                                               description is beyond the scope of this document. However,
             able to distinguish the dark cells from the light cells. Also,    review of a few basic elements of an exemplary error-
             the data is stored not only in terms of the cells 306 per se,     correction method may aid in the understanding of the
             but also in terms of the positions of the cells 306 within the 40 present system and method.
             codewords 308, and the positions of each codeword 308                All standardized 2D matrix symbologies utilize the Reed-
             within the symbol 102.                                            Solomon methodology. In Reed-Solomon codes, a set of
                If a symbol 102 is damaged, there may be insufficient          data elements, such as bytes of data, may be redundantly
             contrast betwt.>en light cells and dark cells for the symbol      encoded in a second set of error-correcting elements (also
             reader 100 to reliable distinguish the cells. Similarly, dam- 45 typically in byte form), which for present purposes can be
             age to the symbol may render it difficult for the symbol          referred to as EC codewords 308.2. The error-correcting
             reader to identify the location or boundaries of cells 306 and    codewords are transmitted or presented along with the
             codewords 308. In other cases damage to cells 306 can cause       principle data elements, enabling reconstruction of damaged
             a change from black to white or vice-versa. This in turn calls    data elements.
                                                                                  Methods of constructing the Reed-Solomon EC code-
             upon the error-correction methods, such as Reed-Solomon, so
                                                                               words (based on a given, particular data set) are outside the
             already discussed above. The present system and method is         scope of this document. It suffices for present purposes to
             intended to augment Reed-Solomon and similar error-cor-           understand that Reed-Solomon-derived EC codewords
             rection methods with information based on contrast analysis.      308.2 can be calculated, and the resulting EC codewords are
                FIG. 4 provides two views 102.D1, 102.02 of an exem-           included as part of 2D matrix symbols, as already described
             plary symbol which is damaged, so that the original high- 55 above.
             contrast has been lost while the symbol 102 is in use in the         There are a variety of methods of decoding a message
             field.                                                            with Reed-Solomon error correction. In one exemplary
                In the first view, the damaged symbol 102.D1 shown in          method, the values of the data codewords 308.1 of a symbol
             the figure was photographed in a real-world automotive            102 are viewed as the coefficients of a polynomial s(x) that
             manufacturing plant. It is apparent that there is a dark 60 is subj1..-ct to certain constraints (not disc.,1.1ssed here):
             vertical scuff mark 402 which is approximately down the
                                                                                                                n-1
             middle of the symbol 102.Dl. The scuffing is sufficiently                                    S(x)= Lc;x'
             dark that, when read with a standard symbol reader 100, the                                        i=O
             reader 100 mistakes many individual cells 306 for black
             when (as printed, and without damage or scuffing) they are 65        It will be noted that not only the values of the data
             white cells. This in turns causes codeword errors. This           codewords 308.1 matter, but also their order. The ordinal
             symbol 102.Dl will not read with current scanners.                placement of the codewords (1st , 2nd, 3rd, etc.) in the




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             polynomial maps to the physical ordering of the data code-                 Stated another way: Normally, error-correction in 2D
             words 308.1 in the machine-readable symbol 102.                         matrix symbologies is used to correct codewords which are
                If the machine-readable symbol 102 is damaged or cor-                errors, meaning that both the location and contents of the
             rupted, this may result in data codewords 308.1 which are               codeword are unknown. 'The goal of the present system and
             incorrect. 'Ibe erroneous data can be understood as a                   method is to independently flag errors so that they are
             received polynomial r(x):                                               instead treated as erasures, for which the location is known,
                                                                                     thereby requiring only one EC codeword for correction.
                                                                                        Optical Clarity and Optical Ambiguity, Decoding Disad-
                                        r(x) = s(x) + e(x)
                                                                                  10 vantage, and Reed-Solomon Error Correction
                                                  n-1                                   As discussed above, Reed-Solomon error correction
                                          e(x)= Le;X                                 requires the use of two EC codewords 308.2 to correctly
                                                   i==O                              recover both the location and the data contents of a single
                                                                                     data codeword 308.1 which is flawed. However, the present
                where e; is the coefficient for the i th power of x. Coefficient 15 system and method aims to enable the identification (at least
             e; will be zero if there is no error at that power of x (and so         provisionally) of the locations of the flawed or damaged
             no error for the corresponding i th data codeword 308.1 in the          codewords 308.F--and to make such identification indepen-
             symbol 102); while the coefficient e; will be non7_.ero if there        dently of the EC codewords 308.2 in the symbol 102. Such
             is an error. If there are v errors at distinct powers ik of x, then:    alternative means of locating the data codewords 308.1
                                                                                  20 which are flawed supplements the data in the EC codewords
                                                                                     308.2; as a result, only a single EC codeword 308.2 is
                                              N
                                                                                     required to identify the data in a data codeword 308.1
                                          L
                                      e(x) =      (e_i, )(x' i,)
                                                                                     Flawed codewords 308.F may also be referred to as code-
                                             k==l
                                                                                     words which have a "decoding disadvantage."
                                                                                  25    To identify the locations of the codewords with a decod-
                The goal of the decoder is to find the number of errors (v ),        ing disadvantage, independent of the error-correcting infor-
             the positions of the errors (ik), and the error values at those         mation within the symbol 102 itself, the present system and
             positions (e_ik). From those, e(x) can be calculated, and then          method identifies those codewords 308 in the symbol 102
             e(x) can be subtracted from the received r(x) to get the                which have a low level of optical clarity, or equivalently, a
             original message s(x).                                               30 high level of optical ambiguity. By "optical clarity" is meant
                There are various algorithms which can be employed, as
                                                                                     any codeword 308 which, as presented to the reader 100, is
             part of the Reed-Solomon scheme, to identify the error
                                                                                     sufficiently clear and distinct (e.g., has high optical contrast)
             positions (ik) and the error values at those positions (e_ik),
                                                                                     to be read very reliably by the symbol reader's optical
             based solely on the received data codewords 308.1 and the
             received EC codewords 308.2. The processes involved, 35 system 230, 235. If a codeword 308 is not optically clear-
             however, are generally a two-stage processes, where:                    for example, due to poor printing, smudging or marking in
                Stage (I) Error Locations:                                           the field, ripping or tearing, or other causes-then the
                The first calculation stage entails identifying the location         codeword is deemed optically ambiguous; there is a signifi-
             of the errors. This entails first calculating an error-locator          cant probability that the data for an optically ambiguous
             polynomial A., and based on A., calculating ilie non-zero 40 codeword, as determined by a reader 100, will not match the
             error positions ik. This stage also determines ilie number of           intended data of the same codeword.
             errors (v). This first stage calculation inevitably requires the           FIG. 5 presents a flow-chart of an exemplary method 500
             use of some of the EC codewords 308.2 in the symbol 102.                for optically enhanced Reed-Solomon error-correction for a
                Stage (II) Corrected Values:                                         symbol 102. The steps of exemplary method 500 are gen-
                Employing the location errors ik as calculated in stage (i), 45 erally performed via the processor(s) 240, memory 245, and
             the second calculation stage identifies the correct values              other components of the symbol reader 100.
             (e_ik) associated with each error location.                                In step 505, the symbol reader 100 identifies the location
                It will be seen then that in the prior art, correcting errors        of the symbol 102 and the appropriate parameters such as the
             is a two-stage process, where identifying error locations               size. For example, for a DataMatrix symbol, the reader 100
             generally precedes, and is an input to, identifying ilie so finds the "L-shape" 302 and finds the clock track 304 to
             corrected data at each location. It is a goal of the present            identify the number of rows and columns in the symbol. The
             system and method to either reduce or possibly eliminate the            L-shape 302 and clock track 304 help the reader 100
             calculations of stage (1), by using analyses apart from                 determine the symbol's tilt and orientation, and provide
             Reed-Solomon error correction to determine identify or                  reference points from which to decode the matrix of data
             mark the erroneous data codewords 308.1.                             55 cells.
                Persons skilled in the art will recognize that the non-zero             In step 510, the symbol reader 100 creates a matrix or
             error positions ik calculated via the alternative methods               array of sample points (pixels), indicating the reflectances
             (discussed further below) can be input directly into stage              (bright or dark) of points within the symbol 102. These
             (II), thereby enabling the calculations of ilie correct data            sample points are used to determine reflectance of cells 306
             values in stage (II).                                                60 within the symbol. A single cell 306 may have multiple
                Importantly, in the mathematics of standard Reed-Solo-               sample points measured, and together these may be used (for
             mon error correction, errors (both location and data                    example, averaged) to determine the reflectance of each cell
             unknown) requires the use of two error correcting code                  306.
             words to repair a damaged codeword. If, on the other hand,                 As discussed above, the symbol 102 is composed of
             knowledge of the location of the error exists, ilien ilie error 65 codewords 308 wiili standardized positions, that is, which
             is considered an erasure, and only one error correction                 are made up of standardized clusters of cells 306 with
             codeword is required to repair the erased codeword.                     designated positions within the symbol matrix 102.




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                In step 515, the method 500 determines a level of optical       comparatively low for one or more cells 306 in a particular
             clarityforeachcodeword308.Ahighlevelofopticalclarity,              codeword 308, the codeword 306 may have a decoding
             which is desirable, means the codeword's cells are distinc-        disadvantage.
             tive and that the data value of the codeword can be read with         More generally, the CAA may identify a light/dark thresh-
             a high probability of accuracy.                                 5 old level, which is a brightness level above which a cell 306
                A low level of optical clarity---or equivalently, a high        is considered to be of a first, lighter color (for example,
             level of optical ambiguity-may result from physical dam-           white); and below which a cell is considered to be of a
             age to a symbol, or from dirt or grease marking the symbol,        second, darker color (for example, black).
             or other causes as discussed above. Low optical clarity, or                             •n         • 11          •
             high optical ambiguity, means that the codeword's cells are 10 th:'~~=~:~~:;1ce~:;~:~~~::x~:::•
             not distinctive and the codeword has a decoding disadvan-
                                                                                                                            t:~~::-!t:;
                                                                                (RGB) value or a hue-saturation-brightness (HSB) value
             tage. The low level of optical clarity therefore means that the                                                                 •
             data value of the codeword can be ascertained only with a          The present system and method will also store, in the
             suboptimal degree of reliability.                                  memory (245) of the scanner 100, an actual, measured
                Optical clarity/ambiguity may be determined in a vari1.,'ly 15 gray-scale level for each cell 306.
             of ways. In one embodiment of the present system and                  FIG. 6 presents a flow-chart ofan exemplary method 600
             method, discussed in detail below, the optical clarity/ambi-       for contrast analysis according to the present system and
             guity is determined based on an analysis of the contrast level     method. Steps 605 tlJrough 645 of exemplary method 600
             between cells 306 within each codeword 308. Codewords              collectively may be considered to be one exemplary embodi-
             306 which exhibit the lowest internal contrast levels may be 20 ments of step 515 of method 500, already discussed above.
             marked as optically ambiguous.                                     (Step 515 determines an optical clarity for each codeword
                In an alternative embodiment, optical clarity/ambiguity         308 in the symbol 102.) Step 650 of exemplary method 600
             may be determined based on analysis of the degree to which         may be considered to be one exemplary embodiment of step
             a codeword 308 is in-focus or not in-focus. In an alternative      520 of method 500, that is, ranking the codewords for optical
             embodiment, optical clarity/ambiguity may be determined 25 clarity.
             based on analysis of the definition or lack of definition of          Where exemplary method 500 was directed to generally
             lines separating the dark cells 306 from light cells 306.          determining and ranking codewords 308 by optical clarity,
                In an alternative embodiment, optical clarity/ambiguity         the exemplary method 600 particularly employs an exem-
             may be determined based on a degree to which the horizon-          plary approach to contrast analysis in order to determine and
             tal and vertical lines of the codewords 308 are parallel to, or 30 rank optical clarity. The steps of exemplary method 600 are
             are not parallel to, the border-L shape. Other methods of          generally performed via the processor(s) 240, memory 245,
             ::i:~in:S :![a;:!~ii ;~~0::ws~~~:~::;!e0~n;;:~                   and other components of the symbol reader 100.
             present system and method.                                          In step 605, the symbol reader 100 determines a local
                In step 520, exemplary method 500 ranks the codewords 35 black/white contrast threshold (BWCT). The black/white
             308 according to optical clarity, for example from highest to    contrast threshold (BWCT), as described above, is a reflec-
             lowest in optical clarity. In step 525, method 500 identifies    tance level above which a cell 306 is considered white, and
             the lowest ranked codewords (those which are most opti-          below which a cell 306 is considered black. This is typically
             cally ambiguous), up to the number of codewords 308 to be        determined by (i) identifying the reflectance of all the cells
             used as erasures.                                             40 306 in the symbol; (ii) identifying the highest reflectance
                In steps 530 and 535, the lowest-ranked codewords 308         value and the lowest reflectance value; and (iii) identifying
             identified in step 525--that is, the codewords with the          a middle-value, such as the mean or the median, and using
             highest optical ambiguity----are marked as erasures in the       the middle-value as the BWCT. The present system and
             error-correction equations, and the Reed-Solomon error-          method refines this by employing a local BWCT for each
             correction equations are then executed. Steps 530 and 535 45 cell 306. In an exemplary embodiment, a local BWCT for a
             thereby reduce or eliminate the calculations discussed above     given cell 306 may be determined by considering only those
             for a phase (I) of the Reed-Solomon error correction process,    other cells local to the given cell 306, and then identifying
             and thereby also reduce or eliminate the use of EC code-         the mean or median reflectance an10ng tl10se cells. In an
             words 308.2 to identify the locations of flawed codewords        embodiment, the number oflocal cells used to determine the
             308.F.                                                        so local BWCT may be twenty (20). In an alternative embodi-
                Gray-Scale Contrast Analysis Algoritlm!                       ment the number of local cells used to determine the BWCT
                In one embodiment, the present system and method              for a given cell may be higher or lower than twenty (20).
             identifies codewords 308 with high optical ambiguity (low           In step 610, the method 600 selects a particular codeword
             optical clarity) via contrast analysis offue codewords within    308, (as specified in the appropriate standards for the size
             the symbol 102.                                               55 and shape of the symbol 102), and identifies the contrast
                The present system and method employs a "matrix-cell          level (the grayscale level) of each cell in the codeword.
             contrast analysis algoritlm!," "gray-scale contrast analysis        In step 615, the method 600 determines, for the particular
             algorithm," or simply "contrast analysis algoritlm!" (CAA)       codeword at hand, a bar cell (306.B) with a contrast value
             for short. The contrast analysis algorithm of the present        closest to the BWCT; and a space cell (306.S) with a contrast
             system and method determines the actual gray level of each 60 value closest to the BWCT; and then stores these two cell
             cell 306 in the symbol 102. The CAA also identifies the          contrast values in a codeword contrast values array in
             black/white contrast threshold for the symbol 102. The           memory (see FIG. 7 below for an example). The contrast
             black/white contrast threshold is the brightness level above     values may be labeled as RSmin for the space cell (306.S)
             which a cell 306 is considered to be white, and below which      closest to the BWCT, and RBmax for the bar cell (306.B)
             a cell is considered to be black. The algoritlm! then deter- 65 closest to the BWCT. An equivalent phrasing: RSmin is the
             mines the difference between the contrast level of each cell     smallest space cell reflectance (darkest), and RBmax is the
             306 and the black/white threshold. If the differential is        largest bar cell reflectance (lightest).




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                Steps 610 and 615 are repeated for all codewords 308 in           Sgap % and Bgap % are the relative closeness of the
             the symbol 102. This results in a listing of RSmin and                  deviant cell to the black/white threshold in percent, also
             RBmax for each codeword 308 in the symbol.                              referred to as the minimum interior contrast levels 702;
                In step 620, the method 600 determines the erasure gap               and
             for spaces between RSmin and the local black/white contrast 5        Rank is a listing of the worst 12 codewords (those with the
             threshold for each codeword. (ESgap=RSmin-localBWCT)                    smallest gap percentage) in the symbol 102.
                In step 625, the method 600 determines the erasure gap            FIG. 8 illustrates an exemplary case-analysis demonstrat-
             for bars between RBmax and the local black/white contrast         ing how poor cell contrast can identify a majority of flawed
             threshold for each codeword. (EBgap=localBWCT-RB- 10 codewords 308.F. TI1e damaged symbols shown in the figure
             max)                                                              are the same as the damaged symbol pictured and illustrated
                In step 630, the method 600 identifies the largest space       in FIG. 4, above. In FIG. 8, numbered codeword locations
             cell value in the entire array, that is the largest value for     805 are identified (by a standardized number scheme) for
             RSmin. lbis value, which may be labeled as RSmm, is used          those codewords which are flowed or damaged.
             for normalization in the following step.                       15
                                                                                  102.D2, reproduced here from FIG. 4 for convenience, is
                In step 635, the method 600 divides all space gap value        the damaged symbol as it was interpreted by an actual
             entries (ESgap) by the largest space cell ("white cell") value    scanuer 100 in the field.
             in the array, RSmm, generating an Sgap % value for each              Symbol 102.D3 is the same symbol as it was interpreted
             codeword. (Sgap %=ESgap/RSmm)                                     according the exemplary contrast analysis algorithms dis-
                In step 640, the method 600 identifies the largest bar cell 20 cussed above in conjunction with FIG. 5 and FIG. 6.
             ("black cell") value in the entire array, that is the largest        As can be seen in FIG. 8, there are two codewords 815
             value for RBmin. This value, which may be labeled as              which were assessed as being in error by the present system
             RBmm, is used for normalization in the following step.            and method, but which were actually read correctly by the
                In step 645, the method 600 divides all bar gap value          scanuer 100. Of the latter codewords, one was in the
             entries (EBgap) by the largest bar cell value in the array, 25 damaged region 402 (codeword 27) and another was a
             RBmm, generating a Bgap % value for each codeword.                codeword where there is a scratch through the dark cell,
             (Bgap %=EBgap/RBmm)                                               making it lighter (codeword 22).
                Sgap % and Bgap %, then, are the percentage relative              As can also be seen from FIG. 8, there is one codeword
             closeness of the deviant cell to the black/white contrast         810 which was actually read in error by the scanuer 100, but
             threshold. These percentage values, Sgap % and Bgap %, 30 was not flagged by the gray-scale contrast analysis algorithm
             may also be referred to as the minimum interior contrast
                                                                               of the present system and method.
             levels 702 for each cell 306. The minimum interior contrast
                                                                                  All the remaining, identified codewords 308 (a total of
             levels 702 are a measure of the optical clarity of the
                                                                               ten) which were flagged as being in error based on contrast
             codewords 308 in the symbol 102. Specifically: Those
             codewords 308 with the lowest values for Sgap % and/or the 35 analysis are codewords which were, in fact, read in error by
             lowest values for Bgap % have the highest optical ambiguity       the scanuer 100.
             (and therefore the least or worst optical clarity).                  The codeword that the analysis missed (codeword 27) is
                As noted above, the preceding steps 605 through 645 of         easily decoded using the 6 error correction codewords still
             method 600 may collectively be considered to be one               remaining. This is an example of a symbol that was far from
             exemplary embodiment of step 515 of method 500, already 40 being decodable using standard decoding methods, yet using
             discussed above, that is, determining an optical clarity for      a gray-scale contrast analysis algorithm, the symbol can
             each codeword 308 in the symbol 102.                              sustain this and slightly more damage and still be decodable.
                In step 650, and based on the Sgap % and Bgap % values            Further Applications
             determined in steps 635 and 645, the method 600 ranks the            The example shown (in FIGS. 4 and 8) clearly benefits
             lowest gap percent values up to the number of error correc- 45 from the gray-scale contrast analysis decoding since the
             tion codewords to be used as erasures. Step 650 of exem-          damage to the symbol 102.D1/102.D2 is contrast based.
             plary method 600 may be considered to be one exemplary            However, the present system and method will also work with
             embodiment of step 520 of method 500, that is, ranking the        other types of damage such as matrix distortion, m1iform
             codewords for optical clarity/ambiguity.                          dark or light damage and for DPM cell variation. When these
                These lowest rdllked, least clear codewords are the code- so types of distortion are present, there will be many sample
             words with the lowest optical clarity (or highest ambiguity),     points that rest on cell boundaries which will be recorded as
             which are then used as erasures in the Reed-Solomon               reduced contrast values. As long as the matrix distortion
             equations (step 530 of method 500).                               (such as wrinkling) is localized or the dark/light damage is
                Sample Applications                                            less than approximately one-third of the symbol, the present
                FIG. 7 presents an exemplary codeword contrast values 55 system and method will substantially improve decoding
             array 700 of the kind which may be constructed according          rates on all types of problem symbols 102.D.
             to exemplary method 600, above. The array contains actual            Summary
             codeword measurements for the symbol image 102.Dl/                   Improved matrix symbology decode performance is pos-
             102.D2 of FIG. 4, above. In array 700, CW is the codeword         sible when there is some knowledge of potentially damaged
             number; and, as per discussion above:                          60 codewords 308. One means of achieving improved decode
                RSmin is the smallest (darkest) space cell reflectance for     performance is by measuring the gray-level contrast varia-
                   each codeword 308;                                          tion of every codeword, and marking those with contrast
                RBmax is the largest (lightest) bar cell reflectance for       values that are closest to the black/white threshold as
                   each codeword 308;                                          erasures. Using gray-level information and using erasure
                ESgap is the erasure space gap calculated as RSmin minus 65 correction in matrix symbologies will allow successful
                  the threshold (75 hex in this case);                         decoding far into a damage region where current product
                EBgap is the threshold minus RBmax for the bar cells;          decoding fails.




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                To supplement the present disclosure, this application    U.S. Pat. No. 8,844,823; U.S. Pat. No. 8,849,019;
             incorporates entirely by reference the following patents,    U.S. Pat. No. 8,851,383; U.S. Pat. No. 8,854,633;
             patent application publications, and patent applications:    U.S. Pat. No. 8,866,963; U.S. Pat. No. 8,868,421;
             U.S. Pat. No. 6,832,725; U.S. Pat. No. 7,128,266;            U.S. Pat. No. 8,868,519; U.S. Pat. No. 8,868,802;
             U.S. Pat. No. 7,159,783; U.S. Pat. No. 7,413,127;          5 U.S. Pat. No. 8,868,803; U.S. Pat. No. 8,870,074;
             U.S. Pat. No. 7,726,575; U.S. Pat. No. 8,294,969;            U.S. Pat. No. 8,879,639; U.S. Pat. No. 8,880,426;
             U.S. Pat. No. 8,317,105; U.S. Pat. No. 8,322,622;            U.S. Pat. No. 8,881,983; U.S. Pat. No. 8,881,987;
             U.S. Pat. No. 8,366,005; U.S. Pat. No. 8,371,507;            U.S. Pat. No. 8,903,172; U.S. Pat. No. 8,908,995;
             U.S. Pat. No. 8,376,233; U.S. Pat. No. 8,381,979;            U.S. Pat. No. 8,910,870; U.S. Pat. No. 8,910,875;
             U.S. Pat. No. 8,390,909; U.S. Pat. No. 8,408,464;         10 U.S. Pat. No. 8,914,290; U.S. Pat. No. 8,914,788;
             U.S. Pat. No. 8,408,468; U.S. Pat. No. 8,408,469;            U.S. Pat. No. 8,915,439; U.S. Pat. No. 8,915,444;
             U.S. Pat. No. 8,424,768; U.S. Pat. No. 8,448,863;            U.S. Pat. No. 8,916,789; U.S. Pat. No. 8,918,250;
             U.S. Pat. No. 8,457,013; U.S. Pat. No. 8,459,557;            U.S. Pat. No. 8,918,564; U.S. Pat. No. 8,925,818;
             U.S. Pat. No. 8,469,272; U.S. Pat. No. 8,474,712;            U.S. Pat. No. 8,939,374; U.S. Pat. No. 8,942,480;
             U.S. Pat. No. 8,479,992; U.S. Pat. No. 8,490,877;         ts U.S. Pat. No. 8,944,313; U.S. Pat. No. 8,944,327;
             U.S. Pat. No. 8,517,271; U.S. Pat. No. 8,523,076;            U.S. Pat. No. 8,944,332; U.S. Pat. No. 8,950,678;
             U.S. Pat. No. 8,528,818; U.S. Pat. No. 8,544,737;            U.S. Pat. No. 8,967,468; U.S. Pat. No. 8,971,346;
             U.S. Pat. No. 8,548,242; U.S. Pat. No. 8,548,420;            U.S. Pat. No. 8,976,030; U.S. Pat. No. 8,976,368;
             U.S. Pat. No. 8,550,335; U.S. Pat. No. 8,550,354;            U.S. Pat. No. 8,978,981; U.S. Pat. No. 8,978,983;
             U.S. Pat. No. 8,550,357; U.S. Pat. No. 8,556,174;         20 U.S. Pat. No. 8,978,984; U.S. Pat. No. 8,985,456;
             U.S. Pat. No. 8,556,176; U.S. Pat. No. 8,556,177;            U.S. Pat. No. 8,985,457; U.S. Pat. No. 8,985,459;
             U.S. Pat. No. 8,559,767; U.S. Pat. No. 8,599,957;            U.S. Pat. No. 8,985,461; U.S. Pat. No. 8,988,578;
             U.S. Pat. No. 8,561,895; U.S. Pat. No. 8,561,903;            U.S. Pat. No. 8,988,590; U.S. Pat. No. 8,991,704;
             U.S. Pat. No. 8,561,905; U.S. Pat. No. 8,565,107;            U.S. Pat. No. 8,996,194; U.S. Pat. No. 8,996,384;
             U.S. Pat. No. 8,571,307; U.S. Pat. No. 8,579,200;         25 U.S. Pat. No. 9,002,641; U.S. Pat. No. 9,007,368;
             U.S. Pat. No. 8,583,924; U.S. Pat. No. 8,584,945;            U.S. Pat. No. 9,010,641; U.S. Pat. No. 9,015,513;
             U.S. Pat. No. 8,587,595; U.S. Pat. No. 8,587,697;            U.S. Pat. No. 9,016,576; U.S. Pat. No. 9,022,288;
             U.S. Pat. No. 8,588,869; U.S. Pat. No. 8,590,789;            U.S. Pat. No. 9,030,964; U.S. Pat. No. 9,033,240;
             U.S. Pat. No. 8,596,539; U.S. Pat. No. 8,596,542;            U.S. Pat. No. 9,033,242; U.S. Pat. No. 9,036,054;
             U.S. Pat. No. 8,596,543; U.S. Pat. No. 8,599,271;         30 U.S. Pat. No. 9,037,344; U.S. Pat. No. 9,038,911;
             U.S. Pat. No. 8,599,957; U.S. Pat. No. 8,600,158;            U.S. Pat. No. 9,038,915; U.S. Pat. No. 9,047,098;
             U.S. Pat. No. 8,600,167; U.S. Pat. No. 8,602,309;            U.S. Pat. No. 9,047,359; U.S. Pat. No. 9,047,420;
             U.S. Pat. No. 8,608,053; U.S. Pat. No. 8,608,071;            U.S. Pat. No. 9,047,525; U.S. Pat. No. 9,047,531;
             U.S. Pat. No. 8,611,309; U.S. Pat. No. 8,615,487;            U.S. Pat. No. 9,053,055; U.S. Pat. No. 9,053,378;
             U.S. Pat. No. 8,616,454; U.S. Pat. No. 8,621,123;         35 U.S. Pat. No. 9,053,380; U.S. Pat. No. 9,058,526;
             U.S. Pat. No. 8,622,303; U.S. Pat. No. 8,628,013;            U.S. Pat. No. 9,064,165; U.S. Pat. No. 9,064,167;
             U.S. Pat. No. 8,628,015; U.S. Pat. No. 8,628,016;            U.S. Pat. No. 9,064,168; U.S. Pat. No. 9,064,254;
             U.S. Pat. No. 8,629,926; U.S. Pat. No. 8,630,491;            U.S. Pat. No. 9,066,032; U.S. Pat. No. 9,070,032;
             U.S. Pat. No. 8,635,309; U.S. Pat. No. 8,636,200;            U.S. Design Pat. No. D716,285;
             U.S. Pat. No. 8,636,212; U.S. Pat. No. 8,636,215;         40 U.S. Design Pat. No. D723,560;
             U.S. Pat. No. 8,636,224; U.S. Pat. No. 8,638,806;            U.S. Design Pat. No. D730,357;
             U.S. Pat. No. 8,640,958; U.S. Pat. No. 8,640,960;            U.S. Design Pat. No. D730,901;
             U.S. Pat. No. 8,643,717; U.S. Pat. No. 8,646,692;            U.S. Design Pat. No. D730,902;
             U.S. Pat. No. 8,646,694; U.S. Pat. No. 8,657,200;            U.S. Design Pat. No. D733,112;
             U.S. Pat. No. 8,659,397; U.S. Pat. No. 8,668,149;         45 U.S. Design Pat. No. D734,339;
             U.S. Pat. No. 8,678,285; U.S. Pat. No. 8,678,286;            International Publication No. 2013/163789;
             U.S. Pat. No. 8,682,077; U.S. Pat. No. 8,687,282;            International Publication No. 2013/173985;
             U.S. Pat. No. 8,692,927; U.S. Pat. No. 8,695,880;            International Publication No. 2014/019130;
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               (Fitch et al.);                                               WEIGHING INTERFERENCES filed Jun. 12, 2015
             U.S. patent application Ser. No. 14/705,407 for METHOD          (Amundsen et al.);
               AND SYSTEM TO PROTECT SOFTWARE-BASED                       U.S. patent application Ser. No. 14/740,320 for TACTILE
               NETWORK-CONNECTED                  DEVICES         FROM 10    SWITCH FOR A MOBILE ELECTRON1C DEVICE
               ADVANCED PERSISTENT THREA:I filed May 6, 2015                 filed Jun. 16, 2015 (Bandringa);
               (Hussey et al.);                                           U.S. patent application Ser. No. 14/740,373 for CALIBRAT-
             U.S. patent application Ser. No. 14/707,037 for SYSTEM          ING A VOLUME DIMENSIONER filed Jun. 16, 2015
               AND METHOD FOR DISPLAY OF INFORMATION                         (Ackley et al.);
               USING A VEHICLE-MOUNT COMPUTER filed May 8, ts U.S. patent application Ser. No. 14/742,818 for INDICIA
               2015 (Chamberlin);                                            READING SYSTEM EMPLOYING DIGITAL GAIN
             U.S. patent application Ser. No. 14/707,123 for APPLICA-        CONTROL filed Jun. 18, 2015 (Xian et al.);
               TION INDEPENDENT DEX/UCS INTERFACE filed                   U.S. patent application Ser. No. 14/743,257 for WIRELESS
               May 8, 2015 (Pape);                                           MESH POINT PORTABLE DA:IA TERMINAL filed Jun.
             U.S. patent application Ser. No. 14/707,492 for METHOD 20       18, 2015 (Wang et al.);
               AND APPARATUS FOR READING OPTICAL INDI-                    U.S. patent application Ser. No. 29/530,600 for CYCLONE
               CIA USING A PLURALITY OF DATA SOURCES filed                   filed Jun. 18, 2015 (Vargo et al);
               May 8, 2015 (Smith et al.);                                U.S. patent application Ser. No. 14/744,633 for IMAGING
             U.S. patent application Ser. No. 14/710,666 for PRE-PAID        APPARATUS COMPRISING IMAGE SENSOR
               USAGE SYSTEM FOR ENCODED INFORMATION 25                       ARRAY HAVING SHARED GLOBAL SHUTTER CIR-
               READING TERMINALS filed May 13, 2015 (Smith);                 CUITRY filed Jun. 19, 2015 (Wang);
             U.S. patent application Ser. No. 29/526,918 for CHARG-       U.S. patent application Ser. No. 14/744,836 for CLOUD-
               ING BASE filed May 14, 2015 (Fitch et al.);                   BASED SYSTEM FOR READING OF DECODABLE
             U.S. patent application Ser. No. 14/715,672 for AUGU-           INDICIA filed Jun. 19, 2015 (Todeschini et al.);
               MENTED REALITY ENABLED HAZARD DISPLAY 30 U.S. patent application Ser. No. 14/745,006 for SELEC-
               filed May 19, 2015 (Venkatesha et al.);                       TIVE OUTPUT OF DECODED MESSAGE DATA filed
             U.S. patent application Ser. No. 14/715,916 for EVALUAT-        Jun. 19, 2015 (Todeschini et al.);
               ING IMAGE VALUES filed May 19, 2015 (Ackley);              U.S. patent application Ser. No. 14/747,197 for OPTICAL
             U.S. patent application Ser. No. 14/722,608 for INTER.AC-       PATTERN PROJECTOR filed Jun. 23, 2015 (Thuries et
               TIVEUSERINTERFACEFORCAPTURINGADOCU- 35                        al.);
               MENT IN AN IMAGE SIGNAL filed May 27, 2015                 U.S. patent application Ser. No. 14/747,490 for DUAL-
               (Showering et al.);                                           PROJECTOR THREE-DIMENSIONAL SCANNER
             U.S. patent application Ser. No. 29/528, 165 for IN-COUN-       filed Jun. 23, 2015 (Jovanovski et al.); and
               IER BARCODE SCANNER filed May 27, 2015 (Ober-              U.S. patent application Ser. No. 14/748,446 for CORDLESS
               priller et al.);                                        40    INDICIA READER WITH A MULTIFUNCTION COIL
             U.S. patent application Ser. No. 14/724,134 for ELEC-           FOR WIRELESS CHARGING AND EAS DEACTNA-
               TRONIC DEVICE WITH WIRELESS PATH SELEC-                       TION, filed Jun. 24, 2015 (Xie et al.).
               TION CAPABILITY filed May 28, 2015 (Wang et al.);             In the specification and/or figures, typical embodiments of
             U.S. patent application Ser. No. 14/724,849 for METHOD       the invention have been disclosed. The present invention is
               OF PROGRAMMING THE DEFAULT CABLE INTER- 45 not limited to such exemplary embodiments. The use of the
               FACE SOFTWARE IN AN INDICIA READING                        tem1 "and/or'' includes any and all combinations of one or
               DEVICE filed May 29, 2015 (Barten);                        more of the associated listed items. The figures are sche-
             U.S. patent application Ser. No. 14/724,908 for IMAGING      matic representations and so are not necessarily drawn to
               APPARATUS HAVING IMAGING ASSEMBLY filed                    scale. Unless otherwise noted, specific terms have been used
               May 29, 2015 (Barber et al.);                           so in a generic and descriptive sense and not for purposes of
             U.S. patent application Ser. No. 14/725,352 for APPARA-      limitation.
               TUS AND METHODS FOR MONITORING ONE OR                         The foregoing detailed description has set forth various
               MORE PORTABLE DATA TERMINALS (Caballero et                 embodiments of the devices and/or processes via the use of
               al.);                                                      block diagrams, flow charts, schematics, exemplary data
             U.S. patent application Ser. No. 29/528,590 for ELEC- 55 strnctures, and examples. Insofar as such block diagrams,
               TRONIC DEVICE filed May 29, 2015 (Fitch et al.);           flow charts, schematics, exemplary data strnctures, and
             U.S. patent application Ser. No. 29/528,890 for MOBILE       examples contain one or more functions and/or operations,
               COMPUTER HOUSING filed Jun. 2, 2015 (Fitch et al.);        it will be understood by those skilled in the art that each
             U.S. patent application Ser. No. 14/728,397 for DEVICE       function and/or operation within such block diagrams, flow-
               MANAGEMENT USING VIRTUAL INTERFACES 60 charts, schematics, exemplary data strnctures, or examples
               CROSS-REFERENCE TO RELATED APPLICATIONS                    can be implemented, individually and/or collectively, by a
               filed Jun. 2, 2015 (Caballero);                            wide range ofhardware, software, firmware, or virtually any
             U.S. patent application Ser. No. 14/732,870 for DATA         combination thereof.
               COLLECTION MODULE AND SYSTEM filed Jun. 8,                    In one embodiment, the present subject matter may be
               2015 (Powilleit);                                       65 implemented via Application Specific Integrated Circuits
             U.S. patent application Ser. No. 29/529,441 for INDICIA      (ASICs). However, those skilled in the art will recognize
               READING DEVICE filed Jun. 8, 2015 (Zhou et al.);           that the embodiments disclosed herein, in whole or in part,




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             can be equivalently implemented in standard integrated                          determining reflectance of second color cells of the
             circuits, as one or more computer programs running on one                           second plurality of cells of the selected data code-
             or more computers (e.g., as one or more programs running                            word;
             on one or more computer systems), as one or more programs               identifying a respective minimum interior contrast level
             running on one or more controllers (e.g., microcontrollers)                  for each codeword in the symbol; and
             as one or more programs running on one or more processors               flagging as optically ambiguous a plurality of codewords
             (e.g., microprocessors), as firmware, or as virtually any                    with the lowest minimum interior contrast levels
             combination then..-of, and that designing the circuitry and/or              among all the codewords in the symbol, up to a
             writing the code for the software and or firmware would be                   specified number of codewords;
             well within the skill of one of ordinary skill in the art in light 10
                                                                                     marking via the hardware processor, in an error correction
             of this disclosure.
                                                                                          (EC) equation stored in a memory of the symbol reader,
                In addition, those skilled in the art will appreciate that the
                                                                                          the location of fue optically ambiguous data codeword
             control mechanisms taught herein are capable of being
             distributed as a program product in a variety of tangible                    within fue symbol; and
             forms, and that an illustrative embodiment applies equally 1s           executing, via the hardware processor, the EC equation to
             regardless of the particular type of tangible instruction                   correct errors in the read plurality of codewords.
             bearing media used to actually carry out the distribution.              2. The method of claim 1, wherein determining the
             Examples of tangible instruction bearing media include, but           location for the data codeword which is optically ambiguous
             are not limited to, the following: recordable type media such         comprises:
             as floppy disks, hard disk drives, CD ROMs, digital tape, 20            determining that the selected data codeword displays a
             flash drives, and computer memory.                                          level of contrast between the first color cells and the
                The various embodiments described above can be com-                       second color cells which is insufficient for an unam-
             bined to provide further embodiments. These and other                        biguous decoding of the selected data codeword by the
             changes can be made to the present systems and methods in                    symbol reader.
             light of the above-detailed description. In general, in the 25          3. The mefuod of claim 1, wherein performing the contrast
             following claims, the terms used should not be construed to           analysis on the selected data codeword comprises:
             limit the invention to the specific embodiments disclosed in             (i) determining a dark/light fureshold level, wherein the
             the specification and the claims, but should be construed to                dark/light threshold level is indicative of a reflectance
             include all machine-readable symbol scanning and process-                   above which a cell is assessed as being of the first color
             ing systems and mefuods that read in accordance wifu the 30                 and below which a cell is assessed as being of the
             claims. Accordingly, the invention is not limited by fue                     second color;
             disclosure, but instead its scope is to be determined entirely           (ii) determining a level of difference between the reflec-
             by the following claims.                                                    tance of each cell of the selected data codeword and the
                                                                                         dark/light fureshold level; and
                What is claimed is:                                             35    (iii) determining the minimum interior contrast level for
                1. A method of error correction for a two-dimensional                    the selected data codeword by determining, among all
             (2D) symbol designed for optical reading by a symbol                         the cells within the selected data codeword, a specific
             reader, the symbol having a plurality of cells of a designated              cell with a lowest level of difference between the
             first color comprising first color cells and a designated                    reflectance of the specific cell and the dark/light thresh-
             second color comprising second color cells which cells are 40               old level.
             arranged in a two-dimensional matrix; fue symbol further                4. The metl10d of claim 3, further comprising:
             having a plurality of codewords at specified locations within           ranking each codeword of the symbol for a respective
             the symbol, each codeword comprising at least one specified                  level of optical ambiguity, wherein each codeword is
             group of cells; the method comprising:                                       mnked for its respective level of optical ambiguity
                optically reading, by an optical scanner of the S)'mbol 45                based on the minimum interior contrast level of that
                   reader, the plurality of codewords in the symbol, the                 codeword as compared with the minimum interior
                   plurality of codewords comprising a first plurality of                contrast levels of all the other codewords in the symbol,
                   data codewords storing data indicated by a pattern of                  wherein:
                   the first and second color cells in the codeword, and a           a first minimum interior contrast level of a first codeword
                   second plumlity of error-correction (EC) codewords so                 is compared wifu a second minimum interior contrast
                   derived from the data codewords and providing redun-                   level of a second codeword, fue codeword of the two
                   dancy for the data represented by the data codewords;                  with the lower minimum interior contrast level being
                determining, via a hardware processor of the symbol                      assigned a higher level of optical ambiguity.
                   reader, a location for a data codeword of the first               5. The method of claim 3, further comprising:
                   plurality of data codewords which is optically ambigu- 55          (i) determining a local dark/light threshold level for a
                   ous, the determining comprising                                        spl.-cific cell, wherein the local dark/light threshold
                   selecting the data codeword based on a standards-                      level for the specific cell is determined based on a
                      established set of codeword locations within the                    plurality of cells local to the specific cell;
                      symbol; and                                                     (ii) determining a level of difference between the reflec-
                   then performing a contrast analysis on the selected data 60           tance of each cell of the selected data codeword and
                      codeword, wherein the contrast analysis identifies a               each cell's local dark/light threshold level; and
                      minimum interior contmst level for fue selected data            (iii) determining the minimum interior contmst level for
                      codeword, and the performing of the contrast analy-                the selected data codeword by determining, among all
                      sis comprises                                                       the cells within the selected data codeword, a specific
                      determining reflectance of first color cells of the first 65       cell wifu a lowest level of difference between the
                         plurality of cells of the selected data codeword,                reflectance of the specific cell and the cell's local
                         and                                                             dark/light threshold level.




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               6. An electronic system that acquires a machine-readable                  above which a cell is assessed as being of the first color
             two-dimensional (2D) symbol designed for optical reading                    and below which a cell is assessed as being of the
             by the system, the symbol having a plurality of cells of a                   second color;
             designated first color comprising first color cells and a                (ii) determine a level of difference between the reflectance
             designated second color comprising second color cells                       of each cell of the selected data codeword and the
             which cells are arranged in a two-dimensional matrix; the                   dark/light threshold level; and
             symbol further having a plurality of codewords at specified              (iii) determine the minimum interior contrast level for the
             locations within the symbol, each codeword comprising at                     selected data codeword by determining, among all the

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             indicated by a pattern of the first and second color cells in
                                                                                         cells within the selected data codeword, a specific cell
                                                                                          with a lowest level of difference between the reflec-
                                                                                         tance of the specific cell and the dark/light threshold
             the codeword, and a second plurality of error-correction                     level.
             (EC) codewords derived from the data codewords and                       9. The electronic system of claim 8, wherein the hardware
             providing redundancy for the data represented by the data 15 processor is further configured to:
             codewords, the electronic system comprising:                             rauk each codeword of the symbol for a level of optical
                an optical scanner configured to optically receive the                   ambiguity, wherein each codeword of the symbol is
                   plurality of cells in the symbol and to convert the cell               rauked for the level of optical ambiguity based on the
                   pattern of the symbol into an electrical pattern subject               minimum interior contrast level of that codeword as
                   to electronic storage and computational analysis;            20       compared with the minimum interior contrast levels of
                a memory configured to store the electrical pattern of the               all the other codewords in the symbol, wherein:
                   symbol, and an error-correction (EC) equation; and                 a first minimum interior contrast level of a first codeword
                a hardware processor which is configured to:                              is compared with a second minimum interior contrast
                   determine a location for a data codeword of the first                 level of a second codeword, the codeword of the two
                      plurality of data codewords which is optically 25                   with the lower minimum interior contrast level being
                      ambiguous, comprising the hardware processor                       assigned a higher level of optical ambiguity.
                      being configured to determine the location for the              10. Tue electronic system of claim 8, wherein the hard-
                      data codeword which is optically ambiguous by                ware processor is further configured to:
                      selecting the data codeword based on a standards-               (i) determine a local dark/light threshold level for a
                         established set of codeword locations within the 30              specific cell, wherein the local dark/light threshold
                         symbol, said standards-established set being
                                                                                         level for the specific cell is determined based on a
                         stored in the memory of the electronic system, and
                                                                                          plurality of cells local to the specific cell;
                      then performing a contrast analysis on the selected
                                                                                      (ii) determine a level of difference betw1..>en the reflectance
                         data codeword, wherein the contrast analysis iden-
                        tifies a minimum interior contrast level for the 35              of each cell of the data codeword and each cell's local
                         selected data codeword, and the performing of the               dark/light threshold level; and
                         contrast analysis comprises                                  (iii) determine the minimum interior contrast level for the
                         determining reflectance of first color cells of the             data codeword by determining, among all the cells
                            first plurality of cells of the selected data code-           within the data codeword, a specific cell with a lowest
                            word, and                                           40        level of difference between the reflectance of the spe-
                         determining reflectance of second color cells of                cific cell and the cell's local dark/light threshold level.
                            the second plurality of cells of the selected data        11. Tue electronic system of claim 6, wherein the error-
                            codeword;                                              correction equation stored in the memory comprises Reed-
                   identify a respective minimum interior contrast level           Solomon error correction equations.
                      for each codeword in the symbol;                          45    12. A computer-readable, non-transitory storage medium
                   flag as optically ambiguous a plurality of codewords            storing instructions that, when executed by a hardware
                      with the lowest minimum interior contrast levels             processor of a symbol reader, causes the hardware processor
                      among all the codewords in the symbol, up to a               to execute a method of error correction for a two-dimen-
                      specified number of codewords;                               sional (2D) symbol designed for optical reading by the
                   mark in the error correction equation the location of the so symbol reader, the symbol having a plurality of cells of a
                      optically ambiguous data codeword within the sym-            designated first color comprising first color cells and a
                      bol; and                                                     designated second color comprising second color cells
                   execute the EC equation to correct errors in the read           which cells are arranged in a two-dimensional matrix; the
                      plurality of codewords.                                      symbol further having a plurality of codewords at specified
                7. Tue electronic system of claim 6, wherein the hardware 55 locations within the symbol, each codeword comprising at
             processor is further configured to determine the location for         least one specified group of cells; the plurality of codewords
             the data codeword which is optically ambiguous by:                    comprising a first plurality of data codewords storing data
                determining that the selected data codeword displays a             indicated by a pattern of the first and second color cells in
                   level of contrast between the first color and the second        the codeword, and a second plurality of error-correction
                   color which is insufficient for an unambiguous decod- 60 (EC) codewords derived from the data codewords and
                   ing of the selected data codeword by the electronic             providing redundancy for the data represented by the data
                   system.                                                         codewords; the method comprising:
                8. Tue electronic system of claim 6, wherein to perform               optically reading, by an optical scanner of the symbol
             the contrast analysis on the selected data codeword the                      reader, the plurality of codewords in the symbol;
             hardware processor is further configured to:                       65    determining a location for a data codeword of the first
                (i) determine a dark/light threshold level, wherein the                   plurality of data codewords which is optically ambigu-
                   dark/light threshold level is indicative of a reflectance             ous, the determining comprising




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                 selecting the data codeword based on a standards-                  13. The computer-readable, non-transitory storao-e
                    established set of codeword locations within the             medium of claim 12, wherein determining the location for
                    symbol; and                                                  the data codeword which is optically an1biguous comprises:
                 then performing a contrast analysis on the selected data           determining that the selected data codeword displays a
                    codeword, wherein the contrast analysis identifies a               level of contrast between the first color and the second
                    minimum interior contrast level for the selected data              color which is insufficient for an unambiguous decod-
                    codeword, and the performing of the contrast analy-                 ing of the selected data codeword by the symbol reader.
                    sis comprises                                                   14. The computer-readable, non-transitory storage
                    determining reflectance of first color cells of the first    ";ledium of claim 12, wherein performing the contrast analy-
                       plurality of cells of the selected data codeword, 10 sts on the selected data codeword comprises:
                       and                                                          (i) determining a dark/light threshold level, wherein the
                    determining reflectance of second color cells of the               dark/light threshold level is indicative of a reflectance
                       second plurality of cells of the selected data code-            above which a cell is assessed as being of the first color
                       word;                                                           and below which a cell is assessed as being of the
              identifying a respective minimum interior contrast level 15               second color;
                 for each codeword in the symbol;                                   (ii) determining a level of difference between the reflec-
              flagging as optically ambiguous a plurality of codewords                 tance of each cell of the selected data codeword and the
                 with the lowest minimum interior contrast levels                      dark/light threshold level; and
                 among all the codewords in the symbol, up to a                     (iii) determining the minimum interior contrast level for
                 specified number of codewords;                               20       the selected data codeword by determining, among all
              marking in an error correction (EC) equation the location                 the cells within the selected data codeword, a specific
                 of the optically ambiguous data codeword within the                   cell with a lowest level of difference between the
                 symbol; and                                                            reflectance of the specific cell and the dark/light thresh-
              executing the EC equation to correct errors in the read                  old level.
                plurality of codewords.                                                                  * * * * *




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             c12) United States Patent                                                   (10) Patent No.:                      US 8,587,595 B2
                    Wang                                                                 (45) Date of Patent:                           Nov. 19, 2013


             (54)    LOW POWER MULTI-CORE DECODER                                            4,164,628 A         8/1979     Ward et al.
                     SYSTEMAi~D METHOD                                                       4,210,802 A         7/1980     Sakai
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             (75)    Inventor:    Ynjiun P. Wang, Cupertino, CA (US)                         4,435,822 A         3/1984     Spencer et al.
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             (73) Assignee: Hand Held Products, Inc., Fort Mill,                             4,488,678 A        12/1984     Hara et al.
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                                  patent is extended or adjusted under 35                    4,561,089 A        12/1985     Rouse et al.
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             (65)                   Prior Publication Data                                   4,653,076 A         3/1987     Jerri:m et al.
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                  G06Fl5/80                   (2006.01)
                  G06K7/10                    (2006.01)                             JP                     59212075 A • 11/1984
             (52) U.S.Cl.
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                  USPC .................... 345/505; 235/462.01; 235/462.1
             (58) Field of Classification Search                                    EPO, European Search Report from corresponding EP application
                  USPC ................. 345/501, 502, 505, 530, 554, 557;          No. EP 10 182186, dated Jan. 11, 2011, (3 pages).
                                        235/462.01, 462.09, 462.1, 462.11;
                                                                   718/105          Primary Examiner -- Joni Richer
                  See application file for complete search history.                 (74) Attorney, Agent, or Firm -Additon,                           Higgins,
                                                                                    Pendleton & Ashe, P.A.
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                    3,582,884 A       6/ 1971   Shepard                             having at least a first core and a second core, at least one
                    3,663,762 A       5/ 1972   Joel, Jr.                           illumination assembly and at least one imaging assembly and
                    3,684,868 A       8/1972    Christie et al.                     data storage means configured to store a plurality of program
                    3,723,970 A       3/ 1973   Stoller                             instructions, the program instructions including at least one
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                                                                                    one-dimensional decoder and at least one two-dimensional
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                                                                                               Data Storage            Processing
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                                                                                                Applications
                                                                                                1D Decoder

                                                                                                2D Decoder
                                         136                                                                          116



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                                                                                  System Bus




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                        Fig. IA                                                     Fig. 1B




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                     114                    Optics              Sensor

               Target
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                                       Illuminacion                 Source
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                                           Optics                                    122a "'.----'-------,
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                             '                                                                Data Storage                Processing         0
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                             i----7-----------7--1-11                                           Means                    Architecture        w
                                     110             l 08                             125
                                                                                              Applications
                                                                                       127                                                   rri
                                                                                                       JD Decoder                            ::r
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                                     134              132            130     128




JA2340
                                 /                                                                     2D Decoder                            N
                     136                                                                                                  116 -,,            0
                 /         '-letwork       I       Display    IUscr               Power
                                                                                                                                             -...,
                                                                                                        Dual Port                            'Jl
                           Interface              Interface                       Supply
                                                                                                                                                               Filed: 04/01/2024




                Remote                                                                                                    Mul1i-ccrc
                                                                Interface                               ]\,kmory          Pruccssor
               Computer
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                                                                               System Bus                                      7             L'.
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         m                                                           FIG. 2a
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               Target        I
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                                          Illumination                Source                                                                            ~
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                                              Optics                                       122b                                        /,.,,,,
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                                                                                                           Data Storage         Processing              N
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                                                                                                             Means              Architecture            w
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                                                                                                           Applications
                                                                                             127   i:====                                               rri
                                                                                                     i     JU Decoder                                   ::r
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                                      134                132           130                                                                              ~
                                                                                   12s    I 129 --.Li      2D Decoder




JA2341
                   136                                                                                                           116                    w
                                 Network       ' Display                                                                             -----..            0
                                                                                       Power~         1
                                                                    User       I                           Single Port
                                                                                                                                                        -...,
                Remote           Interface       Interface          Input              Supply         I                          1\fo]ti-UJTe           'Jl
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                                                                  Interface        I                        Memory
                                                                                                      '-------,------ l     •    Processor
               Computer                                                                                                        JI
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         z                                                             FIG. 2b                                                                          U'I
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                                       Clock and/or Power
                                          Management
                                                    150


                                Corel                        Core 2
                                                                                     ..,.,.....- l 16a
                                     140                          142


                              Lli            Ltd           Lli       Lld            144
                             Cache          Cache         Cache     Cache
                                              L2 Cache
                                                    146
                                             Bus Interface
                                                    148


                                                FIG.3


                               160
                                     '---
                                        Dual Port Memory

                                                                    Port 1

                                                                        162


                                                                    Port 2
                                                                              .;;    ~
                                                                        164



                                             Frame Buffer
                                                 166

                                                 FIG.4




                                                                                                            HONEYWELL-00268038

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                                                Clock and/or Power
                                                   Management
                                                          150


                        Corel              Core2                 Core 3            Corc4
                                                                                                  _..,.---116b
                           170                 172                   174            .ill

                    Lli
                   Cache
                           I    Lld
                               Cache
                                        Lli
                                       Cache
                                                I Cache
                                                   Lld        Lli
                                                             Cache
                                                                      I Cache
                                                                         Lld     Lli
                                                                                Cache
                                                                                        I Cache
                                                                                           Lid    178

                                                      L2 Cache
                                                          180
                                                     Bus Interface
                                                         182


                                                        FIG.5




                                                                                                      HONEYWELL-00268039

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                                                                                                                                                       PX-225

                                                                  US 8,587,595 B2
                                           1                                                                      2
                    LOW POWER MULTI-CORE DECODER                                   in memory before it can access the data in order to execute a
                         SYSTEMA.~D METHOD                                         decode algorithm and then must further wait for a decode
                                                                                   algorithm to complete before a second decode algorithm can
                                TECHNICAL FIELD                                    execute. Further, in many settings such as warehouses, shop-
                                                                                   ping centers, shipping centers, and numerous others, PDTs
               Ihe present invention relates to portable data terminals and        are used to decode bar codes in serial fashion such that a faster
             more particularly, to portable data terminals configured to           decode operation generally increases throughput.
             capture an image and decode any bar code contained in the                Attempts have been made to increase decode speed par-
             image.
                                                                                                    1
                                                                              10:!:!g,bii10: ~ !!~:~;~~a~~~i~~asfn~~~ :~c~~::~
                          BACKGROUND INFORMATION
                                                                                unit by providing processor cycles to one thread when another
                                                                                thread incurs a latency such as a cache miss, for example,
                Portable data terminals (PDTs) such as laser indicia read-
             ing devices, optical indicia reading devices, barcode scanners     which would cause the processor to incur several cycles of
             and barcode readers, for example, typically read data repre- 15 idle time while ofi~chip memory is accessed. Using multi-
             sented by printed indicia such as symbols, symbology, and          threading, the central processor idle time is minimized but not
             bar codes, for example. One type of symbol is an array of          substantially parallelized. Further, context switching
             rectangular bars and spaces that are arranged in a specific way    between threads can significantly increase overhead, as the
             to represent elements of data in machine readable form. Opti-      state of one process/thread is saved while another is loaded,
             cal indicia reading devices typically transmit light onto a 20 further minimizing any efficiency gain.
             symbol and receive light scattered and/or reflected back from         Accordingly, there remains a need in the art for a PDT
             a bar code symbol or indicia. The received light is interpreted    system architecture that will allow for faster, substantially
             by an image processor to extract the data represented by the       parallel, bar code decoding operations.
             symbol. Laser indicia reading devices typically utilize trans-
             mitted laser light. One-dimensional (ID) optical bar code 25               BRIEF DESCRIPTION OF THE DRAWINGS
             readers are characterized by reading data that is encoded
             along a single axis, in the widths of bars and spaces, so that        The present invention is disclosed with reference to the
             such symbols can be read from a single scan along that axis,       accompanying drawings, wherein:
             provided that the symbol is imaged with a sufficiently high           FIG. 1 is a plan view and a side perspective view of two
             resolution.                                                     30 exemplary PDTs.
                In order to allow the encoding oflarger amounts of data in         FIG. 2a is a block schematic diagram of an exemplary PDT
             a single bar code symbol, a numberofone-dimensional (ID)           according to the present invention.
             stacked bar code symbologies have been developed which                FIG. 2b is a block schematic diagram of an exemplary PDT
             partition encoded data into multiple rows, each including a        according to the present invention.
             respective ID bar code pattern, all or most all of which must 35      FIG. 3 is a block schematic diagram of an exemplary multi-
             be scanned and decoded, then linked together to form a com-        core processor according to the present invention.
             plete message. Scanning still requires relatively higher reso-        FIG. 4 is a block schematic diagram of an exemplary dual
             lution in one dimension only, but multiple linear scans are        port memory module according to the present invention.
             needed to read the whole symbol.                                      FIG. 5 is a block schematic diagram of an exemplary multi-
                A class of bar code symbologies known as two-dimen- 40 core processor according to the present invention.
             sional (2D) matrix symbologies have been developed which              It will be appreciated that for purposes of clarity and where
             offer orientation-free scanning and greater data densities and     deemed appropriate, reference numerals have been repeated
             capacities than ID symbologies. 2Dmatrix codes encode data         in the figures to indicate corresponding features.
             as dark or light data elements within a regular polygonal
             matrix, accompanied by graphical finder, orientation and ref- 45                     DETAILED DESCRIPTION
             erence structures.
                Conventionally, a PDT includes a central processor which           Referring to FIGS. IA and lB, two exemplary PDTs 100
             directly controls the operations of the various electrical com-    for reading/scanning printed indicia are shown. The PDT
             ponents housed within the PDT. For example, the central            housing can be shaped so as to fit comfortably into a human
             processor controls detection of keypad entries, display fea- so hand using a handle portion 104 and can include a finger
             tures, wireless communication functions, trigger detection,        actuatable scan/capture or trigger button 101 as well as a
             and bar code read and decode functionality. More specifi-          keypad 102 for inputting data and commands, power button,
             cally, the central processor typically communicates with an        and antenna for facilitating communication with a local or
             illumination assembly configured to illuminate a target, such      remote host processor, for example. The PDT also includes a
             as a bar code, and an imaging assembly configured to receive 55 display 103, such as an LCD or OLED display, for example,
             an image of the target and generate an electric output signal      for displaying information to the user. If the display 103 is a
             indicative of the data optically encoded therein.                  touch screen, a stylus (not shown) may also be included to
                The output signal is generally representative of the pixel      facilitate interaction with the touch screen. An aperture in the
             data transmitted by an image sensor of the imaging assembly.       housing is included such that the illumination 108 and imag-
             Because the pixel data may not be high enough quality for the 60 ing optics 109 have substantially unobstructed access to the
             processor to reliably decode the bar code in the image, PDTs       target 114. The PDT can also include a power port for receiv-
             generally successively capture images, or image frames, until      ing a power supply as well as one or more communication
             a reliable decode is complete. Further, where the bar codes        ports for facilitating wired or wireless communication with a
             being decoded vary from ID and 2D symbologies, the PDT             network interface 134. Although the present invention is
             generally sequentially executes decode algorithms for the 65 described with respect to a PDT, the invention can be utilized
             multiple symbologies. This process can be time-intensive           in any bar code scanner, mobile device, mobile computer, or
             because the processor must wait for the pixel data to be stored    personal data assistant, for example.




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                Referring to FIG. 2, there is shown a block schematic               Referring to FIG. 3, a multi-core processor 116 according
             diagram of the basic structures that together comprise a PDT        to the present invention is shown as a dual-core processor
             105 according to the present invention. The PDT 105 includes        116a having a first core 140 and a second core 142. The cores
             an illumination assembly 108 for illuminating a target 114,         can also share one cache, or in a multilevel cache architecture,
             such as a bar code, and an imaging assembly 109 forreceiving        each utilize its own respective cache (e.g. LI) and share
             an image of the target 114 and generating an electric output        another cache (e.g. L2) or any combination thereof. In the
             signal indicative of the pixel data optically encoded therein.      embodiment shown in FIG. 3, a first level of cache 144 is
             The illumination assembly 108 includes at least one light           shown as having instruction and data caches for each core
             source 112 together with illumination optics 110, such as one       140, 142 and a second level of cache 146 is shown as being
             or more reflectors, for directing light from the light source in 10 shared among both cores 140 and 142. The cores 140 and 142
             the direction of the target 114. The light source 112 can           can be integrated on the same integrated circuit die or they can
             include at least one LED configured to emit light in the            be integrated onto multiple dies in the same integrated circuit
             near-infrared range and/or at least one LED configured to           package as is known in the art. Further, the processor 116 can
             emit light in the visible range. The imaging assembly 102           also include one or more independent or shared bus interfaces
             includes a 2D image sensor 106, such as a CCD, CMOS, 15 such as a shared bus interface 148 for communication with a
             NMOS, PMOS, CID, or CMD solid state imagine sensor,                 system bus and/or the data storage means 122. Each core 140
             along with imaging optics 107 for receiving and focusing an         and 142 has its own processing unit and is capable of issuing
             image of the target 114 onto the image sensor 106.                  instructions transmitted through the bus interface to a bus as
                Still referring to FIG. 2, the PDT 105 further includes a        well as simultaneously performing operations.
             processing architecture 115 which controls the operation of 20         Referring to one embodiment shown in FIGS. 2a and 4,
             the PDT 105 by implementing program instructions it                 dual port memory 160 is shown as including a first port 162
             retrieves from the data storage means 122. More specifically,       and a second port 164. At least a portion of the dual port
             the processing architecture 115 is configured to receive, out-      memory, identified as frame buffer 166 in FIG. 4, is config-
             put and process data, including image/pixel data, operate the       ured to store image frame data as received from the inlage
             imaging 109 and illumination 108 assemblies, and commu- 25 sensor. Dual port memory, such as the dual port memory
             nicate with a system bus 138 among other operations. Further,       described by U.S. Pat. No. 5,276,842 to Sugita, incorporated
             the processing architecture 115 may be configured to control        herein by reference, is preferably configured to be accessed
             the illumination of the light source 112, the timing of the         by two cores simultaneously on the same clock. Contention
             image sensor 106, analog-to-digital conversion, transmission        issues are preferably handled by arbitration system or arbi-
             and reception of data to and from a processor of a remote 30 tration logic as is known in the art and as one exemplary
             computer 136 external to the reader through a network inter-        implementation of an arbitration system is also described in
             face 134, such as an RS-232, RS-485, USB, Ethernet, Wi-Fi,          the '842 patent. Dual port memory can also be implemented
             Bluetooth™, IrDA and Zigbee interface, control a user input         with a single port memory core as taught by Balasubramanian
             interface to 1nanage user interaction with a scan/trigger button    et al. in U.S. Pat. No. 7,349,285, incorporated herein by
             101 and/or keypad 102, and control an output device 103, 35 reference, whereby access requests are processed on both the
             such as an LCD or an OLED display, through the display              high and low logic states of the memory clock cycle.
             interface 132. The processing architecture 115 includes at             In an exemplary operation, the processing architecture 115
             least one multi-core processor 116 as described in detail           retrieves program instructions from data storage means 122a,
             below with respect to FIGS. 3 and 5 but optionally can include      over system bus 138, which the architecture implements to
             an additional processor(s) or microprocessor( s) such as VLSI 40 control the illumination assembly 108 to focus light on a
             or ASIC integrated circuit microprocessor( s). In one embodi-       target 114 containing a bar code and imaging assembly 109 to
             ment shown in FIG. 2a the data storage means 122a includes          receive the reflected light. The image sensor 106 then trans-
             at least one dual port memory module 160, such as RAM for           mits output signals, representative of pixel data of the cap-
             example, described in detail below with respect to FIG. 4 but       tured image, to the first port 162 of the dual port memory 164
             optionally can include additional memory modules such as 45 where it is stored in a frame buffer 166. Each of the first core
             local, network-accessible, removable and/or non-removable           140 and the second core 142 can then access the frame buffer
             memory, such as RAM, ROM, and/or flash. In another                  166 and retrieve the pixel data. To allow for parallel decoding,
             embodiment shown in FIG. 2b, the data storage means 122b            the first core 140 can be configured to execute the program
             includes at least one single port memory module 163, such as        instructions of the ID decoder and the second core 142 can be
             RAM for example, in communication with a direct memory so configured to execute the program instructions of the 2D
             access (DMA) controller 161 as described further below. The         decoder.Accordingly, whethertheimagecontains a ID or2D
             data storage means 122 is shown as including applications           bar code, decoding can occur at substantially the same time
             125, such as an operating system for example, a 1D decoder          decreasing the time required for a successful decode. Further,
             127, and a 2D decoder 129. The decoders 127 and 129 include         image pixel/frame data can be stored in the dual port memory
             program instructions that, when executed by the multi-core 55 160 on the same clock cycle as image pixel/frame data is
             processor 116, retrieve inlage pixel data and decode any bar        being retrieved by the first core 140 and/or the second core
             code contained in the inlage as is known in the art. Although       142. PDT 105 can be configured to continuously image the
             the decoders 127 and 129 are shown as separate from the dual        target 114 and store the pixel data, or each frame, in the frame
             port memory 160 in FIG. 2a, in another embodiment the               buffer and the cores 140 and 142 can continually process the
             decoder 127 and 129 program instructions are stored in the 60 inlage frame data, in parallel, until a successful decode event
             dual port memory 160. The PDT 105 also includes one or              occurs. Upon successful decode, the decoded data is option-
             more power supplies 128, such as one or more batteries and/or       ally transmitted to the data storage means 122 where it can be
             circuitry for receiving an alternating current, and a user input    accessed, for example, by an application 125.
             interface 130 for receiving data from a user input device 102,         In another embodiment, the first core is configured to
             such as a keyboard, keypad, and/or touch screen. The PDT 65 execute ID decoder 127 program instructions as well as
             105 structures shown in FIG. 2 are preferably supported on          inlage quality filter program instructions stored in data stor-
             one or more printed circuit boards (not shown).                     age means 122. When executed by the first core 140, the




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             image quality filter program instructions analyze, in real time,     herein by reference, as including voltage regulators to supply
             the pixel data/each frame retrieved by the core from the frame       power to each core or a part of a core depending on a number
             buffer for quality with respect to contrast, for example. The        of factors including activity, core temperature, transient cur-
             frame can then be assigned an image quality score which can          rent consumption, and reliability. Another method of power
             be factored into a decode algorithm's decision with respect to       management has been described by Kim in U.S. patent appli-
             selecting the highest image quality score frame available in         cation Ser. No. 11/424,080, incorporated herein by reference,
             the frame buffer. Further, the image quality filter program          which includes modulating the mode of the processor to
             instructions can be configured to interrupt an existing decode       single '-'Ore or multi-core depending on a number of factors
             127 process which is decoding a frame/image with a low               including whether the PDT is connected to AC or battery
             image quality score should a frame/image with a higher 10 power, remaining battery level, available memory, and
             image quality score be captured.                                     memory usage. One exemplary clock management module is
                In yet another embodiment, the first core 140 is configured       disclosed by Naveh et al. in U.S. patent application Ser. No.
             to execute image quality filter program instructions, or any         10/899,674, incorporated herein by reference, wherein the
             other program instructions related to image processing, for          clock management module utilizes independent clock
             example, stored in data storage means 122 and the second 1s throttle settings for each core, independent clock throttle of
             core 142 is configured to execute lD decoder 127 program             various functional blocks ofone or more core's internal archi-
             instructions as well as 2D decoder program instructions 129.         tecture such as reorder buffers and reservation station tables,
                Referring to FIG. 5, another embodiment is shown wherein          for example, and scaling the clock frequency of the bus that
             the multi-core processor is a quad-core processor further            the multi-core processor uses to communicate with system
             including a third core and a fourth core as well as a first cache 20 components.
             level 178, a second shared cache level 180 and a bus interface          While the principles of the invention have been described
             182. A quad-core processor 116b generally refers to four             herein, it is to be understood by those skilled in the art that this
             processing units or cores 170, 172, 174 and 176 manufactured         description is made only by way of example and not as a
             on the same integrated circuit. In this embodiment, the third        limitation as to the scope of the invention. Other embodi-
             core 174 can be configured to execute the program instruc- 25 ments are contemplated within the scope ofthe present inven-
             lions of the image quality filter and the fourth core 176 can        tion in addition to the exemplary embodiments shown and
             execute program instructions related to communication with           described herein. Modifications and substitutions by one of
             the network interface 134. Accordingly, the user does not            ordinary skill in the art are considered to be within the scope
             have to wait to pull the trigger or press the scan button again      of the present invention, which is not to be limited except by
             until the first or second core has executed communication 30 the following claims.
             routines to transmit the decode results, for example through            What is claimed is:
             the network interface 134 to a remote computer 136, because             1. A portable data terminal, comprising:
             the fourth core 176 can handle communication with the net-              a multi-core processor having at least a first core and a
             work interface 134 in parallel with the first and/or second core           second core;
             causing the PDT 105 to capture a new image and begin a new 35           at least one illumination assembly and at least one imaging
             process of decoding any bar code contained in the image.                   assembly; and
                Referring to FIG. 2b, although the invention has thus far            data storage means configured to store a plurality of pro-
             been described as including a dual port memory module, in                  gram instructions, the program instructions including at
             another embodiment the data storage means 122b includes a                  least one one-dimensional decoder and at least one two-
             single port memory 163 configured to store a frame buffer. In 40           dimensional decoder; and
             this embodiment, preferably a DMA controller 161 is                     wherein the first core of the multi-core processor executes
             included as being in communication with the imaging assem-                 the one-dimensional decoder and the second core
             bly 109, the processing architecture 115 and the data storage              executes the two-dimensional decoder
             means 122b. The DMA controller 161 can off-load the pro-                wherein the one-dimensional decoder and two-dimen-
             cessor by transferring pixel data from the image sensor 106 45             sional decoder run synchronously in parallel.
             directly to the single port memory 163 without involving the            2. The portable data terminal of claim 1, wherein the data
             processing architecture 115 including the multi-core proces-         storage means further includes at least one multi-port
             sor 116. Accordingly, processor cycles that otherwise would          memory module having at least a first port and a second port,
             be used to manage a frame buffer can instead be used to run          the at least one multi-port memory module being configured
             decode 127, 129 algorithms and/or otherwise as described so to receive output signals from the imaging assembly and
             above,                                                               communicate with the multi-core processor.
                While the present invention substantially reduces the time           3. The portable data terminal of claim 2, wherein the imag-
             required for a successful decode, it can also effectively man-       ing assembly further includes imaging optics and an image
             age the system clock and/or the power supplied to each core          sensor and the illumination assembly further includes illumi-
             to reduce overall power consumption. Particularly in PDTs 55 nation optics and at least one light source.
             that are mostly powered by battery, power consumption is a              4. The portable data terminal of claim 3, wherein the first
             concern because the greater the power dissipated, the faster         port is configured to receive at least one output signal from the
             the remaining battery life is reduced. Accordingly, and as           imaging assembly, the output signals representing pixel data
             shown in FIGS. 3 and 5, a clock management module/logic              transmitted by tl1e image sensor, and the second port is con-
             150 configured to dynamically vary the clock speed received 60 figured to communicate with the multi-core processor.
             by each respective core based on the workload/utilization of            5. The portable data terminal of claim 4, wherein the
             each core and/or a power management module/logic 150                 receipt of the at least one output signals and the communica-
             configured to dynamically vary the voltage received by at            tion with the multi-core processor both occur on the same
             least a portion of each core can be utilized to manage               clock cycle.
             resources consumed by the multi-core processor 116b. One 65             6. The portable data terminal of claim 1, further including
             method of power management is described in U.S. patent               a power supply, at least one system bus, a network interface,
             application Ser. No. 11/238,489 to Borkar et al., incorporated       a display interface, and a user input interface.




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                7. The portable data terminal ofclaim 1 further including at           wherein the one-dimensional decoding and two-dimen-
             least one management module selected from the group con-                     sional decoding run synchronously in parallel.
             sisting of a clock management module configured to dynami-                16. 1:he method of :laim 15, wh_erein the executing step
             cally vary the clock speed received by each respective core            further mcludes executing program mstructions stored in the
             based on the workload of each core and a power management              multi-port memory on a third core of the multi-core processor
                                                                                    so as to analyze the pixel data for image quality.
             module configured to dynamically vary the voltage received
                                                                                       17, 1:he method of:laim 16, wherein the executing step
             by at least a portion of each core.                                    further mcludes executing program instructions stored in the
                8. Tbe portable data terminal of claim 1, wherein the multi-        multi-port memory on a fourth core of the multi-core proces-
             core processor further includes a bus interface and at least one 10 sor so as to communicate with a network interface selected
             level of cache.                                                        from the group consisting of an RS-232, RS-485, USB, Eth-
                9. The portable data terminal of claim 1, further including         ernet, Wi-Fi, lrDA and Zigbee interface.
             a first level of cache and a second level of cache, the first level       18. A system of capturing an image and decoding any bar
             including an instruction cache and a data cache for each core          code in the image, comprising:
             and the second level being shared among all the cores.                    a multi-core processor having at least a first core and a
                                                                                 15
                10. The portable data terminal of claim 1, wherein the                    second core;
             multi-core processor further includes a third core and a fourth           a data storage means including at least one multi-port
             core.                                                                        memory having at least a first port and a second port, the
                11. The portable data terminal of claim 10, wherein the                   multi-port memory being in communication with at least
             program instructions stored in the data storage means further 20             one core of the multi-core processor;
             includes an image quality filter.                                         at least one illumination assembly and at least one imaging
                12. The portable data terminal of claim 11, further includ-               assembly, the imaging assembly being configured to
             ing a network interface selected from the group consisting of                transmit image pixel data to the multi-port memory; and
             RS-232, RS-485, USB, Ethernet, Wi-Fi, lrDA and Zigbee.                    wherein the data storage means comprises software includ-
                13. The portable data terminal of claim 12, wherein the 25                ing a one-dimensional decoder and a two-dimensional
             thi~ core of the multi-core processor executes the image                     decoder that when executed causes each of the first and
             quahty filter and the fourth core of the multi-core processor                second cores of the multi-core processor to perform a
             communicates with the network interface.                                     respective method comprising:
                ~4. '!be portable data terminal of claim 1, further including             decoding any one-dimensional bar code represented by
             a direct memory access controller in communication with the 30                  the pixel data; and
             imaging assembly, multi-core processor and data storage                      decoding any two-dimensional bar code represented by
             means and wherein the data storage means further includes at                    the pixel data
             least one single port memory module.                                         wherein the one-dimensional decoding and two-dimen-
                15. A method of decoding a bar code, comprising:                             sional decoding run synchronously in parallel.
                providing a portable data terminal having a multi-port                 19. The system of claim 18, further including a network
                                                                                 35 interface and wherein the multi-core processor further
                   memory and a multi-core processor;
                capturing an image of a target;                                     includes a third core and a fourth core and wherein the data
                transferring image pixel data to one port of the multi-port         storage means further comprises software including an image
                   memory; and executing program instructions stored in             quality  filter and at least one network communication routine
                   the multi-port memory concurrently ona first core of the 40 that when executed causes the third and fourth cores of the
                   multi-core processor so as to decode any one-dimen-              multi-core processor to perform a respective method com-
                    sional bar code represented by the pixel data and on a          prising:
                    second core of the multi-core processor so as to decode            analyze the pixel data for image quality; and
                   any two-dimensional bar code represented by the pixel               communicate with the network interface.
                  data,                                                                                   * * * * *




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             c12)   United States Patent                                                        (10) Patent No.:                                   US 9,092,686 B2
                    Wang                                                                        (45) Date of Patent:                                         *Jul. 28, 2015


             (54)   LOW POWER MULTI-CORE DECODER                                           (56)                          References Cited
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                             Related U.S. Application Data                                                                  (Continued)
             (63)   ContinuationofapplicationNo.12/571,911, filed on
                    Oct. 1, 2009, now Pat. No. 8,587,595.                                  Primary Examiner - Joni Richer
                                                                                           (74) Attorney, Agent, or Firm -- Additon, Higgins &
             (51) Int. Cl.                                                                 Pendleton, P.A.
                  G06F 15/80                 (2006.01)
                  G06K7110                   (2006.01)                                     (57)                            ABSTRACT
                  G06K7/14                   (2006.01)                                     A portable data terminal including a multi-core processor
             (52) U.S. Cl.                                                                 having at least a first core and a second core, at least one
                  CPC ............ G06K 711404 (2013.01); G06K 711093                      illumination assembly and at least one imaging assembly and
                                      (2013.01); G06K 7110722 (2013.01)                    data storage means configured to store a plurality of program
             (58) Field of Classification Search                                           instructions, the program instructions including at least one
                  USPC ................. 345/501, 502, 505, 530, 554, 557;                 one-dimensional decoder and at least one two-dimensional
                                        235/462.01, 462.09, 462.1, 462.11;                 decoder.
                                                                  718/105
                  See application file for complete search history.                                              20 Claims, 5 Drawing Sheets

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                                               :     lmaging                 --1       ----~-----~                                                       :
                                    114
                                 Target        :______ ~:~~---------------------- I___ :
                                               l   Illumi~t~          Ligbt Source I ~ + - t - - - - - t - - - - - - - ,
                                                                                                                                                   115
                                                      Optics    I                      i   122a
                                                                                                   r----~
                                                                                                     Data Storage                   Processing
                                                                                                            Means                Architecture
                                                                                            125
                                                                                                         Applications
                                                                                             127
                                                                                                         lD Decoder


                                    136                                                                                             116......._,

                                  Remote                                                                                             Multi-core I
                                 Computer                                                                                            Processor




                                                                                       System Bus




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              2006/0282692 Al   12/2006   Oh                              201010537775.4, Original with English Translation provided, 23
              2006/0283954 Al   12/2006   Ralph et al.                    pages.




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                        Fig. IA                                       Fig. lB




                                                                                            HONEYWELL-002284 78

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                                    107 ____ /       _____ ,,,:!9~-----,                                                             ~
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                       '
                                 Imaging               Image                                                                         a
               ll4                Optics               Sensor

         Target
                                                                                                                                     a'
                                                                                                                                                Doc: 45-5




                                                                                                                                     :-
                                                                                                                     115             N
                                                                              122a                                                   YJ
                                                                                                                                     N
                                                                                       Data Storage     Processing                   =
                                 -----------7---ii:t                                     Means         Architecture                  Ul
                                                                                                                                     """
                           110                                                 125
                                           108
                                                                                      Applications
                                                                                127                                                  r:,;i_
                                                                                       ID Decoder
                                                                                                                                     (D
                                                                                                                                      =-
                           134              132            130       128        129
                                                                                       2D Decoder                                    aN




JA2353
               136                                                                                     116 ....___
           /         Network             Display        User               Power                                                     Q...,
                     Interface          Interface       Input              Supply       Dual Port       Multi-core                   Ul
          Remote
                                                                                        Memory
                                                                                                                                                Filed: 04/01/2024




         Computer                                     Interface                                         Processor

                                                                                                 160
                                  138                                                                           1
                                                                       System Bus
                                                                                                                                     0
                                                                                                                                     r,;.
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                                                           fig. 2A                                                                   0'I
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                                           Imaging              Image                                 DMA
               114                          Optics              Sensor
                                                                                                               161
                                                                                                                                                        a.
                                 '                                    - _,'        '
         Target                  ~----------------
                                 ,--------------------------------------,
                                 '                                                 ' +-------+---------
                                                                                   ....                                                                 ~
                                                                                                                                                                   Doc: 45-5




                                       Illumination           Light Source                                                              115             l""'
                                          Optics                                              122b                                                      N
                                                                                                                                                        ~
                                                                               __ ,''                      torage        Processing                     N
                                                                                          I               eans           Architecture                   0
                                     110
                                                                                                     G                                                  ....
                                                                                                                                                        Ul
                                                                                               125
                                                                                                     Applications
                                                                                               127
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                                     134              132           130      128               129                                                      '1)
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                                                                                                     2D Decoder                                         a
               136                                                                                                       116 ---...__                   ~




JA2354
           /                  Network              Display        User                  Power
                                                                                                      Single Port                                       0
          Remote              Interface           Interface       Input                 Supply                            Multi-core                    ....
                         '
                     - - 1                                                                             Memory                                           Ul
                         '                                      Interface                                                 Processor
         Computer
                                                                                                                                                                   Filed: 04/01/2024




                                                                                                               163
                                            138

                                                                                    System Bus
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                                                                     Fig. 28                                                                            00
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                                      Clock and/or Power
                                         Management
                                                 150


                               Core 1                    Core 2
                                                                              ..--- l 16a
                                   l_:!_Q                     142


                             Lli
                            Cache
                                     I Cache
                                        Lid            Lli
                                                      Cache
                                                               I     Lid
                                                                   Cache
                                                                             144

                                             L2 Cache
                                                146
                                            Bus Interface
                                                148


                                                FIG.3


                              160

                                        Dual Port Memory

                                                                    Port 1

                                                                     162


                                                                    Port 2

                                                                     164



                                            Frame Buffer
                                                166


                                                FIG. 4




                                                                                                    HONEYWELL-00228481

                                                       JA2355
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                                            Clock and/or Power
                                               Management
                                                    150



                    Core 1              Core 2               Core 3           Corc4
                                                                                             .-,--116b
                        .LIQ               172                   174           ill

                  Lli
                 Cache
                         I Cache
                            Lld      Lli I Lld
                                    Cache Cache
                                                          Lli I Lld
                                                         Cache Cache
                                                                            Lli
                                                                           Cache
                                                                                      Lid
                                                                                     Cache
                                                                                             178

                                                  L2 Cache
                                                     180
                                                 Bus Interface
                                                      182


                                                    FIG.5




                                                                                                   HONEYWELL-00228482

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                    LOW POWER MULTI-CORE DECODER                                 Because the pixel data may not be high enough quality for the
                         SYSTEMA.~D METHOD                                       processor to reliably decode the bar code in the image, PDTs
                                                                                 generally successively capture images, or image frames, until
                         CROSS REFERENCE TO RELATED                              a reliable decode is complete. Further, where the bar codes
                                    APPLICATIONS                                 being decoded vary from 1D and 2D symbologies, the PDT
                                                                                 generally sequentially executes decode algorithms for the
                This application is a mntinuation of U.S. patent applica-        multiple symbologies. This process can be time-intensive
             tion Ser. No. 12/571,911 filed Oct. 1, 2009 entitled, "Low          because the processor must wait for the pixel data to be stored
             Power Multi-Core Decoder System and Method." Ibe above              in memory before it can access the data in order to execute a
             application is incorporated herein by reference in its entirety. 10 decode algorithm and then must further wait for a decode
                                                                                 algorithm to complete before a second decode algorithm can
                                 TECHNICAL FIELD                                 execute. Further, in many settings such as warehouses, shop-
                                                                                 ping centers, shipping centers, and numerous others, PDTs
                The present invention relates to portable data terminals and     are used to decode bar codes in serial fashion such that a faster
             more particularly, to portable data temrinals configured to 15 decode operation generally increases throughput.
             capture an image and decode any bar code contained in the              Attempts have been made to increase decode speed par-
             image.                                                              ticularly by multi-threading. Multi-threading, or hyper-
                                                                                 threading, allows multiple threads to use a single processing
                           BACKGROUND INFORMATION                                unit by providing processor cycles to one thread when another
                                                                              20 thread incurs a latency such as a cache miss, for example,
                Portable data temrinals (PDTs) such as laser indicia read-       which would cause the processor to incur several cycles of
             ing devices, optical indicia reading devices, barcode scanners      idle time while off-chip memory is accessed. Using multi-
             and barcode readers, for example, typically read data repre-        threading, the central processor idle time is minimized but not
             sented by printed indicia such as symbols, symbology, and           substantially parallelized. Further, context switching
             bar codes, for example. One type of symbol is an array of 25 between threads can significantly increase overhead, as the
             rectangular bars and spaces that are arranged in a specific way     state of one process/thread is saved while another is loaded,
             to represent elements of data in machine readable form. Opti-       further minimizing any efficiency gain.
             cal indicia reading devices typically transmit light onto a            Accordingly, there remains a need in the art for a PDT
             symbol and receive light scattered and/or reflected back from       system architecnrre that will allow for faster, substantially
             a bar code symbol or indicia. The received light is interpreted 30 parallel, bar code decoding operations.
             by an image processor to extract the data represented by the
             symbol. Laser indicia reading devices typically utilize trans-              BRIEF DESCRIPTION OF THE DRAWINGS
             mitted laser light. One-dimensional (1D) optical bar code
             readers are characterized by reading data that is encoded              The present invention is disclosed with reference to the
             along a single axis, in the widths of bars and spaces, so that 35 accompanying drawings, wherein:
             such symbols can be read from a single scan along that axis,           FIG. IA is a plan view of an exemplary PDT and FIG. lB
             provided that the symbol is imaged with a sufficiently high         is a side perspective view of an exemplary PDT.
             resolution.                                                            FIG. 2A is a block schematic diagram of an exemplary
                In order to allow the encoding of larger amounts of data in      PDT according to the present invention.
             a single bar code symbol, a number ofone-dimensional (ID) 40           FIG. 2B is a block schematic diagram of an exemplary PDT
             stacked bar code symbologies have been developed which              according to the present invention.
             partition encoded data into multiple rows, each including a            FIG. 3 is a block schematic diagramofan exemplary multi-
             respective 1D bar code pattern, all or most all of which must       core processor according to the present invention.
             be scanned and decoded, then linked together to form a com-            FIG. 4 is a block schematic diagram of an exemplary dual
             plete message. Scauning still requires relatively higher reso- 45 port memory module according to the present invention.
             lution in one dimension only, but multiple linear scans are            FIG. 5 is a block schematic diagram of an exemplary multi-
             needed to read the whole symbol.                                    core processor according to the present invention.
                A class of bar code symbologies known as two-dimen-                 It will be appreciated that for purposes of clarity and where
             sional (2D) matrix symbologies have been developed which            deemed appropriate, reference numerals have been repeated
             offer orientation-free scanning and greater data densities and 50 in the figures to indicate corresponding feattrres.
             capacities than 1D symbologies. 2D matrix codes encode data
             as dark or light data elements within a regular polygonal                             DETAILED DESCRIPTION
             matrix, accompanied by graphical finder, orientation and ref-
             erence structures.                                                     Referring to FIGS. IA and lB, two exemplary PDTs 100
                Conventionally, a PDT includes a central processor which 55 for reading/scanning printed indicia are shown. The PDT
             directly controls the operations of the various electrical com-     housing can be shaped so as to fit comfortably into a human
             ponents housed within the PDT. For example, the central             hand using a handle portion 104 and can include a finger
             processor controls detection of keypad entries, display fea-        actuatable scan/capture or trigger button 101 as well as a
             tures, wireless coillillunication functions, trigger detection,     keypad 102 for inputting data and commands, power button,
             and bar code read and decode functionality. More specifi- 60 and antenna for facilitating communication with a local or
             cally, the central processor typically communicates with an         remote host processor, for example. The PDT also includes a
             illumination assembly configured to illuminate a target, such       display 103, such as an LCD or OLEO display, for example,
             as a bar code, and an imaging assembly configured to receive        for displaying information to the user. If the display 103 is a
             an image of the target and generate an electric output signal       touch screen, a stylus (not shown) may also be included to
             indicative of the data optically encoded therein.                65 facilitate interaction with the touch screen. An aperture in the
                The output signal is generally representative of the pixel       housing is included such that the illumination 108 and imag-
             data transmitted by an image sensor of the imaging assembly.        ing optics 109 have substantially unobstructed access to the




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             target 114. The PDT can also include a power port for receiv-    decoder 127 and 129 program instructions are stored in the
             ing a power supply as well as one or more communication          dual port memory 160. The PDT 105 also includes one or
             ports for facilitating wired or wireless communication with a    more power supplies 128, such as one or more batteries and/or
             network interface 134. Although the present invention is         circuitry for receiving an alternating current, and a user input
             described with respect to a PDT, the invention can be utilized   interface 130 for receiving data from a user input device 102,
             in any bar code scanner, mobile device, mobile computer, or      such as a keyboard, keypad, and/or touch screen. The PDT
             personal data assistant, for example.                            105 structures shown in FIG. 2 are preferably supported on
                Referring to FIGS. 2A and 2B, there is shown a block          one or more printed circuit boards (not shown).
             schematic diagram of the basic structures that together com-        Referring to FIG. 3, a multi-core processor 116 according
             prise a PDT 105 according to the present invention. lbe PDT 10 to the present invention is shown as a dual-core processor
             105 includes an illumination assembly 108 for illuminating a     116a having a first core 140 and a second core 142. The cores
             target 114, such as a bar code, and an imaging assembly 109      can also share one cache, or in a multilevel cache architecture,
             for receiving an image of the target 114 and generating an       each utilize its own respective cache (e.g. Ll) and share
             electric output signal indicative of the pixel data optically    another cache (e.g. L2) or any combination thereof. In the
             encoded therein. The illumination assembly 108 includes at 15 embodiment shown in FIG. 3, a first level of cache 144 is
             least one light source 112 together with illumination optics     shown as having instruction and data caches for each core
             110, such as one or more reflectors, for directing light from    140, 142 and a second level of cache 146 is shown as being
             the light source in the direction of the target 114. The light   shared among both cores 140 and 142. 'The cores 140 and 142
             source 112 can include at least one LED configured to emit       can be integrated on the same integrated circuit die or they can
             light in the near-infrared range and/or at least one LED con- 20 be integrated onto multiple dies in the same integrated circuit
             figured to emit light in the visible range. The imaging assem-   package as is known in the art. Further, the processor 116 can
             bly 102 includes a 2D image sensor 106, such as a CCD,           also include one or more independent or shared bus interfaces
             CMOS, NMOS, PMOS, CID, or CMD solid state imagine                such as a shared bus interface 148 for communication with a
             sensor, along with imaging optics 107 for receiving and          system bus and/or the data storage means 122. Each core 140
             focusing an image of the target 114 onto the image sensor 25 and 142 has its own processing unit and is capable of issuing
             106.                                                             instructions transmitted through the bus interface to a bus as
                Still referring to FIGS. 2A and 2B, the PDT 105 further       well as simultaneously performing operations.
             includes a processing architecture 115 which controls the           Referring to one embodiment shown in FIGS. 2A and 4,
             operation of the PDT 105 by implementing program instruc-        dual port memory 160 is shown as including a first port 162
             tions it retrieves from the data storage means 122. More 30 and a second port 164. At least a portion of the dual port
             specifically, the processing architecture 115 is configured to   memory, identified as frame buffer 166 in FIG. 4, is config-
             receive, output and process data, including image/pixel data,    ured to store image frame data as received from the image
             operate the imaging 109 and illumination 108 assemblies, and     sensor. Dual port memory, such as the dual port memory
             communicate with a system bus 138 among other operations.        described by U.S. Pat. No. 5,276,842 to Sugita, incorporated
             Further, the processing architecture 115 may be configured to 35 herein by reference, is preferably configured to be accessed
             control the illumination of the light source 112, the timing of  by two cores simultaneously on the same clock. Contention
             the image sensor 106, analog-to-digital conversion, transmis-    issues are preferably handled by arbitration system or arbi-
             sion and reception of data to and from a processor ofa remote    tration logic as is known in the art and as one exemplary
             computer 136 external to the reader through a network inter-     implementation of an arbitration system is also described in
             face 134, such as an RS-232, RS-485, USB, Ethernet, Wi-Fi, 40 the '842 patent. Dual port memory can also be implemented
             Bluetooth.™ ., IrDA and Zigbee interface, control a user input   with a single port memory core as taught by Balasubranianian
             interface to manage user interaction with a scan/trigger button  et al. in U.S. Pat. No. 7,349,285, incorporated herein by
             101 and/or keypad 102, and control an output device 103,         reference, whereby access requests are processed on both the
             such as an LCD or an OLED display, through the display           high and low logic states of the memory clock cycle.
             interface 132. 'The processing architecture 115 includes at 45      In an exemplary operation, the processing architecture 115
             least one multi-core processor 116 as described in detail        retrieves program instructions from data storage means 122a,
             below with respect to FIGS. 3 and 5 but optionally can include   over system bus 138, which the architecture implements to
             an additional processor( s) or microprocessor(s) such as VLSI    control the illumination assembly 108 to focus light on a
             or ASIC integrated circuit microprocessor( s). In one embodi-    target 114 containing a bar code and imaging assembly 109 to
             ment shown in FIG. 2A the data storage means 122a includes 50 receive the reflected light. The image sensor 106 then trans-
             at least one dual port memory module 160, such as RAM for        mits output signals, representative of pixel data of the cap-
             example, described in detail below with respect to FIG. 4 but    tured image, to the first port 162 of the dual port memory 164
             optionally can include additional memory modules such as         where it is stored in a frame buffer 166. Each of the first core
             local, network-accessible, removable and/or non-removable        140 and the second core 142 can then access the frame buffer
             memory, such as RAM, ROM, and/or flash. In another 55 166 and retrieve the pixel data. To allow for parallel decoding,
             embodiment shown in FIG. 2B, the data storage means 122b         the first core 140 can be configured to execute the program
             includes at least one single port memory module 163, such as     instructions ofthe 1D decoder and the second core 142 can be
             RAM for example, in communication with a direct memory           configured to execute the program instructions of the 2D
             access (DMA) controller 161 as described further below. The      decoder.Accordingly, whethertheimagecontains a ID or2D
             data storage means 122 is shown as including applications 60 bar code, decoding can occur at substantially the same time
             125, such as an operating system for example, a ID decoder       decreasing the time required for a successful decode. Further,
             127, and a 2D decoder 129. The decoders 127 and 129 include      image pixel/frame data can be stored in the dual port memory
             program instructions that, when executed by the multi-core       160 on the same clock cycle as image pixel/frame data is
             processor 116, retrieve image pixel data and decode any bar      being retrieved by the first core 140 and/or the second core
             code contained in the image as is known in the art. Although 65 142. PDT 105 can be configured to continuously image the
             the decoders 127 and 129 are shown as separate from the dual     target 114 and store the pixel data, or each frame, in the frame
             port memory 160 in FIG. 2A, in another embodiment the            buffer and the cores 140 and 142 can continually process the




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             image frame data, in parallel, until a successful decode event     150 configured to dynamically vary the clock speed received
             occurs. Upon successful decode, the decoded data is option-        by each respective core based on the workload/utilization of
             ally transmitted to the data storage means 122 where it can be     each core and/or a power management module/logic 150
             accessed, for example, by an application 125.                      configured to dynamically vary the voltage received by at
                 In another embodiment, the first core is configured to         least a portion of each core can be utilized to manage
             execute ID decoder 127 program instructions as well as             resources consumed by the multi-core processor 116b. One
             image quality filter program instructions stored in data stor-     method of power management is described in U.S. patent
             age means 122. When executed by the first core 140, the            application Ser. No. 11/238,489 to Borkaret al., incorporated
             image quality filter program instructions analyze, in real time,   herein by reference, as including voltage regulators to supply
             the pixel data/each frame retrieved by the core from the frame 10 power to each core or a part of a core depending on a number
             buffer for quality with respect to contrast, for example. The      of factors including activity, core temperature, transient cur-
             frame can then be assigned an image quality score which can        rent consumption, and reliability. Another method of power
             be factored into a decode algorithm's decision with respect to     management has been described by Kim in U.S. patent appli-
             selecting the highest image quality score frame available in       cation Ser. No.11/424,080, incorporated herein by reference,
             the frame buffer. Further, the image quality filter program 15 which includes modulating the mode of the processor to
             instructions can be configured to interrupt an existing decode     single core or multi-core depending on a number of factors
             127 process which is decoding a frame/image with a low             including whether the PDT is connected to AC or battery
             image quality score should a frame/image with a higher             power, remaining battery level, available memory, and
             image quality score be captured.                                   memory usage. One exemplary clock management module is
                 In yet another embodiment, the first core 140 is configured 20 disclosed by Naveh et al. in U.S. patent application Ser. No.
             to execute image quality filter program instructions, or any       10/899,674, incorporated herein by reference, wherein the
             other program instructions related to image processing, for        clock management module utilizes independent clock
             example, stored in data storage means 122 and the second           throttle settings for each core, independent clock throttle of
             core 142 is configured to execute ID decoder 127 program           various functional blocks ofoneor more core's internal archi-
             instructions as well as 2D decoder program instructions 129. 25 tecture such as reorder buffers and reservation station tables,
                 Referring to FIG. 5, another embodiment is shown wherein       for example, and scaling the clock frequency of the bus that
             the multi-core processor is a quad-core processor further          the multi-core processor uses to communicate with system
             including a third core and a fourth core as well as a first cache  components.
             level 178, a second shared cache level 180 and a bus interface        While the principles of the invention have been described
             182. A quad-core processor 116b generally refers to four 30 herein, it is to be nnderstood by those skilled in the art that this
             processing units or cores 170, 172, 174 and 176 manufactured       description is made only by way of example and not as a
             on the same integrated circuit. In this embodiment, the third      limitation as to the scope of the invention. Other embodi-
             core 174 can be configured to execute the program instruc-         ments are contemplated within the scope ofthe present inven-
             tions of the image quality filter and the fourth core 176 can      tion in addition to the exemplary embodiments shown and
             execute program instructions related to communication with 35 described herein. Modifications and substitutions by one of
             the network interface 134. Accordingly, the user does not          ordinary skill in the art are considered to be within the scope
             have to wait to pull the trigger or press the scan button again    of the present invention, which is not to be limited except by
             until the first or second core has executed communication          the following claims.
             routines to transmit the decode results, for example through
             the network interface 134 to a remote computer 136, because 40        What is claimed is:
             the fourth core 176 can handle communication with the net-            1. A portable data terminal, comprising:
             work interface 134 in parallel with the first and/or second core      a multi-core processor having at least a first core and a
             causing the PDT 105 to capture a new image and begin a new               second core, the multi-core processor receiving image
             process of decoding any bar code contained in the image.                 data on a first clock cycle;
                 Referring to FIG. 2B, although the invention has thus far 45      at least one illumination assembly and at least one imaging
             been described as including a dual port memory module, in                assembly; and
             another embodiment the data storage means 122b includes a             data storage means configured to store a plurality of pro-
             single port memory 163 configured to store a frame buffer. In            gram instructions, the program instructions including at
             this embodiment, preferably a DMA controller 161 is                      least one one-dimensional decoder and at least one two-
             included as being in communication with the imaging assem- 50            dimensional decoder, the decoders running in parallel on
             bly 109, the processing architecture 115 and the data storage            the first clock cycle, and
             means 122b. The DMA controller 161 can off-load the pro-              wherein the program instructions stored in the data storage
             cessor by transferring pixel data from the image sensor 106              means further includes an image quality filter.
             directly to the single port memory 163 without involving the          2. The portable data terminal of claim 1 wherein the data
             processing architecture 115 including the multi-core proces- 55 storage means further includes including at least one multi-
             sor 116. Accordingly, processor cycles that otherwise would        port memory module having at least a first port and a second
             be used to manage a frame buffer can instead be used to run        port, the at least one multi-port memory module being con-
             dt.-code 127, 129 algorithms and/or otherwise as described         figured to receive output signals from the imaging assembly
             above,                                                             and communicate with the multi-core processor.
                 While the present invention substantially reduces the time 60     3. The portable data terminal of claim 1 further including a
             required for a successful decode, it can also effectively man-     power supply, at least one system bus, a network interface, a
             age the system clock and/or the power supplied to each core        display interface, and a user input interface.
             to reduce overall power consumption. Particularly in PDTs             4. The portable data terminal of claim 1 further including at
             that are mostly powered by battery, power consumption is a         least one management module selected from the group con-
             concern because the greater the power dissipated, the faster 65 sisting ofa clock management module configured to dynami-
             the remaining battery life is reduced. Accordingly, and as         cally vary the clock speed received by each respective core
             shown in FIGS. 3 and 5, a clock management module/logic            based on the workload of each core and a power management




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             module configured to dynamically vary the voltage received              filter and the fourth core of the multi-core processor commu-
             by at least a portion of each core.                                     nicates with the network interface.
                 5. The portable data terminal of claim 1 wherein the first            . 14. The portable data terminal of claim 11, comprising a
             core of the multi-core processor executes the one-dimen-                direct memory access controller in communication with the
             sional decoder and the second core executes the two-dimen-              imaging assembly, multi-core processor and data storage
                                                                                     means and wherein the data storage means comprises at least
             sional decoder.
                                                                                     one single port memory module.
                 6. The portable data terminal of claim 1 wherein the first              15. A portable data terminal, comprising:
             core of the multi-core processor executes the image quality                 a multi-core processor having at least a first core and a
             filter and the second core of the multi-core processor com-                    second core;
             municates with the network interface.                                10     at least one illumination assembly and at least one imaging
                 7. The portable data terminal of claim 1, wherein the image                assembly;
             quality filter is configured with filter program instructions               a d~al port memory receiving output signals from theimag-
             that analyze pixel data retrieved by the multi-core processor                  mg assembly on a first clock cycle and the multi-core
             and assign an image quality score to the pixel data.                           processor retrieving image data from the dual port
                                                                                  15
                 8. The portable data terminal ofclaim 1, wherein the multi-                memory on the first clock cycle;
             core processor comprises a frame buffer receiving the image                 data storage means configured to store a plurality of pro-
             data from the imaging assembly and the image quality filter                    gram instructions, the program instructions including at
             assigns a score to each frame of data in the buffer.                           least one one-dimensional decoder and at least one two-
                 9. The portable data terminal of claim 1, wherein the image 20             dimensional decoder; and
             quality filter is processed in the first core.                              wherein the one-dimensional decoder and two-dimen-
                 10. The portable data terminal of claim 9, wherein the                     sional decoder run in parallel and on the first clock cycle.
             second core processes the decoders.                                         16. The portable data terminal of claim 15, comprising a
                 11. A portable data terminal, comprising:
                                                                                     power supply, at least one system bus, a network interface, a
                 a multi-core processor having at least a first core and a 25 display interface, a system bus, and a user input interface.
                     second core;                                                        17. The portable data terminal of claim 15, wherein the
                 at least one illumination assembly and at least one imaging         imaging assembly comprises imaging optics and an image
                    assembly;                                                        sensor and the illumination assembly comprises illumination
                 a dual port memory receiving output signals from the imag-          optics and at least one light source.
                    ing assembly on a first clock cycle and the multi-core 30            18. The portable data terminal of claim 15, comprising at
                    processor retrieving image data from the dual port               least one management module selected from the group con-
                    memory on the first clock cycle;                                 sisting ofa clock management module configured to dynami-
                 data storage means configured to store a plurality of pro-          cally vary the clock speed received by each respective core
                    gram instructions, the program instructions including at         based on the workload of each core and a power management
                    least one one-dimensional decoder and at least one two- 35 module configured to dynamically vary the voltage received
                    dimensional decoder; and                                         by at least a portion of each core.
                wherein the first core of the multi-core processor executes              19. The portable data terminal of claim 15, wherein a first
                    the one-dimensional decoder and the second core                  port of the memory is configured to receive at least one output
                    executes the two-dimensional decoder, and                        signal from the imaging assembly, the output signals repre-
                wherein the one-dimensional decoder and two-dimen- 40 senting pixel data transmitted by the image sensor, and a
                     sional decoder run in parallel and on the first clock cycle.    second port of the memory is configured to communicate
                 12. The portable data terminal of claim 11, comprising a            with the multi-core processor.
             first level of cache and a second level of cache, the first level           20. The portable data terminal of claim 15, wherein the
             including an instruction cache and a data cache for each core           multi-core processor comprises a third core and a fourth core,
             and the second level being shared among all the cores.                  wherein the program instructions stored in the data storage
                                                                                  45
                 13. The portable data terminal of claim 11, wherein the             means comprises an image quality filter and wherein the third
             multi-core processor comprises a third core and a fourth core,          core of the multi-core processor executes the image quality
             wherein the program instructions stored in the data storage             filter and the fourth core of the multi-core processor commu-
             means comprises an image quality filter and wherein the third           nicates with the network interface.
             core of the multi-core processor executes the image quality                                     *   *    *   *   *




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             c12) United States Patent                                                  (IO) Patent No.:                  US 9,659,203 B2
                    Wang                                                                (45) Date of Patent:                      *May 23, 2017

             (54)   LOW POWER MULTI-CORE DECODER                                                     (2013.01); G06K 711417 (2013.01); G06K
                    SYSTEM AND METHOD                                                                     19/06028 (2013.01); G06K 19/06037
                                                                                                                                      (2013.01)
             (71)   Applicant: Hand Held Products, Inc., Fort Mill,                (58)    Field of Classification Search
                               SC (US)                                                     None
                                                                                           See application file for complete search history.
             (72)   Inventor:    Ynjiun P. Wang, Cupertino, CA (US)
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                    Jul. 24, 2015, now Pat. No. 9,384,378, which is a
                    continuation of application No. 13/932,634, filed on           Primary Examiner - Joni Richer
                    Jul. 1, 2013, now Pat. No. 9,092,686, which is a               (74) Attorney, Agent, or Firm -Additon, Higgins &
                    continuation of application No. 12/571,911, filed on           Pendleton, P.A.
                    Oct. 1, 2009, now Pat. No. 8,587,595.
                                                                                   (57)                       ABSTRACT
             (51)   Int. Cl.                                                       A portable data terminal including a multi-core processor
                    G06K 7114              (2006.01)                               having at least a first core and a second core, at least one
                    G06K 7110              (2006.01)                               illumination assembly and at least one imaging assembly
                    G06K 19106             (2006.01)                               and data storage means configured to store a plurality of
             (52)   U.S.Cl.                                                        program instructions, the program instructions including at
                    CPC ......... G06K 711447 (2013.01); G06K 711093               least one one-dimensional decoder and at least one two-
                              (2013.01); G06K 7110722 (2013.01); G06K              dimensional decoder.
                             7110881 (2013.01); G06K 711404 (2013.01);
                                  G06K 711408 (2013.01); G06K 711413                                20 Claims, 5 Drawing Sheets




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                                                                                                       125    'i Applications I
                                                                                                        121 ---H     ID Decoder                 l                            rJ'l
                                                                   132          130      12s,                                                                                ti)
                                                                                                                                                                             =-
                                            _,,134                                                      129
                                                                ----           ----
                                                                                                              'H 2D Decoder l                                                a




JA2367
                    136                                                                            Power
                                                                                                                                                     116 '-..._              (N
                   ,/               Network                  Display         User
                                                                                                                      Single Port                                            0
                 Remote             Interface               Interface        Input                 Supply                                                Multi-core I        ....
                           --,'                                                                                        Memory                                                Ul
                                                                           Interface
                                                                                                                                                lI       Processor
                                                                                                                                                                                               Filed: 04/01/2024




                Computer                                                                                        I                 '\
                                                                                                                                                     I
                                            .                  ,.                                                                         \
                                                                                                                                          163
                                                      138
                                            .        ./         .                                                                                            1
                                                                                              System Bus
                                                                                                                                                                             d
                                                                                                                                                                             00
                                                                                                                                                                             -c
                                                                                                                                                                             0\
                                                                                                                                                                             U'I
                                                                                                                                                                                               Pg: 245 of 423




                                                                                                                                                                              -c
         I                                                                                                                                                                   'N
         0                                                                                                                                                                   =
         z                                                                        Fig. 2B                                                                                    ~


                                                                                                                                                                             N
                                                                                                                                                                             =
         r
         i
         r;--
         0
         0
         I\J
         <,)
                                                                                                                                                                                      PX-227




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         O>
         <,)
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                                       Clock and/or Power
                                          Management
                                                 150


                                    Core 1                Core 2
                                                                               ..-,--116a
                                      140                      142



                               Lli
                              Cache
                                       I Cache
                                          Lld
                                                        Lli
                                                       Cache
                                                                I    Lld
                                                                    Cache
                                                                              144

                                             L2 Cache
                                                 146
                                            Bus Interface
                                                 148


                                                FIG.3


                                160

                                        Dual Port Memory

                                                                     Port 1

                                                                      162



                                                                     Port 2

                                                                      164



                                             Frame Buffer
                                                 166

                                                FIG. 4




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                                             Clock and/or Power
                                                Management
                                                     150



                        Core 1            Core 2              Core 3            Corc4
                                                                                               ,........- l 16b
                         llQ               172                   174             ill

                   Lli
                  Cache
                          I    Lid
                              Cache
                                       Lli I Lld
                                      Cache Cache
                                                          Lli
                                                         Cache
                                                                  I Cache
                                                                     Lld      Lli
                                                                             Cache
                                                                                     I Cache
                                                                                        Lld     178

                                                   L2 Cache
                                                      180
                                                 Bus Interface
                                                      182


                                                    FIG.5




                                                                                                      HONEYWELL-00238865

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                   LOW POWER MULTI-CORE DECODER                                    Conventionally, a PDT includes a central processor which
                        SYSTEM A.~D METHOD                                      directly controls the operations of the various electrical
                                                                                components housed within the PDT. For example, the cen-
                        CROSS REFERENCE TO RELATED                              tral processor controls detection of keypad entries, display
                                    APPLICATIONS                                features, wireless communication fimctions, trigger detec-
                                                                                tion, and bar code read and decode functionality. More
                                                                                specifically, the central processor typically communicates
                The present application claims the benefit of U.S. patent       with an illumination assembly configured to illuminate a
             application Ser. No. 14/808,464 for a Low Power Multi-             target, such as a bar code, and an imaging assembly con-
             Core Decoder System and Method filed Jul. 24, 2015 (and 10 figured to receive an image of the target and generate an
             published Nov. 19, 2015 as U.S. Patent Publication No.             electric output signal indicative of the data optically encoded
             2015/0332078), now U.S. Pat. No. 9,384,378, which claims           therein.
             the benefit ofU.S. patent application Ser. No. 13/932,634 for         The output signal is generally representative of the pixel
             a Low Power Multi-Core Decoder System and Method filed             data transmitted by an image sensor of the imaging assem-
             Jul. 1, 2013 (and published Jan. 9, 2014 as U.S. Patent            bly. Because the pixel data may not be high enough quality
                                                                             15 for the processor to reliably decode the bar code in the
             Publication No. 2014/0008439), now U.S. Pat. No. 9,092,
                                                                                image, PDTs generally successively capture images, or
             686, which claims the benefit of U.S. patent application Ser.      image frames, until a reliable decode is complete. Furfuer,
             No. 12/571,911 for a Low Power Multi-Core Decoder                  where the bar codes being decoded vary from ID and 2D
             System and Method filed Oct. 1, 2009 (and published Apr.           symbologies, the PDT generally sequentially executes
             7, 2011 as U.S. Patent Publication No. 2011/0080414), now 20 decode algorithms for the multiple symbologies. This pro-
             U.S. Pat. No. 8,587,595. Each of the foregoing patent              cess can be time-intensive because the processor must wait
             applications, patent publications, and patents is hereby           for the pixel data to be stored in memory before it can access
             incorporated by reference in its entirety.                         the data in order to execute a decode algorithm and then
                                                                                must furfuer wait for a decode algorithm to complete before
                                  TECHNICAL FIELD                            25 a second decode algorithm can execute. Further, in many
                                                                                settings such as warehouses, shopping centers, shipping
                The present invention relates to portable data terminals        centers, and numerous others, PDTs are used to decode bar
                                                                                codes in serial fashion such that a faster decode operation
             and more particularly, to portable data terminals configured
                                                                                generally increases throughput.
             to capture an image and decode any bar code contained in              Attempts have been made to increase decode speed par-
                                                                             30
             the image.                                                         ticularly by multi-threading. Multi-threading, or hyper-
                                                                                threading, allows multiple threads to use a single processing
                          BACKGROUND INFORMATION                                unit by providing processor cycles to one thread when
                                                                                another thread incurs a latency such as a cache miss, for
                Portable data terminals (PDTs) such as laser indicia            example, which would cause the processor to incur several
             reading devices, optical indicia reading devices, barcode 35 cycles of idle time while off-chip memory is accessed. Using
             scanners and barcode readers, for example, typically read          multi-threading, the central processor idle time is minimized
             data represented by printed indicia such as symbols, sym-          but not substantially parallelized. Furfuer, context switching
             bology, and bar codes, for example. One type of symbol is          between threads can significantly increase overhead, as the
             an array of rectangular bars and spaces that are arranged in       state of one process/thread is saved while another is loaded,
             a specific way to represent elements of data in machine 40 further minimizing any efficiency gain.
             readable form. Optical indicia reading devices typically              Accordingly, there remains a need in the art for a PDT
             transmit light onto a symbol and receive light scattered           system architecture that will allow for faster, substantially
             and/or reflected back from a bar code symbol or indicia. The       parallel, bar code decoding operations.
             received light is interpreted by an image processor to extract
             the data represented by the symbol. Laser indicia reading 45              BRIEF DESCRIPTION OF THE DRAWINGS
             devices typically utilize transmitted laser light. One-dimen-
             sional ( 1D) optical bar code readers are characterized by            The present invention is disclosed wifu reference to the
                                                                                accompanying drawings, wherein:
             reading data that is encoded along a single axis, in the widths
                                                                                   FIG. lAis a plan view of an exemplary PDT and FIG. 18
             of bars and spaces, so that such symbols can be read from          is a side perspective view of an exemplary PDT.
             a single scan along that axis, provided that the symbol is so         FIG. 2A is a block schematic diagram of an exemplary
             imaged with a sufficiently high resolution.                        PDT according to the present invention.
                In order to allow the encoding of larger amounts of data           FIG. 2B is a block schematic diagram of an exemplary
             in a single bar code symbol, a number of one-dimensional           PDT according to the present invention.
             (ID) stacked bar code symbologies have been developed                 FIG. 3 is a block schematic diagran1 of an exemplary
             which partition encoded data into multiple rows, each 55 multi-core processor according to fue present invention.
             including a respective 1D bar code pattern, all or most all of        FIG. 4 is a block schematic diagram of an exemplary dual
             which must be scanned and decoded, then linked together to         port memory module according to the present invention.
             form a complete message. Scanning still requires relatively           FIG. 5 is a block schematic diagram of an exemplary
             higher resolution in one dimension only, but multiple linear       multi-core processor according to the present invention.
             scans are needed to read the whole symbol.                      60    It will be appreciated that for purposes of clarity and
                A class of bar code symbologies known as two-dimen-             where deemed appropriate, reference numerals have been
             sional (2D) matrix symbologies have been developed which           repeated in fue figures to indicate corresponding features.
             offer orientation-free scanning and greater data densities and
             capacities than ID symbologies. 2D matrix codes encode                              DETAILED DESCRIPTION
             data as dark or light data elements within a regular polygonal 65
             matrix, accompanied by graphical finder, orientation and              Referring to FIGS. IA and 18, two exemplary PDTs 100
             reference structures.                                              for reading/scanning printed indicia are shown. The PDT




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             housing can be shaped so as to fit comfortably into a human        local, network-accessible, removable and/or non-removable
             hand using a handle portion 104 and can include a finger           memory, such as RAM, ROM, and/or flash. In another
             actuatable scan/capture or trigger button 101 as well as a         embodiment shown in FIG. 28, the data storage means 122b
             keypad 102 for inputting data and commands, power button,          includes at least one single port memory module 163, such
             and antenna for facilitating communication with a local or         as RAM for example, in communication with a direct
             remote host processor, for example. The PDT also includes          memory access (DMA) controller 161 as described further
             a display 103, such as an LCD or OLED display, for                 below. The data storage means 122 is shown as including
             example, for displaying information to the user. If the            applications 125, such as an operating system for example,
             display 103 is a touch screen, a stylus (not shown) may also       a ID decoder 127, and a 2D decoder 129. The decoders 127
             be included to facilitate interaction with the touch screen. An 10 and 129 include program instructions that, when executed
             aperture in the housing is included such that the illumination     by the multi-core processor 116, retrieve image pixel data
             108 and imaging optics 109 have substantially unobstructed         and decode any bar code contained in the image as is known
             access to the target 114. The PDT can also include a power         in the art. Although the decoders 127 and 129 are shown as
             port for receiving a power supply as well as one or more           separate from the dual port memory 160 in FIG. 2A, in
             communication ports for facilitating wired or wireless com- 15 another embodiment the decoder 127 and 129 program
             munication with a network interface 134. Although the              instructions are stored in the dual port memory 160. The
             present invention is described with respect to a PDT, the          PDT 105 also includes one or more power supplies 128, such
             invention can be utilized in any bar code scanner, mobile          as one or more batteries and/or circuitry for receiving an
             device, mobile computer, or personal data assistant, for           alternating current, and a user input interface 130 for receiv-
             example.                                                        20 ing data from a user input device 102, such as a keyboard,
                Referring to FIGS. 2A and 28, there is shown a block            keypad, and/or touch screen. The PDT 105 structures shown
             schematic diagram of the basic structures that together            in FIG. 2 are preferably supported on one or more printed
             comprise a PDT 105 according to the present invention. The         circuit boards (not shown).
             PDT 105 includes an illumination assembly 108 for illumi-             Referring to FIG. 3, a multi-core processor 116 according
             nating a target 114, such as a bar code, and an imaging 25 to the present invention is shown as a dual-core processor
             assembly 109 for receiving an image of the target 114 and          116a having a first core 140 and a second core 142. The
             generating an electric output signal indicative of the pixel       cores can also share one cache, or in a multilevel cache
             data optically encoded therein. The illumination assembly          architecture, each utilize its own respective cache (e.g. LI)
             108 includes at least one light source 112 together with           and share another cache (e.g. L2) or any combination
             illumination optics 110, such as one or more reflectors, for 30 thereof. In the embodiment shown in FIG. 3, a first level of
             directing light from the light source in the direction of the      cache 144 is shown as having instruction and data caches for
             target 114. The light source 112 can include at least one LED      each core 140, 142 and a second level of cache 146 is shown
             configured to emit light in the near-infrared range and/or at      as being shared among both cores 140 and 142. The cores
             least one LED configured to emit light in the visible range.       140 and 142 can be integrated on the same integrated circuit
             The imaging assembly 102 includes a 2D image sensor 106, 35 die or they can be integrated onto multiple dies in the same
             such as a CCD, CMOS, NMOS, PMOS, CID, or CMD solid                 integrated circuit package as is known in the art. Further, the
             state imagine sensor, along with imaging optics 107 for            processor 116 can also include one or more independent or
             receiving and focusing an image of the target 114 onto the         shared bus interfaces such as a shared bus interface 148 for
             image sensor 106.                                                  communication with a system bus and/or the data storage
                Still referring to FIGS. 2A and 28, the PDT 105 further 40 means 122. Each core 140 and 142 has its own processing
             includes a processing architecture 115 which controls the          unit and is capable of issuing instructions transmitted
             operation of the PDT 105 by implementing program instruc-          through the bus interface to a bus as well as simultaneously
             tions it retrieves from the data storage means 122. More           performing operations.
             specifically, the processing architecture 115 is configured to        Referring to one embodiment shown in FIGS. 2A and 4,
             receive, output and process data, including image/pixel data, 45 dual port memory 160 is shown as including a first port 162
             operate the imaging 109 and illumination 108 assemblies,           and a second port 164. At least a portion of the dual port
             and communicate with a system bus 138 among other                  memory, identified as frame buffer 166 in FIG. 4, is con-
             operations. Further, the processing architecture 115 may be        figured to store image frame data as received from the image
             configured to control the illumination of the light source 112,    sensor. Dual port memory, such as the dual port memory
             the timing of the image sensor 106, analog-to-digital con- so described by U.S. Pat. No. 5,276,842 to Sugita, incorporated
             version, transmission and reception of data to and from a          herein by reference, is preferably configured to be accessed
             processor of a remote computer 136 external to the reader          by two cores simultaneously on the same clock. Contention
             through a network interface 134, such as an RS-232,                issues are preferably handled by arbitration system or arbi-
             RS-485, US8, Ethernet, Wi-Fi, BluetoothTM, IrDAand Zig-            tration logic as is known in the art and as one exemplary
             bee interface, control a user input interface to manage user 55 implementation of an arbitration system is also described in
             interaction with a scan/trigger button 101 and/or keypad           the '842 patent. Dual port memory can also be implemented
             102, and control an output device 103, such as an LCD or an        with a single port memory core as taught by 8alasubrarna-
             OLED display, through the display interface 132. The pro-          nian et al. in U.S. Pat. No. 7,349,285, incorporated herein by
             cessing architecture 115 includes at least one multi-core          reference, whereby access requests are processed on both the
             processor 116 as described in detail below with respect to 60 high and low logic states of the memory clock cycle.
             FIGS. 3 and 5 but optionally can include an additional                In an exemplary operation, the processing architecture
             processor(s) or microprocessor(s) such as VLSI or ASIC             115 retrieves program instructions from data storage means
             integrated circuit microprocessor(s). In one embodiment            122a, over system bus 138, which the architecture imple-
             shown in FIG. 2A the data storage means 122a includes at           ments to control the illumination assembly 108 to focus light
             least one dual port memory module 160, such as RAM for 65 on a target 114 containing a bar code and imaging assembly
             example, described in detail below with respect to FIG. 4 but      109 to receive the reflected light. lbe image sensor 106 then
             optionally can include additional memory modules such as           transmits output signals, representative of pixel data of the




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             captured image, to the first port 162 of the dual port memory   1n this embodiment, preferably a DMA controller 161 is
             164 where it is stored in a frame buffer 166. Each of the first included as being in communication with the imaging
             core 140 and the second core 142 can then access the frame      assembly 109, the processing architecture 115 and the data
             buffer 166 and retrieve the pixel data. To allow for parallel   storage means 122b. The DMA controller 161 can off-load
             decoding, the first core 140 can be configured to execute the   the processor by transferring pixel data from the image
             program instmctions of the ID decoder and the second core       sensor 106 directly to the single port memory 163 without
             142 can be configured to execute the program instmctions of     involving the processing architecture 115 including the
             the 2D decoder. Accordingly, whether the image contains a       multi-core processor 116. Accordingly, processor cycles that
             ID or 2D bar code, decoding can occur at substantially the      otherwise would be used to manage a frame buffer can
             same time decreasing the time required for a successful 10 instead be used to run decode 127, 129 algorithms and/or
             decode. Further, image pixel/frame data can be stored in the    otherwise as described above,
             dual port memory 160 on the same clock cycle as image              While the present invention substantially reduces the time
             pixel/frame data is being retrieved by the first core 140       required for a successful decode, it can also effectively
             and/or the second core 142. PDT 105 can be configured to        manage the system clock and/or the power supplied to each
             continuously image the target 114 and store the pixel data, 1s core to reduce overall power consumption. Particularly in
             or each frame, in the frame buffer and the cores 140 and 142    PD1s that are mostly powered by battery, power consump-
             can continually process the image frame data, in parallel,      tion is a concern because the greater the power dissipated,
             until a successful decode event occurs. Upon successful         fue faster the remaining battery life is reduced. Accordingly,
             decode, the decoded data is optionally transmitted to the data  and as shown in FIGS. 3 and 5, a clock management
             storage means 122 where it can be accessed, for example, by 20 module/logic 150 configured to dynamically vary the clock
             an application 125.                                             speed received by each respective core based on the work-
                1n another embodiment, the first core is configured to       load/utilization of each core and/or a power management
             execute ID decoder 127 program instmctions as well as           module/logic 150 configured to dynamically vary the volt-
             image quality filter program instructions stored in data        age received by at least a portion of each core can be utilized
             storage means 122. When executed by the first core 140, the 25 to manage resources consumed by the multi-core processor
             image quality filter program instmctions analyze, in real       116b. One method of power management is described in
             time, the pixel data/each frame retrieved by the core from      U.S. patent application Ser. No. 11/238,489 to Borkar et al.,
             the frame buffer for quality with respect to contrast, for      incorporated herein by reference, as including voltage regu-
             example. The frame can then be assigned an image quality        lators to supply power to each core or a part of a core
             score which can be factored into a decode algorithm's 30 depending on a number of factors including activity, core
             decision with respect to selecting the highest image quality    temperature, transient current consumption, and reliability.
             score frame available in the frame buffer. Further, the image   Another method of power management has been described
             quality filter program instmctions can be configured to         by Kim in U.S. patent application Ser. No. 11/424,080,
             interrupt an existing decode 127 process which is decoding      incorporated herein by reference, which includes modulat-
             a frame/image with a low image quality score should a 35 ing the mode of the processor to single core or multi-core
             frame/image with a higher image quality score be captured.      depending on a number of factors including whether the
                1n yet another embodiment, the first core 140 is config-     PDT is connected to AC or battery power, remaining battery
             ured to execute image quality filter program instmctions, or    level, available memory, and memory usage. One exemplary
             any other program instmctions related to image processing,      clock management module is disclosed by Naveh et al. in
             for example, stored in data storage means 122 and the 40 U.S. patent application Ser. No. 10/899,674, incorporated
             second core 142 is configured to execute ID decoder 127         herein by reference, wherein the clock management module
             program instmctions as well as 2D decoder program instmc-       utilizes independent clock throttle settings for each core,
             tions 129.                                                      indt..-pendent clock throttle of various functional blocks of
                Referring to FIG. 5, another embodiment is shown             one or more core's internal architecture such as reorder
             wherein the multi-core processor is a quad-core processor 45 buffers and reservation station tables, for example, and
             further including a third core and a fourth core as well as a   scaling the clock frequency of the bus that the multi-core
             first cache level 178, a second shared cache level 180 and a    processor uses to communicate with system components.
             bus interface 182. A quad-core processor 116b generally            While the principles of the invention have been described
             refers to four processing units or cores 170, 172, 174 and      herein, it is to be understood by those skilled in the art that
             176 manufactured on the same integrated circuit. 1n this so this description is made only by way of example and not as
             embodiment, the third core 174 can be configured to execute     a limitation as to the scope of the invention. Other embodi-
             the program instmctions of the image quality filter and the     ments are contemplated within the scope of the present
             fourth core 176 can execute program instmctions related to      invention in addition to the exemplary embodiments shown
             communication with tl1e network interface 134. Accord-          and described herein. Modifications and substitutions by one
             ingly, the user does not have to wait to pull the trigger or 55 of ordinary skill in the art are considered to be within the
             press the scan button again until the first or second core has  scope of the present invention, which is not to be limited
             executed communication routines to transmit fue decode          except by fue following claims.
             results, for example through the network interface 134 to a        I claim:
             remote computer 136, because the fourth core 176 can               1. A method, comprising:
             handle communication with the network interface 134 in 60          capturing an image of a target with an inlage sensor of a
             parallel with the first and/or second core causing the PDT             portable data teffilinal, tile portable data terminal com-
             105 to capture a new image and begin a new process of                  prising the image sensor, a processor, memory, and a
             decoding any bar code contained in the image.                          network interface;
                Referring to FIG. 2B, although the invention has thus far       synchronously and in parallel, decoding, with the proces-
             been described as including a dual port memory module, in 65           sor, any one-dimensional symbol in the captured image
             another embodiment the data storage means 122b includes a              and decoding, with the processor, any two-dimensional
             single port memory 163 configured to store a frame buffer.             symbol in the captured image; and




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                transmitting, with the network interface, data regarding           image_ data_ and decoding, with the processor, any
                   the decoding of any one-dimensional symbol and/or the           two-drmens10nal symbol in the stored image data.
                   decoding of any two-dimensional symbol.                      12. The method of claim 7, wherein the processor is a
                2: The method of claim 1, comprising, with the processor,     multi-core processor.
             stonng the captured image in the memory.                           13. The method of claim 7, wherein:
                                                                                the processor is a multi-core processor comprising a first
                3. The method of claim 1, comprising, with the processor,
                                                                                   core and a second core; and
             analyzing the captured image for image quality.                    synchronously and in parallel, decoding, with the proces-
                4. The method of claim 1, comprising:                              sor, any o~e-dim_ensional symbol in the captured image
                transferring image data to the memory; and                         and decoding, with the processor, any two-dimensional
                                                                           10
                storing the transferred image data in the memory;                  symb_ol in the captured image comprises synchronously
                wherein synchronously and in parallel, decoding, with the          and m parallel, decoding, with the first core, any
                   processor, any one-dimensional symbol in the captured           one-~ensi?nal symbol in the captured image and
                   image and decoding, with the processor, any two-                decoding, with the second core, any two-dimensional
                   dimensional symbol in the captured image comprises 15           symbol in the captured image.
                   synchronously and in parallel, decoding, with the pro-       14. A method, comprising:
                   cessor, any one-dimensional symbol in the stored             capturing an image of a target with a portable data
                   image data and decoding, with the processor, any                terminal having a processor; and
                   two-dimensional symbol in the stored image data.             synchronously and in parallel, decoding, with the proces-
                5. The method of claim 1, wherein the processor is a 20            sor, any one-dimensional bar code in the captured
             multi-core processor.                                                 image and decoding, with the processor, any two-
                6. The method of claim 1, wherein:                                 dimensional bar code in the captured image.
                the processor is a multi-core processor comprising a first      15. The method of claim 14, comprising, with the pro-
                   core and a second core; and                                cessor, storing the captured image in a memory of the
                synchronously and in parallel, decoding, with the proces- 25 portable data terminal.
                   sor, any one-dimensional symbol in the captured image        16. The method of claim 14, comprising, with the pro-
                   and decoding, with the processor, any two-dimensional      cessor, analyzing the captured image for image quality.
                   symbol in the captured image comprises synchronously         17. The method of claim 14, comprising communicating
                   and in parallel, decoding, with the first core, any        with a network interface.
                   one-dimensional symbol in the captured image and 30          18. The method of claim 14, comprising:
                   decoding, with the second core, any two-dimensional          transferring image data to a memory of the portable data
                   symbol in the captured image.                                   terminal; and
                7. A method, comprising:
                                                                                storin~ the transferred image data in the memory;
                capturing an image of a target with an image sensor of a        wherem synchronously and in parallel, decoding, with the
                   portable data terminal, the portable data tenninal com- 35      processor, any one-dimensional bar code in the cap-
                   prising the image sensor, a processor, and memory; and          tured _imag~ and decodin~, with the processor, any
                synchronously and in parallel, decoding, with the proces-          two-dimensional bar code m the captured image com-
                   sor, any one-dimensional symbol in the captured image           prises synchronously and in parallel, decoding, with the
                   and decoding, with the processor, any two-dimensional           processor, any one-dimensional bar code in the stored
                   symbol in the captured image.                                   image data and decoding, with the processor, any
                                                                           40
                8. The method of claim 7, comprising, with the processor,          two-dimensional bar code in the stored inmge data.
             storing the captured image in the memory.                          19. The method of claim 14, wherein the processor is a
                9. The method of claim 7, comprising, with the processor,     multi-core processor.
             analyzing the captured image for image quality.                    20. The method of claim 14, wherein:
                10. The method of claim 7, comprising communicating 45          the processor is a multi-core processor comprising a first
             with a network interface.                                             core and a second core; and
                11. The method of claim 7, comprising:                          synchronously and in parallel, decoding, with the proces-
                transferring image data to the memory; and                         ~or, any one-dimensional bar code in the captured
                storin~ the transferred image data in the memory;                  =ge and decoding, with the processor, any two-
                wherem synchronously and in parallel, decoding, with the 50        dimensional bar code in the captured image comprises
                   processor, any one-dimensional symbol in the captured           synchronously and in parallel, decoding, with the first
                   image and decoding, with the processor, any two-                core, any one-dimensional bar code in the captured
                   dimensional symbol in the captured image comprises              ~ge and decoding, with the second core, any two-
                   synchronously and in parallel, decoding, with the pro-          dimensional bar code in the capnrred image.
                  cessor, any one-dimensional symbol in the stored                                  *   *   * *    *




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             c12)   United States Patent                                               (IO) Patent No.:                         US 9,384,378 B2
                    Wang                                                               (45) Date of Patent:                                   *Jul. 5, 2016

             (54)   LOW POWER MULTI-CORE DECODER                                  (58)       Field of Classification Search
                    SYSTEMAi~D METHOD                                                        None
                                                                                             See application file for complete search history.
             (71) Applicant: Hand Held Products, Inc., Fort Mill,
                                                                                  (56)                           References Cited
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             (73) Assignee: Hand Held Products, Inc., Fort Mill,                         3,663,762 A              5/1972    Joel, Jr.
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             (21)   Appl. No.: 14/808,464
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             (22)   Filed:      Jul. 24, 2015
                                                                                  EP                      2309418 Al          4/2011
             (65)                  Prior Publication Data                         JP                    S59212075 A          11/1984
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                             Related U.S. Application Data                        EP 10 182186 (EP2309418), darted Jan. 11, 2011 (3 pages).
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                    Jul. 1, 2013, now Pat. No. 9,092,686, which is a
                    continuation of application No. 12/571,911, filed on          Primary Examiner - Joni Richer
                    Oct. 1, 2009, now Pat. No. 8,587,595.                         (7 4) Attorney, Agent, or Firm - Additon, Higgins &
                                                                                  Pendleton, P.A.
             (51)   Int. CI.
                                                                                  (57)                    ABSTRACT
                    G06Fl5/80               (2006.01)
                    G06K 7110               (2006.01)                             A portable data terminal including a multi-core processor
                    G06K7114                (2006.01)                             having at least a first core and a second core, at least one
             (52)   U.S. CI.                                                      illumination assembly and at least one imaging assembly and
                    CPC ............ G06K 711417 (2013.01); G06K 711093           data storage means configured to store a plurality of program
                              (2013.01); G06K 7110722 (2013.01); G06K             instructions, the program instructions including at least one
                             7110881 (2013.01); G06K 711404 (2013.01);            one-dimensional decoder and at least one two-dimensional
                                     G06K 711408 (2013.01); G06K 711413           decoder.
                                                              (2013.01)                                 20 Claims, 5 Drawing Sheets




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                                                                                                Data Storage
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                                                                                                Applicatioos
                                                                                       127
                                                                                                ID Decoder

                                                                                                2D Decoder


                                                                                                  Memory


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              2007/0140574 Al    6/2007   Yamaguchi et al.
              2007/0285698 Al   12/2007   Wang et al.                     * cited by examiner




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                                       IOOa
                                  f

                                                                                _,,/. 1OOb




                        Fig. IA                                       Fig. 1B




                                                                                             HONEYWELL-00234831

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                                                             109                                          105a                                               .r:JJ.~
                                                                        106                ________ .,-::-::: __ _                                            ~
                                                                        -        ---,                            ------- ----
                            -----.~~ _____ .,,__1_~~---- - 1 - -----                                                                                          ~
                                                                                                                                                                        USCA4 Appeal: 23-1850




                                                                                                                                                              !""to-
                                                                                                                                                              n>
                                          Imaging                 Image
            114                            Optics                 Sensor                                                                                      a
         Target                  L--------------------------------------1'
                                    r-----------,       ---------------------,      '                                                                         ;...
                                                                                                                                                                        Doc: 45-5




                                                             Light Source                                                                    115              F-
                                                                                           122a
                                                                                                                                                             !-'1
                                                                                                            Data Storage        Processing                    I:,.)
                                                                                                                                                              Q
                                           ---------- /------                                                 Means             Architecture                  I-"
                                                                                                                                                              0'I
                                   110              108      lli                             125
                                                                                                            Applications
                                                                                             127
                                                                                                             ID Decoder                                       00.
                                                                                                                                                              ('I)
                                                                                                                                                              =-
                                   134               132               130        128        129                                                              ll
                                                                                                             2D Decoder
                                                                                                                                116                           N




JA2379
             136                                                                        Power
                              Network             Display           User                                                              '---                    0
                              Interface          Interface
                                                             II     Input               Supply                 Dual Port        Multi-core
                                                                                                                                                              ....
                                                                                                                                                              Ul
          Re~ote                                                                                               Memory
                                                                                                                                                                        Filed: 04/01/2024




                                                                  Interface                                                     Processor
         Computer
                    ~ --
                                                                                                                       160
                                           138                                                                                          1
                                                                                    System Bus
                           '
                           :<--------------------------------- ---------------------'                                                                         ~
                           '------------                                                                                                                      rJJ.
                                                                                                                                                              1,0
                                                                                                                                                             ~
                                                                                                                                                              00
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                                                                                                                                                              ,l;l,..
                                                                                                                                                             ~
                                                                                                                                                             ........
                                                                       fig. 2A                                                                                00
                                                                                                                                                              cc
                                                                                                                                                              N




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                                                                                                                                                    ~
                             ------------          109
                                                                                                                                                   .r:JJ.
                               • -- ---~J:~,-----f------
                               '   I            ------
                                                -;-------/!9§___                       ______ _
                                                            - ---- - ____ ______ •✓-::105b                          ------------'                   ~
                                                                                                                                     '              ~
                                                                                                                                                              USCA4 Appeal: 23-1850




                                                                                                                                                    !"'to-
                                         Imaging                                                  DMA                                               n>
             114                         Optics                                                                                                     a
                                                                                                           161
         Target                                                              _,''
                                            ----------------------------,
                                   ,---------,                                 I
                                                                                                                                                    ;...
                                                          Light Source
                                                                                                                                                              Doc: 45-5




                                                                                                                               115                  F-
                                                                         1-------+----1   122b
                                                                                                                                                   !-'1
                                                              ____________ ,                     Data Storage    Processing                         I:,.)
                                                                           '                                                                        Q
                               :----7-----------7--1-11                                            Means         Architecture                       I-"
                                                                                                                                                    0'I
                                   110             108                                     125
                                                                                                 Applications
                                                                                           127
                                                                                                 1D Decoder                                         00
                                   134              132          130       128             129                                                      ('I)
                                                                                                                                                    =-
                                                                                                 2D Decoder                                         ll
             136                                                                                                 116                                y,I




JA2380
                             Network          Display         User                  Power                              '-...
                                                                                                                                                    0
                                                              Input                 Supply        Single Port    Multi-core                         ....
                             Interface
                                         I I Interface
          Re-:: ote   ~ __                                                                         Memory                                           Ul
                                                            Interface                                            Processor
                                                                                                                                                              Filed: 04/01/2024




         Computer
                                                                                                           163
                                          138                                                                            1
                                                                                System Bus
                                                                                                                                                    ~
                                                                                                                                                    rJJ.
                                                                                                                                                    1,0
                                                                                                                                                   ~
                                                                                                                                                    00
                                                                                                                                                              Pg: 258 of 423




                                                                                                                                                    ,l;l,,.
                                                                                                                                                   ~
                                                                                                                                                   ........
                                                                 Fig. 28                                                                            00
                                                                                                                                                    cc
                                                                                                                                                    N




                                                                                                                                         HONEYWELL-00234833
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                                       Clock and/or Power
                                          Management
                                              150



                                    Core I               Core2
                                                                                   ~116a
                                     140                    142


                              Lli I
                             Cache
                                     Lld
                                    Cache
                                                    Lli
                                                   Cache
                                                             I Cache
                                                                Lld             144

                                             L2 Cache
                                                146
                                           Bus Interface
                                                148


                                               FJG.3


                               160

                                        Dual Port Memory

                                                                  Port 1

                                                                   162



                                                                  Port 2
                                                                           ,..._..___.
                                                                   164



                                             Frame Buffer
                                                 166

                                                FIG. 4




                                                                                                     HONEYWELL-00234834

                                                   JA2381
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                                             Clock and/or Power
                                                Management
                                                       ill


                    Core I                Core 2              Core 3           Core 4
                                                                                              _.......-- I 16b
                        l1Q                 172                   174           ill

                  Lli
                 Cache
                         I Cache
                            Lld      Lli
                                    Cache
                                             I Cache
                                                Lld        Lli I Lld
                                                          Cache Cache
                                                                             Lli
                                                                            Cache
                                                                                       Lld
                                                                                      Cache
                                                                                               178

                                                   L2 Cache
                                                      180
                                                  Bus Interface
                                                       182


                                                     FIG.5




                                                                                                       HONEYWELL-00234835

                                                          JA2382
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                    LOW POWER MULTI-CORE DECODER                                 illumination assembly configured to illuminate a target, such
                         SYSTEMA.~D METHOD                                       as a bar code, and an imaging assembly configured to receive
                                                                                 an image of the target and generate an electric output signal
                         CROSS REFERENCE TO RELATED                              indicative of the data optically encoded therein.
                                    APPLICATIONS                                    The output signal is generally representative of the pixel
                                                                                 data transmitted by an image sensor of the imaging assembly.
                This application is a continuation of and claims priority to     Because the pixel data may not be high enough quality for the
             U.S. patent application Ser. No.13/932,634, filed Jul. I, 2013,     processor to reliably decode the bar code in the image, PDTs
             entitled, "Low Power Multi-Core Decoder System and                  generally successively capture images, or image frames, until
             Method," which issued on Jul. 28, 2015, as U.S. Pat. No. 10 a reliable decode is complete. Further, where the bar codes
             9,092,686. This application is also a continuation of and           being decoded vary from ID and 2D symbologies, the PDT
             claims priority to U.S. patent application Ser. No. 12/571,911      generally sequentially executes decode algorithms for the
             filed Oct. 1, 2009 entitled, "Low Power Multi-Core Decoder          multiple symbologies. This process can be time-intensive
             System and Method," which issued on Nov. 19, 2013, as U.S.          because the processor must wait for the pixel data to be stored
             Pat. No. 8,587,595. The above application is incorporated 15 in memory before it can access the data in order to execute a
             herein by reference in its entirety.                                decode algorithm and then must further wait for a decode
                                                                                 algorithm to complete before a second decode algorithm can
                                 TECHNICAL FIELD                                 execute. Further, in many settings such as warehouses, shop-
                                                                                 ping centers, shipping centers, and numerous others, PDTs
                Ihe present invention relates to portable data terminals and 20 are used to decode bar codes in serial fashion such that a faster
             more particularly, to portable data terminals configured to         decode operation generally increases throughput.
             capture an image and decode any bar code contained in the              Attempts have been made to increase decode speed par-
             image.                                                              ticularly by multi-threading. Multi-threading, or hyper-
                                                                                 threading, allows multiple threads to use a single processing
                           BACKGROUND INFORMATION                             25 unit by providing processor cycles to one thread when another
                                                                                 thread incurs a latency such as a cache miss, for example,
                Portable data terminals (PDTs) such as laser indicia read-       which would cause the processor to incur several cycles of
             ing devices, optical indicia reading devices, barcode scanm'Ts.•    idle time while ofl~chip memory is accessed. Using multi-
             and barcode readers, for example, typically read data repre-        threading, the central processor idle time is minimized but not
             sented by printed indicia such as symbols, symbology, and 30 substantially parallelized. Further, context switching
             bar codes, for example. One type of symbol is an array of           between threads can significantly increase overhead, as the
             rectangular bars and spaces that are arranged in a specific way     state of one process/thread is saved while another is loaded,
             to represent elements of data in machine readable form. Opti-       further minimizing any efficiency gain.
             cal indicia reading devices typically transmit light onto a            Accordingly, there remains a need in the art for a PDT
             symbol and receive light scattered and/or reflected back from 35 system architecture that will allow for faster, substantially
             a bar code symbol or indicia. The received light is interpreted     parallel, bar code decoding operations.
             by an image processor to extract the data representt..'Ci by the
             symbol. Laser indicia reading devices typically utilize trans-              BRIEF DESCRIPTION OF THE DRAWINGS
             mitted laser light. One-dimensional (ID) optical bar code
             readers are characterized by reading data that is encoded 40           The present invention is disclosed with reference to the
             along a single axis, in the widths of bars and spaces, so that      accompanying drawings, wherein:
             such symbols can be read from a single scan along that axis,           FIG. lA is a plan view of an exemplary PDT and FIG. lB
             provided that the symbol is imaged with a sufficiently high         is a side perspective view of an exemplary PDT.
             resolution.                                                            FIG. 2A is a block schematic diagran1 of an exemplary
                In order to allow the encoding oflarger amounts of data in 45 PDT according to the present invention.
             a single bar code symbol, a numberofone-dimensional (JD)               FIG. 2B is a block schematic diagram of ant.."Xemplary PDT
             stacked bar code symbologies have been developed which              according to the present invention.
             partition encoded data into multiple rows, each including a            FIG. 3 is a block schematic diagram of an exemplary multi-
             respective ID bar code pattern, all or most all of which must       core processor according to the present invention.
             be scanned and decoded, then linked together to form a com- so         FIG. 4 is a block schematic diagram of an exemplary dual
             plete message. Scanning still requires relatively higher reso-      port memory module according to the present invention.
             lution in one dimension only, but multiple linear scans are            FIG. 5 is a block schematic diagram of an exemplary multi-
             needed to read the whole symbol.                                    core processor according to the present invention.
                A class of bar code symbologies known as two-dimen-                 It will be appreciated that for purposes of clarity and where
             sional (2D) matrix symbologies have been developed which 55 deemed appropriate, reference numerals have been repeated
             offer orientation-free scanning and greater data densities and      in the figures to indicate corresponding features.
             capacities than ID symbologies. 2Dmatrix codes encode data
             as dark or light data elements within a regular polygonal                             DETAILED DESCRIPTION
             matrix, accompanied by graphical finder, orientation and ref-
             erence structures.                                               60    Referring to FIGS. lA and lB, two exemplary PDTs 100
                Conventionally, a PDT includes a central processor which         for reading/scanning printed indicia are shown. The PDT
             directly controls the operations of the various electrical com-     housing can be shaped so as to fit comfortably into a human
             ponents housed within the PDT. For example, the central             hand using a handle portion 104 and can include a finger
             processor controls detection of keypad entries, display fea-        actuatable scan/capture or trigger button 101 as well as a
             tures, wireless communication functions, trigger detection, 65 keypad 102 for inputting data and commands, power button,
             and bar code read and decode functionality. More specifi-           and antenna for facilitating communication with a local or
             cally, the central processor typically communicates with an         remote host processor, for example. The PDT also includes a




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             display 103, such as an LCD or OLED display, for example,        127, and a 2D decoder 129. The decoders 127 and 129 include
             for displaying information to the user. If the display 103 is a  program instructions that, when executed by the multi-core
             touch screen, a stylus (not shown) may also be included to       processor 116, retrieve image pixel data and decode any bar
             facilitate interaction with the touch screen. An aperture in the code contained in the image as is known in the art. Although
             housing is included such that the illumination 108 and imag-     the decoders 127 and 129 are shown as separate from the dual
             ing optics 109 have substantially unobstructed access to the     port memory 160 in FIG. 2A, in another embodiment the
             target 114. The PDT can also include a power port for receiv-    decoder 127 and 129 program instructions are stored in the
             ing a power supply as well as one or more communication          dual port memory 160. The PDT 105 also includes one or
             ports for facilitating wired or wireless communication with a    more power supplies 128, such as one or more batteries and/or
             network interface 134. Although the present invention is 10 circuitry for receiving an alternating current, and a user input
             described with respect to a PDT, the invention can be utilized   interface 130 for receiving data from a user input device 102,
             in any bar code scanner, mobile device, mobile computer, or      such as a keyboard, keypad, and/or touch screen. The PDT
             personal data assistant, for example.                            105 structures shown in FIG. 2 are preferably supported on
                Referring to FIGS. 2A and 2B, there is shown a block          one or more printed circuit boards (not shown).
             schematic diagram of the basic structures that together com- 15     Referring to FIG. 3, a multi-core processor 116 according
             prise a PDT 105 according to the present invention. The PDT      to the present invention is shown as a dual-core processor
             105 includes an illumination assembly 108 for illuminating a     116a having a first core 140 and a second core 142. The cores
             target 114, such as a bar code, and an imaging assembly 109      can also share one cache, or in a multilevel cache architecture,
             for receiving an image of the target 114 and generating an       each utilize its own respective cache (e.g. LI) and share
             electric output signal indicative of the pixel data optically 20 another cache (e.g. L2) or any combination thereof. In the
             encoded therein. The illumination assembly 108 includes at       embodiment shown in FIG. 3, a first level of cache 144 is
             least one light source 112 together with illumination optics     shown as having instruction and data caches for each core
             110, such as one or more reflectors, for directing light from    140, 142 and a second level of cache 146 is shown as being
             the light source in the direction of the target 114. The light   shared among both cores 140 and 142. The cores 140 and 142
             source 112 can include at least one LED configured to emit 25 can be integrated on the same integrated circuit die or they can
             light in the near-infrared range and/or at least one LED con-    be integrated onto multiple dies in the same integrated circuit
             figured to emit light in the visible range. The imaging assem-   package as is known in the art. Further, the processor 116 can
             bly 102 includes a 2D image sensor 106, such as a CCD,           also include one or more independent or shared bus interfaces
             CMOS, NMOS, PMOS, CID, or CMD solid state imagine                such as a shared bus interface 148 for communication with a
             sensor, along with imaging optics 107 for receiving and 30 system bus and/or the data storage means 122. Each core 140
             focusing an image of the target 114 onto the image sensor        and 142 has its own processing unit and is capable of issuing
             106.                                                             instructions transmitted through the bus interface to a bus as
                Still referring to FIGS. 2A and 2B, the PDT 105 further       well as simultaneously performing operations.
             includes a processing architecture 115 which controls the           Referring to one embodiment shown in FIGS. 2A and 4,
             operation of the PDT 105 by implementing program instruc- 35 dual port memory 160 is shown as including a first port 162
             tions it retrieves from the data storage means 122. More         and a second port 164. At least a portion of the dual port
             specifically, the processing architecture 115 is configured to   memory, identified as frame buffer 166 in FIG. 4, is config-
             receive, output and process data, including image/pixel data,    ured to store image frame data as received from the image
             operate the imaging 109 and illumination 108 assemblies, and     sensor. Dual port memory, such as the dual port memory
             communicate with a system bus 138 among other operations. 40 described by U.S. Pat. No. 5,276,842 to Sugita, incorporated
             Further, the processing architecture 115 may be configured to    herein by reference, is preferably configured to be accessed
             control the illumination of the light source 112, the timing of  by two cores simultaneously on the same clock. Contention
             the image sensor 106, analog-to-digital conversion, transmis-    issues are preferably handled by arbitration system or arbi-
             sion and reception of data to and from a processor of a remote   tration logic as is known in the art and as one exemplary
             computer 136 external to the reader through a network inter- 45 implementation of an arbitration system is also described in
             face 134, such as an RS-232, RS-485, USB, Ethernet, Wi-Fi,       the '842 patent. Dual port memory can also be implemented
             Bluetooth™, IrDA and Zigbee interface, control a user input      with a single port memory core as taught by Balasubramanian
             interface to manage user interaction with a scan/trigger button  et al. in U.S. Pat. No. 7,349,285, incorporated herein by
             101 and/or keypad 102, and control an output device 103,         reference, whereby access requests are processed on both the
             such as an LCD or an OLED display, through the display so high and low logic states of the memory clock cycle.
             interface 132. The processing architecture 115 includes at          In an exemplary operation, the processing architecture 115
             least one multi-core processor 116 as described in detail        retrieves program instructions from data storage means 122a,
             below with respectto FIGS. 3 and 5 but optionally can include    over system bus 138, which the archltecture implements to
             an additional processor( s) or microprocessor( s) such as VLSI   control the illumination assembly 108 to focus light on a
             or ASIC integrated circuit microprocessor( s). In one embodi- 55 target 114 containing a bar code and imaging assembly 109 to
             ment shown in FIG. 2A the data storage means 122a includes       receive the reflected light. The image sensor 106 then trans-
             at least one dual port memory module 160, such as RAM for        mits output signals, representative of pixel data of the cap-
             example, described in detail below with respect to FIG. 4 but    tured image, to the first port 162 of the dual port memory 164
             optionally can include additional memory modules such as         where it is stored in a frame buffer 166. Each of the first core
             local, network-accessible, removable and/or non-removable 60 140 and the second core 142 can then access the frame buffer
             memory, such as RAM, ROM, and/or flash. hi another               166 and retrieve the pixel data. To allow for parallel decoding,
             embodiment shown in FIG. 2B, the data storage means 122b         the first core 140 can be configured to execute the program
             includes at least one single port memory module 163, such as     instructions of the ID decoder and the second core 142 can be
             RAM for example, in communication with a direct memory           configured to execute the program instructions of the 2D
             access (DMA) controller 161 as described further below. The 65 decoder.Accordingly, whethertheimagecontains a lD or2D
             data storage means 122 is shown as including applications        bar code, decoding can occur at substantially the same time
             125, such as an operating system for example, a 1D decoder       decreasing the time required for a successful decode. Further,




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             image pixel/frame data can be stored in the dual port memory         age the system clock and/or the power supplied to each core
             160 on the same clock cycle as image pixel/frame data is             to reduce overall power consumption. Particularly in PDTs
             being retrieved by the first core 140 and/or the second core         that are mostly powered by battery, power consumption is a
             142. PDT 105 can be configured to continuously image the             concern because the greater the power dissipated, the faster
             target 114 and store the pixel data, or each frame, in the frame     the remaining battery life is reduced. Accordingly, and as
             buffer and the cores 140 and 142 can continually process the         shown in FIGS. 3 and 5, a clock management module/logic
             image frame data, in parallel, until a successful decode event       150 configured to dynamically vary the clock speed received
             occurs. Upon successful decode, the decoded data is option-          by each respective core based on the workload/utilization of
             ally transmitted to the data storage means 122 where it can be       each core and/or a power management module/logic 150
             accessed, for example, by an application 125.                     10 configured to dynamically vary the voltage received by at
                In another embodiment, the first core is configured to            least a portion of each core can be utilized to manage
             execute ID decoder 127 program instructions as well as               resources consumed by the multi-core processor 116b. One
             image quality filter program instructions stored in data stor-       method of power management is described in U.S. patent
             age means 122. When executed by the first core 140, the              application Ser. No.11/238,489 to Borkaret al., incorporated
             image quality filter program instructions analyze, in real time, 1s herein by reference, as including voltage regulators to supply
             the pixel data/each fran1e retrieved by the core from the frame      power to each core or a part of a core depending on a number
             buffer for quality with respect to contrast, for example. The        of factors including activity, core temperature, transient cur-
             frnme can then be assigned an image quality score which can          rent consumption, and reliability. Another method of power
             be factored into a decode algorithm's decision with respect to       management has been described by Kim in U.S. patent appli-
             selecting the highest image quality score frame available in 20 cation Ser. No.11/424,080, incorporated herein by reference,
             the frame buffer. Further, the image quality filter program          which includes modulating fue mode of fue processor to
             instructions can be configured to interrupt an existing decode       single 1--ore or multi-core depending on a number of factors
             127 process which is decoding a frame/image with a low               including whetller tile PDT is connected to AC or battery
             image quality score should a frame/image with a higher               power, remaining battery level, available memory, and
             image quality score be captured.                                  25 memory usage. One exemplary clock management module is
                In yet another embodiment, the first core 140 is configured       disclosed by Naveh et al. in U.S. patent application Ser. No.
             to execute image quality filter program instructions, or any         10/899,674, incorporated herein by reference, wherein the
             other program instructions related to image processing, for          clock management module utilizes independent clock
             example, stor1.,-d in data storage means 122 and the second          throttle settings for each core, independent clock throttle of
             core 142 is configured to execute ID decoder 127 program 30 various fonctional blocks of one or more core's internal archi-
             instructions as well as 2D decoder program instructions 129.         tecture such as reorder buffers and reservation station tables,
                Referring to FIG. 5, another embodiment is shown wherein          for example, and scaling tile clock frequency of the bus tllat
             the multi-core processor is a quad-core processor farther            tile multi-core processor uses to communicate witll system
             including a third core and a fourth core as well as a first cache    components.
             level 178, a second shared cache level 180 and a bus interface 35       While tile principles of the invention have been described
             182. A quad-core processor 116b generally refers to four             herein, it is to be understood by those skilled in the art that this
             processing units or cores 170, 172, 174 and 176 manufactured         description is made only by way of example and not as a
             on the same integrated circuit. In this embodiment, the third        limitation as to tile scope of the invention. Other embodi-
             core 174 can be configured to execute the program instruc-           ments are contemplated within the scope ofthe present inven-
             tions of the image quality filter and the fourth core 176 can 40 tion in addition to the exemplary embodiments shown and
             execute program instructions related to communication with           described herein. Modifications and substitutions by one of
             the network interface 134. Accordingly, the user does not            ordinary skill in the art are considered to be within the scope
             have to wait to pull the trigger or press the scan button again      of tile present invention, which is not to be limited except by
             until the first or se1--ond core has executed communication          the following claims.
             routines to transmit the decode results, for example through 45
             the network interface 134 to a remote computer 136, because             I claim:
             the fourth core 176 can handle communication with the net-               1. A portable data terminal, comprising:
             work interface 134 in parallel with the first and/or second core        at least one imaging assembly generating pixel data from a
             causing the PDT 105 to capture a new image and begin a new                  target;
             process of decoding any bar code contained in the image.          50    a frnme buffer receiving said pixel data from said imaging
                Referring to FIG. 2B, although the invention has thus far                assembly;
             been described as including a dual port memory module, in               a data storage means storing a plurality of program instruc-
             another embodiment the data storage means 122b includes a                   tions implementing at least one one-dimensional
             single port memory 163 configured to store a frame buffer. In               decoder and at least one two-dimensional decoder,
             this embodiment, preferably a DMA controller 161 is 55                  a processor in communication with said data storage means
             included as being in communication with the imaging assem-                  and executing said program instructions such that said
             bly 109, the processing architecture 115 and the data storage               decoders decode said pixel data,
             means 122b. The DMA controller 161 can off-load the pro-                wherein said one dimensional decoder and said two dimen-
             cessor by transferring pixel data from the image sensor 106                 sional decoder process, simultaneously and in parallel, a
             directly to the single port memory 163 without involving the 60             same frame of pixel data from said frame buffer on a first
             processing architecture 115 including the multi-core proces-                clock cycle until a successfol decode occurs with either
             sor 116. Accordingly, processor cycles that otherwise would                 of said decoders; and
             be used to manage a frame buffer can instead be used to run             wherein, upon a successful decode, said decoders access,
             decode 127, 129 algorithms and/or otherwise as described                    upon said first clock cycle, another frame of pixel data
             above,                                                            65        from said frame buffer.
                While the present invention substantially reduces the time           2. The portable data terminal of claim 1, wherein said
             required for a successfol decode, it can also effectively man-       processor is a multi-core processor.




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                3. The portable data terminal of claim 2. wherein said               a frame buffer storing pixel data from said iinaging assem-
             frame buffer is encompassed within a dual port memory                      bly prior to transferring said pixel data to said data
             accessed by said multicore processor.                                      cache.
                4. The portable data terminal of claim 2 wherein the data           _13.A portable data terminal according to claim 10, wherein
             storage means further includes at least one multi-port              srud frame buffer receives pixel data on the same cycle as said
                                                                                 pixel data is retrieved by said multi-core processor.
             memory module having at least a first port and a second port,
                                                                                     14. The portable data terminal of claim 10, comprising a
             the at least one multi-port memory module being configured          first level of cache and a second level of cache, the first level
             to transfer pixel data from said frame buffer to the multi-core     including an instruction cache aJ1d a data cache for each core
             processor.                                                       10 aJ1d the second level being shared among all the cores.
                5. The portable data terminal of claim 4, wherein said               15. The portable data terminal of claim lO, wherein the
             multi-core processor comprises respective data caches               multi-core processor comprises a third core aJ1d a fourth core
             receiving pixel data from respective first and second ports of      executing an image quality filter and network access instruc-
             said multi-port memory.                                             tions.
                6. The portable data terminal of claim 4, wherein said 15            16. A portable data terminal, comprising:
             multi-core processor comprises a shared data cache receiving            at least one inlaging assembly generating pixel data from
                                                                                        either a one dimensionally encoded target or a two
             pixel data from said data storage means.                                   dimensionally encoded target;
                7. The portable data terminal of claim 1, wherein said               a memory receiving frames of said pixel data from the
             processor is a multi-core processor, and wherein the first core            imaging assembly;
             of the multi-core processor executes the one-dimensional 20             a multi-core processor configured to implement a one-
             decoder and the second core executes the two-dimensional                   dimensional decoder aJ1d a two dimensional decoder
             decoder.                                                                   such that said decoders run in parallel, said processor
                8. 111e portable data terminal of claim 1, wherein said                 further configured to direct a respective frame of pixel
             processoris a multi-core processor, and wherein a first core of            data to both of said decoders simultaJ1eously;
             the multi-core processor executes an image quality filter and 25       wherein said imaging assembly continuously generates
             a second core of the multi-core processor commnnicates with                pixel data and said decoders process said frames of data
             the network interface.                                                     at a frequency determined by successful decodes in
                9. The portable data terminal of claim 8, wherein the image             either of said decoders.
             quality filter is configured with filter program instructions           17. The portable data terminal of claim 16, comprising at
             that analyze pixel data received by the multi-core processor 30 least one management module selected from the group con-
             and assign an image quality score to the pixel data.                sisting ofa clock =agement module configured to dynami-
                10. A portable data terminal, comprising:                        cally vary a clock speed received by respective first aJ1d sec-
                at least one imaging assembly generating pixel data from a       ond cores of said processor based on the workload of said
                   target;                                                       respective   cores and a power =agement module configured
                a multi-core processor having at least a first core and a 35 to dynamically vary the voltage received by at least a portion
                   second core executing at least one one-dimensional            of each core.
                   decoder and at least one two-dimensional decoder;                 18. The portable data terminal of claim 17, wherein the
                at least one data cache in commnnication with said multi-        multi-core processor comprises a third core and a fourth core,
                   core processor and receiving said pixel data such that        wherein the program instructions stored in the data storage
                   said pixel data is accessible by both said one-dimen- 40 means comprises an iinage quality filter aJ1d wherein the third
                   sional and two-dimensional decoders;                          core of the multi-core processor executes the image quality
                wherein the one-dimensional decoder and two-dimen-               filter aJ1d the fourth core of the multi-core processor commu-
                   sional decoder run in parallel to process the same pixel      nicates with the network interface.
                   data on a first clock cycle, said first clock cycle termi-        19. The portable data terminal of claim 16, wherein said
                   nating upon either of said decoders successfully decod- 45 multi-core processor comprises either a data cache shared by
                   ing said same pixel data.                                     said decoders or a respective data cache for each decoder.
                                                                                     20. 'The portable data terminal of claim 16, wherein a first
                11. _A portable data terminal according to claim 10,
             wherem, upon each successful decode, said multi-core pro-           port  of the memory is configured to receive at least one output
             cessor loads a successive frame of pixel data into said data        signal from the imaging assembly, the output signals repre-
             cache at a frequency determined by said successful decodes so senting pixel data transmitted by the iinage sensor, and a
             or said first clock cycle.                                          second port of the memory is configured to commnnicate
                12. A portable data terminal according to claim 10, com-         with the multi-core processor.
             prising:                                                                                    *   *   *   *   *




                                                                                                                                     HONEYWELL-00234839

                                                                         JA2386
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                                                                                                                    PX-319




             ::OPTICON                                                                                 U[J
                                                                                                      11.30.2021
                                                                                              2021 年2021
                                                                                                     11 月年30
                                                                                                           11日
                                                                                                             月 30 日
       各    各 位      位
                Financial Results for Third Quarter of Fiscal
                                                           会 Year
                                                              社会名Ending November 30, 2022 (Consolidated)
                                                                  社株式会社オプトエレクトロニクス
                                                                    名 株式会社オプトエレクトロニクス
                                                             代表者名  代表取締役社長
                                                                代表者名       俵 政美
                                                                      代表取締役社長 俵 政美
                                                                               September 22, 2022
                                                                  （ＪＡＳＤＡＱ・コード６６６４）
                                                                     （ＪＡＳＤＡＱ・コード６６６４）
             Listed company name: Optoelectronics, Inc. 問合せ先          問合せ先  管理部部長管理部部長 石川        勝利 勝利
                                                                                             Listed
                                                                                                 石川 Exchange: Tokyo
             Code No. 66642022年11月期              第３四半期決算短信〔日本基準〕（連結）
                                     URL :https://www.opto.co.jp/電    電話    ０４８－４４６－１１８１
                                                                             話 ０４８－４４６－１１８１
             Representative: Masami Tawara, President and Representative Director                        2022年９月22日
     上場会社名   Inquiries:株式会社オプトエレクトロニクス
                        Katsutoshi Ishikawa,      Executive Officer, General Manager of上場取引所
                                                                                          Administration
                                                                                                    東
                                    訴訟の提起並びに特別損失の計上及び
                                            訴訟の提起並びに特別損失の計上及び
     コード番号            6664
             Tel. 048-446-1181   ＵＲＬ       https://www.opto.co.jp/
     代表者 Quarterly
                         2021 2021
                      （役職名）
                               年代表取締役社長
                                  11年 月期通期連結業績予想の修正に関するお知らせ
                                         11 月期通期連結業績予想の修正に関するお知らせ（氏名）俵       政美
                        report scheduled      filing date: September   22, 2022
     問合せ先責任者          （役職名）      執行役員管理部部長
             Scheduled dividend payment date: --                 （氏名）石川        勝利       ＴＥＬ 048-446-1181
            当社グループは、2021
     四半期報告書提出予定日 当社グループは、2021     年  11  月
                                         年  30
                                             11  日付取締役会において、訴訟手続きの受け入れ及びこれに伴う特別
                                                 月  30 日付取締役会において、訴訟手続きの受け入れ及びこれに伴う特別
                                 2022年９月22日 material preparation:配当支払開始予定日          －
             Quarterly results supplementary                                None
     四半期決算補足説明資料作成の有無：無
         損失（訴訟損失引当金繰入額）を計上することを決定いたしました。
             Quarterly results explanatory meeting: None
               損失（訴訟損失引当金繰入額）を計上することを決定いたしました。
     四半期決算説明会開催の有無                      ：無
            また、あわせて
                 また、あわせて   2021 年  6 月年
                                 2021    246 日に公表しました
                                             月 24 日に公表しました      2021 年          (Rounded down to nearest million yen)
                                                                       11 月期通期連結業績予想を修正しましたの
                                                                     2021  年 11 月期通期連結業績予想を修正しましたの
    1. Consolidated  financial
         で、下記のとおりお知らせいたします。    results
               で、下記のとおりお知らせいたします。       for  3Q    of FY ending 11.30.2022  (December  1, 2021 August  31, 2022)
                                                                                                  （百万円未満切捨て）
       (1) Consolidated Operating Results (cumulative)
     １．2022年11月期第３四半期の連結業績（2021年12月１日～2022年８月31日）
        （１）連結経営成績（累計） (Percentages represent                 記
                                                                   changes from the （％表示は、対前年同四半期増減率）
                                                                   記
                                                                                     same period of the previous year)
                                                                                                    Net income to parent co.
                                                                                                    親会社株主に帰属する
                                  Sales
                                  売上高                 Ordinary
                                                        営業利益   Profit          Net
                                                                               経常利益Profit                 shareholders
                                                                                                         四半期純利益
         １．当社に対する訴訟の提起
       １．当社に対する訴訟の提起M¥
                   百万円                        ％         M¥
                                                        百万円             ％      M¥
                                                                               百万円             ％          百万円              ％
                                                                                                           M¥
             （1）訴訟が提起された裁判所等及び年月日
       9（1）訴訟が提起された裁判所等及び年月日
         mos ending
      2022年11月期第３四半期11.2022 5,453 △16.7                    375     △66.5          223       △79.6             149     △82.7
       9 mos ending 11.2022
      2021年11月期第３四半期        6,549 33.5                   1,121          －       1,096          －              864          －
                ①訴訟が提起された裁判所等
         ①訴訟が提起された裁判所等
      (Note) Comprehensive
     （注）包括利益               income 3Q 11.2022
                 2022年11月期第３四半期
            米国ノースカロライナ州西部地区地方裁判所
          米国ノースカロライナ州西部地区地方裁判所                    937 M¥ (Δ22.3%)
                                      937百万円（ △22.3％）                 3Q 11.2021 1,206百万円
                                                           2021年11月期第３四半期         1206 M¥（－％）
                                                                                          (-%)
           ②訴訟が提起された年月日
         ②訴訟が提起された年月日         潜在株式調整後
                                 １株当たり
                                                        １株当たり
                2021
           2021 年 9 月年249 日
                          月 24 日
                               四半期純利益
                                                       四半期純利益

                                           円 銭                      円 銭
            （2）訴訟を提起した者の概要 24.17
      2022年11月期第３四半期
       （2）訴訟を提起した者の概要                                                   －
      2021年11月期第３四半期                      139.96           －
            ・名称：HONEYWELL
         ・名称：        HONEYWELL  INTERNATIONAL,
                          INTERNATIONAL,   INC., INC.,
             所在地：
          所在地：
       （２）連結財政状態     115 Tabor
                115 Tabor Road, Road,
                                 MorrisMorris Plains,
                                         Plains,       NJ 07950
                                                  NJ 07950
              ・名称：HAND HELD
           ・名称：        HAND PRODUCTS,
                            HELD
                              総資産 PRODUCTS,
                                       INC., INC.,          純資産                                     自己資本比率
               所在地：    9680 Old  Bailes Road,
                                          百万円  Fort Mill, South
            所在地： 9680 Old Bailes Road, Fort Mill, South CarolinaCarolina
                                                                    29707
                                                                       百万円29707                                            ％
      2022年11月期第３四半期
               ・名称：                             14,407 INC.,
                              METROLOGIC INSTRUMENTS,                            5,983                                  41.5
        ・名称：   METROLOGIC INSTRUMENTS, INC.,
      2021年11月期                        12,769                          5,045                                            39.5
            所在地：
         所在地：       9680Bailes
               9680 Old  Old Bailes
                               Road, Road,  Fort Mill,
                                      Fort Mill,   South South Carolina
                                                          Carolina 29707 29707
     （参考）自己資本   2022年11月期第３四半期                5,983百万円        2021年11月期                        5,045百万円

     ２．配当の状況（3）訴訟の原因及び訴訟提起に至った経緯
       （3）訴訟の原因及び訴訟提起に至った経緯
                                                        年間配当金
                当社は、2019 年 5 月 31 日付で米国 HONEYWELL 社から特許権侵害訴訟        （以下「前回訴訟」といいます。）
           当社は、2019 年 5 月 31 日付で米国 HONEYWELL 社から特許権侵害訴訟（以下「前回訴訟」といいます。）
                         第１四半期末         第２四半期末         第３四半期末          期末       合計
              を提起されておりましたが、2020 年 1 月 22 日をもって和解の合意をいたしました。その後、オランダ・
         を提起されておりましたが、2020         年 1 月 22 日をもって和解の合意をいたしました。その後、オランダ・
                                 円 銭           円 銭             円 銭        円 銭      円 銭
              ドイツにおいても同様の訴訟を提起されましたが、
      2021年11月期                    －            0.00 2021 年 2 月 3 日をもって和解の合意をしたことによ
                                                                  －        0.00     0.00
         ドイツにおいても同様の訴訟を提起されましたが、                2021 年 2 月 3 日をもって和解の合意をしたことによ
              り、すべての訴えが取り下げられ、当該訴訟は終息いたしました。
      2022年11月期                    －            0.00              －
         り、すべての訴えが取り下げられ、当該訴訟は終息いたしました。
      2022年11月期（予想）                                                        0.00     0.00
                しかし、HONEYWELL 社は当社に対し、前回訴訟の対象ではなかった製品についてもロイヤリティの支
           しかし、HONEYWELL 社は当社に対し、前回訴訟の対象ではなかった製品についてもロイヤリティの支
     （注）直近に公表されている配当予想からの修正の有無：無
              払義務があると主張し、当社に追加のロイヤリティを要求しました。
         払義務があると主張し、当社に追加のロイヤリティを要求しました。

     ３．2022年11月期の連結業績予想（2021年12月１日～2022年11月30日）               JA2387
                                                                                             （％表示は、対前期増減率）
                                                             （百万円未満切捨て）
     １．2022年11月期第３四半期の連結業績（2021年12月１日～2022年８月31日）
USCA4 Appeal: 23-1850 Doc: 45-5      Filed: 04/01/2024  Pg: 266 of 423
       （１）連結経営成績（累計）                                 （％表示は、対前年同四半期増減率）
                                                                                                                                         親会社株主に帰属する
                                            売上高                             営業利益                           経常利益
                                                                                                                                           四半期純利益
                                                                                                                                                                PX-319
                                           百万円               ％              百万円              ％             百万円                    ％           百万円            ％
       2022年11月期第３四半期                       5,453      △16.7                   375       △66.5                   223       △79.6                149       △82.7
       2021年11月期第３四半期                       6,549          33.5              1,121           －                 1,096              －             864          －
      （注）包括利益             2022年11月期第３四半期                    937百万円（ △22.3％）                    2021年11月期第３四半期                           1,206百万円 （－％）


                                      4Q net profit/share
                                          １株当たり                    Diluted net income per
                                                                        潜在株式調整後
                                                                          １株当たり
                                         四半期純利益                             share
                                                                         四半期純利益

                                                     Yen円Sen
                                                          銭                            Yen円Sen
                                                                                            銭
        9 mos ending 11.2022
       2022年11月期第３四半期                                     24.17                              －
        9 mos ending 11.2022
       2021年11月期第３四半期                                  139.96                                －

           Consolidated financial condition
        （２）連結財政状態
                                                Combined
                                                   総資産 Assets                              Net
                                                                                            純資産Assets                                     Equity
                                                                                                                                        自己資本比率

                                                                     M¥
                                                                   百万円                                           M¥
                                                                                                               百万円                                           ％
      92022年11月期第３四半期
        mos ending 11.2022                                         14,407                                       5,983                                      41.5
      11.2022 period
       2021年11月期                                                   12,769                                       5,045                                      39.5
      (Ref.) Equity
      （参考）自己資本      9 mos ending 11.2022
                       2022年11月期第３四半期                                        5,983 M¥ 2021 Nov.
                                                                            5,983百万円            Period
                                                                                            2021年11月期                             5,045 M¥
                                                                                                                                  5,045百万円

       Dividend status
      ２．配当の状況
                                                                                     Annual 年間配当金
                                                                                            Dividend Amount
                                       1Q End
                                      第１四半期末                       2Q End
                                                                  第２四半期末                   3Q End
                                                                                          第３四半期末                   End of
                                                                                                                       期末 Period                  Total
                                                                                                                                                  合計
                                                    円Yen
                                                      銭                      円Yen
                                                                               銭                    円Yen
                                                                                                      銭                       円Yen
                                                                                                                                 銭                        円Yen
                                                                                                                                                            銭
      2021年11月期
      11.2021 period                                 Sen
                                                      －                       Sen
                                                                             0.00                        Sen
                                                                                                          －                    Sen
                                                                                                                               0.00                         Sen
                                                                                                                                                           0.00
      11.2022 period
      2022年11月期                                       －                      0.00                         －
      Ending 11.2022 (forecast)
      2022年11月期（予想）               I                                                                                                   0.00                 0.00
      (Note) Modifications based on recently published dividend forecasts: none
      （注）直近に公表されている配当予想からの修正の有無：無


      3. Consolidated Earnings Forecast for FY Ending 11.30.2022 (12.1, 2021-11.30, 2022)
      ３．2022年11月期の連結業績予想（2021年12月１日～2022年11月30日）
                                                                                                                       (% shown is increase/decrease vs previous period)
                                                                                                                             （％表示は、対前期増減率）
                                                                   Operating                Net Profit
                                                                                                                  Net income to parent
                                                                                                                   親会社株主に帰属                    Net profit per
                                                                                                                                               １株当たり
                                          Sales
                                          売上高                      営業利益                      経常利益
                                                                                                                    co. shareholders               share
                                                                    Profit                                           する当期純利益                   当期純利益

                                        M¥
                                       百万円            ％             M¥
                                                                  百万円           ％          百万円
                                                                                             M¥            ％              M¥
                                                                                                                        百万円              ％            Yen円Sen
                                                                                                                                                           銭
              Full
               通期  year                 7,318     △12.0             699      △40.6            686       △40.4               456         1.8               73.81
      (Note) Recent modification from results forecasts: None
      （注）直近に公表されている業績予想からの修正の有無：無




            * Notes
            (1) Significant movement of important subsidiaries in the current period consolidated cumulative

            (2) Unique accounting procedures applied to creation of quarterly consolidated financial
            statements: no

            (3) Changes in accounting policy/changes in accounting estimates/restatements
            ① Changes in accounting policy due to revisions in accounting standards, etc. : yes
            ② Changes in accounting policy other than ①                                       : no
            ③ Changes in accounting estimates                                                 : no
            ④ Restatements                                                                    : no
            (Note) For details please see: "2. 4Q Consolidated Financial Statement and Principle Notes, (3)
            Notes Pertaining to Quarterly Financial Statements (Changes in Accounting Policy)."


            (4) No. of shares issued (common stock)




                                                                                       JA2388
  （３）会計方針の変更・会計上の見積りの変更・修正再表示
USCA4①Appeal:
        会計基準等の改正に伴う会計方針の変更
              23-1850 Doc: 45-5 ：有
                                Filed: 04/01/2024 Pg: 267 of 423
     ② ①以外の会計方針の変更              ：無
     ③ 会計上の見積りの変更               ：無
     ④ 修正再表示                    ：無                               PX-319
     （注）詳細は、添付資料７ページ「２．四半期連結財務諸表及び主な注記（３）四半期連結財務諸表に関する注記
         事項（会計方針の変更）」をご覧ください。

  （４）発行済株式数（普通株式）
      ① No. of shares issued at end of period                                 shares                           shares
    ① 期末発行済株式数（自己株式を含む）                          11.2022 3Q
                                              2022年11月期３Ｑ            6,578,000株        11.2021
                                                                                   2021年11月期        6,578,000株
      (including treasury shares)
      ②   ② No. of treasury stock shares at end of
          期末自己株式数                                       11.2022 3Q
                                                     2022年11月期３Ｑ                       11.2021
                                                                             shares2021年11月期
                                                                      400,047株                        400,047株shares
          period                                                                                             shares
      ③   期中平均株式数（四半期累計）
          ③ Average no. of shares in period             11.2022 3Q
                                                     2022年11月期３Ｑ     6,177,953株        11.2021 3Q
                                                                              shares2021年11月期３Ｑ     6,177,953株




            * Quarterly results are not subject to review by certified public accountants or audit firms.
 ※ 四半期決算短信は公認会計士又は監査法人の四半期レビューの対象外です

       * Explanation of appropriate use of earnings forecasts; other special instructions.
 ※ 業績予想の適切な利用に関する説明、その他特記事項
       Statements of details such as results forecasts herein reflect judgments based on currently
   本資料に記載されている業績見通し等の詳細に関する記述は、現時点で入手可能な情報に基づき判断した見通しであ
       available information and include significant uncertainties. Actual results may differ greatly due to
   り、多分に不確定な要素を含んでおります。また、実際の業績は業況の変化等により大きく異なる可能性がありま
       changes in conditions, etc. The company makes no representations as to the likelihood of forecast
   す。当社としてその実現を約束する趣旨のものではありません。
            realization.




                                                                JA2389
USCA4 Appeal: 23-1850         Doc: 45-5             Filed: 04/01/2024        Pg: 268 of 423

                                                                                                      PX-319




                Optoelectronics, Inc. (6664) Financial Results for the Third Quarter of the Fiscal Year Ending
                                                                                          November 30, 2022


          1. Qualitative information regarding current quarter results                                    2
          (1) Explanation of business performance                                                         2
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               (Optoelectronics, Inc. (6664) Financial Results for the Third Quarter of the Fiscal Year Ending
                                                                                          November 30, 2022

         1. Qualitative information regarding the current quarter results
         (1) Explanation of business performance
                   During the current consolidated cumulative third quarter (December 1, 2021 to August
         31, 2022), the world economy has been stagnant due to circumstances in Russia and Ukraine, as
         prices have risen rapidly. The outlook for manufacturing is also uncertain due to production
         stoppages, delivery delays, and rising procurement costs caused by tight supply and demand for
         semiconductor parts and soaring raw material prices. During the current 3Q, group sales and
         profits decreased compared to the same period of the previous year. Net sales for the current 3Q
         consolidated cumulative period were ¥5,453 million (down 16.7% year-on-year). Broken out by
         segment, Japan sales were ¥2,274 million (down 3.2% year-on-year), US sales were ¥1,114 million
         (down 50.9% year-on-year), and Europe, Asia, and other sales were ¥2,063 million (up 6.9% year-
         on-year).
                   Within Japan, sales of handy scanners and stationary scanners increased compared to
         the previous fiscal year, however overall sales decreased due to delivery delays caused by parts
         shortages and postponement of projects due to customer circumstances.

                   Overseas, sales in the United States fell sharply compared to the previous year due to
         termination of special demand project(s) in the previous fiscal year. In Europe, Asia and other
         regions, sales increased year-on-year in some regions such as Italy, France and Germany.
                   On the profit side, operating income was ¥375 million (down 66.5% year-on-year),
         ordinary income was ¥223 million (down 79.6% year-on-year), and net income returned to parent
         company shareholders was ¥1. 49 million (down 82.7% year-on-year). This was mainly due to a
         decrease in margins on products due to the steep rise in raw material prices.
                   Calculations in the current third quarter consolidated cumulative period are made using
         an exchange rate of 1 US dollar = ¥121.07 and 1 Euro = ¥133.63.

         (3) Explanation of future forecast information such as consolidated earnings forecasts
                   There are currently no changes to the earnings forecast announced December 23, 2021.
                   Prices are also rising rapidly around the world, and shortages of prices rises for
         semiconductor parts and have led to decreased sales and increased cost of sales due to delivery
         delays. We are currently continuing shipments and sales with minimal impact, but the situation
         regarding business performance demands vigilance.
                   We intend to promptly disclose any needed revisions to results forecasts according to
         circumstances.




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                Optoelectronics, Inc. (6664) Financial Results for the Third Quarter of the Fiscal Year
                                                        ㈱オプトエレクトロニクス（6664）2022年11月期                     Ending
                                                                                                     第３四半期決算短信
                                                                                          November 30, 2022
          2. Consolidated financial statement and notes for quarter
          㸰㸬ᅄ༙ᮇ㐃⤖㈈ົㅖ⾲ཬࡧ୺࡞ὀグ
          (1)㸦㸯㸧ᅄ༙ᮇ㐃⤖㈚೉ᑐ↷⾲
              Consolidated balance sheet for quarter
                                                                                                          (Unit:
                                                                                                          㸦༢఩㸸༓෇㸧¥1000)
                                                                         Previous
                                                                          ๓㐃⤖఍ィᖺᗘ consolidated FY   ᙜ➨㸱ᅄ༙ᮇ㐃⤖఍ィᮇ㛫
                                                                          ᖺ᭶᪥
                                                                         (11.30.2021)                  ᖺ㸶᭶᪥
           Assets
           ㈨⏘ࡢ㒊
              Current
              ὶື㈨⏘
              Assets
                  Cash and Deposits
                  ⌧㔠ཬࡧ㡸㔠                                                                             
                  Notes and accounts receivable
                  ཷྲྀᡭᙧཬࡧ኎᥃㔠                                                                          
                  Goods and products
                  ၟရཬࡧ〇ရ                                                                             
                  Work
                  ௙᥃ရ   in progress                                                                       
                  Raw  materials and supplies
                  ཎᮦᩱཬࡧ㈓ⶶရ                                                                             
                  Other
                  ࡑࡢ௚                                                                                    
                  Bad loan reserves
                  ㈚ಽᘬᙜ㔠                                                                 ‫ڹ‬                ‫ڹ‬
                  Total
                  ὶື㈨⏘ྜィcurrent assets                                                              
             ᅛᐃ㈨⏘
             Fixed Assets
                 Tangible fixed assets
                 ᭷ᙧᅛᐃ㈨⏘
                   Buildings
                    ᘓ≀ཬࡧᵓ⠏≀㸦⣧㢠㸧and structures (net)                                                  
                   Machinery    and delivery equipment (net)
                    ᶵᲔ⿦⨨ཬࡧ㐠ᦙල㸦⣧㢠㸧                                                                         
                   Tools,  instruments, and equipment (net)
                    ᕤලࠊჾලཬࡧഛရ㸦⣧㢠㸧                                                                        
                   Land
                    ᅵᆅ                                                                                   
                   Lease  assets (net)
                    ࣮ࣜࢫ㈨⏘㸦⣧㢠㸧                                                                                
                   Construction
                    ᘓタ௬຺ᐃin progress                                                                        
                   Total tangible fixed assets
                    ᭷ᙧᅛᐃ㈨⏘ྜィ                                                                         
                 Intangible fixed assets
                 ↓ᙧᅛᐃ㈨⏘
                    Other
                     ࡑࡢ௚                                                                                 
                     ↓ᙧᅛᐃ㈨⏘ྜィ
                    Intangible fixed assets total                                                        
                 Investments and other assets
                 ᢞ㈨ࡑࡢ௚ࡢ㈨⏘
                    Investment
                     ᢞ㈨᭷౯ドๆ     securities                                                                   
                   Deferred
                     ⧞ᘏ⛯㔠㈨⏘  tax assets                                                                  
                     ࡑࡢ௚
                   Other                                                                                 
                     Total investments and other assets
                     ᢞ㈨ࡑࡢ௚ࡢ㈨⏘ྜィ                                                                          
                Total
                 ᅛᐃ㈨⏘ྜィfixed assets                                                                  
             Total
             ㈨⏘ྜィ  assets                                                                          




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                                                                    ㈱オプトエレクトロニクス（6664）2022年11月期 第３四半期決算短信
                 Optoelectronics, Inc. (6664) Financial Results for the Third Quarter of the Fiscal Year Ending
                                                                                           November 30, 2022
                                                                                                                  (Unit: ¥1000)
                                                                                                                  㸦༢఩㸸༓෇㸧
                                                                         Previous consolidated FY
                                                                            ๓㐃⤖఍ィᖺᗘ                  Current 3Q consolidated
                                                                                                     ᙜ➨㸱ᅄ༙ᮇ㐃⤖఍ィᮇ㛫
                                                                         (11.30.2021)
                                                                            ᖺ᭶᪥              FY period (8.31.2022)
                                                                                                          ᖺ㸶᭶᪥
           Liabilities
           ㈇മࡢ㒊
               Current
               ὶື㈇മ     Liabilities
                   Notes  payable, accounts payable
                    ᨭᡶᡭᙧཬࡧ㈙᥃㔠                                                                                   
                    Short term borrowing
                    ▷ᮇ೉ධ㔠                                                                                       
                    Long term borrowing scheduled for repayment within 1 year
                    㸯ᖺෆ㏉῭ணᐃࡢ㛗ᮇ೉ධ㔠                                                                           
                    Corporate
                    ᮍᡶἲே⛯➼     taxes owed, etc.                                                                   
                    ㈹୚ᘬᙜ㔠bonuses
                    Reserve  for                                                                㸫                       
                    Reserve for litigation losses
                    ッゴᦆኻᘬᙜ㔠                                                                                     
                    Other
                    ࡑࡢ௚                                                                                         
                   Total current liabilities
                    ὶື㈇മྜィ                                                                                  
              Fixed
               ᅛᐃ㈇മ   Debt
                   Long
                    㛗ᮇ೉ධ㔠term borrowing                                                                     
                   Lease
                    ࣮ࣜࢫമົ obligations                                                                               
                   Deferred
                    ⧞ᘏ⛯㔠㈇മ   tax liabilities                                                                      
                   Other
                    ࡑࡢ௚                                                                                             
                   Total fixed debt
                    ᅛᐃ㈇മྜィ                                                                                  
               Total
               ㈇മྜィ   debt                                                                                  
           Net Assets
           ⣧㈨⏘ࡢ㒊
             Shareholder
               ᰴ୺㈨ᮏ equity
                  Capital
                   ㈨ᮏ㔠                                                                                          
                  Capital
                   ㈨ᮏ๫వ㔠   surplus                                                                              
                  Earned
                   ฼┈๫వ㔠   surplus                                                                          
                  Treasury
                   ⮬ᕫᰴᘧ      stock                                                       ‫ڹ‬                    ‫ڹ‬
                  Total
                   ᰴ୺㈨ᮏྜィshareholder equity                                                                 
               Other accumulated comprehensive income
               ࡑࡢ௚ࡢໟᣓ฼┈⣼ィ㢠
                  Valuation   difference on other securities
                   ࡑࡢ௚᭷౯ドๆホ౯ᕪ㢠㔠                                                             ‫ڹ‬                           
                  Currency
                   Ⅽ᭰᥮⟬ㄪᩚ຺ᐃ adjustment account
                             conversion                                                 ‫ڹ‬                       
                  Total  comprehensive income accumulated amount
                   ࡑࡢ௚ࡢໟᣓ฼┈⣼ィ㢠ྜィ                                                        ‫ڹ‬                       
              Total
               ⣧㈨⏘ྜィnet assets                                                                              
           Total Liabilities and Equity
           ㈇മ⣧㈨⏘ྜィ                                                                                        




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                                                                                                                              PX-319




                  Optoelectronics, Inc. (6664) Financial Results for the Third Quarter of the Fiscal Year Ending
                                                                                            November 30, 2022

         2. Quarterly Consolidated Statements of Income and Comprehensive Income
         (Quarterly consolidated income statement)
                                                      ㈱オプトエレクトロニクス（6664）2022年11月期                                          第３四半期決算短信
          (3Q consolidated cumulative period)
            㸦㸰㸧ᅄ༙ᮇ㐃⤖ᦆ┈ィ⟬᭩ཬࡧᅄ༙ᮇ㐃⤖ໟᣓ฼┈ィ⟬᭩
               㸦ᅄ༙ᮇ㐃⤖ᦆ┈ィ⟬᭩㸧
                 㸦➨㸱ᅄ༙ᮇ㐃⤖⣼ィᮇ㛫㸧
                                                                                                                     (Unit: ¥1000)
                                                                                                                     㸦༢఩㸸༓෇㸧
                                                                         Previous 3Q consolidated
                                                                       ๓➨㸱ᅄ༙ᮇ㐃⤖⣼ィᮇ㛫                       Current 3Q consolidated
                                                                                                       ᙜ➨㸱ᅄ༙ᮇ㐃⤖⣼ィᮇ㛫
                                                                       cumulative period (12.1.2020 to cumulative
                                                                          ⮬ࠉᖺ᭶㸯᪥                            period (12.1.2021 to
                                                                                                          ⮬ࠉᖺ᭶㸯᪥
                                                                                 8.31.2021)
                                                                         ࠉ⮳ࠉᖺ㸶᭶᪥                           8.31.2022)
                                                                                                         ࠉ⮳ࠉᖺ㸶᭶᪥
            ኎ୖ㧗 Sales                                                                                            
            ኎ୖཎ౯
            Cost of sales                                                                                        
            ኎ୖ⥲฼┈
           Gross  profit on sales                                                                                
            ㈍኎㈝ཬࡧ୍⯡⟶⌮㈝
           Selling, general, and admin. expense                                                                  
           Operating
            Ⴀᴗ฼┈income                                                                                             
           Non-operating
            Ⴀᴗእ཰┈ income
              Interest
               ཷྲྀ฼ᜥ    income                                                                                               
              Rents
               ཷྲྀ㈤㈚ᩱ received                                                                                           
              Other
               ࡑࡢ௚                                                                                                          
              Total non-operating income
               Ⴀᴗእ཰┈ྜィ                                                                                                  
           Non-operating
            Ⴀᴗእ㈝⏝ expenses
             Interest
               ᨭᡶ฼ᜥ   paid                                                                                              
             Exchange
               Ⅽ᭰ᕪᦆlosses                                                                        㸫                           
             Loss  on disposal of fixed assets
               ᅛᐃ㈨⏘㝖༷ᦆ                                                                                                      
             Commissions
               ᨭᡶᡭᩘᩱ paid                                                                                                
              Other
                ࡑࡢ௚                                                                                                              㸫
                Total non-operating expenses
                Ⴀᴗእ㈝⏝ྜィ                                                                                                
           Ordinary
            ⤒ᖖ฼┈income                                                                                              
            Net  quarterly profit before taxes
            ⛯㔠➼ㄪᩚ๓ᅄ༙ᮇ⣧฼┈                                                                                            
            Corporate,
            ἲே⛯ࠊఫẸ⛯ཬࡧ஦ᴗ⛯ resident, and business taxes                                                                  
           Corporate
            ἲே⛯➼ㄪᩚ㢠    tax adjustment amount                                                                             
           Total corporate and other taxes
            ἲே⛯➼ྜィ                                                                                                     
           Quarterly
            ᅄ༙ᮇ⣧฼┈    net profit                                                                                      
           Quarterly  profits to shareholders of parent company
            ぶ఍♫ᰴ୺࡟ᖐᒓࡍࡿᅄ༙ᮇ⣧฼┈                                                                                          




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                 Optoelectronics, Inc. (6664) Financial Results for the Third Quarter of the Fiscal Year Ending
                                                                                           November 30, 2022
                                                                   ㈱オプトエレクトロニクス（6664）2022年11月期 第３四半期決算短信

         (Quarterly Consolidated Statement of Comprehensive Income)
             㸦ᅄ༙ᮇ㐃⤖ໟᣓ฼┈ィ⟬᭩㸧
         (3Q Consolidated Cumulative Period)
                㸦➨㸱ᅄ༙ᮇ㐃⤖⣼ィᮇ㛫㸧
                                                                                                                  Unit: ¥1000
                                                                                                                 㸦༢఩㸸༓෇㸧
                                                                      Previous 3Q consolidated
                                                                    ๓➨㸱ᅄ༙ᮇ㐃⤖⣼ィᮇ㛫                       Current 3Q consolidated
                                                                                                    ᙜ➨㸱ᅄ༙ᮇ㐃⤖⣼ィᮇ㛫
                                                                    cumulative period (12.1.2020 to cumulative
                                                                       ⮬ࠉᖺ᭶㸯᪥                            period (12.1.2021 to
                                                                                                      ⮬ࠉᖺ᭶㸯᪥
                                                                              8.31.2021)
                                                                     ࠉ⮳ࠉᖺ㸶᭶᪥                            8.31.2022)
                                                                                                     ࠉ⮳ࠉᖺ㸶᭶᪥
           Quarterly
           ᅄ༙ᮇ⣧฼┈    net income                                                                                   
           Other comprehensive income
           ࡑࡢ௚ࡢໟᣓ฼┈
             Other  valuation differences on securities
              ࡑࡢ௚᭷౯ドๆホ౯ᕪ㢠㔠                                                                                                
             Foreign
              Ⅽ᭰᥮⟬ㄪᩚ຺ᐃcurrency exchange adjustment account                                                        
              ࡑࡢ௚ࡢໟᣓ฼┈ྜィ
              Total  other comprehensive income                                                                   
           Quarterly
           ᅄ༙ᮇໟᣓ฼┈   comprehensive income                                                                       
           㸦ෆヂ㸧
           (Breakdown)
          Quarterly comprehensive income pertaining to parent company shareholders
              ぶ఍♫ᰴ୺࡟ಀࡿᅄ༙ᮇໟᣓ฼┈                                                                                   




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                Optoelectronics, Inc. (6664) Financial Results for the Third Quarter of the Fiscal Year Ending
                                                                                          November 30, 2022
         (3) Notes on quarterly consolidated financial statements
         (Notes regarding going concern assumptions)
         No applicable items.

         (Notes on extraordinary fluctuations in shareholder equity)
         No applicable items.

         (Changes in accounting policies)
         (Application of accounting standards for revenue recognition)
                 "Accounting Standard for Revenue Recognition" (ASBJ Statement No. 29, 3.31.2020;
         "Revenue Recognition Accounting Standard" below) has been applied from the start of the 1Q
         consolidated accounting period, and we made a determination to recognize revenue in the
         amount expected to be received for goods or services as of the transfer of control of promised
         goods or services to a customer. Thus for chargeable supply transactions for which it is judged that
         the company has a substantial repurchase obligation, [the company] continues to recognize
         inventory assets as financial transactions, and recognizes a financial liability for end of period
         inventory amounts for supplied goods remaining at the [premises] of the supply recipient being
         charged.
                   The application of revenue recognition accounting standards, etc. follows the transitional
         treatment stipulated in the provisos of paragraph 84 of the revenue recognition accounting
         standard; the cumulative effects when new accounting policies are retroactively applied before
         the beginning of the first quarter consolidated accounting period are added to or subtracted from
         retained earnings at the beginning of the first quarter consolidated accounting period, and the
         new accounting policy applied to the balance at the start of the subject period, however no
         adjustment is made to the balance of retained earnings at the beginning of the period, given that
         the effect of retained earnings on balances at the beginning of said period is minor.
                   The impact of applying the revenue recognition accounting standard to P/L for the
         current 3Q consolidated cumulative period is therefore minor.

         (Application of accounting standards, etc. on the calculation of market price)
                   "Accounting standards for the calculation of market prices" (ASBJ Standard No. 30, July 4,
         2019; "Market Value Accounting Standards" below) and the like are applied from the start of the
         period for the 1Q consolidated accounting period and, in accordance with the transitional
         treatment set forth in Market Value Accounting Standards, Par. 19, and "Accounting Standards for
         Financial Instruments" (Corporate Accounting Standard No. 10, July 4, 2019) Par. 44-2, it has been
         determined that new accounting policies under the Market Value Accounting Standards will be
         applied in future. This will have no impact on quarterly consolidated financial statements.




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                 Optoelectronics, Inc. (6664) Financial Results for the Third Quarter of the Fiscal Year Ending
                                                                                           November 30, 2022

         (Segment information, etc.)
                                                            ㈱オプトエレクトロニクス（6664）2022年11月期 第３四半期決算短信
                 [Segment Information]

             㸦ࢭࢢ࣓ࣥࢺ᝟ሗ➼㸧
         I Previous consolidated cumulative 3Q (December 1, 2020 to August 31, 2021)
                ࠙ࢭࢢ࣓ࣥࢺ᝟ሗࠚ
                  1 Information on sales and profit or loss amounts for each reported segment.
          Ϩࠉ๓➨㸱ᅄ༙ᮇ㐃⤖⣼ィᮇ㛫 ⮬ᖺ᭶㸯᪥⮳ᖺ㸶᭶᪥
           㸯ሗ࿌ࢭࢢ࣓ࣥࢺࡈ࡜ࡢ኎ୖ㧗ཬࡧ฼┈ཪࡣᦆኻࡢ㔠㢠࡟㛵ࡍࡿ᝟ሗ
                                                                                                            (Unit:
                                                                                                            㸦༢఩㸸༓෇㸧¥1000)
                                                                                                   Adjustment   ᅄ༙ᮇ㐃⤖
                                                                                                                    Quarterly
                                                             Reported Segment
                                                             ሗ࿌ࢭࢢ࣓ࣥࢺ                                             Consolidated P/L
                                                                                                    ㄪᩚ㢠
                                                                                                    Amount      ᦆ┈ィ⟬᭩
                                                                                                                Calculation Sheet
                                                                       Europe, Asia,
                                                                      Ḣᕞ࣭࢔ࢪ࢔            Total       㸦ὀ㸧
                                                                                                    (Note 1)        ィୖ㢠
                                              Japan
                                              ᪥ᮏ            US
                                                           ⡿ᅜ                           ྜィ                      Reported  Amount
                                                                          Other
                                                                           ௚                                          ὀ2)
                                                                                                                    (Note

          Sales
           ኎ୖ㧗
           (1) 㸧እ㒊㢳ᐈ࡬ࡢ኎ୖ㧗
               Sales to external customers                             㸫       
           (2) 㸧ࢭࢢ࣓ࣥࢺ㛫ࡢෆ㒊኎ୖ㧗
               Internal sales or transfers
          between segments                                          ‫ڹ‬                  㸫
                ཪࡣ᣺᭰㧗
                       Total
                        ィ                                    ‫ڹ‬        
          Segment
           ࢭࢢ࣓ࣥࢺ฼┈Profit                                                       
          ࠉ㸦ὀ㸧ࢭࢢ࣓ࣥࢺ฼┈ࡢㄪᩚ㢠ࡣࠊࢭࢢ࣓ࣥࢺ㛫ࡢྲྀᘬᾘཤ࡛࠶ࡾࡲࡍࠋ

         (Notes) ࢭࢢ࣓ࣥࢺ฼┈ࡣࠊᅄ༙ᮇ㐃⤖ᦆ┈ィ⟬᭩ࡢႠᴗ฼┈࡜ㄪᩚࢆ⾜ࡗ࡚࠾ࡾࡲࡍࠋ
                   1. Segment profit adjustments are deletions of transactions between segments.
           㸰㸬ሗ࿌ࢭࢢ࣓ࣥࢺࡈ࡜ࡢᅛᐃ㈨⏘ࡢῶᦆᦆኻཪࡣࡢࢀࢇ➼࡟㛵ࡍࡿ᝟ሗ
                   2. Segment profits have been adjusted with the operating income [listed] in the quarterly
             ࠉヱᙜ஦㡯ࡣ࠶ࡾࡲࡏࢇࠋ
         consolidated income statement.
          ϩࠉᙜ➨㸱ᅄ༙ᮇ㐃⤖⣼ィᮇ㛫 ⮬ᖺ᭶㸯᪥⮳ᖺ㸶᭶᪥
         2. 㸯ሗ࿌ࢭࢢ࣓ࣥࢺࡈ࡜ࡢ኎ୖ㧗ཬࡧ฼┈ཪࡣᦆኻࡢ㔠㢠࡟㛵ࡍࡿ᝟ሗ୪ࡧ࡟཰┈ࡢศゎ᝟ሗ
            Information such as fixed asset impairment losses, goodwill, etc. for each reporting segment:
         No applicable items.                                                                  㸦༢఩㸸༓෇㸧
                                                             ሗ࿌ࢭࢢ࣓ࣥࢺ                                             ᅄ༙ᮇ㐃⤖
                                                                                                    ㄪᩚ㢠          ᦆ┈ィ⟬᭩
                                                                      Ḣᕞ࣭࢔ࢪ࢔                        㸦ὀ㸧          ィୖ㢠
                                              ᪥ᮏ           ⡿ᅜ                           ྜィ
                                                                         ௚                                         ὀ
          ኎ୖ㧗
         II Current  consolidated cumulative
             㢳ᐈ࡜ࡢዎ⣙࠿ࡽ⏕ࡌࡿ཰┈
                                              3Q (December
                                            
                                                              1, 2021  to August
                                                                  
                                                                                 31, 2022)
                                                                                       㸫    
         1 Information
             㸧እ㒊㢳ᐈ࡬ࡢ኎ୖ㧗
                         on  the amount of sales and
                                         
                                                     profit or
                                                     
                                                               loss by reporting
                                                                  
                                                                                 segment,
                                                                              
                                                                                           and information
                                                                                                㸫    
         about  division of profits
             㸧ࢭࢢ࣓ࣥࢺ㛫ࡢෆ㒊኎ୖ㧗
                                                                   ‫ڹ‬                  㸫
                ཪࡣ᣺᭰㧗
                         ィ                                   ‫ڹ‬        
          ࢭࢢ࣓ࣥࢺ฼┈ཪࡣᦆኻ㸦‫ڹ‬㸧                             ‫ڹ‬                    ‫ڹ‬           
          ࠉ㸦ὀ㸧ࢭࢢ࣓ࣥࢺ฼┈ཪࡣᦆኻ㸦‫ڹ‬㸧ࡢㄪᩚ㢠ࡣࠊࢭࢢ࣓ࣥࢺ㛫ࡢྲྀᘬᾘཤ࡛࠶ࡾࡲࡍࠋ
              ࢭࢢ࣓ࣥࢺ฼┈ཪࡣᦆኻ㸦‫ڹ‬㸧ࡣࠊᅄ༙ᮇ㐃⤖ᦆ┈ィ⟬᭩ࡢႠᴗ฼┈࡜ㄪᩚࢆ⾜ࡗ࡚࠾ࡾࡲࡍࠋ


           㸰㸬ሗ࿌ࢭࢢ࣓ࣥࢺࡢኚ᭦➼࡟㛵ࡍࡿ஦㡯
             ࠉ఍ィ᪉㔪ࡢኚ᭦࡟グ㍕ࡢ࡜࠾ࡾࠊ➨㸯ᅄ༙ᮇ㐃⤖఍ィᮇ㛫ࡢᮇ㤳࠿ࡽ཰┈ㄆ㆑఍ィᇶ‽➼ࢆ㐺⏝ࡋࠊ཰┈ㄆ㆑࡟㛵
             ࡍࡿ఍ィฎ⌮᪉ἲࢆኚ᭦ࡋࡓࡓࡵࠊ஦ᴗࢭࢢ࣓ࣥࢺࡢ฼┈ཪࡣᦆኻࡢ⟬ᐃ᪉ἲࢆྠᵝ࡟ኚ᭦ࡋ࡚࠾ࡾࡲࡍࡀࠊࢭࢢ࣓
             ࣥࢺ฼┈ཪࡣᦆኻ㸦‫ڹ‬㸧࡟୚࠼ࡿᙳ㡪ࡣ㍍ᚤ࡛࠶ࡾࡲࡍࠋ


           㸱㸬ሗ࿌ࢭࢢ࣓ࣥࢺࡈ࡜ࡢᅛᐃ㈨⏘ࡢῶᦆᦆኻཪࡣࡢࢀࢇ➼࡟㛵ࡍࡿ᝟ሗ
             ࠉヱᙜ஦㡯ࡣ࠶ࡾࡲࡏࢇࠋ




                                                            JA2397
          ࢭࢢ࣓ࣥࢺ฼┈                                                                 
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         ࠉ㸦ὀ㸧ࢭࢢ࣓ࣥࢺ฼┈ࡢㄪᩚ㢠ࡣࠊࢭࢢ࣓ࣥࢺ㛫ࡢྲྀᘬᾘཤ࡛࠶ࡾࡲࡍࠋ                                              Pg: 276 of 423
                  ࢭࢢ࣓ࣥࢺ฼┈ࡣࠊᅄ༙ᮇ㐃⤖ᦆ┈ィ⟬᭩ࡢႠᴗ฼┈࡜ㄪᩚࢆ⾜ࡗ࡚࠾ࡾࡲࡍࠋ


           㸰㸬ሗ࿌ࢭࢢ࣓ࣥࢺࡈ࡜ࡢᅛᐃ㈨⏘ࡢῶᦆᦆኻཪࡣࡢࢀࢇ➼࡟㛵ࡍࡿ᝟ሗ
                                                                                                                         PX-319
             ࠉヱᙜ஦㡯ࡣ࠶ࡾࡲࡏࢇࠋ


         ϩࠉᙜ➨㸱ᅄ༙ᮇ㐃⤖⣼ィᮇ㛫 ⮬ᖺ᭶㸯᪥⮳ᖺ㸶᭶᪥
           㸯ሗ࿌ࢭࢢ࣓ࣥࢺࡈ࡜ࡢ኎ୖ㧗ཬࡧ฼┈ཪࡣᦆኻࡢ㔠㢠࡟㛵ࡍࡿ᝟ሗ୪ࡧ࡟཰┈ࡢศゎ᝟ሗ
                                                                                                                (Unit: ¥1000)
                                                                                                               㸦༢఩㸸༓෇㸧
                                                                Reported Segment
                                                                ሗ࿌ࢭࢢ࣓ࣥࢺ                               Adjustment  ᅄ༙ᮇ㐃⤖
                                                                                                                      Quarterly
                                                                                                                  Consolidated P/L
                                                                                                       ㄪᩚ㢠
                                                                                                       Amount     ᦆ┈ィ⟬᭩
                                                                                                                  Calculation Sheet
                                                                         Ḣᕞ࣭࢔ࢪ࢔
                                                                          Europe, Asia,                㸦ὀ㸧
                                                                                                       (Note 1)      ィୖ㢠
                                                                                                                  Reported  Amount
                                                  Japan
                                                   ᪥ᮏ          US
                                                              ⡿ᅜ
                                                                              ௚            Total
                                                                                           ྜィ
                                                                             Other                                      ὀ2)
                                                                                                                      (Note

         Sales
          ኎ୖ㧗
         Revenue    from contracts w customers
             㢳ᐈ࡜ࡢዎ⣙࠿ࡽ⏕ࡌࡿ཰┈                                                 㸫      
         (1) Sales to external customers
              㸧እ㒊㢳ᐈ࡬ࡢ኎ୖ㧗                                                  㸫      
               㸧ࢭࢢ࣓ࣥࢺ㛫ࡢෆ㒊኎ୖ㧗
         (2) Internal sales or transfers
                                                                      ‫ڹ‬                  㸫
         betweenཪࡣ᣺᭰㧗
                   segments
                         Total
                          ィ                                     ‫ڹ‬        
         Segment Profit or Loss (delta)
         ࢭࢢ࣓ࣥࢺ฼┈ཪࡣᦆኻ㸦‫ڹ‬㸧                                ‫ڹ‬                      ‫ڹ‬         
         ࠉ㸦ὀ㸧ࢭࢢ࣓ࣥࢺ฼┈ཪࡣᦆኻ㸦‫ڹ‬㸧ࡢㄪᩚ㢠ࡣࠊࢭࢢ࣓ࣥࢺ㛫ࡢྲྀᘬᾘཤ࡛࠶ࡾࡲࡍࠋ
                  ࢭࢢ࣓ࣥࢺ฼┈ཪࡣᦆኻ㸦‫ڹ‬㸧ࡣࠊᅄ༙ᮇ㐃⤖ᦆ┈ィ⟬᭩ࡢႠᴗ฼┈࡜ㄪᩚࢆ⾜ࡗ࡚࠾ࡾࡲࡍࠋ

         (Notes)
           㸰㸬ሗ࿌ࢭࢢ࣓ࣥࢺࡢኚ᭦➼࡟㛵ࡍࡿ஦㡯
           1.ࠉ఍ィ᪉㔪ࡢኚ᭦࡟グ㍕ࡢ࡜࠾ࡾࠊ➨㸯ᅄ༙ᮇ㐃⤖఍ィᮇ㛫ࡢᮇ㤳࠿ࡽ཰┈ㄆ㆑఍ィᇶ‽➼ࢆ㐺⏝ࡋࠊ཰┈ㄆ㆑࡟㛵
              The amount of adjustment to segment profit or loss (Δ) deletes transacqons between
           segments.
            ࡍࡿ఍ィฎ⌮᪉ἲࢆኚ᭦ࡋࡓࡓࡵࠊ஦ᴗࢭࢢ࣓ࣥࢺࡢ฼┈ཪࡣᦆኻࡢ⟬ᐃ᪉ἲࢆྠᵝ࡟ኚ᭦ࡋ࡚࠾ࡾࡲࡍࡀࠊࢭࢢ࣓
           2.ࣥࢺ฼┈ཪࡣᦆኻ㸦‫ڹ‬㸧࡟୚࠼ࡿᙳ㡪ࡣ㍍ᚤ࡛࠶ࡾࡲࡍࠋ
              Segment profits or losses (Δ) are adjusted with the quarterly consolidated income statement
           operaqng income.
           㸱㸬ሗ࿌ࢭࢢ࣓ࣥࢺࡈ࡜ࡢᅛᐃ㈨⏘ࡢῶᦆᦆኻཪࡣࡢࢀࢇ➼࡟㛵ࡍࡿ᝟ሗ
         2. Items pertaining to changes, etc. in reporqng segments
              ࠉヱᙜ஦㡯ࡣ࠶ࡾࡲࡏࢇࠋ
                 As noted in accounting policy changes, because accounting standards for revenue
         recognition, etc. are applied from the start of the 1Q consolidated accounting period, and the
         accounting method for revenue recognition was changed, [we] have similarly changed the method
         for calculation of profit or loss of business segments, however the effect [thereof] on segment
         profit or loss (Δ) is minor.

         3. Information pertaining to impairment losses for fixed assets or goodwill, etc. for each
         reporting segment.
         No applicable items.

                                                                 - 8 -




                                                                 -8-




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                                                                                                    PX-319




                                          Christopher Field
                            Japanese Technical Interpreting and Translation
                     52 Sherman’s Bridge Rd., Wayland MA 01778 Tel. 617-905-6060
                                      www.christopherfield.com




                                                  \Jerifyatwww.atanet.c.glvet1fy




                               CERTIFICATION OF TRANSLATION
              I, Christopher L. Field, residing at 52 Sherman’s Bridge Rd., Wayland MA, 01778,
              United States of America, declare and state as follows:

              I am well acquainted with the English and Japanese languages. I have translated
              numerous Japanese documents of legal and/or technical content into English. I
              am fully accredited by the American Translators Association (ATA) for Japanese
              to English translation, and my ATA certification number is 423514.

              I have personally translated the attached document, entitled "3Q JASDAQ
              regulatory filing dated 9-22-22" from Japanese into English. I hereby certify
              that the English translation of the attached documents is an accurate translation
              to the best of my knowledge and ability.

              I further declare that all statements made herein of my own knowledge are true,
              that all statements made on information and belief are believed to be true, and
              that these statements were made with the knowledge that willful false statements
              and the like so made are punishable by fine or imprisonment, or both, under
              Section 1001 of Title 18 of the United States Code.

              Executed at West Tisbury, Massachusetts, 10 July, 2023.



                    Signed,_____________________________

                    Christopher Field

                    ATA Certified Translator, Japanese to English, Certificate No. 423514




                                                   JA2399
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                                                                                                                                            PX-319




            ::OPTICON                                                                                                                        ld:J
                             2022年11月期 第３四半期決算短信〔日本基準〕（連結）
                                                                                                                                           2022年９月22日
            上場会社名         株式会社オプトエレクトロニクス                                                                         上場取引所 東
            コード番号         6664 ＵＲＬ https://www.opto.co.jp/
            代表者           （役職名） 代表取締役社長                                        （氏名）俵 政美
            問合せ先責任者 （役職名） 執行役員管理部部長                                            （氏名）石川 勝利                          ＴＥＬ 048-446-1181
            四半期報告書提出予定日   2022年９月22日                                           配当支払開始予定日 －
            四半期決算補足説明資料作成の有無：無
            四半期決算説明会開催の有無      ：無

                                                                                                                                     （百万円未満切捨て）
            １．2022年11月期第３四半期の連結業績（2021年12月１日～2022年８月31日）
             （１）連結経営成績（累計）                                                                                  （％表示は、対前年同四半期増減率）
                                                                                                                                     親会社株主に帰属する
                                     売上高                                    営業利益                       経常利益
                                                                                                                                       四半期純利益

                                    百万円                ％                  百万円              ％           百万円                   ％             百万円           ％
             2022年11月期第３四半期          5,453       △16.7                       375        △66.5               223        △79.6                149       △82.7
             2021年11月期第３四半期          6,549           33.5                   1,121          －              1,096              －              864          －
                                             I               I                      I           I                 I              I                I           I
            （注）包括利益      2022年11月期第３四半期                937百万円（ △22.3％）                      2021年11月期第３四半期                           1,206百万円 （－％）


                                                                        潜在株式調整後
                                   １株当たり
                                                                         １株当たり
                                  四半期純利益
                                                                        四半期純利益

                                                     円 銭                                円 銭
             2022年11月期第３四半期                          24.17                                 －
             2021年11月期第３四半期                      139.96 I                                  － I


             （２）連結財政状態
                                         総資産                                               純資産                                       自己資本比率

                                                                 百万円                                      百万円                                            ％
             2022年11月期第３四半期                                      14,407                                     5,983                                      41.5
             2021年11月期                                           12,769 I                                   5,045                                      39.5

            （参考）自己資本          2022年11月期第３四半期                              5,983百万円              2021年11月期                    5,045百万円

            ２．配当の状況
                                                                                         年間配当金
                                第１四半期末                       第２四半期末                     第３四半期末                         期末                    合計
                                             円 銭                            円 銭                     円 銭                          円 銭                  円 銭
             2021年11月期                           －                          0.00                      －                          0.00                  0.00
             2022年11月期                           －                          0.00                      －
             2022年11月期（予想）                                                                                                       0.00                  0.00
            （注）直近に公表されている配当予想からの修正の有無：無



            ３．2022年11月期の連結業績予想（2021年12月１日～2022年11月30日）
                                                                                                                        （％表示は、対前期増減率）
                                                                                                               親会社株主に帰属                     １株当たり
                                  売上高                            営業利益                      経常利益
                                                                                                               する当期純利益                      当期純利益

                                百万円              ％           百万円               ％         百万円           ％              百万円             ％               円 銭
                   通期            7,318   △12.0                    699       △40.6           686     △40.4              456           1.8              73.81
            （注）直近に公表されている業績予想からの修正の有無：無




                                                                  I JA2400 I
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            ※ 注記事項
             （１）当四半期連結累計期間における重要な子会社の異動（連結範囲の変更を伴う特定子会社の異動）：無

             （２）四半期連結財務諸表の作成に特有の会計処理の適用：無


             （３）会計方針の変更・会計上の見積りの変更・修正再表示
               ① 会計基準等の改正に伴う会計方針の変更    ：有
               ② ①以外の会計方針の変更           ：無
               ③ 会計上の見積りの変更            ：無
               ④ 修正再表示                 ：無
               （注）詳細は、添付資料７ページ「２．四半期連結財務諸表及び主な注記（３）四半期連結財務諸表に関する注記
                  事項（会計方針の変更）」をご覧ください。

             （４）発行済株式数（普通株式）
               ① 期末発行済株式数（自己株式を含む） 2022年11月期３Ｑ      6,578,000株     2021年11月期      6,578,000株
                ② 期末自己株式数             2022年11月期３Ｑ       400,047株   2021年11月期       400,047株
                ③ 期中平均株式数（四半期累計）      2022年11月期３Ｑ   6,177,953株     2021年11月期３Ｑ    6,177,953株




            ※ 四半期決算短信は公認会計士又は監査法人の四半期レビューの対象外です

            ※ 業績予想の適切な利用に関する説明、その他特記事項
              本資料に記載されている業績見通し等の詳細に関する記述は、現時点で入手可能な情報に基づき判断した見通しであ
              り、多分に不確定な要素を含んでおります。また、実際の業績は業況の変化等により大きく異なる可能性がありま
              す。当社としてその実現を約束する趣旨のものではありません。




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            １．当四半期決算に関する定性的情報
             （１）経営成績に関する説明
                当第３四半期連結累計期間（2021年12月１日～2022年８月31日）は、ロシア・ウクライナ情勢等により世界経済
               が停滞する一方、物価上昇が急速に進んでおります。製造業においても、半導体部品等の需給逼迫及び原材料価格
               の高騰により、生産停止、納期遅延、調達価格の上昇等の影響を受け、先行きが不透明な状況となっております。
                当第３四半期連結累計期間における当社グループは、前年同期比にて減収減益となりました。
                当第３四半期連結累計期間の売上高は、54億53百万円（前年同期比16.7％減）となりました。
                セグメントの内訳を示しますと、日本では22億74百万円（前年同期比3.2％減）、米国は11億14百万円（前年同期
               比50.9％減）、欧州・アジア他は20億63百万円（前年同期比6.9％増）となりました。
                日本国内においては、ハンディスキャナ及び定置式スキャナが前年度比で売上増となりましたが、部品逼迫によ
               る納期遅延や顧客都合による案件の延期等が継続しており、全体で売上減となりました。
                海外においては、米国では前年度の特需案件の終了により前年度比で大幅な売上減となりました。欧州・アジア
               他では、イタリア・フランス・ドイツ等の一部地域において前年度比で売上増となりました。
                利益面では、営業利益が３億75百万円（前年同期比66.5％減）、経常利益が２億23百万円（前年同期比79.6％
               減）、親会社株主に帰属する四半期純利益が１億49百万円（前年同期比82.7％減）となりました。原材料等の価格
               高騰により、製品の利益率が低下したことが主な要因であります。
                なお、当第３四半期連結累計期間においての為替レートは、１ドル＝121.07円、１ユーロ＝133.63円で算出して
               おります。


             （２）財政状態に関する説明
                当第３四半期連結会計期間末の総資産は144億７百万円となり、前連結会計年度末と比較して16億37百万円の増
                加となりました。主な要因は、製品在庫を確保するために商品及び製品が２億76百万円増加したこと及び部品在庫
                の確保並びに原材料価格の高騰に伴い原材料及び貯蔵品が６億59百万円増加したこと等により、流動資産合計が15
                億96百万円増加したことによるものです。
                 負債は84億24百万円となり前連結会計年度末と比較して７億円増加となりました。主な要因は、支払手形及び買
                掛金が５億37百万円増加したこと及び訴訟損失引当金が１億45百万円増加したこと等により流動負債合計が６億46
                百万円増加したことによるものです。
                 なお、純資産は59億83百万円となり、前連結会計年度末と比較して９億37百万円増加いたしました。


             （３）連結業績予想などの将来予測情報に関する説明
                現在のところ、2021年12月23日に公表した業績予想からの変更はございません。
                なお、世界的に物価上昇が急速に進んでおり、半導体部品の不足や価格高騰等の影響を受け、納期遅延等に伴う
               売上の減少及び原価率の上昇等が発生しております。現在は影響を最低限にとどめ出荷及び販売を継続しておりま
                すが、業績については予断を許さない状況となっております。
                 今後の状況により、新たに業績予想の修正が必要となった場合には、速やかに開示する予定であります。




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            ２．四半期連結財務諸表及び主な注記
             （１）四半期連結貸借対照表
                                                                        （単位：千円）
                                             前連結会計年度              当第３四半期連結会計期間
                                            (2021年11月30日)           (2022年８月31日)
             資産の部
              流動資産
                現金及び預金                                5,835,051            6,099,823
                受取手形及び売掛金                             1,498,446            1,675,885
                商品及び製品                                1,135,866            1,412,070
                仕掛品                                     144,613               93,908
                原材料及び貯蔵品                                718,708            1,378,194
                その他                                     417,426              689,919
                貸倒引当金                                  △49,874              △52,974
                流動資産合計                                9,700,238           11,296,827
              固定資産
                有形固定資産
                  建物及び構築物（純額）                         1,439,662              1,419,857
                  機械装置及び運搬具（純額）                         114,086                 97,712
                  工具、器具及び備品（純額）                         136,570                114,731
                  土地                                    554,178                554,178
                  リース資産（純額）                               8,951                  6,265
                  建設仮勘定                                   9,298                 47,897
                  有形固定資産合計                            2,262,748              2,240,644
                無形固定資産
                  その他                                   287,651                275,499
                  無形固定資産合計                              287,651                275,499
                投資その他の資産
                  投資有価証券                                  3,327                3,868
                  繰延税金資産                                372,761              435,914
                  その他                                   143,236              154,902
                  投資その他の資産合計                            519,324              594,685
                固定資産合計                                3,069,725            3,110,829
              資産合計                                   12,769,963           14,407,656




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                                                                        （単位：千円）
                                             前連結会計年度              当第３四半期連結会計期間
                                            (2021年11月30日)           (2022年８月31日)
             負債の部
              流動負債
                支払手形及び買掛金                               426,778                963,870
                短期借入金                                   163,337                133,340
                １年内返済予定の長期借入金                         2,306,730              2,186,244
                未払法人税等                                   87,806                 38,907
                賞与引当金                                        －                  29,741
                訴訟損失引当金                                 640,000                785,000
                その他                                     437,897                572,034
                流動負債合計                                4,062,550              4,709,137
              固定負債
                長期借入金                                 3,619,096              3,675,134
                リース債務                                     6,070                  3,061
                繰延税金負債                                   30,786                 30,821
                その他                                       5,713                  6,277
                固定負債合計                                3,661,666              3,715,294
              負債合計                                    7,724,216              8,424,432
             純資産の部
              株主資本
                資本金                                     942,415                942,415
                資本剰余金                                   219,136                219,136
                利益剰余金                                 4,401,764              4,551,068
                自己株式                                  △212,441               △212,441
                株主資本合計                                5,350,873              5,500,178
              その他の包括利益累計額
                その他有価証券評価差額金                              △170                   370
                為替換算調整勘定                              △304,955               482,674
                その他の包括利益累計額合計                         △305,126               483,045
              純資産合計                                   5,045,747            5,983,223
             負債純資産合計                                 12,769,963           14,407,656




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             （２）四半期連結損益計算書及び四半期連結包括利益計算書
               （四半期連結損益計算書）
                （第３四半期連結累計期間）
                                                                        （単位：千円）
                                         前第３四半期連結累計期間            当第３四半期連結累計期間
                                          (自 2020年12月１日           (自 2021年12月１日
                                           至 2021年８月31日)           至 2022年８月31日)
             売上高                                    6,549,937               5,453,848
             売上原価                                   3,587,457               3,170,748
             売上総利益                                  2,962,480               2,283,099
             販売費及び一般管理費                             1,840,989               1,907,696
             営業利益                                   1,121,490                 375,403
             営業外収益
              受取利息                                         973                  3,127
              受取賃貸料                                     14,055                 10,460
              その他                                        5,349                    730
              営業外収益合計                                   20,378                 14,319
             営業外費用
              支払利息                                     27,306                  31,569
              為替差損                                         －                  123,283
              固定資産除却損                                     980                   2,384
              支払手数料                                    17,545                   9,023
              その他                                           1                      －
              営業外費用合計                                  45,833                 166,261
             経常利益                                   1,096,035                 223,461
             税金等調整前四半期純利益                           1,096,035                 223,461
             法人税、住民税及び事業税                             210,187                  65,301
             法人税等調整額                                   21,211                   8,855
             法人税等合計                                   231,398                  74,156
             四半期純利益                                   864,637                 149,304
             親会社株主に帰属する四半期純利益                         864,637                 149,304




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               （四半期連結包括利益計算書）
                （第３四半期連結累計期間）
                                                                         （単位：千円）
                                         前第３四半期連結累計期間             当第３四半期連結累計期間
                                          (自 2020年12月１日            (自 2021年12月１日
                                           至 2021年８月31日)            至 2022年８月31日)
             四半期純利益                                     864,637              149,304
             その他の包括利益
              その他有価証券評価差額金                                343                    541
              為替換算調整勘定                                341,732                787,630
              その他の包括利益合計                              342,076                788,172
             四半期包括利益                                1,206,713                937,476
             （内訳）
              親会社株主に係る四半期包括利益                       1,206,713                937,476




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             （３）四半期連結財務諸表に関する注記事項
               （継続企業の前提に関する注記）
                該当事項はありません。

               （株主資本の金額に著しい変動があった場合の注記）
                該当事項はありません。

               （会計方針の変更）
             （収益認識に関する会計基準等の適用）
                「収益認識に関する会計基準」（企業会計基準第29号 2020年３月31日。以下「収益認識会計基準」という。）等
               を第１四半期連結会計期間の期首から適用し、約束した財又はサービスの支配が顧客に移転した時点で、当該財又は
               サービスと交換に受け取ると見込まれる金額で収益を認識することといたしました。これにより、当社が実質的に買
               戻し義務を負っていると判断される有償支給取引について、金融取引として棚卸資産を引き続き認識するとともに、
               有償支給先に残存する支給品の期末棚卸高について金融負債を認識しております。
                収益認識会計基準等の適用については、収益認識会計基準第84項ただし書きに定める経過的な取扱いに従ってお
               り、第１四半期連結会計期間の期首より前に新たな会計方針を遡及適用した場合の累積的影響額を、第１四半期連結
               会計期間の期首の利益剰余金に加減し、当該期首残高から新たな会計方針を適用しておりますが、利益剰余金の当期
               首残高への影響が軽微であることから、期首の利益剰余金残高の調整を行っておりません。
                この結果、収益認識会計基準等の適用が当第３四半期連結累計期間の損益に与える影響は軽微であります。


             （時価の算定に関する会計基準等の適用）
               「時価の算定に関する会計基準」（企業会計基準第30号 2019年７月４日。以下「時価算定会計基準」という。）
               等を第１四半期連結会計期間の期首から適用し、時価算定会計基準第19項及び「金融商品に関する会計基準」（企業
               会計基準第10号 2019年７月４日）第44-２項に定める経過的な取扱いに従って、時価算定会計基準等が定める新た
               な会計方針を、将来にわたって適用することといたしました。これによる四半期連結財務諸表に与える影響はありま
               せん。




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               （セグメント情報等）
                 【セグメント情報】
            Ⅰ 前第３四半期連結累計期間(自 2020年12月１日 至 2021年８月31日)
             １ 報告セグメントごとの売上高及び利益又は損失の金額に関する情報
                                                                                              （単位：千円）
                                                       報告セグメント                                  四半期連結
                                                                                         調整額    損益計算書
                                                                欧州・アジア                   （注1）    計上額
                                         日本          米国                       合計
                                                                   他                             (注2)
             売上高
              (1）外部顧客への売上高              2,349,723   2,270,299    1,929,914   6,549,937         －     6,549,937
              (2）セグメント間の内部売上高
                                          916,422      59,055      746,029   1,721,507 △1,721,507            －
                   又は振替高
                        計               3,266,146   2,329,354    2,675,944   8,271,445 △1,721,507    6,549,937
             セグメント利益                      332,919     541,472      220,960   1,095,352     26,138    1,121,490
             （注）1.セグメント利益の調整額は、セグメント間の取引消去であります。
                2.セグメント利益は、四半期連結損益計算書の営業利益と調整を行っております。

             ２．報告セグメントごとの固定資産の減損損失又はのれん等に関する情報
                該当事項はありません。

            Ⅱ 当第３四半期連結累計期間(自 2021年12月１日 至 2022年８月31日)
             １ 報告セグメントごとの売上高及び利益又は損失の金額に関する情報並びに収益の分解情報
                                                                                              （単位：千円）
                                                       報告セグメント                                  四半期連結
                                                                                         調整額    損益計算書
                                                                欧州・アジア                   （注1）    計上額
                                         日本          米国                       合計
                                                                   他                             (注2)
             売上高
              顧客との契約から生じる収益             2,274,991   1,114,987    2,063,869   5,453,848         －     5,453,848
              (1）外部顧客への売上高              2,274,991   1,114,987    2,063,869   5,453,848         －     5,453,848
              (2）セグメント間の内部売上高
                                          661,603     128,791      219,224   1,009,619 △1,009,619            －
                 又は振替高
                        計               2,936,594   1,243,778    2,283,094   6,463,467 △1,009,619    5,453,848
             セグメント利益又は損失（△）               177,314     △9,451       219,986     387,850   △12,446       375,403
             （注）1.セグメント利益又は損失（△）の調整額は、セグメント間の取引消去であります。
                   2.セグメント利益又は損失（△）は、四半期連結損益計算書の営業利益と調整を行っております。

             ２．報告セグメントの変更等に関する事項
               会計方針の変更に記載のとおり、第１四半期連結会計期間の期首から収益認識会計基準等を適用し、収益認識に関
              する会計処理方法を変更したため、事業セグメントの利益又は損失の算定方法を同様に変更しておりますが、セグメ
              ント利益又は損失（△）に与える影響は軽微であります。

             ３．報告セグメントごとの固定資産の減損損失又はのれん等に関する情報
               該当事項はありません。




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                                 IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                         CHARLOTTE DIVISION

            HONEYWELL INTERNATIONAL INC.,                      )
            HAND HELD PRODUCTS, INC., and                      )
            METROLOGIC INSTRUMENTS, INC.,                      )
                                                               )
                             Plaintiffs,                       )
                                                               )
                                                                       Case No. 3:21-cv-00506
            v.                                                 )
                                                               )
                                                                       JURY TRIAL DEMANDED
            OPTO ELECTRONICS CO., LTD.,                        )
                                                               )
                             Defendant                         )
                                                               )
                                                               )
                                                               )


                     DEFENDANT’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’
                            FIRST SET OF REQUESTS FOR ADMISSION

                   Pursuant to Federal Rule of Civil Procedure 36, Defendant OPTO Electronics Co., Ltd.

           (“OPTO”) provides these objections and responses to Plaintiffs Honeywell International Inc.’s;

           Hand Held Products, Inc.’s; and Metrologic Instruments, Inc.’s (collectively, “Honeywell’s” or

           “Plaintiffs’”) First Set of Requests for Admission (“Requests”).

                                           PRELIMINARY STATEMENT

                   OPTO has not yet completed its investigation of the facts relating to this action, its

           preparation for trial, or associated discovery. As discovery proceeds, OPTO may discover facts,

           information, evidence, documents and/or things that are not set forth herein, but which may be

           responsive to these Requests. These objections and responses are based on OPTO’s present

           knowledge, information, and belief, and are complete to the best of OPTO’s knowledge at this

           time.




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                  Furthermore, OPTO has prepared these objections and responses based on its good-faith

           interpretation and understanding of the individual Requests. OPTO expressly reserves its right to

           correct any inadvertent errors or omissions. OPTO also reserves the right to conduct discovery

           with reference to or to offer evidence at the time of trial of any facts, evidence, documents, and

           things developed during discovery and trial preparation, notwithstanding the reference to certain

           facts, evidence, documents, and things in these objections and responses. Additionally, OPTO

           reserves the right to revise and supplement these objections and responses based on any

           information, evidence, and documentation that may be discovered after the service of these

           objections and responses, as appropriate. OPTO is not waiving, and expressly preserves, any and

           all objections to relevance, admissibility, or authenticity of any documents or information

           produced in conjunction herewith.

                                              GENERAL OBJECTIONS

                  1.      OPTO objects to the Requests to the extent that they seek to impose obligations

           beyond or inconsistent with those required by the Federal Rules of Civil Procedure, the Local

           Rules of the United States District Court for the Western District of North Carolina (the “Court”),

           any orders of the Court, or any stipulations or agreements of the parties.

                  2.      OPTO objects to the Requests, including all definitions and instructions provided

           therein, to the extent that they would require OPTO to reach legal conclusions in order to respond.

                  3.      OPTO objects to the Requests to the extent they call for information protected from

           disclosure by the attorney-client privilege, attorney work-product doctrine, or any other applicable

           privilege. Should any such disclosure by OPTO occur, it is inadvertent and shall not constitute a

           waiver of any privilege.




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                   4.        OPTO objects to the Requests to the extent that they seek trade secrets, research

           and development information, proprietary or confidential business or financial information,

           business plans or marketing information, or any other highly sensitive or confidential commercial

           information that is subject to protection under state or federal law or is otherwise within the

           protections of Rule 26(c) of the Federal Rules of Civil Procedure. To the extent that OPTO agrees

           to produce such information, or documents containing or reflecting such information, OPTO’s

           production will be subject to the Protective Order entered in this Action.

                   5.        OPTO objects to the Requests to the extent they require OPTO to marshal all of its

           evidence while discovery is ongoing.

                   6.        OPTO objects to the definition of “Relevant Time Period” to the extent that the

           defined time period is overbroad as applied, and therefore unduly burdensome, and to the extent

           that it imposes obligations beyond or inconsistent with those required by the Federal Rules of Civil

           Procedure, the Local Rules of the Court, any orders of the Court, or any stipulations or agreement

           of the parties.

                   7.        OPTO objects to the definition of “OPTO,” “You,” and “Your” as overbroad to the

           extent that it includes entities not involved in this action and not under the direction or control of

           OPTO.




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                        RESPONSES AND SPECIFIC OBJECTIONS TO PLAINTIFFS’
                              FIRST SET OF REQUESTS FOR ADMISSION




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           ADMISSION REQUEST NO. 4

                  Admit that PDF417 is a “continuous, multi-row two-dimensional” code type as defined in

           ISO/IEC 15438:2006.

           RESPONSE:

                  OPTO specifically objects to this Request as premature as discovery is currently ongoing,

           and therefore OPTO has not formulated its final contentions regarding OPTO’s claims and

           defenses in this case. OPTO accordingly reserves its right to supplement and/or amend its response

           as the record is developed through discovery. OPTO also objects to this Request to the extent it

           seeks information protected by the attorney-client privilege, work product protection, or any other

           privilege applicable by law. Subject to and without waiving the foregoing General and specific

           objections, OPTO states as follows:

                  Admitted that PDF417 is a continuous, multi-row two-dimensional code type symbol that

           is constructed graphically as a series of rows of symbol characters, representing data and overhead

           components, placed in a defined vertical arrangement to form a (normally) rectangular symbol,

           which contains a single data message so that each symbol character has the characteristics of a

           linear bar code symbol character, and each row has those of a linear bar code symbol as defined in

           ISO/IEC 15438:2006 and ISO/IEC 15415:2011.




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           Dated: August 29, 2022
                                                  MCGUIREWOODS LLP

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                                           CERTIFICATE OF SERVICE

                  I certify that on August 29, 2022, a copy of the foregoing was served via email on the
           counsel of record, as follows:


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                                                      JA2422
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                                                                                                                            US007387253Bl


             c12)   United States Patent                                                                (IO) Patent No.:                     US 7,387,253 Bl
                    Parker et al.                                                                       (45) Date of Patent:                               Jun.17,2008

             (54)    OPTICAL READER SYSTEM COMPRISING                                              (56)                       References Cited
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                     READER                                                                                           U.S. PATENT DOCUMENTS
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             (75)    Inventors: James A. Parker, Liverpool, NY (US);                                      3,663,762 A          5/ 1972 Joel, Jr.
                                Jeffrey Pine, Auburn, NY (US);                                            3,684,868 A          8/1972 Christie et al.
                                Thomas J. Koziol, Camillus, NY (US);                                      3,723,970 A          3/ 1973 Stoller
                                Michael A. Ehrhart, Liverpool, NY
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                                Hussey, Camillus, NY (US); George S.
                                Smith, Manlius, NY (US)                                                           FOREIGN PATENT DOCUMENTS

             (73) Assignee: Hand Held Products, Inc., Skaneateles                                  EP                 0 385 478 A2          9/1990
                            Falls, NY (US)
             ( *) Notice:         Subject to any disclaimer, the term of this                                                     (Continued)
                                  patent is extended or adjusted under 35
                                  U.S.C. 154(b) by Odays.                                                               OTHER PUBLICATIONS
                                                                                                   JP Patent Application 8-159825 Translated Japanese Office Action in
             (21) Appl. No.: 09/385,597                                                            the English language, Apr. 18, 2005.
             (22)    Filed:       Aug. 30, 1999                                                                                   (Continued)
                              Related U.S. Application Data                                        Primary Examiner-Uyen-Chau N. Le
                                                                                                   (7 4) Attorney, Agent, or Firm-Marjama Muldoon Blasiak &
             (63)    Continuation-in-part of application No. 08/839,020,                           Sullivan LLP
                     filed on Apr. 23, 1997, now Pat. No. 5,965,863, which
                     is a continuation-in-part of application No. 08/697,                          (57)                         ABSTRACT
                     913, filed on Sep. 3, 1996, now Pat. No. 5,900,613.

             (51)    Int.Cl.                                                                       In an optical reading system comprising an optical reader and
                     G06K 7110                    (2006.01)                                        a host processor, the host processor may be configured to
                     G06K 9122                    (2006.01)                                        transmit a component control instruction in response to a user
             (52)    U.S. Cl. ............................. 235/462.45; 235/462.46;                input command input by a user of the host processor to
                                                                         235/462.48                remotely control the reader. The optical reader subsequently
             (58)    Field of Classification Search ............ 235/462.01,                       receives the transmitted component control instruction and
                              235/462.15, 462.11, 462.24, 462.42, 462.25,                          executes the component control instruction substantially on
                                   235/462.45, 462.48, 472.01, 454, 462.41,                        receipt thereof.
                                                         235/472.02, 462.46, 462.47
                     See application file for complete search history.                                               62 Claims, 32 Drawing Sheets


                                                                                                             REPROG. SYSTEM
                                                  ,,o
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                                       930
                                                DISPLAY
                                                                                    LOCAL                                           REMOTE
                                                                                     HOST                                         PROCESSOR
                                       925                                        PROCESSOR
                                                                                      900
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                           FIG.4A




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                                FIG.4C




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                                FIG.SA




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                                     FIG.SC




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                        DEFINE MEMORY SPACE       615
                           FOR IMAGE DATA

                        INITIALIZE READER TO
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                                                                     INSTRUCTION
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                                                650
                                                            FIG.7A

                     OPTIONS (OFFSET) TABLE
                                                               OP CODE TABLE
                   A. COMMUNICATIONS OPTIONS
                      1. RS-232                            A. OP CODE "0"-VECTOR PROC.
                      2. BAUD RATE                            1. OUTPUT VERSION
                      3. RF LINK                                 OF ::,OFTWARE
                      4. ETHERNET                             2. OUTPUT CONTENTS OF
                   B. CODE OPTIONS                               PARAMETER TABLE
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                      2. DISABLE 2D                           3. DISPLAY ENABLED CODES
                      3. DISABLE INDIV,
                      4. MIN-MAX LENGTH                       4. PRINT PARAMETER TABLE
                      5. MULTIPLE SYMBOLS ENABLED                AS BAR CODE SYMBOL
                   C. SCANNING-DECODING OPTIONS
                                                           B. OP CODE "1" - CLEAR
                      1. ONE SHOT
                      2. REPEAT UNTIL DONE                 C. OP CODE "2" - SET
                      3. REPEAT UNTIL STOPPED
                                                           D. OP CODE "3" - TOGGLE
                      4. SCAN ON DEMAND
                      5. SKIP SCAN                         E. OP CODE "4" - ADD
                      6. DECODE ON DEMAND                  F. OP CODE "5" - DEFAULT
                   D. OPERATING OPTIONS
                      1. BEEPER VOLUME                     G. OP CODE "6" - LOAD
                      2. AIMING LED ON/OFF                 H. OP CODE "7" - RESERVED
                      3. AURAL FEEDBACK
                   E. TRANSMIT OPTIONS                               FIG.7C
                      1. SEND CHECK CHAR'S
                      2. SEND CHECKSUM
                      3. DATA EDIT OPTIONS

                           FIG.78




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                            ANO JUMP TO RAM
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                                                                EXIT




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                                                  CODE 128 SELECTION




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                        FIG.BA
                                                    UPC A SELECTION



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                                          *DEFAULT ALL CODE 11 /CODE 128 SETTINGS*

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                                          c..,
                                                                                    a..

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                    I-
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                    en                                          I.()
                    Gi                                          O'>

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                    a:::                                                                          O'I
                    Q..                                        0
                    w                                          <O
                    a:::                                       0)


                                                                                                      w
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                                                                        ::i: I-
                                                                                                      2::
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                                                       U")
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                                                       LL.
                                                        a:::                                                   a:::
                                                                                                               ~
                                                                                                               0::
                                                                                                               a..




                                                                 0                         t()
                                                                 tr:>                      c--J
                                                                 O>                        O>




                                                                                                             HONEYWELL-00157763

                                                 JA2444
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                                                                                 45
                                                                                 ST



                                                                                  1055

                        STORE LINE IN
                            RAM
                                        1015

                         ACK HOST
                                                                              ERASE NEXT
                                                                                BLOCK
                                    1020
                                    NO
                                                       STORE LINE TO EROM     1070


                                                                                      1080
                          JUMP TO
                          RAM AND
                          EXECUTE          1025
                          PROGRAM
                           IN RAM                            YES

                            EXIT


                           F \ G. \ o.A                                  f I G. 1013




                                                                                          HONEYWELL-00157764

                                                     JA2445
                                                                                                                        00
                                                                                                                        ..c
                      1160
                             ~                                                                000                        ~
                                                                                                                                    USCA4 Appeal: 23-1850




                                                                                                                        ~.,.._
                                                                                                                        (!:)
                               IF (iAESSAGE TYPE=== CODAB/\R)
                                             AND                                                                        .,.._
                                                                                                                        =
                             (PARMETER TABLE, CODA8/\R ==ON)
                                       THEN ATTEMPT TO                                            200
                                       DECODE MESSAGE                                                                   ~
                                                                                                                                    Doc: 45-5




                                                                                                                        =
                                                                                                                        =
                                                                                                                        ....
                                                                                                                        _;--I
                                                                                                                         ~
                                                                                                                        0
                                                                                                                        0
                                   ENTER                                                                                00


                                                                       8000 PARAMETER START
                                                                                              I
                                              1102                                            r-1134
                                   DISPLAY                             9000 PARA\ilETER END                             'Li
                                 SUBPROGRAM                                                                             :::r
                                                                                                             FIG.11 C   ~
                                                                                                                        ~
                                    OPTION




JA2446
                                   SCREEN                                                                               --.:i
                                                                                                                        0
                                                                                                                        -....,...
                                                                                              5000                      .......
                                                                                                                                    Filed: 04/01/2024




                                                                                                                         N
                                HIGHLIGHT
                  FIG.11 A   I SUBPROGRAM
                               AND SELECT                                                               0 CODABAR ON
                                                                8000                                1   1 UPC OFF

                                  EXECUTE                                                                               C'.
                                                                                                                        r:,rJ
                             I SUBPROGRAM                                                                               ........
                                                                9000                                                    w
                                                                                                                        00
                                                                                                                                    Pg: 324 of 423




                                                                                                                        ........
         I                          STOP                                                                                I_",)
         0                                                                                                              Ul
         z
         m
         ~m
                                                                                              1LJ                       '.JJ

                                                                                                                        ....w
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         r
         b
         0
         ......
         0,
         -.J
         -.J
         m
         0,
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                                              ENTER

                                           DISPLAY MAIN  ,,--1110
                                        REPROGRAM SCREEN                     FIG.
                                                                            11 B( 1)

                                              SELECT        ,,--111 2
                                         DIRECTORY DRIVE                     FIG.
                                                                            118(2)
                   DISPLAY
                    ERROi~
                                            HIGHLIGHT             1114
                                        OPERATING PROGRAM
                                                                          FIG.11 B
                                           AND SELECT




                                    N


                                                  y

                                     SEND COMMAND TO ,,-- 1118
                                      READER SO THAT
                                    READER REPORTS ID(/


                                    RECEIVE ID RESPONSE           1120
                                      AND COMPARE TO
                                     SELECTED PROGRAM




                                    N



                                                      y
                    FIG.11 B( 1)
                                                 A



                                                                                    HONEYWELL-00157766

                                               JA2447
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                                                                         1130
                                                                 DETERMINE
                                                          Y     START & END
                                                          _ __,~ PARAMITER
                                                                 ADDRESSES
                                                                                1136
                                                N
                                                                      MODIFY FILE
                                                                     SO THAT FILE
                                                                     HAS -PROPER
                    FIG.118(2)                                         START/END
                                                                      ADDRESSES
                                                         1144
                                                                               1140
                                                          N              SEND.
                                                                      OPERATING
                                                                       PROGRAM
                                                                      TO READER
                                                                         EROM
                                         READ EXISTING
                                           PARAMETER
                                          TABLE FROM                    PERFORM
                                             READER                    CHECKSUM
                                 1152                                 DIAGNOSTICS

                                        WRITE PARAMETER
                                            TABLE TO
                                        PARAMETER TABLE
                                         HOLD ADDRESS
                                           LOCATION
                                                                 y



                                         1154
                             1156
                                        SEND PARAMETER                      N
                    DETERMINE
                   START & END            TABLE FROM
                    PARAMETER            HOLD ADDRESS
                    AODl~[SSES             LOCATION
                                           TO READER
                                                                  RETURN
                                                ' - - - - - - - ~ TO MAIN




                                                                                       HONEYWELL-00157767

                                                JA2448
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                                                                                 1166
                                                           DETERMINE READER TYPE
                                                             AND UPLOAD EXISTING
                                                    y        PARAMETER TABLE TO
                  FIG.                                     RAM OF PROCESSOR 900;
                 110( 1)                                    UPLOAD LIST OF ANALOG
                                 11613                     WAVEFORM OUTPUT TYPES

                  FIG.
                                   1  QUERY USER
                 110(2)             FOR READER TYPE
                                 1169
                                       SHOW PARAMETER
               FIG.11 D          coNr-lGURATION SCREEN


                                                           WRITE PARAMETER TABLE
                                                              TO READER EROM




                                                           WRI_TE PARAMETER TABLE
                                                          TO BULK STORAGE DEVICE


                                 1180
                                                              DISPLAY PARAMETER
                FIG.11 D( 1)                                   TABLE ON SCREEN




                                                               PRINT PARAMETER
                                                                    TABLE




                                                                                     HONEYWELL-00157768

                                                JA2449
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                                                                  1186
                                                                  ENTER FILE             1188
                                                             y     NAMES OF
                                                                  PAf1'.A~1ETER •
                                                                  TABLES ANO
                                                                   COMPARE

                                                                    1169
                                                                              SHOW PARAMETER
                                   1189-                                       CONFIGURATION
                                                                                  SCREEN
                                                             y
                                           SYMBOL OUTPUT




              1190
                                               1204                                      1210
                       SELECT
                     PARAtvlETER       MAl<E LINEAR                    MAKE 2D :
                                        SYMBOL TO           ---✓ 1202
                        TYPE                              1D '        SYiv!BOL TO
                                        RESULT IN 1D OR 2D IMAGER 2D RESULT IN
             1192                        DEFAULT                        EDITED
                                        PARAMETER    ~OR              PARAMETER
               SHOW SECONDARY
              P,i\RAMETER EDITING          Tt1BLE                        TABLE
                   SCREEN EDIT
                    PARAMETER           FOR EACH
                                        PARAME:TER
              1169                                         1206
                                         CHANGE,
                                                                           DISPLAY OR PRINT
               SHOW Pt1f\AMUER         MAKE LINEAr{
                                                                             EACH CREATED
                CONFIGURMION            SYMBOL TO
                                                                               20 SYMBOL
                   SCREEN               RESULT IN
                                         PARI\METER
                                          CHANGE                                    mo
                                    1208-
                                      ·------··
                                      ISPLJiY OR PRINT
                                    r EACH CREATED
                                    _JJN!~All SYMBOL


                                                              FIG.11 D(2)




                                                                                                HONEYWELL-00157769

                                                      JA2450
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               1174 -




                                       FIG. 11E




                                                                                HONEYWELL-00157770

                                            JA2451
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                                    1214         ENTER

                                             SHOW MESSAGE
                                           EDITING SIMULATION
                                                 SCREEN

                                            ENTER MESSAGE;
                                     ENTER SYMBOLOGY TYPE
                                                                       1218
                                              ENTER
                                       EDITING COMMANDS

                                                                                  1220
                                                                          SEARCH AND
                                                                            REPLACE
                                                                          CHARACTERS


                                                                                  1222
                                                                              INSERT
                                                                            CHARACTERS
                                                                          INTO MESSAGE


                                                                                  1224
                                                                           DELETE
                                                                         CHARACTERS
                                                                        FROM MESSAGE

                                                            1226
                                            OUTPUT EDITED
                                              MESSAGE

                        1230
                                                                              FIG.11 F
                            WRITE
                          COMMANDS
                         TO MEMORY

                                                                   1214
                                     SHOW MESSAGE EDITING
                                       SIMULATION SCREEN




                                                                                           HONEYWELL-00157771

                                                  JA2452
                                                                                                       ~
                                                                                                       .rJJ
                                                                                                       ·-o
                                                                                                                USCA4 Appeal: 23-1850




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                                                                                                       """

                                                                                                       ~
                                                                                                                Doc: 45-5




                (A) LIGHT  ISCANNING I--SCAN 1--l--SCAN 2--I--SCAN 3--I--SCAN 4--I--SCAN5--I
                                                                                          '    TIME
                                                                                                       =
                                                                                                       :=
                    LOAD    DECODING                        IDECODE I    IDECODE I  IDECODE I           '""'
                                                                                                       ~--.J
                                                                                                        N
                                                 IDECODE
                                                   SCAN 1
                                                          I SCAN 2 SCAN 3 SCAN 4                        0
                                                                                                        0
                                                                                                        00

                            SCANNING !--SCAN 1--I--SCAN 2--I--SCAN   3--I--SCAN 4--I--SCAN5--I
                ( 8) HEAVY I- -------------------------TIME
                            DECODING         I--DfCODE SCAN 1--I--DECODE SCAN 2--1-- □ECODE SCAN 3--    r.,:,
                    LOAD                                                                                ::r
                                                                                                        (I)
                                                                                                        (I)
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JA2453
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                                                       FlG.12
                                                      Prior Art
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                                                                                                       (.;J
                                                                                                        QC)
                                                                                                                Pg: 331 of 423




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                                SCANNING SCAN 1 I SCAN 2 I SCAN 3 I SCAN 4 I SCAN 5 ! SCAN 6 I SCAN 7 I SCAN 8 I
                                                                                                                                                  USCA4 Appeal: 23-1850




                                                                                                                                          ~
                          (A) DECODING                 I DECODE 11 DECODE 11 DECODE I f DECODE 11 DECODE 11 DECODE 11 DECODE I           l'"t--
                                                                                                                                         ~
                                                       SCAN 1     SCAN 2       SCAN 3   ISCAN 4      SCAN 5    SCAN 6   SCAN 7
                                                                                                                                         a
                          ( ) SCANNING SCAN 1 I SCAN 2 I                   I SCAN 3 I             I SCAN 4 I            I SCAN 5 I
                                                                                                                                                  Doc: 45-5




                           B DECODING                 1•DECODE SCAN 1          DECODE SCAN 2                                             ~
                                                                                                  I Dt:CODE SCAN J I     ~~D~ i          ?
                                                                                                                                        ....
                                                                                                                                       ~....:a
                                                                                                                                        N

                          (C) SCANNING SCAN 1 I SCAN 2 I SCAN 3 I SCAN 4 I SCAN 5 I SCAN 6 I SCAN 7 I SCAN 8 I                          =
                                                                                                                                        QC
                                                                                                                                        =
                                DECODING       I DECODE SCAN 1 I DECODE SCAN 2 I DECODE SCAN 5 IDECODE SCAM 7
                 FIG.13                                                                                                                 00
                                                                                                                                        ('I)
                                                                                                                                        =-
                                                                                                                                        ('I)




JA2454
                                                                                                                                        ....
                                                                                                                                       N
                                        SCAN 1 I SCAN 2 I SCAN 3 I SCAN 4 I SCAN 5 I SCAN 6 I SCAN 7 I SCAN 8 I
                                       (MEM  A) (MEM B) (MEM B) (MEM A) (MEM A) (MEM B) (MEM B) (MEM A)                                Ul
                          (D) SCANNING                                                                                                 0
                                                                                                                                       ...,
                                                                                                                                                  Filed: 04/01/2024




                                                                                                                                       (M
                              DECODING                   SCAN 1 I II DECODE SCAN 3 l II DECODE SCAN 5 IDECODE SCAN 7                   N
                                          I I DECODE
                                                   (MEMORY A)          (MEMORY 8)         (MEMORY A)    (MEMORY B)
                                               TsO                       Ts1                   Ts2

                                               SCAN 1 SCAN 2           3 I SCAN 4 I SCAN 5 I SCAN 6 I SCAN 7 I SCAN 8 I
                                SCANNING (MEM A)                                                                                       c
                                           I          I (MEM B) I SCAN
                                                                  (MEM C) (MEM A) (MEM C) (MEM B) (MEM C) (MDI A)
                          (E)                                                                                                          00
                                                                                                                                      ;--:a
                                DECODING                                                                                              w
                                                                                                                                                  Pg: 332 of 423




                                                     I DECODE   SCAN 1 I DECODE SCAN 2 I DECODE SCAN 4 I DECODE SCAN 6
                                                          (MEMORY A)
                                                                                                                                       QC
         :c                                                                   (MEMORY B)      (MEMORY A)                 (MEMORY B)   ;--:a
         0                                                                                                                             N
         z                                                                                                                             '-"
                                                                                                                                       w
                                                                                                                                      0:1
         r
         i                                                                                                                            "'""'
         r;-
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         u,
         -.I
         -.I
         -.I
         (.,)
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                                                (A)                     (8)
                                                ss                      cs
                                                SE                      NS      i-MP
                                                DS       -M2            CD
                                                DE                      ND

                                   •             •
                                   •             •
                                   •             •
                                   •                              A1

                               ss1-                                     SCAN    -MA
                                            SCAN 1                     BLOCK
                                          SCAN DATA          Ml           A
                                            BLOCK
                               ss2-                               AN
                  FIG.14       (SE1)       SCAN 2
                                          SCAN DATA
                                            BLOCK
                                SS3-
                               (SE2)       SCAN 3
                                          SCAN DATA               81
                                            BLOCK
                                SS4-                                    SCAN
                                           SCAN 4                               -MB
                               (SEJ)                                   BLOCK
                                          SCAN DATA                       B
                                            BLOCK
                               SS5-                               BN
                               (SE4)        SCAN 5                       •
                                                                         •
                                                                         •
                                                 •                       •
                                   •             •                       •
                                   •             •
                                   •             •
                                   •                                            i----MN
                                   •
                                   •




                                                                                          HONEYWELL-00157774

                                                 JA2455
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                        ENTER

                                                                       NO
                 625




                 627
                   ATTEMPT DECODE




                           YES                                NO
                                         NO
                 646    OUTPUT1---~
                         DATA
                                                 647
                                                          STOP




                                                FIG.15




                                                                                    HONEYWELL-00157775

                                               JA2456
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                                                      NTER
                                                                 1605
                                              CALCULATE ACTIVITIES
                                            OF SELECTED IMAGE DATA

                                              LOCATE AND NUMBER          1610
                                           CANDIDATE SYMBOL REGIONS

                                          SELECT LARGEST UNEXAMINED      1615
                             YES           CANDIDATE SYMBOL REGION

                                          FIND CENTROID OF SELECTED      1620
                                           CANDIDATE SYMBOL REGION

                                            FINO THE DIRECTION OF        1625
                                   1688         HIGHEST ACTIVl"n'
                           INCREMENT/   SET SCAN LINE COUNT SC=O      1630
                            DECREMENT 1 - - - - - - - - - - - - - - - - .
                            SCAN LINE
                              COUNT          DEFINE SCAN LINE IN
                                       DIRECTION OF HIGHEST ACTIVITY 1635
                            1686          (SC==O DEFINES SCAN UNE
                                              THROUGH CENTROID)
                                                                       -1640    1665
                                          _ _ _ _i _ __ _-£...,

                                            CALCULATE VALUES ALONG       INCREMENT/
                                              CURRENT SCAN LINE           DECREMENT
                                                                          SCAN LINE
                                                                            COUNT
                                           BINARIZE SCAN LINE VALUES




                                          FIG.16




                                                                                          HONEYWELL-00157776

                                                   JA2457
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                  FIG.17A



                                            Ap= (P2X-P1X)2+ (P2Y-P1Y) 2


                                                            ~CSR1
                                  A                 , ..    --1

                        FIG.17B       1------+----1--1--+- ---TH


                                  -1-------'-------'---L-L__J'------'-- -----'----x,Y




                                      CSR

                                                           SC=O             .---DPA     -DPB

                                                                                               SC==O
                FIG.17C

                            • • • • • • •                                 FIG.17D

                              B
                                                                    ......
                FIG.17E                 ...... .·.                             SC
                                                       ......


                                                                                                       HONEYWELL-00157777

                                                      JA2458
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                            ENTER

                   CONVERT IMAGE DATA           1805
                   TO TWO STATE FORM

                   LOCATE AND TYPE ALL          181 O
                     FINDER PATTERNS
                           FIELD

                                         15
                                                     ------ 1820
                                                       EXIT




                  SELECT UNUSED FINDER              1825
                   PATTERN CLOSEST TO
                     CENTER OF FIELD


                        ATTEMPT DECODE              1830
                        USING SELECTED
                          FINDER TYPE
                                                                                    YES
                                                                 1840
                                              YES     STORE    -""T"---

                                                       DATA


                                                                                    NO




                                                      FIG.18




                                                                                             HONEYWELL-00157778

                                                     JA2459
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                        FIG.19A
                                                               FlG.198




                                                               FIG.19D
                        FIG.19C




                                                                                 HONEYWELL-00157779

                                            JA2460
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                                                       ENTER
                                                                FROM 627 (FIG.6)


                                                                   YES


                                                           NO
                               2010
                                             PERFORM ID AUTODISC.
                                            USING ENABLED ID CODE
                                             OPTIONS AND ENABLED
                                          SCANNING-DECODING OPTIONS

                                   2020
                        OUTPUT/STORE        YES
                            DATA
                                                                                       FIG.20



                                                                           EXIT


                              2035
                                             PERFORM 2D AOTODISC.
                                            USING ENABLED 2D CODE
                                              OPTIONS AND ENABLED
                                          SCANNING-DECODING OPTIONS

                                   2045
                        OUTPUT/STORE        YES
                            DATA

                                                      NO
                            EXIT

                                                      TO 630




                                                                                          HONEYWELL-00157780

                                                     JA2461
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                                                                   US 7,387,253 Bl
                                            1                                                                     2
                  OPTICAL READER SYSTEM COMPRISING                                  In order to avoid having to use different types of optical
                  LOCAL HOST PROCESSORA.i~D OPTICAL                             readers to read these different types of bar code symbols, it is
                               READER                                           desirable to have an optical reader that is able to read symbols
                                                                                of any of these types, including their various subtypes, inter-
                         CROSS REFERENCES TO RELATED                          s changeably and automatically. More particularly, it is desir-
                                     APPLICATIONS                               able to have an optical reader that is able to read all three of the
                                                                                above-mentioned types of bar code symbols, without human
                111e present application is a continuation-in-part of U.S.      intervention, i.e., automatically. This in turn, requires that the
             patent application Ser. No. 08/839,020 filed Apr. 23, 1997         reader have the ability to automatically discriminate between
             (now U.S. Pat. No. 5,965,863) which, in tum, is a continua- 10 and decode bar code symbols, based only on information read
             tion-in-part of U.S. patent application Ser. No. 08/697,913,       from the symbol itself. Readers that have this ability are
             filed Sep. 3, 1996, (now U.S. Pat. No. 5,900,613) which is a       referred to as "autodiscriminating" or having an "autodis-
             continuation-in-part of U.S. patent application Ser. No.           ctimination'' capability.
             08/516,185 filed Aug. 18, 1995 (now abandoned) which is a              If an autodiscriminating reader is able to read only ID bar
             continuation-in-part of U.S. patent application Ser. No. 15 code symbols (including their various subtypes), it may be
             08/205,539filedMar. 4, 1994, (now U.S. Pat. No. 5,463,214);        said to have a lD autodisctimination capability. Similarly, if
             said U.S. patent application Ser. No. 08/829,020 is a continu-     it is able to read only 2D bar code symbols, it may be said to
             ation of U.S. patent application Ser. No. 08/504,643 filed Jul.    have a 2D autodiscrimination capability. If it is able to read
             20, 1995 (now U.S. Pat. No. 5,773,806); said U.S. patent           both ID and 2D bar code symbols interchangeably, it may be
             application Ser. No. 08/697,913 is a continuation-in-part of 20 said to have a ID/2D autodiscrimination capability. Often
             U.S. patent application No. 08/504,643 filed Jul. 20, 1995         however, a reader is said to have a I D/2D autodiscrimination
             (now U.S. Pat. No. 5,773,806), and a continuation-in-part of       capability even if it is unable to discriminate between and
             U.S. patent application Ser. No. 08/441,446 filed May 15,          decode ID stacked bar code symbols.
             1995 (now U.S. Pat. No. 5,591,956), and a continuation-in-             Optical readers that are capable of ID autodiscrimination
             part of U.S. patent application Ser. No. 08/371,037 filed Jan. 25 are well known in the art. An early example of such a reader
             10, 1995 (now abandoned).                                          is the Welch Allyn SCANTEAM® 3000, manufactured by
                                                                                WelchAl!yn, Inc.
                        BACKGROUND OF THE INVENTION                                 Optical readers, particularly hand held optical readers, that
                                                                                are capable of 1D/2D autodiscrimination are less well known
                 1. Field of the Invention                                   30 in the art, since 2D matrix symbologies are relatively recent

                The present invention relates to hand held optical reading      developments. One example of a handheldreaderofthis type
             devices, and is directed more particularly to a hand held          which    is based on the use of an asynchronously moving ID
             optical reading device configured to be controlled with use of     image sensor, is described in copending, commonly assigned
             a local host processor.                                            U.S. Pat. No. 5,773,806, which application is hereby
                                                                             35 expressly incorporated herein by reference. Another example
                2. Description of the Prior Art
                                                                                of a hand held reader of this type which is based on the use of
                One dimensional optical bar code readers are well known         a stationary 2D image sensor, is described in copending,
             in the art. Examples of such readers include readers of the        commonly assigned U.S. patent application Ser. No. 08/914,
             SCANTEAM® 3000 Series manufactured by Welch Allyn,                 883 (now U.S. Pat. No. 5,942,741), which is also hereby
             Inc. Such readers include processing circuits that are able to 40 expressly incorporated herein by reference.
             read one dimensional (ID) linear bar code symbologies, such            Optical readers, whether of the stationary or movable type,
             as the UPC/EAN code, Code 39, etc., that are widely used in        usually operate at a fixed scanning rate. This means that the
             supermarkets. Such ID linear symbologies are characterized         readers are designed to L'Omplete some fixed number of scans
             by data that is encoded along a single axis, in the widths of      during a given amount of time. This scanning rate generally
             bars and spaces, so that such symbols can be read from a 45 has a value that is between 30 and 200 scans/sec for ID
             single scan along that axis, provided that the symbol is           readers. In such readers, the results of successive scans are
             imaged with a sufficiently high resolution along that axis.        decoded in the order of their occurrence.
                In order to allow the encoding oflarger amom1ts of data in          Prior art optical readers operate relatively satisfactorily
             a single bar code symbol, a number of ID stacked bar code          under conditions in which the data throughput rate, or rate at
             symbologies have been developed, including Code 49, as so which data is scanned and decoded, is relatively low. If; for
             described in U.S. Pat. No. 4,794,239 (Allais), andPDF417, as       example, the scanning rate is relatively low and/or the data
             described in U.S. Pat. No. 5,340,786 (Pavlidis, eta!). Stacked     content ofthe bar code orother symbol is relatively small, i.e.,
             symbols partition the encoded data into multiple rows, each        the scanner is operating under a relatively light decoding load,
             including a respective ID bar code pattern, all or most all of     the decoding phase of the reading process can be completed
             which must be scanned and decoded, then linked together to 55 between successive scans. Under these conditions scan data
             form a complete message. Scanning still requires relatively        can be accurately decoded without difficulty.
             high resolution in one dimension only, but multiple linear             Readers of the above-described type have the disadvantage
             scans are needed to read the whole symbol.                         that, if they are operated under relatively heavy decoding
                A third class of bar code symbologies, known as two             loads, i.e., are required to rapidly scan symbols that have a
             dimensional (2D) matrix symbologies, have been developed 60 relatively high data content, the tracking relationship or syn-
             which offer orientation-free scanning and greater data densi-      chronism between the scanning and decoding phases of the
             ties and capacities than their ID counterparts. 2D matrix          reading process will break down. This is because under heavy
             codes encode data as dark or light data elements within a          decoding loads the decoding phase of a read operation takes
             regular polygonal matrix, accompanied by graphical finder,         longer than the scanning phase thereof, causing the decoding
             orientation and reference structures. When scanning 2D 65 operation to lag behind the scanning operation. While this
             matrix codes, the horizontal and vertical relationships of the     time lag can be dealt with for brief periods by storing the
             data elements are recorded with about equal resolution.            results of successive scans in a scan memory and decoding the




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             results of those scans in the orderoftheir occurrence when the                        SUMMARY OF INVENTION
             decoder becomes available, it cannot be dealt with in this way
             for long. This is because, however large the scan memory, it            In accordance with the present invention, there is provided
             will eventually overflow and result in a loss of scan data.          an optical scanning and decoding apparatus and method,
                One set of solutions to the problem of maintaining the            suitable for use with bar code readers, bar code scanning
                                                                                  engines, and portable data terminals (PDTs), which combines
             desired tracking relationship berween the scauning and
                                                                                  improved scanning-decoding and autodiscrimination fea-
             decoding phases of the reading process is described in previ-
                                                                                  tures in the context of an apparatus and method which also
             ously mentioned copending U.S. patent application Ser. No.           provides improved menuing and reprogramming features.
             08/914,883 (now U.S. Pat. No. 5,942,741). Another set of 10             In accordance with the menuing feature of the invention,
             solutions to the problem of maintaining the desired tracking         there is provided an improved apparatus and method which
             relationship between the scanning and decoding phases of the         enables a user to determine the current operating mode of an
             reading process is described in U.S. Pat. No. 5,463,214,             optical reading apparatus, and to rapidly and conveniently
             which issued on the parent application of the last mentioned         change that operating mode to optimize it for operation under
             copending patent application.                                     15 then current conditions. The menuing feature, for example,
                Generally speaking, the latter of these two sets of solutions     enables tile user, via a machine readable table of pre-recorded
             to the above-discussed tracking problem involves the suspen-         menu symbols, to command the reader to communicate witll
             sion of scanning for brief periods in order to assure that the       a host processor using one of a number of protocols, to com-
             scanning process does not pull too far ahead of the decoding         mand the reader to format the decoded output according to
             process. The former of these two sets of solutions to the 20 host processor requirements, or to command the reader to
             above-discussed tracking problem, on the other hand,                 report to the host processor any of a plurality of types of
             involves the skipping over of one or more sets of scan data, in      information about the current operating state of the reader,
             favor of more current scan data, if and to the extent necessary      such as tile version of software tllen being used, tile code
             for tracking purposes, in combination with the use of two or         options that are then being used, and even a complete listing
             more scan data memories to minimize the quantity of scan 25 of the reader's parameter table. If a suitable printer is avail-
             data that is skipped.                                                able, the complete status of a first reader may be output as a
                Prior to the present invention, no consideration has been         machine readable menu symbol fuat other, similarly equipped
             given to accomplishing scan-decode tracking in conjunction           readers may read and use to reconfigure themselves for opera-
             with 1D/2D autodiscrimination, i.e., as cooperating parts of a       tion in the same manner as the first reader.
             single coordinated process. This is in spite of the fact that the 30    In accordance witll fue reprogramming feature of the
             1D/2D autodiscrimination is known to involve heavy decod-            invention, fuere is provided an improved apparatus and
             ing loads of the type that give rise to tracking problems. Thus,     method by which an optical reader may be reprogrammed
             a need has existed for an optical reader that combines a             from a source external to the reading apparatus, with or wifu-
             powerful tracking capability with a powerful 1D/2D autodis-          out fue participation of a user. This external source may be
             crimination capability.                                           35
                                                                                  eifuer on-site, i.e., located at fue same local facility as tile
                                                                                  reader, or off-site, i.e., located at a remote facility tllat is
                As new and/or improved 1D and 2D bar code symbologies,            coupfod to the local facility only via a transmission line or
             and as additional ID and 2D decoding programs come into              computer nerwork. When actuated, the reprogramming fea-
             widespread use, previously built optical readers may or may          ture enables a reader to reprogram itself, either in whole or in
             not be able to operate therewith. To the extent that they cannot 40 part, and thereby become able to operate witl1 operating soft-
             operate therewith, such previously built optical readers will        ware of fue latest type. Depending on fue application, the
             become increasingly obsolete and unusable.                           reprogramming offue reader may be initiated eitller by a host
                Prior to the present invention, the problem of updating           processor external to fue reader, as by a command issued via
             optical readers to accommodate new bar code symbologies              fue reader's communication port, or by a user initiated com-
             and/or new decoding programs has been dealt with by manu- 45 mand issued as a part of the above-mentioned menuing pro-
             ally reprogramming the same. One approach to accomplish-             cess.
             ing this reprogramming is to reprogram a reader locally, i.e.,          In accordance with another aspect of the reprogranmling
             on-site, by, for example, replacing a ROM chip. Another              feature, a local host processor may be configured to carry out
             approach to accomplishing this reprogramming is to return it         reprogramming of an optical reader or another type of por-
             to the manufacturer or his service representative for off-site 50 table data terminal. In a reprogramming subroutine according
             reprogramming. Because ofthe expense ofthe former and the            to the invention a local host processor can be made, at fue
             time delays of the latter, neither of these approaches may be        selection of a user, to replace an entire main program and
             practical or economical.                                             parameter table of a reader, or else one of either a main
                l11e above-described problem is compounded by the fact            progran1 or a paranieter table of an operating progran1 indi-
             that, if an optical reader is not equipped to operate as a 55 vidually.
             tracking reader, it may not be possible to reprogram it to use          In accordance wifu anofuer subprogram of a local host
             an autodiscrimination program that is designed to be executed        processor, the local host processor can be made to edit a
             in conjunt.1ion with tracking. This is because the autodis-          parameter table. When this subprogram is selected the user
             crimination program may include steps that require the track-        may eifuer edit the parameter table that is stored in a memory
             ing feature to prevent data from overflowing the scan memory 60 device of the reader or else edit a parameter table stored in a
             and being lost. Alternatively, the scan rate may be decreased,       memory device in communication with the local host proces-
             although this reduction will adversely affect perfom1ance            sor. After editing, fue user may write fue edited parameter
             when low data content symbols are read. Thus, a need has             table to fue reader's memory device, write the edited param-
             existed for an optical reader that can be n ..-programmed eco-       t.1er to a bulk storage device for later use, or print or display
             nomically in a way that allows it to realize the full benefit of 65 the edited parameter table. In accordance wifu another aspect
             the 1D/2D autodiscrimination and tracking features, among            of fue invention, an optical reader of fue invention may be
             others.                                                              made to receive a component control instruction from a host




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             processor which is transmitted in response to a user input           the release of the trigger or by the readers' program. Because
             command to remotely control an optical reader. In accordance         of their repetitive nature, tlie use of Repeat Until Done and
             with this aspect of the invention, the optical reader is made to     Repeat Until Stopped modes are usable both in conjunction
             execute a component control instruction substantially on-            with the above-described tracking modes and independently
             receipt thereof. In one embodiment, execution by an optical          of those tracking modes. As a result, tlie Repeat Until Done
             reader of a component control instruction has the same effect        and Repeat Until Stopped modes may be implemented as user
             as a reader trigger being manually pulled.                           selectable non-tracking relationships or as tracking relation-
                In accordance with the present invention, there is also           ships.
             provided an optical scanning and decoding apparatus and                 In embodiments that use tlie auto discrimination feature of
             method which includes improved scanning-decoding and 10 the invention, there is provided a method and apparatus by
             autodiscrimination features, either or both of which may be          which a plurality of different symbols of a multiplicity of
             used in conjunction with, andior under the control of, the           different types may be scanned and decoded in a manner that
             above-described menuing and reprogramming features. In               is optimized for a particular application, on either a menu
             other words, the autodiscrimination feature of the invention is      selectable or a reprogrammable basis. When all of the sym-
             madeavailabletotheuseronamenuselectableorreprogram- 15 bols to be autodiscriminated are known to be ID symbols, for
             mable basis to speed up andior update the decoding phase of          example, the data throughput rate may be increased by struc-
             the scanning and decoding process. Together, these features          turing the autodiscrimination feature of the invention so that
             enable the reading apparatus of the invention to read and            no attempt is made to decode 2D symbols, or vice versa.
             decode a wide range of optically encoded data symbols at an          When, on the oilier hand, tlie symbols to be autodiscriminated
             improved data throughput rate.                                    20 are known to all be of (or all not to be of) a few types, whether
                When a reader is one in which the scan engine cannot be           ID or 2D, tlie data tliroughput rate may be increased by
             readily started and stopped, or in which such starts and stops       structuring tlie autodiscrimination feature so tliat all but a few
             impose unacceptable delays or produce user perceptible               (or only a few) ID and/or 2D symbologies are disabled, i.e.,
             flicker, the present invention preferably operates in one of the     so that no attempt is made to decode them. Other possible
             tracking relationships described in previously mentioned 25 autodiscrimination options include not decoding or not out-
             copending application Ser. No. 08/914,883 (now U.S. Pat.             putting data for symbols that encode messages tliat are too
             No. 5,942,74I). One of these tracking relationships is a Skip        long or too short to be ofinterest in a particular application. In
             Scan tracking relationship in which the results of one or more       accordance witli the invention, any of these options may be
             scans may be skipped over entirely in favor of more recently         chosen and changed as necessary to achieve the highest pos-
             produced scan results. Another is a Decode On Demand 30 sible data tliroughput rate.
             tracking relationship in which decoding is suspended briefly            Because oftlie large number of different combinations of
             as necessary to allow a scan then in progress to be completed.       distinct operational states that are made possible tliereby, the
             The latter relationship is ordinarily not preferred, but is still    apparatus and metliod of the invention will be seen to have a
             useful when the reader is such that its scan memory is able to       protean quality that not only makes it usable in a large number
             store only two complete blocks of scan data.                      35 of different applications, but also enables it to continue to
                When the reader is one in which the scan engine can readily       remain so usable as new fi.mctions, new bar code symbologies
             be stopped, the present invention may operate in the tracking        and new and updated decoding programs are developed in tlie
             relationship described in previously mentioned U.S. Pat. No.         future.
             5,463,2I4. With this, "Scan On Demand" tracking relation-
             ship, scanning is suspended briefly as necessary to prevent 40                  DESCRIPTION OF THE DRAWINGS
             scanning and decoding from becoming uncorrelated with one
             another.                                                                Other objects and advantages of tlie invention will be
                In the preferred embodiment, the reader includes an algo-         apparent from the following description and drawings, in
             rithm that is able to accommodate any of the above-described         which:
             scanning-decoding relationships, among others. Which of 45              FIG. l is a block diagram of an embodiment oftlie reading
             them is actually used will vary from reader to reader depend-        apparatus of the invention which is generic to reading appa-
             ing upon the size and type of memory and the type of scan            ratuses which utilize ID and 2D image sensors;
             engine used thereby, and may be changed from time to time.              FIGS. 2 and 3 are block diagrams of embodiments of the
                The present invention also contemplates and provides for          reading apparatus of the invention which utilize 2D and ID
             at least one scanning-decoding relationship which does not 50 image sensors, respectively;
             fall within the meaning of the above-defined tracking rela-             FIGS. 4A, 4B, and 4C are oblique or partially cutaway
             tionships. One of these non-tracking relationships is a "One         views of the 2D reading apparatus of FIG. 2;
             Shot" relationship or mode in which a single scan is followed
                                                                                     FIGS. 4D, 4E, and 4F are oblique or partially cutaway
             by a single decoding attempt and then a stoppage. Such scan-
                                                                                  views of an alternative embodiment of the reader apparatus of
             ning-decoding events may be initiated by respective single 55
                                                                                  FIG. 2;
             actuations of a manual trigger. Because of its inherently dis-
             continuous nature, the use of the One Shot mode implies the             FIGS. 4G, 4H, and 41 are oblique or partially cutaway
             non-use of any of the above-mentioned tracking modes.                views of another alternative embodiment oftlie reader appa-
                Two other such scanning-decoding relationships are                ratus of FIG. 2;
             referred to herein as the "Repeat Until Done" relationship or 60        FIGS. 5A, 5B, and 5C are oblique or partially cutaway
             mode and the "Repeat Until Stopped" relationship or mode.            views of the ID reading apparatus of FIG. 3;
             With the Repeat Until Done relationship, scanning and                   FIG. 6A is a flow chart oftliemainprogramofthereading
             decoding operations follow one after another until a success-        apparatus of the invention;
             ful decode oce,-urs, and are then discontinued. With the Repeat         FIG. 6B is a flow chart of a modified main program of the
             Until Stopped relationship, scanning and decoding opera- 65 reading apparatus of tlie invention;
             tions follow one after another and continue, even after sets of         FIG. 7A shows the structure of one embodiment of a menu
             decoded data are stored or output, until instructed to stop by       word or message suitable for use with tlie program of FIG. 6;




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                FIGS. 7B and 7C are tables showing examples of the                 and to readers that use sensors of either type to read both ID
             usages to which various parts of the menu word of FIG. 7A             and 2D symbols, it will be understood that, except where
             maybe put;                                                            specifically limited to readers having 2D or ID image sen-
                FIG. 8 is a flow chart of the menu routine shown in FIG. 6;        sors, the present description refers generically to readers of
                FIGS. 8A--8D are examples of option symbol selection               any of the types shown in FIGS. 1, 2 and 3.
             charts which may be used with the menuing feature of the                 Referring first to FIG. 1, the optical reader of the invention
             invention;                                                            includes au illumination assembly 20 for illuminating a target
                FIG. 9 is a block diagram of a typical system with which the       object T, such as a ID or 2D bar code symbol, and an imaging
             reading apparatus of the invention may be used;                       assembly 30 for receiving an image of object T and generating
                FIG. lOA is a flow chart ofa loading routine suitable for use 10 an electrical output signal indicative of the data optically
             with the invention;                                                   encoded therein. Illumination assembly 20 may, for example,
                FIG. 10B is a flow chart of a reprogramming routine suit-          include au illumination source assembly 22, such as one or
             able for use with the invention;                                      more LEDs, together with an illuminating optics assembly
                FIG. llA is a flow diagram illustrating a primary program          24, such as one or more reflectors, for directing light from
             for a host processor configured for reprogramming of, and for 15 light source 22 in the direction oftarget object T. Illumination
             other interactions with an optical reader;                            assembly 20 may be eliminated, if ambient light levels are
                FIG. llB is a flow diagram illustrating a subprogram for           certain to be high enough to allow high quality images of
             reprogrannning an optical reader in communication with a              object T to be taken. Imaging assembly 30 may include an
             host processor;                                                       image sensor 32, such as a ID or 2D CCD, CMOS, NMOS,
                FIG. llC is a memory map for a memory space having 20 PMOS, CID or CMD solid state image sensor, together with
             stored thereon an operating program comprising a main pro-            au imaging optics assembly 34 for receiving and focusing an
             gram and a parameter table;                                           image of object T onto image sensor 32. The array-based
                FIG. 11D is a flow diagram for a subprogram executed by            imaging assembly shown in FIG. 2 may be replaced by a laser
             a host processor for editing a parameter table;                       array or laser scauning based imaging assembly comprising a
                FIG. 11 E illustrates an exemplary parameter configuration 25 laser source, a scanning mechanism, emit and receive optics,
             screen;                                                               a photodetector and accompanying signal processing cir-
                FIG. llF illustrates a flow diagram executed by a host             cuitry.
             processor for simulating the results of applying editing com-            Optical reader 10 of FIG. 1 also includes programmable
             mands to a decoded message.                                           control means 40 which preferably comprises an integrated
                FIG. 12 is a timing diagram which shows the scanning/ 30 circuit microprocessor 42 and an application specific inte-
             decoding relationship used by the prior art;                          grated circuit or ASIC 44. Processor 42 and ASIC 44 are both
                FIGS. 13A through 13E are timing diagrams which illus-             programmable control devices which are able to receive, out-
             trate various ones of the tracking relationships made possible        put and process data in accordance with a stored program
             by the present invention;                                             stored in either or both of a read/write random access memory
                FIG. 14 shows examples of memory structures that may be 35 or RAM 45 and an erasable read only memory or EROM 46.
             used in implementing the tracking relationships shown in              Processor 42 and ASIC 44 are also both connected to a com-
             FIGS. 13A through 13E;                                                mon bus 48 through which program data and working data,
                FIG. 15 is a simplified flow chart which illustrates the           including address data, may be received and transmitted in
             "Repeat Until Done", "Repeat Until Stopped", and "One                 either direction to any circuitry that is also connected thereto.
             Shot" scanning-decoding modes of the invention;                    40 Processor 42 and ASIC 44 differ from one another, however,
                FIG.16 is a flow chart ofone embodiment ofthe ID portion           in how they are made and how they are used.
             of the autodiscrimination program of the invention;                      More particularly, processor 42 is preferably a general
                FIGS. 17A through 17E are drawings which facilitate an             purpose, off-the-shelf VLSI integrated circuit microproces-
             understanding of the flow chart of FIG. 16;                           sor which has overall control of the circuitry of FIG. 1, but
                FIG. 18 is a flow chart of one embodiment ofthe 2D portion 45 which devotes most of its time to decoding image data stored
             of the autodiscrimination process of the invention;                   in RAM 45 in accordance with program data stored in EROM
                FIGS.19A through 19D show representative bar code sym-             46. Processor 44, on the other hand, is preferably a special
             bols of types that may be decoded by the reading apparatus of         purpose VLSI integrated circuit, such as a programmable
             the invention; and                                                    logic or gate array, which is programmed to devote its time to
                FIG. 20 is a flow chart that illustrates the effect of the code 50 functions other than decoding image data, and thereby relieve
             options of the autodiscrimination process of the invention.           processor 42 from the burden of performing these functions.
                                                                                      The actual division of labor between processors 42 and 44
                        DESCRIPTION OF 1HE PREFERRED                               will naturally depend on the type of off-the-shelf micropro-
                                    EMBODIMENTS                                    cessors that are available, the type of image sensor which is
                                                                                55 used, the rate at which image data is output by imaging
                Referring to FIG. 1 there is shown a block diagram of an           assembly 30, etc. There is nothing in principle, however, that
             optical reader 10. As will be explained more fully later, FIG.        requires that any particular division oflabor be made between
             1 shows the basic structures that together comprise the gen-          processors 42 and 44, or even that such a division be made at
             eral form of au optical reader that is suitable for use in prac-      all. This is because special purpose processor 44 may be
             ticing the present invention, and is generic to optical readers 60 eliminated entirely if general purpose processor 42 is fast
             that use ID image sensors and to optical readers that use 2D          enough and powerful enough to perform all of the functions
             image sensors. Similarly, FIG. 2 shows the basic structures           contemplated by the present invention. It will, therefore, be
             that together comprise the general form of optical readers that       understood that neither the number of processors used, nor
             use 2D image sensors. Finally, FIG. 3 shows the basic struc-          the division of labor therebetween, is of any fundamental
             tures that together comprise the general form of optical read- 65 significance for purposes of the present invention.
             ers that use ID image sensors. Since the present invention is            With processor architectures of the type shown in FlG.1, a
             equally applicable to readers that use ID or 2D image sensors,        typical division oflabor between processors 42 and 44 will be




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             as follows. Processor42 is preferably devoted primarily to the       optics assembly which corresponds to generic imaging optics
             tasks of decoding image data, once such data has been stored         assembly 34 of FIG. 1, and so on. Provided that these differ-
             in RAM 45, handling the menuing options and reprogram-               ences are taken into account, however, the description of the
             ming functions, and providing overall system level coordina-         reader of FIG. I is equally applicable to the reader of FIG. 3,
             tion. Processor 44 is preferably devoted primarily to control-       and will not be repeated herein.
             ling the image acquisition process, the AID conversion                  One specific practical example of an optical reader of the
             process and the storage of image data, including the ability to      type shown in FIG. 3 may be constructed using the particular
             access memories 45 and 46 via a DMA channel. Processor 44            solid-state circuits listed in the following component table:
             may also perform many timing and communication opera-
             tions. Processor44 may, for example, control the illumination 10
             of LEDs 22, the timing ofimage sensor 32 and an analog-to-
             digital (AID) converter 36, the transmission and reception of                             COMPONENT TABLE - FIG. 3
             data to and from a processor external to reader 10, through an              Block Diagram Item          Manufacturer/Part Number
             RS-232 (or other) compatible I/O device 37 and the output-
             ting of user perceptible data via an output device 38, such as 15           Image Sensor 32-3           Toshiba 1201
             a beeper, a good read LED and/or a display 39 which may be,                 Prog. Gate Array 44-3       Welch Allyn 21203276-01
                                                                                         Microprocessor 42-3         Motorola HCl 1
             for example, a liquid crystal display. Control of output, dis-              EROM46-3                    Atmel AT 29C257
             play and I/O functions may also be shared between proces-                   RAM45-3                     Sony CXK 5864-BM-l0LL
             sors 42 and 44, as suggested by bus driver I/O and output/
             display devices 37' and 38' or may be duplicated, as suggested 20
             by microprocessor serial I/O ports 42A and 42B and I/O and              Significantly, the above-mentioned structural correspon-
             display devices 37" and 38'. As explained earlier, the specifics     dences   between FIGS. l, 2 and 3 should not be confused with
             of this division of labor is of no significance to the present       the types of symbols that may be read thereby. More particu-
             invention.                                                           larly, the 2D embodiment of FIG. 2 may be used to scan and
                                                                               25 decode both ID and 2D bar code symbols. This is because
                Referring to FIG. 2, there is shown a block diagram of an         both types of symbols can be imaged by a 2D image sensor.
             optical reader which is similar to 1hat of FIG. 1, except that it    Similarly, the lD embodiment of FIG. 3 may also be used to
             includes optical and/or electrical assemblies and circuits that      scan and decode both lD and 2D bar code symbols. This is
             are specifically designed for use with a 2D image sensor.            because a lD image sensor may be used to image a 2D bar
             Accordingly, the optical and electrical assemblies and com-          code symbol, provided that it is physically moved thereacross
             ponents of FIG. 2 are labeled with the same numbers used in 30 during the course of a scan. Because imaging ofthe latter type
             FIG. I, except for the addition ofthe suffix "-2". For example,      is described in detail in copending U.S. patent application Ser.
             image sensor 32-2 of FIG. 2 is a 2D image sensor which               No. 08/504,643, (now U.S. Pat. No. 5,773,806) which has
             corresponds to generic image sensor 32 of FIG. 1, imaging            been incorporated by reference herein, that type of imaging
             optics assembly 34-2 of FIG. 2 is a 2D imaging optics assem-
                                                                               35 assembly will not be discussed again in full herein.
             bly which corresponds to generic imaging optics assembly 34
                                                                                     The reader structures shown in FIG. 2 are preferably sup-
             of FIG. 1, and so on. In other word~, corresponding elements
                                                                                  ported on one or more printed circuit boards (not shown) that
             of FIGS. I and 2 have corresponding functions, although they
                                                                                  are, in turn, supported within a housing.
             may have different shapes and part numbers. Provided that
             these differences are taken into account, however, the descrip-         Examples of types of housings which may be employed to
             tion of the reader of FIG. 1 is equally applicable to the reader 40 house elements of the reader apparatus shown in FIG. 2 are
             of FIG. 2, and will not be repeated herein.                          shown in FIG. 4A through FIG. 41. FIGS. 4A through 4C
                                                                                  show a first exemplary housing 50-2-1, FIGS. 4D through 4F
                One specific practical example of an optical reader of the
                                                                                  show a second exemplary housing 50-2-2, while FIGS. 4G
             type shown in FIG. 2 may be constructed using the particular         through 41 show a third exemplary housing 50-2-3. Housings
             commercially available solid-state integrated circuits listed in
                                                                               45 50-2-1, 50-2-2, and 50-2-3 are preferably shaped so as to fit
             the following component table:                                       comfortably into a human hand, and to include a finger actu-
                                                                               atable trigger, 52-2-1, 52-2-2, 52-2-3. Housing 50-2-3 is
                                                                               shown as having an auxiliary trigger 52-2-3' which may
                                  COMPONENT TABLE - FIG. 2                     supplement or replace trigger 52-2-3. Housings 50-2-1 and
                                                                            so 50-2-2 have extending therefrom multiconductor cable or
                    Block Diagram Item      Manuffil..1:urer/Part Number       tether 54-2-1, 54-2-2, for providing communication with a
                    Image Sensor 32-2       VVL 1060B+                         local host processor, whereas 50-2-3 housing has extending
                    Prag. Gate Array 44-2   Actel 814V40A                      therefrom an antenna 55-2-3 for providing a communication
                    Microprocessor 42-2     IDT 3081                           with a local host processor. It is seen further that housings
                    EROM46-2                Intel 28F400VB-B60              55 50-2-2 and 50-2-3 have incorporated therein displays 56-2-2,
                    RAM45-2                 Toshiba TC51V4265DFT-60
                                                                               56-2-3, for displaying information to a user, and a keyboard
                                                                               58-2-2, 58-2-3, for inputting data and commands to processor
                Referring to FIG. 3, there is shown a block diagram of an      40.
             optical reader which is also similar to that of FIG. 1, except       FIGS. SA-SC show a housing 50-3 suitable for housing a
             that it includes optical and/or electrical assemblies and cir- 60 1D reader apparatus of the type described with reference to
             cuits that are specifically designed for use with a lD image      FIG. 3. Housing 50-3 includes a finger-actuatable trigger
             sensor. Accordingly, the optical and electrical assemblies and    52-3 and has extending therefrom a cable 54-3 for providing
             components of FIG. 3 are labeled with the same numbers used       communication with a local host processor. Although not
             in FIG. 1, except for the addition of the suffix "-3". For        shown as containing such features, it is understood that hous-
             example, image sensor 32-3 of FIG. 3 is a ID image sensor 65 ing 50-3 could readily be modified to include a display and a
             which corresponds to generic inJage sensor 32 of FIG. 1,          keyboard similar to those of 2D reader housings 50-2-2 and
             imaging optics assembly 34-3 of FIG. 3 is a ID imaging            50-2-3.




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                                    Main Program                                eters which control the codes which are enabled for process-
                                                                                ing as a part of the autodiscrimination process, whether
                The overall operation of the reader of FIG. 1 will now be       decoding is to be continuous or discontinuous, etc. As will be
             described with reference to the flow chart of FIG. 6A. As will     explained more fully later, permitted combinations of scan-
             be explained more fully presently, FIG. 6A comprises a high        ning and decoding parameters together define the scamiing-
             level flow chart which illustrates the preferred embodiment of     decoding relationships or modes which the reader will use.
             the main program of a reader which uses the apparatus and             After exiting block 627, the processor is dirL>cted to block
             method of the invention. By "main program" is meant the            630 which, if the decoding attempt was not successful, is
             program that illustrates the relationships between the major       directed back to block 625 unless the trigger has been released
             subdivisions or subroutines that together implement the 10 (block 635) or unless reprogramming request has been
             above-described features of the invention. It also means the       received (block 640), or unless a stop or no-repeat request is
             program that illustrates the overall flow and sequence of          called for by the current operating mode of the reader (block
             operations that are responsible for the advantages produced        642). The loop defined by blocks 625-642 will be the path
             by the invention. Because FIG. 6A depicts the operation of         repeatedly followed by the processor when autodiscrimina-
             two processors 42 and 44, however, operations that appear to 15 tion sequences are performed unsuccessfully, and no menu-
             be occurring sequentially may actually be occurring "simul-        ing or programming changes are called for, and no stop
             taneously". Processor 44 may, for example, be imaging and          request is in effect. If this loop is interrupted by the user's
             storing newly scanned blocks ofimage data in RAM 45 while          release of the trigger, or by a successful decode, or by a
             processor 42 is decoding blocks of image data that were            reprogram request, or by a stop request, the reader will be
             stored in RAM 45 during earlier scans. This is possible 20 directed by block 635 to stop and wait in a low power state
             because the two processors are operating in different memory       until further processing is called for.
             spaces, in different time slots, or under the common control of       In the above-described loop, block 642 serves the function
             a bus arbitration device. As a result, while the processors can    of stopping the repetitive scanning and decoding of the target
             never use the same memory or address space at the same time        symbol in those scanning-decoding modes or under those
             for conflicting purposes, they can be made to execute their 25 conditions in which a repetition of scanning and/or decoding
             respective programs sufficiently cooperatively and contem-         is not called for. In the One Shot mode, for example, scanning
             poraneously that they are effectively operating simulta-           and decoding are discontinued after one decoding attempt,
             neously. It is in this sense that the word "simultaneous" will     whetherornotthatattemptis successful, without regard to the
             be used herein.                                                    state of the trigger. Similarly, in the Repeat Until Stopped
                Referring to FIG. 6A, the main program begins with block 30 mode, scanning and decoding may be discontinued either by
             605 which causes the reader to wait in a low power state until     command, via block 642, or by the release of the trigger via
             trigger 52 is pulled. When the trigger is pulled, the processor    block 635. Thus, block 642 comprises at least a part of the
             is directed to block 610, which causes it to power up and          means by which the reader gives effect to the scanning-de-
             initialize the reader hardware, including the ASIC, the DMA        coding parameters of the parameter table.
             channel and the I/O dt.-vices, among others. The processor is 35      If block 630 indicates that the last decoding attempt was
             then directed to blocks 615 and 620 which cause it to define       successful, the processor is directed to a block 645 which
             the image data memory space that will be used (block 615)          calls for a determination of whether the result of the decoding
             and to initialize the reader with the default values of the        indicates that the decoded symbol was or was not a menu
             operating parameters stored in the parameter table thereof         symbol. This determination may be made on the basis of
             (block 620).                                                    40 results of the decoding, because all menu symbols are
                The parameter table, which is preferably stored in EROM         encoded with data that identifies them as such during decod-
             46, specifies the values of the parameters that define the mode    ing. If the decoded symbol is not a menu symbol, it is known
             in which the reader will operate. Examples of these param-         that the symbol contained data that is to be output by the
             eters include the size and the frame rate of the image sensor,     reader. In the latter event, the processor is directed to block
             the codes that will be enabled during autodiscrimination, the 45 646, which causes it to output the data and, proceed to block
             1/0 communication protocols, beeper pitch or volume,               647.
             among others. TI1e default values of these parameters are             Block 647, like block 642, comprises part of the means by
             those which will be used if the useror an externally generated     which the reader gives effect to the scamiing-decoding modes
             reprogramming command does not specify other values, and           called for by the parameter table. In particular, if decoding is
             correspond to a combination of parameters which are suitable 50 successful (block630) and has been output (block 646), block
             for use under most operating conditions. The different param-      647 discontinues scanning and decoding if the Repeat Until
             eters that may be used with the invention, and the effect that     Done mode is in effect. If any other mode is in effect, scan-
             they have on the operation of the reader will be discussed in      ning and decoding will continue unless blocks 635, 640 or
             detail later.                                                      642 call for a different result.
                After the reader has been initialized, the processor pro- 55       If the decoded symbol is a menu symbol, block 645 directs
             ceeds to blocks 625 and 627, which call for it to capture and      the processor to perform the menuing routine called for by
             attempt to decode an inlage of the target symbol. This             block 660 before returning to block 635. As will be explained
             involves the performance of a number of related steps, the         more fully later in coilllection with FIG. 8, the latter routine
             particulars of which are determined by the parameters of the       enables the user to command the reader to perform any of a
             parameter table. Included among these steps are a scanning 60 variety of different tasks, several of which include making
             subroutine which specifies the address space or spaces in          user specified changes to the parameter table, thereby chang-
             which scan data will be stored and whether scanning is to be       ing the operating mode of the reader, and the performance of
             continuous (e.g., at a full video rate, such as 30 founes per      any of a variety of user specified vector processing routines
             second), or discontinuous (e.g., with pauses related to the        that do not change the parameter table. Once either of the
             current state of the trigger). The operation of the decoding 65 latter tasks have been performed, the reader is directed to
             routine, which is executed in a user or factory selectable         block 635, which causes it to capture and attempt to decode
             relationship to the scanning routine, is governed by param-        another image, in accordance with the parameters indicated




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             by the parameter table, unless instructed to the contrary by         appropriate symbol. The manner in which such a table is used
             blocks 635, 640 or 642. Optionally, the execution of menu            will be described later in connection with FIGS. SA through
             routine 660 may be followed by a direction back to block 647,        SD.
             as indicated by dotted line 648, and the resultant discontinu-          Among the vector processing operations which may be
             ation of scanning and decoding, if the reader is in its Repeat       selected underop code Oare the following. OperationAl calls
             Until Done mode.                                                     for the reader to output, i.e., display or print, via the local host
                 While reprogramming request block 640 has been                   processor, or via anon-reader LCD display, the identity ofthe
             described as being located between blocks 635 and 625, it            version of the software currently being used by the reader.
             actually preferably represents an externally generated inter-        Operation A2 calls for the reader to output the current con-
             rupt request that may occur at any time that the reader is 10 tents of the parameter table. OperationA3 calls for the reader
             operating. Such a request may, for example, be initiated by a        to output the code options that are enabled, e.g., the types of
             local host processor via one of I/O devices 37, 37' or 37". It       symbols that the reader is to attempt to decode during the
             may also be initiated by a remotely located processor, via one       autodiscrimination process and whether or not a "multiple
             of the latter I/O devices, through a suitable transmission line      symbols option" has been enabled. Other options may also be
             or computer network, as shown in FIG. 9. However the repro- 15 defined as desired.
             gramming request is initiated, it directs the reader to execute         Operation A4 is a particularly powerful and desirable vec-
             the reprogramming routine called for by block 670. As will be        tor processing operation which causes the printer of the local
             explained more fully in connection with FIG. 10A, this rou-          host processor to print a menu bar code symbol that contains
             tine causes the reader to be reprogrammed, either in whole or        all ofthe information necessary to instruct another reader how
             in part, thereby changing or updating the manner in which it 20 it must be programmed if it is to operate in the same manner
             operates and/or the symbols which it attempts to decode.             as the current reader. This, in turn, enables the user to quickly
                                                                                  set up the same (or another) reader to operate in a manner that
                                         Menuing                                  would otherwise require the user to manually select an entire
                                                                                  sequence of parameter table values. !fit is used to setup other
                The menuing feature of the present invention will now be 25 readers, the process of using such a menuing bar code symbol
             described with reference to FIGS. 7A through 7C, and the             may be thought of as a "cloning" procedure, since it allows a
             menuing flow chart shown in FIG. 8.                                  multiplicity of readers to be identically configured.
                Turning first to FIG. 7A, there is shown the format for a            The type of bar code symbol in which the parameter table
             menu message or word 650 of the type used by the present             is printed must natUI"dlly be in a bar code symbology in which
             invention. This menu word will ordinarily be produced as a 30 the reader is able to both encode (or write) data and decode (or
             result of the decoding of a menu symbol, selected by the user,       read) data. Because the parameter table has a data content
             from a collection of menu symbols printed in a User's Manual         which may be too high to be encoded in many 1D symbolo-
             supplied with the reader, along with a description of their          gies, the menu symbol encoding the parameter table is pref-
             functions.                                                           erably encoded in a 2D bar code symbol. One 2D symbology
                                                                               35 which is particularly suitable for use in encoding a menu bar
                 Menu word 650 begins with a first one-byte product iden-
                                                                                  code symbol of the subject type is that developed by Welch
             tification (ID) code field 650-1 that identifies the type and/or
                                                                                  Allyn, Inc. and referred to as the "Aztec" symbology. The
             model number of the reader. If the decoded product ID code
                                                                                  manner in which data is encoded in accordance with the Aztec
             indicates that it is compatible with the menuing progran1,
                                                                                  symbology is described in detail in copending, commonly
             execution of the menuing program continues normally. If it is 40 assigned U.S. Pat. No. 5,591,956, which is hereby expressly
             not, the processor is caused to exit the menuing routine with-
                                                                                  incorporated herein by reference.
             out making any menu specified changes.                                  In addition to op code 0, menu word 650 also makes avail-
                The next field 650-2 of menu word 650 specifies the op            able op codes 1-7, as shown in FIG. 7C. The latter op codes
             code thereof in terms of a number from O to 7. This field            comprise simple commands, each of which specifies a change
             specifies the operation to be performed by the menu word. 45 that is to be made at a particular part of the parameter table,
             The meanings of these different op codes are listed in FIG.          using specified data, if required. Assllllling that parameter
             7C. Among these is op code "0", an op code that specifies            values are stored as bytes in respective addresses of the
             some task that does not involve a direct change to the param-        memory that are set aside for use as a parameter table, offset
             eter table. Such operations will hereinafter be referred to as       field 650-3 will comprise an index to the parameter byte
             "vector processing operations". Exemplary ones of the tasks 50 relative to the base address of the table. The data or data mask
             that may be requested pursuant to op code Oare listed under          that is to be used with the specified offset is specified by the
             headings Al through A4 of FIG. 7C, which tasks may be                data contained in up to four 8 bit data fields 650-4 through
             specified and differentiated from one another by the data            650-7 of menu word 650.
             included in the data fields 650-3 through 650-7 which follow            Referring to FIG. 7C, for example, op code "1" specifies a
             op code field 650-2.                                              55 "clear" operation. It directs the processor to the byte of the
                 Specifically, the vector processing operations comprise          parameter table that is pointed to by the offset field, and uses
             selectable menu routines. Vectors to these routines can be           the content of data field 650-4, Data 0, to specify the bit mask
             stored in a vector table. The contents of data field 650-3,          that is to be used to specify the bits to be cleared. Op code"6",
             "offset", is an index to the vector table relative to the base       on the other hand, specifies a load operation. It directs the
             address thereof. If the offset field includes 10 bits, and only 60 processor to the byte of the parameter table that is pointed to
             five of these bits are used as an index, then 32 different vector    by the offset field, uses Data Oas the bit mask for the bits to be
             values will be possible. In this case the remaining 5 bits may       changed, and uses Data 1 as the new data for those bits.
             be used for data.                                                    Because the use of op codes of this type are known to those
                The vector processing operations are preferably made              skilled in the art, the use of these op codes will not be
             selectable to a user by including respective menu bar code 65 described in detail herein.
             symbols in tables in the User's Manual of the reader. 'The user         In accordance with the invention, the parameter table is
             may then select the desired vector routine by imaging the            used to specify the operating options that are made subject to




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             the control of the user. Representative groups of such options    "One Shot" scanning-decoding mode. In this "One Shot"
             are shown as headings A throughE of FIG. 713, together with       mode the reader will scan and attempt to decode one bar code
             some of the options that may be selected under those head-        symbol each time that the trigger is depressed and then stop.
             ings. One important group of those options are those that are     'The address spaces corresponding to scanning-decoding
             labeled as "code options" under heading B. Under this head-       modes C2 and C3, on the other hand, may be used to specify
             ing may be found the parameter table addresses that are set       that the reader operate in a "Repeat Until Done" (RUD) or
             aside for use in specifying the enabled/disabled states of the    "RL"Jleat Until Stopped" (RUS) scanning-decoding mode. In
             various decoding programs that may be used during the auto-       these modes, the reader will scan repeatedly and attempt to
             discrimination process of the invention. 1be parameter table      decode repeatedly until there is a successful decode (RUD),
             addresses corresponding to options Bl and 82, for example, 10 or until requested to stop whether or not there is a successful
             may be set aside for specifying whether all ID codes or all 2D    decode (RUS). Scanning-decoding modes Cl-C3 are prefer-
             codes are or are not to be used in an attempt to decode an        ably made user selectable by including suitable menu sym-
             unknown symbol during autodiscrimination. Similarly, the          bols in the User's Manual.
             parameter table address corresponding to option B3, may              Also included among the scanning-decoding modes of the
             specify a particular bar code symbology, such as MaxiCode, 15 invention are the tracking modes listed under headings
             that is to be enabled or disabled, i.e., specify whether the      C4-C6 of FIG. 78. Of these, the Scan On Demand (SOD)
             autodiscrimination process is or is not to include an attempt to  mode C4, when enabled, causes decoding to proceed continu-
             find a MaxiCode symbol in an image. In addition, the param-       ously while scanning is started and stopped as necessary to
             eter table address corresponding to option B4 may indicate        maintain a tracking relationship between scanning and
             that after decoding, messages that are longer than a specified 20 decoding. Skip Scan (SS) scanning-decoding mode CS, when
             maximum length or shorter than a specified minimum length         enabled, causes the results of older scans to be discarded in
             are not to be output. Depending on the application, this Min-     favor of more current scans when and as necessary to main-
             Max length option may be applied on a symbology dependent         tain the desired tracking relationship between scanning and
             basis, i.e., applied so that it is active with some symbologies,  decoding operations. Finally, Decode On Demand (DOD)
             but not with others, or may be applied on a symbology inde- 25 scanning-decoding mode C6, when enabled, causes scanning
             pendent basis. Finally, the parameter table address corre-        to proceed continuously while decoding is started or stopped
             sponding to option BS specifies whether the Multiple Sym-         as necessary to maintain a tracking relationship between
             bols option of the invention is or is not to be used. The         scanning and decoding. The particular one of these tracking
             enablement of this option, which given effect by block 643 of     modes that will be used is preferably set during manufacture,
             FIG. 6A, calls for the reader to attempt to decode more than 30 based on the amount of image data memory that is present
             one symbol in the field ofview of the reader without having to    within the reader, and not changed thereafter. There is no
             acquire multiple images of that field of view. ·The types of      reason in principle, however, why tracking options C4-C6
             options selected for inclusion under heading 8 will vary from     cannot be made user selectable as, for example, by the inclu-
             application to application, and the present invention will be     sion of suitable menu symbols in the User's Manual.
             understood not to be restricted to any particular selection of 35    The availability of the SOD, SS and DOD tracking modes
             such types.                                                       among the scanning-decoding options that may be selected
                The inclusion of user selectable code options as part of the   during the factory programming of the reader is beneficial
             menuing process of the invention has a significant effect on      since it allows the data throughput rate of the reader to be
             the overall data throughput rate of the reader, i.e., on the time optimized in view of the amount of memory that is available
             necessary to decode a symbol whose symbology is not known 40 within the reader. At the same time, because operation in all of
             in advance. If, for example, it is known that none of the         these modes may be disabled during operation in the One
             symbols to be read during a series of readings comprise ID        Shot, Repeat Until Done, or Repeat Until Stopped modes, the
             symbols of any type, or any subset of ID symbols such as          reader is able to operate in accordance with the non-tracking
             Codabar, Code 39 or Code 128, code options allow a user to        variants of these modes when such operation is preferred.
             direct that any attempt to decode an unknown symbology 45 One condition under which such operation may be preferred
             according to these symbologies is to be skipped, thereby          is one in which scanning while decoding is slow as a result of
             shortening the total time necessary for the processor to          the time sharing of a bus. Thus, the reader of this invention
             decode the unknown symbol according to the symbology              combines flexibility of use with time-optimized use of the
             which it does use. Ibis skipping also reduces the chances of      scanning and memory resources of the reader.
             a misread. If, on the other hand, it is known that all of the 50     As will be explained more fully later, the RUD and RUS
             symbols to be read during a series ofreading operations are of    modes may be used either with or without one of the above-
             one type, such as Interleaved 2 of 5, all 2D decoding programs    described tracking modes. This is because repetition is a
             and all the decoding programs for 1D symbologies other than       necessary but not a sufficient precondition to the use of the
             interleaved 2 of 5 may be disabled, thereby limiting all decod-   tracking modes of the invention. Accordingly, if the RUD or
             ing attempts to a single ID symbology. Thus, the menuing 55 RUS mode is not used in conjunction with a tracking mode it
             process of the invention allows the autodiscrimination pro-       will comprise a non-tracking mode. If the RUD or RUS mode
             cess of the invention to be optimized so as to achieve the        is used in conjunction with a tracking mode it will comprise a
             highest possible data throughput rate.                            tracking mode.
                A second important group of options provided by the               Other groups of options that are provided by the menuing
             menuing process of the invention are those that are labeled as 60 feature of the invention include those that are set aside under
             "Scanning-Decoding" Options under heading C of FIG. 78.           headings A, D and E of FIG. 78. Of these Commnnication
             Unlike the code options ofheading B, the scanning-decoding        Options, heading A, is associated with parameter table
             options ofheading Care not concerned with which codes are         addresses that correspond to various communication modes
             enabled or disabled, but rather with the relationships which      that may be used by the reader. Included among these options
             will be allowed to exist between scanning and decoding. The 65 are Al, an option that enables/disables RS-232 communica-
             parameter table address corresponding to option Cl, for           tion throughanI/0 device (such as I/0 37, 37', etc.),A2 which
             example, may be used to specify that the reader operate in a      specifies the baud rate of the selected communications mode,




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             andA3 which enables/disables the RF link that the reader may         the message for later use before proceeding to block 850. An
             use in place of multi-conductor cable 54-2 of FIGS. 4A-4C.           example of numerical data without au op code comprises the
             Option A4 is an example of a network option which specifies          minimmn or maximum length of the messages that are to be
             the type of computer network with which the reader is to             output under code option B4.
             operate, in this case ETHERNET, although other types may                If the menu message contains au op code, and the op code
             also be provided for.                                                is other than 0, the processor is directed, via block 820, to a
                Similarly, heading D is associated with parameter table           block 825. The latter block causes it to make the parameter
             addresses that correspond to various miscellaneous operating         table changes called for by the op code and the associated
             options that may be selected by the user. Included among             offset and data fields, sets a "flash" flag to indicate that
             these options are Dl which enables/disables the beeper and 10 changes have been made and then proceeds to block 850. This
             allows the volume thereof to be adjusted, D2 which enables/          has the effect of implementing the user selected changes in
             disables the use of an aiming LED, and D3 which enables/             the menuing options discussed previously in connection with
             disables the provision of aural feedback to the user, among          FIG. 7B. Such changes will ordinarily be made in a copy of
             others. An example of a reader which provides aural feedback         the parameter table that is stored in RAM 45, and then later
             is described in U.S. Pat. No. 5,420,409.                          15 transferred to EROM 46.
                Heading E is associated with parameter table addresses               If the menu message contains an op code of 0, the processor
             that correspond to various transmission options that may be          is directed, via block 820, to a block 830. The latter block
             selected by the user. Included among these options are El and        causes the processor to perform the vector processing opera-
             E2, which enable/disable the outputting of check characters          tion indicated by the remainder of the message. This opera-
             or checksum data with decoded data, and E3 which enable 20 tion will comprise one of the operations discussed previously
             data edit options such as adding a carriage return aud/or a line     in connection with items Al through A4 of FIG. 7C, among
             feed aud/or other ASCII characters to the decoding data.             others, before proceeding to block 850.
             Options El andE2 are useful, for example, in the localization           In view of the foregoing, it will be seen that, when the
             and identification of hardware or software failures during the       processor arrives at block 850 it will have taken all required
             servicing ofthe reader. Option E3 is useful in placing decoded 25 numerical data, performed all required parameter table modi-
             data in a form suitable for use with an application program.         fications, or performed all required vector processing opera-
                Heading Fis associated with parameter table addresses that        tions. As will now be explained, the remainder of the flow
             correspond to various message editing commands for 1.'C!iting        chart of FIG. 8 is directed to storing a semi-permanent copy of
             the form of characters in a decoded message. These com-              the parameter table in EROM 46.
             mands may be, for example, search and replace commands 30               If, on arriving at block 850, the processor finds that the
             (option Fl), commands to insert characters (option F2), com-         "flash'' flag has not been set, it knows that the contents of the
             mands to delete characters from a decoded message (option            parau1eter table have not been changed and, consequently,
             F3), or other commands.                                              that no updated copy thereof needs to be stored in EROM 46.
                Heading G, meanwhile, is associated with parameter table          Under this condition, the processor is directed to sin1ply
             addresses that correspond to commands for adding prefixes or 35 return to the main program ofFIG. 6A. If, on arriving at block
             suffixes, of a selectable character length, to a decoded mes-        850, the processor finds that the "flash" flag has been set,
             sage. Prefixes aud suffixes are added to messages so that the        however, it knows that the contents of the parameter table
             host processor can identify the source of, or other character-       have been changed and, consequently, that an updated copy
             istics of received messages. Option Gt allows addition of a          thereof needs to be stored in EROM 46. Under this condition,
             prefix to a decoded message while option G2 allows addition 40 the processor is directed to blocks 855, 860 and 865, which
             of a suffix to a decoded message.                                    defines the steps necessary to store this updated copy.
                In view of the foregoing, it will be seen that the menuing           In accordance with block 855, the processoris instructed to
             process of the invention provides a wide range of user select-       copy from EROM 46 to RAM 45, the program instructions
             able fuuctions and modes that allow the reader to be tailored        (flash routine) necessary to copy the parameter table from
             to a user's specific application and/or preferences. Among 45 RAM to EROM. The cop)'ing of the flash routine to RAM is
             these, the code options and the scanning-decoding options in         necessary because the EROM cannot be written to when the
             particular, allow a user to reconfigure the operation of the         apparatus is reading or operating from the EROM. Once the
             reader in ways that have not heretofore been possible and            flash routine has been copied to RAM 45, the processor is
             thereby substantially increase the flexibility and overall data      directed to jump to RAM to begin executing that routine. As
             throughput rate of readers that practice the present invention. 50 it does so it is directed, via block 860, to erase the old (un-
                The manner in which the invention can be updated to               changed) parameter table from EROM 46. Per block 865, it
             accomplish the above-described results will now be described         then copies new (changed) parameter table from RAM 45 to
             with reference to the flow chart of FIG. 8, which shows the          EROM 46. Once this has been done, the processor is directed
             steps included within menu routine block 660 of FIG. 6A. The         back to the main program of FIG. 6A to begin operating in
             menu routine of FIG. 8 begins with a block 805 which causes 55 accordance with the operating mode specified by its new
             the processor to convert the decoded menu symbol message             parameter table. Thus, the performance of the steps called for
             into hexadecimal form. This has the effect of formatting the         by blocks 855~65, when called for by block 850, has the
             message so that the fields of the menu word are expressed as         effect ofpartially reprognunming the reader so that it operates
             pairs of hexadecimal digits. Once this has been done the             in the manner indicated by the last menuing symbols selected
             processor examines the product ID code to verify that it is 60 by the user.
             compatible with the reader being menued. If it is not, the              Referring to FIGS. 8A--8D, there are shown examples of
             processor is directed to exit the menuing routine aud continue       menu symbol selection charts of the type that may be used
             scanning. If it is, the processor is directed to block 810 which     with the present invention. Referring first to FIG. 8A, there
             distinguishes those menu messages which contain op codes             are shown two parts of au option selection or menu chart that
             from those which contain numerical data but no op codes. If 65 is used to enable and disable two exemplary lD bar code
             there is no op code, the processor is directed to block 815,         symbologies, namely: Code 128 and UPC A. If a user wants
             which causes it to collect in an accumulator all of the digits of    to enable the decoding of Code 128 symbols, he need only




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             image menu symbol 802 which, in the present example, is a           pro1--essor equipped with a diskette or CD-ROM drive, or
             2D bar code symbol expressed in the Aztec bar code symbol-          remotely by a distant processor that is coupled to the reader
             ogy. Conversely, if a user wants to disable the decoding of         via a suitable telephone or other transmission line or via a
             Code 128 symbols, he need only image menu symbol 804.               computer network or bulletin board.
             Similarly, imaging symbols 806 or 808 enables or disables the          The reprogramming feature of the invention will now be
             decoding of UPC A symbols. Advantageously, the change               described with reference to the system block diagram of FIG.
             called for by the user is accomplished as the result of a single    9 and the reprogramming flow chart of FIG. lOA. Referring
             imaging step, rather than as a result of multiple imaging steps.    first to FIG. 9 there is shown a reader 10, of the type shown in
                Referring to FIG. 8B, there are shown two parts of an            FIG. 4 or 5, which is coupled to a local host processor 900 by
             option selection chart that is used to select the desired one of 10 means of multi-conductor flexible cable 54. The reader may
             the baud rates that may be used by the reader's I/0 devices. A      also comprise a cord.less battery powered reader 10' which is
             user chooses the desired one of the exemplary 1200, 9600,           coupled to a host processor 900 via a suitable RF link includ-
             19200 and 38400 baud rates by simply imaging the corre-             ing antennae 905 and 910 and an RF interface module 915.
             sponding ones of menu symbols 812 through 818. Again, the           Host processor 900 is preferably equipped with a display 930
             change is accomplished as the result of a single imaging step. 15 by which the results of the previously described vector pro-
                The fact that the above-discussed examples of menu selec-        cessing operations may be displayed, and with a printer 940
             tions make use of menu symbols that use the Aztec 2D sym-           by which the previously described menuing bar code symbol
             bology is not essential to the practice of the invention. Other     may be printed. As used herein, the term "local host proces-
             2D or lD menu symbol symbologies could also have been               sor" will be understood to include both stand alone host
             used, if desired, as will be seen from the following discussion 20 processors and host processors which comprise only one part
             of FIGS. 8C and 8D. What is important is that the symbology         of a local computer system.
             used for the menu symbols be the one that is correct for the           If the new reader program is available locally as, for
             model indicated by the product ID field of the menu word. In        example, on a diskette or CD-ROM, it may be loaded into
             the case of FIGS. 8A and 8B, the illustrated menu symbol            reader 10 or 10' using a suitable drive unit 920, under the
             symbology is that which is used by the IMAGETEAM® 25 control of a keyboard 925 and the reprogramming routine
             Model 4400 reader manufactured by Welch Allyn, Inc.                 shown in FIGS. lOA and lOB. In addition to drive unit 920,
                Referring to FIG. 8C, there are shown exemplary parts of         processor is typically in communication with a read only
             the option selection or menu chart that can be used with Welch      program storage device such as a ROM 921 and a read/write
             Allyn SCANTEAM® readers. In FIG. 8C, symbol 822 is an               storage device such as a RAM 922. If the new reader program
             example of a menu symbol that, ifimaged, causes all Code 11 30 is available at a remotely located processor 950, it may be
             and Code 128 settings to assume their default values. Sym-          loaded into reader 10 or 10' through a suitable transmission
             bols 824 to 836 are examples of menu symbols that allow             link 955, such an electrical conductor link, a fiber optic link,
             Code 11 options to be enabled and disabled on an individual         or a wireless transmission link through a suitable communi-
             basis. Similarly, symbols 848 to 856 are examples of menu           cation interface 960, such as a modem. As used herein, the
             symbols that allow Code 128 options to be enabled and dis- 35 term "transmission link" will be understood to refer broadly
             abled on an individual basis.                                       to any type of transmission facility, including an RS-232
                Referring to FIG. 8D, there are shown further exemplary          capable telephone line, as called for by communication
             parts of the option selection or menu chart that may also be        option Al ofFIG. 7B, an RF link, as called for by communi-
             used with Welch Allyn SCANTEAM® readers. In FIG. 8D                 cation option A3 of FIG. 7B, or a computer network, e.g.,
             symbol 858 is an example of a menu symbol that, if imaged, 40 ETHERNET, as called for by communication option A4 of
             causes the settings for one ofthe RS-23 2 ports of the reader to    FIG. 7B, although other types of transmission links or net-
             assume their default values. Symbols 862 and 864 are                works may also be used. For example, transmission link 955
             examples of menu symbols that enable and disable a CTS              could be provided by a coaxial cable or any other non-RF
             check selection feature. Finally, symbols 866 through 884 are       electromagnetic energy communication link including a light
             examples of menu symbols that allow any of a number of 45 energy infrared or microwave communication link. Link 955
             different baud rate selections to be made. Once again, the          could also be an acoustic communications link. Additional
             present invention allows all of these menu selections to be         communication options include a baud rate option A2 which
             made by means of a single step selection process.                   allows different baud rates to be selected.
                Because fuller information concerning the menu options              The manner in which the reader of the invention may be
             contemplated by the present invention, and their uses is con- 50 made to perform any ofa variety of different externally speci-
             tained in the User's Manual for the above-identified readers,       fied functions, including reprogramming itself, will now be
             these menu options will not be discussed further herein.            described with reference to the flow charts of FIGS. lOA and
                                                                                 1OB. As will be explained more fully presently, the flow chart
                                     Reprogramming                               of FIG. lOA is a flow chart by which a program originating
                                                                              55 outside of the reader may be loaded into the reader for execu-
                In accordance with another feature of the apparatus and          tion thereby. One example of such an externally originated
             method of the invention, the reader may be reprogrammed to          program is the reprogramming program shown in FIG. lOB.
             operate in accordance with an entirely new application pro-         Other examples of such externally originated programs may
             gram. 'This means that the reader may not only be provided          include diagnostic or test programs, among others.
             with a new or updated decoding program, or a new parameter 60          Turning first to FIG. 1 0A, this flow chart is entered when
             table, it may also be provided with one or both of a new            the reader receives an externally generated command, such as
             menuing routine and a new main program. As a result, a              the six character sequence BBOOTT, which it is programmed
             reader may be effectively reconfigured as a new reader, with        to recognize and respond to. This command may be initiated
             new capabilities and features, as often as necessary to keep it     either by a local or a remotely located processor and trans-
             up to date with the latest developments in optical reader 65 mitted to the reader via any of the I/0 devices shown in FIG.
             technology. Advantageously, this reprogramming may be               1. It may, for example, be initiated by the local host processor
             accomplished either locally as, for example, by a local host        via keyboard 945 or by remote processor 950. This command




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             may be given effect as an interrupt request and recognized as           parameter table and the menuing program itself. Thus, the
             such by decision block 1005 of FIG. l0A. It will be under-              reprogramming feature can not only change the manner in
             stood that while interrupt block 1005 is shown in FIG. 10A, it          which the reader operates, it can also change the manner in
             may in fact be located at any point within the main program of          which the operation of the reader can be modified in the
             the reader.                                                             future.
                 Once the 88OOTT command has been received and acted                    With the use of the above-described reprogramming fea-
             on, the processor enters a loading loop including blocks 1007           ture, the reader of the invention may be kept current with the
             through 1020. This loading loop causes the processor to load            latest available programs that are suitable for use therewith. A
             a program into RAM, one line at a time, in conformity with              user at local processor 900 may, for example, communicate
             any suitable communication protocol, until the last line of 10 with remote processor 950, via keyboard 925, and determine
             code is detected via block 1020. When the latter has occurred,          if new programmable features are available. If they are, he
             the processor is directed to block 1025, which causes it to             may obtain them from the remote process and download them
             jump to the newly received program and to begin executing               locally, or request that the remote processor download them
             the same before returning to the main program.                          directly to the reader. Alternatively, the remote processor may
                 Referring to FIG. 10B, there is shown an exemplary flow 15 initiate the reprogramming of the reader independently as, for
             chart for a reprogramming routine suitable for use in repro-            example, pursuant to a service contract or updating service. It
             gramming the reader to operate with new or different decod-             will be understood that all such embodiments are within the
             ing programs, and or new or different menuing programs,                 contemplation of the present invention.
             among others. This program is an example of a program
             which may be executed as a result of the execution of the 20                      Local Host and Reader System Operations
             loading loop 1007-1020 ofFIG. l0A, and which begins to be
             executed as the processor enters block 1025 of FIG. l0A.                   As has been described hereinabove, reprogramming of a
                 On executing the reprogramming flow chart of FIG. 108,              reader may be accomplished with use of a local host proces-
             the device loads the program that is intended to replace all or         sor. This section describes additional features of a system
             part of the program currently stored in EROM. This process 25 comprising a local host processor 900 and a reader 10 accord-
             begins as the processor encounters block 1035, which directs            ing to the invention, and more particularly describes features
             it to wait until a line of externally generated code is received.       and additional system operations that are realized by various
             As each line of code is received, it is first checked for correct-      interaction between host processor 900 and reader 10, and in
             ness (e.g. checksum), as called for by block 1040 and, if an            certain applications by a host processor 900 that is not in
             error is found, send~ a negative acknowledgment signal to the 30 communication with a reader 10.
             sending processor per block 1045. Each time that a correct                 A flow diagram illustrating the primary program for oper-
             line of code is received, the flow loops back for additional            ating a local host processor for use in coutrolling a reader is
             lines until the last line of the current file has been correctly        shown in FIG. llA. By executing block 1102 host processor
             read, as called for by block 1050. Since the last line of the file      causes to be displayed on a display monitor 930 a subprogram
             does not contain program data, and cannot occur until all 35 option screen. The subprogram option screen displays vari-
             blocks of program data have been processed, block 1050 will             ous subprogram options for a user to select. Selection of one
             direct the processor to block 1060, unless and until all blocks         subprogram option causes a series of instructions pertaining
             of program data have been received and stored in EROM 46,               to that particular option to be executed by local host processor
             and then cause it to return to the main program of FIG. 6A via          900. These subprograms of a host primary program control-
             exit block 1055.                                                     40 ling local host processor may include, for example, a subpro-
                 If the processor has not exited the reprogramming routine           gram for reprogramming a reader; a subprogram for upload-
             ofFIG.108 per blocks 1050 and 1055, block 1060 will cause               ing parameter information from a reader to host, or
             it to determine if the last received line indicated that a new          information pertaining to a main program presently operating
             block has begun. If it has, the processor is directed to block          a reader; a subprogran1 for instructing a reader to perform
             1065, which causes itto erase that new block ofEROM before 45 self-diagnostic testing; a subprogram for determining the
             continuing to block 1070 and storing that last received line            reader's main program revision level; a subprogran1 for out-
             therein. If it has not, block 1070 will cause the processor to          putting parameter table information, possibly to auxiliary
             store the last received line to the last erased block of EROM.          readers; a subprogram for editing parameters of a parameter
             If this line has been successfully stored, as determined by             table; a subprogram for simulating the result of applying
             block 1075, the processor will acknowledge that fact per so editing commands to a decoded message; and a subprogram
             block 1077 and loop back for another line.                              for displaying barcode symbols for scanning by a reader.
                 If, however, any line of data has not been successfully                A flow diagram illustrating a subprogram for rt.."Program-
             stored, block 1075 will direct the processor to a block 1080            ming of a reader 10 by control of a local host processor is
             which causes it to output an error message and exit the pro-            shown in FIG. 118. Whereas FIGS. l0A and 10B illustrate
             gram. If the latter occurs, the reprogramming routine as a 55 instructions executed by processor 40 of reader 10 for pro-
             whole must be repeated. If the latter does not occur, the               viding reprogramming of a reader, FIG. 11B illustrates
             above-described process will continue line-after-line, block-           instructions executed by local host processor for providing
             after-block, until the entire file has been successfully trans-         reprogramming of a reader.
             ferred.                                                                    At block 1110 host processor 900 displays a main repro-
                 In view of the foregoing, it will be seen that the effect of the 60 gramming screen on display monitor 930. The main repro-
             reprogramming routine of FIG. 108 is to attempt to repro-               gramming screen prompts a user to designate a source for an
             gram part or all ofEROM 46 as requested, orto continuing the            operating program. The source designated is typically a bulk
             attempt to do so until it either succeeds or fails. To the extent       storage device such as a hard or floppy disk drive but also may
             that the reader is reprogrammed, it will effectively become a           be, for example, a RAM or ROM storage device. When the
             new or updated reader. This is not only because this repro- 65 source is selected, host processor 900 displays on display
             gramming cannot only modify the parameter table, it can also            monitor 930 indicators of the operating programs, or files,
             modify the decoding or other programs referenced by the                 that are available in the storage device source selected (block




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             1114) and a user selects one of the operating programs. Some      block 1126 that tlie selected operating program is a parameter
             available operating programs comprise entire main programs        only type operating program then host processor 900 first
             and entire parameter tables for loading into reader, whereas      queries EROM 46 to determine the begin and end address
             other available operating programs include only parameter         locations of the parameter table of tlie operating program
             tables which may be customized parameter tables created by        currently stored in EROM. To this end host processor 900 at
             a user during execution of a parameter table editing subpro-      block 1130 polls the contents of a vector pointer table 1134 in
             gram.                                                             predetermined address locations ofEROM. Described previ-
                When a user selects a source for an operating program, and     ously herein vector pointer table 1134 comprises tlie begin-
             selects a desired operating program, downloading of the oper-     ning and end addresses of the parameter table. After vector
             ating program proceeds. At block 1116 host processor deter- 10 pointer table is polled, host processor 900 stores the address
             mines whether a reader is connected to the host processor         location of the present parameter table, modifies the param-
             communications link, normally by serially transmitting a          eter table address of the selected parameter-only operating
             device detection command to a reader, which has been pre-         table in accordance with the parameter table addresses of the
             viously programmed to transmit an acknowledge response            existing parameter table (block 1136) and writes the contents
             message on the reception of a detection command.               15 of tlie parameter table address locations of the modified
                If a reader is connected to host processor 900 then host       parameter-only type operating program into EROM 46 (block
             processor at block 1118 sends an identification command to        1140).
             reader 10 which is previously programmed to transmit an              If processor 900 determines at block 1126 that the selected
             identification response on the reception of an identification     operating program is of the type having a main program and
             command. After receiving the identification response and 20 a parameter table, then processor 900 at block 1144 prompts
             comparing the response to the selected operating program at       the user whetlier the user would like to save the contents of a
             block 1120 processor at block 1122 determines whether the         parameter table of the operating program currently stored in
             reader is of a type which is compatible with the selected         EROM 46 of reader 10; that is, utilize the parameters of the
             operating program. An operating program is compatible with        current operating program in the operation of a reader that is
             a reader in communication with host processor if the operat- 25 programmed to have a new main program. If the user
             ing program is specifically adapted for that reader's unique      responds affirmatively, then processor 900 reads the contents
             hardware configuration. Bar code reader's of various types        of the existing parameter table (block 1150) after first polling
             have different hardware components including different            the vector pointer table and then writes, at block 1152, the
             memory devices, image sensors, input/output devices, and          contents of the existing parameter table in a predetermined
             other components. The selected operating program must be in 30 holding address location of a storage device associated with
             a form enabling it to communicate with the particular hard-       processor 900 or reader 10.
             ware components of the presently connected reader.                   The selected operating table is then written into EROM 46
                If the selected operating program is compatible with the       at block 1140, line by line, until loading is complete. If the
             present reader, the host processor at block 1126 determines if    user had requested at block 1144 to save the contents of the
             the operating program is a parameter-only type operating 35 original parameter table (a determination made at block
             program or an operating progr,1m that comprises a main pro-       1153), then processor 900 writes the contents of the param-
             gram and a parameter table. This determination can be made,       eter table stored in a holding address location to the appro-
             for example, by reading the contents of a DOC type file which     priate parameter address locations of EROM at block 1154,
             is made to be read by processor 900 when an operating pro-        after determining the address locations of the parameter table
             gram is read, and which is made to include an identifier as to 40 at block 1156.
             whether the operating program is of a type which includes a          Referring again to the primary host processor program
             main program and parameter table; by reading the contents of      shown in FIG. 11A, another subprogr,1m which can be
             a predetermined address of the operating program which is         selected from subprogram option screen displayed at block
             made to include an identifier as to tlie type of operating        1102 is a subprogram for editing a parameter table via host
             program; or by reading predetermined addresses of an oper- 45 processor control. An important feature available in this sub-
             ating program designated for storing a main program and           program is that the subprogram allows a user to edit a param-
             basing the determination on whether instructions are present      eter table read from a memory location of processor 900 or
             in the designate addresses.                                       reader 10 without there being a reader currently in commu-
                A memory map for a typical operating program in accor-         nication with processor 900, thus improving the convenience
             dance with the invention is shown in FIG. 11C. When an 50 of operation.
             operating program is stored in a memory device, which may            As discussed previously witli reference to FIG. 7B, a
             be, for example EROM46 of reader 10, oradiskdrive920 or           parameter table is used to specify operating options that are
             other storage device associated with host processor 900 a         subject to the control of the user. During execution of instruc-
             plurality of first predetermined address locations e.g. 000 to    tions of a reader's main progran1 stored in a first predeter-
             5000 of the storage device are designated for storing param- 55 mined memory locations of a storage device, parameters of a
             eters of the main program, while a plurality of second prede-     parameter table, which is stored in a second predetermined set
             termined address locations e.g. 8000 to 9000 are designated       ofmemory address locations of a storage device, are called up
             for storing instructions of a parameter table. The beginning      with use oflookup type instruction as exemplified by repre-
             and end addresses of the parameter table may change from          sentative looknp instruction (in pseudocode) 1160 shown in
             operating program to operating program. However, the 60 FIG. UC. Parameters of a parameter table may be, for
             parameters of each parameter table are in identical locations     example, communications option parameters (subheading
             with respect to the begiuning address.                            A), code option parameters (subheading B), scal1lling-decod-
                When host processor 900 determines at step 1126 that the       ing option parameters (subheading C), operating option
             selected operating program includes a main program then           parameters (subheading D), transmit option parameters (sub-
             program control proceeds to step 1130 wherein processor 65 heading E), data formatter command parameters ( subheading
             transmits the contents of the selected operating program into     F), prefix/suffix parameters (subheading G), or oilier types of
             EROM 46 ofreader 10. If host processor 900 determines at          parameters.




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                A flow diagram for a parameter table editing subprogram is        tents of the edited parameter table to be printed on display
             shown with reference to FIG. llD. At block 1162 processor            screen associated with host processor 900. Ifa user selects the
             900 determines if a reader is in communication with proces-          print option (block 1182) then processor 900 causes the com-
             sor 900 in the fashion described previously with reference to        plete or partial contents of the edited parameter table to be
             block 1116 of FIG. 118. If a reader is present, processor 900        printed by a printer device 940 in communication with pro-
             at block 1166 reads the parameter table presently stored in          cessor 900.
             EROM 46 (after determining the table's location), along with            Anofuer output option available to a user is to compare two
             a list of analog waveform outputs from another predeter-             or more parameter tables. If this option is selected (block
             mined memory location from EROM 46. A list of possible               1184) then the user is requested at block 1186 to select param-
             types of analog waveform outputs a reader may be configured 10 eter tables from memory locations (which may be memory
             to generate allowing the reader to transmit data to various          location associated with processor 900 or with reader 10).
             types of terminals is stored in a predetermined waveform list        When parameter tables have been selected, processor 900 at
             memory location. Tue waveform list memory location may be            block 1186 compares the selected parameter tables. In gen-
             determined by querying vector pointer table 1134. A specific         eral, the comparison is carried out by a compare function
             one type of waveform output from the list of available outputs 15 applied after an offset between ilie files is accounted for.
             is selected by control of a parameter of parameter table,            Processor 900 then outputs the results of the comparison at
             typically stored in an address location corresponding to Com-        block 1188, typically by displaying the comparison results on
             munications Options (Heading A) type parameters described            screen 930, or printing the comparison results using printer
             previously with reference to FIG. 7B. Processor 900 at block         940.
             1116 stores the parameter table and the list of analog wave- 20         One specialized output option of the invention allows the
             form outputs in a temporary storage device associated with           user to create programming menu symbols whose general
             processor 900 such as a RAM.                                         features have described with reference to FIGS. 7A through
                In the embodiment shown, the parameter table editing sub-         7C, and 8. The menu symbols created by the output option can
             program is configured by default to edit the existing param-         be used to reprogram readers reading the created symbols in
             eter table stored in EROM of the connected reader ifa reader 25 accordance with the changes made to a parameter table made
             is present. It will be recognized, however, that the editing         during execution of the parameter table subprogram.
             subprogram can also be configured to query the user as to            Described as a routine executed during a parameter table
             whether the user wishes to edit the parameter table currently        editing subprogram, the menu symbol output option can be
             stored in reader EROM 46, or another candidate parameter             conveniently implemented as a separate subprogram.
             table typically stored in a bulk storage device associated wiili 30     When a menu symbol output option is selected at block
             processor 900.                                                       1189, processor 900 determines at block 1202, by reading a
                If a reader is not in communication with processor 900,           reader identifier, whether the reader designated for receipt of
             continuing with reference to the flow diagram shown, then            the edited parameter table includes a one dimensional (ID) or
             processor at block 1168 prompts ilie user to select a reader for     two-dimensional (2D) i1nage sensor.
             which the user wishes to edit a parameter table and once a 35           Ifthereaderincludes a one dimensional image sensor, then
             type of reader is selected, a default parameter table associated     processor 900 creates a series oflinear bar codes which may
             with that reader type is written in to a temporary storage           he used for reprogramming several readers. Specifically, if
             device of processor 900 typically provided by a RAM device.          the designated reader includes a one dimensional image sen-
                At the termination of block 1168 or block 1166 if a reader        sor then processor 900 at block 1204 creates a first linear
             is connected, a parameter configuration screen is displayed to 40 menu symbol adapted to generate an instruction causing the
             a user, at block 1169, an exemplary embodiment of which is           reader reading the symbol to change parameter table values of
             shown in FIG. llE. Typically, a user will edit certain param-        the reader's EROM to default values. Then, at block 1206
             eters from the parameter table which the user wishes to              processor 900 creates a distinct linear programming menu
             change, and tl!en, when editing is complete, a user will select      symbol for each parameter of the parameter table that is
             an available output option from ilie parameter configuration 45 changed during the editing process from a default value. An
             screen. The output options available to a user may include           important feature of the invention is described with reference
             writing an edited parameter table to a connected reader; writ-       to block 1208. When the series of menu symbols is created,
             ing an edited parameter table to a bulk storage device; dis-         the created symbols may be printed on paper by printer 940
             playing an edited parameter table; or printing an edited             according to a conventional protocol, or else displayed on
             parameter table.                                                  50 display device 930, typically a CRT monitor. Tue term cre-
                Until an output option is selected, the user typically edits      ated symbols herein refers to binary encoded data stored in a
             various parameters the user wishes to change as shown in             memory space which result in an actual symbol being output
             blocks 1170 and 1172. Selection of one parameter type                when the data is written to a display device or printer. An
             option, e.g. code or symbology option parameter 1174 causes          unlimited number ofbar code readers may be reprogrammed
             a secondary editing screen to appear allowing editing of 55 by reading the menu symbols that are displayed on the display
             parameters of the selected parameter type. When editing per-         device 930. Displaying the created menu symbols on a dis-
             taining to one or several parameter types is complete tl!en          play device allows rapid output of created symbols and elimi-
             program reverts back to parameter configuration screen at            nates the need to supply a paper substrate each time a menu
             block 1169, allowing user to select an output option.                symbol is output.
                If a user selects the write output option (block 1176), the 60       If the reader designated for reprogramming includes a 2D
             edited parameter table is written to, or downloaded to reader        image sensor, fuen processor 900 at block 1210 need only
             EROM in the fashion described previously witl1 reference to          create one 2D menu symbol in order to cause reprogramming
             block 1140 of FIG. 118. If a user selects ilie store-to-disc         of the designated reader in accordance wiili the changes made
             option (block 1178) then the edited parameter table is written       to a parameter table even in the case where multiple changes
             to an address location of a bulk storage device such as a hard 65 to the parameter table are lll3de. This is so because an
             drive or floppy disc. If a user selects the display option (block    increased number of instructions may be encoded in a symbol
             1180) then processor 900 causes the complete or partial con-         of a 2D symbology type.




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                Another subprogram which may be selected from a sub-             signal an alarm condition, to indicate that a task is completed,
             program option screen displayed at block 1102 is a subpro-          or to attract the attention of a reader operator for any purpose.
             gram for simulating the result of applying editing commands            Processor 900 and reader 10 can also be complementarily
             to a decoded message. As discussed previously, editing com-         arranged so that, on receipt of a user activated command,
             mands may be applied to decoded messages by entry of the            processor 900 transmits to reader 10 a component control
             commands to a parameter table in parameter table addresses          instruction which is executed by reader 10 substantially on
             corresponding to heading H of FIG. 7B. Without an editing           receipt thereof to transmit data which is stored in memory 45
             command simulation subprogram, it would be necessary to             or in another memory device associated with reader 10 such
             decode a symbol with use ofreader 10 in order to observe the        as a long-term nonvolatile memory device. For example, a
             result of applying the editing commands. The efficiency and 10 component control instruction received from processor 900
             convenience advantages of the editing command simulation            may be executed by reader 10 to upload from reader 10 to
             subprogram therefore should be clear to those skilled in the        processor 900 image data that is stored in a specific memory
             art.                                                                location of reader memory 45 snch as a reader memory loca-
                An exemplary flow diagram for an editing command simu-           tion that stores the most recently captured image data cap-
             lation subprogram is shown in FIG. llE. At block 1214 15 tured by reader. Processor 900 may subsequently display such
             processor 900 displays a message editing simulation screen          uploaded image data on display 930. Other component con-
             or screens which allows a user to enter an unedited test mes-       trol instructions which may be transmitted from processor
             sage and symbology type (block 1216) and enter the type of          900 to reader 10 for substantially on-receipt execution by
             editing command desired to be applied to the message (block         reader processor 40 are instructions which, for example,
             1218). "Three basic types of editing commands are search and 20 cause predetermined indicia to be displayed by reader display
             replace editing commands, insert character editing com-             56, or which cause processor 40 to capture, by appropriate
             mands, and delete character editing commands. Additional,           control over image sensor 32, a single frame of image data
             more complex editing commands may also be applied.                  corresponding to the scene presently in the field of view of
                                                                                 reader 10 in memory 45 or in another memory device.
                When the commands are entered, processor 900 applies the 25         It will be understood that certain component control
             commands entered at block 1218 to the unedited test message         instructions require that reader processor 40 execute a series
             at blocks 1220, 1222, and 1224 if all are applicable. When          of instruction steps, or repetitive instruction steps to coopera-
             editing is complete processor 900 outputs the result of apply-      tively control more than one reader component. For example,
             ing the editing commands, at block 1226, typically by dis-          a component control instruction commanding an optical
             playing the edited message on display screen 930.                30 reader to capture an iniage normally requires that processor
                At block 1228 processor queries the user as to whether the       40 execute a series of instruction steps involving control of
             user wishes to save the editing commands which resulted in          such components as LED's 22, components of the imaging
             the edited message being displayed or otherwise output at           assembly, and memory 45.
             block 1226. If the user elects to save the editing commands,           A modified reader operating program that adapts a reader
             then processor 900 at block 1230 writes the commands to a 35 to receive component control instructions from a remote local
             predetermined command save memory location associated               host processor for substantially on-receipt execution by
             with processor 900. When the parameter table editing sub-           reader 10 is shown in FIG. 6B. Reader 10 is readily enabled to
             program described with reference to FIG. llD is later               receive and execute remote component control instructions
             executed the commands saved in block 1230 of the message            by modification ofthe program loop indicated by block 605 of
             editing command subprogram may be read from the com- 40 FIG. 6A wherein reader 10 waits in a low power state until a
             mand save memory location during execution of block 1192            trigger is pulled. As shown by the flow diagram of FIG. 6B,
             of the parameter table editing subprogram.                          block 605 may be modified to the form illustrated by block
                In addition to being adapted to download new or modified         605' so that reader executes block 610 and the ensuing blocks
             operating programs to reader 10 remotely, processor 900 can         shown and described in connection with FIG. 6A in response
             also be adapted to remotely transmit component control 45 either to a trigger being manually pulled or to the receipt of a
             instructions to reader 10 which are executed by reader pro-         remote trigger activation instruction from processor 900.
             cessor 40 substantially on receipt by reader 10 to control one      Block 635 of the flow diagram of FIG. 6A may also be
             or more components of reader 10 in a manner that can be             modified so that the reader is responsive either to a manual
             perceived by a reader operator. For example, processor 900          trigger release or to receipt of a remote trigger receive instruc-
             and reader 10 can be arranged so that processor 900, on 50 tion. Reader 10 may also be made to exit the loop indicated by
             receipt of a command from a user, transmits a component             block 605' on the condition that another component control
             control instruction to reader 10 which is executed by reader        instruction for on-receipt execution by reader 10 is received.
             processor 40 to have the same effect as trigger 52 being            As is indicated by block 602 and block 603, reader 10 may be
             manually pulled, or alternatively, being released. Instructions     adapted to exit the loop indicated by block 605' and to appro-
             transmitted by processor 900 having the same effect as manu- 55 priately control the component associated with the received
             ally pulling and manually releasing trigger may be termed,          instruction on the condition that a remote component control
             respectively, "remote trigger activation" and "remote trigger       instruction is received from processor 900.
             release" instructions. Processor 900 and reader 10 can also be
             complementarily arranged so that, on receipt of a user acti-                    Scanning-Decoding/Autodiscrimination
             vated command to remotely control reader 10, processor 900 60
             transmits to reader 10 an instruction which is executed by             The scamiing-decoding and autodiscrimination features of
             reader 10 substantially on receipt of the instruction to turn on    the invention, and their relationships to the above-described
             LED's 22 or to "flash" LED's according to a predetermined           menuing and reprogramming features, will now be described
             pattern, or to activate an acoustic output device such as           with reference to FIGS. 6 and 12-18. More particularly, the
             speaker 38 to issue a "beep" or a series of beeps. Component 65 combined operation of these features will be discussed in
             control instructions for on-receipt execution which operate to      connection with FIG. 6A. The SOD, SS and DOD scamiing-
             control LED's 22 or speaker 38 are useful, for example, to          decoding modes of the invention will be discussed in connec-




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             tion with FIGS. 13 and 14, and the OS, RUD and RUS                   Under heavy decoding loads, however, prior art methods
             scanning-decoding modes of the invention will be discussed        do not allow sufficient time for decoding. Thus, as shown in
             in connection with FIG. 15. Finally, the 1D and2D portions of     FIG. 12B, when a first scan, Scan 1 is completed, a second
             the autodiscrimination feature of the invention will be dis-      scan, Scan 2 is initiated immediately. Scan 2 is then followed
             cussed in connection with FIGS. 16-18, respectively.              by Scan 3 while the decoding of Scan 1 is still in progress. As
                Turning first to the main program of FIG. 6A, the scanning     this situation continues, the decoding process will be seen to
             and decoding operations are shown as blocks 625---647. In         fall further and further behind the scanning process until, at
             those embodiments or modes in which the multiple symbols          some point, the data memory becomes filled. When this
             code option is not enabled (see option BS of FIG. 7B), the        occurs new scan data will overwrite old scan data which was
             processor assumes, that only one symbol is to be decoded. 10 not processed, thereby causing a loss oflarge blocks of scan
             Under this condition, if decoding is successfol, the processor    data.
             processes the decoded symbol as a menu symbol in accor-              In the embodiment of the invention disclosed in prior
             dance with previously described menu routine 660, or as           copending application Ser. No. 08/205,539, now issued as
             output data in accordance with block 646, and then is stopped     U.S. Pat. No. 5,463,214, this problem is solved by modifying
             by one of blocks 647, 635 or 642. If decoding is not success- 15 the reader in a way that allows the scanning process to be
             ful, the processor is directed back (unless stopped by blocks     suspended and restarted as required to prevent the decoding
             635 or 642) to capture and attempt to decode another image.       process from falling so far behind the scanning process that
             In this case, the "no" output of multiple symbols block 643 is    data overflows the memory and is lost. This embodiment is
             selected, allowing additional images to be captured as neces-     referred to herein as the "Scan on Demand" or SOD tracking
             sary.                                                          20 mode. This solution to the problem may be understood with
                In those embodiments or modes in which the multiple            reference to FIGS.13Aand13B. Referring to FIG. 13A, there
             symbols option is enabled, the processor assumes that more        is shown the operation of the subject embodiment of the
             than one symbol is present in the image data. Under this          invention under light decoding loads. It will be noted that,
             condition, if decoding is successful, the processor continues     under this condition, the relationship between scanning and
             to loop back to block 627 to make additional decoding 25 decoding is the same as that shown in FIG. 12A.
             attempts, unless stopped by one of blocks 635 or 642. In this        FIG. 13B shows the relationship which exists between the
             case, however, the "yes" output of block 643 is selected,         scanning and decoding processes when the Scan On Demand
             preventing additional images from being captun.'Cl.               mode of the invention is used under heavy decoding loads. As
                When the processor begins executing its scanning-decod-        shown in FIG. 13B, the suspension of the scanning process
             ing program, it first determines from the parameter table 30 continues until the results of the prior scan have been
             which scanning-decoding option or combination of options is       decoded. This prevents the decoding process from falling
             to be used. It will then be directed to an autodiscrimination     more than a small amount of time behind the scanning pro-
             routine that is configured to execute that routine in accor-      cess. As a result, there cannot arise a situation, such as that
             dance with the selected scanning-decoding option or options.      which can arise with the prior art, in which there is a massive
                At start up, the parameter table may be set up so that 35 loss of scan data. Because this process is described in detail in
             operation in the One Shot scanning-decoding mode is estab-        U.S. Pat. No. 5,463,214, it will not be described in detail
             lished as a default condition. Alternatively, the parameter       herein.
             table may be set up so that the RUD or RUS scanning-decod-           Referring to FIG. 13C there is shown the tracking relation-
             ing mode is established as a default condition. Since the One     ship which exists between the scanning and decoding opera-
             Shot mode is inherently a non-tracking mode, its selection as 40 tions when these operations are controlled in accordance with
             a default mode implies that none of the tracking modes is         a tracking mode referred to as the "Skip Scan" or SS tracking
             selected. Since the RUD and RUS modes can be used either          mode. With this mode, under heavy decoding loads, decoding
             with or without one of the three tracking modes, its selection    proceeds without interruption so long as the scanning func-
             as a default parameter may or may not be associated with one      tion is called for. As shown in FIG. 13C, each decoding
             of the three tracking modes, depending upon how the reader 45 operation begins immediately after the preceding decoding
             is programmed at the time of manufacture.                         operation ends, and proceeds on the basis of the scan data
                                                                               from the then most current complete block of scan data.
                                   (a) Tracking Options                           More particularly, FIG. 13C illustrates one possible sce-
                                                                               nario in which decoding of Scan 1 data is immediately fol-
                The differences between the three tracking modes of the so lowed by the decoding of Scan 2 data. This occurs because
             invention are best understood with reference to FIGS.12-14.       Scan 3 data is incomplete at the time that the second decoding
             The latter figures (with changes in figure and indicia number)    operation begins. l11e decoding of Scan 2 data, however, is
             are incorporated from prior copending U.S. patent applica-        immediately followed by the decoding of Scan 5 data. This
             tion Ser. No. 08/914,883 (now U.S. Pat. No. 5,942,741),           occurs because Scan 5 data represents the then most current
             together with their associated descriptions as follows:        55 complete block of scan data. While the results of scans 3 and
                Scanning of indicia can take place under either of two         4 are therefore unused and skipped over, the data lost by their
             generalized conditions, depending upon the decoding load          non-use is provided by more current scan data or, if decoding
             presented by the indicia. Under light decoding loads, shown       is unsuccessful, by the results of a later scan. Any occasional
             in FIG. 12A for a prior art reader, the amount of data to be      decoding failure that results from the skipping of relatively
             decoded is relatively small, allowing scan data from a com- 60 old blocks of scan data is in any case more than offset by the
             plete scan to be decoded in a time which is less than the         avoidance of the large scale data losses discussed in connec-
             duration of a scan. Under this condition, the result of each      tion with FIG. 12B.
             scan is decoded before the completion of the following scan,         Referring to FIG.13D there is shown the tracking relation-
             and no problems arise as a result of any mismatch between the     ship which preferably exists between the scanning and decod-
             scan time and the decode time of the reader. The prior art and 65 ing operations when these operations are performed in a
             the instant invention perform equally well under such light       reader which includes two and only two scan data memory
             decoding loads as will be seen later from FIG. 13.                spaces A and B. With this reader, the preferred tracking mode




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             is the "Decode on Demand" or DOD tracking mode. With this            because techniques exist for using either type ofimage sensor
             mode decoding does not proceed without interruption. As              to read both ID and 2D symbols. It will therefore be under-
             shown in FIG. 13D, each decoding operation begins at the             stood that the present invention is not restricted to use with
             beginning of a block of scan data. In the event that the end of      any one type of image sensor or to any one type of bar code or
             a decoding operation does not coincide with the beginning of         other optically encoded symbol.
             such a block, i.e., occurs while a scanning operation is still in       Referring to FIG. 14A, there is shown a memory space Ml
             progress, the beginning ofthe next decoding operation will be        suitable for use in storing blocks of scan data of the type
             delayed until the scanning operation that is then in progress is     produced by a reader with a ID inlage sensor, together with a
             completed, and then proceeds with reference to the block of          pointer or tracking memory M2 suitable for use in storing
             scan data which is produced by that scanning operation.           10 address or pointer information that makes it possible for the
                 More particularly, FIG. 13D shows that the decoding of           reader to identify the beginning and end point of a block of
             Scan 1 data is completed while Scan 3 is still in progress,          interest. As shown in FIG. 14A, the block of scan data pro-
             overwriting data for Scan 2. Under this condition, decoding is       duced during a first scan of the target is stored in memory Ml
             discontinued for a time period Ts 1 that is equal to the time        beginning at address SSl (Scan Start for Scan 1) and ending
             necessary for Scan 3 to be completed. At the end of time 15 at address SEl (Scan End for Scan 1). Similarly, the block of
             period Ts,, decoding resumes with the then most current              scan data resulting from a second scan of the target is stored
             block of scan data, namely: the scan data produced during            between addresses SS2 and SE2, and so on. Because scanning
             Scan 3. Thus, likethemodewhichis illustrated FIG. 13C, the           takes place continuously, the end ofone scan block (e.g. SEl)
             mode which is illustrated in FIG. 13D begins its decoding            coincides with the beginning of the next scan block (e.g.,
             operation with the then most current complete block of scan 20 SS2). The sizes (in memory space) of these blocks will ordi-
             data.                                                                narily vary from block to block, depending on the number of
                 Referring to FIG. 13E, there is shown the tracking relation-     data transitions in each ID scan of the target. The boundaries
             ship which exists between the scanning and decoding opera-           between blocks will, however, be fixed by the occurrence
             tions when these operations are performed in a reader which          times of the Scan Interrupt signals which are generated by the
             includes three scan data memory spaces A, B and C. With this 25 image sensor or its clock generating circuitry.
             embodiment decoding proceeds without interruption so long               Locations SS and SE of memory M2 are updated in the
             as the scanning function is called for. As shown in FIG. 13E,        course of a series of scans so that they always identify or
             each decoding operation begins immediately after the preced-         otherwise point to the address of the beginning and ending of
             ing decoding operation ends, and proceeds on the basis of            the most recently produced complete block of scan data. As a
             scan data from the memory which contains the then most 30 result, when the decoding circuitry is ready to decode ilie
             current complete block of scan data.                                 most recently produced complete block of scan data, it need
                 More particularly, FIG. 13E shows that the decoding of           only refer to locations SS and SE to obtain information as to
             Scan 1 is completed while Scan 3 is still being acquired.            where to begin and end decoding. Before decoding begins,
             Under this condition, with three memory spaces available,            the contents oflocations SS and SE are written into locations
             decoding is immediately undertaken on the most recent com- 35 DS (Decode Start) and DE (Decode End) so that locations SS
             plete Scan (Scan 2) which is contained in memory space B.            and SE can continue to be updated while decoding proceeds
             Upon the completion of the decoding of Scan 2, decoding is           on the basis of the contents of locations DS and DE. In ilie
             commenced on Scan 4 which is contained in memory space               preferred embodiment, the decoding circuitry is progran1med
             A. Thus, the utilization of three memory spaces allows the           to mark iliese beginning addresses as "invalid" (for example,
             decoding portion of the invention to be occupied one hundred 40 by changing its sign) after it is acquired. Since the decoding
             percent of the tin1e.                                                processor is programmed to decode only "valid" data, this
                 The mode illustrated in FIG. 13C is best suited foruse with      assures that it can decode a single block of scan data only
             readers having memories and addressing procedures which              once.
             can accommodate large numbers of relatively short blocks of             Referring to FIG. 14B there are shown a plurality of
             scan data having sizes that are not known in advance. Appli- 45 memory spaces MA, MB ... MN suitable for use in storing
             cations of this type typically include readers, such as that         blocks of scan data ofilie type produced by a reader having a
             shown in FIG. 3, which use ID image sensors.                         2D image sensor, togeilier with a pointer or tracking memory
                 The modes illustrated in FIGS. 13D and 13E, on the other         MP suitable for use in storing address or pointer information
             hand, are best suited for use with readers having memories           for identifying the memory spaces to be used for entering new
             and addressing procedures which can accommodate small 50 scan data, decoding, etc. Since the amount of scan data in each
             numbers ofrelatively long blocks of scan data of fixed length.       block of scan data is known in advance, being ilie same for
             Applications of these types typically include readers, such as       each scan, the starting and ending addresses for each memory
             that shown in FIG. 2, which use 2D image sensors. With the           space (e.g., A 1 and B 1 and AN and BN, etc.) will also be the
             embodiment illustrated in FIG. 13D, only two scan data               same for each scan. As a result, the memory to be used for
             memory spaces are used and decoding is discontinuous. With 55 storing new scan data, decoding etc. may be specified by
             the embodiment illustrated in FIG. 13E three scan data               specifyingjust a few bits stored in memory MP. Location CS,
             memory spaces are used and decoding is continuous. More              for example, may be used as a pointer which identifies ilie
             than three scan data memory spaces can also be used ifaddi-          memory where the current scan is being stored, and location
             tional decoding resources are made available. The one of             NS may be used as a pointer which identifies where the next
             these different embodiments which is used in a particular 60 scanned inlage is to be stored.
             application is a design choice which is based on economic               Similarly, location CD may be used as a pointer which
             considerations.                                                      identifies the memory space where the current decode is
                 The fact that some embodiments of the invention use ID           being undertaken. Finally, location ND may be used as a
             image sensors while others use 2D image sensors should not           pointer which identifies where the next available inlage is for
             be taken to mean that embodiments which use ID image 65 decoding pmposes.
             sensors can only read 1D symbols or that embodiments which              Under ordinary circumstances, three scan data memory
             use 2D image sensors can only read 2D symbols. This is               spaces will be sufficient to keep the decoding activity of the




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             reader fully occupied and current. This is because the tracking     FIG. 18 will be executed before the autodiscrimination pro-
             method ofthe invention allows the skipping overof old blocks        cess is completed. It will therefore be seen that tl1e menuing
             of scan data as necessary for the decoder to remain occupied        features and the autodiscrimination features of the present
             and current. If the decoding load becomes extremely heavy,          invention intemct with one another in a manner that allows a
             however, it is possible that more old blocks of scan data are       user to tailor the autodiscrimination circuitry as necessary to
             skipped over than is advisable. In such instances, it may be        achieve the highest possible data throughput mte for a par-
             desirable to increase the number of memory spaces from 3 to         ticular application.
             N, where N may be 4 or even more, and to use more than one             In order to gain an understanding of the present invention
             decoding circuit. If such an increased number of memories           as a whole, it should be home in mind that the above-de-
             and decoders is used, blocks of scan data may be distributed 10 scribed relationships between tile decoding andmenuing pro-
             among the memories according to a simple sequential rule            cesses of the invention exist as a subset of an even more
             and kept track of by increasing the number of bits in the           complex set of relationships that include the tracking and
             pointers of memory space MP. In addition, the decoding              multiple symbols features of the invention. When, for
             circuits may be assigned to the then most current complete          example, a portion of the flow chart of FIGS. 16 and 18 calls
             block of scan data as they become free. It will be understood 15 for an attempted decode, it must be remembered that the
             that all such numbers ofmemory spaces and decoding circuits         attempted decode takes place in the context oft!Je tracking or
             and the associated tracking procedure are within the contem-        non-tracking relationships indicated by the pammeter table
             plation of the present invention.                                   options. In addition, the number of passes that the processor
                Referring to FIG.15, there is shown a simplified version of      makes tlrrough the flow chart ofFIG.16, before continuing on
             FIG. 6A which eliminates those blocks which do not relate 20 to the flow chart of FIG. 18, depends upon whether or not the
             directly to the use of the scanning-decoding parameters of          multiple symbols feature of the invention has been enabled.
             FIG. 7B to produce decoded output data. Ofthe blocks shown             In principle, at least, each one of the possible combinations
             in FIG. 15, blocks 625, 627 and 646 are common to prior art         of the above-described options may be represented in a com-
             readers and to readers constructed according to tl1e present        plete and separate flow chart and described as such. Because
             invention. The remaining blocks of FIG. 15 operate either 25 adopting the latter approach would obscure mther than clarify
             singly or in various combinations to establish the permitted        tile present invention, however, the present application will
             combinations ofthe scanning-decoding modes shown in FIG.            describe these combinations simultaneously in terms of a
             7B. These remaining blocks together comprise the preferred          representative flow chart, with different options being
             embodiment of the means by which the reader of the inven-           described potential variants of that representative flow chart.
             tion is controlled in accordance with the scanning-decoding 30         Turning first to the flow chart of FIG. 16, there is shown the
             relationships called for by the paran1eter table thereof. Other     1D portion of the autodiscrimination process, which opemtes
             combinations of flow chart blocks, and other combinations of        on a set of image data that has been scanned from a target
             scanning-decoding parameters may also be used, however,             symbol of unknown type and orientation and stored in RAM
             without departing from the present invention. Blocks 642 and        45. If the reader is a 2D reader, this image data will comprise
             643 may, for example, be configured so that only a preset 35 a gmy scale representation of the 2D image formed on tile
             number of multiple symbols or a preset number of repeats is         image sensor, each pixel of t!Je image sensor bdng repre-
             permitted. Alternatively, all scanning-decoding control             sented by an image data element that includes an 8 bit gray
             blocks may be collectively replaced by a look-up table which        scale indication of its brightness. If, on the other hand, the
             directly specifies the next action to be taken. These and other     reader is a ID reader, the image data may comprise either
             variants will be understood to be within the contemplation of 40 binary or gray scale values.
             the present invention.                                                 If the reader includes a 2D image sensor, this image data
                In view of the foregoing, it will be seen that the scanning      will have been scanned as a 2D image while the reader is held
             and decoding processes of the invention may have a select-          substantially stationary with respect to its target. If the reader
             able one of any of a plurality of different relationships with      includes a ID image sensor this image data will have been
             one another, some of these relationships being tracking rela- 45 scanned as a series of JD images while tile reader is being
             tionships and some being non-tracking relationships. In             moved asynchronously across the target in tile manner
             accordance with the invention, the menuing feature of the           described in copending commonly assigned U.S. patent
             invention allows a user to select that operating mode, whether      application Ser. No. 08/504,643 (now U.S. Pat. No. 5,773,
             or not tracking, which gives the best overd!l data throughput       806), which is expressly incorpomted herein by reference.
             rate in view of the user's then current objectives.              50    On encountering block 1605, the processor is directed to
                                                                                 calculate the "activities" of selected image data elements. The
                           (b) Autodiscrimination/Code Options                   "activity" of a point P as used herein comprises a measure of
                                                                                 the rate of change of tile image data over a small two dimen-
                l11e manner in which the code options called for by the          sional portion of the region surrounding point P. This activity
             parameter table of the invention are implemented in conjunc- 55 is preferably calculated along any two arbitrarily selected
             tion with the autodiscrimination feature of the invention, will     directions which are mutually perpendicular to one another,
             now be described with reference to the flow charts of FIGS.         as shown by the lines parallel to directions X and Y of FIG.
             16 and 18. Genemlly speaking, t!Je flow chart of FIG. 16            17A. One example of an activity calculation is that which is
             illustrates the ID portion ofa complete I D/2D autodiscrimi-        based on the squares of the gmy scale differences of two pairs
             nation process, while the flow chart of FIG. 18 illustrates the 60 of points P1X-P2X and Pl Y-P2Y that are centered on point P,
             2D portion of a complete 1D/2D autodiscrimination process.          as shown in FIG.17A. Two mutually perpendicular directions
             If both the ID and 2D code options of the parameter table are       are used because the orientation of the symbol is unknown
             enabled (see options Bl and B2 of FIG. 7B), the steps called        and because a high activity level that by chance is difficult to
             for by both FIGS. 16 and 18 will be executed before the             detect in a first direction will be readily detectable in a second
             autodiscrimination process is completed. If, however, only 65 direction perpendicular to that first direction.
             one or the other of the 1D and 2D code options of the pamm-            In the preferred embodiment, an activity profile of the
             eter table is enabled, only the steps called for by FIG.16 or by    image data is constructed on the basis of only a selected,




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             relatively small number of image data elements that are dis-                Once the initial scan line has been defined, the processor is
             tributed across the field of view that corresponds to the stored       directed by block 1640 to calculate, by interpolation from the
             image data. Using a relatively small number of data elements           image data of the CSR, the values of sampling points that lie
             is desirable to increase the speed at which the symbol may be          along this scan line. This means that, for each sampling point
             imaged. These selected points may be selected as the points            on the initial scan line, the processor will calculate what
             which lie at the intersections of an X-Y sampling grid such as         brightness the sampling point would have if its brightness
             that shown in FIG. 17A. The spacing of the lines defining this         were calculated on the basis of the weighted brightness con-
             grid is not critical to the present invention, but does affect the     tributions of the four nearest measured image data points of
             resolution with which the activity profile of the image can be         the CSR. These contributions are illustrated by the dotted
             measured.                                                           10 lines which join the sample point SP ofFlG. 17D to the four
                When the processor has determined the activities of the             nearest image data points DPA-DPD. So long as these sam-
             selected image data points, it is directed to block 1610, which        pling points are more closely spaced than the image data
             causes it to look for candidate bar code symbols by identify-          points, this interpolation procedure will be performed on a
             ing regions of high activity. This is conveniently done by             subpixel basis, and will produce a usably accurate represen-
             determining which sets of image data points have activities 15 tation of the image data along the scan line. The result of the
             that exceed a predetermined activity threshold value. A sim-           subpixel interpolation of the sampling points on a represen-
             plified, one-dimensional representation of this step is illus-         tative scan line of this type is showninFIG.17E. Because the
             trated in FIG.17B, wherein those image data points having an           particulars of the subpixel interpolation process are known to
             activity that exceed a threshold value TH are labeled as a             those skilled in the art, this process will not be farther
             candidate symbol region CSRl.                                       20 described herein.

                In embodiments which are adapted to find and decode all of               Once the above-described scan line data have been calcu-
             the symbols that occur in fields ofview that include a plurality       lated, the processor is directed to block 1645, which calls for
             ofbar code symbols, (i.e., embodiments in which the multiple           it to binarize the scan line data, i.e., convert it to a two-state
             symbols option is enabled), the result ofthe step called for by        representation of the data which can be processed as a can-
             block 1610 is the identification of a plurality of candidate 25 didate for ID decoding. One such representation is com-
             symbol regions (CSRs), any one or more of which may be a               monly known as a timercount representation. One particu-
             bar code symbol. Whetheror not they are bar code symbols is            larly     advantageous procedure for accomplishing this
             determined on the basis of whether they are decodable. As              binarization process is disclosed in U.S. Pat. No. 5,286,960,
             will be explained more fully later, if the multiple symbols            which is hereby incorporated herein by reference.
             option is not enabled, the processor may be instructed to 30                On exiting block 1645, the processor will be in possession
             select one of the CS Rs according to a suitable selection rule,        of a potentially decodable two-state ID representation of the
             such as the largest CSR first, the CSR nearest the centerofthe         CSR. It then attempts to decode this representation, as called
             field of view first, the CSR with the highest total activity first,    for by block 1650. This attempted decoding will comprise the
             etc., and then attempt to decode only that symbol and stop,            trial application to the representation of one ID decoding
             whether or not a symbol has been decoded. Alternatively, as a 35 program after another until the latter is either decoded or
             further option, the processor may be instructed to attempt to          determined to be undecoda hie. Because decoding procedures
             decode each CSR in turn until one of them is successfully              of the latter type are known to those skilled in the art, they will
             decoded, and then stop. If the multiple symbols option is              not be discussed in detail herein.
             enabled, the processor will process all of the CSRs, in turn,               As the ID autodiscrimination process is completed, the
             according to a suitable priority rule, and continue to do so 40 processor is directed to decision block 1655 which causes itto
             until all of the CSRs have been either decoded or have been            continue along one of two different paths, depending on
             determined to be undecodable.                                          whetheror not decoding was successful. Ifit was not success-
                                                                                    fi.tl, the processor will be caused to loop back to block 1635,
                Once all CSRs have been located, the processor is directed          via blocks 1660 and 1665, where it will be caused to generate
             to block 1615, which calls for it to select the then largest (or 45 a new working scan line that is parallel to initial scan line
             most centrally located) as yet unexamined CSR for further              SC=-0, but that passes above or below centroid C. This looping
             processing, and then proceed to block 1620. The latter block           back step may be repeated many times, depending on the
             then causes the processor to find the centroid or center of            "spacing" of the new scan lines, until the entire CSR has been
             gravity of that CSR, before proceeding to block 1625. An               examined for decodable ID data. If the entire CSR has been
             example of such a centroid is labeled C in FIG. 17C. Because 50 scanned and there has been no successful de(.,-ode, the proces-
             the steps involved in finding a centroid are well known, they          sor is directed to exit the just-described loop via block 1670.
             will not be described in detail herein.                                As used herein, the term "parallel" is used in its broad sense
                On encountering block 1625, the processor is directed to            to refer to scan lines or paths which are similarly distorted
             examine the selected CSR by defining various exploratory               (e.g., curvilinear) as a result of foreshortening effects or as a
             scan lines therethrough, determining the activity profile of the 55 result ofbeing imaged from a non-planar surface. Since com-
             CSR along those scan lines, and selecting the scan line having         pensating for such distorting effects is known, as indicated,
             the highest total activity. In the case of a ID bar code symbol,       for example, by U.S. Pat. No. 5,396,054, it will not be dis-
             this will be the direction most nearly perpendicular to the            cussed in detail herein.
             direction of the bars, i.e., the optimum reading direction for a            Block 1670 serves to direct the processor back to block
             ID symbol.                                                          60 1615 to repeat the above-described selection, scanning and
                On exiting block 1625, the processor encounters blocks              binarizing steps for the next unexamined CSR, if one is
             1630 and 1635. The first of these sets a scan line counter to          present. If another CSR is not present, or if the processor's
             zero; the second defines an initial, working scan line through         program calls for an attempt to decode only one CSR, block
             the centroid in the previously determined direction ofhighest          1670 causes the processor to exitthe flow chart of FIG.16 to
             activity. The result of this operation is the definition, in the 65 begin an attempt to decode the then current set of image data
             image data space representation of the CSR, of a working               as a 2D symbol, in accordance with the flow chart ofFIG.18.
             scan line such as SC=-0 in FIG. 17C.                                   If other CSRs are present, and the multiple symbols option is




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             enabled, block 1670 directs the processor back to block 1615        target symbol, the image data will comprise an array of binary
             to repeat the selection, scanning and binarizing process for        data elements such as those shown in above-cited copending
             the next CSR, and the next, and so on, until there is either a      application Ser. No. 08/504,643.
             successful decode (block 1655) or all of the CSRs have been            The flow chart of FIG. 18 begins with a block 1805, which
             examined (block 1670).                                            5 directs the processor to convert the gray scale image data
                If the processing of the first CSR has resulted in a success-    representation stored in RAM 45 (if present) into a two-state
             ful decode, block 1655 directs the processor to block 1675,         or binarized representation of the same data. This may be
             which causes it to determine whether the decoded data indi-         accomplished in generally the same manner described earlier
             cates that the CSR contains a 1D stacked symbol, such as a          in connection with FIG. 17B, i.e., by comparing these gray
             PDF417 symbol. One example of such a symbol is shown in 10 scale values to a threshold value and categorizing these values
             FIG.19D. Ifit is not, i.e., if the decoded symbol includes only     as is or Os, depending upon whether they exceed or do not
             a single row of bars, the 1D data is stored for later outputting    exceed that threshold value.
             in accordance with block 648 of the main program of FIG.               Once the image data has been binarized, the processor
             6A, as called for by block 1680.Alternatively, the data may be      continues on to block 1810, which causes it to identify and
             output immediately and block 648 later skipped over. Then, if 15 locate all of the 2D finder patterns that appear in the field of
             there are no remaining unexamined CSRs, or if the multiple          view of the image data. This is preferably accomplished by
             symbols option is not enabled, the processor is directed to exit    examining all of the candidate 2D finder patterns (CFPs) that
             the flow chart ofFIG. 16 via block 1682. If, however, there are     are present and identifying them by type, i.e., identifying
             remaining CSRs and the multiple symbols option is enabled,          whether they are bullseye type finderpatterns, waistband type
             block 1682 will direct the processor back to block 1615 to 20 finder patterns or peripheral type finder patterns. An example
             begin processing the next CSR, and the next, and so on until        ofa bullseye type finder pattern is shown in the central portion
             all CSRs have been examined and decoded (block 1682) or             of the 2D bar code symbol of FIG. 19A, which symbol
             examined and found to be undecodable (block 1670).                  encodes data in accordance with a 2D matrix symbology
                If, on encountering block 1675, the decoded data indicates       named "Aztec". An example of a waistband type finder pat-
             that the CSR contains a ID stacked symbol, the above-de- 25 tern is shown in the middle portion of the 2D bar code symbol
             scribed processing is modified by providing for the repetition      ofFIG.19B, which symbol encodes data in accordance with
             of the scanning-digitizing process, beginning with block            a 2D matrix symbology named "Code One". An example of a
             1635. This is accomplished by blocks 1684, 1686 and 1688 in         peripheral type finder pattern is shown in the left and lower
             a manner that will be apparent to those skilled in the art.         edges of the 2D bar code symbol of FIG. 19C, which symbol
             Significantly, by beginning the repeating of the process at 30 encodes data in accordance with a 2D matrix symbology
             block 1635, all additional scan lines defined via the latter path   known as "Data Matrix". The finder identification process is
             will be parallel to the first decodable scan line, as required by   performed by applying to each CFP, in turn, a series of finder
             a 1D stacked symbol, at least in the broad sense discussed          pattern finding algorithms of the type associated with each of
             earlier.                                                            the major types of finder patterns. Since such finder finding
                In view of the foregoing, it will be seen that, depending on 35 algorithms are known for finders ofthe waistband and periph-
             the numberof CS Rs that have been found in the stored image         eral types, these algorithms will not be discussed in detail
             data, and on the enablement of the multiple symbols option,         herein. One example of a finder finding algorithm for a waist-
             the flow chart of the embodiment of the invention shown in          band type finder, may be found, for example, in "Uniform
             FIG. 16 will cause all ID symbols in the image data to be           Symbology Specification Code One", published by AIM/
             either decoded or found to be undecodable before directing 40 USA Technology Group. Finder finding algorithms for bull-
             the processor to exit the same.                                     seye type finders that include concentric rings, (e.g. Maxi-
                As will be explained more fully in connection with FIG. 20,      Code) are also known and will also not be described in detail
             the 2D autodiscrimination flow chart of FIG. 18 may be              herein.
             processed after the processing of the ID autodiscrimination            Particularly advantageous for purposes of the present
             flow chart of FIG. 16 has been completed. It may also be 45 invention, however, is bullseye type finder finding algorithm
             processed without the flow chart of FIG. 16 having been             of the type that may be used both with 2D symbologies, such
             previously processed, i.e., the ID portion of the 1D/2D auto-       as MaxiCode, that have bullseye finder patterns that include
             discrimination process may be skipped or bypassed. (In prin-        concentric rings and with 2D symbologies, such as Aztec, that
             ciple, the steps of the 2D portion offue 1D/2D autodiscrimi-        have bullseye finder patterns that include concentric poly-
             nation process (FIG. 18) may also be processed before the ID 50 gons. A finder finding algorithm of the latter type is described
             portion thereof(FIG.16), although this option does not com-         in copending, commonly assigned U.S. patent application
             prise the preferred embodiment of the invention.) This is           Ser. No. 08/504,643 (now U.S. Pat. No. 5,773,806), which
             because the code options of the menuing feature of the inven-       has been incorporated herein by reference. TneAztec 2D bar
             tion make all of these options selectable by the user. It will      code symbology itselfis fully described in U.S. patent appli-
             therefore be understood that the present invention contem- 55 cation Ser. No. 08/441,446 (now U.S. Pat. No. 5,591,956),
             plates all possible combinations of autodiscrimination              which has also been incorporated herein by reference.
             options.                                                               Once all of the finder patterns have been located and their
                Referring to FIG. 18, there is shown a flow chart of the 2D      types have been determined, the processor is directed to deci-
             portion ofthe 1D/2D autodiscrimination process ofthe inven-         sion block 1815. This block affords the processor an oppor-
             tion. When the flow chart ofFIG.18 is entered, the image data 60 tunity to exit the flow chart of FIG. 18, via exit block 1820, if
             that is stored in RAM 45 is the same as that which would be         no 2D finder patterns could be found and typed. This block
             stored therein if the flow chart of FIG. 16 were being entered.     speeds up the execution of the program by skipping over
             If the reader is a 2D reader this image data will comprise an       decoding operations which have no hope of success without
             array of 8-bit gray scale image data elements produced by           their associated finder pattern.
             image sensor 32-2 and its associated signal processing and 65          If a finder pattern has been found and typt,'<i, the processor
             AID converter circuits 3502 and 36-2. If the reader is a lD         is directed to block 1825. This block causes the processor to
             reader that produces a 2D image by being moved across the           select for decoding the bar code symbol whose finder is




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             closest to the center of the field of view of the image data.       stores) data per block 2020 and exits, or continues on to
             Optionally, the processor may be instructed to find the largest     blocks 2030 and 2035 to begin the 2D autodiscrimination
             2D bar code symbol that uses a particular 2D symbology or           process.
             the 2D bar code symbol using a particular 2D symbology                 Ifall l D codes have been disabled, the processor is directed
             which is closest to the center of the field of view of the image    directly to block 230, thereby skipping block 2010 in its
             data. Tue "closest-to-the-center'' option is ordinarily pre-        entirety. Then, unless all 2D codes have also been disabled
             ferred since a centrally located symbol is likely to be a sym-      (per block 2030), it proceeds to block 2035 to begin the
             bol, such as a menu symbol, at which the user is deliberately       autodiscrimination process described in connection with
             aiming the reader. Once this selection has been made, the           FIG. 18, using the 2D codes and scanning-decoding options
             processor attempts to decode that symbol, as called for by 10 indicated by the parameter table. Depending upon whether
             block 1830. If this decoding attempt is successful, as deter-       2D decoding was successful, as determined by block 2040,
             mined by decision block 1835, the resulting data may be             the processor either outputs (or stores) data, per block 2045,
             stored for outputting in accordance with block 648 of the           or returns to the main program of FIG. 6A. Returning to the
             main program of FIG. 6A, as called for by block 1840. Alter-        latter then causes or does not cause further scans to be made
             natively, the decoded data may be output immediately and 15 depending on the states of blocks 635 and 640 thereof.
             block 648 later skipped over. If the decoding attempt is not           In view of the foregoing, it will be seen that the 1D/2D
             successful, however, block 1840 is skipped, and the processor       autodiscrimination process of the invention may be practiced
             is directed to decision block 1845.                                 in many different ways, depending upon the menuing options
                If the user has elected not to use the multiple symbols          that have been chosen by the user. Among these menuing
             option, block 1845 may direct the processor to exit the flow 20 options, the code options increase the data throughput rate of
             chart of FIG. 18, via block 1850, after any 2D symbol has           the reader by assuring that the processor does not waste time
             been successfully decoded. Optionally, block 1845 may be            trying to autodiscriminate and decode symbols which it has
             arranged to direct the processor to exit the flow chart of FIG.     been told are not present, or are not of interest. Tue scan
             18 after the attempted decoding of the centermost symbol,           tracking options also increase the data throughput rate of the
             without regard to whether or not the decoding attempt was 25 reader by assuring that the scanning and decoding phases of
             successful.                                                         read operations both operate, to the extent possible in view of
                If the user has elected to use the multiple symbols option,      the then current decoding load and decoding options, at a
             block 1845 will direct the processor back to block 1825 to          I 00% utilization rate. Even the multiple symbols option also
             process the next 2D symbol, i.e., the symbol whose CFR is           increases the data throughput rate of the reader by either
             next closest to the center of the field of view. Tue above- 30 discontinuing the reading of symbols that are not centered
             described attempted decoding and storing (or outputting)            and therefore not of interest or speeding up the processing of
             steps will then be repeated, one CFR after another, until there     multiple symbols that are of interest. Thus, for a processor
             are no more symbols which have usable finder patterns.              with a given performance rating and a set of decoding pro-
             Finally, when all symbols having usable finder patterns have        grams of given length, the apparatus of the invention assures
             been either decoded or found to be undecodable, the proces- 35 a higher overall data throughput rate than has heretofore been
             sor will exit the flow chart ofFIG.18, via block 1850, to return    possible.
             to the main program of FIG. 6A.                                        While the present invention has necessarily been described
                In view of the foregoing, it will be seen that, depending on     with reference to a numberof specific embodiments, it will be
             the number of identifiable CFRs that have been found in the         understood that the time spirit and scope oftl1e present inven-
             stored, digitized image, and on the enablement of the multiple 40 tion should be determined only with reference to the follow-
             symbols option, the 2D autodiscrimination routine shown in          ing claims.
             FIG. 18, will cause one or more 2D symbols in the image data           What is claimed is:
             to be either decoded or found to beundecodable before direct-          1. A system comprising:
             ing the processor to exit the same.                                    (a) an optical reader including an imaging assembly, a
                For the sake of clarity, the foregoing descriptions of the ID 45       display, a keyboard, an acoustic output device and a
             and 2D phases of the I D/2D autodiscrimination process of                 controller configured to capture image data and decode
             the invention have been described separately, without dis-                decodable bar code symbols therein, said optical reader
             cussing the combined or overall effect of the code options and            further including a hand held housing encapsulating said
             scanning-decoding options discussed earlier in connection                 imaging assembly and said controller, said hand held
             with FIG. 78. The overall effect of these code options and the 50         housing further supporting said display and said key-
             manner in which they are implemented will now be described                board; and
             in connection with FIG. 20. As will be explained presently,            (b) a host processor having an associated display spaced
             FIG. 20 shows (with minor simplifications) the contents of                apart from said optical reader, wherein said hand held
             block 627 of FIG. 6A. It also shows, as blocks 2010 and2035               housing is adapted to be held in a hllillan hand so that
             (again witli minor simplifications), the ID and 2D autodis- 55            said optical reader is moveable between a variety of
             crimination routines discussed earlier in connection with                 orientations and distances with respect to said host pro-
             FIGS. 16 and 18, respectively.                                            cessor;
                On entering the flow chart of FIG. 20, the processor                (c) wherein said system is configured so that in a first mode
             encounters a block 2005 which causes it to determine, with                said host processor sends to said optical reader a beeper
             reference to the code options of the parameter table, whether 60          control instruction, wherein said optical reader substan-
             all of the ID codes have been disabled. If they have not, the             tially on receipt of said beeper control instruction actu-
             processor continues to block 2010. In accordance with block               ates said acoustic output device so that said acoustic
             2010, the processor performs the ID autodiscrinlination pro-              output device emits a series of beeps without actuating
             cess described in connection with FIG. 16, using the ID code              said display;
             and scanning-decoding options indicated by the parameter 65            (d) wherdn said system is further configured so that in a
             table. Depending upon whether 1D decoding was successful,                 second mode said host processor sends to said optical
             as determined by block 2015, the processor either outputs (or             reader a display control instruction, wherein said optical




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                   reader substantially on receipt of said display control          neut control instruction, said hand held optical reader directs
                   instruction causes a predetermined indicia to be dis-            LED light toward a target of said hand held optical reader.
                   played on said display without actuating said acoustic              9. The method of claim 6, wherein said wirelessly sending
                   output device.                                                   step includes the step of wirelessly sending said acoustic
                2. The system of claim 1, wherein said optical reader fur-          output component control instruction from said spaced apart
             ther includes a light source, and wherein said system is con-          host processor to said hand held optical reader.
             figured so that said host processor in a further mode sends to            10. The method of claim 6, wherein said wirelessly sending
             said optical reader a light source control instruction, said           step includes the step ofwirelessly sending said display out-
             optical reader substantially on receipt of said light source           put component control instruction from said spaced apart host
             instruction causes said light source to flash on and off.           10 processor to said hand held optical reader.
                3. The system of claim 1, wherein said acoustic output                 11. The method of claim 6, wherein said wirelessly sending
             device is a speaker.                                                   step includes the step ofwirelessly sending said light source
                4. The system of claim 1, wherein said imaging assembly             flashing component control instruction from said spaced
             includes a two dimensional solid state image sensor.                   apart host processor to said hand held optical reader, and
                5. The system of claim 1, wherein said display is provided 15 wirelessly sending said acoustic output component control
             by a liquid crystal display.                                           instruction from said spaced apart host processor to said hand
                6. A method for attracting attention of an operator of a hand       he] d optical reader.
             held optical reader, said hand held optical reader having an              12. The method of claim 6, wherein said wirelessly sending
             artificial light source directing light toward a target, an acous- 20 step includes the step ofwirelessly sending said light source
             tic output device, a wireless communication link, a display,           flashing component control instruction from said spaced
             and being configured to decode decodable bar code symbols              apart host processor to said hand held optical reader, and
             represented in captured images, said method comprising the             wirelessly sending said display output component control
             steps of:                                                              instruction from said spaced apart host processor to said hand
                (a) configuring said hand held optical reader to wirelessly 25 held optical reader.
                   receive at least one component control instruction from             13. Themethodofclaim 6, wherein said wirelessly sending
                   a spaced apart host processor, said component control            step includes the step of wirelessly sending said acoustic
                   instruction being selected from the group consisting of a        output component control instruction from said spaced apart
                   light source flashing component control instruction              host processor to said hand held optical reader, and wirelessly
                   which when executed by said hand held optical reader 30 sending said display output component control instruction
                   results in artificial light from said artificial light source    from said spac1.,-d apart host processor to said hand held opti-
                   being directed toward a target of said optical reader            cal reader.
                   without a frame of image data being captured, an acous-             14. The method of claim 6, wherein said method further
                   tic output device component control instruction which            includes the step of initiating said component control instruc-
                   when executed by said hand held optical reader causes 35 tion by presenting at a location spaced apart from said hand
                   said acoustic output device to emit a series of beeps            held optical reader a user-input command to control said hand
                   without actuation of said display, and a display output          held optical reader.
                   component control instruction which when executed by                15. The method of claim 6, wherein said method further
                   said hand held optical reader results in a predetermined         includes the step of inputting a command using said host
                   indicia being displayed on said display without actua- 40 processor to initiate said at least one component control
                   tion of said acoustic output device, wherein said config-        instruction.
                   uring step includes the step of configuring said hand held          16. A system comprising:
                   optical reader to execute said at least one component               (a) an optical reader including an imaging assembly, a
                   control instruction to produce a user-perceivable result               display, a keyboard, a wireless communication link, a
                   substantially on receipt of said component control 45                  light source, an acoustic output device and a controller
                   instruction and wherein said hand held optical reader is               configured to capture image data and decode decodable
                   disposed in a common local facility with a spaced apart                bar code symbols therein, said optical reader further
                   host processor having an associated display; and                       including a hand held housing encapsulating said imag-
                (b) wirelessly sending from said spaced apart host proces-                ing assembly and said controller, said hand held housing
                   sor to said hand held optical reader at least one of said 50           further supporting said display and said keyboard; and
                   light source flashing component control instruction, said           (b) a host processor spaced apart from said optical reader,
                   acoustic output device component control instruction,                  wherein said hand held housing is adapted to be held in
                   and said display output component control instruction,                 a hmnan hand so that said optical reader is moveable
                   whereby a user-perceivable result is produced by said                  between a variety of orientations and distances with
                   hand held optical reader substantially on receipt of said 55           respect to said host processor;
                   at least one component control instruction so that atten-           (c) wherein said system is configured so that in a first mode
                   tion of an operator of said hand held optical reader is                said host processor wirelessly sends to said optical
                   attracted.                                                             reader a beeper control instruction, wherein said optical
                7. The method of claim 6, wherein said wirelessly sending                 reader substantially on receipt of said beeper control
             step includes the step of wirelessly sending said light source 60            instruction actuates said acoustic output device so that
             flashing component control instruction from said spaced                      said acoustic output device emits a series of beeps;
             apart host processor to said hand held optical reader.                    (d) wherein said system is further configured so that in a
                8. The method of claim 6, wherein said wirelessly sending                 second mode said host processor sends to said optical
             step includes the step of wirelessly sending said light source               reader a display control instruction, wherein said optical
             flashing component control instruction from said spaced 65                   reader substantially on receipt of said display control
             apart host processor to said hand held optical reader so that                instruction causes indicia to be displayed on said dis-
             substantially on receipt of said light source flashing compo-                play; and




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                (e) wherein said system is configured so that said host              25. The system of claim 23, wherein said system is config-
                   processor in a further mode sends to said optical reader       ured so that said display control instruction sent by said host
                   a light source control instruction, said optical reader        processor in said second mode is initiated by a user by pre-
                   substantially on receipt of said light source instruction      senting at a location spaced apart from said optical reader a
                   causes light from said light source to be directed toward      command to control said optical reader.
                   a target of said optical reader without causing actuation         26. The system of claim 23, wherein said imaging assem-
                   of said imaging assembly.                                      bly includes a two dimensional solid state image sensor.
                17. Tbe system of claim 16, wherein said acoustic output             27. The system of claim 23, wherein said system is config-
             device is a speaker.                                                 ured so that said display control instruction sent by said host
                18. The system of claim 16, wherein said imaging assem- 10 processor in said second mode is initiated by a user of said
             bly includes a two dimensional solid state image sensor.             host processor.
                19. The system ofclaim 16, wherein said system is config-            28. A system comprising:
             ured so that said beeper control instruction sent by said host          (a) an optical reader including an imaging assembly, a
             processor in said first mode is initiated by a user by presenting          display, a keyboard, an acoustic output device and a
             at a location spaced apart from said optical reader a command 15           controller configured to capture image data and decode
             to control said optical reader.                                            decodable indicia therein, said optical reader further
                20. The system of claim 16, wherein said system is config-              including a hand held housing encapsulating said imag-
             ured so that said display control instruction sent by said host            ing assembly and said controller, said hand held housing
             processor in said second mode is initiated by a user by pre-               further supporting said display and said keyboard; and
             senting at a location spaced apart from said optical reader a 20        (b) a host processor having an associated display spaced
             command to control said optical reader.                                    apart from said optical reader, wherein said hand held
                21. The system ofclaim 16, wherein said system is config-               housing is adapted to be held in a human hand so that
             ured so that said beeper control instruction sent by said host             said optical reader is moveable between a variety of
             processor in said first mode is initiated by a user of said host           orientations and distances with respect to said host pro-
             processor.                                                        25       cessor;
                22. The system of claim 16, wherein said system is config-           (c) wherein said system is configured so that host processor
             ured so that said display control instruction sent by said host            can send to said optical reader a beeper control instruc-
             processor in said second mode is initiated by a user of said               tion, wherein said optical reader substantially on receipt
             host processor.                                                            of said beeper control instruction actuates said acoustic
                                                                               30       output device so that said acoustic output device emits a
                23. A system comprising:
                                                                                        series of beeps without actuating said display;
                (a) a optical reader including an imaging assembly, a dis-           (d) wherein said system is further configured so that said
                   play, a keyboard, an acoustic output device and a con-               host processor can send said optical reader a display
                   troller configured to capture image data and decode                  control instruction, wherein said optical reader substan-
                   decodable bar code symbols therein, said optical reader 35           tially on receipt of said display control instruction
                   further including a handheldhousing encapsulating said               causes a predetermined indicia to be displayed on said
                   imaging assembly and said controller, said hand held                 display without actuating said acoustic output devi1--e.
                   housing further supporting said display and said key-             29. the system of claim 28, wherein said optical reader
                   board; and                                                     further includes a light source, wherein said system is con-
                (b) a host processor having an associated display spaced 40 figured so that said host processor can send to said optical
                   apart from said optical reader and being disposed at a         reader a light source control instruction, and wherein said
                   common local facility with said optical reader, wherein        optical reader substantially on receipt of said light source
                   said hand held housing is adapted to be held in a human        instruction causes said light source to flash on and off.
                   hand so that said optical reader is moveable between a            30. The system of claim 28, wherein said acoustic output
                   variety of orientations and distances with respect to said 45 device is a speaker.
                   host processor;                                                   31. TI1e system of claim 28, wherein said imaging assem-
                (c) wherein said system is configured so that in a first mode     bly includes a two dimensional solid state image sensor.
                   said host processor sends to said optical reader a beeper         32. The system of claim 28, wherein said display is pro-
                   control instruction that is initiated by a user by present-    vided by a liquid crystal display.
                   ing at a location spaced apart from said optical reader a 50      33. The system of claim 28, wherein said host processor is
                   command to control said optical reader, wherein said           disposed in a common local facility with said optical reader,
                   optical reader substantially on receipt of said beeper         and wherein said host processor includes an associated com-
                   control instruction actuates said acoustic output device       munication interface for providing communication between
                   so that said acoustic output device emits a series of beeps    said host processor and a processor not disposed in a common
                   without actuating said display;                             55 local facility with said host processor.
                (d) wherein said system is further configured so that in a           34. A system comprising:
                   second mode said host processor sends to said optical             (a) an optical reader including an imaging assembly, a
                   reader a display control instruction, wherein said optical           display, a keyboard, a wireless communication link, a
                   reader substantially on receipt of said display control              light source, an acoustic output device and a controller
                   instruction causes indicia to be displayed on said display 60        configured to capture image data and decode decodable
                   without actuating said acoustic output device.                       indicia therein, said optical reader further including a
                24. The system of claim 23, wherein said optical reader                 hand held housing encapsulating said imaging assembly
             further includes a light source, and wherein said system is                and said controller, said hand held housing further sup-
             configured so that said host processor in a further mode sends             porting said display and said keyboard; and
             to said optical reader a light source control instruction, said 65      (b) a host processor spaced apart from said optical reader,
             optical reader substantially on receipt of said light source               wherein said hand held housing is adapted to be held in
             control instruction causes said light source to flash on and off.          a human hand so that said optical reader is moveable




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                   between a variety of orientations and distances with              (c) wherein said system is configured so that said host
                   respect to said host processor;                                      processor can send to said optical reader a beeper control
                (c) wherein said system is configured so that said host                 instruction that is initiated by a user of said host proces-
                   processor can wirelessly send to said optical reader a               sor, wherein said optical reader substantially on receipt
                   beeper control instmction, wherein said optical reader               of said beeper control instmction actuates said acoustic
                   substantially on receipt of said beeper control instmc-              output device so that said acoustic output device emits a
                   tion actuates said acoustic output device so that said               series of beeps without actuating said display;
                   acoustic device emits a series of beeps;                          (d) wherein said system is further configured so that said
                (d) wherein said system is further configured so that said              host processor can send to said optical reader a display
                   host processor can send to said optical reader a display 10          control instruction, wherein said optical reader substan-
                   control instruction, wherein said optical reader substan-            tially on receipt of said display control instruction
                   tially on receipt of said display control instruction                causes indicia to be displayed on said display without
                   causes indicia to be displayed on said display; and                  actuating said acoustic output device.
                (e) wherein said system is further configured so that said           44. The system of claim 43, wherein said optical reader
                   host processor can send to said optical reader a light 15 further includes a light source, and wherein said system is
                   source control instruction, said optical reader substan-       further configured so that said host processor can send to said
                   tially on receipt of said light source control instruction     optical reader a light source control instruction, and wherein
                   causes light from said light source to be directed toward      said optical reader substantially on receipt of said light source
                   a target of said optical reader without causing actuation      control instruction can cause said light source to flash on and
                   of said imaging assembly.                                   20 off.
                35. The system of claim 34, wherein said acoustic output             45. The system of claim 43, wherein said system is config-
             device is a speaker.                                                 ured so that said display control instruction sent by said host
                36. The system of claim 34, wherein said imaging assem-           processor can be initiated by a user by presenting at a location
             bly includes a two dimensional solid state image sensor.             spaced apart from said optical reader a command to control
                37. The system of claim 34, wherein said system is config- 25 said optical reader.
             ured so that said beeper control instmction that can be sent by         46. The system of clain1 43, wherein said imaging assem-
             said host processor and can be initiated by a user by present-       bly includes a two dimensional solid state image sensor.
             ing at a location spaced apart from said optical reader a               47. The system of claim 43, wherein said host processor
             command to control said optical reader.                              includes an associated communication interface for provid-
                38. The system of claim 34, wherein said system is config- 30 ing communication between said host processor and a pro-
             ured so that said display control instruction that can be sent by    cessor not disposed in a common local facility with said host
             said host processor can be initiated by a user by presenting at      processor.
             a location spaced apart from said optical reader a command to           48. A method for attracting attention of an operator of a
             control said optical reader.                                         hand held optical reader, said method comprising the steps of:
                39. The system of claim 34, wherein said system is config- 35        (a) providing a hand held optical reader having an artificial
             ured so that said beeper control instruction is transmitted                light source directing light toward a target, an acoustic
             from said host processor in response to a user input command               output device, said hand held optical reader having a
             input by a user of said host processor.                                    display and further being configured to decode decod-
                40. The system of claim 34, wherein said system is config-              able bar code symbols represented in captured image
             ured so that said display control instruction is transmitted 40            data,
             from said host processor in response to a user input command            (b) providing a spaced apart host processor spaced apart
             input by a user of said host processor.                                    from said hand held optical reader, said spaced apart host
                41. The system ofclaim 34, wherein said system is config-               processor being disposed in a common local facility
             ured so that said light source control instruction is transmitted          with said hand held optical reader having a user interface
             from said host processor in response to a user input command 45            including a display;
             input by a user of said host processor.                                 (c) configuring said hand held optical reader to receive at
                42. The system of claim 38, wherein said host processor is              least one component control instruction from a spaced
             disposed in a common local facility with said optical reader,              apart host processor, said component control instruction
             and wherein said host processor includes an associated com-                being selected from the group consisting of a light
             munication interface for providing communication between 50                source component control instruction which when
             said host processor and a processor not disposed in a common               exe'--uted by said hand held optical reader results in light
             local facility with said host processor.                                   from said artificial light source being directed toward a
                43. A system comprising:                                                target of said optical reader without a frame of image
                (a) a optical reader including an imaging assembly, a dis-              data being captured, and an acoustic output device com-
                   play, a keyboard, an acoustic output device and a con- 55            ponent control instruction which when executed by said
                   troller configured to capture inlage data and decode                 hand held optical reader causes said acoustic output
                   decodable indicia therein, said optical reader further               device to be actuated without a frame of image data
                   including a hand held housing encapsulating said imag-               being captured, wherein said configuring step includes
                   ing assembly and said controller, said hand held housing             the step of configuring said hand held optical reader to
                   further supporting said display and said keyboard; and 60            execute said at least one component control instruction
                (b) a host processor having an associated display spaced                to produce a user-perceivable result substantially on
                   apart from said optical reader and being disposed at a               receipt of said component control instruction; and
                   common local facility with said optical reader, wherein           (d) wirelessly sending from said spaced apart host proces-
                   said hand held housing is adapted to be held in a human              sor to said hand held optical reader at least one of said
                   hand so that said optical reader is moveable between a 65            light source component control instruction, and said
                   variety of orientations and distances with respect to said           acoustic output device component control instruction,
                   host processor;                                                      whereby a user-perceivable result is produced by said




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                   hand held optical reader substantially on receipt of said           light source component control instruction, and said
                   at least one component control instruction so that atten-           acoustic output device component control instruction,
                   tion of an operator of said hand held optical reader is             whereby a user-perceivable result is produced by said
                   attracted.                                                          hand held optical reader substantially on receipt of said
                49. The method of claim 48, wherein said user-perceivable              at least one component control instruction so that an
             result is said light source being flashed.                                alarm condition is indicated to an operator of said hand
                50. The method of claim 48, wherein said user-perceivable              held optical reader.
             result is a series of beeps being emitted by said acoustic             54. The method of claim 53, wherein said user-perceivable
             output device.                                                      result is said light source being flashed.
                51. The method of claim 48, wherein said sending step 10            55. The method of claim 53, wherein said user-perceivable
             includes the step of sending responsively to a command being        result is a series of beeps being emitted by said acoustic
             input to said spaced apart host processor by a user of said host    output device.
             processor.                                                             56. The method of claim 53, wherein said sending step
                52. The method of claim 48, wherein said providing step          includes the step of sending responsively to a command being
             includes the step of providing said host processor so that said 15 inputto said spaced apart host processor by a userof said host
             host processor includes an associated communication inter-          processor.
             face for providing communication between said host proces-             57. The method of claim 53, wherein said providing step
             sor and a processor not disposed in a common local facility         includes the step of providing said host processor so that said
             with said host processor.                                           host processor includes an associated communication inter-
                53. A method for signaling an alarm condition to an opera- 20 face for providing communication between said host proces-
             tor of a hand held optical reader, said method comprising the       sor and a processor not disposed in a common local facility
             steps ot:                                                           with said host processor.
                (a) providing a hand held optical reader having an artificial       58. A system for attracting attention of an operation of an
                   light source for use in directing light toward a target, an   optical reader, said system comprising:
                   acoustic output device, said hand held optical reader 25         (a) an optical reader including an imaging assembly, a
                   having a display and further being configured to decode             display, a keyboard, a wireless communication link, an
                   decodable bar code symbols represented in captured                  illumination assembly comprising at least one light
                   image data,                                                         source, said illumination assembly for directing light in
                (b) providing a spaced apart host processor spaced apart               a direction of a target object, said optical reader further
                   from said hand held optical reader, said spaced apart host 30       having a controller configured to capture image data and
                   processor being disposed in a common local facility                 decode decodable indicia therein, said optical reader
                   with said hand held optical reader, said spaced apart host          further including a hand held housing encapsulating said
                   processor having a user interface including a display;              imaging assembly, said controller and said illumination
                (c) configuring said hand held optical reader to receive at            assembly, said hand held housing further supporting
                   least one component control instruction from a spaced 35            said display and said keyboard; and
                   apart host processor, wherein said configuring step              (b) a host processor spaced apart from said optical reader
                   includes the step of configuring said hand held optical             and being disposed in a common local facility with said
                   reader to receive a light source component control                  optical reader, wherein said host processor has an asso-
                   instruction and an acoustic output device component                 ciated keyboard and an associated communication inter-
                   control instruction, wherein said light source component 40         face for providing communication with processor not
                   control instruction when executed by said hand held                 disposed in said common local facility, wherein said
                   optical reader results in light from said artificial light          hand held housing is adapted to be held in a human hand
                   source being directed toward a target of said optical               so that said optical reader is moveable between a variety
                   reader without image data being captured and wherein                of orientations and distances with respect to said host
                   said acoustic output device component control instruc- 45           processor;
                   tion which when executed by said hand held optical               (c) wherein said system is further configured so that said
                   reader causes said acoustic output device to be actuated            host processor can send to said optical reader a light
                   without image data being captured, wherein said config-             source control instruction,
                   uring step further includes the step of configuring said         (d) wherein said system is further configured so that said
                   hand held optical reader to execute said at least one 50            optical reader, substantially on receipt of said light
                   component control instruction to produce a user-per-                source control instruction causes said illumination
                   ceivable result substantially on receipt of said compo-             assembly to direct light toward a target of said optical
                   nent control instruction and wherein said hand held opti-           reader without causing actuation of said imaging assem-
                   cal reader is further configured to receive a frame                 bly.
                   capture component control instruction and an image 55            59. The system of claim 58, wherein said imaging assem-
                   upload component control instruction, the frame capture       bly includes a two dimensional solid state image sensor.
                   component control instruction when executed by said              60. The system of claim 58, wherein said system is config-
                   hand held optical reader resulting in a frame of image        ured so that said light source control instruction is transmitted
                   data presently in a field of view of said hand held optical   from said host processor in response to a user input command
                   reader being captured, and the image upload component 60 input by a user of said host processor.
                   control instruction when executed by said hand held              61. The system of claim 58, wherein said illumination
                   optical reader resulting in a last captured frame of image    assembly includes a plurality of light sources.
                   data heing uploaded to said spaced apart host processor;         62. The system of claim 58, wherein said illumination
                   and                                                           assembly includes a plurality of LEDs.
                (d) wirelessly sending from said spaced apart host proces- 65
                   sor to said hand held optical reader at least one of said                              * * * * *




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             c12)   United States Patent                                                     (10) Patent No.:                     US 7,104,456 B2
                    Parker et al.                                                            (45) Date of Patent:                            Sep.12,2006


             (54)    REPROGRAMMABLE OPTICAL READER                                             4,500,776 A           2/1985 Laser
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                                (US); Andrew Longacre Jr.,                              EP               0 571 913 A2            1/1993
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             (73) Assignee: Hand Held Products, Inc., Skaneateles                       WO             WO 94/27246              11/1994
                            Falls, NY (US)                                              WO             WO 97/08647               3/1997
             ( *) Notice:         Subject to any disclaimer, the term of this                                 OTHER PUBLICATIONS
                                  patent is extended or adjusted under 35
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             (21) Appl. No.: 09n46,192                                                  Civil Action No. 03-102-SLR, Complaint, Date Jan. 21,
                                                                                        2003, pp. 1-14.
             (22)    Filed:       Dec. 21, 2000                                         Civil Action No. 03-102-SLR, Memorandum Order, Date
             (65)                 Prior Publication Data                                No~ 14, 2003,pp. 1-12.
                     US 2003/0218067 Al Nov. 27, 2003                                                                  (Continued)
                              Related U.S. Applicatiou Data                             Primary Examiner-1bien M. Le
                                                                                        (74) Attorney, Agent, or Firm-Wall Marjama & Bilinski
             (63)    Continuation of application No. 09/385,597, filed on Aug.          LLP
                     30, 1999, which is a continuation-in-part of application No.
                     08/839,020, filed on Apr. 23, 1997, now Pat. No. 5,965,863,        (57)                          ABSTRACT
                     which is a continuation-in-part of application No. 08/697,
                     913, filed on Sep. 3, 1996, now Pat. No. 5,900,613.
                                                                                        A programmable optical reader in one embodiment can
             (51)    Int. Cl.                                                           include a program loading component and a program execu-
                     G06K 7110               (2006.01)                                  tion component operative to execute an externally generated
                                                                                        program, whereby executing the externally generated pro-
             (52)    U.S. Cl. ................... 235/486; 235/383; 235/472.01          gram includes replacing a portion of the optical reader
             (58)    Field of Classification Search ............ 235/472.01,            program. A progran1mable optical reader in another embodi-
                              235/472.03, 462.01, 462.02, 462.03, 462.25,               ment can include a two-dimensional image sensor, an image
                                                    235/375, 381,383,494,454            frame memory storing two-dimensional electronic images,
                     See application file for complete search history.                  and can be configured to be reprogrammed by any one of
                                                                                        receipt of reprogramming data from a local host processor or
             (56)                    References Cited                                   receipt of programming data from an external remote off-site
                                                                                        processor.
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                                  FIG.4A




                                        FIG.4C




                                                                                    HONEYWELL-00161622

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                                        30-2-2
                                                                               FIG.4D




                                                                 FIG.4E


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                                               FIG.4F




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                                                                 FIG.4H


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                                    52-2-31



                                                                      FIG.41




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                        22-3




                               FIG.5A




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                                                                     FIG.58




                                     FlG.5C




                                                                                  HONEYWELL-00161625

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                         INITIALIZE READER       61 0
                            HARDWARE
                    DEFINE MEMORY SPACE             615
                       FOR IMAGE DATA

                    INITIALIZE READER TO
                      DEFAULT SETTINGS


                    625

                    627                                                              EXECUTE
                                                                                 YES REPROG.
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                                                                                       603
                                                              602
                                                                                EXECUTE
                                        COMPONENT                    YES      INSTRUCTION
                                    CONTROL INSTRUCTION                       TO CONTROL
                                         RECEIVED                                READER
                                                                               COMPONENT

                                                  NO



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                                           TRIGGER
                           NO        PULLED OR REMOTE           ,,
                                     TRIGGER ACTIVATION
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                                                  YES
                                                                            FIG.68

                                         INITIALIZE          610
                                          READER
                                         HARDWARE



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                                                              FIG.7A

                     OPTIONS (OFFSET) TABLE
                   A. COMMUNICATIONS OPTIONS                     OP CODE TABLE
                      1. RS-232                              A, OP CODE "0"-VECTOR PROC.
                        2. BAUD RATE                            1. OUTPUT VERSION
                      3. RF UNK                                       OF SOFTWARE
                      4. EfHERNET                               2. OUTPUT CONTENTS OF
                   B. CODE OPTIONS                                    PARAMETER TABLE
                      1. DISABLE 1D
                      2. DISABLE 2D                             3. DISPLA.Y ENABLED CODES
                      J, DISABLE INDIV,
                      4. MIN-MAX LENGTH                         4. PRINT PARAMETER TABLE
                      5. MULTIPLE SYMBOLS ENABLED                 AS BAR CODE SYMBOL
                   C. SCANNING-D(CODING OPTIONS
                        1. ONE SHOT                          B. OP CODE "1 " - CLEAR
                        2. REPEAT UNTIL DONE                 C. OP CODE "2" - SET
                        3. REPEAT UNTIL STOPPED              D. OP CODE "3" - TOGGLE
                        4. SCAN ON DEMAND
                        5. SKIP SCAN                         E. OP CODE "4" - ADD
                      6. DECODE ON DEMAND                    F. OP CODE "5" - DEFAULT
                   D. OPERATING OPTIONS
                      1. BEEPER VOLUME                       G. OP CODE "6" - LOAD
                      2. AIMING LED ON/OFF                   H. OP CODE "7" - RESERVED
                      3. AURAL F.EEDBACK
                   E. TRANSMIT OPTIONS                                  FIG.7C
                      1, SEND CHECK CHAR'S
                      2. SEND CHECKSUM
                      J. DATA EDIT OPTIONS

                              FIG.78




                                                                                         HONEYWELL-00161628

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                                                                                         EXIT




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                                                                        JA2500
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                                                      CODE 128 SELECTION




                    FIG.BA
                                                        UPC A SELECTION



                                  806~
                                        ¥~~                            808


                                           *ON




                                                   BAUD RATE SELECTION



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                                       ~- lg)
                                  812~-- ·-1 ..
                                       1200
                                                  ~




                        FIG.BB


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                                  816il
                                                                             l
                                          19200                                  *38400




                                                                                          HONEYWELL-00161630

                                                 JA2501
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                                          tDEFAULT ALL CODE 11/CODE 128 SETTINGS* -

                                                        s22 -llllllilllllll Il

                                                          CODE 11 SELECTION

                          824    -lllll!!lllllllllllllllllllll   CODE 11         /Ullllllfllllllllll!lll
                                             *ON                          826               OFF




               FIG.BC
                          834    -I ~ll l!IIIIWI lllllllllll l!I MJii8~G3H6E )!!lllllillli 11111111111111
                                         MINIMUM :j:                                    MAXIMUM :t


                                                         CODE 128 SELECTION

                           848   --1IIIIHHllllllllllllltll       CODE 128        /rnlllWlllllllllllllll
                                              •ON                         852               OFF


                        . B? 4 -1111111111111 m111 rn111         M~~tE J11111111111111 1111111111
                                                                           856
                                                                                                           ~
                                         MINIMUM :f:                                    MAXIMUM :J:

                           4: A TWO-DIGIT NUMBER IS REQUIRED .AJ1ER SCANNING
                          THIS PROGRAMMING BAR CODE. PLEASE SCAN YOUR SELECTION
                          ON THE PROGRAMMING CHART (INSIDE BACK COVER).




                                                                                                               HONEYWELL-00161631

                                                            JA2502
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                                             RS-2320 PORT 2 (D OUTPUT)
                                   *DEFAULT ALL RS-232 PORT 2 SETTINGS*

                                                           858 -1111111111111111~


                                                         CTS CHECK SELECTION


                            862   -llllllll lll~IIIIIIIIIIIIII             864      -l~l l l l l l l W 1111
                                            ENABLE                                          *DISABLE


                                                         BAUD RATE SELECTION


                FIG.BO      866 ---111111111111~11111111                   868   --lllllll l~l l lil l l l l Il
                                               300                                             600


                            812 --Hllll      l l l l l ~l l Ill
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                                              4800
                                                                           878   --llllll l l l l l l l l/III
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                            882   -111111 Ii19200
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                                                                                          Ill l l il l !l l Il




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                                                                                                                                 Doc: 45-5




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                                   LOCAL                                                REMOTE
                                    HOST          ~                                 I PROCESSOR
          925                    PROCESSOR
                                    900
                                                  1~920
                KEYBOARD                                                                                               d
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                                                                                                                                 Pg: 382 of 423




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                                                                                                            HONEYWELL-00161633
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                                                          ENTER




                                                                                  45
                                                                                  ST




                                                                                   1055

                    STORE LINE IN
                        RAM
                                    1015

                        ACK HOST


                                   1020
                                   NO
                                                   STORE LINE TO EROM       1070


                                                                                       1080
                        JUMP TO
                        RAM AND
                        EXECUTE         1025
                        PROGRAM
                         IN RAM
                                                        YES                       EXIT
                          EXJT
                        FIG. 10A                                       FIG. 10B




                                                                                              HONEYWELL-00161634

                                                   JA2505
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             1160"'\.                                                                                                 ~
                                                                                                                                USCA4 Appeal: 23-1850




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                       IF {MESSAGE lYPE== CODABAR)
                                    AND                  V.1'7'7'7'7'71/hS<,'7'9 1oo                                 =
                     (PARAMETER TABLE, CODABAR==ON)                                                                  """
                              THEN ATTEMPT TO            f / / / / / / / / /,, / / / 1200
                              DECODE MESSAGE                                                                          r:r,_
                                                                                                                                Doc: 45-5




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                           ENTER
                                                           8000 PARAMETER START         1134
                           D~1102                          9000 PARAMETER END                                         r:r,_
                         SUBPROGRAM                                                                                   (D
                                                                                                                      =-
                            OPTION                                                               FIG.11C             a




JA2506
                           SCREEN                                                                                     ...
                                                                                                                      ....:i

                               J                                                     5000                            ...,
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                                                                                                                     w
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                          HIGHLIGHT                                                                                   ~

         FIG, 11 A   I   SUBPROGRAM
                         AND SELECT                                                         0 CODABAR ON
                                                      20001----------,                      1 UPC OFF
                           I
                           EXECUTE                                                                                    ~
                                                                                                                      rJJ.
                         SUBPROGRAM                                                                                  _,---l
                                                      9000,___ _ _ _ ___,
                         ... I
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                                                                                                                                Pg: 384 of 423




                             STOP
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                                                                                                                     "..,
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                                                     ENTER

                                                  DISPLAY MAIN         1110
                                            REPROGRAM SCREEN                      FIG.
                                                                                 11B(1)

                                                    SELECT             1112
                                                DIRECTORY DRIVE                   FIG.
                                                                                 118(2)
                        DISPLAY
                        ERROR
                                                   HIGHLIGHT           1114
                                            OPERATING PROGRAM                   FIG.11 B
                                                  AND SELECT



                                            N


                                                        y

                                             SEND COMMAND TO           1118
                                                READER SO THAT
                                            READER REPORTS ID#


                                            RECEIVE ID RESPONSE        1120
                                                AND COMPARE TO
                                             SELECTED PROGRAM



                                        N


                                                        y
                        FIG.118(1)
                                                       A




                                                                                         HONEYWELL-00161636

                                                   JA2507
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                                                                                   1130
                                                                           DETERMINE
                                                               y          START & ENO
                                                               > - - - - - PARAMETER
                                                                           ADDRESSES
                                                                                       1136
                                                     N
                                                                             MODIFY FILE
                                                                            SO THAT FILE
                                                                            HAS PROPER
                        FIG.118(2)                                           START/ENO
                                                                             ADDRESSES
                                                              1144
                                                                                       1140
                                                               N                SEND
                                                                             OPERATING
                                                                              PROGRAM
                                      1150           Y             .---et    TO READER
                                                                                EROM
                                             RfAO EXISTING
                                               PARAMETER
                                              TABLE FROM                      PERFORM
                                                READER                       CHECKSUM
                                  1152                                      DIAGNOSTICS
                                         WRITE PARAMETER
                                             TABLE TO
                                         PARAMETER TABLE
                                          HOLD ADDRESS
                                             LOCATION
                                                                      y


                                             1154
                               1156
                                         SEND PARAMETER                            N
                     DETERMINE                TABLE fROM
                   START & ENO               HOLD ADDRESS
                     PARAMETER                  LOCATION
                    .ADDRESSES                 TO READER
                                                                 RETURN
                                                    ,___ _ _ _ _ TO MAIN




                                                                                              HONEYWELL-00161637

                                                    JA2508
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                                                                                   1166
                                                               DETERMINE READER lYPE
                                                     62          AND UPLOAD EXISTING
                                                     y           PARAMETER TABLE TO
                    FIG.                                      •RAM OF PROCESSOR 900;
                   110(1)                                      UPLOAD UST OF ANALOG
                                   1168                       WAVEFORM OUTPUT TYPES

                    FIG.                  QUERY USER
                  110(2)                FOR READER lYPE
                                   1169
                                      SHOW PARAMETER
                 FIG.11D           CONFIGURATION SCREEN


                                                          Y   WRITE PARAMETER TABLE
                                                                 TO READER EROM



                                                          Y   WRITE PARAMETER TABLE
                                                              TO BULK STORAGE DEVICE




                                                                DISPLAY PARAMETER
                 8G, 11P(1)                                      TABLE ON SCREEN




                                                                 PRINT PARAMETER
                                                                      TABLE




                                                                                          HONEYWELL-00161638

                                                 JA2509
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                                                                      1186
                                                                      ENTER FILE             1188
                                                                       NAMES OF
                                                                      PARAMETER
                                                                      TABLES ANO
                                                                       COMPARE

                                                                        1169      SHOW PARAMETER
                                                                                   CONFIGURATION
                                                                                      SCREEN




                  1190
                                                    1204                                     1210
                           SELECT
                         PARAMETER         MAKE LINEAR                             2     MAKE 2D
                            TYPE            SYMBOL TO                                   SYMBOL TO
                                            RESULT IN                                   RESULT IN
                  1192                       DEFAULT                                      EDITED
                    SHOW SECONDARY          PARAMETER                                   PARAMETER
                   PARAMETER EDITING          TABLE                                       TABLE
                      SCREEN EDIT
                       PARAMETER         FOR EACH
                                        PARAMETER
                  1169                    CHANGE,              1206
                                                                                DISPIJ\Y OR PRINT
                   SHOW PARAMETER     MAKE LINEAR                                 EACH CREATED
                     CONFICURATION      SYMBOL TO                                  2D SYMBOL
                        SCREEN          RESULT IN
                                        PARAMETER
                                          CHANGE                                       END
                                   1208
                                        DISPLAY OR PRINT
                                          EACH CREATEO
                                         LINEAR SYMBOL


                                               END                 FIG.110(2)




                                                                                                HONEYWELL-00161639

                                                     JA2510
                                                                                                                                                                                                                               00
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                             PRODUCT: ST3400-x2_       I                      FIRMWARE ID: IW~3720027
                                                                                          I ...· .                                                                                                                            =
                                                                                                                                                                                                                              """
                        CONF"IGURATION:             DESCRIPTION:                                 ;
                           PREF!}(/'-'SUFFIX :. . tSETUP. CHAR.A.CT:ERS TO. l TRANSMIT. BEFO,RE -lAND/OR                                                            BEAD FROM DEVICE                                           r:r,.
                                                                                                                                                                                                                               t0
                                                                                                                                                                   I
                                                                                                                                                                                                                                       Doc: 45-5




                           -                            AFTER EACH BARCODE SYMBOL SCANNED                                                                                                                                     ~
                                                                                                                                                                   I WRITE TO DEVICE                                          ~
                                                                                                                                                                                                                               ...
                         .QUTPUT SETTINGS I(                                              SETUP VARIOUS OUTPUT PARAMETERS                                                                                                      ~
                                                                                                                                                                                                                               0
                                                                                                                                                                   l10AO FROM DISK                                             0
                                                                                                                                                                                                                               0'I
                                                                                SETUP DECODING CHARACTERISTICS FOR EACH
         1174            S)'MBOLOGY SETUP
                                                                                          BARCOOE SYMBOLOGY                                                        I    SAVE TO DISK
                                                                                                                                                                                                                               r:r,.
                        JERMINAL INTERFACE 11                                   SELECT THE TERMINAL. INTERFACE THE DEVICE
                                                                                            WILL CONNECT TO                                                              DEFAULT ALL                                           t0
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JA2511
                          DATA fORMATTING                            I  CUSTOMIZE THE FORMAT OF THE OUTPUT OF THE                                                                                                              ~

                    .
                    I                                                 .              BARCOOE MESSAGE                                                                                                                          ...,
                                                                                                                                                                                                                              =
                                                                                                                                                                                                                              w
                                                                                                                                                                                                                                       Filed: 04/01/2024




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                           S.ERIAL SffilNGS                          I            SETUP THE DEVICE'S SERIAL COMMUNICATION
                    I
                    ....- - - - - . . . i · .                                                   PARAMETERS                                                                       !iELP                        I
                    (        MISC. SETTINGS                           11            SETUP VARIOUS PRIMARY ANO SECONDARY
                                •                                                             INTERFACE OPTIONS                                                                 tLOSE
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                                                                                                                                                                                                                               rJ'J.
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                                                                                                                                                                                                                                       Pg: 389 of 423




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                                                                                                              FIG.11E                                                                                                         "..,
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                                       1214     .   ENTER

                                              SHOW MESSAGE
                                            EDITING SIMULATION
                                                  SCREEN

                                               ENTER MESSAGE;
                                         ENTER SYMBOLOGY TYPE
                                                                         1218
                                                    ENTER
                                              EDITING COMMANDS
                                                                                    1220
                                                                              SEARCH ANO
                                                                                REPLACE
                                                                              CHARACTERS

                                                                                     1222
                                                                                 INSERT
                                                                    ~41ot     CHARACTERS
                                                                             INTO MESSAGE


                                                                                     1224
                                                                           DELETE
                                                                    ~--. CHARACTERS
                                                                        FROM MESSAGE




                        1230
                                                                                AG.11 F
                               WRITE
                         COMMANDS
                         TO MEMORY

                                                                       1214
                                          SHOW MESSAGE EDITING
                                            SIMULATION SCREEN




                                                                                               HONEYWELL-00161641

                                                       JA2512
                                                                                                               ~
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                                                                                                               "'"e
                                                                                                                         USCA4 Appeal: 23-1850




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                                                                                                               (I)
                                                                                                                         Doc: 45-5




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                                                                                                               N
         (A)          1
               ~z: ~~~~~:~~          !--SCAN                                                      TIME         N
                                                                                                               0
                                               1--i~;:: 2--i~;: ~, 3--i~:i~;, 4--i~;::r-l
                                                  SCAN 1
                                                           1
                                                                  SCAN 2    SCAN 3   SCAN 4                    0
                                                                                                               0\



         (8) HEAVY SCANNING 1--SCAN 1--1--SCAN 2--1--SC,ii}-J. 3--1--SCAN 4--1--SCANS--I
                  I                                                                               TIME
                                                                                                               00
               LOAD       DECODING               ,--DECODE SCAN 1--1--DECODE SCAN 2--,-- □ ECODE SCAN 3--      1'0
                                                                                                               =-
                                                                                                               (I)

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                                                                                                                         Filed: 04/01/2024




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                                                                FIG.12
                                                               Prior ,Art                                      C'j
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                        SCANNING SCAN 1 I SCAN 2 I SCAN 3 l SCAN 4 I SCAN 5 I SCAN 6 I SCAN 7 I SCAN 8 I                                         "'C
                                                                                                                                                          USCA4 Appeal: 23-1850




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                  (A) DECODING                    IDECODE 11 DECODE 11 DECODE I f DECODE 11 DECODE 11 DECODE 11 DECODE I                        '""'-
                                                                                                                                                tD
                                                      SCAN 1    SCAN 2       SCAN 3   ISCAN 4     SCAN 5      SCAN 6   SCAN 7
                                                                                                                                                '""'-
                                                                                                                                                =
                  (B) SCANNING.I SCAN 1 I SCAN 2 I                       I SCAN 3 I              I SCAN 4 I            I SCAN 5 I
                                                                                                                                                r.,,_
                                                                                                                                                          Doc: 45-5




                        DECODING                 .I   DECODE SCAN 1      I   DECODE SCAN 2       I   DECODE SCAN 3     I ~~~0; I               '?....
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                  ( ) SCANNING SCAN 1 I SCAN 2 I SCAN 3 I SCAN 4 I SCAN 5 I SCAN 6 I SCAN 7 I SCAN 8 I                                          0
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         FJG.J 3 1 C. DECODING                   I DECODE SCAN 1 I DECODE SCAN 2 I DECODE SCAN 5 IDECODE SCA/II 7
                                                                                                                                                r.,,_

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JA2514
                        SCANNING! (MEM A)             (MEM B) (MEM B) (MEM A)          (MEM A)    (MEM B) (MEM B)       (MEM A)                 N
                                                                                                                                                Ul
                  (D)
                        DECODING        I    I        DECODE SCAN 1 1 , 1 DECODE SCAN    1 DECODE SCAN p I DECODE SCAN 7
                                                                                           31 ,                                                 =
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                                                                                                                                                tH
                                                        (MEMORY A)          (MEMORY B)       (MEMORY A)     (MEMORY B)                          N
                                       TsO                           Tsl               Ts2

                                  SCAN 1 SCAN 2  I               SCAN 3 I SCAN 4 I SCAN 5 I SCAN 6 I SCAN 7 I SCAN· 8 I
                        SCANNING (MEM A) (MEM B)
                                   I                           I (MEM C) (MEM A) (MEM C) (MEM B) (MEM C) (MEM A)
                  (E)                                                                                                                          d
                                                                                                                                               rLJ
                        DECODING             I DECODE  SCAN 1 I DECODE SCAN 2 I DECODE SCAN 4 I DECODE SCAN 6                                  ;-.I
                                                 (MEMORY A)       (MEMORY B)      (MEMORY A)                            (MEMORY 8)             lo-"
                                                                                                                                                          Pg: 392 of 423




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                                                (A)                        (8)
                                                ss                         cs
                                                SE                         NS       -MP
                                                OS        -M2              CD
                                                DE                         ND

                                  •              •
                                  •              •
                                  •              •
                                  •         ------                  A1
                              SS1 -►                                      SCAN          MA
                                            SCAN 1                        BLOCK
                                          SCAN DATA            M1           A
                                            BLOCK
                              SS2 __,_                              AN
                 FlG.14      (SE1)          SCAN 2
                                          SCAN DATA
                                            BLOCK
                              SS3-
                             (SE2)          SCAN 3
                                          SCAN DATA                 B1
                                                BLOCK
                              SS4----                                     SCAN
                                            SCAN 4                                   -MB
                             (SE.3)                                       BLOCK
                                          SCAN DATA                         B
                                                BLOCK
                              sss ----                              BN
                             (SE4)          SCAN 5                          •
                                                                            •
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                                                  •                         •
                                  •               •                         •
                                  •               •
                                  •               •
                                  •                                                  i---   MN
                                  •
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                                                                                             HONEYWELL-00161644

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                                                                                 NO




                  627
                   ATTEMPT DECODE




                             YES                                        NO

                                                   NO
                 646    OUTPUT 1 - - - . . - . £
                         DATA
                                                          647
                                                                   STOP




                                                         FIG.15




                                                                                              HONEYWELL-00161645

                                                        JA2516
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                                                                         1605
                                                   CALCULATE l\CTIVITIES
                                                 Of SELECTED IMAGE QATA

                                                   LOCATE AND NUMBER            1610
                                                CANDIDATE SYMBOL REGIONS

                                                SELECT LARGEST UNEXAMINED       -1615
                                  YES            CANDIDATE SYMBOL REGION

                                                FIND CENTROID Of SELECTED        1620
                                                 CANDIDATE SYMBOL REGION

                                                     FIND THE DIRECTION Of       1625
                                        1688             HIGHEST ACTlVl1Y
                               INCREMENT/
                                DECREMENT
                                SCAN LINE
                                  COUNT              DEFINE SCAN LINE IN
                                               DIRECTION OF HIGHEST ACTIVl1Y 1635
                                 1686             (SC=O DEFINES SCAN LINE
                           STORE ALL                 THROUGH CENTROID)
                          ID STACKED                                         1640     1665
                              DATA
                                                   CALCULATE VALUES ALONG     INCREM[NT/
                                                     CURRENT SCAN LINE         DECREMENT
                                                                                 SCAN LINE
                                                                                   COUNT
                                                BINARIZE SCAN LINE VALUES
                                                                                1645
                                                      ATTEMPT ID DECODE          1650
                                                                                        NO

                                               YES




                                               FIG.16




                                                                                             HONEYWELL-00161646

                                                     JA2517
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                    FIG.17A



                                                Ap= (P2X-P1X)2+ (P2Y-P1Y)2


                                                                   ~CSR1
                                    A                          l◄►I



                        FIG.178         i-----+--+--+---+-----TH


                                    --1--_....___..______.__.___.__..........___.___ _ X,Y




                                        CSR

                                                                   SC=O                OPA       DPB
                                                                                                       SC=O
                  FIG.17C                                                 DPD

                              • • • • • • •                                        FIG.17D


                                    ....·.             ....                 ..··•...
                                B

                  F!G.17E                    • ••• •      •
                                                              •.                       SC
                                                               ....... ..


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                              ENTER

                        CONVERT IMAGE DATA           1805
                        TO TWO STATE FORM

                    LOCATE AND TYPE ALL              181 O
                      FINDER PATTERNS
                              FIELD

                                          15
                                               YES                      1820
                                                             EXIT




                    SELECT UNUSED FINDER              1825 .
                        PATTERN CLOSEST TO
                          CENTER OF FIELD


                         ATTEMPT DECODE               1830
                         USING SELECTED
                           FINDER }YPE

                                                                      1840
                                               YES          STORE 1--.....-.....C
                                                             DATA


                                                                                          NO

                                                                                     -.i.__---1850
                                                                                       EXIT
                                                        FIG.18




                                                                                                 HONEYWELL-00161648

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                        ElG.19A
                                                                                   FIG.198




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                                                                                                                       ~
                                                               I~ '                     ,1 I         [J       ~ I~
                                                                                        I            I        J           ~
                                                                       '           \            I•
                                                                                 ,J ~ .h . " ,,,
                                                                                                                  11~,•           I
                                                                l     f~ ~                  I                                 II



                                                                                  FlG.19D
                        FtG.19C




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                                                 ENTER
                                                          FROM 627 (FIG.6)


                                                             YES



                                                     NO
                           2010
                                         PERFORM ID AUTODISC.
                                        USING ENABLED ID CODE
                                         OPTIONS AND ENABLED
                                      SCANNING-DECODING OPTIONS
                               2020     2015
                   OUTPUT/STORE _Y_ES--<
                       DATA
                                                                                FIG.20
                        EXIT


                                                                      EXIT


                           2035
                                         PERFORM 2D AUTODISC.
                                        USING ENABLED 2D CODE
                                         OPTIONS AND ENABLED
                                      SCANNING-DECODING OPTIONS
                               2045
                   OUTPUT/STORE         YES
                       DATA



                                                 TO 630




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                  REPROGRAc~MABLE OPTICAL READER                                  automatically discriminate between and decode bar code
                                                                                  symbols, based only on information read from the symbol
                        CROSS REFERENCES TO RELATED                               itself. Readers that have this ability-are referred to as "auto-
                                    APPLICATIONS                                  discriminating" or having an "autodiscrimination" capabil-
                                                                                  ity.
                This is a divisional of U.S. patent application No. 09/385,
             597 filed on Aug. 30, 1999, which is a continuation-in-part             If an autodiscriminating reader is able to read only 1D bar
             of U.S. patent application No. 08/839,020 filed Apr. 23,             code symbols (including their various subtypes), it may be
             1997, which issured as U.S. Pat. No. 5,965,863, which, in            said to have a ID autodiscrimination capability. Similarly, if
             tum, is a continuation-in-part of U.S. patent application No. 10 it is able to read only 2D bar code symbols, it may be said
             08/697,913, filed Sep. 3, 1996, which issued as U.S. Pat. No.        to have a 2D autodiscrimination capability. If it is able to
             5,900,613 on May 4, 1999, the contents of which are relied           read both ID and 2D bar code symbols interchangeably, it
             upon and incorporated herein by reference in its entirety, and       may be said to have a 1D/2D autodiscrimination capability.
             the benefit of priority under 35 U.S.C. § 120 is hereby              Often, however, a reader is said to have a 1D/2D autodis-
             claimed.                                                             crimination capability even if it is unable to discriminate
                                                                               15 between and decode ID stacked bar code symbols.
                       BACKGROUND OF THE INVENTION                                   Optical readers that are capable of ID autodiscrimination
                                                                                  are well known in the art. An early example of such a reader
                1. Field of the Invention                                         is the Welch Allyn SCANTEAM® 3000, manufactured by
                The present invention relates to hand held optical reading
                                                                               20 Welch Allyn, Inc.
             devices, and is directed more particularly to a hand held               Optical readers, particularly hand held optical readers,
             optical reading device configured to be programmed with              that are capable of I D/2D autodiscrimination are less well
             use of a host processor.                                             known in the art, since 2D matrix symbologies are relatively
                2. Description of the Prior Art                                   recent developments. One example of a hand held reader of
                One-dimensional optical bar code readers are well known 25 this type which is based on the use of an asynchronously
             in the art. Examples of such readers include readers of the          moving ID image sensor, is described in copending, com-
             SCANTEAM® 3000 Series manufactured by Welch Allyn,                   monly assigned U.S. Pat. Appl. No. 08/504,643, now U.S.
             Inc. Such readers include processing circuits that are able to       Pat. No. 5,773,806, which application is hereby expressly
             read one-dimensional (ID) linear bar code symbologies,               incorporated herein by reference. Another example of a hand
             such as the UPC/EAN code, Code 39, etc., that are widely 30 held reader of this type which is based on the use of a
             used in supermarkets. Such ID linear symbologies are                 stationary 2D image sensor, is described in copending,
             characterized by data that is encoded along a single axis, in        commonly assigned U.S. patent application Ser. No. 08/914,
             the widths of bars and spaces, so that such symbols can be           883, now U.S. Pat. No. 5,942,741, which is also hereby
             read from a single scan along that axis, provided that the           expressly incorporated herein by reference.
             symbol is imaged with a sufficiently high resolution along 35           Optical readers, whether of the stationary or movable
             that axis.                                                           type, usually operate at a fixed scanning rate. This means
                In order to allow the encoding of larger amounts of data          that the readers are designed to complete some fixed number
             in a single bar code symbol, a number of ID stacked bar              of scans during a given amount of time. This scanning rate
             code symbologies have been developed, including Code 49,             generally has a value that is between 30 and 200 scans/sec
             as described in U.S. Pat. No. 4,794,239 (Allais), and 40 for ID readers. In such readers, the results of successive
             PDF417, as described in U.S. Pat. No. 5,340,786 (Pavlidis,           scans are decoded in the order of their occurrence.
             et al). Stacked symbols partition the encoded data into                 Prior art optical readers operate relatively satisfactorily
             multiple rows, each including a respective ID bar code               under conditions in which the data throughput rate, or rate
             pattern, all or most all of which must be scanned and                at which data is scanned and decoded, is relatively low. If,
             decoded, then linked together to form a complete message. 45 for example, the scanning rate is relatively low and/or the
             Scanning still requires relatively high resolution in one            data content of the bar code or other symbol is relatively
             dimension only, but multiple linear scans are needed to read         small, i.e., the scanner is operating under a relatively light
             the whole symbol.                                                    decoding load, the decoding phase of the reading process
                A third class of bar code symbologies, known as two               can be completed between successive scans. Under these
             dimensional (2D) matrix symbologies, have been developed so conditions scan data can be accurately decoded without
             which offer orientation-free scanning and greater data den-          difficulty.
             sities and capacities than their ID counterparts. Two-                  Readers of the above-described type have the disadvan-
             dimensional matrix codes encode data as dark or light data           tage that, if they are operated under relatively heavy decod-
             elements within a regular polygonal matrix, accompanied by           ing loads, i.e., are required to rapidly scan symbols that have
             graphical finder, orientation and reference structures. When 55 a relatively high data content, the tracking relationship or
             scanning 2D matrix codes, the horizontal and vertical rela-          synchronism between the scanning and decoding phases of
             tionships of the data elements are recorded with about equal         the reading process will break down. This is because under
             resolution.                                                          heavy decoding loads the decoding phase of a read operation
                In order to avoid having to use different types of optical        takes longer than the scanning phase thereof, causing the
             readers to read these different types of bar code symbols, it 60 decoding operation to lag behind the scanning operation.
             is desirable to have an optical reader that is able to read          While this time lag can be dealt with for brief periods by
             symbols of any of these types, including their various               storing the results of successive scans in a scan memory and
             subtypes, interchangeably and automatically. More                    decoding the results of those scans in the order of their
             particularly, it is desirable to have an optical reader that is      occurrence when the decoder becomes available, it cannot
             able to read all three of the above-mentioned types of bar 65 be dealt with in this way for long. This is because, however
             code symbols, without human intervention, i.e., automati-            large the scan memory, it will eventually overflow and result
             cally. This in turn, requires that the reader have the ability to    in a loss of scan data.




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                One set of solutions to the problem of maintaining the         tion component operative to execute an externally generated
             desired tracking relationship between the scanning and            program, whereby executing the externally generated pro-
             decoding phases of the reading process is described in            gram includes replacing a portion of the optical reader
             previously mentioned copending U.S. patent application Ser.       program. A programmable optical reader in another embodi-
             No. 08/914,883, now U.S. Pat. No 5,942,741. Another set of        ment can include a two-dimensional image sensor, an image
             solutions to the problem of maintaining the desired tracking      frame memory storing two-dimensional electronic images,
             relationship between the scanning and decoding phases of          and can be configured to be reprogrammed by any one of
             the reading process is described in U.S. Pat. No. 5,463,214,      receipt of reprogrannning data from a local host processor or
             which issued on the parent application of the last mentioned      receipt of programming data from an external remote off-site
             copending patent application.                                  10 processor.
                Generally speaking, the latter of these two sets of solu-
             tions to the above-discussed tracking problem involves the                   DESCRIPTION OF THE DRAWINGS
             suspension of scanning for brief periods in order to assure          Other objects and advantages will be apparent from the
             that the scanning process does not pull too far ahead of the      following description and drawings, in which:
             decoding process. The former of these two sets of solutions 15       FIG. l is a block diagram of an embodiment of the reading
             to the above-discussed tracking problem, on the other hand,       apparatus which is generic to reading apparatuses which
             involves the skipping over of one or more sets of scan data,      utilize ID and 2D image sensors;
             in favor of more current scan data, if and to the extent
             necessary for tracking purposes, in combination with the use         FIGS. 2 and 3 are block diagrams of embodiments of the
             of two or more scan data memories to minimize the quantity 20 reading apparatus of the invention which utilize 2D and ID
             of scan data that is skipped.                                     image sensors, respectively;
                In the post, no consideration has been given to accom-            FIGS. 4A, 48, and 4C are oblique or partially cutaway
             plishing scan-decode tracking in conjunction with ID/2D           views of the 2D reading apparatus of FIG. 2;
             autodiscrimination, i.e., as cooperating parts of a single           FIGS. 4D, 4E, and 4F are oblique or partially cutaway
             coordinated process. This is in spite of the fact that the 25 views of an alternative embodiment of the reader apparatus
             I D/2D autodiscrimination is known to involve heavy decod-        of FIG. 2;
             ing loads of the type that give rise to tracking problems.           FIGS. 4G, 4H, and 41 are oblique or partially cutaway
             Thus, a need has existed for an optical reader that combines      views of another alternative embodiment of the reader
             a powerful tracking capability with a powerful ID/2D              apparatus of FIG. 2;
             autodiscrimination capability.                                 30
                                                                                  FIGS. SA, 58, and SC are oblique or partially cutaway
                As new and/or improved ID and 2D bar code                      views of the ID reading apparatus of FIG. 3;
             symbologies, and as additional ID and 2D decoding pro-               FIG. 6A is a flow chart of the main program of the reading
             grams come into widespread use, previously built optical          apparatus;
             readers may or may not be able to operate therewith. To the 35       FIG. 68 is a flow chart of a modified main program of the
             extent that they cannot operate therewith, such previously        reading appardtus;
             built optical readers will become increasingly obsolete and
             unusable.                                                            FIG. 7A shows the structure of one embodiment of a
                                                                               menu word or message suitable for use with the program of
                In the past, the problem of updating optical readers to
                                                                               FIG. 6;
             accommodate new bar code symbologies and/or new decod- 40
             ing programs has been dealt with by manually reprogram-              FIGS. 7B and 7C are tables showing examples of the
             ming the same. One approach to accomplishing this repro-          usages to which various parts of the menu word of FIG. 7A
             gramming is to reprogram a reader locally, i.e., on-site, by,     may be put;
             for example, replacing a ROM chip. Another approach to               FIG. 8 is a flow chart of the menu routine shown in FIG.
             accomplishing this reprogramming is to return it to the 45 6;
             manufacturer or his service representative for off-site repro-       FIGS. 8A-SD are examples of option symbol selection
             gramming. Because of the expense of the former and the            charts which may be used with the menuing feature;
             time delays of the latter, neither of these approaches may be        FIG. 9 is a block diagram of a typical system with which
             practical or economical.                                          the reading apparatus may be used;
                The above-described problem is compounded by the fact so          FIG. lOA is a flow chart of a loading routine suitable for
             that, if an optical reader is not equipped to operate as a        use;
             tracking reader, it may not be possible to reprogram it to use       FIG. 108 is a flow chart of a reprogramming routine
             an autodiscrimination program that is designed to be              suitable for use;
             executed in conjunction with tracking. This is because the
                                                                                  FIG. llA is a flow diagram illustrating a primary program
             autodiscrimination program may include steps that require 55
                                                                               for a host processor configured for reprogrannning of, and
             the tracking feature to prevent data from overflowing the
                                                                               for other interactions with an optical reader;
             scan memory and being lost. Alternatively, the scan rate may
             be decreased, although this reduction will adversely affect          FIG. 118 is a flow diagram illustrating a subprogram for
             performance when low data content symbols are read. Thus,         reprogramming an optical reader in communication with a
             a need has existed for an optical reader that can be repro- 60 host processor;
             grammed economically in a way that allows it to realize the          FIG. 11C is a memory map for a memory space having
             full benefit of the 1D/2D autodiscrimination and tracking         stored thereon an operating program comprising a main
             features, among others.                                           program and a parameter table;
                                                                                  FIG. 11D is a flow diagram for a subprogram executed by
                             SUMMARY OF INVENTION                           65 a host processor for editing a parameter table;
                A programmable optical reader in one embodiment can               FIG. llE illustrates an exemplary parameter configuration
             include a program loading comonent and a program execu-           screen;




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                FIG. llF illustrates a flow diagrdill executed by a host           circuit microprocessor 42 and an application specific inte-
             processor for simulating the results of applying editing              grated circuit or ASIC 44. Processor 42 and ASIC 44 are
             commands to a decoded message.                                        both programmable control devices which are able to
                FIG. 12 is a timing diagram which shows the scanning/              receive, output and process data in accordance with a stored
             decoding relationship used by the prior art;                          program stored in either or both of a read/write random
                                                                                   access memory or RAM 45 and an erasable read only
                FIGS. 13A through 13E are timing diagrams which illus-             memory or EROM 46. Processor 42 and ASIC 44 are also
             trate various ones of the tracking relationships made pos-            both connected to a common bus 48 through which program
             sible;                                                                data and working data, including address data, may be
                FIG. 14 shows examples of memory structures that may 10 received and transmitted in either direction to any circuitry
             be used in implementing the tracking relationships shown in           that is also connected thereto. Processor 42 and ASIC 44
             FIGS. 13A through 13E;                                                differ from one another, however, in how they are made and
                FIG. 15 is a simplified flow chart which illustrates the           how they are used.
             "Repeat Until Done", "Repeat Until Stopped", and "One                    More particularly, processor 42 is preferably a general
             Shot" scanning-decoding modes;                                     15 purpose, off-the-shelf VLSI integrated circuit microproces-
                FIG. 16 is a flow chart of one embodiment of the ID                sor which has overall control of the circuitry of FIG. 1, but
             portion of the autodiscrimination program;                            which devotes most of its time to decoding image data stored
                FIGS. 17A through 17E are drawings which facilitate an             in RAM 45 in accordance with progran1 data stored in
             understanding of the flow chart of FIG. 16;                           EROM 46. Processor 44, on the other hand, is preferably a
                FIG. 18 is a flow chart of one embodiment of the 2D 20 special purpose VLSI integrated circuit, such as a program-
             portion of the autodiscrimination process;                            mable logic or gate array, which is programmed to devote its
                FIGS. 19A through 19D show representative bar code                 time to functions other than decoding image data, and
             symbols of types that may be decoded by the reading                   thereby relieve processor 42 from the burden of performing
             apparatus; and                                                        these functions.
                FIG. 20 is a flow chart that illustrates the effect of the code 25    The actual division oflabor between processors 42 and 44
             options of the autodiscrimination process.                            will naturally depend on the type of off-the-shelf micropro-
                                                                                   cessors that are available, the type of image sensor which is
                       DESCRIPTION OF THE PREFERRED                                used, the rate at which image data is output by imaging
                                   EMBODIMENTS                                     assembly 30, etc. There is nothing in principle, however, that
                Referring to FIG. 1 there is shown a block diagram of an 30 requires that any particular division of labor be made
             optical reader 10. As will be explained more fully later, FIG.        between processors 42 and 44, or even that such a division
             1 shows the basic structures that together comprise the               be made at all. This is because special purpose processor 44
             general form of an optical reader that is suitable for use and        may be eliminated entirely if general purpose processor 42
             is generic to optical readers that use 1D image sensors and           is fast enough and powerful enough to perform all of the
             to optical readers that use 2D image sensors. Similarly, FIG. 35 functions contemplated. It will, therefore, be understood that
             2 shows the basic structures that together comprise the               neither the number of processors used, nor the division of
             general form of optical readers that use 2D image sensors.            labor therebetween, is of any fundamental significance.
             Finally, FIG. 3 shows the basic structures that together                 With processor architectures of the type shown in FIG. 1,
             comprise the general form of optical readers that use ID              a typical division oflabor between processors 42 and 44 will
             image sensors. It will be understood that, except where 40 be as follows. Processor 42 is preferably devoted primarily
             specifically limited to readers having 2D or 1D image                 to the tasks of decoding image data, once such data has been
             sensors, the present description refers generically to readers        stored in RAM 45, handling the menuing options and
             of any of the types shown in FIGS. 1, 2, and 3.                       reprogramming functions, and providing overall system
                Referring first to FIG. 1, the optical reader includes an          level coordination. Processor 44 is preferably devoted pri-
             illumination assembly 20 for illuminating a target object T, 45 marily to controlling the image acquisition process, the AID
             such as a ID or 2D bar code symbol, and an imaging                    conversion process and the storage of image data, including
             assembly 30 for receiving an image of object T and gener-             the ability to access memories 45 and 46 via a DMA channel.
             ating an electrical output signal indicative of the data              Processor 44 may also perform many timing and commu-
             optically encoded therein. Illumination assembly 20 may, for          nication operations. Processor 44 may, for example, control
             example, include an illumination source assembly 22, such so the illumination of LEDs 22, the timing of image sensor 32
             as one or more LEDs, together with an illuminating optics             and an analog-to-digital (AID) converter 36, the transmis-
             assembly 24, such as one or more reflectors, for directing            sion and reception of data to and from a processor external
             light from light source 22 in the direction of target object T.       to reader 10, through an RS-232 (or other) compatible I/O
             Illumination assembly 20 may be eliminated, if ambient                device 37 and the outputting of user perceptible data via an
             light levels are certain to be high enough to allow high 55 output device 38, such as a beeper, a good read LED and/or
             quality images of object T to be taken. Imaging assembly 30           a display 39 which may be, for example, a liquid crystal
             may include an image sensor 32, such as a ID or 2D CCD,               display. Control of output, display and I/O functions may
             CMOS, NMOS, PMOS, CID or CMD solid state image                        also be shared between processors 42 and 44, as suggested
             sensor, together with an imaging optics assembly 34 for               by bus driver I/O and output/display devices 37' and 38' or
             receiving and focusing an image of object T onto image 60 may be duplicated, as suggested by microprocessor serial
             sensor 32. The array-based imaging assembly shown in FIG.             I/O ports 42A and 42B and I/O and display devices 37" and
             2 may be replaced by a laser array or laser scanning based            38'. As explained earlier, the specifics of this division of
             iniaging assembly comprising a laser source, a scanning               labor is of no significance.
             mechanism, emit and receive optics, a photodetector and                  Referring to FIG. 2, there is shown a block diagram of an
             accompanying signal processing circuitry.                          65 optical reader which is similar to that of FIG. 1, except that
                Optical reader 10 of FIG. 1 also includes programmable             it includes optical and/or electrical assemblies and circuits
             control means 40 which preferably comprises an integrated             that are specifically designed for use with a 2D image sensor.




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             Accordingly, the optical and electrical assemblies and com-      This is because a ID image sensor may be used to image a
             ponents of FIG. 2 are labeled with the same numbers used         2D bar code symbol, provided that it is physically moved
             in FIG. 1, except for the addition of the suffix "-2". For       thereacross during the course of a scan. Because imaging of
             example, image sensor 32-2 of FIG. 2 is a 2D image sensor        the latter type is described in detail in copending U.S. patent
             which corresponds to generic image sensor 32 of FIG. 1,          application No. 08/504,643, now U.S. Pat. No. 5,773,806,
             imaging optics assembly 34-2 of FIG. 2 is a 2D imaging           which has been incorporated by reference herein, that type
             optics assembly which corresponds to generic imaging             of imaging assembly will not be discussed again in full
             optics assembly 34 of FIG. 1, and so on. In other words,         herein.
             corresponding elements of FIGS. 1 and 2 have correspond-            The reader structures shown in FIG. 2 are preferably
             ing functions, although they may have different shapes and 10 supported on one or more printed circuit boards (not shown)
             part numbers. Provided that these differences are taken into     that are, in turn, supported within a housing.
             account, however, the description of the reader of FIG. 1 is        Examples of types of housings which may be employed to
             equally applicable to the reader of FIG. 2, and will not be      house elements of the reader apparatus shown in FIG. 2 are
             repeated herein.                                                 shown in FIGS. 4A-4I. FIGS. 4A-4C show a first exem-
                One specific practical example of an optical reader of the 15 plary housing 50-2-1, FIGS. 4D-4F show a second exem-
             type shown in FIG. 2 may be constructed using the particular     plary housing 50-2-2, while FIGS. 4G-4I show a third
                                                                              exemplary housing 50-2-3. Housings 50-2-1, 50-2-2, and
             commercially available solid-state integrated circuits listed
                                                                              50-2-3 are preferably shaped so as to fit comfortably into a
             in the following component table:                                human hand, and to include a finger actuatable trigger,
                                                                               52-2-1, 52-2-2, 52-2-3. Housing 50-2-3 is shown as having
                                                                            20 an auxiliary trigger 52-2-3' which may supplement or
                                 COMPONENT TABLE-FIG. 2
                                                                               replace trigger 52-2-3. Housings 50-2-1 and 50-2-2 have
                                                                               extending therefrom multiconductor cable or tether 54-2-1,
                 Block Diagram Item            Manufacturer/Part Number        54-2-2, for providing communication with a local host
                                                                               processor, whereas 50-2-3 housing has extending therefrom
                 Image Sensor 32-2             VVL 1060B+                   25 an antenna 55-2-3 for providing a communication with a
                 Prog. Gate Array 44-2         Actel 814V40A
                 Microprocessor 42-2           IDT 3081
                                                                               local host processor. It is seen further that housings 50-2-2
                 EROM46-2                      Intel 28F400VB-B60              and 50-2-3 have incorporated therein displays 56-2-2, 56-2-
                 RAM45-2                       Toshiba TC51 V4265DFT-60        3, for displaying information to a user, and a keyboard
                                                                               58-2-2, 58-2-3, for inputting data and command~ to proces-
                                                                            30 sor 40.
                Referring to FIG. 3, there is shown a block diagram of an
             optical reader which is also similar to that of FIG. 1, except       FIGS. 5A-5C show a housing 50-3 suitable for housing a
             that it includes optical and/or electrical assemblies and         1 D  reader apparatus of the type described with reference to
             circuits that are specifically designed for use with a ID         FIG. 3. Housing 50-3 includes a finger-actuatable trigger
             image sensor. Accordingly, the optical and electrical assem-      52-3 and has extending therefrom a cable 54-3 for providing
             blies and components of FIG. 3 are labeled with the same 35 communication with a local host processor. Although not
             numbers used in FIG. 1, except for the addition of the suffix     shown as containing such features, it is understood that
             "-3". For example, image sensor 32-3 of FIG. 3 is a ID            housing 50-3 could readily be modified to include a display
             image sensor which corresponds to generic image sensor 32         and a keyboard similar to those of 2D reader housings
             ofFIG.1, imaging Optics assembly 34-3 of FIG. 3 is a 1D           50-2-2 and 50-2-3.
             imaging optics assembly which corresponds to generic 40 Main Program
             imaging optics assembly 34 of FIG. 1, and so on. Provided            The overall operation of the reader of FIG. 1 will now be
             that these differences are taken into account, however, the       described with reference to the flow chart of FIG. 6A. As
             description of the reader of FIG. 1 is equally applicable to      will be explained more fully presently, FIG. 6A comprises a
             the reader of FIG. 3, and will not be repeated herein.            high level flow chart which illustrates the preferred embodi-
                                                                            45 ment of the main program of a reader which uses the
                One specific practical example of an optical reader of the
                                                                               apparatus and method. By "main program" is meant the
             type shown in FIG. 3 may be constructed using the particular
                                                                               program that illustrates the relationships between the major
             solid-state circuits listed in the following component table:
                                                                               subdivisions or subroutines that together implement the
                                                                               above-described features. It also means the program that
                                                                            so illustrates the overall flow and sequence of operations that
                                 COMPONENT TABLE-FIG. 3                        are responsible for the advantages produced. Because FIG.
                                                                               6A depicts the operation of two processors 42 and 44,
                   Block Diagram Item          Manufacturer/Part Number        however, operations that appear to be occurring sequentially
                   Image Sensor 32-3           Toshiba 1201                    may actually be occurring "simultaneously". Processor 44
                   Prog. Gate Array 44-3       Welch Allyn 21203276-01      55 may, for example, be imaging and storing newly scanned
                   Microprocessor 42-3         Motorola HCll                   blocks of image data in RAM 45 while processor 42 is
                   EROM46-3                    Atmel AT 29C257                 decoding blocks of image data that were stored in RAM 45
                   RAM45-3                     Sony CXK 5864-BM-l0LL
                                                                               during earlier scans. This is possible because the two pro-
                                                                               cessors are operating in different memory spaces, in different
                Significantly, the above-mentioned structural correspon- 60 time slots, or under the common control of a bus arbitration
             dences between FIGS. 1, 2, and 3 should not be confused           device. As a result, while the processors can never use the
             with the types of symbols that may be read thereby. More          same memory or address space at the same time for con-
             particularly, the 2D embodiment of FIG. 2 may be used to          flicting purposes, they can be made to execute their respec-
             scan and decode both ID and 2D bar code symbols. This is          tive programs sufficiently cooperatively and contemporane-
             because both types of symbols can be imaged by a 2D image 65 ously that they are effectively operating simultaneously. It is
             sensor. Similarly, the ID embodiment of FIG. 3 may also be        in this sense that the word "simultaneous" will be used
             used to scan and decode both ID and 2D bar code symbols.          herein.




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                 Referring to FIG. 6A, the main program begins with block        without regard to the state of the trigger. Similarly, in the
             605 which causes the reader to wait in a low power state            Repeat Until Stopped mode, scanning and decoding may be
             until trigger 52 is pulled. When the trigger is pulled, the         discontinued either by command, via block 642, or by the
             processor is directed to block 610, which causes it to power        release of the trigger via block 635. Thus, block 642
             up and initialize the reader hardware, including the ASIC,          comprises at least a part of the means by which the reader
             the DMA channel and the I/O devices, among others. The              gives effect to the scanning-decoding parameters of the
             processor is then directed to blocks 615 and 620 which cause        parameter table.
             it to define the image data memory space that will be used              If block 630 indicates that the last decoding attempt was
             (block 615) and to initialize the reader with the default           successful, the processor is directed to a block 645 which
             values of the operating parameters stored in the parameter 10 calls for a determination of whether the result of the decod-
             table thereof (block 620 ).                                         ing indicates that the decoded symbol was or was not a menu
                 The parameter table, which is preferably stored in BROM         symbol. This determination may be made on the basis of
             46, specifies the values of the parameters that define the          results of the decoding, because all menu symbols are
             mode in which the reader will operate. Examples of these            encoded with data that identifies them as such during
             parameters include the size and the frame rate of the image 15 decoding. If the decoded symbol is not a menu symbol, it is
             sensor, the codes that will be enabled during                       known that the symbol contained data that is to be output by
             autodiscrimination, the I/O communication protocols,                the reader. In the latter event, the processor is directed to
             beeper pitch or volume, among others. The default values of         block 646, which causes it to output the data and, proceed to
             these parameters are those which will be used if the user or        block 647.
             an externally generated reprogramming command does not 20               Block 647, like block 642, comprises part of the means by
             specify other values, and correspond to a combination of            which the reader gives effect to the scanning-decoding
             parameters which are suitable for use under most operating          modes called for by the parameter table. In particular, if
             conditions. The different parameters that may be used, and          decoding is successful (block 630) and has been output
             the affect that they have on the operation of the reader will       (block 646), block 647 discontinues scanning and decoding
             be discussed in detail later.                                    25 if the Repeat Until Done mode is in effect. If any other mode
                 After the reader has been initialized, the processor pro-       is in effect, scanning and decoding will continue unless
             ceeds to blocks 625 and 627, which call for it to capture and       blocks 635, 2D 640 or 642 call for a different result.
             attempt to decode an image of the target symbol. This                   If the decoded symbol is a menu symbol, block 645
             involves the performance of a number of related steps, the          directs the processor to perform the menuing routine called
             particulars of which are determined by the parameters of the 30 for by block 660 before returning to block 635. As will be
             parameter table. Included among these steps are a scanning          explained more fully later in connection with FIG. 8, the
             subroutine which specifies the address space or spaces in           latter routine enables the user to command the reader to
             which scan data will be stored and whether scanning is to be        perform any of a variety of different tasks, several of which
             continuous (e.g., at a full video rate, such as 30 frames per       include making user specified changes to the parameter
             second), or discontinuous (e.g., with pauses related to the 35 table, thereby changing the operating mode of the reader,
             current state of the trigger). The operation of the decoding        and the performance of any of a variety of user specified
             routine, which is executed in a user or factory selectable          vector processing routines that do not change the parameter
             relationship to the scanning routine, is governed by param-         table. Once either of the latter tasks has been performed, the
             eters which control the codes which are enabled for pro-            reader is directed to block 635, which causes it to capture
             cessing as a part of the autodiscrimination process, whether 40 and attempt to decode another image, in accordance with the
             decoding is to be continuous or discontinuous, etc. As will         parameters indicated by the parameter table, unless
             be explained more fully later, permitted combinations of            instructed to the contrary by blocks 635, 640 or 642.
             scanning and decoding parameters together define the                Optionally, the execution of menu routine 660 may be
             scanning-decoding relationships or modes which the reader           followed by a direction back to block 647, as indicated by
             will use.                                                        45 dotted line 648, and the resultant discontinuation of scan-
                 After exiting block 627, the processor is directed to block     ning and decoding, if the reader is in its Repeat Until Done
             630 which, if the decoding attempt was not successful, is           mode.
             directed back to block 625 unless the trigger has been                  While reprogramming request block 640 has been
             released (block 635) or unless reprogramming request has            described as being located between blocks 635 and 625, it
             been received (block 640), or unless a stop or no-repeat 50 actually preferably represents an externally generated inter-
             request is called for by the current operating mode of the          rupt request that may occur at any time that the reader is
             reader (block 642). The loop defined by blocks 625-642 will         operating. Such a request may, for example, be initiated by
             be the path repeatedly followed by the processor when               a local host processor via one ofI/O devices 37, 37' or 37".
             autodiscrimination sequences are performed unsuccessfully,          It may also be initiated by a remotely located processor, via
             and no menuing or programming changes are called for, and 55 one of the latter I/O devices, through a suitable transmission
             no stop request is in effect. If this loop is interrupted by the    line or computer network, as shown in FIG. 9. However the
             user's release of the trigger, or by a successful decode, or by     reprogramming request is initiated, it directs the reader to
             a reprogram request, or by a stop request, the reader will be       execute the reprogramming routine called for by block 670.
             directed by block 635 to stop and wait in a low power state         As will be explained more fully in 2D connection with FIG.
             until further processing is called for.                          60 l0A, this routine causes the reader to be reprogrammed,
                 In the above-described loop, block 642 serves the func-         either in whole or in part, thereby changing or updating the
             tion of stopping the repetitive scanning and decoding of the        manner in which it operates and/or the symbols which it
             target symbol in those scanning-decoding modes or under             attempts to decode.
             those conditions in which a repetition of scanning and/or           Menuing
             decoding is not called for. In the One Shot mode, for 65                The menuing feature will now be described with reference
             example, scanning and decoding are discontinued after one           to FIGS. 7A-7C, and the menuing flow chart shown in FIG.
             decoding attempt, whether or not that attempt is successful,        8.




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                Turning first to FIG. 7A, there is shown the format for a        which the reader is able to both encode (or write) data and
             menu message or word 650 of the type used. This menu                decode (or read) data. Because the parameter table has a data
             word will ordinarily be produced as a result of the decoding        content which may be too high to be encoded in many ID
             of a menu symbol, selected by the user, from a collection of        symbologies, the menu symbol encoding the parameter table
             menu symbols printed in a User's Manual supplied with the           is preferably encoded in a 2D bar code symbol. One 2D
             reader, along with a description of their functions.                symbology which is particularly suitable for use in encoding
                Menu word 650 begins with a first one-byte product               a menu bar code symbol of the subject type is that developed
             identification (ID) code field 650-1 that identifies the type       by Welch Allyn, Inc. and referred to as the "Aztec" sym-
             and/or model number of the reader. If the decoded product           bology. The manner in which data is encoded in accordance
             ID code indicates that it is compatible with the menuing 10 with the Aztec symbology is described in detail in
             program, execution of the menuing program continues nor-
                                                                                 copending, commonly assigned U.S. Pat. No. 5,591,956,
             mally. If it is not, the processor is caused to exit the menuing
             routine without making any menu specified changes.                  which is hereby expressly incorporated herein by reference.
                The next field 650-2 of menu word 650 specifies the op              In addition to op code 0, menu word 650 also makes
             code thereof in terms of a number from O to 7. This field           available op codes 1-7, as shown in FIG. 7C. The latter op
             specifies the operation to be performed by the menu word. 15 codes comprise simple commands, each of which specifies
             The meanings of these different op codes are listed in FIG.         a change that is to be made at a particular part of the
             7C. Among these is op code "0", an op code that specifies           parameter table, using specified data, if required. Assuming
             some task that does not involve a direct change to the              that parameter values are stored as bytes in respective
             parameter table. Such operations will hereinafter be referred       addresses of the memory that are set aside for use as a
             to as "vector processing operations". Exemplary ones of the 20 parameter table, offset field 650-3 will comprise an index to
             tasks that may be requested pursuant to op code Oare listed         the parameter byte relative to the base address of the table.
             under headings Al-A4 of FIG. 7C, which tasks may be                 The data or data mask that is to be used with the specified
             specified and differentiated from one another by the data           offset is specified by the data contained in up to four 8 bit
             included in the data fields 650-3 through 650-7 which follow        data fields 650-4 through 650-7 of menu word 650.
             op code field 650-2.                                             25    Referring to FIG. 7C, for example, op code "I" specifies
                Specifically, the vector processing operations comprise          a "clear" operation. It directs the processor to the byte of the
             selectable menu routines. Vectors to these routines can be          parameter table that is pointed to by the offset field, and uses
             stored in a vector table. The contents of data field 650-3,         the content of data field 650-4, Data 0, to specify the bit
             "offset", is an index to the vector table relative to the base      mask that is to be used to specify the bits to be cleared. Op
             address thereof. If the offset field includes 10 bits, and only 30 code "6", on the other hand, specifies a load operation. It
             five of these bits are used as an index, then 32 different          directs the processor to the byte of the parameter table that
             vector values will be possible. In this case the remaining 5        is pointed to by the offset field, uses Data O as the bit mask
             bits may be used for data.                                          for the bits to be changed, and uses Data 1 as the new data
                The vector processing operations are preferably made             for those bits. Because the use of op codes of this type are
             selectable to a user by including respective menu bar code 35 known to those skilled in the art, the use of these op codes
             symbols in tables in the User's Manual of the reader. The           will not be described in detail herein.
             user may then select the desired vector routine by imaging             The parameter ta hie is used to specify the operating
             the appropriate symbol. The manner in which such a table is         options that are made subject 2D to the control of the user.
             used will be described later in connection with FIGS.               Representative groups of such options are shown as head-
             8A-8D.                                                           40 ings A-E of FIG. 7B, together with some of the options that
                Among the vector processing operations which may be              may be selected under those headings. One important group
             selected under op code O are the following. Operation Al            of those options are those that are labeled as "code options"
             calls for the reader to output, i.e., display or print, via the     under heading B. Under this heading may be found the
             local host processor, or via an on-reader LCD display, the          parameter table addresses that are set aside for use in
             identity of the version of the software currently being used 45 specifying the enabled/disabled states of the various decod-
             by the reader. Operation A2 calls for the reader to output the      ing programs that may be used during the autodiscrimination
             current contents of the parameter table. Operation A3 calls         process. The parameter table addresses corresponding to
             for the reader to output the code options that are enabled,         options Bl and B2, for example, may be set aside for
             e.g., the types of symbols that the reader is to attempt to         specifying whether all ID codes or all 2D codes are or are
             decode during the autodiscrimination process and whether 50 not to be used in an attempt to decode an unknown symbol
             or not a "multiple symbols option" has been enabled. Other          during autodiscrimination. Similarly, the parameter table
             options may also be defined as desired.                             address corresponding to option B3, may specify a particular
                Operation A4 is a particularly powerful and desirable            bar code symbology, such as MaxiCode, that is to be enabled
             vector processing operation which causes the printer of the         or disabled, i.e., specify whether the autodiscrimination
             local host processor to print a menu bar code symbol that 55 process is or is not to include an attempt to find a MaxiCode
             contains all of the information necessary to instruct another       symbol in an image. In addition, the parameter table address
             reader how it must be programmed if it is to operate in the         corresponding to option B4 may indicate that after decoding,
             same manner as the current reader. This, in turn, enables the       messages that are longer than a specified maximum length or
             user to quickly set up the same (or another) reader to operate      shorter 11:tan a specified minimum length are not to be output.
             in a manner that would otherwise require the user to manu- 60 Depending on the application, this Min-Max length option
             ally select an entire sequence of parameter table values. If it     may be applied on a symbology dependent basis, i.e.,
             is used to set up other readers, the process of using such a        applied so that it is active with some symbologies, but not
             menuing bar code symbol may be thought of as a "cloning"            with others, or may be applied on a symbology independent
             procedure, since it allows a multiplicity of readers to be          basis. Finally, the parameter table address corresponding to
             identically configured.                                          65 option B5 specifies whether the Multiple Symbols option is
                The type of bar code symbol in which the parameter table         or is not to be used. The enablement of this option, which
             is printed must naturally be in a bar code symbology in             given effect by block 643 of FIG. 6A, calls for the reader to




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             attempt to decode more than one symbol in the field of view        that is present within the reader, and not changed thereafter.
             of the reader without having to acquire multiple images of         There is no reason in principle, however, why tracking
             that field of view. The types of options selected for inclusion    options C4-C6 cannot be made user selectable as, for
             under heading 8 will vary from application to application,         example, by the inclusion of suitable menu symbols in the
             and the will be understood not to be restricted to any             User's Manual.
             particular selection of such types.                                   The availability of the SOD, SS and DOD tracking modes
                The inclusion of user selectable code options as part of the    among the scanning-decoding options that may be selected
             menuing process has a significant effect on the overall data       during the factory programming of the reader is beneficial
             throughput rate of the reader, i.e., on the time necessary to      since it allows the data throughput rate of the reader to be
             decode a symbol whose symbology is not known in advance. 10 optimized in view of the amount of memory that is available
             If, for example, it is known that none of the symbols to be        within the reader. At the same time, because operation in all
             read during a series of readings comprise ID symbols of any        of these modes may be disabled during operation in the One
             type, or any subset of ID symbols such as Codabar, Code 39         Shot, Repeat Until Done, or Repeat Until Stopped modes,
             or Code 128, code options allow a user to direct that any          the reader is able to operate in accordance with the non-
             attempt to decode an unknown symbology according to 15 tracking variants of these modes when such operation is
             these symbologies is to be skipped, thereby shortening the         preferred. One condition under which such operation may be
             total time necessary for the processor to decode the               preferred is one in which scanning while decoding is slow as
             unknown symbol according to the symbology which it does            a result of the time sharing of a bus. Thus, the reader
             use. This skipping also reduces the chances of a misread. If,      combines flexibility of use with time-optimized use of the
             on the other hand, it is known that all of the symbols to be 20 scanning and memory resources of the reader.
             read during a series of reading operations are of one type,           As will be explained more fully later, the RUD and RUS
             such as Interleaved 2 of 5, all 2D decoding programs and all       modes may be used either with or without one of the
             the decoding programs for ID symbologies other than                above-described tracking modes. This is because repetition
             interleaved 2 of 5 may be disabled, thereby limiting all           is a necessary but not a sufficient precondition to the use of
             decoding attempts to a single ID symbology. Thus, the 25 the tracking modes. Accordingly, if the RUD or RUS mode
             menuing process allows the autodiscrimination process to be        is not used in conjunction with a tracking mode it will
             optimized so as to achieve the highest possible data through-      comprise a non-tracking mode. If the RUD or RUS mode is
             put rate.                                                          used in conjunction with a tracking mode it will comprise a
                A second important group of options provided by the             tracking mode.
             menuing process are those that are labeled as "Scanning- 30           Other groups of options that are provided by the menuing
             Decoding" Options under heading C of FIG. 78. Unlike the           feature include those that are set aside under headings A, D
             code options of heading B, the scanning-decoding options of        and E of FIG. 7B. Of these Communication Options, head-
             heading C are not concerned with which codes are enabled           ing A, is associated with paran1eter table addresses that
             or disabled, but rather with the relationships which will be       correspond to various communication modes that may be
             allowed to exist between scanning and decoding. The 35 used by the reader. Included among these options are Al, an
             parameter table address corresponding to option Cl, for            option that enables/disables RS-232 communication through
             example, may be used to specify that the reader operate in         an I/O device (such as I/O 37, 37', etc.), A2 which specifies
             a "One Shot" scanning-decoding mode. In this "One Shot"            the baud rate of the selected communications mode, and A3
             mode the reader will scan and attempt to decode one bar            which enables/disables the RF link that the reader may use
             code symbol each time that the trigger is depressed and then 40 in place of multi-conductor cable 54-2 of FIGS. 4A-4C.
             stop. The address spaces corresponding to scanning-                OptionA4 is an example of a network option which specifies
             decoding modes C2 and C3, on the other hand, may be used           the type of computer network with which the reader is to
             to specify that the reader operate in a "Repeat Until Done"        operate, in this case ETHERNET, although other types may
             (RUD) or "Repeat Until Stopped" (RUS) scanning-decoding            also be provided for.
             mode. In these modes, the reader will scan repeatedly and 45          Similarly, heading D is associated with parameter table
             attempt to decode repeatedly until there is a successful           addresses that correspond to various miscellaneous operat-
             decode (RUD), or until requested to stop whether or not            ing options that may be selected by the user. Included among
             there is a successful decode (RUS). Scanning-decoding              these options are Dl which enables/disables the beeper and
             modes Cl-C3 are preferably made user selectable by includ-         allows the volume thereof to be adjusted, D2 which enables/
             ing suitable menu symbols in the User's Manual.                 50 disables the use of an aiming LED, and D3 which enables/
                Also included among the scanning-decoding modes are             disables the provision of aural feedback to the user, among
             the tracking modes listed under headings C4-C6 of FIG. 7B.         others. An example of a reader which provides aural feed-
             Of these, the Scan On Demand (SOD) mode C4, when                   back is described in U.S. Pat. No. 5,420,409.
             enabled, causes decoding to proceed continuously while                Heading E is associated with parameter table addresses
             scanning is started and stopped as necessary to maintain a 55 that correspond to various transmission options that may be
             tracking relationship between scanning and decoding. Skip          selected by the user. Included among these options are El
             Scan (SS) scanning-decoding mode CS, when enabled,                 and E2, which enable/ disable the outputting of check
             causes the results of older scans to be discarded in favor of      characters or checksum data with decoded data, and E3
             more current scans when and as necessary to maintain the           which enable data edit options such as adding a carriage
             desired tracking relationship between scanning and decod- 60 return and/or a line feed and/or other ASCII characters to the
             ing operations. Finally, Decode On Demand (DOD)                    decoding data. Options El and E2 are useful, for example,
             scanning-decoding mode C6, when enabled, causes scan-              in the localization and identification of hardware or software
             ning to proceed continuously while decoding is started or          failures during the servicing of the reader. Option E3 is
             stopped as necessary to maintain a tracking relationship           useful in placing decoded data in a form suitable for use with
             between scanning and decoding. The particular one of these 65 an application program.
             tracking modes that will be used is preferably set duriug             Heading F is associated with parameter table addresses
             manufacture, based on the amount of image data memory              that correspond to various message editing commands for




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             editing the form of characters in a decoded message. These         flow chart of FIG. 8 is dire1.ied to storing a semi-permanent
             commands may be, for example, search and replace com-              copy of the parameter table in BROM 46.
             mands (option Fl), commands to insert characters (option              If, on arriving at block 850, the processor finds that the
             F2), commands to delete characters from a decoded message          "flash" flag has not been set, it knows that the contents of the
             (option F3), or other commands.                                    parameter table have not been changed and, consequently,
                Heading G, meanwhile, is associated with parameter table        that no updated copy thereof needs to be stored in BROM 46.
             addresses that correspond to commands for adding prefixes          Under this condition, the processor is directed to simply
             or suffixes, of a selectable character length, to a decoded        return to the main program of FIG. 6A. If, on arriving at
             message. Prefixes and suffixes are added to messages so that       block 850, the processor finds that the "flash" flag has been
                                                                                set, however, it knows fuat the contents of the parameter
             the host processor can identify the source of, or other 10
                                                                                table have been changed and, consequently, that an updated
             characteristics of received messages. Option Gl allows
                                                                                copy thereof needs to be stored in EROM 46. Under this
             addition of a prefix to a decoded message while option G2          condition, the processor is directed to blocks 855, 860 and
             allows addition of a suffix to a decoded message.                  865, which defines the steps necessary to store fuis updated
                In view of the foregoing, it will be seen that the menuing      copy.
             process of the invention provides a wide range of user 15             In accordance with block 855, the processor is instructed
             selectable fimctions and modes that allow the reader to be         to copy from EROM 46 to RAM 45, the program instruc-
             tailored to a user's specific application and/or preferences.      tions (flash routine) necessary to copy the parameter table
             Among these, the code options and the scanning-decoding            from RAM to BROM. The copying of the flash routine to
             options in particular, allow a user to reconfigure the opera-      RAM is necessary because the BROM cannot be written to
             tion of the reader in ways that have not heretofore been 20 when the apparatus is reading or operating from the BROM.
             possible and thereby substantially increase the flexibility and    Once the flash routine has been copied to RAM 45, the
             overall data throughput rate of readers.                           processor is directed to jump to RAM to begin executing that
                'The manner in which fue reader can be updated to               routine. As it does so it is directed, via block 860, to erase
             accomplish the above-described results will now be                 the old (unchanged) parameter table from EROM 46. Per
             described with reference to fue flow chart of FIG. 8, which 25 block 865, it then copies new (changed) parameter table
             shows fue steps included within menu routine block 660 of          from RAM 45 to BROM 46. Once this has been done, the
             FIG. 6A. The menu routine of FIG. 8 begins wiili a block           processor is directed back to the main program of FIG. 6A
             805 which causes the processor to convert the decoded menu         to begin operating in accordance with the operating mode
             symbol message into hexadecimal form. This has the eflcct          specified by its new parameter table. Thus, the performance
             of formatting ilie 30 message so that fue fields of the menu 30 of the steps called for by blocks 855~65, when called for
             word are expressed as pairs of hexadecimal digits. Once fuis       by block 850, has the effect of partially reprogranuning the
             has been done the processor examines the product ID code           reader so that it operates in tl1e manner indicated by fue last
             to verify that it is compatible with ilie reader being menued.     menuing symbols selected by the user.
             If it is not, tlie processor is directed to exit ilie menuing         Referring to FIGS. 8A-.SD, there are shown examples of
             routine and continue scanning. If it is, the processor is 35 menu symbol selection charts of the type that may be used.
             directed to block 810 which distinguishes those menu mes-          Referring first to FIG. 8A, there are shown two parts of an
             sages which contain op codes from fuose which contain              option selection or menu chart that is used to enable and
             numerical data but no op codes. If there is no op code, ilie       disable two exemplary ID bar code symbologies, namely:
             processor is directed to block 815, which causes it to collect     Code 128 and UPC A. If a user wants to enable the decoding
             in an accumulator all of the digits of tlie message for later 40 of Code 128 symbols, he need only image menu symbol 802
             use before proceeding to block 850. An example of numeri-          which, in the present example, is a 2D bar code symbol
             cal data without an op code comprises the minimum or               expressed in the Aztec bar code symbology. Conversely, if
             maximum length of the messages that are to be output under         a user wants to disable the decoding of Code 128 symbols,
             code option 84.                                                    he need only image menu symbol 804. Similarly, imaging
                If fue menu message contains an op code, and ilie op code 45 symbols 806 or 808 enables or disables the decoding of UPC
             is other than 0, the processor is directed, via block 820, to      A symbols. Advantageously, the change called for by the
             a block 825. The latter block causes it to make ilie parameter     user is accomplished as fue result of a single imaging step,
             table changes called for by the op code and the associated         ratl1er than as a result of multiple inlaging steps.
             offset and data fields, sets a "flash" flag to indicate that          Referring to FIG. 88, there are shown two parts of an
             changes have been made and fuen proceeds to block 850. 50 option selection chart that is used to select fue desired one
             This has ilie effect of implementing the user selected             of fue baud rates that may be used by the reader's I/O
             changes in the menuing options discussed previously in             devices. A user chooses the desired one of the exemplary
             connection with FIG. 78. Such changes will ordinarily be           1200, 9600, 19200 and 38400 baud rates by simply imaging
             made in a copy of the parameter table that is stored in RAM        the corresponding ones of menu symbols 812-818. Again,
             45, and then later transferred to BROM 46.                      55 the change is accomplished as the result of a single imaging
                If tlie menu message contains an op code of 0, fue              step.
             processor is directed, via block 820, to a block 830. The             The fact that the above-discussed examples of menu
             latter block causes the processor to perform the vector            selections make use of menu symbols that use the Aztec 2D
             processing operation indicated by the remainder of the             symbology is not essential to fue practice. Other 2D or ID
             message. This operation will comprise one of the operations 60 menu symbol symbologies could also have been used, if
             discussed previously in connection with items A1-A4 of             desired, as will be seen from the following discussion of
             FIG. 7C, among others, before proceeding to block 850.             FIGS. SC and 8D. What is important is that the symbology
                In viL-w of fue foregoing, it will be seen that, when the       used for the menu symbols be fue one that is correct for the
             processor arrives at block 850 it will have taken all required     model indicated by the product ID field of the menu word.
             numerical data, performed all required parameter table 65 In the case of FIGS. 8Aand 88, the illustrated menu symbol
             modifications, or performed all required vector processing         symbology is that which is used by the IMAGETEAM™
             operations. As will now be explained, the remainder of the         Model 4400 reader manufactured by Welch Allyn, Inc.




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                Referring to FIG. 8C, there are shown exemplary parts of       storage device such as a RAM 922. If the new reader
             the option selection or menu chart that can be used with          program is available at a remotely located processor 950, it
             Welch Allyn SCANTEAM® readers. In FIG. 8C, symbol                 may be loaded into reader 10 or 10' through a suitable
             822 is an example of a menu symbol that, if imaged, causes        transmission link 955, such an electrical conductor link, a
             all Code 11 and Code 128 settings to assume their default         fiber optic link, or a wireless transmission link through a
             values. Symbols 824 to 836 are examples of menu symbols           suitable communication interface 960, such a modem. As
             that allow Code 11 options to be enabled and disabled on an       used herein, the term "transmission link" will be understood
             individual basis. Similarly, symbols 848 to 856 are examples      to refer broadly to any type of transmission facility, includ-
             of menu symbols that allow Code 128 options to be enabled         ing an RS-232 capable telephone line, as called for by
             and disabled on an individual basis.                           10 communication option Al of FIG. 7B, an RF link, as called
                Referring to FIG. 8D, there are shown further exemplary        for by communication option A3 of FIG. 7B, or a computer
             parts of the option selection or menu chart that may also be      network, e.g., ETHERNET, as called for by communication
             used with Welch Allyn SCANTEAM® readers. In FIG. 8D               optionA4 of FIG. 7B, although other types of transmission
             symbol 858 is an example of a menu symbol that, if imaged,        links or networks may also be used. For example, transmis-
             causes the settings for one of the RS-232 ports of the reader 15 sion link 955 could be provided by a coaxial cable or any
             to assume their default values. Symbols 862 and 864 are           other non-RF electromagnetic energy communication link
             examples of menu symbols that enable and disable a CTS            including a light energy infrared or microwave communi-
             check selection feature. Finally, symbols 866 through 884         cation link. Link 955 could also be an acoustic communi-
             are examples of menu symbols that allow any of a number           cations link. Additional communication options include a
             of different baud rate selections to be made. Once again, the 20 baud rate option A2 which allows different baud rates to be
             present reader allows all of these menu selections to be made     selected.
             by means of a single step selection process.                         The manner in which the reader may be made to perform
                Because fuller information concerning the menu options         any of a variety of different externally specified functions,
             contemplated, and their uses is contained in the User's           including reprogramming itself, will now be described with
             Manual for the above-identified readers, these menu options 25 reference to the flow charts of FIGS. lOA and 10B. As will
             will not be discussed further herein.                             be explained more fully presently, the flow chart ofFIG. lOA
             Reprogramming                                                     is a flow chart by which a program originating outside of the
                In accordance with another feature of the apparatus and        reader may be loaded into the reader for execution thereby.
             method, the reader may be reprogrammed to operate in              One example of such an externally originated program is the
             accordance with an entirely new application program. This 30 reprogramming program shown in FIG. 10B. Other
             means that the reader may not only be provided with a new         examples of such externally originated programs may
             or updated decoding program, or a new parameter table, it         include diagnostic or test programs, among others.
             may also be provided with one or both of a new menuing               Turning first to FIG. lOA, this flow chart is entered when
             routine and a new main program. As a result, a reader may         the reader receives an externally generated command, such
             be effectively reconfigured as a new reader, with new 35 as the six charat-ier sequence BBOOTT, which it is pro-
             capabilities and features, as often as necessary to keep it up    grammed to recognize and respond to. This command may
             to date with the latest developments in optical reader tech-      be initiated either by a local or a remotely located processor
             nology. Advantageously, this reprogramming may be                 and transmitted to the reader via any of the 1/0 devices
             accomplished either locally as, for example, by a local host      shown in FIG. 1. It may, for example, be initiated by the
             processor equipped with a diskette or CD-ROM drive, or 40 local host processor via keyboard 945 or by remote proces-
             remotely by a distant processor that is coupled to the reader     sor 950. This command may be given effect as an interrupt
             via a suitable telephone or other transmission line or via a      request and recognized as such by decision block 1005 of
             computer network or bulletin board.                               FIG. lOA. it will be understood that while interrupt block
                The reprogramming feature will now be described with           1005 is shown in FIG. l0A, it may in fact be located at any
             reference to the system block diagram of FIG. 9 and the 45 point within the main program of the reader.
             reprogramming flow chart of FIG. 10A. Referring first to             Once the BBOOTT command has been received and
             FIG. 9 there is shown a reader 10, of the type shown in FIG.      acted on, the processor enters a loading loop including
             4 or 5, which is coupled to a local host processor 900 by         blocks 1007 through 1020. This loading loop causes the
             means of multi-conductor flexible cable 54. The reader may        processor to load a program into RAM, one line at a time,
             also comprise a cordless battery powered reader 10' which is 50 in conformity with any suitable communication protocol,
             coupled to a host processor 900 via a suitable RF link            until the last line of code is detected via block 1020. When
             including antennae 905 and 910 and an RF interface module         the latter has occurred, the processor is directed to block
             915. Host processor 900 is preferably equipped with a             1025, which causes it to jump to the newly received program
             display 930 by which the results of the previously described      and to begin executing the same before returning to the main
             vector processing operations may be displayed, and with a 55 program.
             printer 940 by which the previously described menuing bar            Referring to FIG. 10B, there is shown an exemplary flow
             code symbol may be printed. As used herein, the term "local       chart for a reprogramming routine suitable for use in repro-
             host processor" will be understood to include both stand          gramming the reader to operate with new or different decod-
             alone host processors and host processors which comprise          ing programs, and or new or different menuing programs,
             only one part of a local computer system.                      60 among others. This program is an example of a program
                If the new reader program is available locally as, for         which may be executed as a result of the execution of the
             example, on a diskette or CD-ROM, it may be loaded into           loading loop 1007-1020 of FIG. lOA, and which begins to
             reader 10 or 10' using a suitable drive unit 920, under the       be executed as the processor enters block 1025 of FIG. 1 0A.
             control of a keyboard 925 and the reprogramming routine              On executing the reprogramming flow chart of FIG. 10B,
             shown in FIGS. lOAand 10B. In addition to drive unit 920, 65 the device loads the program that is intended to replace all
             processor is typically in communication with a read only          or part of the program currently stored in EROM. This
             program storage device such as a ROM 921 and a read/write         process begins as the processor encounters block 1035,




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             which directs it to wait until a line of externally generated      applications by a host processor 900 that is not in coIIIIllu-
             code is received. As each line of code is received, it is first    nication with a reader 10.
             checked for correctness (e.g. checksum), as called for by             A flow diagram illustrating the primary progrnm for
             block 1040 and, if an error is found, sends a negative             operating a local host processor for use in controlling a
             acknowledgment signal to the sending processor per block           reader is shown in FIG. llA. By executing block 1102 host
             1045. Each time that a correct line of code is received, the       processor causes to be displayed on a display monitor 930 a
             flow loops back for additional lines until the last line of the    subprogram option screen. The subprogram option screen
             current file has been correctly read, as calk.-d for by block      displays various subprogrnm options for a user to select.
             1050. Since the last line of the file does not contain program     Selection of one subprogram option causes a series of
             data, and cannot occur until all blocks of program data have 10 instructions pertaining to that particular option to be
             been processed, block 1050 will direct the processor to block      executed by local host processor 900. These subprograms of
             1060, unless and until all blocks of program data have been        a host primary program controlling local host processor may
             received and stored in EROM 46, and then cause it to return        include, for example, a subprogram for reprograIIIIlling a
             to the main program of FIG. 6A via exit block 1055.                reader; a subprogram for uploading parnmeter information
                If the processor has not exited the reprogramming routine 15 from a reader to host, or information pertaining to a main
             of FIG. lOB per blocks 1050 and 1055, block 1060 will              program presently operating a reader; a subprogram for
             cause it to determine if the last received line indicated that     instructing a reader to perform self-diagnostic testing; a
             a new block has begun. If it has, the processor is directed to     subprogrnm for determining the reader's main progrnm
             block 1065, which causes it to erase that new block of             revision level; a subprogram for outputting parnmeter table
             EROM before continuing to block 1070 and storing that last 20 information, possibly to auxiliary readers; a subprogram for
             received line therein. If it has not, block 1070 will cause the    editing pardllleters of a parameter table; a subprogrnm for
             processor to store the last received line to the last erased       simulating the result of applying editing coIIIIllands to a
             block ofEROM. If this line has been successfully stored, as        decoded message; and a subprogram for displaying barcode
             determined by block 1075, the processor will acknowledge           symbols for scanning by a reader.
             that fact per block 1077 and loop back for another line.        25    A flow diagram illustrating a subprogrnm for reprogrnm-
                If, however, any line of data has not been successfully         ming of a reader 10 by control of a local host processor is
             stored, block 1075 will direct the processor to a block 1080       shown in FIG. llB. Whereas FIGS. lOA and lOB illustrate
             which causes it to output an error message and exit the            instructions executed by processor 40 of reader 10 for
             program. If the latter occurs, the reprogramming routine as        providing reprograIIIIlling of a reader, FIG. llB illustrates
             a whole must be repeated. If the latter does not occur, the 30 instructions executed by local host processor for providing
             above-described process will continue line-after-line, block-      reprogramming of a reader.
             after-block, until the entire file has been successfully trans-       At block 1110 host processor 900 displays a main repro-
             ferred.                                                            gramming screen on display monitor 930. The main repro-
                In view of the foregoing, it will be seen that the effect of    gramming screen prompts a user to designate a source for an
             the reprogramming routine of FIG. lOB is to attempt to 35 operating program. The source designated is typically a bulk
             reprogram part or all of EROM 46 as rL'qUested, or to              storage device such as a hard or floppy disk drive but also
             continuing the attempt to do so until it either succeeds or        may be, for example, a RAM or ROM storage device. When
             fails. To the extent that the reader is reprogrammed, it will      the source is selected, host processor 900 displays on display
             effectively become a new or updated reader. This is not only       monitor 930 indicators of the operating programs, or files,
             because this reprogramming can not only modify the parnm- 40 that are available in the storage device source selected
             eter table, it can also modify the decoding or other progrnms      (block 1114) and a user selects one of the operating pro-
             referenced by the parameter table and the menuing program          grams. Some available operating programs comprise entire
             itself. Thus, the reprogramming feature can not only change        main programs and entire parnmeter tables for loading into
             the manner in which the reader operates, it can also change        reader, whereas other available operating progrnms include
             the manner in which the operation of the reader can be 45 only parameter tables which may be customized parameter
             modified in the future.                                            tables created by a user during execution of a parnmeter
                With the use of the above-described reprogramming               table editing subprogram.
             feature, the reader of the invention may be kept current with         When a user selects a source for an operating progrnm,
             the latest available programs that are suitable for use there-     and selects a desired operating program, downloading of the
             with. A user at local processor 900 may, for example, 50 operating program proceeds. At block 1116 host processor
             communicate with remote processor 950, via keyboard 925,           determines whether a reader is connected to the host pro-
             and determine if new programmable features are available.          cessor coIIIIllunications link, normally by serially transmit-
             If they are, he may obtain them from the remote process and        ting a device detection command to a reader, which has been
             download them locally, or request that the remote processor        previously programmed to transmit an acknowledge
             download them directly to the reader. Alternatively, the 55 response message on the reception of a detection coIIIIlland.
             remote processor may initiate the reprogramming of the                If a reader is connected to host processor 900 then host
             reader independently as, for example, pursuant to a service        processor at block 1118 sends an identification command to
             contract or updating service. It will be nnderstood that all       reader 10 which is previously programmed to transmit an
             such embodiments are within the contemplation.                     identification response on the reception of an identification
             Local Host and Reader System Operations                         60 coIIIIlland. After receiving the identification response and
                As has been described hereinabove, reprograIIIIlling of a       comparing the response to the selected operating program at
             reader may be accomplished with use of a local host                block 1120 processor at block 1122 determines whether the
             processor. This section describes additional features of a         reader is of a type which is compatible with the selected
             system comprising a local host processor 900 and a reader          operating program. An operating program is compatible
             10 and more particularly describes features and additional 65 with a reader in communication with host processor if the
             system operations that are realized by various interaction         operating program is specifically adapted for that reader's
             between host processor 900 and reader 10, and in certain           unique hardware configuration. Bar code readers of various




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             types have different hardware components including differ-        after first polling the vector pointer table and then writes, at
             ent memory devices, image sensors, input/output devices,          block 1152, the contents of the existing parameter table in a
             and other components. The selected operating program must         predetermined holding address location of a storage device
             be in form enabling it to communicate with the particular         associated with processor 900 or reader 10.
             hardware components of the presently connected reader.               The selected operating table is then written into BROM 46
                 If the selected operating program is compatible with the      at block 1140, line by line, until loading is complete. If the
             present reader, the host processor at block 1126 determines       user had requested at block 1144 to save the contents of the
             if the operating program is a parameter-only type operating       original parameter table (a determination made at block
             program or an operating program that comprises a main             1153), then processor 900 writes the contents of the param-
             program and a parameter table. This determination can be 10 eter table stored in a holding address location to the appro-
             made, for example, by reading the contents of a DOC type          priate parameter address locations of BROM at block 1154,
             file which is made to be read by processor 900 when an            after determining the address locations of the parameter
             operating program is read, and which is made to include an        table at block 1156. Referring again to the primary host
             identifier as to whether the operating program is of a type       processor program shown in FIG. llA, another subprogram
             which includes a main program and parameter table; by 15 which can be selected from subprogram option screen
             reading the contents of a predetermined address of the            displayed at block 1102 is a subprogram for editing a
             operating program which is made to include an identifier as       parameter table via host processor control. An important
             to the type of operating program; or by reading predeter-         feature available in this subprogram is that the subprogram
             mined addresses of an operating program designated for            allows a user to edit a parameter table read from a memory
             storing a main program and basing the determination on 20 location of processor 900 or reader 10 without there being a
             whether instructions are present in the designate addresses.      reader currently in communication with processor 900, thus
                 A memory map for a typical operating program is shown         improving the convenience of operation.
             in FIG. UC. When an operating program is stored in a                 As discussed previously with reference to FIG. 7B, a
             memory device, which may be, for example BROM 46 of               parameter table is used to specify operating options that are
             reader 10, or a disk drive 920 or other storage device 25 subject to the control of the user. During execution of
             associated with host processor 900 a plurality of first pre-      instructions of a reader's main program stored in a first
             determined address locations e.g. 000 to 5000 of the storage      predetermined memory locations ofa storage device, param-
             dt..-vice are designated for storing parameters of the main       eters of a parameter table, which is stored in a second
             progrdll, while a plurality of second predetermined address       predetermined set of memory address locations of a storage
             locations e.g. 8000 to 9000 are designated for storing 30 device, are called up with use of lookup type instruction as
             instructions of a parameter table. The beginning and end          exemplified by representative lookup instruction (in
             addressesoftheparametertablemaychangefromoperating                pseudocode) 1160 shown in FIG. llC. Parameters of a
             program to operating program. However, the parameters of          parameter table may be, for example, communications
             each parameter table are in identical locations with respect      option parameters (subheading A), code option parameters
             to the beginning address.                                      35 (subheading B), scanning-decoding option parameters
                 When host processor 900 determines at step 1126 that the      (subheading C), operating option pardilleters (subheading
             selected operating program includes a main program then           D), transmit option parameters (subheading B), data format-
             program control proceeds to step 1130 wherein processor           ter command parameters (subheading F), prefix/suffix
             transmits the contents of the selected operating program into     parameters (subheading G), or other types of parameters.
             BROM 46 ofreader 10. If host processor 900 determines at 40          A flow diagram for a parameter table editing subprogram
             block 1126 that the selected operating program is a param-        is shown with reference to FIG. llD. At block 1162 pro-
             eter only type operating program then host processor 900          cessor 900 determines if a reader is in communication with
             first queries BROM 46 to determine the begin and end              processor 900 in the fashion described previously with
             address locations of the parameter table of the operating         reference to block 1116 of FIG. llB. If a reader is present,
             program currently stored in BROM. To this end host pro- 45 processor 900 at block 1166 reads the parameter table
             cessor 900 at block 1130 polls the contents of a vector           presently stored in BROM 46 (after determining the table's
             pointer table 1134 in predetermined address locations of          location), along with a list of analog waveform outputs from
             BROM. Described previously herein vector pointer table            another predetermined memory location from BROM 46. A
             1134 comprises the beginning and end addresses of the             list of possible types of analog waveform outputs a reader
             parameter table. After vector pointer table is polled, host 50 may be configured to generate allowing the reader to trans-
             processor 900 stores the address location of tlie present         mit data to various types of terminals is stored in a prede-
             parameter table, modifies the parameter table address of the      !ermined waveform list memory location. The wavefonn list
             selected parameter-only operating table in accordance with        memory location may be determined by querying vector
             the parameter table addresses of tlie existing parameter table    pointer table 1134. A specific one type of waveform output
             (block 1136) and writes tlie contents of the parameter table 55 from the list of available outputs is selected by control of a
             address locations of tlie modified parameter-only type oper-      parameter of parameter table, typically stored in an address
             ating program into BROM 46 (block 1140).                          location corresponding to Communications Options
                 If processor 900 determines at block 1126 that the            (Heading A) type parameters described previously with
             selected operating program is of the type having a main           reference to FIG. 7B. Processor 900 at block 1116 stores the
             program and a parameter table, then processor 900 at block 60 parameter table and the list of analog waveform outputs in
             1144 prompts the user whether the user would like to save         a temporary storage device associated with processor 900
             the contents of a parameter table of the operating program        such as a RAM.
             currently stored in BROM 46 ofreader 10; that is, utilize the        In the embodiment shown, the parameter table editing
             parameters of the current operating program in the operation      subprogram is configured by default to edit tlie existing
             of a reader that is programmed to have a new main program. 65 parameter table stored in BROM of the connected reader if
             If the user responds affirmatively, tlien processor 900 reads     a reader is present. It will be recognized, however, that the
             the contents of the existing parameter table (block 1150)         editing subprogram can also be configured to query ilie user




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             as to whether the user wishes to edit the parameter table          a routine executed during a parameter table editing
             currently stored in reader EROM 46, or another candidate           subprogram, the menu symbol output option can be conve-
             parameter table typically stored in a bulk storage device          niently implemented as a separate subprogram.
             associated with processor 900.                                        When a menu symbol output option is selected at block
                If a reader is not in communication with processor 900,         1189, processor 900 determines at block 1202, by reading a
             continuing with reference to the flow diagram shown, then          reader identifier, whether the reader designated for receipt of
             processor at block 1168 prompts the user to select a reader        the edited parameter table includes a one dimensional (lD)
             for which the user wishes to edit a parameter table and once       or two-dimensional (2D) image sensor.
             a type of reader is selected, a default parameter table               If the reader includes a one dimensional image sensor,
             associated with that reader type is written in to a temporary 10 then processor 900 creates a series of linear bar codes which
             storage device of processor 900 typically provided by a            may be used for reprogramming several readers.
             RAM device.                                                        Specifically, if the designated reader includes a one dimen-
                At the termination of block 1168 or block 1166 if a reader      sional image sensor then processor 900 at block 1204 creates
             is connected, a parameter configuration screen is displayed        a first linear menu symbol adapted to generate an instruction
             to a user, at block 1169, an exemplary embodiment of which 15 causing the reader reading the symbol to change parameter
             is shown in FIG. llE. Typically, a user ,viii edit certain         table values of the reader's EROM to default values. Then,
             parameters from the parameter table which the user wishes          at block 1206 processor 900 creates a distinct linear pro-
             to change, and then, when editing is complete, a user will         grannning menu symbol for each parameter of the parameter
             select an available output option from the parameter con-          table that is changed during the editing process from a
             figuration screen. The output options available to a user may 20 default value. An important feature is described with refer-
             include writing an edited parameter table to a connected           ence to block 1208. When the series of menu symbols is
             reader; writing an edited parameter table to a bulk storage        created, the created symbols may be printed on paper by
             device; displaying an edited parameter table; or printing an       printer 940 according to a conventional protocol, or else
             edited parameter table.                                            displayed on display device 930, typically a CRT monitor.
                Until an output option is selected, the user typically edits 25 lbe term created symbols herein refers to binary encoded
             various parameters the user wishes to change as shown in           data stored in a memory space which result in an actual
             blocks 1170 and 1172. Selection of one parameter type              symbol being output when the data is written to a display
             option, e.g. code or symbology option parameter 1174               device or printer. An unlimited number of bar code readers
             causes a SL'Condary editing screen to appear allowing editing      may be reprogrammed by reading the menu symbols that are
             of parameters of the selected parameter type. When editing 30 displayed on fue display device 930. Displaying the created
             pertaining to one or several parameter types is complete then      menu symbols on a display device allows rapid output of
             program reverts back to parameter configuration screen at          created symbols and eliminates the need to supply a paper
             block 1169, allowing user to select an output option.              substrate each time a menu symbol is output.
                If a user selects the write output option (block 1176), the        If the reader designated for reprogramming includes a 2D
             edited parameter table is written to, or downloaded to reader 35 image sensor, then processor 900 at block 1210 need only
             BROM in the fashion described previously with reference to         create one 2D menu symbol in order to cause reprogram-
             block 1140 of FIG. 118. If a user selects the store-to-disc        ming of the designated reader in accordance with the
             option (block 1178) then the edited parameter table is             changes made to a parameter table even in the case where
             written to an address location of a bulk storage device such       multiple changes to the parameter table are made. This is so
             as a hard drive or floppy disc. If a user selects the display 40 because an increased number of instrnctions may be
             option (block 1180) then processor 900 causes the complete         encoded in a symbol of a 2D symbology type.
             or partial contents of the edited parameter table to be printed       Another subprogram which may be selected from a sub-
             on display screen associated with host processor 900. If a         program option screen displayed at block 1102 is a subpro-
             user selects the print option (block 1182) then processor 900      gram for simulating the result of applying editing commands
             causes the complete or partial contents of the edited param- 45 to a decoded message. As discussed previously, editing
             eter table to be printed by a printer device 940 in commu-         commands may be applied to decoded messages by entry of
             nication with processor 900.                                       fue commands to a parameter table in parameter table
                Another output option available to a user is to compare         addresses corresponding to heading H of FIG. 78. Without
             two or more parameter tables. If this option is selected           an editing command simulation subprogram, it would be
             (block 1184) then the user is requested at block 1186 to 50 necessary to decode a symbol with use of reader 10 in order
             select parameter tables from memory locations (which may           to observe the result of applying fue editing commands. The
             be memory location associated with processor 900 or with           efficiency and convenience advantages of the editing com-
             reader 10). When parameter tables have been selected,              mand simulation subprogram therefore should be clear to
             processor 900 at block 1186 compares the selected param-           those skilled in the art.
             eter tables. In general, the comparison is carried out by a 55        An exemplary flow diagram for an editing command
             compare function applied after an offset between the files is      simulation subprogram is shown in FIG. llE. At block 1214
             accounted for. Processor 900 then outputs the results of the       processor 900 displays a message editing simulation screen
             comparison at block 1188, typically by displaying the com-         or screens which allows a user to enter an unedited test
             parison results on screen 930, or printing the comparison          message and symbology type (block 1216) and enter the
             results using printer 940.                                      60 type of editing command desired to be applied to the
                One specialized output option allows the user to create         message (block 1218). Three basic types of editing com-
             programming menu symbols whose general features have               mands are search and replace editing commands, insert
             described with reference to FIG. 7A-7C, and 8. The menu            character editing commands, and delete character editing
             symbols created by the output option can be used to repro-         commands. Additional, more compk-x editing commands
             gram readers reading the created symbols in accordance 65 may also be applied.
             with the changes made to a parameter table made during                When the commands are entered, processor 900 applies
             execution of the parameter table subprogram. Described as          the commands entered at block 1218 to the unedited test




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             message at blocks 1220, 1222, and 1224 if all are applicable.     of instruction steps, or repetitive instruction steps to coop-
             When editing is complete processor 900 outputs the result of      eratively control more tl1an one reader component. For
             applying the editing commands, at block 1226, typically by        example, a component control instruction commanding an
             displaying the edited message on display screen 930.              optical reader to capture an image normally requires that
                At block 1228 processor queries the user as to whether the     processor 40 execute a series of instruction steps involving
             user wishes to save the editing commands which resulted in        control of such components as LED's 22, components of the
             the edited message being displayed or otherwise output at         imaging assembly, and memory 45.
             block 1226. If the user elects to save the editing commands,         A modified reader operating program that adapts a reader
             then processor 900 at block 1230 writes the commands to a         to receive component control instructions from a remote
             predetermined command save memory location associated 10 local host processor for substantially on-receipt execution by
             with processor 900. When the parameter table editing sub-
             program described with reference to FIG. llD is later             reader 10 is shown in FIG. 6B. Reader 10 is readily enabled
             executed the commands saved in block 1230 of the message          to receive and execute remote component control instruc-
             editing command subprogram may be read from the com-              tions by modification of the program loop indicated by block
             mand save memory location during execution of block 1192          605 of FIG. 6A wherein reader 10 waits in a low power state
             of the parameter table editing subprogram.                     15 until a trigger is pulled. As shown by the flow diagram of
                In addition to being adapted to download new or modified       FIG. 6B, block 605 may be modified to the form illustrated
             operating programs to reader 10 remotely, processor 900 can       by block 605' so that reader executes block 610 and the
             also be adapted to remotely transmit component control            ensuing blocks shown and described in connection with
             instructions to reader 10 which are executed by reader            FIG. 6A in response either to a trigger being manually pulled
             processor 40 substantially on receipt by reader 10 to control 20 or to the receipt of a remote trigger activation instruction
             one or more components of reader 10 in a manuer that can          from processor 900. Block 635 of the flow diagram of FIG.
             be perceived by a reader operator. For example, processor         6A may also be modified so that the reader is responsive
             900 and reader 10 can be arranged so that processor 900, on       either to a manual trigger release or to receipt of a remote
             receipt of a command from a user, transmits a component           trigger receive instruction. Reader 10 may also be made to
             control instruction to reader 10 which is executed by reader 25 exit the loop indicated by block 605' on the condition that
             processor 40 to have the same effect as trigger 52 being          another component control instruction for on-receipt execu-
             manually pulled, or alternatively, being released. Instruc-       tion by reader 10 is received. As is indicated by block 602
             tions transmitted by processor 900 having the same efiect as      and block 603, reader 10 may be adapted to exit the loop
             manually pulling and manually releasing trigger may be            indicated by block 605' and to appropriately control the
             termed, respectively, "remote trigger activation" and 30 component associated with the received instruction on the
             "remote trigger release" instructions. Processor 900 and          condition that a remote component control instruction is
             reader 10 can also be complementarily arranged so that, on        received from processor 900.
             receipt of a user activated command to remotely control           Scanning-Decoding/Autodiscrimination
             reader 10, processor 900 trausmits to reader 10 an instruc-          The scanning-decoding and autodiscrimination features,
             tion which is executed by reader 10 substantially on receipt 35 and their relationships to the above-described menuing and
             of the instruction to turn on LED's 22 or to "flash" LED's        reprogramming features, will now be describL-d with refer-
             according to a predetermined pattern, or to activate an           ence to FIGS. 6 and 12-18. More particularly, the combined
             acoustic output device such as speaker 38 to issue a "beep"       operation of these features will be discussed in connection
             or a series of beeps. Component control instructions for          with FIG. 6A. The SOD, SS and DOD scanning-decoding
             on-receipt execution which operate to control LED's 22 or 40 modes will be discussed in connection with FIGS. 13 and 14,
             speaker 38 are usefol, for example, to signal an alarm            and the OS, RUD and RUS scanning-decoding modes will
             condition, to indicate that a task is completed, or to attract    be discussed in connection with FIG. 15. Finally, the JD and
             the attention of a reader operator for any purpose.               2D portions of the autodiscrimination feature will be dis-
                Processor 900 and reader 10 can also be complementarily        cussed in connection with FIGS. 16-18, respectively.
             arranged so that, on receipt of a user activated command, 45         Turning first to the main program of FIG. 6A, the scan-
             processor 900 transmits to reader 10 a component control          ning and decoding operations are shown as blocks 625-647.
             instruction which is executed by reader 10 substantially on       In those embodiments or modes in which the multiple
             receipt thereof to transmit data which is stored in memory 45     symbols code option is not enabled (see option B5 of FIG.
             or in another memory device associated with reader 10 such        7B), the processor assumes, that only one symbol is to be
             as a long-term nonvolatile memory device. For example, a 50 decoded. Under this condition, if decoding is successful, the
             component control instruction received from processor 900         processor processes the decoded symbol as a menu symbol
             may be executed by reader 10 to upload from reader 10 to          in accordance with previously described menu routine 660,
             processor 900 image data that is stored in a specific memory      or as output data in accordance with block 646, and then is
             location of reader memory 45 such as a reader memory              stopped by one of blocks 647, 635 or 642. If decoding is not
             location that stores the most recently captured image data 55 successful, the processor is directed back (unless stopped by
             captured by reader. Processor 900 may subsequently display        blocks 635 or 642) to capture and attempt to decode another
             such uploaded image data on display 930. Other component          image. In this case, the "no" output of multiple symbols
             control instructions which may be transmitted from proces-        block 643 is selected, allowing additional images to be
             sor 900 to reader 10 for substantially on-receipt execution by    captured as necessary.
             reader processor 40 are instructions which, for example, 60          In those embodiments or modes in which the multiple
             cause predetermined indicia to be displayed by reader dis-        symbols option is enabled, the processor assumes that more
             play 56, or which cause processor 40 to capture, by appro-        than one symbol is present in the image data. Under this
             priate control over image sensor 32, a single frame of image      condition, if decoding is successful, the processor continues
             data corresponding to the scene presently in the field of view    to loop back to block 627 to make additional decoding
             of reader 10 in memory 45 or in another memory device. 65 attempts, unless stopped by one of blocks 635 or 642. In this
                It will be understood that certain component control           case, however, the "yes" output of block 643 is selected,
             instructions require that reader processor 40 execute a series    preventing additional images from being captured.




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                When the processor begins executing its scanning-              shown in FIG. 13B, fue suspension offue scanning process
             decoding program, it first determines from the parameter          continues until fue results of fue prior scan have been
             table which scanning-decoding option or combination of            decoded. This prevents the decoding process from falling
             options is to be used. It will then be directed to an autodis-    more fuan a small amount of time behind tile scanning
             crimination routine that is configured to execute that routine    process. As a result, fuere cannot arise a situation, such as
             in accordance with the selected scanning-decoding option or       fuat which can arise with the prior art, in which fuere is a
             options.                                                          massive loss of scan data. Because this process is described
                At start up, the parameter table maybe set up so that          in detail in U.S. Pat. No. 5,463,214, it will not be described
             operation in the One Shot scanning-decoding mode is estab-        in detail herein.
             lished as a default condition. Alternatively, the parameter 10       Referring to FIG. 13C there is shown the tracking rela-
             table may be set up so that the RUD or RUS scanning-              tionship which exists between fue scanning and decoding
             decoding mode is established as a default condition. Since        operations when these operations are controlled in accor-
             the One Shot mode is inherently a non-tracking mode, its          dance with a tracking mode referred to as the "Skip Scan"
             selection as a default mode implies that none of the tracking     or SS tracking mode. Wifu this mode, under heavy decoding
             modes is selected. Since the RUD and RUS modes can be 15 loads, decoding proceeds witllout interruption so long as fue
             used either with or without one of the three tracking modes,      scanning function is called for. As shown in FIG. 13C, each
             its selection as a default parameter may or may not be            decoding operation begins immediately after tile preceding
             associated with one of the three tracking modes, depending        decoding operation ends, and proceeds on tile basis of fue
             upon how the reader is programmed at the time of manu-            scan data from the then most current complete block of scan
             facture.                                                       20 data.
             (a) Tracking Options                                                 More particularly, FIG. 13C illustrates one possible see-
                The differences between the three tracking modes of the        nario in which decoding of Scan 1 data is immediately
             invention are best understood with reference to FIGS.             followed by the decoding of Scan 2 data. This occurs
             12-14. The latter figures (with changes in figure and indicia     because Scan 3 data is incomplete at the time that the second
             number) are incorporated from prior copending U.S. patent 25 decoding operation begins. The decoding of Scan 2 data,
             application No. 08/914,883, now U.S. Pat. No. 5,942,741,          however, is immediately followed by the decoding of Scan
             together with their associated descriptions as follows:           5 data. This occurs because Scan 5 data represents the then
                Scanning of indicia can take place under either of two         most current complete block of scan data. While the results
             generalized conditions, depending upon the decoding load          of scans 3 and 4 are therefore unused and skipped over, the
             presented by the indicia. Under light decoding loads, shown 30 data lost by their non-use is provided by more current scan
             in FIG. 12A for a prior art reader, the amount of data to be      data or, if decoding is unsuccessful, by the results of a later
             decoded is relatively small, allowing scan data from a            scan. Any occasional decoding failure that results from the
             complete scan to be decoded in a time which is less than the      skipping of relatively old blocks of scan data is in any case
             duration of a scan. Under this condition, the result of each      more than offset by the avoidance of the large scale data
             scan is decoded before the completion of the following scan, 35 losses discussed in connection with FIG. 12B.
             and no problems arise as a result of any mismatch between            Referring to FIG. 13D there is shown the tracking rela-
             the scan time and the decode time of the reader. The prior art    tionship which preferably exists between the scanning and
             and the instant reader perform equally well under such light      decoding operations when these operations are performed in
             decoding loads as will be seen later from FIG. 13.                a reader which includes two and only two scan data memory
                Under heavy decoding loads, however, prior art methods 40 spaces A and B. With this reader, the preferred tracking
             do not allow sufficient time for decoding. Thus, as shown in      mode is the "Decode on Demand" or DOD tracking mode.
             FIG. 12B, when a first scan, Scan 1 is completed, a second        With this mode decoding does not proceed without inter-
             scan, Scan 2 is initiated immediately. Scan 2 is then followed    ruption. As shown in FIG. 13D, each decoding operation
             by Scan 3 while the decoding of Scan 1 is still in progress.      begins at the beginning of a block of scan data. In the event
             As this situation continues, the decoding process will be 45 that the end of a decoding operation does not coincide with
             seen to fall further and further behind the scanning process      the beginning of such a block, i.e., occurs while a scanning
             until, at some point, the data memory becomes filled. When        operation is still in progress, tl1e beginning of the next
             this occurs new scan data will overwrite old scan data which      decoding operation will be delayed until the scanning opera-
             was not processed, thereby causing a loss of large blocks of      tion that is then in progress is completed, and then proceeds
             scan data.                                                     50 with reference to the block of scan data which is produced
                In the embodiment disclosed in prior copending applica-        by that scanning operation.
             tion No. 08/205,539, now issued as U.S. Pat. No. 5,463,214,          More particularly, FIG. 13D shows that the decoding of
             this problem is solved by modifying fue reader in a way that      Scan 1 data is completed while Scan 3 is still in progress,
             allows the scanning process to be suspended and restarted as      overwriting data for Scan 2. Under tins condition, decoding
             required to prevent the decoding process from falling so far 55 is discontinued for a time period Tsl that is equal to the time
             behind the scanning process that data overflows fue memory        necessary for Scan 3 to be completed. At the end of time
             and is lost. This embodiment is referred to herein as the         period Ts,, decoding resumes with fue then most current
             "Scan on Demand" or SOD tracking mode. This solution to           block of scan data, namely: the scan data produced during
             fue problem may be understood with reference to FIGS. 13A         Scan 3. Thus, like fue mode which is illustrated FIG. 13C,
             and 13B. Referring to FIG. 13A, there is shown the opera- 60 the mode which is illustrated in FIG. 13D begins its decod-
             tion of the subject embodiment under light decoding loads.        ing operation with the then most current complete block of
             It will be noted that, under tins condition, the relationship     scan data.
             between scanning and decoding is the same as iliat shown in          Referring to FIG. 13E, there is shown fue tracking rela-
             FIG. 12A.                                                         tionship which exists between the scanning and decoding
                FIG. 13B shows the relationship which exists between the 65 operations when these operations are performed in a reader
             scanning and decoding processes when the Scan On                  which includes iliree scan data memory spaces A, B and C.
             Demand mode is used under heavy decoding loads. As                With this embodiment decoding proceeds witl1out interrup-




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             tion so long as the scanning function is called for. As shown        Locations SS and SE of memory M2 are updated in the
             in FIG. 13E, each decoding operation begins immediately           course of a series of scans so that they always identify or
             after the preceding decoding operation ends, and proceeds         otherwise point to the address of the beginning and ending
             on the basis of scan data from the memory which contains          of the most recently produced complete block of scan data.
             the then most current complete block of scan data.                As a result, when the decoding circuitry is ready to decode
                More particularly, FIG. 13E shows that the decoding of         the most recently produced complete block of scan data, it
             Scan 1 is completed while Scan 3 is still being acquired.         need only refer to locations SS and SE to obtain information
             Under this condition, with three memory spaces available,         as to where to begin and end decoding. Before decoding
             decoding is immediately undertaken on the most recent             begins, the contents of locations SS and SE are written into
             complete Scan (Scan 2) which is contained in memory space 10 locations DS (Decode Start) and DE (Decode End) so that
             B. Upon the completion of the decoding of Scan 2, decoding        locations SS and SE can continue to be updated while
             is commenced on Scan 4 which is contained in memory               decoding proceeds on the basis of the contents of locations
             space A. Thus, the utilization of three memory spaces allows      DS and DE. In the preferred embodiment, the decoding
             the decoding portion to be occupied one hundred percent of        circuitry is progranuned to mark these begirnling addresses
             the time.                                                      15 as "invalid" (for example, by changing its sign) after it is
                The mode illustrated in FIG. 13C is best suited for use        acquired. Since the decoding processor is programmed to
             with readers having memories and addressing procedures            decode only "valid" data, this assures that it can decode a
             which can accommodate large numbers of relatively short           single block of scan data only once.
             blocks of scan data having sizes that are not known in               Referring to FIG. 14B there are shown a plurality of
             advance. Applications of this type typically include readers, 20 memory spaces l'vIA, MB ... MN suitable for use in storing
             such as that shown in FIG. 3, which use ID image sensors.         blocks of scan data of the type produced by a reader having
                The modes illustrated in FIGS. 13D and 13E, on the other       a 2D image sensor, together with a pointer or tracking
             hand, are best suited for use with readers having memories        memory MP suitable for use in storing address or pointer
             and addressing procedures which can accommodate small             information for identifying the memory spaces to be used for
             numbers of relatively long blocks of scan data of fixed 25 entering new scan data, decoding, etc. Since the amount of
             length. Applications of these types typically include readers,    scan data in each block of scan data is known in advance,
             such as that shown in FIG. 2, which use 2D image sensors.         being the same for each scan, the starting and ending
             With the embodiment illustrated in FIG.13D, only two scan         addresses for each memory space (e.g., A 1 and B 1 and AN
             data memory spaces are used and decoding is discontinuous.        and BN, etc.) will also be the same for each scan. As a result,
             With the embodiment illustrated in FIG. 13E three scan data 30 the memory to be used for storing new scan data, decoding
             memory spaces are used and decoding is continuous. More           etc. may be specified by specifying just a few bits stored in
             than three scan data memory spaces can also be used if            memory MP. Location CS, for example, may be used as a
             additional decoding resources are made available. The one         pointer which identifies the memory where the current scan
             of these different embodiments which is used in a particular      is being stored, and location NS may be used as a pointer
             application is a design choice which is based on economic 35 which identifies where the next scanned image is to be
             considerations.                                                   stored.
                The fact that some embodiments use 1D image sensors               Similarly, location CD may be used as a pointer which
             while others use 2D image sensors should not be taken to          identifies the memory space where the current decode is
             mean that embodiments which use 1D image sensors can              being undertaken. Finally, location ND may be used as a
             only read ID symbols or that embodiments which use 2D 40 pointer which identifies where the next available image is
             image sensors can only read 2D symbols. This is because           for decoding purposes.
             techniques exist for using either type ofimage sensor to read        Under ordinary circumstances, three scan data memory
             both 1D and 2D symbols. It will therefore be understood that      spaces will be sufficient to keep the decoding activity of the
             the present reader is not restricted to use with any one type     reader fully occupied and current. This is because the
             of image sensor or to any one type of bar code or other 45 tracking method allows the skipping over of old blocks of
             optically encoded symbol.                                         scan data as necessary for the decoder to remain occupied
                Referring to FIG. 14A, there is shown a memory space           and current. If the decoding load becomes extremely heavy,
             Ml suitable for use in storing blocks of scan data of the type    however, it is possible that more old blocks of scan data are
             produced by a reader with a 1D image sensor, together with        skipped over than is advisable. In such instances, it may be
             a pointer or tracking memory M2 suitable for use in storing 50 desirable to increase the number of memory spaces from 3
             address or pointer information that makes it possible for the     to N, where N may be 4 or even more, and to use more than
             reader to identify the beginning and end point of a block of      one decoding circuit. If such an increased number of memo-
             interest. As shown in FIG. 14A, the block of scan data            ries and decoders are used, blocks of scan data may be
             produced during a first scan of the target is stored in memory    distributed among the memories according to a simple
             Ml beginning at address SSl (Scan Start for Scan 1) and 55 sequential rule and kept track ofby increasing the number of
             ending at address SE1 (Scan End for Scan 1). Similarly, the       bits in the pointers of memory space MP. In addition, the
             block of scan data resulting from a second scan of the target     decoding circuits may be assigned to the then most current
             is stored between addresses SS2 and SE2, and so on.               complete block of scan data as they become free. It will be
             Because scanning takes place continuously, the end of one         understood that all such numbers of memory spaces and
             scan block (e.g. SEl) coincides with the beginning of the 60 decoding circuits and the associated tracking procedure are
             next scan block (e.g., SS2). The sizes (in memory space) of       within the contemplation.
             these blocks will ordinarily vary from block to block,               Referring to FIG. 15, there is shown a simplified version
             depending on the number of data transitions in each lD scan       of FIG. 6A which eliminates those blocks which do not
             of the target. The boundaries between blocks will, however,       relate directly to the use of the scanning-decoding param-
             be fixed by the occurrence times of the Scan Interrupt signals 65 eters of FIG. 7B to produce decoded output data. Of the
             which are generated by the image sensor or its clock              blocks shown in FIG. 15, blocks 625, 627, and 646 are
             generating circuitry.                                             common to prior art readers and to readers constructed. The




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             remaining blocks of FIG. 15 operate either singly or in               Turning first to the flow chart of FIG. 16, there is shown
             various combinations to establish the permitted combina-           the 1D portion of the autodiscrimination process, which
             tions of the scanning-decoding modes shown in FIG. 7B.             operates on a set of image data that has been scanned from
             These remaining blocks together comprise the preferred             a target symbol of nnknown type and orientation and stored
             embodiment of the means by which the reader is controlled          in RAM 45. Iffue reader is a 2D reader, this image data will
             in accordance with the scanning-decoding relationships             comprise a gray scale representation of the 2D image formed
             called for by the parameter table thereof. Other combina-          on the image sensor, each pixel of the image sensor being
             tions of flow chart blocks, and other combinations of              represented by an image data element that includes an 8 bit
             scanning-decoding parameters may also be used. Blocks 642          gray scale indication of its brightness. If, on the other hand,
             and 643 may, for example, be configured so that only a 10 the reader is a lD reader, the image data may comprise either
             preset number of multiple symbols or a preset number of
             repeats is permitted. Alternatively, all scanning-decoding         binary or gray scale values.
             control blocks may be collectively replaced by a look-up              If the reader includes a 2D image sensor, this image data
             table which directly specifies the next action to be taken.        will have been scanned as a 2D image while the reader is
             These and other variants will be understood to be within           held substantially stationary wifu respect to its target. If fue
             contemplation.                                                  15 reader includes a JD image sensor this image data will have
                In view of the foregoing, it will be seen that the scanning     been scanned as a series of 1D images while the reader is
             and decoding processes may have a selectable one of any of         being moved asynchronously across the target in the manner
             a plurality of different relationships with one another, some      described in copending commonly assigned U.S. patent
             of these relationships being tracking relationships and some       application No. 08/504,643, now U.S. Pat. No. 5,773,806,
             being non-tracking relationships. The menuing feature 20 which is expressly incorporated herein by reference.
             allows a user to select fuat operating mode, whefuer or not           On encountering block 1605, fue processor is directed to
             tracking, which gives fue best overall data throughput rate in     calculate the "activities" of selected image data elements.
             view of fue user's fuen current objectives.                        The "activity" of a point P as used herein comprises a
             (b) Autodiscrimination/Code Options                                measure of the rate of change of fue image data over a small
                The manner in which fue code options called for by fue 25 two dimensional portion of the region surrounding point P.
             parameter table are implemented in conjunction with the            This activity is preferably calculated along any two arbi-
             autodiscrimination feature, will now be described with ref-        trarily selected directions which are mutually perpendicular
             erence to the flow charts of FIGS. 16 and 18. Generally            to one anofuer, as shown by the lines parallel to directions
             speaking, fue flow chart of FIG. 16 illustrates the lD portion     X and Y of FIG. 17A. One example of an activity calculation
             of a complete 1D/2D autodiscrimination process, while the 30 is that which is based on fue squares of the gray scale
             flow chart of FIG. 18 illustrates the 2D portion of a complete     differences of two pairs of points P1X-P2X and P1Y-P2Y
             1D/2D autodiscrimination process. If both the 1D and 2D            fuat are centered on point P, as shown in FIG. 17A. Two
             code options of the parameter table are enabled (see options       mutually perpendicular directions are used because fue
             Bl and B2 of FIG. 7B), fue steps called for by bofu FIGS.          orientation of fue symbol is nnknown and because a high
             16 and 18 will be executed before fue autodiscrimination 35 activity level fuat by chance is difficult to detect in a first
             process is completed. If, however, only one or the other of        direction will be readily detectable in a second direction
             the lD and 2D code options of the parameter table is               perpendicular to that first direction.
             enabled, only the steps called for by FIG. 16 or by FIG. 18           In fue preferred embodiment, an activity profile of the
             will be executed before fue autodiscrimination process is          image data is constructed on the basis of only a selected,
             completed. It will fuerefore be seen fuat fue menuing fea- 40 relatively small number of image data elements that are
             tures and the autodiscrimination features of the present           distributed across the field of view that corresponds to fue
             reader interact with one another in a manner that allows a         stored image data. Using a relatively small number of data
             user to tailor the autodiscrimination circuitry as necessary to    elements is desirable to increase the speed at which fue
             achieve fue highest possible data throughput rate for a            symbol may be imaged. These selected points may be
             particular application.                                         45 selected as fue points which lie at the intersections of an X-Y
                In order to gain an understanding as a whole, it should be      sampling grid such as that shown in FIG. 17A. The spacing
             borne in mind tl1at the above-described relationships              of fue lines defining tlris grid is not critical, but does affect
             between the decoding and menuing processes exist as a              fue resolution with which fue activity profile of the image
             subset of an even more complex set of relationships that           can be measured.
             include fue tracking and multiple symbols features. When, 50          When the processor has deternrined the activities of fue
             for example, a portion of fue flow chart of FIGS. 16 and 18        selected image data points, it is directed to block 1610,
             calls for an attempted decode, it must be remembered that          which causes it to look for candidate bar code symbols by
             the attempted decode takes place in the context of the             identifying regions of high activity. This is conveniently
             tracking or non-tracking relationships indicated by fue            done by deternrining which sets of image data points have
             parameter table options. In addition, the number of passes 55 activities fuat exceed a predeternrined activity tlrreshold
             that fue processor makes through the flow chart of FIG. 16,        value. A simplified, one-dimensional representation of this
             before continuing on to the flow chart of FIG. 18, ck'Pends        step is illustrated in FIG. 17B, wherein fuose image data
             upon whether or not the multiple symbols feature has been          points having an activity that exceed a threshold value TH
             enabled.                                                           are labeled as a candidate symbol region CSRl.
                In principle, at least, each one of fue possible combina- 60       In embodiments which are adapted to find and decode all
             tions of the above-described options may be represented in         of the symbols that occur in fields of view fuat include a
             a complete and separate flow chart and described as such.          plurality of bar code symbols, (i.e., embodiments in which
             Because adopting the latter approach would obscure rather          the multiple symbols option is enabled), the result offue step
             than clarify, however, the present application will describe       called for by block 1610 is the identification of a plurality of
             these combinations simultaneously in terms of a represen- 65 candidate symbol regions (CSRs), any one or more of which
             tative flow chart, with different options being described          may be a bar code symbol. Whether or not they are bar code
             potential variants of that representative flow chart.              symbols is determined on the basis of whether they are




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             decodable. As will be explained more fully later, if the              On exiting block 1645, the processor will be in possession
             multiple symbols option is not enabled, the processor may          of a potentially decodable two-state ID representation of the
             be instructed to select one of the CSRs according to a             CSR. It then attempts to decode this representation, as called
             suitable selection rule, such as the largest CSR first, the CSR    for by block 1650. This attempted decoding will comprise
             nearest the center of the field of view first, the CSR with the    the trial application to the representation of one ID decoding
             highest total activity first, etc., and then attempt to decode     program after another until the latter is either decoded or
             only that symbol and stop, whether or not a symbol has been        determined to be undecodable. Because decoding proce-
             decoded. Alternatively, as a further option, the processor         dures of the latter type are known to those skilled in the art,
             may be instructed to attempt to decode each CSR in turn            they will not be discussed in detail herein.
             until one of them is successfully decoded, and then stop. If 10
                                                                                   As the ID autodiscrimination process is completed, the
             the multiple symbols option is enabled, the processor will
             process all of the CSRs, in turn, according to a suitable          processor is directed to decision block 1655 which causes it
             priority rule, and continue to do so until all of the CSRs have    to continue along one of two different paths, depending on
             been either decoded or have been determined to be unde-            whether or not decoding was successful. If it was not
             codable.                                                           successful, the processor will be caused to loop back to
                Once all CSRs have been located, the processor is 15 block 1635, via blocks 1660 and 1665, where it will be
             directed to block 1615, which calls for it to select the then      caused to generate a new working scan line that is parallel
             largest (or most centrally located) as yet unexamined CSR          to initial scan line SC=0, but that passes above or below
             for further processing, and then proceed to block 1620. The        centroid C. This looping back step may be repeated many
             latter block then causes the processor to find the centroid or     times, depending on the "spacing" of the new scan lines,
             center of gravity of that CSR, before proceeding to block 20 until the entire CSR has been examined for decodable ID
             1625. An example of such a centroid is labeled C in FIG.           data. If the entire CSR has been scanned and there has been
             17C. Because the steps involved in finding a centroid are          no successful decode, the processor is direck>d to exit the
             well known, they will not be described in detail herein.           just-described loop via block 1670. As used herein, the term
                On encountering block 1625, the processor is directed to        "parallel" is used in its broad sense to refer to scan lines or
             examine the selected CSR by defining various exploratory 25 paths which are similarly distorted (e.g., curvilinear) as a
             scan lines therethrough, determining the activity profile of       result of foreshortening effects or as a result of being imaged
             the CSR along those scan lines, and selecting the scan line        from a non-planar surface. Since compensating for such
             having the highest total activity. In the case of a ID bar code    distorting effects is known, as indicated, for example, by
             symbol, this will be the direction most nearly perpendicular       U.S. Pat. No. 5,396,054, it will not be discussed in detail
             to the direction of the bars, i.e., the optimum reading 30 herein.
             direction for a ID symbol.                                            Block 1670 serves to direct the processor back to block
                On exiting block 1625, the processor encounters blocks          1615 to repeat the above-described selection, scanning and
             1630 and 1635. The first of these sets a scan line counter to      binarizing steps for the next unexamined CSR, if one is
             zero; the second defines an initial, working scan line through     present. If another CSR is not present, or if the processor's
             the centroid in the previously determined direction of high- 35 program calls for an attempt to decode only one CSR, block
             est activity. The result of this operation is the definition, in   1670 causes the processor to exit the flow chart of FIG. 16
             the image data space representation of the CSR, of a               to begin an attempt to decode the then current set of image
             working scan line such as SC=0 in FIG. 17C.                        data as a 2D symbol, in accordance with the flow chart of
                Once the initial scan line has been defined, the processor      FIG. 18. If other CSRs are present, and the multiple symbols
             is directed by block 1640 to calculate, by interpolation from 40 option is enabled, block 1670 directs the processor back to
             the image data of the CSR, the values of sampling points that      block 1615 to repeat the selection, scanning and binarizing
             lie along this scan line. This means that, for each sampling       process for the next CSR, and the next, and so on, until there
             point on the initial scan line, the processor will calculate       is either a successful decode (block 1655) or all of the CSRs
             what brightness the sampling point would have if its bright-       have been examined (block 1670).
             ness were calculated on the basis of the weighted brightness 45       If the processing of the first CSR has resulted in a
             contributions of the four nearest measured image data points       successful decode, block 1655 directs the processor to block
             of the CSR. These contributions are illustrated by the dotted      1675, which causes it to determine whether the decoded data
             lines which join the sample point SP ofFIG.17D to the four         indicates that the CSR contains a ID stacked symbol, such
             nearest image data points DPA-DPD. So long as these                as a PDF417 symbol. One example of such a symbol is
             sampling points are more closely spaced than the image data 50 shown in FIG. 19D. If it is not, i.e., if the decoded symbol
             points, this interpolation procedure will be performed on a        includes only a single row of bars, the ID data is stored for
             subpixel basis, and will produce a usably accurate represen-       later outputting in accordance with block 648 of the main
             tation of the image data along the scan line. The result of the    program of FIG. 6A, as called for by block 1680.
             subpixel interpolation of the sampling points on a represen-       Alternatively, the data may be output immediately and block
             tative scan line of this type is shown in FIG. 17E. Because 55 648 later skipped over. Then, if there are no remaining
             the particulars of the subpixel interpolation process are          unexamined CSRS, or if the multiple symbols option is not
             known to those skilled in the art, this process will not be        enabled, the processor is directed to exit the flow chart of
             further described herein.                                          FIG. 16 via block 1682. If, however, there are remaining
                Once the above-described scan line data have been               CSRs and the multiple symbols option is enabled, block
             calculated, the processor is directed to block 1645, which 60 1682 will direct the processor back to block 1615 to begin
             calls for it to binarize the scan line data, i.e., convert it to a processing the next CSR, and the next, and so on until all
             two-state representation of the data which can be processed        CSRs have been examined and decoded (block 1682) or
             as a candidate for ID decoding. One such representation is         examined and found to be undecodable (block 1670).
             commonly known as a timercount representation. One par-               If, on encountering block 1675, the decoded data indicates
             ticularly advantageous procedure for accomplishing this 65 that the CSR contains a ID stacked symbol, the above-
             binarization process is disclosed in U.S. Pat. No. 5,286,960,      described processing is modified by providing for the rep-
             which is hereby incorporated herein by reference.                  etition of the scanning-digitizing process, beginning with




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             block 1635. This is accomplished by blocks 1684, 1686 and         shown in the left and lower edges of the 2D bar code symbol
             1688 in a manner that will be apparent to those skilled in the    ofFIG.19C, which symbol encodes data in accordance with
             art. Significantly, by beginning the repeating of the process     a 2D matrix symbology known as "Data Matrix." The finder
             at block 1635, all additional scan lines defined via the latter   identification process is performed by applying to each CFP,
             path will be parallel to the first decodable scan line, as 5 in turn, a series of finder pattern finding algorithms of the
             required by a ID stacked symbol, at least in the broad sense      type associated with each of the major types of finder
             discussed earlier.                                                patterns. Since such finder finding algorithms are known for
                 In view of the foregoing, it will be seen that, depending     finders of the waistband and peripheral types, these algo-
             on the number of CSRs that have been found in the stored          rithms will not be discussed in detail herein. One example of
             image data, and on the enablement of the multiple symbols 10 a fi nder finding algorithm for a waiStband type finder, may
                                                                               be found, for example, in "Uniform Symbology Specifica-
             option, the flow chart of the embodiment shown in FIG. 16         tion Code One", published by AIM/USA Technology Group.
             will cause all ID symbols in the image data to be either          Finder finding algorithms for bullseye type finders that
             decoded or found to be undecodable before directing the           include concentric rings, (e.g. MaxiCode) are also known
             processor to exit the same.                                       and will also not be described in detail herein.
                 As will be explained more fully in connection with FIG. 15       Particularly advantageous for purposes, however, is bull-
             20, the 2D autodiscrimination flow chart of FIG. 18 may be        seye type finder finding algorithm of the type that may be
             processed after the processing of the ID autodiscrimination       used both with 2D symbologies, such as MaxiCode, that
             flow chart of FIG. 16 has been completed. It may also be          have bullseye fmder patterns that include concentric rings
             processed without the flow chart of FIG. 16 having been           and with 2D symbologies, such as Aztec, that have bullseye
             previously processed, i.e., the ID portion of the 1D/2D 20 finder patterns that include concentric polygons. A finder
             autodiscrimination process may be skipped or bypassed. (In        finding algorithm of the latter type is described in
             principle, the steps of the 2D portion of the 1D/2D autodis-      copending, commonly assigned U.S. patent application No.
             crimination process (FIG. 18) may also be processed before        08/504,643, now U.S. Pat. No. 08/441,446, which has been
             the ID portion thereof (FIG. 16), although this option does       incorporated herein by reference. The Aztec 2D bar code
             not comprise the preferred embodiment). lbis is because the 25 symbology itself is fully described in U.S. patent application
             code options of the menuing feature make all of these             No. 08/441,446, which has also been incorporated herein by
             options selectable by the user. It will therefore be understood   reference.
             that the pres1.,"llt feature contemplates all possible combina-      Once all of the finder patterns have been located and their
             tions of autodiscrimination options.                              types have been determined, the processor is directed to
                 Referring to FIG.18, there is shown a flow chart of the 2D 30 decision block 1815. This block affords the processor an
             portion of the 1D/2D autodiscrimination process. When the         opportunity to exit the flow chart of FIG. 18, via exit block
             flow chart of FIG. 18 is entered, the image data that is stored   1820, if no 2D finder patterns could be found and typed. This
             in RAM 45 is the same as that which would be stored therein       block speeds up the execution of the program by skipping
             if the flow chart ofFIG.16 were being entered. If the reader      over decoding operations which have no hope of success
             is a 2D reader this image data will comprise an army of 8-bit 35 without their associated finder pattern.
             gray scale image data elements produced by image sensor              If a finder pattern has been found and typed, the processor
             32-2 and its associated signal processing and AID converter       is directed to block 1825. This block causes the processor to
             circuits 3502 and 36-2. If the reader is a 1D reader that         select for decoding the bar code symbol whose finder is
             produces a 2D image by being moved across the target              closest to the center of the field of view of the image data.
             symbol, the image data will comprise an array of binary data 40 Optionally, the processor may be instructed to find the
             elements such as those shown in above-cited copending             largest 2D bar code symbol that uses a particular 2D
             application No. 08/504,643, now U.S. Pat. No. 5,773,806.          symbology or the 2D bar code symbol using a particular 2D
                 The flow chart of FIG. 18 begins with a block 1805, which     symbology which is closest to the center of the field of view
             directs the processor to convert the gray scale image data        of the image data. The "closest-to-the-center" option is
             representation stored in RAM 45 (if present) into a two-state 45 ordinarily preferred since a centrally located symbol is likely
             or binarized representation of the same data. This may be         to be a symbol, such as a menu symbol, at which the user is
             accomplished in generally tl1e same manner described ear-         deliberately aiming the reader. Once fuis selection has been
             lier in connection with FIG. 178, i.e., by comparing these        made, the processor attempts to decode that symbol, as
             gray scale values to a threshold value and categorizing these     called for by block 1830. If this decoding attempt is
             values as is or Os, depending upon whether they exceed or 50 successful, as determined by decision block 1835, the result-
             do not exceed that threshold value.                               ing data may be stored for outputting in accordance with
                 Once the image data has been binarized, the processor         block 648 of the main program of FIG. 6A, as called for by
             continues on to block 1810, which causes it to identify and       block 1840. Alternatively, the decoded data may be output
             locate all of the 2D finder patterns that appear in the field of  innnediately and block 648 later skipped over. If the decod-
             view of the image data. This is preferably accomplished by 55 ing attempt is not successful, however, block 1840 is
             examining all of the candidate 2D finder patterns (CFPs) that     skipped, and the processor is directed to decision block
             are present and identifying them by type, i.e., identifying       1845.
             whether they are bullseye type finder patterns, waistband            If the user has elected not to use the multiple symbols
             type finder patterns or peripheral type finder patterns. An       option, block 1845 may direct the processor to exit the flow
             exan1ple of a bullseye type finder pattern is shown in the 60 chart of FIG. 18, via block 1850, after any 2D symbol has
             central portion of the 2D bar code symbol of FIG. 19A,            been successfully decoded. Optionally, block 1845 may be
             which symbol encodes data in accordance with a 2D matrix          arranged to direct fue processor to exit the flow chart of FIG.
             symbology named "Aztec." An example of a waistband type           18 after fue attempted decoding of the centermost symbol,
             finder pattern is shown in the middle portion of the 2D bar       without regard to whether or not fue decoding attempt was
             code symbol of FIG. 198, which symbol encodes data in 65 successful.
             accordance wifu a 2D matrix symbology named "Code                    ff the user has elected to use the multiple symbols option,
             One". An example of a peripheral type finder pattern is           block 1845 will direct the processor back to block 1825 to




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             process the next 2D symbol, i.e., the symbol whose CFR is         increases the data throughput rate of the reader by either
             next closest to the center of the field of view. The above-       discontinuing the reading of symbols that are not centered
             described attempted decoding and storing (or outputting)          and therefore not of interest or speeding up the processing of
             steps will then be repeated, one CFR after another, until         multiple symbols that are of interest. Thus, for a processor
             there are no more symbols which have usable finder pat-           with a given performance rating and a set of decoding
             terns. Finally, when all symbols having usable finder pat-        programs of given length, the apparatus assures a higher
             terns have been either decoded or found to be undecodable,        overall data throughput rate than has heretofore been pos-
             the processor will exit the flow chart of FIG. 18, via block      sible.
             1850, to return to the main program of FIG. 6A.                      There is provided an optical scanning and decoding
                In view of the foregoing, it will be seen that, depending 10 apparatus and method, suitable for use with bar code
             on the number of identifiable CFRs that have been found in        readers, bar code scanning engines, and portable data ter-
             the stored, digitized image, and on the enablement of the         minals (PDTs), which combines improved scanning-
             multiple symbols option, the 2D autodiscrimination routine        decoding and autodiscrimination features in the context of
             shown in FIG. 18, will cause one or more 2D symbols in the        an apparatus and method which also provides imporved
             image data to be either decoded or found to be undecodable 15 menuing and reprogramming features.
             before directing the processor to exit the same.                     In accordance with the menuing featnre, there is provided
                For the sake of clarity, the foregoing descriptions of the     an improved apparatus and method which enables a user to
             ID and 2D phases of the ID/2D autodiscrimination process          determine the current operating mode of an optical reading
             have been described separately, without discussing the com-       apparatus, and to rapidly and conveniently change that
             bined or overall effect of the code options and scanning- 20 operating mode to optiniize it for operation under then
             decoding options discussed earlier in connection with FIG.        current conditions. The menuing feature, for example,
             7B. The overall effect of these code options and the manner       enables fue user, via a machine readable table of pre-
             in which they are implemented will now be described in            recorded menu symbols, to command the reader to commu-
             connection with FIG. 20. As will be explained presently,          nicate with a host processor using one of a number of
             FIG. 20 shows (with minor simplifications) the contents of 25 protocols, to command the reader to format the decoded
             block 627 of FIG. 6A. It also shows, as blocks 2010 and           output according to host processor requirements, or to
             2035 (again with minor simplifications), the ID and 2D            command the reader to report to the host processor any of a
             autodiscrimination routines discussed earlier in connection       plurality of types of information about the current operating
             with FIGS. 16 and 18, respectively.                               state of the reader, such as the version of software then being
                On entering the flow chart of FIG. 20, the processor 30 used, the code options that are ilien being used, and even a
             encounters a block 2005 which causes it to determine, with        complete listing of ilie reader's parameter table. If a suitable
             reference to the code options of the parameter table, whether     printer is available, ilie complete status of a first reader may
             all of the ID codes have been disabled. If they have not, the     be output as a machine readable menu symbol that other,
             processor continues to block 2010. In accordance with block       siniilarly equipped readers may read and use to reconfigure
             2010, the processor performs the ID autodiscrimination 35 fuemselves for operation in the same manner as fue first
             process described in connection with FIG. 16, using thelD         reader.
             code and scanning-decoding options indicated by the param-           In accordance wifu fue reprogramming feature, fuere is
             eter table. Depending upon whether ID decoding was                provided an improved apparatus and method by which an
             successful, as determined by block 2015, the processor            optical reader may be reprogrammed from a source external
             either outputs (or stores) data per block 2020 and exits, or 40 to tl1e reading apparatus, wifu or wifuout fue participation of
             continues on to blocks 2030 and 2035 to begin the 2D              a user. This external source may be either on-site, i.e.,
             autodiscrimination process.                                       located at the same local facility as the reader, or off-site, i.e.,
                If all ID codes have been disabled, the processor is           located at a remote facility that is coupled to the local facility
             directed directly to block 230, thereby skipping block 2010       only via a transmission line or computer network. When
             in its entirety. Then, unless all 2D codes have also been 45 actuated, fue reprogramming featnre enables a reader to
             disabled (per block 2030), it proceeds to block 2035 to begin     reprogram itself, either in whole or in part, and fuereby
             the autodiscrimination process described in connection with       become able to operate wiili operating software of ilie latest
             FIG. 18, using tl1e 2D codes and scanning-decoding options        type. Depending on fue application, ilie reprogramming of
             indicated by the pammeter table. Depending upon whether           fue reader may be initiated either by a host processor
             2D decoding was successful, as determined by block 2040, 50 external to the reader, as by a command issued via ilie
             the processor either outputs (or stores) data, per block 2045,    reader's communication port, or by a user initiated com-
             or retnrns to the main program of FIG. 6A. Retnrning to the       mand issued as a part of the above-mentioned menuing
             latter then causes or does not cause further scans to be made     process.
             depending on the states of blocks 635 and 640 thereof.               In accordance wifu anotl1er aspect of the reprogramming
                In view of the foregoing, it will be seen that the I D/2D 55 feature, a local host processor may be configured to carry out
             autodiscrimination process may be practiced in many dif-          reprogramming of an optical reader or another type of
             ferent ways, depending upon the menuing options that have         portable data terminal. In a reprogramming subroutine a
             been chosen by the user. Among these menuing options, the         local host processor can be made, at the selected of a user,
             code options increase the data throughput rate of the reader      to replace an entire main program and paranieter table of a
             by assuring that the processor does not waste time trying to 60 reader, or else one of either a main program or a parameter
             autodiscriminate and decode symbols which it has been told        table of an operating program individually.
             are not present, or are not of interest. The scan tracking           In accordance with another subprogram of a local host
             options also increase the data throughput rate of the reader      processor, the local host processor can be made to edit a
             by assuring that the scanning and decoding phases of read         parameter table. When fuis subprogram is selected the user
             operations both operate, to the extent possible in view of the 65 may either edit the parameter table iliat is stored in memory
             then current decoding load and decoding options, at a 100%        device of fue reader or else edit a parameter table stored in
             utilization rate. Even the multiple symbols option also           a memory device in communication wifu the local host




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             processor. After editing, the user may write the edited             mode and the "Repeat Unit! Stopped" relationship or mode.
             parameter table to the reader's memory device, write the            With the Repeat Until Done relationship, scanning and
             edited parameter to a bulk storage device for later use, or         decoding operations follow one after another until success-
             print or dispaly the edited parameter table.                        ful decode occurs, and are then dicontinued. With the Repeat
                In accordance with another aspect, an optical reader may         Until Stopped relationship, scanning and decoding opera-
             be made to receive a component control instruction from a           tions follow one after another and continue, even after sets
             host processor which is transmitted in response to a user           of decoded data are stored or output, until instructed to stop
             input command to remotely control an optical reader. In             by the release of the trigger or by the readers' program.
             accordance with this aspect, the optical reader is made to          Because of their repetitive nature, the use of Repeat Until
             execute a component control instruction substantially 10 Done and Repeat Until Stopped modes are usable both in
                                                                                 conjunction with the above-described tracking modes and
             on-receipt thereof. In one embodiment, execution by an
                                                                                 independently of those tracking modes. As a result, the
             optical reader of a component control instruction has the           Repeat Until Done and Repeat Unit! Stopped modes may be
             same effect as a reader trigger being manually pulled.              implemented as user selected non-tracking relationships or
                There is also provided an optical scanning and decoding          as tracking relationships.
             apparatus and method which includes improved scanning- 15              In embodiments that use the auto discrimination feature,
             decoding and autodiscrimination features, either or both of         there is provided a method and apparatus by which a
             which may be used in conjunction with, and/or under the             plurality of different symbols of a multiplicity of different
             control of, the above-described menuing and reprogram-              types may be scanned aud decoded in a manner that is
             ming features. In other words, the autodiscrimination feature       optimized for a particular application, on either a menu
             is made available tothe user on a nemu selectable or repro- 20 selectable or a reprogrammable basis. When all of the
             grammable basis to speed up and/or update the decoding              symbols to be autodiscriminated are known to be ID
             phase of the scanning and decoding process. Together, these         symbols, for example, the data throughput rate may be
             features enable the reading apparatus to read and decode a          increased by structuring the autodiscrimination feature so
             wide range of optically encoded data symbols at an                  that no attempt is made to decode 2D symbols, or vice versa.
             improved data throughput rate.                                   25 When, on the other hand the symbols to be autodiscrimi-
                When a reader is one in which the scan engine cannot be          nated are known to all be of (or all not to be of) a few types,
             readily started and stopped, or in which such starts and stops      whether ID or 2D, the data throughput rate may be increased
             impose unacceptable delays or produce user perceptible              by structuring the autodiscrimination feature so that all but
             flicker, preferably operates in one of the tracking relation-       a few (or only a few) ID and/or 2D symbologies are
             ships described in previously mentioned copending appli- 30 disabled, i.e., so that no attempt is made to decode them.
             cation No. 08/914,883, now U.S. Pat No. 5,942,741. One of           Other possible autodiscrimination options include not
             these tracking relationships is a Skip Scan tracking relation-      decoding or not ouputting data for symbols that encode
             ship in which the results of one or more scans may be               messages that are too long or too short to be of interest in a
             skipped over entirely in favor of more recently produced            particular application. Any of these options may be chosen
             scan results. Another is a Decode On Demand tracking 35 and changed as necessary to achieve the highest possible
             relationship in which decoding is suspended briefly as              data throughput rate.
             necessary to allow a scan then in progress to be completed.            Because of the large number of different combinations of
             The latter relationship is ordinarily not prefered, but is still    distinct operational states that are make possible thereby, the
             useful when the reader is such that its scan memory is able         apparatus and method will be seen to have a portean quality
             to store only two complete blocks of scan data.                  40 that not makes it usable in a large number of different
                When the reader is one in which the scan engine can              application, but also enables it to continue to remain so
             readily be stopped, the present reader may operate in the           unable a new functions, new bar code symbologies and new
             tracking relationship described in previously mentioned             and updated decoding programs are developed in the fuu-
             U.S. Pat. No. 5,463,214. With this, "Scan On Demand"                ture.
             tracking relationship, scanning is suspended briefly as nee- 45        While the present invention has necessarily been
             essary to prevent scanning and decoding from becoming               described with reference to a number of specific
             uncorrelated with one another.                                      embodiments, it will be understood that the time spirit and
                In the preferred embodiment, the reader includes an              scope of the present invention should be determined only
             algorithm that is able to accommodate any of the above-             with reference to the following claims.
             described scanning-decoding relationships, among others. 50            What is claimed is:
             Which of them is actually used will vary form reader to                1. An optical reader for scanning and decoding at least one
             reader depending upon the size and type of memory and the           optically encoded symbol, the optical reader comprising:
             type of scan engine used thereby, and may be changed from              a program loading component operative to store an exter-
             time to time.                                                             nally generated program in the optical reader; and
                The present reader also contemplates and provides for at 55         a program execution component coupled to the program
             least one scanning- decoding relationship which does not                  loading component, the program execution component
             fall within the meaning of the above-defined tracking rela-               being operative to L-xecute the externally generated
             tionships. One of these non-tracking relationships is a "One              program stored in the optical reader to thereby perform
             Shot" relationship or mode in which a single scan is fol-                 a predetermined task in accordance with the externally
             lowed by a single decoding attempt and then a stoppage. 60                generated program, whereby executing the externally
             Such scanning-decoding events may be initiated by respec-                 generated program includes replacing at least a portion
             tive single actuations of a manual trigger. Because of its                of the optical reader program.
             inherently discontinuous nature, the use of the One Shot               2. The optical reader of claim 1, wherein the program
             mode implies the non-use of any of the above-mentioned              loading component aud the program execution component
             tracking modes.                                                  65 are comprised of a programmable controller.
                Two other such scanning-decoding relationships are                  3. The optical reader of claim 2, wherein the program-
             referred to herein as the "Repeat Until Done" relationship or       mable controller comprises an ASIC.




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                4. The optical reader of claim 2, wherein the program-            executing the externally generated program to perform the
             mable controller comprises a microprocessor device.                     task, whereby the step of executing the externally
                5. The optical reader of claim 1, farther comprising a               generated program includes replacing a portion of the
             communications interface coupled to the program loading                 optical reader program.
             component and an external device, the communications                 19. The method of claim 18 wherein the externally
             interface being adapted to transmit the externally generated      generated program comprises a diagnostic application pro-
             program to the program loading component by communi-              gram.
             cating with the external device.                                     20. The method of claim 18, wherein the externally
                6. The optical reader of claim 5, wherein the communi-         generated program includes a reprogramming routine for
             cations interface is adapted to communicate with the exter- 10 loading a second externally generated program into the
             nal device over a transmission facility that includes at least    optical reader.
             one copper transmission wire.                                        21. The method of claim 20, wherein the reprogramming
                7. The optical reader of claim 5, wherein the communi-         routine farther comprises;
             cations interface is adapted to communicate with the exter-          receiving a line of code of the second externally generated
             nal device over a transmission facility that includes a                 program from an external progranuning source;
             wireless device.                                               15
                                                                                  checking the correctness of the line of code; and
                8. The optical reader of claim 5, wherein the communi-
                                                                                  storing the correct line of code to an erased portion of
             cations interface is adapted to communicate with the exter-
                                                                                     EROM located in the optical reader.
             nal device over a transmission facility that includes an RF
             device.                                                              22. The method of claim 21, wherein the correctness of
                9. The optical reader of claim 5, wherein the communi- 20 the line of code is checked by performing a checksum
             cations interface is adapted to communicate with the exter-       operation.
             nal device over a transmission facility that includes an             23. The method of claim 21, wherein external program-
             RS-232 compatible device.                                         ming source is transmitted a negative acknowledgment if the
                10. The optical reader of claim 5, wherein the communi-        line of code is incorrect.
             cations interface is adapted to communicate with the exter- 25       24. The method of claim 23, wherein the step of receiving
             nal device over a transmission facility that includes a           is repeated if the line of code is incorrect.
             computer networking device.                                          25. The method of claim 21, wherein the steps of
                11. The optical reader of claim 10, wherein the computer       receiving, checking, and storing are repeated until the last
             networking device is an Ethernet device.                          line of the externally generated application program is stored
                12. The optical reader of claim 5, wherein the communi- 30 inEROM.
             cations interface is adapted to communicate with the exter-          26. A set of program interfaces tangibly embodied on a
             nal device over a transmission facility that includes at least    computer-readable medium, the program interfaces being
             one optical fiber.                                                executable on a computer in conjunction with a computer
                13. The optical reader of claim 1, wherein the external        program that controls an optical reader, the set of program
             device includes a computer.                                       interfaces comprising:
                14. The optical reader of claim 1, wherein the external 35        a first interface that receives a load command, and pro-
             device includes a machine readable diskette.                            gram code from an externally generated program, the
                15. The optical reader of claim 1, wherein the external              interface returning an acknowledgment indicating
             device includes a CD/ROM.                                               whether the externally generated program was success-
                16. An optical reader for scanning-decoding at least one             folly loaded; and
             optically encoded symbol, the optical reader comprising: 40          a second interface that receives the acknowledgment, the
                a communications interface adapted to communicate with               second interface directing the computer to execute the
                   an external device;                                               externally generated program in response to the
                an imaging assembly for scanning the at least one opti-              acknowledgment.
                   cally encoded signal to thereby produce digital imaging        27. The set of program interfaces of claim 26, wherein the
                   data; and                                                45 load command is an externally generated command.
                processing means for,                                             28. The set of program interfaces of claim 27, wherein the
                   receiving the digital imaging data from the imaging         externally generated command is an interrupt command.
                      assembly,                                                   29. The set of program interfaces of claim 26, wherein the
                                                                               externally generated program is a diagnostic program for
                   decoding the digital imaging data in accordance with an
                                                                               testing the optical reader.
                      optical reader program stored in an optical reader 50       30. The set of program interfaces of claim 26, wherein the
                      memory,                                                  externally generated program is a routine for reprogramming
                   loading an externally generated program into the opti-      the optical reader.
                      cal reader memory via the communications interface,         31. The set of program interfaces of claim 30, wherein the
                      the externally generated program corresponding to a      routine farther comprises a third interface that receives a
                      new task, and                                         55 computer program code for controlling the optical reader,
                   executing the externally generated program to thereby       the third interface returning at least one acknowledgment
                      perform the new task, whereby executing the exter-       indicating whether the computer program code for control-
                      nally generated program includes replacing at least a    ling the optical reader was success:fully loaded.
                      portion of the optical reader program.                      32. The set of program interfaces of claim 31, wherein the
                17. The optical reader of claim 16, wherein the step of 60 third interface returns an error message when the routine for
             executing the externally generated program includes replac-       reprogramming the optical printer is unsuccessfol.
             ing all of the optical reader program.                               33. A reprogrammable optical reader system, the optical
                18. A method for instructing an optical reader to perform      reader system having a program stored in memory, the
             a task it is not programmed to perform, the method com-           system comprising:
             prising:                                                       65    a programming source having at least one software
                loading an externally generated program into a memory                program, the at least one software corresponding to a
                   located in the optical reader; and                                predetermined task;




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                a transmission facility coupled to the programming source           (D) an analog-to-digital converter in communication with
                   for transmitting the at least one software program; and             said two-dimensional solid state image sensor, said
                an optical reader coupled to the transmission facility, the            analog-to-digital converter configured to convert an
                   optical reader being configured to receive and execute              analog intensity value of each of a plurality of said
                   the at least one software program to thereby perform                pixels into a digital value represented by an N-bit value,
                   the predetermined task, wherein executing the at least              where N is an integer greater than 1;
                   one software program includes replacing a portion of             (E) an image frame memory storing two-dimensional
                   the optical reader program.                                         electronic images, said image frame memory being in
                                                                                       communication with said analog-to-digital converter;
                34. The system of claim 33, wherein the optical reader
             further comprises:                                               10    (F) a decoding circuit in communication wit said image
                                                                                       frame memory, said decoding circuit decoding bar code
                a communications interface connected to the transmission               symbol representations included in said two-
                   facility, the communications interface operative to                 dimensional electronic images stored in said image
                   receive the software program;                                       frame memory;
                a program loading component coupled to the communi-                 (G) a portable housing supporting said light emitting
                   cations interface, the program loading component           15
                                                                                       assembly, said two-dimensional solid-state image
                   operative to store the software program in the optical              sensor, said optical assembly, said image frame
                   reader: and                                                         memory, and said decoding circuit;
                a program execution component coupled to the program                (H) a display, wherein said portable data collection unit is
                   loading component, the program execution component 20               configured to display message data on said display; and
                   operative to execute the software program stored in              (I) a radio frequency transceiver facilitating wireless
                   optical reader.                                                     communication between said portable data collection
                35. The system of claim 33, wherein the transmission                   unit and an external host processor spaced apart from
             facility includes a computer network.                                     said portable data collection unit,
                36. The system of claim 33, wherein the transmission                (J) wherein said portable data collection unit is configured
             facility includes a wireless system.                             25
                                                                                       to be reprogrammed by any one of (i) receipt of
                37. The system of claim 33, wherein the transmission
                                                                                       programming data from an external local host proces-
             facility includes at least one metallic wire.
                                                                                       sor spaced apart from said portable data collection unit
                38. The system of claim 33, wherein the transmission
             facility includes at least one optical fiber.                             and (ii) receipt of programming data from an external
                39. The system of claim 33, wherein transmission facility 30           remote off-site processor spaced apart from said por-
             includes a public telecommunications network.                             table data collection unit that is communicatively
                40. The system of claim 33, wherein the programming                    coupled to said portable data collection unit via a
             source includes an external computer.                                     computer network.
                41. The system of claim 33, wherein the programming                 46. The portable data collection unit of claim 45, further
             source includes a diskette.                                      35 having a plllr'dlity of parameter settings establishing oper-
                42. The system of claim 33, wherein the programming              ating characteristics of said portable data collection unit,
             source includes a CD/ROM.                                           wherein said portable data collection unit is configured to
                43. A method for reprogramming a first optical reader to         receive from at least one of said local host processor or said
             perform a task performed by a second optical reader, the first      remote host processor parameter setting programming data,
             optical reader having a first pammeter table stored in              and wherein said portable data collection unit is configured
             memory, the second optical reader being programmed to 40 to change at least one of said plurality of parameter settings
             perform the task by a second parameter table resident in the        when receiving said parameter setting programming data.
             second optical reader, the method comprising:                          47. The portable data collection unit of claim 46, wherein
                providing an optically encoded menu symbol correspond-           said portable data collection unit is configured to receive
                   ing to the second pammeter table; and                         from at least one of said local host processor or said remote
                                                                              45 host processor programming data which when received by
                scanning-decoding the optically encoded menu symbol              said portable data collection 1mit results in said portable data
                   with the first optical reader to thereby load the param-      collection unit operating in accordance with one of a new
                   eter table into the first optical reader, wherein the step    main program or a modified main program.
                   of scanning-decoding includes replacing at least a               48. The portable data collection unit of claim 45, wherein
                   portion of the first parameter table.                      so said portable data collection unit is configured to receive
                44. The method of claim 43, wherein the step of providing        from at least one of said local host processor or said remote
             further comprises:                                                  host processor programming data which when received by
                providing a host computing system;                               said portable data collection unit changes a manner in which
                downloading the pammeter table from the second optical           said portable data collection unit can be reprogrammed.
                   reader to the host computer; and                           55    49. The portable data collection unit of claim 45, wherein
                printing the optically encoded menu symbol.                      said portable data collection unit is configured to receive
                45. A portable data collection 1mit configured for com-          from at least one of said local host processor or said remote
             munication with an external local host processor spaced             host processor programmiug data provided by a bar code
             apart from said portable data collection unit to which said         decoding program.
             portable data collection unit transmits data, said portable 60         50. The portable data collection unit of claim 45, wherein
             data collection unit comprising:                                    said portable data collection unit operates in a mode in
                                                                                 which said portable data collection unit receives from said
                (A) a light emitting assembly directing light outwardly          external remote off-site host processor communicatively
                   from said portable data collection unit;                      coupled to said portable data collection unit via a computer
                (13) a two-dimensional solid-state image sensor having           network programming data provided by a diagnostic pro-
                   pixels;                                                    65 gram.
                (C) an optical assembly focusing an image of a target area          51. The portable data collection unit of claim 45, wherein
                   onto said two-dimensional solid-state image sensor;           said portable data collection unit operates in a mode in




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             which said portable data collection unit receives from said             58. The portable data collection unit of claim 57, wherein
             external remote off-site host processor communicatively              said portable data collection unit is configured so tlmt said
             coupled to said portable data collection unit via a computer         frame rate of said two dimensional solid state image sensor
             network programming data provided by a diagnostic                    is controlled by a user.
             program, and wherein said portable data collection unit                 59. TI1e portable data collection unit of claim 57, wherein
             further operates in a mode in which said portable data               said portable data collection unit is configured so that receipt
             collection unit receives from said external local host pro-          by said portable data collection unit of a certain user-
             cessor parameter setting programming data specifying                 initiated signal results in said frame rate of said two-
             whether a light source of said light emitting assembly is            dimensional solid state image sensor changing from a first
             enabled or disabled.                                                 value to a second value.
                                                                               10    60. 'Ibe portable data collection unit of claim 59, wherein
                52. The portable data collection unit of claim 45, wherein        said portable data collection unit is configured so that said
             said light emitting assembly includes an aiming light source,        portable data collection unit receives said certain user-
             and wherein said portable data collection unit is configured         initiated signal that results in said frame rate changing from
             to disable said aiming light source on receipt of a user-            a first value to a second value when said portable data
             initiated signal initiated by a user to disable said aiming light    collection unit reads a specially encoded programming bar
             source.                                                           15 code symbol, said specially encoded programming bar code
                53. The portable data collection unit of claim 52, wherein        symbol encoded so that a frame rate of said two-dimensional
             said portable data collection unit is configured so that said        solid state image sensor changes from a first value to a
             portable data collection unit receives said user-initiated           second value when said portable data collection unit reads
             signal that disables said aiming light source by reading of a        said specially encoded programming bar code symbol.
             specially encoded programming bar code symbol that is 20                61. ]be portable data collection unit of claim 57, wherein
             encoded such that, when said portable data collection unit           said certain user-initiated signal is a parameter setting speci-
             decodes said specially encoded bar code symbol, said aim-            fying a frame rate of said two- dimensional solid state inmge
             ing light source is disabled.                                        sensor.
                54. The portable data collection unit of claim 45, wherein           62. The portable data collection unit of claim 57, wherein
             said portable data collection device is configured to operate 25 portable data collection unit is configured so that said
             in an operating mode in which said portable data collection          portable data collection unit receives said certain user-
             unit displays on said display a message indicating a version         initiated signal resulting in said frame rate change via said
             of software presently residing in said data collection unit.         radio frequency transceiver.
                55. The portable data collection unit of claim 45, wherein           63. The portable data collection unit of claim 57, wherein
             said light emitting assembly includes a laser, and wherein 30 said portable data collection unit is configured so that said
             said light emitting assembly directs laser light outwardly           portable data collection unit receives said certain user-
             from said portable data collection unit.                             initiated signal resulting in said frame rate change from an
                56. The portable data collection unit of claim 55, wherein        external host processor which is in communication with said
             light received onto said two-dimensional solid-state image           portable data collection unit via a communication link that
             sensor includes said laser light emitted by said light emitting      includes a flexible cable.
             assembly.                                                         35    64. The portable data collection tmit of claim 45, wherein
                57. The portable data collection unit of claim 45, wherein        said image sensor is provided on an integrated circuit chip
             said portable data collection unit is configured so that a           that does not include said analog-to- digital converter.
             frame rate of said two-dimensional solid state image sensor
             is adjustable.                                                                               * * * * *




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                        UNITED STATES PATENT AND TRADEMARK OFFICE
                              CERTIFICATE OF CORRECTION

        PATENT NO.      : 7,104,456 B2                                                                    Page 1 of 1
        APPLICATION NO. : 09/746192
        DATED           : September 12, 2006
        INVENTOR(S)     : James A. Parker et al.

                It is certified that error appears in the above-identified patent and that said Letters Patent is
                hereby corrected as shown below:



               Column 3, line 22. delete "In the post," and replace with--In the past,--.




                                                                            Signed and Sealed this

                                                               Twenty-sixth Day of December, 2006




                                                                                      JONW.DUDAS
                                                                  Director ofthe United States Patent and Trademark Office




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